 1
                                  UNITED STATES BANKRUPTCY COURT
 2
                                  NORTHERN DISTRICT OF CALIFORNIA
 3                                     SAN FRANCISCO DIVISION
 4
      In re:                                           Bankruptcy Case No. 19-30088 (DM)
 5
      PG&E CORPORATION,                                Chapter 11
 6
                - and –                                (Lead Case)
 7
      PACIFIC GAS AND ELECTRIC                         (Jointly Administered
 8    COMPANY,
                                                       SECOND MONTHLY FEE STATEMENT OF
 9                                    Debtors.         MILBANK LLP FOR ALLOWANCE AND
                                                       PAYMENT OF COMPENSATION AND
10     Affects PG&E Corporation                       REIMBURSEMENT OF EXPENSES FOR THE
       Affects Pacific Gas and Electric               PERIOD MARCH 1, 2019 THROUGH MARCH
11    Company                                          31, 2019
       Affects both Debtors
12    * All papers shall be filed in the Lead Case     [No hearing requested]
      No. 19-30088 (DM).
13

14
      To: The Notice Parties
15
      Name of Applicant:                               Milbank LLP
16
      Authorized to Provide Professional               Attorneys for the Official Committee of Unsecured
17    Services to:                                     Creditors

18    Date of Retention:                               April 29,2019 nunc pro tunc to February 12, 2019
                                                       subject to approval by the Court
19
                                                       March 1, 2019 through March 31, 2019
20    Period for which compensation and
      reimbursement are sought:
21
      Amount of compensation sought as actual,         $1,723,364.20 (80% of $2,154,205.25)
22    reasonable, and necessary:

23    Amount of expense reimbursement sought           $88,823.53
      as actual, reasonable, and necessary:
24

25             Milbank LLP (“Milbank” or the “Applicant”), the attorneys for the Official Committee of
26
     Unsecured Creditors (the “Committee”), hereby submits its Second Monthly Fee Statement (this
27
     “Monthly Fee Statement”) for allowance and payment of compensation for professional services
28
     rendered and for reimbursement of actual and necessary expenses incurred for the period commencing
    [COURT
 Case:    19-30088
    44553.00001
                          Doc#US2707
                HAS INSTRUCTED          Filed:
                                 TO DELETE             ]
                                                06/21/19
                                           ALL FOOTERS     Entered: 06/21/19 13:59:29    Page 1 of
                                                     594
 1   March 1, 2019 through March 31, 2019 (the “Fee Period”) pursuant to the Order Pursuant to 11 U.S.C

 2   §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
 3
     Compensation and Reimbursement of Expenses of Professional dated February 27, 2019 [Docket No.
 4
     701] (the “Interim Compensation Procedures Order”).
 5
            By this Fee Statement, Milbank requests allowance and payment of $1,723,364.20 (80% of
 6
     $2,154,205.25) as compensation for professional services rendered to the Committee during the Fee
 7

 8   Period and allowance and payment of $88,823.53 (representing 100% of the expenses allowed) as

 9   reimbursement for actual and necessary expenses incurred by Milbank during the Fee Period.
10          Annexed hereto as Exhibit A hereto is the name of each professional who performed services
11
     for the Committee in connection with these Chapter 11 Cases during the Fee Period covered by this Fee
12
     Statement and the hourly rate and total fees for each professional. Attached hereto as Exhibit B is a
13
     summary of hours during the Fee Period by task. Attached hereto as Exhibit C is a summary of expenses
14

15   incurred during the Fee Period. Attached hereto as Exhibit D are the detailed time entries for the Fee

16   Period. Attached hereto as Exhibit E are the detailed expenses entries for the Fee Period.

17          PLEASE TAKE FURTHER NOTICE that, in accordance with the Interim Compensation
18   Procedures Order, responses or objections to this Monthly Fee Statement, if any, must be filed and served
19
     on or before the 21st day (or the next business day if such day is not a business day) following the date
20
     the Monthly Fee Statement is served (the “Objection Deadline”) with this Court.
21
            PLEASE TAKE FURTHER NOTICE that upon the expiration of the Objection Deadline, the
22

23   Applicant shall file a certificate of no objection with the Court, after which the Debtors are authorized

24   and directed to pay the Applicant an amount equal to 80% of the fees and 100% of the expenses requested

25   in this Monthly Fee Statement. If an objection is properly filed, the Debtors shall be authorized and
26
     directed to pay the Applicant 80% of the fees and 100% of the expenses not subject to an objection.
27

28

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                                               594
 1   Dated: June 21, 2019

 2                                          Respectfully submitted,
 3
                                            MILBANK LLP
 4
                                            By: /s/ Dennis F. Dunne
 5
                                            Dennis F. Dunne (admitted pro hac vice)
 6                                          Samuel A. Khalil (admitted pro hac vice)
                                            Gregory A. Bray
 7                                          Thomas R. Kreller
 8                                          Counsel for the Official Committee of Unsecured
                                            Creditors
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                        EXHIBIT A




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                                COMPENSATION BY PROFESSIONAL
                               MARCH 1, 2019 THROUGH MARCH 31, 2019
The attorneys who rendered professional services in these chapter 11 cases from March 1, 2019
through March 31, 2019 (the “Fee Period”) are:
 NAME OF PROFESSIONAL                                                        TOTAL
    PARTNERS AND                                      YEAR       HOURLY      HOURS       TOTAL
       COUNSEL:                  DEPARTMENT         ADMITTED      RATE       BILLED   COMPENSATION
                                   Financial
 Paul Aronzon                     Restructuring       1979         $1,540     57.80       $89,012.00
                                  Global Project,
                                   Energy and
                                  Infrastructure
 William Bice                        Finance          1996         $1,540     42.90       $66,066.00
                                   Financial
 Gregory Bray                     Restructuring       1984         $1,540     93.50       $143,990.00
                                   Financial
 Dennis Dunne                     Restructuring       1991         $1,540     55.50       $85,470.00
 Russell Kestenbaum                    Tax            1999         $1,540     13.90       $21,406.00

                                   Financial                       $1,540     92.60       $142,604.00
 Thomas Kreller                   Restructuring       1992         $770*       5.50        $4,235.00
                                                                   $1,540     28.20       $43,428.00
 Andrew Leblanc                     Litigation        2000          $770       4.50       $3,465.00
                                    Alternative
 Eric Moser                        Investments        1991         $1,540     1.40         $2,156.00
 Adam Moses                      Global Corporate     2002         $1,540     9.80        $15,092.00
 Michael Nolan                      Litigation        1992         $1,540     13.80       $21,252.00
 Alan Stone                         Litigation        1988         $1,540     13.50       $20,790.00
                                   Financial
 Samuel Khalil                    Restructuring       2004         $1,425     16.40       $23,370.00
 Manan Shah                            Tax            2002         $1,425     24.80       $35,340.00
                                   Financial
 Craig Price                      Restructuring       2000         $1,120    157.20       $176,064.00


 Total Partners and Counsel:                                     $1,415.71   631.30       $893,740.00




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                                                                     TOTAL
NAME OF PROFESSIONAL                          YEAR        HOURLY     HOURS        TOTAL
    ASSOCIATES:          DEPARTMENT         ADMITTED*      RATE      BILLED    COMPENSATION
                           Financial
Lena Mandel               Restructuring        1991        $1,080     18.70        $20,196.00
Jason Anderson                                              $995      9.30          $9,253.50
                                                            $995      91.30        $90,843.50
Samir Vora                  Litigation         2007        $497.5*     5.50        $2,736.25
Kamel Aitelaj               Litigation         2008         $995      26.70        $26,566.50
James Beebe                    Tax             2011         $995      13.50        $13,432.50
Nicholas Deluca                Tax             2009         $995      1.00          $995.00

                           Financial                        $995     123.30        $122,683.50
Daniel Denny              Restructuring        2005        $497.5*   13.00          $6,467.50
                           Financial
James Behrens             Restructuring        2015         $995      13.10        $12,510.50
Erin Dexter                 Litigation         2014         $920      58.90        $54,188.00

                           Financial                       $920      144.90        $133,308.00
Rachael Franzoia          Restructuring        2013        $460*      7.50          $3,450.00
                           Financial
Matthew Koch              Restructuring        2014         $920     182.10        $167,532.00
                           Financial
Parker Milender           Restructuring        2014         $920      20.10        $18,492.00
Katherine Pierucci          Litigation         2014         $920      19.90        $18,308.00
                           Financial
Jordan Weber              Restructuring        2015         $920      60.00        $55,200.00
Christina Skaliks              Tax             2015         $875      16.30        $14,262.50
Julie Wolf                  Litigation         2016         $875     156.00        $136,500.00
Emile Ayoub                 Litigation         2017         $830      26.70        $22,161.00
Archan Hazra                   Tax             2017         $830      7.80          $6,474.00
Kavon Khani                 Litigation         2017         $830      56.80        $47,144.00
                           Financial
Adeola Adeyosoye          Restructuring        2018         $735      1.00          $735.00
Julia Duke                  Litigation         2018         $735      89.70        $65,929.50
Luis Orengo                 Litigation         2018         $735      52.90        $38,881.50
                          Global Project,
                           Energy and
                          Infrastructure
Henry Seeley                 Finance           2018         $735      20.00        $14,700.00


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Stephen Benz                 Litigation        2019         $595       8.30         $4,938.50
Margherita Capolino          Litigation        2019         $595      22.90         $13,625.50
Rachael Connelly          Global Corporate     2018         $595      19.10         $11,364.50
Benjamin Heller                 Tax            2018         $595      6.90          $4,105.50
Danielle Lee                 Litigation        2019         $595      84.10         $50,039.50
Julia Wu                     Litigation        2018         $595      57.20         $34,034.00
Joshua Zimberg               Litigation        2019         $595      20.80         $12,376.00


Total Associates:                                          $847.55   1,455.30      $1,233,433.75




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                                                                                TOTAL
     NAME OF                                                  HOURLY            HOURS         TOTAL
PARAPROFESSIONALS:                DEPARTMENT                   RATE             BILLED     COMPENSATION
Angel Anderson                        Litigation                $350              8.50            $2,975.00
Abayomi Ayandipo                      Litigation                $350             19.90            $6,965.00
Jenifer Gibbs                         Litigation                $350              3.30            $1,155.00
David McCracken                       Litigation                $350              8.00            $2,800.00
                                     Financial
Charmaine Thomas                    Restructuring               $300             11.20            $3,360.00
                                     Financial
Jacqueline Brewster                 Restructuring               $290              2.60             $754.00
Brandon Fiscina                   Practice Support              $250             14.50            $3,625.00
                               Global Project, Energy
James Liles                        and Finance                  $635              8.50            $5,397.50


Total Paraprofessionals
and other non-legal staff:                                    $353.35            76.50           $27,031.50



                PROFESSIONALS                        BLENDED RATE         TOTAL HOURS        TOTAL
                                                                            BILLED        COMPENSATION
TOTALS:

Partners and Counsel                                    $1,415.71             631.30         $893,740.00

Associates                                              $847.55              1,455.30        $1,233,433.75

Paraprofessionals and other non-legal staff             $353.35                76.50             $27,031.50

Blended Attorney Rate                                   $1,019.44            2,086.60        $2,127,173.75

Total Fees Incurred                                     $995.89              2,163.10        $2,154,205.25




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                        EXHIBIT B




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                       COMPENSATION BY WORK TASK CODE FOR
                         SERVICES RENDERED BY MILBANK LLP
                 FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

TASK
                                  DESCRIPTION                                 HOURS       AMOUNT
CODE
00003   Automatic Stay                                                         25.50      $27,422.00
00004   Bankruptcy Litigation                                                 411.70     $351,169.50
00007   Case Administration (Dockets updates, WIP and calendar)                58.60      $51,288.00
00010   Communications with Client                                            135.80     $147,634.50
00011   Communications with Unsecured Creditors                                9.10       $11,250.50
00012   Committee Meetings                                                    126.60     $148,424.00
00013   Committee Governance                                                   41.60      $50,525.00
00014   Corporate Governance and Board Issues                                  70.60      $69,971.50
00015   Customer, Supplier and Vendor Issues                                   17.50      $19,474.50
00016   DIP Financing/Cash Management                                          62.70      $81,395.50
        General Case Strategy(includes calls with client and team calls and
00018                                                                         264.40     $284,234.00
        meetings)
00020   Court Hearings                                                         68.60      $91,302.00
00022   Non-Bankruptcy Litigation                                              43.60      $37,657.50
00023   Non-Working Travel                                                     36.00      $20,353.75
00027   CPUC                                                                   28.40      $28,506.50
00028   FERC                                                                   9.90       $11,362.50
00029   Retention/Fee Applications                                            315.20     $297,308.00
00032   Subrogation Issues                                                     33.40      $27,868.00
00034   Tax Issues                                                             40.10      $45,019.00
00036   U.S. Trustee                                                            8.70       $9,926.50
00038   Wildfire Claims and Treatment                                         118.90     $116,100.00
00039   Employee Benefits/Severance Issues                                    236.20     $226,012.50
TOTAL                                                                         2,163.10   $2,154,205.25




                                                     5
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                        EXHIBIT C




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                                  EXPENSE SUMMARY
                  FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

EXPENSES                                                                  AMOUNTS

Computerized Research                                                     $69,209.77

Lodging                                                                    $3,534.15

Mail                                                                       $1,461.40

Meals                                                                      $1,965.32

Travel                                                                     $4,400.01

Transportation                                                             $1,941.58

Duplicating                                                                $2,072.49

Telephone                                                                  $1,213.66

Transcript Fees                                                            $3,025.15

Total Expenses Requested:                                                 $88,823.53




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                        EXHIBIT D




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                                                    MILBANK LLP
                                               Description of Legal Services
                                                   Ending March 31, 2019
                                       44553.00003 OCUC of PG&E - Automatic Stay
          Date       Description                                               Hours Name


23343037 3/4/2019    Revise order granting Enel stipulation (.2);                  0.70   Koch, Matthew
                     revise stipulation re Enel lift stay motion
                     (.3); communications w/ T. Kreller and G.
                     Glemann (Stoel) re same (.2).


23355784 3/4/2019    Review order granting Enel stipulation (.2);                  0.40   Price, Craig Michael
                     communications w/ T. Kreller, M. Koch and G.
                     Glemann (Stoel) re same (.2).


23388893 3/14/2019   Calls w/ F. Bloksberg (Bloksberg law) re lift                 0.60   Koch, Matthew
                     stay motion.


23388894 3/14/2019   Communications w/ G. Glemann (Stoel) re Enel                  0.10   Koch, Matthew
                     safe harbor motion.


23389027 3/17/2019   Draft memo re automatic stay issues.                          1.50   Koch, Matthew


23401702 3/18/2019   Review Enel Green Power motion for safe harbor                0.90   Bice, William B.
                     relief (.6);review proposed stipulation between
                     Debtors and Enel (.3).


23754465 3/18/2019   Emails w/ M. Koch re Enel safe harbor motion.                 0.10   Bray, Gregory A.


23754956 3/18/2019   Emails w/ G. Bray and M. Goren (Weil) re Enel                 0.40   Koch, Matthew
                     safe harbor motion (.2); review Enel
                     stipulation (.2).


23401713 3/19/2019   Review Enel interconnection agreements (.6);                  1.10   Bice, William B.
                     draft email memorandum to Milbank Team (D.
                     Dunne, G. Bray, T. Kreller, A. Leblanc) on
                     stipulation rationale (.5).


23404074 3/21/2019   Call with M. Goren (Weil) and M. Koch (Milbank)               0.20   Bice, William B.
                     on Enel stipulation.


23423593 3/21/2019   Review as-filed Enel stipulation (.2);                        1.10   Koch, Matthew
                     communications w/ M. Goren (Weil) and W. Bice
                     re Enel stipulation (.4); draft memo re same
                     (.5).




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          Date       Description                                               Hours Name


23755475 3/21/2019   Emails w/ J. Weber on documents related to                    0.10   Koch, Matthew
                     esVolta motion.


23430686 3/21/2019   Review pleadings and other relevant documents                 2.70   Weber, Jordan A.
                     related to esVolta motion (1.6); emails with M.
                     Koch on the same (.1); review precedent
                     documents for the automatic stay issues (1).


23405164 3/22/2019   Strategy call w/ M. Koch, E. Dexter and S. Vora               0.70   Milender, Parker
                     re: stay issues (.3); review materials re same
                     (.4).


23789609 3/24/2019   Review court documents related to automatic                   4.00   Weber, Jordan A.
                     stay relief issue (1.1); review precedent
                     memoranda and research on the same (.9); begin
                     draft of memo on automatic stay relief filing
                     (1.8); review diligence required on the same
                     (0.2).


23432328 3/25/2019   Emails w/ J. Weber and M. Goren (Weil) re                     0.80   Koch, Matthew
                     esVolta safe harbor motion (.4); communications
                     w/ J. Weber re esVolta safe harbor motion (.4).


23432333 3/25/2019   Emails w/ W. Bice and J. Weber re lift stay                   0.40   Koch, Matthew
                     issues (.1); discuss same w/ C. Price (.3).


23439409 3/25/2019   Review lift stay issues (.2); discuss same with               0.50   Price, Craig Michael
                     M. Koch. (.3).


23460279 3/25/2019   Research (1.3) and draft memo regarding                       3.80   Weber, Jordan A.
                     (redacted) (1.9); emails w/ W. Bice and M. Koch
                     re lift stay issues (.1); emails w/ M. Koch re
                     esVolta safe harbor motion (.2); comms w/ same
                     re same (.2); t/c with W. Farmer re: Enel Green
                     Power memo materials (.1).




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          Date       Description                                               Hours Name


23438946 3/26/2019   Review esVolta motion safe harbor analysis                    3.80   Bice, William B.
                     (.4); review memo in support of esVolta motion
                     and supporting declaration (.8); review esVolta
                     PPA (.8); research (redacted) (1.1); draft
                     correspondence to M. Koch, J. Weber
                     highlighting differences between esVolta and
                     energy PPAs (.5);emails w/ M. Koch and J. Weber
                     re lift stay issues (.1); emails w/ M. Koch re
                     esVolta safe harbor motion (.1).


23432538 3/26/2019   Review esVolta draft stipulation (.2); emails                 0.40   Koch, Matthew
                     w/ W. Bice and E. Brady (Hogan Lovells) re
                     esVolta safe harbor motion (.2).


23460389 3/26/2019   Review (.3) and implement comments to memo on                 1.20   Weber, Jordan A.
                     motion to lift stay (.9).




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                                                  Ending March 31, 2019
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          Date      Description                                               Hours Name


23309418 3/1/2019   Review pleadings re motion for appointment of              0.80   Bice, William B.
                    public entities committee (.5); correspond with
                    D. Dunne, A. LeBlanc, P. Aronson, T. Kreller,
                    and G. Bray re Committee position on motion
                    (.3).


23318831 3/1/2019   Draft section of solvent debtor issues                     4.30   Duke, Julia C.
                    memorandum.


23319431 3/1/2019   Conduct research re: (redacted) (4.2); Internal            4.80   Khani, Kavon M.
                    correspondence re: same (.3); email
                    correspondence re: Motion to Appoint an
                    Official Committee of Public Entities (.2);
                    email correspondence re: objection deadline for
                    remaining first day motions (.1).


23329631 3/4/2019   Review (2.3) and analyze (1.9) case law re                 4.60   Denny, Daniel B.
                    appointment of public entity committee; t/c. w/
                    E. Dexter, J. Wolf, J. Duke and R. Franzoia re
                    research and analysis re response to public
                    entity committee motion (.3); email to T.
                    Kreller re same (.1).


23357636 3/4/2019   Correspondence with Milbank team re FERC                   0.90   Dexter, Erin E.
                    adversary reply.


23740664 3/4/2019   Review pleadings (1.4) and research (.8) i/c/w             3.80   Dexter, Erin E.
                    (redacted); internal correspondence re same
                    (.5); meet with J. Duke and J. Wolf re public
                    entities committee objection (.4); meet with J.
                    Duke, J. Wolf, R. Franzoia, and D. Denny re
                    same (.7).


23319144 3/4/2019   Conduct research re (redacted) (6.8); meet with            7.90   Duke, Julia C.
                    E. Dexter and J. Wolf re same (.4); meet with
                    E. Dexter, J. Wolf, R. Franzoia and D. Denny re
                    same (.7).




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                                                   Ending March 31, 2019
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          Date      Description                                               Hours Name


23360495 3/4/2019   Draft memo to the Committee regarding Motion to            6.00   Franzoia, Rachel
                    Appoint Public Entities Committee (4.9); conf.
                    with D. Denny, J. Duke, E. Dexter and J. Wolf
                    regarding opposition to public entities
                    committee motion (.7); internal comms re same
                    (.4).


23355373 3/4/2019   Research re: (redacted) (2.9); correspondence              3.20   Khani, Kavon M.
                    with J. Wolf and J. Duke re: client memorandum
                    w/r/t same (.3).


23354207 3/4/2019   Review FERC opposition to PI (2.1), PPA                    9.70   Orengo, Luis E.
                    counterparties opposition to PI (1.3), PPA
                    counterparties opposition to motion to
                    intervene (2.1), Frank Lindt opposition to PI
                    (1.1); draft counter arguments for reply brief
                    to each brief (3.1)


23387087 3/4/2019   Review public entities' motion for appointment             3.00   Vora, Samir
                    of official committee (1.2) and conduct
                    research thereon (1.8).


23344536 3/4/2019   Call with E. Dexter and J. Duke re: Motion for             8.70   Wolf, Julie M.
                    Appointment of Public Entities Committee (.4);
                    review Motion for Appointment of Public
                    Entities Committee and cases cited therein
                    (2.1); conduct legal research re: (redacted)
                    (3.4); call with W. Bice re: opposition to
                    motion for public entities committee (.3); call
                    with R. Franzoia, D. Denny, E. Dexter, and J.
                    Duke re: committee Opposition to motion for
                    public entities committee (.7); draft outline
                    of arguments for Opposition (1.8).


23327216 3/5/2019   Review PG&E petition for rehearing in Exelon               1.00   Bice, William B.
                    case (.6); discussion with A. LeBlanc re
                    intervention in FERC proceeding (.1);
                    correspond with J. Lilesre filed rate
                    jurisprudence on electric and gas cases (.3).


23329623 3/5/2019   Conf. w/ R. Franzoia (multiple) re memo re                 2.30   Denny, Daniel B.
                    public entity committee motion (.6); research
                    regarding (redacted) (1.7).


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                                               Description of Legal Services
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23357692 3/5/2019   Internal correspondence (1.5) and calls (.4)                 1.90   Dexter, Erin E.
                    regarding reply in support of PI in FERC
                    adversary proceeding.


23327697 3/5/2019   Coordinate with team re pro hac vice                         1.30   Duke, Julia C.
                    applications for A. Leblanc and A. Stone (.8);
                    attend Milbank team call re strategy (.5).


23740912 3/5/2019   Draft objection to motion to appoint official                7.80   Duke, Julia C.
                    committee of public entities.


23360493 3/5/2019   Research regarding (redacted) (.7); revise memo              5.40   Franzoia, Rachel
                    to Committee regarding same (3.7); email
                    exchange with J. Wolf regarding same (.4);
                    conference with D. Denny re same (.6).


23355952 3/5/2019   Conduct research re: (redacted) (5.7); draft                 7.60   Khani, Kavon M.
                    client memorandum outline re: same (1.6);
                    review email correspondence re: statement filed
                    by Ad Hoc Committee of Senior Unsecured
                    Noteholders (.3).


23346264 3/5/2019   Coordinate re FERC adversary proceeding (1.1);               1.20   Leblanc, Andrew M.
                    discussion with W. Bice re intervention in FERC
                    proceeding (.1).


23354322 3/5/2019   Continue review of FERC opposition to PI (1.3),             10.70   Orengo, Luis E.
                    PPA counterparties opposition to PI (.8), PPA
                    counterparties opposition to motion to
                    intervene (.9), Frank Lindt opposition to PI
                    (.7); conf. with E. Dexter regarding reply to
                    oppositions briefs (1.1); prepare write-up to
                    discuss on call regarding reply to oppositions
                    briefs (1.3); discussion with J. Liles
                    regarding FERC jurisdictional issues (.4);
                    follow up meeting with same re same (.1);
                    research re (redacted) (.8); draft outline of
                    reply briefing re oppositions briefs (2.7);
                    email w/ W. Bice re outline of reply briefing
                    issues (.4); email to W. Bice re Boston
                    Generating case law (.2).




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23387093 3/5/2019   Further analyze public entity motion for                   2.50   Vora, Samir
                    committee appointment (1.3); research regarding
                    (redacted) (1.2).


23359964 3/6/2019   Call regarding potential intervention of the               4.80   Aitelaj, Kamel Malik
                    Committee in FERC proceeding (1.0); call with
                    PG&E's counsel (Weil) regarding petition for
                    injunction (.5); prep for same (.6);
                    preliminary analysis regarding adequacy of
                    intervention in FERC proceeding (2.7).


23352149 3/6/2019   Attend team meeting re filing protocol and                 2.50   Anderson, Angel R.
                    court rules (.7); internal correspondence (.4)
                    and prep (1.4) re same.


23342356 3/6/2019   Participate in litigation team meeting re                  6.00   Ayandipo, Abayomi A.
                    filing logistics (.7); review case management
                    procedures order (1.2); review case docket and
                    prepare litigation team work materials re case
                    law regarding arguments in opposition to
                    preliminary injunction, FERC and PPA
                    counter-parties opposition and adversary
                    proceedings reply briefing (4.1).


23333668 3/6/2019   Review summary of reply brief of FERC in                   2.10   Bice, William B.
                    adversary proceeding (.7); provide additional
                    comment on potential counterarguments in
                    proceedings (.5). conf. with E. Dexter, T.
                    Kreller, L. Orengo and M. Nolan on FERC
                    adversary proceeding arguments (.4); correspond
                    with J. Liles re Boston Generating case as
                    Federal Power Act precedent (.2); call with J.
                    Liles and M. Nolan re FERC intervention (.3).


23333712 3/6/2019   Draft response for ratepayer committee request.            0.20   Bice, William B.


23340052 3/6/2019   Teleconference with E. Dexter regarding                    1.40   Denny, Daniel B.
                    response to Public Entities Committee motion
                    (.2); revise draft memorandum regarding
                    response to Public Entities Committee motion
                    (.5); review (.3) and revise (.4) draft
                    response regarding public entity committee
                    motion.


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23743600 3/6/2019   Conf. with D. Denny re response to Public                  0.20   Denny, Daniel B.
                    Entities Committee motion.


23357796 3/6/2019   Correspondence w/ team regarding reply in                  2.00   Dexter, Erin E.
                    support of PI in FERC adversary proceeding
                    (.9); conf. with W. Bice, T. Kreller, L. Orengo
                    and M. Nolan re FERC adversary proceeding
                    arguments (.4) and prep for same (.2); call
                    with Weil re reply in support of PI in FERC
                    adversary proceeding (.5).


23741305 3/6/2019   Review revised opposition to public entities               3.50   Dexter, Erin E.
                    motion (2.1); review (.6) and draft (.8)
                    correspondence concerning same.


23329127 3/6/2019   Review all local, court, and bankruptcy rules              6.50   Duke, Julia C.
                    regarding filing (2.7); draft tip sheet for
                    filing in PG&E bankruptcy and adversary
                    proceedings (2.1); meet with E. Dexter re same
                    (.3); revise as per E. Dexter (.7); attend
                    meeting re same (.7).


23329132 3/6/2019   Review (.3) and revise (.6) objection to motion            0.90   Duke, Julia C.
                    for public entities committee.


23338781 3/6/2019   Review Butte settlement motion.                            0.30   Dunne, Dennis F.


23345478 3/6/2019   Team meeting regarding case management and                 2.30   Gibbs, Jenifer G.
                    filing protocol (.7); comms. with D. Denny re
                    same (.4); review case information and
                    documentation provided for same (1.2).


23355997 3/6/2019   Conduct research re: (redacted) (4.3); meet                8.30   Khani, Kavon M.
                    with J. Wolf to discuss issues related to
                    client memorandum re same (.4); draft client
                    memorandum re: (redacted) (3.6).


23360592 3/6/2019   Review (.8) and revise (.6) UCC objection to               2.10   Kreller, Thomas R.
                    Public Entity motion for official committee;
                    internal correspondence with team re same (.7).




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23360628 3/6/2019   Review FERC adversary filings (1.9); attention             3.20   Kreller, Thomas R.
                    to reply brief issues (.9); t/c with W. Bice,
                    E. Dexter, L. Orengo and M. Nolan re FERC
                    adversary proceeding arguments (.4).


23345896 3/6/2019   Call with W. Bice re FERC adversary proceeding             1.00   Liles, James
                    (.3); meet with L. Orengo re reply briefing
                    issues (.6); email w/ same re case law
                    addressing FERC actions under FPA (.1).


23356082 3/6/2019   Revise FERC-related documents (1.9); internal              3.00   Nolan, Michael D.
                    comms. re procedural background re same (.7);
                    conf. with W. Bice, T. Kreller, L. Orengo and
                    E. Dexter re FERC adversary proceeding
                    arguments (.4).


23354326 3/6/2019   Draft email to W. Bice regarding questions                 7.10   Orengo, Luis E.
                    i/c/w reply briefing issues for pre-call with
                    Milbank team and call with Weil (1.1); research
                    re: (redacted) (2.4); discussion with J. Liles
                    regarding different treatment of market-based
                    rates and cost-based rates by FERC (.9); email
                    w/ W. Bice regarding FERC authority to regulate
                    buyer (.3); conf. with W. Bice, T. Kreller, L.
                    E. Dexter and M. Nolan re FERC adversary
                    proceeding reply brief (.4); call with Weil
                    regarding reply briefing issues (.5); follow-up
                    correspondence with E. Dexter (.4); review
                    issues re UCC reply brief in support of PI
                    (1.1).


23344449 3/6/2019   Conf. with J. Wolf re regarding (redacted).                0.40   Wolf, Julie M.


23741309 3/6/2019   Draft additional sections of Opposition to                 7.50   Wolf, Julie M.
                    public entities committee motion (1.1); revise
                    same to align with letter to US Trustee (2.1)
                    and incorporate edits from E. Dexter (.7);
                    review ongoing CPUC proceedings to determine
                    public entities party thereto (1.2); review
                    local rules for motion pleading requirements
                    i/c/w Opposition to PE Motion (.7); conduct
                    legal research re: (redacted) (1.7).




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23360136 3/7/2019   Meeting (.2) and emails (.2) with L. Orengo                4.50   Aitelaj, Kamel Malik
                    regarding FERC proceedings; review materials
                    from FERC proceeding and bankruptcy adversary
                    proceeding (4.1).


23352156 3/7/2019   Retrieve cases and statues i/c/w FERC adversary            3.50   Anderson, Angel R.
                    proceeding from Westlaw database (3.1);
                    internal correspondence re same (.4).


23356035 3/7/2019   Research re (redacted).                                    3.10   Khani, Kavon M.


23354222 3/7/2019   Review FERC adversary and appeal arguments                 8.60   Orengo, Luis E.
                    (1.1); email (.3) and conf. (.2) with K.
                    Aitelaj re same (.1); draft UCC reply brief in
                    support of debtors' motion for preliminary
                    injunction (6.9).


23387110 3/7/2019   Incorporate comments to opposition to motion               2.20   Vora, Samir
                    for appointment of public entity committee
                    (1.3); further review (.3) and edit (.6) same.


23344471 3/7/2019   Revise Opposition to PE Motion per comments and            5.50   Wolf, Julie M.
                    edits from W. Bice and D. Denny (2.6); revise
                    Opposition to PE Motion per comments from
                    weekly committee call (1.2); discuss same with
                    E. Dexter (.2); draft talking points for
                    Hearing on PE Motion (1.4); discuss same with
                    D. Denny (.1).


23360004 3/8/2019   Draft (3.9) and edit (1.3) motion to intervene             7.30   Aitelaj, Kamel Malik
                    in FERC proceeding; comms. with J. Liles and E.
                    Dexter re same (.2); revisions to same per M.
                    Nolan's comments (1.9).


23342556 3/8/2019   Review correspondence re filing of pleadings               0.40   Ayandipo, Abayomi A.
                    regarding motion to appoint PE Committee.




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23357879 3/8/2019   Review (.8) and revise (2.1) reply in support              4.00   Dexter, Erin E.
                    of FERC PI; internal correspondence regarding
                    same (.4); call w/ J. Liles and K. Aitelaj re
                    motion to intervene in FERC proceeding (.2);
                    discussions w/ L. Orengo re UCC reply brief in
                    support of motion for preliminary injunction
                    (.5).


23742391 3/8/2019   Revise opposition to public entities committee             2.50   Dexter, Erin E.
                    motion (2.3); correspondence regarding same
                    (.2).


23355657 3/8/2019   Confs. with R. Harris re request for official              0.90   Dunne, Dennis F.
                    ratepayer committee (.2); review Judge Montali
                    decision re same in PG&E I (.4); review
                    recommendation to committee re same (.3).


23352751 3/8/2019   Review (.3) and respond to (.2) support team               1.00   Gibbs, Jenifer G.
                    communications; review case information and
                    court procedures (.5).


23356101 3/8/2019   Conduct research re: (redacted) (2.6); draft               4.40   Khani, Kavon M.
                    client memorandum re: same (1.8).


23346106 3/8/2019   Review draft of Committee motion to intervene              0.80   Liles, James
                    in FERC proceeding (.3); review relevant FERC
                    procedural regulations (.3); call w/ K. Aitelaj
                    re draft motion to intervene (.2).


23356416 3/8/2019   Review relevant pleadings (.6) and revise                  2.00   Nolan, Michael D.
                    motion to intervene (1.4).


23354331 3/8/2019   Draft UCC reply brief in support of debtors'               6.80   Orengo, Luis E.
                    motion for preliminary injunction (2.7); review
                    transcript from 2/27 hearing (.5); discussions
                    with E. Dexter regarding edits to UCC reply
                    brief in support of preliminary injunction
                    (.5); incorporate edits/comments into reply
                    brief (2.9); correspond w/ K. Aitelaj regarding
                    FERC citation (.2).


23354383 3/8/2019   Review PI reply brief.                                     0.50   Stone, Alan J.


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23387117 3/8/2019   Review (1.3) and revise (1.6) research                     5.70   Vora, Samir
                    regarding (redacted); review (.9) and revise
                    (1.9) tort claim and criminal exposure
                    memoranda.


23344676 3/8/2019   Revise Opposition to PE Motion per comments                5.80   Wolf, Julie M.
                    from D. Dunne (2.2); comms with E. Dexter re
                    same (.3); review UST Objection to PE Motion
                    (.7); revise Opposition to PE Motion per UST
                    Objection (1.1); correspond w/ with litigation
                    support team re electronic filing and delivery
                    of paper copies of Opposition to chambers per
                    Court order (.9); prepare materials for 3/13
                    hearing on PE Motion and Oppositions thereto
                    (.6).


23341994 3/9/2019   Review (.6) and comment on (.4) draft                      1.00   Bice, William B.
                    intervention motion for NextEra FERC
                    proceeding.


23357945 3/9/2019   Review revisions to public entities' committee             0.20   Dexter, Erin E.
                    motion and FERC adversary proceeding reply.


23742812 3/9/2019   Review edits to public entities' committee                 0.20   Dexter, Erin E.
                    motion


23341963 3/9/2019   Review (.7) and comment on (.4) FERC                       1.10   Khalil, Samuel A.
                    intervention memo.


23356110 3/9/2019   Conduct legal research re:(redacted) (1.3);                3.40   Khani, Kavon M.
                    continue drafting client memorandum re: same
                    (1.9); correspondence w/ J. Wolf re same (.2).


23360467 3/9/2019   Review pleadings re FERC adversary and                     1.30   Kreller, Thomas R.
                    preliminary injunction motion (.7); revise
                    reply in support of preliminary injunction
                    motion (.6).


23360601 3/9/2019   Review and revise opposition to public entity              1.40   Kreller, Thomas R.
                    committee motion




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23344649 3/9/2019    Revise Opposition to PE Motion per comments and            1.90   Wolf, Julie M.
                     edits from T. Kreller.


23342006 3/10/2019   Review (.3) and comment on (.3) draft adversary            0.70   Bice, William B.
                     brief; correspondence with D. Dunne and S.
                     Khalil re adversary proceeding and FERC
                     intervention (.1).


23357955 3/10/2019   Review (.4) and edit (.8) reply in support of              2.40   Dexter, Erin E.
                     PI in FERC adversary proceeding; correspondence
                     regarding same (.4); revise opposition to
                     public entities committee motion (.6) and
                     correspondence re same (.2).


23343296 3/10/2019   Review case law re (redacted).                             0.50   Koch, Matthew


23360465 3/10/2019   Further review pleadings re FERC adversary and             2.80   Kreller, Thomas R.
                     preliminary injunction motion (1.2); edit reply
                     in support of preliminary injunction motion
                     (1.3); correspondence w/ L. Orengo re same
                     (.3).


23356485 3/10/2019   Review (.4) and comment on (.6) FERC adversary             1.00   Nolan, Michael D.
                     reply.


23354303 3/10/2019   Revise UCC reply brief per T. Kreller                      2.40   Orengo, Luis E.
                     edits/comments (2.2); correspond w/ E. Dexter
                     re same (.2).


23384060 3/10/2019   Review public entities motion.                             0.30   Stone, Alan J.


23387125 3/10/2019   Review debtors' draft opposition to appointment            1.00   Vora, Samir
                     of public entity committee.


23344650 3/10/2019   Communications with E. Dexter re joinder to                0.20   Wolf, Julie M.
                     Opposition to PE Motion.


23388004 3/11/2019   Revisions to draft motion to intervene in FERC             5.50   Aitelaj, Kamel Malik
                     proceeding (5.0); coordinate with J. Liles re
                     same (.4); call with same re same (.1).




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23377116 3/11/2019   Review correspondence re opposition to motion              4.00   Ayandipo, Abayomi A.
                     for appointment of Official Committee of Public
                     Entities (.6); prepare litigation team work
                     materials re related case law, statutes and
                     pleadings regarding motion to appoint PE
                     Committee (3.4).


23375778 3/11/2019   Review revised draft opposition to public                  0.40   Denny, Daniel B.
                     entities committee motion (.3); teleconference
                     with J. Wolf regarding revised draft opposition
                     to public entities committee motion (.1).


23388603 3/11/2019   Finalize public entities motion for filing                 4.50   Dexter, Erin E.
                     (1.0) and correspondence regarding filing and
                     service of same (1.3); correspondence regarding
                     edits to reply in support of FERC PI (2.2).


23365095 3/11/2019   Review district court opinion on reference                 0.60   Dunne, Dennis F.
                     (.4); review indications on merits re same
                     (.2).


23363920 3/11/2019   Per J. Wolf, assist with preparation of key                7.70   Fiscina, Brandon
                     materials for 3/13 hearing (6.7); assist D.
                     McCracken with collection of UCC Opposition
                     filing to be served and preparation of
                     documents to be sent out (1).


23386805 3/11/2019   Conduct research (3.9) and draft client                    7.20   Khani, Kavon M.
                     memorandum (3.3) re: (redacted).


23387185 3/11/2019   Attend telephonic status conference re FERC PI             0.50   Kreller, Thomas R.
                     hearing.


23388492 3/11/2019   Email from W. Bice, re: comments on motion to              1.20   Liles, James
                     intervene in FERC matter (.2); email from K.
                     Aitelajre same (.1); call w/ K. Aitelaj re open
                     issues i/c/w draft motion to intervene (.3);
                     email from K. Aitelaj re revised draft of
                     motion (.1); review (.2) and comment on (.2)
                     revised draft motion to intervene; call w/ K.
                     Aitelaj re same (.1).




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23352782 3/11/2019   Review debtors' response to FERC's objection to            1.50   Mandel, Lena
                     preliminary injunction (.5); review (.3) and
                     markup (.7) UCC's response to same.


23352789 3/11/2019   Review UCC's opposition to Public Entity                   0.40   Mandel, Lena
                     Committee.


23385537 3/11/2019   Review Debtors' FERC adversary reply brief                 2.00   Nolan, Michael D.
                     (1.2) and internal discussion of same (.8).


23395943 3/11/2019   Review Debtors' reply brief in support of                  5.10   Orengo, Luis E.
                     motion for preliminary injunction (3.4); draft
                     email regarding debtors' reply brief (.3);
                     email with K. Aitelaj regarding 108(a) issue
                     (.1);; email E. Dexter regarding 108(a) issue
                     (.2);; draft email to committee regarding
                     district court's denial of withdrawal of
                     reference (.7); summarize debtor's comments to
                     UCC reply brief (.4).


23457355 3/11/2019   Review J. Montali 2001 decision disbanding                 0.70   Vora, Samir
                     official committee of ratepayers.


23379250 3/12/2019   Correspond with E. Dexter re reply brief for               0.60   Bice, William B.
                     FERC adversary (.2); discuss reply brief for
                     preliminary injunction motion with J. Nolan
                     (Weil) and E. Dexter (.4).


23379256 3/12/2019   Review (.4) and comment on (.2) revised FERC               1.00   Bice, William B.
                     intervention pleading; correspond with A.
                     Leblanc, M. Nolan, and E. Dexter) re status of
                     Committee intervention (.4).


23388672 3/12/2019   Finalize FERC reply brief (2.9); discuss same              3.60   Dexter, Erin E.
                     with J. Nolan (Weil) and W. Bice (.4);
                     correspondence w/ A. Ayandipo re same (.3).


23384260 3/12/2019   Review (1.8) and revise (2.3) solvent debtor               4.10   Duke, Julia C.
                     memo.




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23386837 3/12/2019   Conduct further legal research re: (redacted)               5.40   Khani, Kavon M.
                     (2.1); further revise client memorandum re:
                     same (2.4); correspondence w/ J. Wolf re same
                     (.3); review case management order from Judge
                     Montali i/c/w same (.6).


23387386 3/12/2019   Review (.4) and revise (.6) reply in support of             1.00   Kreller, Thomas R.
                     preliminary injunction motion.


23388536 3/12/2019   Email from W. Bice re: comments to revised                  0.30   Liles, James
                     draft of FERC motion to intervene (.2); emails
                     w/ W. Bice and M. Nolan re same # (.1).


23378174 3/12/2019   Review case management order i/c/w hearing                  5.30   Wolf, Julie M.
                     agenda (.1); summarize same for T. Kreller
                     (.2); discuss Ratepayer Committee Motion with
                     E. Dexter and M. Koch (.2); conduct legal
                     research re: (redacted) (4.8).


23387920 3/13/2019   Revisions to draft motion to intervene in FERC              1.80   Aitelaj, Kamel Malik
                     proceeding (1.4); coordinate with M. Nolan and
                     J. Liles re same (.4).


23379549 3/13/2019   Call with M. Nolan on intervention proceedings              0.60   Bice, William B.
                     pleadings (.4); review revised intervention
                     pleading (.2).


23388755 3/13/2019   Final edits to reply brief (.7) and                         1.70   Dexter, Erin E.
                     coordination ref filing of same (1).


23363941 3/13/2019   Prepare UCC Reply Brief in Support of                       0.50   Fiscina, Brandon
                     Preliminary Injunction and related materials
                     for service.


23386875 3/13/2019   Review (.8) and research (1.3) client                       3.30   Khani, Kavon M.
                     memorandum re: (redacted); conduct additional
                     research re: same (1.2).


23389283 3/13/2019   Call with M. Nolan and K. Aitelaj re: motion to             0.40   Liles, James
                     intervene in FERC proceedings.




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23385567 3/13/2019   Call w/ J. Liles and K. Aitelaj re: motion to               2.00   Nolan, Michael D.
                     intervene in FERC proceedings (.4); draft FERC
                     petition (1.6).


23395948 3/13/2019   Email regarding edits to reply brief (.2);                  0.90   Orengo, Luis E.
                     finalize same (.2); coordinate filing (.2); and
                     service(.3) of reply brief.


23457366 3/13/2019   Review (.8) and revise (2.4) latest versions of             3.20   Vora, Samir
                     criminal exposure and civil liabilities
                     memoranda.


23387946 3/14/2019   Finalize for filing motions to intervene in                 2.80   Aitelaj, Kamel Malik
                     FERC proceedings (NextEra and Exelon) (1.6);
                     corr. with Y. Ayandipo re same (.7); coordinate
                     with K. Aitelaj and M. Nolan re: filing of same
                     (.5).


23377132 3/14/2019   Finalize motion to intervene for filing (2.1)               3.50   Ayandipo, Abayomi A.
                     and coordinate service on notice parties (.5);
                     review correspondence re same (.9).


23391630 3/14/2019   Research (redacted) (2.2); draft memo re: same              4.80   Benz, Stephen
                     for S. Vora and J Wolf (2.6).


23379634 3/14/2019   Correspondence with Weil team on filing of                  0.30   Bice, William B.
                     intervention at FERC.


23386235 3/14/2019   Review strategy re FERC intervention and                    0.70   Dunne, Dennis F.
                     rehearing.


23386893 3/14/2019   Conduct further research re: (redacted) (.7);               2.80   Khani, Kavon M.
                     draft memorandum re: (redacted) (1.9); discuss
                     same with J. Wolf (.2).




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23389346 3/14/2019   Corr.w/ K. Aitelaj re: administrative process              2.00   Liles, James
                     for FERC electronic filings (.4); coordinate
                     with K. Aitelaj and M. Nolan re: filing of FERC
                     motions to intervene (.5); further research re:
                     (redacted) (.4) and correspond w/ K. Aitelaj re
                     same (.2); correspond w/ litigation support
                     team re: procedures for service (.1);
                     correspondence w/ T. Kreller re: edits to FERC
                     motions (.3); email exchange with T. Kreller
                     and W. Bice re same (.1).


23379604 3/15/2019   Correspond with Weil re intervention (.1);                 0.20   Bice, William B.
                     correspond with M. Nolan and A. Leblanc on
                     Exelon intervention (.1).


23384617 3/15/2019   Meet with litigation team re open issues and               1.00   Duke, Julia C.
                     research topics (.5); meet with UCC team re
                     same (.5).


23386268 3/15/2019   Review possible legislative action re inverse              1.10   Dunne, Dennis F.
                     condemnation (.4); review constitutional issues
                     re same (.7).


23423503 3/19/2019   Review motion to dismiss Camp Fire adversary.              0.40   Koch, Matthew


23457383 3/19/2019   Review and analyze debtors' motion to dismiss              3.10   Vora, Samir
                     Camp-Fire related adversary proceeding (1.0);
                     review (1.7) and finalize (.4) memorandum
                     regarding PG&E criminal exposure liability.


23408796 3/19/2019   Review Debtors' hedging motion and related                 5.60   Wolf, Julie M.
                     declaration (1.1); draft objection to hedging
                     motion (1.4); discuss same with M. Koch (.1);
                     conduct research re: (redacted) (2.1); review
                     communications and diligence requests between
                     FTI and Alix (.9).


23419843 3/19/2019   Research (redacted) (,9): incorporate                      2.70   Wu, Julia S.
                     (redacted) into memo (.4); draft memo regarding
                     (redacted) (.5); incorporate comments and
                     revisions to memo regarding (redacted) (.9).




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23419859 3/19/2019   Draft memo regarding debtor's motion to dismiss            1.40   Wu, Julia S.
                     class action complaint against PG&E (.5);
                     address comments and revisions to memo
                     regarding potential proof of claim filed by
                     potential class (.9).


23422501 3/20/2019   Review materials regarding request for judicial            0.70   Dexter, Erin E.
                     notice.


23419890 3/20/2019   Research case law regarding (redacted) (3.0);              7.40   Wu, Julia S.
                     further edit (2.1) and revise (.7) memo;
                     research (redacted) (1.0); edit memo re PG&E’s
                     motion to dismiss class action (.5); discuss
                     with K. Pierucci effects of an automatic stay
                     expiration (.1).


23419913 3/21/2019   Incorporate comments to memo re class action               7.20   Wu, Julia S.
                     proof of claim in bankruptcy (2.6); discuss
                     with K. Pierucci re same (.2); draft memo
                     summarizing PG&E's motion to dismiss an
                     adversary proceeding (2.1); research
                     (redacted) (2.3).


23408991 3/22/2019   Prepare materials re D. Friske deposition                  2.50   Ayandipo, Abayomi A.
                     transcripts and related exhibits.


23422624 3/22/2019   Correspondence regarding Debtors' motion to                0.80   Dexter, Erin E.
                     dismiss Herndon (Camp Fire) class action (.4);
                     meet w/ J. Duke re judicial notice (.4).


23457394 3/22/2019   Review Debtors' motion to dismiss or stay                  4.10   Vora, Samir
                     Herndon class action (.4); review preliminary
                     comments to motion summarizing same (.7);
                     summarize submissions with respect to PGE
                     probation hearing (2); research regarding
                     (redacted) (1).




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23409105 3/22/2019   Review PG&E response to second order to show               2.80   Wolf, Julie M.
                     cause (.5); review CPUC response re same (.4);
                     review U.S. attorney response re same (.2);
                     summarize responses to second order to show
                     cause (.8); review press release, agenda, and
                     materials for April 3, 2019 meeting of
                     Commission on Catastrophic Wildfire Cost and
                     Recovery (.9).


23419920 3/22/2019   Research case law on (redatced) (1); revise                2.60   Wu, Julia S.
                     draft memo summarizing PG&E's motion to dismiss
                     class action adversary proceeding (.8);
                     research (redatced) (.6); discuss memo with K.
                     Pierucci (.2).


23419938 3/23/2019   Research on (redacted) (2.9); summarize PG&E's             4.50   Wu, Julia S.
                     motion to dismiss class action adversary
                     proceeding (1.1); review memo (.3); comms w/ M.
                     Koch re show cause pleadings (.2). (redacted)


23422701 3/24/2019   Edit Committee memo on Debtors' motion to                  2.30   Dexter, Erin E.
                     dismiss Herndon (Camp Fire) class action.


23425469 3/24/2019   Revise memorandum re: Herndon motion to dismiss            3.20   Pierucci, Katherine R.
                     (2.5); research redacted) (.7).


23457399 3/24/2019   Review memorandum regarding Debtors' motion to             1.80   Vora, Samir
                     dismiss Herndon complaint.


23455013 3/25/2019   Correspondence regarding memo on MTD Herndon               1.10   Dexter, Erin E.
                     class action complaint.


23444791 3/25/2019   Incorporate edits into memo re PG&E's motion to            0.40   Wu, Julia S.
                     dismiss class action lawsuit against PG&E.


23444123 3/27/2019   Collect materials re Corrected Declaration of              2.80   Fiscina, Brandon
                     T. Kreller (.5); prepare service re same (1.8);
                     compile (.4) and circulate (.1) hard copy
                     deposition materials attorneys.




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23455009 3/29/2019   Conference w/ D. Denny re litigation support              0.90   Kreller, Thomas R.
                     and case management (.1); conference w/ D.
                     Denny and J. Weber re mass tort issues (.4);
                     emails w/ D. Denny and J. Weber re mass tort
                     issues (.4).


23446751 3/29/2019   Communication with FTI and Milbank teams re:              1.20   Wolf, Julie M.
                     hedging motion objection.




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23305752 3/1/2019      Review draft Committee meeting minutes.                      0.50   Denny, Daniel B.


23325779 3/1/2019      Review docket and update calendar of critical                0.50   Franzoia, Rachel
                       dates and deadlines.


23328929 3/1/2019      Review docket. (.3); update task list (.4);                  1.00   Koch, Matthew
                       communications w/ T. Kreller, G. Bray, and P.
                       Aronzon re workstreams (.3).


23314503 3/1/2019      Review and update pleadings database and                     0.60   Thomas, Charmaine
                       distribute filings to team.


23343024 3/4/2019      Update task list (.7); review service pleadings              0.80   Koch, Matthew
                       (.1).


23346151 3/4/2019      Update pleadings database.                                   0.60   Thomas, Charmaine


23329620 3/5/2019      Review updated task list.                                    0.10   Denny, Daniel B.


23360496 3/5/2019      Review court filings and docket updates (.6);                0.90   Franzoia, Rachel
                       update calendar of critical dates and deadlines
                       (.3).


23360532 3/6/2019      Review filings and docket entries (.3); update               0.50   Franzoia, Rachel
                       calendar (.2).


23346203 3/6/2019      Update pleadings database (1.6) and distribute               1.70   Thomas, Charmaine
                       filings to team (.1).


23360556 3/7/2019      Review filings (.2) and update calendar per                  0.40   Franzoia, Rachel
                       same (.2).


23343212 3/7/2019      Emails w/ D. Dunne re committee administration               1.10   Koch, Matthew
                       issues (.3); update task list (.2); coordinate
                       work streams (.2); calendar critical dates
                       (.2); draft emails to C. Price re same (.2).


23338406 3/7/2019      Correspond with M. Koch, C. Price and D. Denny               0.20   Mandel, Lena
                       re administrative matters.




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23356261 3/7/2019      Revise task list (.1); coordinate work streams              0.70   Price, Craig Michael
                       (.2) correspondence with M. Koch re same (.1);
                       review calendar of critical dates (.2); draft
                       emails to M. Koch re same (.1).


23340733 3/8/2019      Review task list and work streams (.1);                     0.60   Denny, Daniel B.
                       teleconference with working group re same (.4);
                       email exchanges with litigation support re
                       filing and service of pleading (.1).


23360562 3/8/2019      Review filings and docket entries (1.7); update             2.50   Franzoia, Rachel
                       calendar (.8).


23343274 3/8/2019      Update task list (.1); docket notice of                     0.40   Koch, Matthew
                       continued hearing (.1); emails w/ T. Kreller re
                       same (.1); update case calendar (.1).


23356309 3/8/2019      Review task list (.2); emails w/ T. Kreller re              0.70   Price, Craig Michael
                       open issues (.1); review case calendar (.4).


23346476 3/8/2019      Review conflicts material (.3) and create                   1.40   Thomas, Charmaine
                       additional conflict binders (1.1).


23390002 3/11/2019     Review docket entries and filings (.3); update              0.60   Franzoia, Rachel
                       calendar (.3).


23388610 3/11/2019     Update task list.                                           0.20   Koch, Matthew


23387394 3/11/2019     Review and analyze new motions re STIP (.6),                2.40   Kreller, Thomas R.
                       tax payments (.4), hedging program (.4) and
                       Butte settlement (.6) and corr. with team re
                       same (.4).


23380079 3/12/2019     Further correspondence w/ Clerk's Office re                 1.00   Brewster, Jacqueline
                       modification to court docket (.3); review
                       docket re new filings (.3) and update pleading
                       database (.4).


23388719 3/12/2019     Coordinate work streams (.8); review case                   1.50   Koch, Matthew
                       management order (.4); correspondence w/ T.
                       Kreller and C. Thomas re same (.3).


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23377998 3/12/2019   Review case management order (.4);                         0.70   Price, Craig Michael
                     correspondence w/ T. Kreller and C. Thomas re
                     same (.3).


23380695 3/12/2019   Review conflicts search list (.6) and create               2.20   Thomas, Charmaine
                     conflicts binder (1.6).


23392650 3/12/2019   Organize case documents and materials.                     0.80   Weber, Jordan A.


23380093 3/13/2019   Review court docket re recent filings (.2);                0.40   Brewster, Jacqueline
                     update pleadings files accordingly (.2).


23386221 3/13/2019   Confs. with C. Jacobs re Wamco (.3); review                0.50   Dunne, Dennis F.
                     same and consequences (.2).


23388809 3/13/2019   Review docket (.2); update task list (.2);                 0.60   Koch, Matthew
                     review PG&E 8-k (.2).


23380719 3/13/2019   Review docket re filings (.3); update pleadings            1.10   Thomas, Charmaine
                     database (.8).


23389946 3/14/2019   Review docket entries and filings (.6); update             0.90   Franzoia, Rachel
                     calendar (.3).


23388866 3/14/2019   Communications w/ G. Bray and S. Starr (FTI) re            0.70   Koch, Matthew
                     information sharing protocols (.5); update task
                     list (.2).


23377851 3/14/2019   Review recent pleadings filed in case.                     0.80   Price, Craig Michael


23748739 3/14/2019   Retrieve and distribute precedent hedging and              0.80   Thomas, Charmaine
                     trading motions.


23386275 3/15/2019   Confs. with S. Karotkin (Weil) re case                     0.30   Dunne, Dennis F.
                     developments.


23390068 3/15/2019   Review filings and docket entries (.5); update             0.80   Franzoia, Rachel
                     case calendar (.3).




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23379104 3/15/2019   Review task list (.3) and critical dates list             0.80   Mandel, Lena
                     (.2); conference call with team re outstanding
                     matters (.3).


23380802 3/15/2019   Update pleadings database.                                0.90   Thomas, Charmaine


23389002 3/16/2019   Update critical dates on calendar.                        0.20   Koch, Matthew


23386300 3/18/2019   Review creditors willing to replace Wamco (.3);           0.50   Dunne, Dennis F.
                     corr. with A. Vara (UST) re same (.2).


23390046 3/18/2019   Review filings and docket entries (.6); update            0.90   Franzoia, Rachel
                     case calendar (.3).


23423495 3/18/2019   Update case calendar.                                     0.30   Koch, Matthew


23390186 3/19/2019   Review filings and docket entries (.5); update            0.90   Franzoia, Rachel
                     calendar (.4).


23411855 3/20/2019   Review recent filings (.2); update same on                0.40   Brewster, Jacqueline
                     internal drive (.2).


23404948 3/20/2019   Conference with R. Franzoia regarding work in             1.40   Denny, Daniel B.
                     progress (.2); revise litigation support
                     memorandum (.7); review and analyze recent PGE
                     filings (.5).


23754251 3/20/2019   Update case calendar.                                     0.70   Franzoia, Rachel


23423574 3/20/2019   Provide docket update (.2); update task list              1.60   Koch, Matthew
                     (.4); update critical dates calendar (.5);
                     review docket (.2); emails w/ J. Weber re same
                     (.1); coordinate work streams (.2).


23412283 3/20/2019   Update pleadings database (.2); review (.2) and           0.70   Thomas, Charmaine
                     assemble (.3) same.


23423596 3/21/2019   Update task list (.3); coordinate work streams            0.60   Koch, Matthew
                     (.3).




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23751624 3/21/2019   Emails w/ M. Koch re docket updates.                       0.10   Weber, Jordan A.


23754257 3/22/2019   Update case calendar.                                      1.60   Franzoia, Rachel


23423620 3/22/2019   Emails w/ T. Kreller re case management issues             0.90   Koch, Matthew
                     (.3); update task list (.6).


23755096 3/22/2019   Emails w/ C. Price re case management issues.              0.30   Kreller, Thomas R.


23423637 3/23/2019   Call w/ E. Dexter, P. Milender, and S. Vora re             0.30   Koch, Matthew
                     critical dates and work streams.


23454527 3/25/2019   Conference call with UST re fee examiner issues            0.70   Kreller, Thomas R.
                     (.4); review notes re same (.3).


23460310 3/25/2019   Review case updates and new docket alerts.                 0.40   Weber, Jordan A.


23754830 3/26/2019   T/c w/ M. Koch re open items (.3); comms w/ C.             0.60   Bray, Gregory A.
                     Price re open items (.3).


23755100 3/26/2019   Conf. w/ M. Koch re scheduling issues (.2);                0.30   Dunne, Dennis F.
                     comms w/ C. Price re scheduling issues (.1).


23459507 3/26/2019   Conference call with G. Bray to discuss various            0.50   Franzoia, Rachel
                     work streams.


23459517 3/26/2019   Review filings and docket entries (.5); update             0.80   Franzoia, Rachel
                     calendar (.3).


23432544 3/26/2019   T/c with G. Bray re open items (.3);                       1.30   Koch, Matthew
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re scheduling issues (.2); update task list
                     (.6); conf. w/ L. Mandel re matters scheduled
                     for 4/10 hearing (.2).


23439470 3/26/2019   Prepare for (.2) and call (.5) w/ G. Bray re               1.50   Price, Craig Michael
                     strategy; update task list (.5); t/c w/ T.
                     Kreller and M. Koch re next steps (.3).




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23439515 3/26/2019   Communications w/ G. Bray re open items (.3);               1.30   Price, Craig Michael
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re scheduling issues (.2); update task list
                     (.6); conference w/ L. Mandel re matters
                     scheduled for 4/10 hearing (.2).


23447195 3/26/2019   Update pleadings database and case docs. (.8);              1.20   Thomas, Charmaine
                     review docketing and case logistics (.4).


23459950 3/27/2019   Review filings and docket entries (.5); update              0.70   Franzoia, Rachel
                     calendar (.2).


23439479 3/28/2019   Review committee website issues.                            0.40   Price, Craig Michael


23754418 3/29/2019   Emails w/ M. Koch re task list (.1); review                 1.40   Denny, Daniel B.
                     updated task list and case calendar (.5);
                     revise draft task list (.5); conference with T.
                     Kreller regarding litigation support and case
                     management (.1); email exchange with G. Bray
                     hearing transcript and strategic issues (.2).


23454971 3/29/2019   Emails w/ M. Koch re Working Group List.                    0.10   Dunne, Dennis F.


23459511 3/29/2019   Review filings and docket entries (.6); update              0.90   Franzoia, Rachel
                     calendar (.3).


23457956 3/29/2019   Emails w/ D. Denny re task list (.1); emails w/             0.70   Koch, Matthew
                     C. Price and D. Dunne re working group list
                     (.1); manage work streams (.5).


23455172 3/29/2019   Update key parties list (.3); t/c with FTI re               1.20   Price, Craig Michael
                     same (.3); t/c with Epiq re website (.2);
                     review docket for filings (.4).




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23321086 3/1/2019   Conferences with UCC members re cases and UCC              0.50    Aronzon, Paul S.
                    issues.


23739346 3/1/2019   Review (.2) and revise (.3) various UCC memos.             0.50    Aronzon, Paul S.


23740183 3/1/2019   Revise info agent memo for Committee.                      0.20    Koch, Matthew


23320423 3/3/2019   Review developments and options re consultant              0.70    Dunne, Dennis F.
                    (.4); review options and conditions re website
                    consultant (.3).


23325646 3/3/2019   Legal research re (redacted) (2.3); draft memo             6.70    Franzoia, Rachel
                    to Committee re same (4.4).


23346129 3/4/2019   Calls with various UCC members re case issues.             0.70    Aronzon, Paul S.


23740237 3/4/2019   Review (.3) and revise (.3) UCC memos.                     0.60    Aronzon, Paul S.


23342028 3/4/2019   Review analysis of Axiom retention (.4) and                0.70    Khalil, Samuel A.
                    correspondence to UCC re: same (.3).


23740910 3/5/2019   Revise draft memo for Committee re public                  2.80    Denny, Daniel B.
                    entity committee motion.


23338773 3/5/2019   Review and finalize for circulation to                     0.40    Dunne, Dennis F.
                    committee memo and recommendation re Axiom.


23343098 3/5/2019   Revise UCC fiduciary duty memo for Committee               0.70    Koch, Matthew
                    (.4); t/c with C. Price re same re same (.3).


23327929 3/5/2019   Draft memo to Committee re: Butte County                   1.60    Milender, Parker
                    settlement motion.


23325882 3/5/2019   Draft omnibus Committee fiduciary duty memo.               1.50    Pierucci, Katherine R.


23355751 3/5/2019   Review (.4) and revise (.4) fiduciary duty                 1.10    Price, Craig Michael
                    memo; o/c with M. Koch re same (.3).


23346131 3/6/2019   Review memos to be distributed to Committee.               1.60    Aronzon, Paul S.



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23332502 3/6/2019    Review motions to be summarized (.4); review               1.50    Mandel, Lena
                     (.1) and revise (1.0) memo to the UCC re
                     matters to be heard on 3/27.


23333888 3/6/2019    Call w/ Committee member and T. Kreller re:                0.40    Milender, Parker
                     trading order.


23346134 3/7/2019    Conferences with UCC members re various case               0.90    Aronzon, Paul S.
                     issues (.2); review and revise UCC memos (.7).


23355493 3/7/2019    Review advisor memos and recommendations to UCC            1.40    Dunne, Dennis F.
                     re various motions and requests (1.2); email
                     committee re same (.2).


23356273 3/7/2019    Review hedging motion (.5); revise memo to                 1.10    Price, Craig Michael
                     Committee re same (.6).


23387191 3/7/2019    Participate in standing UCC call (1.4);                    2.50    Vora, Samir
                     preparation for same (1.1).


23346066 3/8/2019    Conferences with UCC members re various case               1.60    Aronzon, Paul S.
                     issues.


23741725 3/8/2019    Review (.2) and revise (.2) various UCC memos.             0.40    Aronzon, Paul S.


23343273 3/8/2019    Revise omnibus committee memo (.5); revise                 2.00    Koch, Matthew
                     committee update email (.6); draft UCC update
                     email (.6); draft update Committee email (.3).


23356312 3/8/2019    Review omnibus committee memo (.4); review (.6)            1.80    Price, Craig Michael
                     and revise (.6) committee update email; revise
                     updated Committee email (.2).


23341962 3/9/2019    Review and comment on update email to UCC                  0.50    Khalil, Samuel A.
                     concerning DIP objections by TCC and FERC
                     intervention.


23355685 3/10/2019   Draft memo to Committee re ratepayer committee,            0.40    Dunne, Dennis F.
                     Debtors' position re TCC objection to DIP and
                     recommendations re same.



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23343593 3/10/2019   Draft UCC update email.                                    0.30   Koch, Matthew


23383752 3/11/2019   Conferences with UCC members re various case               0.50   Aronzon, Paul S.
                     issues.


23743601 3/11/2019   Review (.3) and revise (.2) UCC memos.                     0.50   Aronzon, Paul S.


23388631 3/11/2019   Revise omnibus committee memo (.3);                        0.60   Koch, Matthew
                     communications w/ M. Shah and E. Moser re
                     omnibus Committee memo (.3).


23352781 3/11/2019   Review (.1) and revise (.4) revised memo to                0.50   Mandel, Lena
                     committee re 3/27 hearing.


23377787 3/11/2019   Revise omnibus committee memo.                             1.10   Price, Craig Michael


23377790 3/11/2019   Communications w/ M. Shah and E. Moser re                  0.30   Price, Craig Michael
                     omnibus Committee memo.


23377791 3/11/2019   Revise agenda for UCC advisor call.                        0.30   Price, Craig Michael


23752379 3/11/2019   Review weekend update to Committee re: DIP                 0.40   Wolf, Julie M.
                     Motion and Rate Payer Committee Motion.


23383870 3/12/2019   Conferences with UCC members re various case               0.40   Aronzon, Paul S.
                     issues.


23383946 3/13/2019   Conferences with UCC members re various case               0.90   Aronzon, Paul S.
                     issues (.3); review and revise UCC memos (.6).


23748463 3/13/2019   Review (.8) and revise (.6) UCC memos.                     1.40   Bray, Gregory A.


23386945 3/13/2019   Review materials for 3/13 Committee call.                  0.70   Khani, Kavon M.


23388784 3/13/2019   Revise omnibus memo.                                       1.00   Koch, Matthew


23383876 3/14/2019   Conferences with UCC members re various case               3.40   Aronzon, Paul S.
                     issues (2.5); review (.4) and revise (.5)
                     various UCC memos.



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23377067 3/14/2019   Revise Wildfire Liability Memo for circulation             2.10    Capolino, Margherita Angela
                     to Committee.


23389150 3/14/2019   Participate in UCC call (1.5); review materials            2.10    Leblanc, Andrew M.
                     in preparation for same (.6).


23383879 3/15/2019   Conferences with UCC members re various case               0.30    Aronzon, Paul S.
                     issues.


23748829 3/15/2019   Review (.3) and revise (.8) various UCC memos.             1.10    Bray, Gregory A.


23374767 3/15/2019   Draft memo to Committee re: stay enforcement.              1.50    Milender, Parker


23385088 3/18/2019   Review (.3) and revise (.5) memo to the UCC re             3.20    Mandel, Lena
                     stay enforcement motion; review (.1) and revise
                     (.3) memo to the UCC re motion to lift the
                     stay; review (.4) and revise (1.6) Epiq
                     services agreement.


23755089 3/19/2019   Prepare memo to the Committee summarizing                  1.20    Franzoia, Rachel
                     Debtors' retention applications.


23391881 3/19/2019   Revise memorandum to Committee re: proof of                2.90    Pierucci, Katherine R.
                     claims.


23429255 3/19/2019   Research re: redact (.5); revise memorandums               1.30    Pierucci, Katherine R.
                     for Committee re same (.8).


23754250 3/20/2019   Prepare memos to Committee on retention apps               7.90    Franzoia, Rachel
                     (5.5) and TCC reimbursement motion (2.4).


23423569 3/20/2019   Draft update email to UCC (.4); draft email to             1.00    Koch, Matthew
                     UCC re 3/21 call (.6).


23429259 3/20/2019   Research procedures for (redacted) (1.0);                  3.20    Pierucci, Katherine R.
                     revise memorandum re: (redacted) (2.1); discuss
                     w/ J. Wu effects of an automatic stay
                     expiration (.1).




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23754505 3/21/2019   Draft memo for committee regarding approval of               0.70   Bice, William B.
                     Enel stipulation.


23754255 3/21/2019   Prepare memos to Committee on retention apps                 4.30   Franzoia, Rachel
                     (2.1) and TCC reimbursement motion (2.2).


23405254 3/21/2019   Participate in client call re: wildfire issues               2.00   Leblanc, Andrew M.
                     (.8); prepare for same (1.2).


23429262 3/21/2019   Research (redacted) (1.3); revise memorandum                 3.50   Pierucci, Katherine R.
                     re: class proof of claims (2); discuss w/ J. Wu
                     on comments to memo re (redacted) (.2).


23411603 3/22/2019   Conferences with UCC members re various case                 0.30   Aronzon, Paul S.
                     issues.


23754944 3/22/2019   Review (.3) and comment on memorandum to the                 0.80   Beebe, James M.
                     UCC re: STIP motion (.4); review emails re:
                     draft agenda for UCC and debtors meeting (.1).


23754258 3/22/2019   Review and summarize TCC reimbursement memo                  1.40   Franzoia, Rachel
                     (1.1); calls re: same (.3).


23754261 3/22/2019   Draft meeting agendas.                                       0.10   Khani, Kavon M.


23405163 3/22/2019   Draft memo to Committee re: motion for real                  1.60   Milender, Parker
                     estate procedures.


23428978 3/22/2019   Revise memo for committee re: class action                   4.30   Pierucci, Katherine R.
                     proof of claims (2); revise memo re: motion to
                     dismiss Herndon class action (2.1); discuss
                     memo w/ J. Wu (.2).


23754946 3/22/2019   Review committee memo re: STIP (.6); edit                    1.20   Shah, Manan
                     committee memo (.6).


23754264 3/23/2019   Prepare memos on retention apps (.4) and TCC                 0.90   Franzoia, Rachel
                     reimbursement motion (.5).


23754265 3/25/2019   Edit UCC memos.                                              0.40   Aronzon, Paul S.



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23754949 3/25/2019   Review (.5) and comment (.6) on committee memo             1.10   Beebe, James M.
                     re: STIP motion.


23755124 3/25/2019   Prepare memorandum for the UCC regarding the               5.00   Franzoia, Rachel
                     retention applications filed by the Debtors and
                     TCC (Weil, AP Services, Keller & Benvenutti,
                     Prime Clerk, Lazard, Jenner & Block, Baker &
                     Hostetler) (3.8); prepare memorandum for the
                     UCC regarding the TCC's motion regarding
                     reimbursement of member expenses (1.2).


23432335 3/25/2019   Revise omnibus memo for 3/28 UCC call.                     2.60   Koch, Matthew


23426996 3/25/2019   Review (.1) and revise (.4) memo to the UCC re             0.50   Mandel, Lena
                     matters scheduled for 4/10.


23439410 3/25/2019   Revise omnibus memo for 3/28 call (2.7); review            4.20   Price, Craig Michael
                     various related pleadings for committee memo
                     (1.2); review draft orders re same (.3).


23444111 3/25/2019   Review committee memo (.4); review STIP matters            1.20   Shah, Manan
                     re same (.7); correspondence w/ C. Skaliks re
                     STIP memo (.1).


23754952 3/26/2019   Review (.1) and send emails re: STIP memo to               0.40   Beebe, James M.
                     committee (.3).


23754807 3/26/2019   Review (.6) and comment on (.2) Milbank memo on            0.80   Bice, William B.
                     esVolta motion.


23754954 3/26/2019   Revise draft STIP memo (1.3); t/c with M.                  1.60   Denny, Daniel B.
                     Berkin (FTI) re: comments to draft STIP memo
                     (.3).


23459893 3/26/2019   Revise memorandum for the UCC regarding                    2.40   Franzoia, Rachel
                     retention applications filed by the Debtors and
                     the TCC.


23432542 3/26/2019   Revise omnibus memo for 3/28 call (2.8);                   3.70   Koch, Matthew
                     revise 3/28 omnibus committee memo (.9).




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23428547 3/26/2019   Review (.3) and revise (.9); memo to the UCC re           1.60    Mandel, Lena
                     matters scheduled for hearing on 4/10;
                     conference with C. Price and M. Koch re same
                     (.4).


23439475 3/26/2019   Draft omnibus memo for 3/28 call (1.8); revise            3.70    Price, Craig Michael
                     omnibus memo for 3/28 call (1.9).


23754957 3/27/2019   Attend UCC call re: STIP w/ FTI and Milbank               0.60    Beebe, James M.
                     Team (C. Skaliks).


23432555 3/27/2019   Revise omnibus memo.                                      0.60    Koch, Matthew


23455081 3/27/2019   Draft memo to committee re open items and                 5.20    Price, Craig Michael
                     upcoming hearing (1.7); revise same (.6);
                     review (.4) and edit (.7) FTI presentations;
                     prep email to committee re distribution (.9);
                     review memos to committee from litigation (.7);
                     t/c with M. Koch re emails to Committee (.2).


23457893 3/28/2019   Emails w/ C. Price re Committee distribution              0.20    Koch, Matthew
                     (.1); emails w/ J. Davies (Mizuho) re
                     scheduling (.1).


23439487 3/28/2019   Attend meeting with Mizuho (1.4); emails w/ M.            1.50    Price, Craig Michael
                     Koch re Committee distribution (.1).


23455173 3/29/2019   Draft memo to committee re procedures for                 2.50    Price, Craig Michael
                     reimbursement (.5); o/c with T. Kreller re same
                     (.2); draft response to TCC Committee's motion
                     (.8); draft email to committee re distribution
                     of materials (.8); o/c with D. Dunne re same
                     (.2).




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23343081 3/5/2019    Call w/ D. Griffith (Griffith law firm) re                    0.20   Koch, Matthew
                     vendor issues.


23346030 3/6/2019    Conferences with unsecured creditors re various               0.40   Aronzon, Paul S.
                     case issues.


23346313 3/8/2019    Participate in call with D. Botter and M.                     0.50   Leblanc, Andrew M.
                     Stamer (Akin) re PG&E.


23388724 3/12/2019   Calls w/ unsecured creditors re case status.                  0.80   Koch, Matthew


23411590 3/19/2019   Call with unsecured creditors re various case                 0.50   Aronzon, Paul S.
                     issues.


23423537 3/19/2019   Respond to inquiries from unsecured creditors.                0.40   Koch, Matthew


23411599 3/20/2019   Call with unsecured creditors re various case                 0.30   Aronzon, Paul S.
                     issues.


23411644 3/21/2019   Conferences with unsecured creditors re various               1.50   Aronzon, Paul S.
                     case issues (1.1); conferences with G. Bray re
                     status (.4).


23420095 3/21/2019   Attend meeting with ad hoc bond advisors and T.               0.70   Dunne, Dennis F.
                     Kreller.


23457431 3/21/2019   Meeting with Ad Hoc Group of Bondholders                      1.50   Vora, Samir
                     counsel (Akin) and FAs regarding case
                     strategies and diligence efforts.


23423628 3/22/2019   Call w/ C. Kenny (Diameter) re case issues.                   0.50   Koch, Matthew


23432332 3/25/2019   Communications w/ potential unsecured                         0.50   Koch, Matthew
                     creditors.


23439412 3/25/2019   Calls with unsecured creditors.                               0.50   Price, Craig Michael


23441211 3/29/2019   Attend conference call with ad hoc bondholder                 0.20   Bice, William B.
                     advisors, E. Dexter, and T. Kreller.




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23454315 3/29/2019   Ad hoc bondholder advisors call w/ W. Bice and            0.40   Dexter, Erin E.
                     T. Kreller (.2); prepare for same (.2).


23455004 3/29/2019   Attend update call with ad hoc bondholder                 0.20   Kreller, Thomas R.
                     advisors, W. Bice and E. Dexter (.1); prepare
                     for same (.1).




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23325645 3/1/2019   Revise minutes of Committee calls.                        1.60   Franzoia, Rachel


23343016 3/4/2019   Prepare agenda for 3/7 UCC call.                          0.50   Koch, Matthew


23355786 3/4/2019   Review agenda for 3/12 UCC call.                          0.50   Price, Craig Michael


23360494 3/5/2019   Revise Committee call minutes (.7); email                 0.90   Franzoia, Rachel
                    exchange with T. Kreller and M. Koch re same
                    (.2).


23343096 3/5/2019   Communications w/ T. Kreller, A. Scruton (FTI),           1.10   Koch, Matthew
                    and K. Chopra (Centerview) re draft agenda for
                    3/7 UCC call (.5); update UCC call materials
                    (.6).


23343159 3/6/2019   Numerous communications w/ C. Price, P.                   6.40   Koch, Matthew
                    Aronzon, S. Starr (FTI), M. Berlin (FTI) and D.
                    Dunne re UCC call preparation (1.3); emails w/
                    D. Dunne, T. Kreller, and C. Price re 3/7 UCC
                    call (.3); finalize Committee call materials
                    (.9); prepare email to Committee re same (.7);
                    preparation for 3/7 Committee call (1.1); draft
                    talking points for 3/7 committee meeting (1.8);
                    emails w/ S. Khalil re UCC agenda (.3).


23355762 3/6/2019   Numerous communications w/ M. Koch, P. Aronzon,           4.60   Price, Craig Michael
                    S. Starr (FTI), M. Berlin (FTI) and D. Dunne re
                    UCC call preparation (.8); emails w/ D. Dunne,
                    T. Kreller, and M Koch re 3/7 UCC call (.3);
                    finalize Committee call materials (1.1); review
                    email to Committee re same (.5); preparation
                    for 3/7 Committee call (.8); revise talking
                    points for 3/7 committee meeting (1.1).


23340099 3/7/2019   Attend standing committee meeting (partial)               1.30   Bice, William B.
                    with committee members led by D. Dunne.


23340730 3/7/2019   Teleconference with committee members and                 1.50   Denny, Daniel B.
                    professionals re March 7 meeting agenda (1.4);
                    prep for same (.1).




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23355494 3/7/2019    Attend weekly UCC call.                                    1.40   Dunne, Dennis F.


23360549 3/7/2019    Review agenda and materials for weekly                     2.60   Franzoia, Rachel
                     committee meeting (.7); prep for (.5) and
                     attend (1.4) weekly Committee meeting.


23340544 3/7/2019    Participate on UCC weekly call (partial).                  1.00   Kestenbaum, Russell J.


23332525 3/7/2019    Attend weekly committee call (1.4); draft                  2.60   Khalil, Samuel A.
                     agenda for same (1.2).


23343181 3/7/2019    Prepare for (.7) and attend (1.4) standing UCC             2.70   Koch, Matthew
                     call w/ D. Dunne/Milbank team, A. Scruton/FTI
                     team, and K. Chopra/Centerview team;
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re UCC call (.2); emails w/ D. Dunne re UCC
                     call materials (.4)


23360564 3/7/2019    Attend weekly UCC call (1.4); prep for same                2.40   Kreller, Thomas R.
                     (1.0).


23346280 3/7/2019    Participate in weekly UCC call (1.4); prep for             1.80   Leblanc, Andrew M.
                     same (.4).


23356279 3/7/2019    Prepare for (.7) and attend (1.4) standing UCC             2.70   Price, Craig Michael
                     call w/ D. Dunne/Milbank team, A. Scruton/FTI
                     team, and K. Chopra/Centerview team;
                     communications w/A. Scruton (FTI) and D. Dunne
                     re UCC call (.2); emails w/ D. Dunne re UCC
                     call materials (.4).


23354467 3/7/2019    Participate on weekly Committee call (1.4);                1.50   Stone, Alan J.
                     prepare for same (.1).


23388727 3/12/2019   Draft agenda for 3/14 UCC call.                            0.50   Koch, Matthew


23389342 3/12/2019   Prepare for UCC call (.4); correspondence re               1.10   Leblanc, Andrew M.
                     same (.7).


23377814 3/12/2019   Draft agenda for 3/14 UCC call.                            0.30   Price, Craig Michael



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23386411 3/13/2019   Review materials for weekly call (.3) and memo             0.40   Dunne, Dennis F.
                     to UCC re same (.1).


23364467 3/13/2019   Review (.2) and comment on (.1) agenda for UCC             0.90   Khalil, Samuel A.
                     call; review and comment on UCC correspondence
                     providing updates on hearing (.6).


23388802 3/13/2019   Draft annotated agenda for 3/13 UCC call (.7);             2.00   Koch, Matthew
                     emails w/ D. Dunne, T. Kreller, and G. Bray re
                     same (.3); prepare for 3/14 UCC call (.9);
                     update draft agenda for 3/14 UCC meeting (.1).


23379452 3/14/2019   Correspond with S. Khalil and M. Koch re prep              2.20   Bice, William B.
                     for FERC presentation to Committee (.7); attend
                     standing committee call with committee members,
                     Milbank (D. Dunne), FTI (A. Scruton) and
                     Centerview (S. Greene) (1.5).


23388855 3/14/2019   Participate in weekly committee meeting                    0.80   Dexter, Erin E.
                     (partial).


23386227 3/14/2019   Attend weekly committee meeting.                           1.50   Dunne, Dennis F.


23389948 3/14/2019   Attend weekly Committee conference call (1.5);             1.70   Franzoia, Rachel
                     prep for same (.2).


23383494 3/14/2019   Attend weekly call with UCC and professionals              1.60   Kestenbaum, Russell J.
                     (1.5); prep for same (.1).


23388842 3/14/2019   Participate on weekly UCC call (1.5);                      3.10   Koch, Matthew
                     preparation for same (1.4); emails w/ D. Dunne
                     and C. MacDonald (FTI) re same (.2).


23387152 3/14/2019   Prep for (.4) and attend weekly UCC meeting                2.80   Kreller, Thomas R.
                     (1.5); follow up calls and corr re same (.9).


23372176 3/14/2019   Attend Committee call w/ Milbank, FTI and                  1.50   Milender, Parker
                     Centerview teams.


23377848 3/14/2019   Participate in Committee call (1.5); prep                  2.40   Price, Craig Michael
                     materials for committee call (.9).


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23411596 3/18/2019   Review case and UCC issues (.7); review case              2.40   Aronzon, Paul S.
                     filings/pleadings (.4); review press articles,
                     research materials and memos (.8); review (.2)
                     and revise UCC memos (.3).


23421577 3/18/2019   Attend advisors call with Milbank (W. Bice, G.            1.20   Beebe, James M.
                     Bray, D. Denny, K. Khani, M. Koch, T. Kreller,
                     L. Mandel, C. Skaliks, S. Vora, J. Wolf), FTI
                     (S. Star) and Centerview (K. Chopra) to discuss
                     STIP motion and hedging motion (.7); review
                     emails regarding acceptance of motion re:
                     extension of STIP hearing deadline (.5)


23401725 3/18/2019   Attend standing advisors call with Milbank (J.            0.60   Bice, William B.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, C. Skaliks, A. Stone, S.
                     Vora, J. Wolf), FTI (S. Starr) and Centerview
                     (K. Chopra).Attend standing advisors call with
                     Milbank (J. Beebe, G. Bray, D. Denny, K. Khani,
                     M. Koch, T. Kreller, L. Mandel, C. Skaliks, A.
                     Stone, S. Vora, J. Wolf), FTI (S. Starr) and
                     Centerview (K. Chopra) (partial).


23754463 3/18/2019   Standing advisors call w/ K. Chopra                       0.70   Bray, Gregory A.
                     (Centerview), A. Scruton (FTI) and Milbank Team
                     (W. Bice, J. Beebe, D. Denny, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, C. Skaliks, A.
                     Stone, S. Vora, J. Wolf).


23404860 3/18/2019   Review and analyze Committee call agenda and              1.90   Denny, Daniel B.
                     pending matters (.1); t/c for standing weekly
                     call with Milbank (W. Bice, J. Beebe, G. Bray,
                     K. Khani, M. Koch, T. Kreller, L. Mandel, C.
                     Skaliks, A. Stone, S. Vora, J. Wolf), FTI (S.
                     Star) and Centerview (K. Chopra) (.7); review
                     and analyze PGE background memorandum (1.1).




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23423497 3/18/2019   Coordinate work streams (.6); standing advisors           1.80   Koch, Matthew
                     call w/ K. Chopra (Centerview), A. Scruton
                     (FTI), and Milbank team (W. Bice, J. Beebe, G.
                     Bray, D. Denny, K. Khani, T. Kreller, L.
                     Mandel, C. Skaliks, A. Stone, S. Vora, J. Wolf)
                     (.7); draft agenda for standing advisors call
                     (.5).


23422896 3/18/2019   Attend advisors' call with A. Scruton (FTI), K.           0.70   Skaliks, Christina M.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     J. Beebe, G. Bray, D. Denny, K. Khani, M. Koch,
                     T. Kreller, L. Mandel, A. Stone, S. Vora, J.
                     Wolf).


23754485 3/19/2019   Communications w/ M. Koch re UCC agenda.                  0.20   Bray, Gregory A.


23754421 3/19/2019   Comms w/ M. Koch re UCC agenda.                           0.20   Dexter, Erin E.


23423522 3/19/2019   Emails w/ A. Scruton (FTI) and K. Chopra                  1.70   Koch, Matthew
                     (Centerview) re 3/21 UCC call (.4); prep for
                     3/21 UCC call (.5); communications w/ S. Vora,
                     E. Dexter, and G. Bray re UCC agenda (.5);
                     draft agenda for 3/21 UCC call (.3).


23426169 3/20/2019   Review agenda and materials for committee call.           0.30   Dunne, Dennis F.


23423567 3/20/2019   Emails w/ G. Bray re 3/21 UCC call.                       0.20   Koch, Matthew


23404066 3/21/2019   Attend standing committee call w/ FTI,                    1.00   Bice, William B.
                     Centerview and Milbank Team (J. Beebe
                     (partial), D. Denny, E. Dexter, D. Dunne, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prep for same (.3).


23404954 3/21/2019   Attend weekly committee call w/ FTI (J. Beebe             0.80   Denny, Daniel B.
                     (partial), W. Bice, E. Dexter, D. Dunne, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prep for same (.1).


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23422586 3/21/2019   Attend UCC call w/ FTI, Centerview and Milbank             1.20   Dexter, Erin E.
                     (J. Beebe (partial), W. Bice, D. Denny, D.
                     Dunne, R. Franzoia, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, P. Milender (partial), M.
                     Shah, C. Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prepare for same (.5).


23420090 3/21/2019   Pre-call planning with FTI and CV (.4);                    1.10   Dunne, Dennis F.
                     standing committee call w/ Milbank (J. Beebe
                     (partial), W. Bice, D. Denny, E. Dexter, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum), A. Scruton (FTI) and K. Chopra
                     (Centerview) (.7).


23419083 3/21/2019   Attend call with UCC and Milbank (J. Beebe                 0.70   Kestenbaum, Russell J.
                     (partial), W. Bice, D. Denny, E. Dexter, D.
                     Dunne, R. Franzoia, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, P. Milender (partial), M.
                     Shah, C. Price C. Skaliks, S. Vora, J. Wolf).


23423591 3/21/2019   Standing Committee call w/ A. Scruton (FTI), K.            3.20   Koch, Matthew
                     Chopra (Centerview)and Milbank Team (J. Beebe
                     (partial), W. Bice, D. Denny, E. Dexter, D.
                     Dunne, R. Franzoia, K. Khani, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prepare for UCC call (.9);
                     draft annotated agenda for 3/21 UCC call (.6);
                     prepare for 3/21 UCC call (1).


23413007 3/21/2019   Attend standing weekly UCC w/ A. Scruton (FTI),            1.40   Kreller, Thomas R.
                     K. Chopra (Centerview) and Milbank Team (J.
                     Beebe (partial), W. Bice, D. Denny, E. Dexter,
                     D. Dunne, R. Franzoia, K. Khani, M. Koch, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); review materials re same
                     (.3); prepare for same (.4).




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23404326 3/21/2019   Attend committee call w/ FTI, Centerview and              0.80   Shah, Manan
                     Milbank (J. Beebe (partial), W. Bice, D. Denny,
                     E. Dexter, D. Dunne, R. Franzoia, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, P. Milender
                     (partial), C. Price C. Skaliks, S. Vora, J.
                     Wolf, R. Kestenbaum) (.7); prep for same (.1).


23423880 3/21/2019   Attend committee call FTI, Centerview and                 0.70   Skaliks, Christina M.
                     Milbank (J. Beebe (partial), W. Bice, D. Denny,
                     E. Dexter, D. Dunne, R. Franzoia, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, P. Milender
                     (partial), M. Shah, C. Price, S. Vora, J. Wolf,
                     R. Kestenbaum).


23408809 3/21/2019   Prepare for weekly committee call discussion of           0.70   Wolf, Julie M.
                     criminal exposure.


23413005 3/22/2019   Call w/ M. Koch and G. Bray re strategy (.5);             1.30   Kreller, Thomas R.
                     emails w/ M. Koch re team strategy call (.1);
                     attend call w/ FTI (A. Scruton), Centerview (K.
                     Chopra) and Milbank Team (J. Beebe, D. Denny,
                     E. Dexter, M. Koch, T. Kreller, P. Milender, R.
                     Franzoia, C. Price, A. Stone, J. Wolf) (.7).


23441306 3/25/2019   Attend weekly standing call w/ A. Scruton                 0.70   Denny, Daniel B.
                     (FTI), K. Chopra (Centerview) and Milbank team
                     (J. Beebe, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel) (.5);
                     prepare for same (.2).


23432336 3/25/2019   Emails w/ D. Dunne re scheduling and Committee            2.40   Koch, Matthew
                     meeting (.2); update work streams (.6);
                     standing advisors call w/ K. Chopra
                     (Centerview), A. Scruton(FTI), and Milbank Team
                     (J. Beebe, D. Denny, E. Dexter, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel) Milbank)
                     (.6); prepare for advisors call (.6); draft
                     agenda for advisors call w/ C. Price (.4).




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23454531 3/25/2019   Attend weekly standing advisors call w/ K.                 0.80   Kreller, Thomas R.
                     Chopra (Centerview), A. Scruton (FTI) and
                     Milbank team J. Beebe, D. Denny, E. Dexter, M.
                     Koch, P. Milender, R. Franzoia, C. Price, A.
                     Stone, J. Wolf, M. Shah, C. Skaliks, L. Mandel)
                     (.6); prepare for same (.2).


23432533 3/26/2019   Draft agenda for 3/28 call.                                0.70   Koch, Matthew


23439472 3/26/2019   Revise agenda for committee call.                          0.30   Price, Craig Michael


23452166 3/27/2019   Review materials for 3/28 committee call.                  0.70   Dunne, Dennis F.


23459962 3/27/2019   Review memo and other materials circulated in              1.30   Franzoia, Rachel
                     preparation for weekly UCC call.


23432596 3/27/2019   Emails w/ T. Kreller, M. Shah, W. Ng (FTI), S.             5.10   Koch, Matthew
                     Starr (FTI), W. Graham (Centerview), and C.
                     Price re 3/28 UCC call (.5); prepare for 3/28
                     UCC call (1.6); draft talking points for 3/28
                     UCC call (2.5); emails w/ T. Kreller, and C.
                     Price re 3/28 UCC meeting (.3); t/c w/ C. Price
                     re emails to Committee (.2).


23754836 3/27/2019   Emails w/ M. Koch re 3/28 UCC call (.1); emails            0.20   Kreller, Thomas R.
                     w/ same re UCC meeting (.1).


23455077 3/27/2019   Draft agenda for committee meeting (.3); t/c               0.80   Price, Craig Michael
                     with GB re same (.4); email w/ M. Koch re 3/28
                     UCC Meeting (.1).


23438992 3/28/2019   Attend standing committee call w/ FTI (A.                  2.00   Bice, William B.
                     Scruton et al), Centerview (K. Chopra et al)
                     and Milbank Team (D. Denny (partial), D. Dunne,
                     S. Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, E. Dexter, T. Kreller (partial), J.
                     Beebe, J. Wolf, A. Stone, P. Milender
                     (partial), L. Mandel).




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23454299 3/28/2019   Attend weekly committee meeting w/ A. Scruton              2.10   Dexter, Erin E.
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, T. Kreller (partial), J. Beebe, J.
                     Wolf, A. Stone, P. Milender (partial), L.
                     Mandel) (2); email exchanges w/ R. Franzoia re
                     UCC telephonic meeting (.1).


23454418 3/28/2019   Attend UCC call w/ A. Scruton (FTI), K. Chopra             2.10   Dunne, Dennis F.
                     (Centerview) and Milbank team (W. Bice, D.
                     Denny (partial), S. Khalil, R. Kestenbaum K.
                     Khani, M. Koch, R. Franzoia, E. Dexter, T.
                     Kreller (partial), J. Beebe, J. Wolf, A. Stone,
                     P. Milender (partial), L. Mandel) (2.0); emails
                     w/ M. Koch re 3/28 meeting (.1).


23454510 3/28/2019   Attend in-person meeting with Mizuho at                    1.50   Dunne, Dennis F.
                     Stroock.


23459508 3/28/2019   Weekly UCC telephonic meeting w/ A. Scruton                3.30   Franzoia, Rachel
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, E.
                     Dexter, T. Kreller (partial), J. Beebe, J.
                     Wolf, A. Stone, P. Milender (partial), L.
                     Mandel) (2.0); follow-up email exchange with E.
                     Dexter (.1) and D. Denny (.2) regarding the
                     same (.3); prepare minutes of meeting (.7).


23450336 3/28/2019   Participate (partial) on call with UCC w/ FTI,             1.90   Kestenbaum, Russell J.
                     Centerview and Milbank (W. Bice, D. Denny
                     (partial), D. Dunne, S. Khalil, K. Khani, M.
                     Koch, R. Franzoia, E. Dexter, T. Kreller
                     (partial), J. Beebe, J. Wolf, A. Stone, P.
                     Milender (partial), L. Mandel).




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23457869 3/28/2019   Standing Committee call w/ A. Scruton(FTI), K.            2.60   Koch, Matthew
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     D. Denny (partial), D. Dunne, S. Khalil, R.
                     Kestenbaum, K. Khani, R. Franzoia, E. Dexter,
                     T. Kreller (partial), J. Beebe, J. Wolf, A.
                     Stone, P. Milender (partial), L. Mandel) (2);
                     prepare for same (.1); call w/ C. Price re 3/28
                     UCC meeting (.3); emails w/ D. Dunne re 3/28
                     meeting (.2).


23454991 3/28/2019   Partially attend weekly UCC call w/ FTI,                  1.90   Kreller, Thomas R.
                     Centerview and Milbank (W. Bice, D. Denny
                     (partial), D. Dunne, S. Khalil, R. Kestenbaum
                     K. Khani, M. Koch, R. Franzoia, E. Dexter, J.
                     Beebe, J. Wolf, A. Stone, P. Milender
                     (partial), L. Mandel).


23439928 3/28/2019   Attend Committee call w/ Milbank (W. Bice, D.             0.50   Milender, Parker
                     Denny (partial), D. Dunne, K. Khani, M. Koch,
                     J. Beebe, R. Franzoia, E. Dexter, J. Wolf, A.
                     Stone, P. Milender (partial), L. Mandel), FTI,
                     and Centerview teams (partial).


23439477 3/28/2019   Attend Committee meeting (2); prepare for same            4.10   Price, Craig Michael
                     (1.8); call w/ M. Koch re 3/28 UCC meeting
                     (.3).


23454994 3/28/2019   Attend committee call w/ A. Scruton (FTI), K.             2.00   Stone, Alan J.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     D. Denny (partial), D. Dunne, S. Khalil, R.
                     Kestenbaum K. Khani, M. Koch, R. Franzoia, E.
                     Dexter, T. Kreller (partial), J. Beebe, J.
                     Wolf, P. Milender (partial), L. Mandel).


23457455 3/28/2019   Committee call regarding case status (partial)            1.70   Vora, Samir
                     (1.1); prep re: same (.6).




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23446689 3/28/2019   Attend weekly committee call w/ A. Scruton                 2.00   Wolf, Julie M.
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, E. Dexter, T. Kreller (partial), J.
                     Beebe, A. Stone, P. Milender (partial), L.
                     Mandel).


23755125 3/29/2019   O/c w/ C. Price re committee re distribution of            0.20   Dunne, Dennis F.
                     materials.


23455254 3/29/2019   Draft email to committee re distribution of                1.00   Price, Craig Michael
                     materials (.8); o/c with D. Dunne re same (.2).




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23739345 3/1/2019   Review issues re bylaws.                                    0.90   Bray, Gregory A.


23305755 3/1/2019   Email exchanges regarding revisions to draft                0.60   Denny, Daniel B.
                    Bylaws (.3); email exchanges w/ working group
                    re comments to same (.3).


23320002 3/1/2019   Review various by-law revisions.                            0.40   Dunne, Dennis F.


23328927 3/1/2019   Revise bylaws (.8); communications w/ S. Bryant             1.80   Koch, Matthew
                    (Locke Lord), M. Ngo (PBGC), G. Bray, and D.
                    Denny re same (.4); revise info agent memo
                    (.6).


23319937 3/1/2019   Calls re bylaws with PBGC (.4); IBEW (.5); team             2.30   Price, Craig Michael
                    (.7); review info agent memo to committee (.7).


23328931 3/2/2019   Research re (redacted).                                     3.20   Koch, Matthew


23740236 3/4/2019   Review (.6) and revise (.3) bylaws.                         0.90   Bray, Gregory A.


23329633 3/4/2019   Emails w/ J. Weber re debtor corporate                      0.10   Denny, Daniel B.
                    governance issues.


23318009 3/4/2019   Review (.8); research re same (.2). (redacted).             1.00   Mandel, Lena


23740872 3/4/2019   Review bylaws and related materials.                        0.50   Price, Craig Michael


23740908 3/5/2019   Review issues re Committee by-laws.                         0.90   Bray, Gregory A.


23329616 3/5/2019   Review edits to committee bylaws.                           0.10   Denny, Daniel B.


23741303 3/6/2019   Review comments to bylaws by UCC members.                   0.70   Bray, Gregory A.


23741306 3/6/2019   Review composite by-laws reflecting member                  0.80   Dunne, Dennis F.
                    comments.


23360596 3/6/2019   Comms. with team re UCC confidentiality issues              0.40   Kreller, Thomas R.
                    with Company.




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23741325 3/7/2019    Review revised bylaws (.7), call w/ M. Koch re            0.90   Bray, Gregory A.
                     same (.2).


23356269 3/7/2019    Call w/ J. Liou (Weil), G. Bray, and M. Koch re           1.00   Price, Craig Michael
                     bylaws (.3); call w/ E. Daucher (Norton Rose)
                     re bylaws (.2); review comments re same (.2);
                     emails w/ D. Dunne re same (.1); call w/ G.
                     Bray re same (.2).


23357920 3/8/2019    Comms. with M. Koch re: bylaws.                           0.40   Behrens, James C.


23741747 3/8/2019    Communications w/ G. Bray and C. Price re                 0.90   Bray, Gregory A.
                     bylaws (.3); review same (.6)


23343250 3/8/2019    Revise bylaws (.2); communications w/ C. Price,           1.70   Koch, Matthew
                     G. Bray, and E. Daucher (Norton Rose) re same
                     (.4); revise bylaws (.9); emails w/ G. Bray and
                     J. Behrens re bylaws (.2).


23356379 3/8/2019    Revise bylaws (1.8); communications w/ M. Koch,           2.40   Price, Craig Michael
                     G. Bray, and E. Daucher (Norton Rose) re same
                     (.4); emails w/ G. Bray and J. Behrens re
                     bylaws (.2).


23388630 3/11/2019   Call w/ E. Daucher (Norton Rose) re bylaws                0.80   Koch, Matthew
                     (.3); revise same (.5).


23748433 3/12/2019   Review bylaws.                                            1.20   Bray, Gregory A.


23388723 3/12/2019   Communications w/ G. Bray re bylaws.                      0.30   Koch, Matthew


23379555 3/13/2019   Correspondence with D. Dunne and M. Koch on               0.40   Bice, William B.
                     recusal standards for committee members and
                     structure of intervention.


23748464 3/13/2019   Review bylaws.                                            0.80   Bray, Gregory A.




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23388790 3/13/2019   Finalize bylaws (.9); communications w/ W.                2.10   Koch, Matthew
                     Bryant (Locke Lord) and G. Bray re bylaws (.6);
                     finalize UST letter re equity committee (.3);
                     communications w/ D. Dunne and S. Khalil re
                     same (.3).


23386740 3/13/2019   Calls (.6) and corr (.6) with C Jacobs, MT team           1.20   Kreller, Thomas R.
                     re committee resignation, alternatives and next
                     steps.


23377838 3/13/2019   Revise bylaws (1); t/c with committee members             1.40   Price, Craig Michael
                     re same (.4).


23748732 3/14/2019   Review issues re Committee by-laws.                       1.20   Bray, Gregory A.


23385679 3/15/2019   Review correspondence regarding bylaws.                   0.20   Bray, Gregory A.


23754464 3/18/2019   Emails w/ M. Koch re bylaws issues (.2); emails           0.30   Bray, Gregory A.
                     w/ M. Koch re revisions to bylaws (.1).


23754801 3/18/2019   Emails w/ M. Koch re bylaws issues (.2); review           0.70   Dunne, Dennis F.
                     PBGC comments to by-laws (.3); review final
                     version of same (.2);


23423498 3/18/2019   Emails w/ D. Dunne and G. Bray re bylaws issues           1.00   Koch, Matthew
                     (.4); revise bylaws (.4); emails w/ G. Bray and
                     M. Ngo (PBGC) re same (.2).


23754497 3/19/2019   Emails w/ M. Koch re bylaws                               0.10   Bray, Gregory A.


23426006 3/19/2019   Confs with A. Vara (UST) re Wamco, replacement            1.20   Dunne, Dennis F.
                     candidates and Roebbellen (.2); review issues
                     re same (.2); review Mizuho's selection (.1);
                     confs with Stroock & Strooke Team re same (.3);
                     review chair, by-laws and related issues (.3);
                     emails w/ M. Koch re bylaws (.1).


23423528 3/19/2019   Emails w/ G. Bray, B. Brownstein (Arent Fox),             0.90   Koch, Matthew
                     and D. Dunne re bylaws (.2); revise same (.3);
                     research re same (.4).




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23755338 3/20/2019   Review Mizuho integration issues.                        0.30   Dunne, Dennis F.


23423566 3/20/2019   Communications w/ G. Bray re notice of revised           0.20   Koch, Matthew
                     committee formation.


23754531 3/21/2019   Review by law issues.                                    1.10   Bray, Gregory A.


23754534 3/22/2019   Comms w/ J. Liou (Weil) and M. Koch re bylaws            0.80   Bray, Gregory A.
                     (.2); call w/ M. Koch r same (.1); emails w/ M.
                     Koch re same (.3); emails w/ same re NDA (.2).


23754945 3/22/2019   Emails w/ M. Koch re NDA.                                0.10   Dunne, Dennis F.


23423632 3/22/2019   Communications w/ J. Liou (Weil) and G. Bray re          1.50   Koch, Matthew
                     bylaws (.2); call w/ J. Liou (Weil) re bylaws
                     (.1); call w/ G. Bray re same (.1); revise
                     bylaws (.2); t/c w/ C. Price re same (.2);
                     emails w/ G. Bray re same (.3); emails w/ D.
                     Dunne (.1), G. Bray (.2), and J. Liou (Weil)
                     (.1).


23408980 3/22/2019   Review comments to bylaws (.7); t/c with M.              0.90   Price, Craig Michael
                     Koch re same (.2).


23754950 3/25/2019   Comms w/ M. Koch re bylaws (.3); comms w/ C.             0.60   Denny, Daniel B.
                     Price re same (.3).


23455856 3/25/2019   Review final bylaws and NOL trading motion.              0.20   Khani, Kavon M.


23755492 3/29/2019   Confs. with K. Lewis re committee chair and              0.20   Dunne, Dennis F.
                     upcoming meetings.




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23329615 3/5/2019   Review (.2) and analyze (.4) debtor governance            0.90   Denny, Daniel B.
                    materials; conf. w/ J. Weber re corporate
                    governance memo (.3).


23366119 3/6/2019   Teleconference with A. Moses, D. Denny, and J.            1.10   Anderson, Jason T.
                    Weber regarding corporate governance issues
                    (.6); prep for same (.5).


23345476 3/6/2019   Preliminary research for (redacted).                      0.70   Connelly, Rachael


23340083 3/6/2019   Teleconference with A. Moses, J. Anderson, and            1.10   Denny, Daniel B.
                    J. Weber regarding corporate governance issues
                    (.6); email exchange with A. Moses and working
                    group re corporate governance issues (.2);
                    review and analyze debtor corporate governance
                    materials (.3).


23360504 3/6/2019   T/c with J. Anderson, D. Denny, and J. Weber re           3.10   Moses, Adam R.
                    corporate governance issues (.6); review (1.6)
                    and analyze (.9) materials in connection with
                    the preparation of draft proxy contest memo.


23741307 3/6/2019   Conf. with A. Moses, D. Denny, and J. Anderson            0.90   Weber, Jordan A.
                    regarding corporate governance issues (.6);
                    review materials i/c/w same (.3).


23366123 3/7/2019   Internal comms. re memo on Blue Mountain proxy            0.80   Anderson, Jason T.
                    campaign (.3); coordinate re preparation of
                    same (.5).


23360510 3/7/2019   Analysis of materials in connection with proxy            0.50   Moses, Adam R.
                    contest memo.


23345498 3/8/2019   Continue research for (4.6) and revise (4.2)              8.80   Connelly, Rachael
                    memo re (redacted); begin drafting memo.


23366547 3/9/2019   Revise memo re: Blue Mountain proxy issues.               0.40   Anderson, Jason T.


23345522 3/9/2019   Conduct research for (redacted) (.6) and revise           1.00   Connelly, Rachael
                    same (.4).




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23360520 3/9/2019    Review and comment on draft proxy contest memo.             2.80   Moses, Adam R.


23345523 3/10/2019   Continue research for (redacted) (1.2) and                  2.60   Connelly, Rachael
                     revise same (1.4).


23360524 3/10/2019   Review draft memorandum re proxy issues.                    0.10   Moses, Adam R.


23357343 3/11/2019   Further research for (redacted) (.7); conf. w/              2.50   Connelly, Rachael
                     D. Denny re same (.2); edit memo (1.6).


23375786 3/11/2019   Review and analyze (redacted) (1.7); conference             2.40   Denny, Daniel B.
                     with R. Connelly regarding research re same
                     (.2); conference with J. Weber (multiple) re
                     corporate governance memo (.5).


23360615 3/11/2019   Review (.4) and comment on (.6) draft proxy                 1.00   Moses, Adam R.
                     contest memo.


23392633 3/11/2019   Legal research (4.1) and revisions to (3.6)                 7.90   Weber, Jordan A.
                     (redacted); conf. w/ D. Denny re same (.2).


23413518 3/12/2019   Revisions to proxy contest memo.                            3.50   Anderson, Jason T.


23378130 3/12/2019   Revise (redact).                                            0.60   Connelly, Rachael


23375780 3/12/2019   Conference with J. Weber regarding draft corp               6.80   Denny, Daniel B.
                     governance memo (.2); review same (.8);
                     research (redacted) (4.4); revise draft memo
                     regarding (redacted) (1.0); review (.1) and
                     analyze (.2) revised (redacted); teleconference
                     with J. Weber regarding same (.1).


23360526 3/12/2019   Review (1.1) and comment on (.7) draft proxy                1.80   Moses, Adam R.
                     contest memo.


23392637 3/12/2019   Extensive research (4.3) and drafting (4.1) re             10.70   Weber, Jordan A.
                     (redacted); extensive communications with
                     Milbank team on the same (2.2); conf. with D.
                     Denny re same (.1).




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23413498 3/13/2019   Continue efforts on proxy memo.                           1.30   Anderson, Jason T.


23375789 3/13/2019   Review comments to draft corp. governance memo            1.70   Denny, Daniel B.
                     (.2); email exchanges with J. Anderson and
                     working group re corp governance memo (.2); t/c
                     with J. Anderson re revisions to memo (.1);
                     corr. with C. Price and M. Koch re corp
                     governance memorandum (.1); review (.4) and
                     further edit (.7 ) revised corp governance
                     memo.


23374355 3/13/2019   Review (.3) and comment on (.8) memo re:                  1.10   Khalil, Samuel A.
                     corporate governance issues relating to board
                     replacement.


23384161 3/13/2019   Review (.6) and edit (.9) corp governance memo;           1.80   Stone, Alan J.
                     call with J. Anderson re same (.3).


23375846 3/15/2019   Draft email to group regarding revised                    0.20   Denny, Daniel B.
                     Corporate Governance Memo.


23386270 3/15/2019   Review status of independent director search              1.10   Dunne, Dennis F.
                     (.3); confs. with S. Karotkin (Weil) re same
                     (.2); confs. with two prospective board members
                     (.6).


23386276 3/16/2019   Review updates re independent director                    0.60   Dunne, Dennis F.
                     selection.


23417931 3/18/2019   Revise corporate governance memo (.1);                    0.20   Anderson, Jason T.
                     conference w/ D. Denny re proxy memo supplement
                     (.1).


23404862 3/18/2019   Conference with J. Anderson re proxy memo                 0.10   Denny, Daniel B.
                     supplement.


23404955 3/22/2019   Email J. Anderson regarding revisions to draft            0.10   Denny, Daniel B.
                     proxy context memo.


23454985 3/29/2019   Review developments re board slate and next               0.40   Dunne, Dennis F.
                     steps.


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23740906 3/5/2019    Participate in diligence phone call led by                 0.80   Bice, William B.
                     debtor to discuss PPAs and cost savings.


23327944 3/5/2019    Participate in diligence call re: customer                 0.70   Milender, Parker
                     programs and PPAs.


23343236 3/8/2019    Revise memo re hedging motion.                             1.30   Koch, Matthew


23343285 3/9/2019    Research re (redacted).                                    0.50   Koch, Matthew


23742829 3/10/2019   Correspondence with M. Nolan re (redacted).                0.20   Bice, William B.


23742830 3/10/2019   Emails from W. Bice and M. Nolan re FERC                   0.50   Koch, Matthew
                     adversary (.2); emails from E. Dexter re FERC
                     adversary (.3).


23743602 3/11/2019   Review issues re hedging motion.                           0.40   Bray, Gregory A.


23387896 3/11/2019   Meet w/ B. Kastner re hedging motion (.1);                 0.80   Moser, Eric K.
                     review hedging motion (.7).


23387971 3/12/2019   Continue review of hedging motion (.4);                    0.60   Moser, Eric K.
                     correspondence with M. Koch re same (.2).


23748461 3/13/2019   Review (.4) and revise (.5) hedging motion.                0.90   Bray, Gregory A.


23748830 3/15/2019   Review issues re (redacted).                               0.90   Bray, Gregory A.


23388942 3/15/2019   Research re hedging motion.                                1.60   Koch, Matthew


23380036 3/15/2019   Revise hedging order.                                      0.70   Price, Craig Michael


23423506 3/19/2019   Emails w/ J. Wolfe re hedging issues.                      0.20   Koch, Matthew


23754506 3/20/2019   Emails w/ M. Koch re hedging motion (.2);                  0.30   Bray, Gregory A.
                     emails w/ W. Bice re Enel Stipulation (.1)




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23423560 3/20/2019   Call w/ M. Goren (Weil) re hedging motion (.1);            0.70   Koch, Matthew
                     emails w/ G. Bray re same (.2); communications
                     w/ T. Kreller and J. Wolfe re hedging motion
                     issues (.2); review draft objection (.2).


23755091 3/20/2019   Communications w/ C. Price and J. Wolfe re                 0.20   Kreller, Thomas R.
                     hedging motion issues.


23401540 3/20/2019   Review (.1) and revise (.3) limited objection              0.40   Mandel, Lena
                     to the hedging motion.


23408790 3/20/2019   Revise objection to hedging motion (1.2); draft            4.00   Wolf, Julie M.
                     declaration in support of objection to hedging
                     motion (2.0); communications w/ T. Kreller and
                     M. Koch hedging motion issues (.2); review
                     additional correspondence between FTI and Alix
                     (.6).


23455257 3/29/2019   Revise hedging order (.5); t/c with FTI re same            1.10   Price, Craig Michael
                     (.6).


23754420 3/29/2019   Emails w/ D. Denny re hedging motion (.1);                 0.70   Wolf, Julie M.
                     communication with FTI Team re: hedging motion
                     objection (.6).




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23319849 3/1/2019   Review DIP issues (1.3); review DIP order (.4);            2.60   Bray, Gregory A.
                    internal calls (.6) and emails (.3) re same.


23743596 3/1/2019   Review DIP Order.                                          0.40   Price, Craig Michael


23740235 3/4/2019   Review DIP issues (.8); internal calls (.3) and            1.30   Bray, Gregory A.
                    emails (.2) re same.


23743599 3/5/2019   Review and revise UCC DIP memo.                            0.80   Aronzon, Paul S.


23740909 3/5/2019   Review DIP issues (.7); internal emails re same            1.00   Bray, Gregory A.
                    (.3).


23741304 3/6/2019   Review DIP order (.8) and cash management                  1.10   Bray, Gregory A.
                    issues (.3).


23741314 3/7/2019   Review DIP issues.                                         0.90   Bray, Gregory A.


23343160 3/7/2019   Address cash management issues.                            0.20   Koch, Matthew


23344211 3/8/2019   Review DIP objection of Tort Committee (.3);               0.40   Bice, William B.
                    conf. w/ G. Bray re same (.1).


23741748 3/8/2019   Review Tort Committee DIP objection (.4); conf.            0.50   Bray, Gregory A.
                    w/ W. Bice re same (.1).


23355737 3/8/2019   Review tort committee's objection to DIP (.4);             0.70   Dunne, Dennis F.
                    craft response/recommendation to committee to
                    same (.3).


23341996 3/8/2019   Review revised DIP order per committee member              0.90   Khalil, Samuel A.
                    questions.


23343257 3/8/2019   Calls w/ S. Starr (FTI) and K. Bostel (Weil) re            1.30   Koch, Matthew
                    cash management issues (.3); call w/ W. Ng
                    (FTI) and C. Price re DIP financing (.1); draft
                    email to D. Dunne/Milbank team re DIP issues
                    (.4); call w/ P. Sandler (Cravath) and C. Price
                    re DIP issues (.2); review revised cash
                    management order (.3).



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23356376 3/8/2019    Calls w/ FTI and K. Bostel (Weil) re cash                 1.50   Price, Craig Michael
                     management issues and order (.3); call w/ W. Ng
                     (FTI) and M. Koch re DIP financing (.1) and
                     review DIP order (.2); assist in drafting email
                     to D. Dunne/Milbank team re DIP issues (.4);
                     call w/ P. Sandler (Cravath) and M. Koch re DIP
                     issues (.2); revise cash management order (.3).


23355672 3/9/2019    Review company position re tort committee                 0.70   Dunne, Dennis F.
                     objection to DIP (.3); review sizing and
                     related issues (.4).


23343284 3/9/2019    Draft email to D. Dunne re DIP issues (.6);               1.20   Koch, Matthew
                     communications w/ D. Dennis and S. Khalil re
                     DIP issues (.2); call w/ P. Sandler (Cravath)
                     re same (.4).


23343307 3/10/2019   Review draft DIP reply (.3); emails w/ P.                 0.90   Koch, Matthew
                     Sandler (Cravath) re DIP response (.1); draft
                     DIP joinder (.5).


23377961 3/11/2019   Review correspondence from T. Kreller and G.              0.20   Bice, William B.
                     Bray re DIP motion.


23751974 3/11/2019   Review issues re DIP motion (3.1); correspond             3.40   Bray, Gregory A.
                     w/ TW. Bice and G. Bray re same (.3).


23365096 3/11/2019   Review TCC DIP objection (.4) and Debtors’                1.10   Dunne, Dennis F.
                     response (.3); review UCC response to same
                     (.4).


23341968 3/11/2019   Review and corresp. re: DIP objection filed by            0.60   Khalil, Samuel A.
                     TCC.


23388667 3/11/2019   Emails w/ G. Bray and D. Dunne re DIP statement           2.70   Koch, Matthew
                     (.2); communications w/ T. Kreller, G. Bray, A.
                     Leblanc, and C. Price re DIP statement (.6);
                     revise DIP statement (.2); draft DIP statement
                     (1.1); communications w/ C. Price, S. Khalil,
                     and G. Bray re same (.6).




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23387193 3/11/2019   Review recent pleadings (.6), calls and corr               2.20   Kreller, Thomas R.
                     with team (.5) and prep response (1.1) re DIP
                     financing motion for upcoming final hearing.


23389366 3/11/2019   Review (.2) and revise (.4) statement regarding            1.20   Leblanc, Andrew M.
                     DIP; correspondence re same (.6).


23352784 3/11/2019   Review (.1) and revise (.3) UCC statement in               0.60   Mandel, Lena
                     support of DIP motion; correspond with team re
                     same (.2).


23377318 3/11/2019   Draft DIP statement (1.1); communications w/ M.            1.70   Price, Craig Michael
                     Koch, S. Khalil, and G. Bray re same (.6).


23377789 3/11/2019   Draft emails w/ M. Koch for G. Bray and D.                 1.40   Price, Craig Michael
                     Dunne re DIP statement (.6); revise DIP
                     statement (.8).


23748160 3/11/2019   Review emails re DIP.                                      0.20   Stone, Alan J.


23392635 3/11/2019   Review DIP statement (.2); emails w/ same with             0.50   Weber, Jordan A.
                     various members of Milbank team (.3).


23379590 3/12/2019   Preparations for filing Statement in support of            2.50   Anderson, Angel R.
                     DIP motion.


23377124 3/12/2019   Preparations for filing of DIP Statement (.6);             1.00   Ayandipo, Abayomi A.
                     correspondence re same (.4).


23385673 3/12/2019   Review DIP issues (1.4); review DIP order (.7);            3.10   Bray, Gregory A.
                     internal calls (.6) and emails (.4) re same.


23385561 3/12/2019   Review (.3) and revise (.4) UCC DIP Statement.             0.70   Dunne, Dennis F.


23358015 3/12/2019   Review (.2) and comment on (.4) joinder to                 0.60   Khalil, Samuel A.
                     debtor response to TCC DIP objection.




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23388710 3/12/2019   Finalize DIP statement (.7); emails w/ D. Dunne           1.60   Koch, Matthew
                     re DIP statement filing (.2); review DIP
                     pleadings (.3); emails w/ P. Sandler (Cravath)
                     re same (.2); communications w/ C. Price re
                     same (.2).


23362451 3/12/2019   Conferences with D. Dunne and M. Koch re UCC              1.20   Mandel, Lena
                     response to DIP objections (.3); review
                     debtors' response (.3); revise UCC's response
                     (.4); correspond with team members re same
                     (.2).


23377827 3/12/2019   Emails w/ D. Dunne re filing of DIP statement             0.60   Price, Craig Michael
                     (.2); emails w/ P. Sandler (Cravath) re same
                     (.2); communications w/ M. Koch re same (.2).


23386222 3/13/2019   Review Judge Montali's position on DIP                    0.30   Dunne, Dennis F.
                     objections and next steps re same.


23748730 3/14/2019   Review DIP issues (.8); internal emails re same           1.10   Bray, Gregory A.
                     (.3).


23748738 3/14/2019   T/c with DPW re DIP issue.                                0.60   Price, Craig Michael


23748831 3/15/2019   Review revised DIP order and related issues.              0.90   Bray, Gregory A.


23367962 3/15/2019   Review research re (redacted).                            0.40   Khalil, Samuel A.


23418741 3/18/2019   Review issues re DIP.                                     0.30   Bray, Gregory A.


23754800 3/18/2019   Comms w/ M. Koch re DIP updates.                          0.10   Dunne, Dennis F.


23423480 3/18/2019   Communications w/ P. Sandler (Cravath) and D.             0.20   Koch, Matthew
                     Dunne re DIP updates.


23418784 3/19/2019   Review DIP issues (1.1) and by-law issues (.4).           1.50   Bray, Gregory A.


23401724 3/20/2019   Review emails re: DIP order.                              0.10   Bice, William B.


23418744 3/20/2019   Review emails re: DIP order.                              1.70   Bray, Gregory A.


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23754252 3/21/2019   Discuss DIP with (multiple) UCC advisors.                  1.00   Aronzon, Paul S.


23418746 3/21/2019   Review DIP issues.                                         2.40   Bray, Gregory A.


23754832 3/26/2019   Conference w/ D. Dunne re TCC DIP objection and            0.50   Bray, Gregory A.
                     settlement conversations (.2); emails w/ R.
                     Franzoia re prep for final hearing on DIP
                     motion (.3);


23446628 3/26/2019   Confs. with K. Hansen re TCC objection and                 1.10   Dunne, Dennis F.
                     settlement conversations re: DIP (.3); review
                     issues and position re same (.2); confs. with
                     G. Bray re same (.2); review revised DIP order
                     (.4).


23459514 3/26/2019   Collect DIP-related materials and pleadings                2.60   Franzoia, Rachel
                     (.7); review materials in preparation for final
                     hearing on DIP motion (1.6); email exchange
                     with G. Bray regarding the same (.3).


23432520 3/26/2019   Review revised proposed DIP order.                         0.20   Koch, Matthew


23439469 3/26/2019   Review revised DIP Order.                                  0.50   Price, Craig Michael


23754834 3/27/2019   Review DIP issues.                                         1.00   Bray, Gregory A.


23452165 3/27/2019   Review TCC position re further DIP delay (.3);             0.50   Dunne, Dennis F.
                     review risks of resyndication and cost flex re
                     same (.2).


23455047 3/29/2019   Review DIP issues.                                         2.20   Bray, Gregory A.




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23321087 3/1/2019    Conferences with Milbank team and multiple                    2.50   Aronzon, Paul S.
                     other advisors re case and UCC issues and
                     hearing preparation (.7); conf. w/ T. Kreller,
                     D. Denny, J. Weber, R. Franzoia, C. Price, M.
                     Koch and P. Milender re work streams (1.8).


23305757 3/1/2019    Review working group emails re case updates                   3.20   Denny, Daniel B.
                     (.4); review and analyze recent bankruptcy
                     docket filings (.3); conf. w/ T. Kreller, P.
                     Aronzon, J. Weber, R. Franzoia, C. Price, M.
                     Koch and P. Milender re work streams (1.8);
                     emails w/ working group re court filing and
                     service requirements (.2); research re same
                     (.5).


23305758 3/1/2019    Review and analyze public entity committee                    2.50   Denny, Daniel B.
                     motion and authorities cited therein (2.2);
                     conference with R. Franzoia re same (.3).


23320076 3/1/2019    Review request for public entities committee                  1.20   Dunne, Dennis F.
                     (.4); review case law, precedent and standards
                     re same (.8).


23325644 3/1/2019    Meeting with D. Denny, J. Weber, T. Kreller, P.               1.80   Franzoia, Rachel
                     Aronzon, C. Price, M. Koch and P. Milender re
                     work streams.


23325778 3/1/2019    Review Motion to Appoint Public Entities                      3.50   Franzoia, Rachel
                     Committee and supporting declaration (1.7);
                     conference with D. Denny re same (.3); review
                     case law cited in support of motion (1.5).


23328930 3/1/2019    Communications w/ C. Price/Milbank team re work               4.30   Koch, Matthew
                     streams (.2); conf. w/ T. Kreller, P. Aronzon,
                     J. Weber, R. Franzoia, D. Denny, M. Koch and P.
                     Milender re work streams (1.8); draft email to
                     M. Goren (Weil) and P. Sandler (Cravath) re
                     adjournment (.4); revise cash management order
                     (.8); review motion to appoint public entity
                     committee (.4); emails w/ D. Dunne/Milbank team
                     re same (.2); review revised proposed orders
                     for operational integrity motion (.2) and
                     customer programs (.3).


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23320077 3/1/2019    Review case filings, public documents re                      2.80   Kreller, Thomas R.
                     political and legislative developments and
                     other materials (.7); conf. w/ C. Price, P.
                     Aronzon, J. Weber, R. Franzoia, D. Denny, M.
                     Koch and P. Milender re work streams (1.8) and
                     prep for same (.3).


23304746 3/1/2019    Call w/ C. Price, M. Koch, T. Kreller and                     1.30   Milender, Parker
                     Milbank team re: work streams (partial) (1.1);
                     follow up meeting w/ M. Koch and C. Price (.2).


23319934 3/1/2019    Conf. w/ T. Kreller, P. Aronzon, J. Weber, R.                 1.60   Price, Craig Michael
                     Franzoia, D. Denny, M. Koch and P. Milender re
                     work streams (partial) (1.4); follow up call w/
                     M. Koch and P. Milender (.2).


23319947 3/1/2019    Review cash management order (.8); review                     1.60   Price, Craig Michael
                     motion to appoint public entity committee (.3);
                     review revised proposed operational integrity
                     order (.2) and customer programs (.3).


23740207 3/1/2019    Review motion for appointment of Public                       0.20   Vora, Samir
                     Entities' Commission.


23326058 3/1/2019    Conf. w/ T. Kreller, P. Aronzon, D. Denny, R.                 1.80   Weber, Jordan A.
                     Franzoia, C. Price, M. Koch and P. Milender re
                     work streams.


23305760 3/2/2019    Research case law re (redacted) (1.8); comms.                 2.00   Denny, Daniel B.
                     w/ W. Bice re same (.2).


23305761 3/3/2019    Continue research re (redacted).                              2.90   Denny, Daniel B.


23320425 3/3/2019    Review issues re tort committee advisor                       0.60   Dunne, Dennis F.
                     selection.


23346130 3/4/2019    Conferences with Milbank team and other UCC                   1.50   Aronzon, Paul S.
                     advisors re case and UCC issues.




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23313913 3/4/2019    Review motion for public entity committee (.3);               0.60   Bice, William B.
                     discuss committee objection to same with J.
                     Wolf (.3).


23342000 3/4/2019    Participate on weekly advisors call (.5);                     1.20   Khalil, Samuel A.
                     review proposals from information and noticing
                     firms (.4); analysis of same (.3).


23343040 3/4/2019    Discuss next steps w/ C. Price (.2);                          1.40   Koch, Matthew
                     communications w/ T. Kreller, C. Price and G.
                     Bray re next steps (.2); draft agenda for
                     standing advisors call (1).


23360459 3/4/2019    Review (.7) and revise (.9) final orders on                   2.30   Kreller, Thomas R.
                     continued first day matters; internal calls
                     (.4) and corr with team re same (.3).


23355732 3/4/2019    Discuss next steps w/ M. Koch (.2);                           1.90   Price, Craig Michael
                     communications w/ T. Kreller, M. Koch and G.
                     Bray re next steps (.2); draft agenda for
                     standing advisors call (1.0); review
                     correspondence re case issues (.5).


23357052 3/4/2019    Review correspondence from M. Koch re:                        0.10   Skaliks, Christina M.
                     advisors' call.


23354297 3/4/2019    Attend advisors call.                                         0.80   Stone, Alan J.


23346027 3/5/2019    Conferences with Milbank team and other UCC                   2.40   Aronzon, Paul S.
                     advisors re remaining issues re first day
                     orders (1.1); conference with FTI re open issue
                     (.6); review case filings (.4) and research
                     materials (.3).


23327219 3/5/2019    Review slide deck for debtor diligence                        0.40   Bice, William B.
                     presentation.


23329617 3/5/2019    Team strategy call w/ T. Kreller, C. Price, M.                1.00   Denny, Daniel B.
                     Koch, R. Franzoia, E. Dexter (.5); review (.2)
                     and analyze (.3) case materials and strategy
                     memo re PGE bankruptcy.



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23357716 3/5/2019    Attend Milbank team strategy call (.5); attend                1.00   Dexter, Erin E.
                     advisors' call (.5).


23740911 3/5/2019    Internal correspondence (multiple) regarding                  1.60   Dexter, Erin E.
                     public entities committee objection.


23360502 3/5/2019    Conference call with C. Price, M. Koch, D.                    0.40   Franzoia, Rachel
                     Denny, T. Kreller, J. Weber, J. Wolf, J. Duke
                     and E. Dexter to discuss and coordinate work
                     streams (partial).


23322542 3/5/2019    Attend weekly advisors call.                                  0.40   Khalil, Samuel A.


23343048 3/5/2019    Emails w/ W. Bice re diligence meeting.                       0.30   Koch, Matthew


23343097 3/5/2019    Diligence call w/ A. Scruton (FTI), C. Price,                 7.90   Koch, Matthew
                     and T. Kreller (.3); team strategy call w/ T.
                     Kreller, D. Denny, and C. Price/Milbank team
                     (.5); attend diligence call (5.9); draft update
                     email to T. Kreller and P. Aronzon (.6); manage
                     work streams (.6).


23360469 3/5/2019    Team strategy call w/ D. Denny, and C.                        1.80   Kreller, Thomas R.
                     Price/Milbank team (.5); review case filings
                     (.6) and emails with working group re same
                     (.7).


23327933 3/5/2019    Review new filings (Butte settlement motion and               0.60   Milender, Parker
                     supplemental taxes motion).


23355748 3/5/2019    Communications w/ T. Kreller, A. Scruton (FTI),               1.20   Price, Craig Michael
                     and K. Chopra (Centerview) re draft agenda for
                     3/7 UCC call (.5); update UCC call materials
                     (.7).




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23355753 3/5/2019    Diligence call w/ A. Scruton (FTI), M. Koch,                  7.90   Price, Craig Michael
                     and T. Kreller (.3); team strategy call w/ T.
                     Kreller, D. Denny, and M. Koch/Milbank team
                     (.5); participate in diligence call (5.9);
                     draft update email to T. Kreller and P. Aronzon
                     re same (.6); review work streams with M. Koch
                     (.6).


23359316 3/5/2019    Telephonically attend diligence meeting between               4.10   Vora, Samir
                     financial advisors and committee, review
                     materials thereon


23360623 3/5/2019    Research re (redacted) (5.4); conf. w/ D. Denny               6.20   Weber, Jordan A.
                     re: corporate governance memo (.3); attend
                     Milbank team strategy call (.5).


23344446 3/5/2019    Attend Milbank strategy team call (partial).                  0.40   Wolf, Julie M.


23344453 3/5/2019    Conduct legal research re: (redacted) (1.1);                 10.20   Wolf, Julie M.
                     conduct legal research re: (redacted) (2.8);
                     conduct legal research re: (redacted) (2.1);
                     draft (redacted) (4.2).


23345474 3/6/2019    Attend team case strategy meeting (.7); prep                  0.80   Brewster, Jacqueline
                     for same (.1).


23360536 3/6/2019    Review information from Senate hearing                        1.90   Franzoia, Rachel
                     regarding PG&E bankruptcy case (1.6); email
                     exchange with Milbank team regarding same (.3).


23343155 3/6/2019    Review docket (.2); communications w/ C. Price                2.30   Koch, Matthew
                     and T. Kreller re diligence issues (.1);
                     meeting w/ E. Dexter, C. Price, and D. Denny re
                     filing issues and strategies (.6); dial into
                     day 2 of diligence meeting w/ Debtors' advisors
                     (1.4).




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23355759 3/6/2019    Communications w/ M. Koch and T. Kreller re                   1.40   Price, Craig Michael
                     diligence issues (.1); meeting w/ E. Dexter, M.
                     Koch, and D. Denny and Milbank litigation and
                     FRG re filing issues and strategies (.6); prep
                     for same (.1); participate in day 2 of
                     diligence meeting w/ Debtors' advisors (.6)
                     (partial)


23360624 3/6/2019    Research re: (redact) (4.9); draft memo re:                   8.20   Weber, Jordan A.
                     (redact) (3.3).


23346031 3/7/2019    Conferences with Milbank team and other                       4.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.9); discuss next steps w/ C. Price, T.
                     Kreller, G. Bray, and M. Koch (.4).conference
                     with other case professionals (1.2); review
                     case filings (.3); review motions filed by
                     Debtors (.9); o/c with team re open issues
                     (.7).


23741310 3/7/2019    Review correspondence re filing logistics (.4);               0.90   Ayandipo, Abayomi A.
                     review case management procedures order (.5).


23340098 3/7/2019    Review (.4) and comment on (.6) motion re                     1.00   Bice, William B.
                     public entity committee.


23741313 3/7/2019    Discuss case strategy M.Koch, and P. Aronzon.                 0.40   Bray, Gregory A.


23345483 3/7/2019    Conduct research for memo (1.7); begin drafting               2.90   Connelly, Rachael
                     memo (1.2).


23340729 3/7/2019    Discussion with J. Wolf regarding revised draft               0.10   Denny, Daniel B.
                     response re Public Entities Committee motion.


23340731 3/7/2019    Comms. with M. Koch regarding case strategy and               0.30   Denny, Daniel B.
                     pending motions (.2); comms. with T. Kreller
                     regarding hearing preparation (.1).


23357819 3/7/2019    Internal correspondence regarding (.8) and                    2.20   Dexter, Erin E.
                     edits to (1.4) objection to public entities
                     committee motion.



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23360558 3/7/2019    Review draft opposition to Motion to Appoint                  1.10   Franzoia, Rachel
                     Public Entities Committee (.8); conference with
                     D. Denny regarding same (.3).


23343169 3/7/2019    Review hedging motion (.5); draft memo re same                1.20   Koch, Matthew
                     (.7).


23343209 3/7/2019    Comms. w/ R. Franzoia re case calendar (.1);                  0.60   Koch, Matthew
                     emails w/ C. Price and D. Denny re team
                     strategy call (.1); discuss next steps w/ C.
                     Price, T. Kreller, G. Bray, and P. Aronzon
                     (.4).


23741724 3/7/2019    Discuss general case strategy and next steps w/               0.40   Kreller, Thomas R.
                     C. Price, M. Koch, G. Bray, and P. Aronzon).


23356264 3/7/2019    Emails w/ M. Koch and D. Denny re team strategy               0.50   Price, Craig Michael
                     call (.1); discuss next steps w/ M. Koch, T.
                     Kreller, G. Bray, and P. Aronzon (.4).


23346067 3/8/2019    Conferences with Milbank team and other                       2.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.4); conferences with other case professionals
                     (1.3); review case filings (.7).


23357917 3/8/2019    Attend standing advisors call.                                0.40   Dexter, Erin E.


23343268 3/8/2019    Emails w/ W. Bice re committee formation issues               0.50   Koch, Matthew
                     (.2); team strategy call w/ C. Price/Milbank
                     team (.3).


23339325 3/8/2019    Call w/ M. Koch and Milbank team re work                      0.40   Milender, Parker
                     streams (.3); prep for same (.1).


23356301 3/8/2019    Review case issues (.7); emails w/ W. Bice and                1.20   Price, Craig Michael
                     M. Koch re open issues (.2); team strategy call
                     w/ M. Koch/Milbank team (.3).


23387192 3/8/2019    Internal call regarding strategy and next                     0.40   Vora, Samir
                     steps.




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23360626 3/8/2019    Review Debtors’ pleadings (2.6); o/c w/ C.                    4.10   Weber, Jordan A.
                     Price and M. Koch re: same (1.1); o/c with T.
                     Kreller re open issues (.4).


23344642 3/8/2019    Milbank Team Call re: work streams.                           0.30   Wolf, Julie M.


23343280 3/9/2019    Emails w/ S. Khalil re prior PG&E decisions.                  0.20   Koch, Matthew


23388686 3/9/2019    Coordinate re open issues on various motions                  0.50   Leblanc, Andrew M.
                     and objections.


23356319 3/9/2019    Respond to various emails from team re case                   1.60   Price, Craig Michael
                     management (.8); t/c with M. Koch re issues
                     with orders (.1); review related first day
                     orders (.7).


23346119 3/10/2019   Review emails from Milbank team regarding                     0.50   Behrens, James C.
                     upcoming hearings and outstanding issues.


23383753 3/11/2019   Conferences with Milbank team re case and UCC                 1.80   Aronzon, Paul S.
                     issues (.7); conference with other case
                     professionals (.6); review pleadings (.4) and
                     correspondence re same (.1).


23377946 3/11/2019   Attend standing committee advisors call with                  0.50   Bice, William B.
                     Milbank (C. Price), FTI (S. Starr) and
                     Centerview (K. Chopra).


23375777 3/11/2019   Email exchanges with working group regarding                  1.50   Denny, Daniel B.
                     pending motions and Committee responses (.6);
                     teleconference with Milbank, FTI and Centerview
                     regarding weekly meeting to discuss work in
                     progress (.6); email exchange with T. Kreller
                     and others regarding hearing preparation (.3).


23365100 3/11/2019   Review advisor issues re TCC.                                 0.30   Dunne, Dennis F.


23389940 3/11/2019   Weekly conference call with advisors.                         0.50   Franzoia, Rachel




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23388662 3/11/2019   Discuss work streams w/ C. Price (.6);                        2.00   Koch, Matthew
                     coordinate work streams (.2); call w/ J. Wolf
                     re objection to public entities committee (.1);
                     UCC advisors strategy call w/ A. Scruton/FTI
                     team, K. Chopra/Centerview team, and S.
                     Khalil/Milbank team (.5); discuss work streams
                     w/ C. Price (.3); draft agenda for UCC advisor
                     call (.3).


23389163 3/11/2019   Participate in advisor call with FTI and                      1.00   Leblanc, Andrew M.
                     Centerview (.5); prep for same (.5).


23350237 3/11/2019   Attend standing advisors call w/ Milbank,                     0.40   Milender, Parker
                     Centerview and FTI teams (partial).


23377786 3/11/2019   Coordinate work streams.                                      0.40   Price, Craig Michael


23377797 3/11/2019   UCC advisors strategy call w/ A. Scruton/FTI                  0.90   Price, Craig Michael
                     team, K. Chopra/Centerview team, and S.
                     Khalil/Milbank team (.5); prep for same (.4).


23384109 3/11/2019   Attend Advisors call.                                         0.50   Stone, Alan J.


23457359 3/11/2019   Attend advisors telephone meeting regarding                   0.50   Vora, Samir
                     strategy and next steps.


23378095 3/11/2019   Attend weekly advisors call (.5); review court                6.20   Wolf, Julie M.
                     Order for Joint Administration (.3); revise
                     Opposition to PE Motion (.6);, revise
                     Opposition to PE Motion (2.6) and finalize same
                     for filing and service; corr. with D. McCracken
                     re same (.2); coordinate electronic filing and
                     delivery of chambers copies; review certificate
                     of service of Opposition (.4); review Debtors'
                     Objection to PE Motion (1.3); discuss materials
                     for 3/13 hearing on PE Motion with legal
                     assistant team (.3).


23383871 3/12/2019   Conferences with Milbank team and other UCC                   3.20   Aronzon, Paul S.
                     advisors re case and UCC issues (1.8);
                     conference with other case professionals (.8);
                     review pleadings and research materials (.6).


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23375779 3/12/2019   Team strategy calls w/ M. Koch, C. Price, E.                  0.50   Denny, Daniel B.
                     Dexter, and D. Denny and Milbank team
                     (partial).


23388708 3/12/2019   Team strategy calls w/ M. Koch, C. Price, T.                  1.20   Dexter, Erin E.
                     Kreller, and D. Denny and Milbank team (1.2).


23389942 3/12/2019   Conference call with Milbank team to discuss                  0.60   Franzoia, Rachel
                     various work streams.


23388702 3/12/2019   Team strategy calls w/ T. Kreller, C. Price, E.               1.40   Koch, Matthew
                     Dexter, and D. Denny and Milbank team (1.2);
                     call w/ A. Scruton (FTI) re next steps (.2).


23748438 3/12/2019   Team strategy calls w/ M. Koch, C. Price, E.                  1.20   Kreller, Thomas R.
                     Dexter, and D. Denny and Milbank team.


23363618 3/12/2019   Attend standing Milbank team call w/ M. Koch,                 0.30   Milender, Parker
                     C. Price, T. Kreller and team (partial).


23377829 3/12/2019   Team strategy calls w/ T. Kreller, C. Price, E.               1.20   Price, Craig Michael
                     Dexter, and D. Denny and Milbank team.


23392688 3/12/2019   Attend Milbank team strategy and planning                     0.50   Weber, Jordan A.
                     meeting (partial).


23378136 3/12/2019   Attend weekly Milbank call re: tasks and                      1.10   Wolf, Julie M.
                     upcoming deadlines (.8); meeting with A.
                     Leblanc, S. Vora, and E. Dexter re: litigation
                     tasks (.3).


23383948 3/13/2019   Conferences with Milbank team and other                       1.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.6); conference with other case professionals
                     (.4); review case filings (.4).


23375790 3/13/2019   Review and analyze emails regarding preparation               0.80   Denny, Daniel B.
                     for committee meeting and work in progress
                     (.5); t/c with R. Franzoia regarding court
                     hearing and pending matters (.3).




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23388756 3/13/2019   Communications w/ D. Dunne, W. Bice, and C.                   0.30   Koch, Matthew
                     Price re case updates.


23374614 3/13/2019   Correspondence with working group.                            0.50   Moses, Adam R.


23377869 3/13/2019   Prep for committee call (.8); draft emails for                1.70   Price, Craig Michael
                     committee with M. Koch (.9).


23388881 3/14/2019   Emails w/ D. Dunne and W. Ng (FTI) re diligence               2.70   Koch, Matthew
                     issues (.7); review open issues re hedging and
                     STIP motions (1.3); communications w/ G. Bray,
                     C. Price, and W. Ng (FTI) re diligence issues
                     (.7).


23383880 3/15/2019   Conferences with Milbank team and other                       1.10   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.3); review case filings and research
                     materials (.8).


23389987 3/15/2019   Conference call with Milbank team to discuss                  0.30   Franzoia, Rachel
                     status of various work streams (partial).


23388968 3/15/2019   Call w/ W. Ng (FTI) re diligence (.3);                        1.10   Koch, Matthew
                     coordinate work streams (.4); team strategy
                     call w/ L. Mandel, S. Vora, D. Denny, C.
                     Price/Milbank team (.4).


23374763 3/15/2019   Attend Milbank team strategy call.                            0.40   Milender, Parker


23380037 3/15/2019   Review work streams (.8); attend standing team                1.20   Price, Craig Michael
                     call re same (.4).


23378249 3/15/2019   Attend weekly Milbank call re: tasks and                      0.30   Wolf, Julie M.
                     upcoming deadlines (partial).


23392622 3/16/2019   Review (.3) and analyze (.1) work in progress                 0.40   Denny, Daniel B.
                     regarding pending motions, anticipated motions
                     and related matters.




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23389008 3/16/2019   Communications w/ T. Kreller and G. Bray re                   0.70   Koch, Matthew
                     case strategy (.4); emails w/ A. Scruton (FTI)
                     re diligence issues (.3).


23386947 3/17/2019   Review correspondence re: information sharing.                0.10   Khani, Kavon M.


23389036 3/17/2019   Emails w/ K. Chopra (Centerview), A. Scruton                  2.00   Koch, Matthew
                     (FTI), and T. Kreller re standing advisors call
                     (.2); call w/ L. Attard (Baker) re information
                     sharing issues (.1); call w/ K. Bostel (Weil)
                     and J. Liou (Weil) re information sharing (.4);
                     numerous communications w/ G. Bray, W. Ng
                     (FTI), and T. Kreller re same (.9);
                     communications w/ G. Bray and K. Bostel (Weil)
                     re information sharing (.4).


23754461 3/18/2019   Call w/ K. Bostel (Weil), J. Liou (Weil), and                 1.10   Bray, Gregory A.
                     M. Koch re information sharing (.4); numerous
                     communications w/ M. Koch re same (.3);
                     communications w/ M. Koch and K. Bostel (Weil)
                     re information sharing (.4).


23754483 3/18/2019   Call w/ M. Koch and T. Kreller re work streams                1.80   Bray, Gregory A.
                     (.6); review matters relating to Axiom (.4) and
                     UCC members (.8).


23413049 3/18/2019   Standing Advisors Call w/ A. Scruton (FTI), K.                1.20   Kreller, Thomas R.
                     Chopra (Centerview), Milbank team (W. Bice, J.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, L.
                     Mandel, C. Skaliks, A. Stone, S. Vora, J. Wolf)
                     (.7); emails w/ M. Koch re standing advisors
                     call (.2); comms w/ same re information sharing
                     (.3).


23418766 3/18/2019   Advisor's call w/ A. Scruton (FTI), K. Chopra                 2.10   Stone, Alan J.
                     (Centerview) and Milbank Team (W. Bice, J.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, C. Skaliks, S. Vora, J.
                     Wolf) (.7); review memos (.9); review FIT deck
                     (.5).




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23408708 3/18/2019   Weekly advisors call w/ A. Scruton (FTI), K.                  0.90   Wolf, Julie M.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     J. Beebe, G. Bray, D. Denny, K. Khani, M. Koch,
                     T. Kreller, L. Mandel, C. Skaliks, A. Stone, S.
                     Vora) (.7); prep for same (.2).


23411591 3/19/2019   Call w/ Milbank Team (D. Denny, T. Kreller, L.                2.30   Aronzon, Paul S.
                     Mandel) re case and UCC issues (.4); review
                     relevant documents re same (1.0); revise UCC
                     memos and materials (.9).


23404854 3/19/2019   Review case status (.5) and review committee                  1.60   Denny, Daniel B.
                     agenda (.7); call w/ P. Aronzon, T. Kreller,
                     L. Mandel re case and UCC issues (.4).


23390146 3/19/2019   Conference call with Milbank team to discuss                  0.50   Franzoia, Rachel
                     status of various work streams.


23423513 3/19/2019   Calls w/ G. Bray and T. Kreller re work streams               0.70   Koch, Matthew
                     (.5); circulate materials for call w/ G. Bray
                     re work streams and next steps (.2).


23413013 3/19/2019   Calls w/ G. Bray and M. Koch re work streams                  1.10   Kreller, Thomas R.
                     (.5); call w/ P. Aronzon, L. Mandel and D.
                     Denny re case and UCC issues (.4); prepare for
                     same (.2).


23408682 3/19/2019   Research re: (redacted).                                      1.10   Lee, Danielle


23395829 3/19/2019   T/c w/ P. Aronzon, D. Denny, T. Kreller re case               0.60   Mandel, Lena
                     and UCC issues (.5); prep for same (.1).


23411600 3/20/2019   Conferences with G. Bray (.4) and UCC advisors                1.20   Aronzon, Paul S.
                     (.3) re UCC issues; review materials re same
                     (.5).


23754507 3/20/2019   Emails w/ M. Koch re 3/21 UCC call.                           0.20   Bray, Gregory A.


23754508 3/20/2019   Conferences w/ P. Aronzon re UCC issues.                      0.40   Bray, Gregory A.




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23423551 3/20/2019   Coordinate work streams (.2); calls w/ C. Price               0.80   Koch, Matthew
                     re open issues (.6).


23408705 3/20/2019   Research re: (redacted).                                      2.40   Lee, Danielle


23408971 3/20/2019   Calls with M. Koch re open issues (.6); review                2.10   Price, Craig Michael
                     correspondence (.3); review memos to committee
                     (1.2).


23411601 3/21/2019   Review case status (.4); review case                          1.40   Aronzon, Paul S.
                     correspondence (1).


23754533 3/21/2019   Conferences w/ P. Aronzon re status (.4);                     1.30   Bray, Gregory A.
                     review issues raised in telephone conference
                     call (.7); review issues re Axiom (.2).


23404952 3/21/2019   Review and analyze PGE first day declaration                  1.20   Denny, Daniel B.
                     and related case materials (1); t/c with J.
                     Weber regarding pending tasks and
                     responsibilities (.2)


23423583 3/21/2019   Standing call w/ J. Liou (Weil), J.                           0.50   Koch, Matthew
                     Boken(Alix), K. Chopra (Centerview), and A.
                     Scruton (FTI).


23405255 3/21/2019   Meeting with Akin and Perella re Ad Hoc group                 1.00   Leblanc, Andrew M.
                     and coordination.


23408807 3/21/2019   Research re: (redact) (4.1); summarize same                   6.80   Lee, Danielle
                     (2.7).


23408973 3/21/2019   Review recent pleadings.                                      1.00   Price, Craig Michael


23751625 3/21/2019   T/c w/ D. Denny re pending tasks and                          0.20   Weber, Jordan A.
                     responsibilities.


23411604 3/22/2019   Conferences with G. Bray (.3) and UCC advisors                0.90   Aronzon, Paul S.
                     (.2) re updates. review case filings (.4).




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23754535 3/22/2019   Call w/ M. Koch and T. Kreller re strategy                    1.00   Bray, Gregory A.
                     (.7); conferences w/ G. Bray (.3) re updates.


23404963 3/22/2019   Prepare for internal standing call regarding                  2.00   Denny, Daniel B.
                     pending matters (.6); review and analyze
                     updated task list and calendar (.1); t/c
                     regarding standing call regarding work in
                     progress (.8); analyze emails regarding
                     strategic issues and pending motions (.5).


23422661 3/22/2019   PG&E team strategy call with M. Koch, P.                      0.80   Dexter, Erin E.
                     Milender and S. Vora.


23425343 3/22/2019   Emails w/ M. Koch re team strategy call.                      0.20   Franzoia, Rachel


23423633 3/22/2019   Communications w/ W. Ng (FTI) re meeting w/                   1.50   Koch, Matthew
                     company (.2); emails w/ W. Ng (FTI) re meeting
                     w/ company (.1); comment on proposed agenda
                     (.3); call w/ G. Bray and T. Kreller re
                     go-forward strategy (.7); emails w R. Franzoia,
                     J. Wolf, and T. Kreller re team strategy call
                     (.2).


23408822 3/22/2019   Research re: (redacted).                                      5.90   Lee, Danielle


23423204 3/22/2019   Prepare for advisors call (.1); correspondence                0.30   Skaliks, Christina M.
                     re: agenda for UCC and debtors' meeting (.1);
                     correspondence re. task list (.1).


23423443 3/22/2019   Attend standing advisors call A. Scruton (FTI),               0.50   Skaliks, Christina M.
                     K. Chopra (Centerview) w/ E. Dexter, T.
                     Kreller, C. Skaliks, J. Wolf.


23754803 3/22/2019   Strategy call w/ E. Dexter, P. Milender and M.                0.30   Vora, Samir
                     Koch (.3).




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23408969 3/22/2019   Emails w/ M. Koch re team strategy call (.1);                 1.00   Wolf, Julie M.
                     attend weekly Milbank call w/ A. Scruton (FTI),
                     K. Chopra (Centerview) and Milbank Team (J.
                     Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, R. Franzoia, C. Price, A.
                     Stone) (.6); update team task list (.3).


23425344 3/23/2019   Update calendar.                                              3.60   Franzoia, Rachel


23455181 3/23/2019   Review correspondence re open issues for                      0.90   Price, Craig Michael
                     upcoming week.


23455187 3/24/2019   Review correspondence and open items (.8);                    1.70   Price, Craig Michael
                     draft open items list for coming week (.9).


23446330 3/25/2019   Summarize case status update (.5); conferences                2.10   Aronzon, Paul S.
                     with UCC advisors (.6) and other case
                     professionals (.7); review, research materials
                     (.3).


23454742 3/25/2019   Attend advisors call w/ A Scruton (FTI), K.                   0.70   Dexter, Erin E.
                     Chpra (Centerview), Milbank Team (J. Beebe, D.
                     Denny, M. Koch, T. Kreller, P. Milender, R.
                     Franzoia, C. Price, A. Stone, J. Wolf, M. Shah,
                     C. Skaliks, L. Mandel) (partrial) (.6); prep
                     for same (.1).


23754940 3/25/2019   Emails w/ M. Koch re scheduling and Committee                 0.20   Dunne, Dennis F.
                     meeting.


23459506 3/25/2019   Weekly conference call with UCC advisors w/ A.                0.60   Franzoia, Rachel
                     Scruton (FTI), K Chopra (Centerview) and
                     Milbank Team (Attend call w/ FTI (A. Scruton),
                     Centerview (K. Chopra) and Milbank Team (J.
                     Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel).




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23416738 3/25/2019   Attend standing advisors call w/ Milbank Team                 0.60   Milender, Parker
                     (Attend call w/ FTI (A. Scruton), Centerview
                     (K. Chopra) and Milbank Team J. Beebe, D.
                     Denny, E. Dexter, M. Koch, T. Kreller, R.
                     Franzoia, C. Price, A. Stone, J. Wolf, M. Shah,
                     C. Skaliks, L. Mandel), A. Scruton (FTI) and K.
                     Chopra (Centerview) team. I) and K. Chopra
                     (Centerview) team.


23439411 3/25/2019   Attend advisors call w/ A. Scruton (FTI), K.                  1.30   Price, Craig Michael
                     Chopra (Centerview) and Milbank Team (J. Beebe,
                     D. Denny, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, A. Stone, J. Wolf, M.
                     Shah, C. Skaliks, L. Mandel) (.6); prep for
                     same (.3); draft agenda for committee call with
                     M. Koch (.4).


23754951 3/25/2019   Attend Advisor call w/ FTI, Centerview and                    0.60   Shah, Manan
                     Milbank Team (J. Beebe, D. Denny, E. Dexter, M.
                     Koch, T. Kreller, P. Milender, R. Franzoia, C.
                     Price, A. Stone, J. Wolf, C. Skaliks, L.
                     Mandel).


23446520 3/25/2019   Attend weekly advisors call w/ K. Chopra                      0.60   Wolf, Julie M.
                     (Centerview), A. Scruton (FTI) and Milbank Team
                     (J. Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, R. Franzoia, C. Price, A.
                     Stone, M. Shah, C. Skaliks, L. Mandel).


23426513 3/25/2019   Research (1.1) and summarize (3.5) (redacted).                4.60   Zimberg, Joshua


23446339 3/26/2019   Provide update to Milbank team (.5) and UCC                   2.00   Aronzon, Paul S.
                     advisors (.3); review press articles (.7);
                     review UCC materials (.5).


23754831 3/26/2019   Call w/ M. Koch re strategy (.5); conference                  1.50   Bray, Gregory A.
                     call w/ same re work streams (.5); call w/ C.
                     Price re strategy (.5).


23441521 3/26/2019   Prepare for weekly standing Milbank call (.3);                0.70   Denny, Daniel B.
                     correspondence re: open issues (.4).




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23441523 3/26/2019   Review materials re corrected declaration (.2);               0.40   Denny, Daniel B.
                     email exchange with T. Kreller regarding court
                     filings and pending matters (.2).


23754955 3/26/2019   Analyze draft omnibus committee memo regarding                1.00   Denny, Daniel B.
                     retention applications and pending motions
                     (.6); advisors call w/ Milbank Team (T.
                     Kreller, P. Milender, J. Wolf), A. Scruton
                     (FTI), K. Chopra (Centerview) (.4).


23435374 3/26/2019   Review (.1) and analyze (.3) team strategy.                   0.40   Duke, Julia C.


23457120 3/26/2019   Review email correspondence re: materials and                 0.60   Khani, Kavon M.
                     agenda for upcoming Committee call.


23432527 3/26/2019   Prepare for (.2) and call (.5) w/ G. Bray re                  1.40   Koch, Matthew
                     strategy; update task list (.4); t/c w/ T.
                     Kreller and C. Price re next steps (.3).


23454579 3/26/2019   Emails w/ M. Koch re next steps (.3); emails w/               0.50   Kreller, Thomas R.
                     D. Denny re court filings and pending matters
                     (.2).


23460330 3/26/2019   Analyze general case strategy and next steps.                 0.60   Weber, Jordan A.


23455070 3/27/2019   Call with FTI and CV re open issues.                          1.20   Price, Craig Michael


23754958 3/27/2019   Emails w/ M. Koch re UCC Call.                                0.10   Shah, Manan


23755094 3/28/2019   Emails w/ R. Franzoia re UCC telephonic                       0.20   Denny, Daniel B.
                     meeting.


23755095 3/28/2019   Discuss case strategy w/ C. Price and G. Bray.                1.20   Kreller, Thomas R.



23439488 3/28/2019   Revise limited objection (.4); discuss case                   1.60   Price, Craig Michael
                     strategy with T. Kreller and G. Bray (1.2).




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23754839 3/29/2019   Email exchanges w/ D. Denny re hearing                        2.80   Bray, Gregory A.
                     transcript and strategic issues (.2);
                     conference call w/ R. Franzoia to discuss
                     various work streams (.7); call w/ J. Wolf re
                     task list and deadlines (.6); review new
                     pleadings filed (.8); review next steps (.5).


23441489 3/29/2019   Review emails regarding pending motions and                   1.00   Denny, Daniel B.
                     diligence (.5); email exchange with J. Wolf re
                     response to hedging motion (.1); review March
                     27 hearing regarding open issues with tort
                     claimants (.4).


23454982 3/29/2019   Review Pimco proposal.                                        0.60   Dunne, Dennis F.


23457286 3/29/2019   Review correspondence re: case updates (.1);                  0.40   Khani, Kavon M.
                     review response to TCC's reimbursement
                     procedures (.3).


23755351 3/29/2019   O/c w/ C. Price re procedures for reimbursement               0.20   Kreller, Thomas R.
                     memo.


23446702 3/29/2019   Call w/ G. Bray re task list and deadlines                    1.40   Wolf, Julie M.
                     (.6); update task list re: hedging objection
                     (.8).




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23354416 3/4/2019    Review issues re March 13 hearing.                            0.80   Bray, Gregory A.


23329606 3/4/2019    Attend 341(a) meeting of creditors.                           2.00   Denny, Daniel B.


23343028 3/4/2019    Revise draft stipulation (.2) and proposed                    0.40   Koch, Matthew
                     order (.1) re 3/12 and 3/13 hearings;
                     communications w/ C. Price and T. Kreller re
                     same (.1).


23355724 3/4/2019    Revise draft stipulation (.3) and proposed                    0.60   Price, Craig Michael
                     order (.2) re 3/12 and 3/13 hearings;
                     communications w/ M. Koch and T. Kreller re
                     same (.1).


23354418 3/5/2019    Review materials in preparation for March 13                  1.10   Bray, Gregory A.
                     hearing.


23354356 3/6/2019    Review materials re March 13 hearing (.9);                    1.20   Bray, Gregory A.
                     internal correspondence re same (.3).


23354358 3/7/2019    Review materials for March 13 hearing.                        0.80   Bray, Gregory A.


23741726 3/8/2019    Review materials for 5/13 hearing.                            1.60   Ayandipo, Abayomi A.


23354359 3/8/2019    Review materials for March 13 hearing (1.3);                  1.60   Bray, Gregory A.
                     emails w/ T. Kreller re same (.3).


23343295 3/10/2019   Emails w/ T. Kreller re 3/12 hearing (.1);                    2.00   Koch, Matthew
                     numerous communications w/ D. Dunne, S. Khalil,
                     P. Sandler (Cravath), M. Goren (Weil), and C.
                     Price re 3/12 and 3/13 hearings (1.9).


23383755 3/11/2019   Prepare for and attend court hearing (.5); prep               0.60   Aronzon, Paul S.
                     for same (.1).


23377792 3/11/2019   Telephonically attend FERC adversary hearing.                 0.50   Price, Craig Michael


23383867 3/12/2019   Prepare for (.6) and attend (.4) court hearing.               1.00   Aronzon, Paul S.




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23385560 3/12/2019   Review pleadings in prep for 3/13 hearing (.9);               1.10   Dunne, Dennis F.
                     corr. with S. Karotkin (Weil) re same (.2).


23389979 3/12/2019   Prepare for (.6) and attend (.4) March 13                     1.00   Franzoia, Rachel
                     omnibus hearing on public entities motion, DIP
                     motion, and other continued first day motions.


23387170 3/12/2019   Travel to SFO for omnibus hearing and review                  2.80   Kreller, Thomas R.
                     court filings and prep for hearing en route.


23387379 3/12/2019   Attend omnibus hearing on customer programs                   0.50   Kreller, Thomas R.
                     motion.


23377832 3/12/2019   Participate in omnibus hearing (.4); prep for                 0.60   Price, Craig Michael
                     same (.2).


23383947 3/13/2019   Prepare for (1.0) and attend (3.0) court                      4.00   Aronzon, Paul S.
                     hearing.


23384585 3/13/2019   Attend hearing (3); draft and distribute                      3.80   Duke, Julia C.
                     summary of same (.8).


23386217 3/13/2019   Review summary of 3/13 hearing.                               0.30   Dunne, Dennis F.


23388783 3/13/2019   Telephonically attend (partial) 3/13 omnibus                  2.20   Koch, Matthew
                     hearing.


23386738 3/13/2019   Prep for (3.0) and attend (3.8) omnibus                       6.80   Kreller, Thomas R.
                     hearing.


23389158 3/13/2019   Telephonically participate (partial) in omnibus               1.60   Leblanc, Andrew M.
                     hearing.


23377985 3/13/2019   Participate in court hearing re first day                     0.80   Price, Craig Michael
                     motions (partial).


23752380 3/13/2019   Telephonically attend omnibus hearing re: DIP                 3.80   Wolf, Julie M.
                     Motion and Public Entities Committee Motion.




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23385677 3/14/2019   Review materials in preparation for March 14                  2.30   Bray, Gregory A.
                     hearing.


23423514 3/19/2019   Emails w/ W. Bice (.1), K. Bostel (Weil) (.1),                0.30   Koch, Matthew
                     and T. Kreller (.1) re upcoming hearings.


23754056 3/19/2019   Emails w/ M. Koch re upcoming hearings.                       0.10   Kreller, Thomas R.


23418748 3/22/2019   Prepare for hearing—review DIP issues (2.0) and               3.00   Bray, Gregory A.
                     by law issues (1.0).


23420067 3/24/2019   Review TCC's filing re settlement funding                     0.20   Dunne, Dennis F.
                     motion.


23455039 3/25/2019   Review materials for court hearing (1.3);                     4.00   Bray, Gregory A.
                     prepare for meeting next week (.7); strategize
                     next steps (.8); review anticipated pleadings
                     (1.2).


23455041 3/26/2019   Review issues raised in court hearings (2.1);                 2.40   Bray, Gregory A.
                     review relevant pleadings re same (.3).


23454545 3/26/2019   Review court filings (1.1); prep for 3/27                     2.10   Kreller, Thomas R.
                     omnibus hearing matters (1.0).


23455043 3/27/2019   Review (.2) and revise (1.4) draft pleadings;                 3.20   Bray, Gregory A.
                     prepare for upcoming hearings (.9); review next
                     steps (.7).


23432566 3/27/2019   Attend omnibus hearing (1.3); review related                  1.70   Koch, Matthew
                     materials (.4).


23454550 3/27/2019   Attend 3/27 omnibus hearing re NOL trading                    2.60   Kreller, Thomas R.
                     order, final DIP financing and other agenda
                     items (1.3); prep for same (1.3).


23455045 3/28/2019   Review agenda for meeting next week (1.4);                    3.20   Bray, Gregory A.
                     review new pleadings (.8); review court hearing
                     issues (1.0).




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23308322 3/1/2019   Review PG&E criminal case docket.                         0.20    Benz, Stephen


23314326 3/1/2019   Review recent filings in the PG&E criminal case           1.70    Wu, Julia S.
                    docket (.8) and; summarize same for team (.9).


23324979 3/2/2019   Review recent court filings in San Bruno                  0.60    Ayoub, Emile G.
                    criminal proceeding (.3); correspond with team
                    re same (.3).


23309397 3/2/2019   Communication with D. Dunne, A. LeBlanc, T.               0.20    Bice, William B.
                    Kreller, G. Bray, and P. Aronson re CPUC rights
                    of public entities.


23360484 3/4/2019   Review recent court filings in San Bruno                  0.50    Ayoub, Emile G.
                    criminal proceeding (.1); correspond with
                    Milbank team re same (.4).


23360499 3/6/2019   Review recent court filings in San Bruno                  0.20    Ayoub, Emile G.
                    criminal proceeding (.1); comms. with J. Wu re
                    same (.1).


23741302 3/6/2019   Review materials re probation order.                      0.20    Bice, William B.


23350294 3/6/2019   Review and analysis of Jude Alsup’s revised               1.50    Khalil, Samuel A.
                    addditional probation conditions re PG&E (1.1);
                    corresp. w/ internal team re: same (.4).


23343142 3/6/2019   Review show cause order in criminal proceeding.           0.40    Koch, Matthew


23346952 3/6/2019   Comms. with E. Ayoub regarding new filings on             0.90    Wu, Julia S.
                    the PG&E criminal case docket (.2); draft email
                    to C. Price and M. Koch regarding updated
                    filings (.7).


23360507 3/7/2019   Review recent court filings in San Bruno                  0.20    Ayoub, Emile G.
                    criminal proceeding (.1); correspond with team
                    re same (.1).




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23356307 3/7/2019    Review recent docket updates in the criminal               3.30   Benz, Stephen
                     liability case (.9); update standing internal
                     memo re Judge Alsup's proposed Second Order to
                     Show Cause re modification of PG&E's Probation
                     (2.4).


23340092 3/7/2019    Review Judge Alsup probation ruling.                       0.40   Bice, William B.


23344648 3/8/2019    Review J. Alsup proposed revised additional                3.50   Wolf, Julie M.
                     conditions to PG&E probation order (1.4);
                     revise draft memorandum re Company criminal
                     liability and exposure to incorporate revised
                     probation conditions (2.1).


23748161 3/11/2019   Review (1.8) and revise (2.2) memoranda                    4.00   Vora, Samir
                     regarding PG&E criminal and civil liability
                     exposure.


23378172 3/13/2019   Review Sonoma District Attorney office press               5.00   Wolf, Julie M.
                     release: re district attorney criminal charges
                     (.3); revise memorandum re criminal exposure to
                     incorporate same (.8); review Bankruptcy Court
                     order and pleadings from 2001 bankruptcy of
                     PG&E re: Rate with S. Vora re inverse
                     condemnation research (2.2); correspond w/ with
                     S. Benz and J. Wu (.3) re same; revise and
                     incorporate edits to memorandum re criminal
                     exposure (1.4).


23384195 3/14/2019   Attend committee call (partial).                           1.00   Stone, Alan J.


23392600 3/15/2019   Review criminal case docket for updated                    0.10   Wu, Julia S.
                     filings.


23378377 3/17/2019   Revise memoranda re criminal liability and                 0.60   Wolf, Julie M.
                     civil liability.




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23419989 3/18/2019   Research case law regarding (redacted) (2);                6.20   Wu, Julia S.
                     edit memo re same (3.1); discuss with E. Ayoub
                     applicability of statutes (.2); call with E.
                     Ayoub and M. Capolino regarding revisions to
                     the memo (.5); call with M. Capolino regarding
                     revising memo (.2); research re: (redacted)
                     (.2).


23401715 3/19/2019   Review Milbank memorandum on criminal law                  0.70   Bice, William B.
                     proceedings.


23426055 3/20/2019   Review San Bruno memo.                                     0.70   Dunne, Dennis F.


23457384 3/20/2019   Review (.2) and revise talking points for                  3.00   Vora, Samir
                     criminal exposure memorandum (.3); research
                     regarding (redacted) (2.5).


23408792 3/20/2019   Draft talking points re: Company criminal                  2.70   Wolf, Julie M.
                     liability and exposure (1.2); research
                     (redacted) (1.5).


23755352 3/21/2019   Prepare for weekly committee call discussion of            0.80   Wolf, Julie M.
                     criminal exposure.


23422659 3/22/2019   Review recent court filings in San Bruno                   0.50   Ayoub, Emile G.
                     criminal proceeding.


23420902 3/22/2019   Review recent filings in the San Bruno criminal            0.30   Khani, Kavon M.
                     proceeding.


23419921 3/22/2019   Draft email summarizing criminal docket                    2.60   Wu, Julia S.
                     filings.


23754813 3/26/2019   Draft talking points on criminal proceeding for            0.70   Wolf, Julie M.
                     Committee call.


23446556 3/27/2019   Prepare materials for 4/2 criminal proceeding              0.50   Wolf, Julie M.
                     hearing on order to show cause.


23446705 3/29/2019   Review materials and docket re: hearing on                 0.40   Wolf, Julie M.
                     Order to Show Cause.


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23329605 3/4/2019    Travel to and from San Francisco for 341(a)                4.00   Denny, Daniel B.
                     meeting.


23389978 3/12/2019   Travel from Los Angeles to San Francisco for               3.00   Franzoia, Rachel
                     March 13 omnibus hearing.


23389944 3/13/2019   Return travel time to Los Angeles following                4.50   Franzoia, Rachel
                     March 13 omnibus hearing in San Francisco.


23386741 3/13/2019   Return travel from omnibus hearing.                        2.50   Kreller, Thomas R.


23404863 3/18/2019   Travel time for STIP deposition.                           2.50   Denny, Daniel B.


23404857 3/19/2019   Travel time from STIP deposition.                          2.50   Denny, Daniel B.


23405235 3/19/2019   Travel to and from New York for meeting with               4.50   Leblanc, Andrew M.
                     FTI.


23457380 3/19/2019   Travel to NY for meeting with FTI on wildfire              3.00   Vora, Samir
                     claims.


23404951 3/21/2019   Travel time to (2.1) and from Friske deposition            4.00   Denny, Daniel B.
                     (1.9).


23457390 3/21/2019   Return travel to D.C.                                      2.50   Vora, Samir


23454592 3/27/2019   Travel home following omnibus hearing                      3.00   Kreller, Thomas R.




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23319997 3/1/2019    Review CPUC hearings.                                      1.70   Dunne, Dennis F.


23323572 3/1/2019    Review De-energization filings (.9); review                1.60   Seeley, Henry
                     SB901 filings (.7).


23313916 3/4/2019    Review hearing transcript for Wildfire                     0.40   Bice, William B.
                     Mitigation Plan proceeding.


23355910 3/4/2019    Review docket updates to General Rate Case                 1.80   Seeley, Henry
                     (.2), SB901 Rulemaking (.8), De-Energization
                     Proceeding (.3) and Wildfire Cost Recovery
                     (.5).


23355983 3/5/2019    Update CPUC sections of CPUC and FERC summary              0.60   Seeley, Henry
                     document.


23356009 3/6/2019    Final review of CPUC summary for circulation to            0.50   Seeley, Henry
                     PG&E working group.


23342029 3/8/2019    Review filings in safety culture proceeding at             3.00   Bice, William B.
                     CPUC (2.3); draft summary of safety culture
                     proceeding for OCC (.5); respond to question
                     from J. Weber on CPUC input into Board
                     selection/proxy contest (.2).


23343260 3/8/2019    Emails w/ H. Seeley re CPUC proceedings.                   0.20   Koch, Matthew


23356103 3/8/2019    Review (.8) and update (.9) summary for                    1.70   Seeley, Henry
                     circulation to UCC.


23379264 3/12/2019   Comms. w/ H. Seely regarding committee memo on             0.20   Bice, William B.
                     CPUC proceedings.


23387477 3/12/2019   Review docket filings in SB901,                            1.70   Seeley, Henry
                     De-Energization, Safety Proceeding, and General
                     Rate Case (.9). draftsummary re filings (.8).


23386220 3/13/2019   Attend meeting with A. Kornberg and B. Hermann             1.20   Dunne, Dennis F.
                     (CPUC) re case developments and paths forward.




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23387575 3/15/2019   Review docket updates re SB901 proceeding (.8);            1.10   Seeley, Henry
                     review docket updates to de-energization
                     proceeding (.3).


23387832 3/16/2019   Review news articles and public filings re:                2.40   Seeley, Henry
                     CPUC.


23401708 3/19/2019   Review filings in CPUC docket for Wildfire                 1.20   Bice, William B.
                     Mitigation Plans (.6); review SDG&E objection
                     to public participation in wildfire cost
                     hearing (.2); review (.2) and comment (.2) on
                     H. Seeley memo on new filings in CPUC
                     proceedings.


23422415 3/19/2019   Review docket updates for CPUC proceedings                 1.80   Seeley, Henry
                     (1.1); update weekly summary (.7).


23422576 3/21/2019   Review CPUC docket updates.                                0.60   Seeley, Henry


23754953 3/21/2019   Correspondence w/ W. Bice re update to                     0.10   Seeley, Henry
                     committee memo on proceeding.


23411879 3/22/2019   Review docket entries for Wildfire Plan                    0.40   Bice, William B.
                     proceeding (.3); correspondence with H. Seeley
                     on update to committee memo on proceeding (.1).


23422689 3/23/2019   Review PG&E reply comments to wildfire                     1.20   Seeley, Henry
                     mitigation plan comments.


23438948 3/26/2019   Review reply comments of PG&E in Wildfire                  0.80   Bice, William B.
                     Mitigation Proceeding.


23455894 3/26/2019   Review materials re: weekly updates regarding              3.40   Seeley, Henry
                     SB901 (2.5), safety Culture (.1), and
                     de-energization (.8).


23460217 3/27/2019   Prepare for upcoming Commission meeting re                 0.10   Ayoub, Emile G.
                     wildfires.


23460221 3/28/2019   Coordinate w/ J. Wu re attending California’s              0.20   Ayoub, Emile G.
                     Commission on Wildfire meeting.


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23438993 3/28/2019   Review filings in CPUC safety culture                    0.40   Bice, William B.
                     proceeding (.2); review revisions to CPUC
                     proceedings memo to committee (.2).


23755126 3/29/2019   Communicate substance of AB 740 w/ W. Bice.              0.10   Dunne, Dennis F.




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23345646 3/5/2019    Meet with L. Orengo re: FERC jurisdictional                2.40   Liles, James
                     matters (.4); follow up meeting with L. Orengo
                     re same (.1); email exchanges with W. Bice re:
                     internal team call to discuss FERC declaratory
                     orders on jurisdiction (.1); review memo to
                     Committee re intervention in FERC proceedings
                     (.3); research (redacted) (.2); review outline
                     of draft briefing issues for FERC adversary
                     proceeding (.4); email to W. Bice re same (.5);
                     email exchange with W. Bice re query on FERC
                     jurisdictional issue (.4).


23355987 3/5/2019    Update weekly summary chart for FERC                       0.30   Seeley, Henry
                     transmission rate case.


23356249 3/6/2019    Review FERC docket filings.                                0.50   Seeley, Henry


23742833 3/9/2019    Revise FERC petition (.9); internal                        1.30   Nolan, Michael D.
                     communication re same (.4).


23387182 3/11/2019   Review (.3) and revise (.2) reply in support of            0.80   Kreller, Thomas R.
                     preliminary injunction re FERC jurisdiction and
                     calls and corr with team re same (.3).


23385552 3/11/2019   Work on FERC petition (.8); internal discussion            1.00   Nolan, Michael D.
                     of bankruptcy draft pleadings (.2).


23387158 3/14/2019   Review (.4) and revise motion to intervene in              0.80   Kreller, Thomas R.
                     FERC proceedings (.2); corr with team re same
                     (.2)


23385548 3/14/2019   Coordinate with K. Aitelaj and J. Liles re:                0.50   Nolan, Michael D.
                     filing of FERC motions to intervene.


23389372 3/15/2019   Email from T. Kreller re: coordination on                  0.10   Liles, James
                     governmental filings.


23387574 3/15/2019   Review of filings to the PG&E transmission rate            0.10   Seeley, Henry
                     case.




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23422409 3/19/2019   Review FERC docket updates (.5); update weekly            0.60   Seeley, Henry
                     summary (.1).


23460206 3/26/2019   Review recent FERC regulatory filing (.1);                0.20   Ayoub, Emile G.
                     review FERC Commission meeting re wildfire
                     plans (.1).


23446297 3/26/2019   Review email notifications from FERC re:                  0.30   Liles, James
                     tolling orders in NextEra and Exelon dockets
                     (.1); forward FERC tolling orders to Milbank
                     FERC team (.1); meeting with M. Nolan re:
                     discussion of FERC rehearing tolling orders and
                     outlook for later action (.1).


23444207 3/26/2019   Review FERC action on rehearing application               1.00   Nolan, Michael D.
                     (.9); meeting w/ J. Liles re discussion of FERC
                     rehearing tolling orders and outlook for later
                     action (.1).




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23308083 3/1/2019   Perform conflicts review (5.1); meet w/ C.                   5.40   Lee, Danielle
                    Price and D. Lee re same (.3).


23320070 3/1/2019   Review conflicts results (2.4); meeting w/ C.                2.70   Price, Craig Michael
                    Price and D. Lee re same (.3).


23320376 3/2/2019   Review Axiom's position re conflicts (.3);                   0.70   Dunne, Dennis F.
                    confs. with A. Scruton (FTI) re same (.2);
                    review response to same (.2).


23308087 3/3/2019   Perform conflicts review (1.7); internal comms.              2.00   Lee, Danielle
                    re: same (.3).


23362471 3/3/2019   Review conflict check analysis.                              2.10   Price, Craig Michael


23338533 3/4/2019   Review Axiom engagement (.3); confs. with FTI                0.90   Dunne, Dennis F.
                    (C. MacDonald, S. Starr, A. Scruton) re:
                    alternatives and recommendations (.4); review
                    Axiom retention issues (.2).


23343029 3/4/2019   Perform rule 2014 review re Milbank retention                3.10   Koch, Matthew
                    (2.4); t/c with C. Price re conflict issues and
                    research re same (.7).


23343053 3/4/2019   Continue conflicts review.                                   6.60   Lee, Danielle


23355744 3/4/2019   Conflicts review (2.2); o/c with T. Lomazow re               3.20   Price, Craig Michael
                    conflicts issues (.3); o/c with M. Koch re
                    research i/c/w conflict issues (.7).


23338771 3/5/2019   Conf. with S. Karotkin (Weil) and A. Leblanc re              0.30   Dunne, Dennis F.
                    retention of professionals.


23343095 3/5/2019   Review update re potential advisor retention.                0.10   Koch, Matthew


23346263 3/5/2019   Call with D. Dunne and S. Karotkin (Weil) re re              0.60   Leblanc, Andrew M.
                    retention of professionals (.3); review
                    materials re same (.3).


23343111 3/5/2019   Perform conflicts review.                                    8.10   Lee, Danielle



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23355756 3/5/2019   Meeting with team re conflicts review (1.1);                 3.30   Price, Craig Michael
                    review related conflict materials (2.2).


23359018 3/6/2019   Team meeting re conflict search process.                     0.50   Adeyosoye, Adeola O.


23741300 3/6/2019   Review retention materials (.4); o/c with C.                 0.50   Aronzon, Paul S.
                    Price re same (.1).


23343532 3/6/2019   Perform conflicts review (7.9); team meeting re              8.50   Lee, Danielle
                    same (.5); internal correspondence re same
                    (.1).


23355760 3/6/2019   Review conflicts materials (2.7); team meeting               3.20   Price, Craig Michael
                    re same (.5).


23329159 3/6/2019   Perform conflicts review (7.3); team meeting re              7.80   Zimberg, Joshua
                    same and next steps (.5).


23355495 3/7/2019   Confs. with A. Scruton re Compass (.2); review               0.40   Dunne, Dennis F.
                    scope of terms re same (.2).


23343508 3/7/2019   Perform conflicts review.                                    4.40   Lee, Danielle


23356284 3/7/2019   Review conflict materials (2.1); comms. with A.              2.50   Price, Craig Michael
                    Adeyosoye re same (.4).


23336215 3/7/2019   Perform conflicts review (6.2); correspond w/                6.50   Zimberg, Joshua
                    C. Price re same (.3).


23355648 3/8/2019   Review update from Axiom (.4); confs. with Epiq              0.90   Dunne, Dennis F.
                    re discount (.3); review counter (.2).


23343540 3/8/2019   Perform conflicts search.                                    8.10   Lee, Danielle


23339328 3/8/2019   Draft Epiq retention application.                            2.50   Milender, Parker


23356317 3/8/2019   Review conflict materials (2.7); t/c with team               3.50   Price, Craig Michael
                    re same (.8).




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23355673 3/9/2019    Review tort committee retention of advisors                  0.70   Dunne, Dennis F.
                     (.2); review fee app preparation (.5).


23355684 3/10/2019   Review position of Axiom (.3); review Epiq                   0.70   Dunne, Dennis F.
                     retention terms (.2); memo to UCC re same (.2).


23343308 3/10/2019   Emails w/ C. MacDonald (FTI) re potential                    0.20   Koch, Matthew
                     retention issues.


23377968 3/11/2019   Review draft Axiom retention letter (.6) and                 0.70   Bice, William B.
                     comment on same (.1).


23365101 3/11/2019   Review FTI's draft retention application and                 0.60   Dunne, Dennis F.
                     disclosures.


23388652 3/11/2019   Bankruptcy rule 2014 review (2.5); call w/ P.                2.60   Koch, Matthew
                     Milender re noticing agent retention (.1).


23363468 3/11/2019   Perform conflicts search.                                    6.90   Lee, Danielle


23350241 3/11/2019   Revise Epiq fee application.                                 1.60   Milender, Parker


23377795 3/11/2019   Perform conflicts review (2.0); revise                       2.80   Price, Craig Michael
                     retention application (.8).


23392636 3/11/2019   Emails re Centerview retention application                   0.60   Weber, Jordan A.
                     (.2); review Centerview comments and circulate
                     the same to Milbank team (.4).


23748432 3/12/2019   Review issues re Axiom.                                      1.70   Bray, Gregory A.


23375782 3/12/2019   Conference with J. Weber and J. Anderson                     0.50   Denny, Daniel B.
                     (partial) regarding Centerview engagement
                     letter.


23385557 3/12/2019   Review Axiom retention and next steps (.3);                  1.10   Dunne, Dennis F.
                     confs. with A. Scruton, M. Eisenband, and S.
                     Starr (FTI) re FTI disclosures (.3); review
                     same (.2); review Milbank searches and conflict
                     results (.3). .



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23388682 3/12/2019   Mark up potential consultant engagement letter               1.00   Koch, Matthew
                     (.8); call w/ A. Scruton (FTI) re retention
                     issues (.2).


23389195 3/12/2019   Conference with A. Scruton, M. Eisenband, and                0.60   Leblanc, Andrew M.
                     S. Star (FTI) re: FTI retention issues (.3);
                     review same (.3).


23368301 3/12/2019   Perform conflicts review.                                    2.50   Lee, Danielle


23377822 3/12/2019   Revise Axiom engagement letter.                              0.80   Price, Craig Michael


23377823 3/12/2019   Call w/ A. Scruton (FTI) re retention issues.                0.20   Price, Craig Michael


23377833 3/12/2019   Review conflict materials (1.9); review                      2.80   Price, Craig Michael
                     retention issues (.9).


23392646 3/12/2019   Call with W. Graham (Centerview) regarding                   0.30   Weber, Jordan A.
                     comments to retention app.


23389659 3/13/2019   Corresp with C. Price and D. Lee re status of                0.50   Adeyosoye, Adeola O.
                     retention application.


23379532 3/13/2019   Complete review of Axiom engagement letter.                  0.10   Bice, William B.


23748462 3/13/2019   Review of Axiom engagement letter.                           0.40   Bray, Gregory A.


23388813 3/13/2019   Emails w/ C. MacDonald (FTI) re retention                    3.10   Koch, Matthew
                     issues (.2); perform rule 2014 review (2.9).


23368407 3/13/2019   Review materials for conflicts search.                       7.20   Lee, Danielle


23748640 3/13/2019   Revise retention application (1.9); review                   7.30   Price, Craig Michael
                     conflict materials (3.4); review conflict
                     materials (2.0).


23363460 3/13/2019   Perform conflicts review.                                    1.90   Zimberg, Joshua


23748734 3/14/2019   Review issues related to Axiom retention.                    1.40   Bray, Gregory A.



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23375840 3/14/2019   Review debtors retention applications (.2);                 0.30    Denny, Daniel B.
                     email exchanges with M. Koch and working group
                     re analysis of same (.1).


23388896 3/14/2019   Revise Milbank retention app (1.2); revise                  3.00    Koch, Matthew
                     Milbank retention app (1.1); communications w/
                     C. MacDonald (FTI) and C. Price re retention
                     issues (.2); call w/ S. Garabato (Epiq) and P.
                     Milender re services agreement (.5).


23368442 3/14/2019   Review materials in connection with conflicts               4.90    Lee, Danielle
                     search


23372177 3/14/2019   Call w/ S. Garabato (Epiq) and M. Koch re:                  1.00    Milender, Parker
                     retention application (.5); draft comments to
                     Epiq services agreement (.5).


23377844 3/14/2019   Conflict review (2.1); finalize retention                   4.00    Price, Craig Michael
                     application (1.9).


23404971 3/15/2019   Communicate with M. Koch re: Milbank retention              0.40    Behrens, James C.
                     application.


23748921 3/15/2019   Review Axiom issues.                                        1.40    Bray, Gregory A.


23388972 3/15/2019   Communications w/ G. Bray and C. Price re third             5.40    Koch, Matthew
                     party retention issues (.5); revise Milbank
                     retention app (3.9); perform rule 2014 review
                     (1).


23748923 3/15/2019   Review and analyze debtors fee applications                 2.80    Kreller, Thomas R.
                     (.9); corr with team re same (.2); revise
                     Milbank employment applications and related
                     disclosures (1.2); calls and corr with team re
                     same (.5).


23377676 3/15/2019   Update conflict search results for retention                2.80    Lee, Danielle
                     Application.


23379103 3/15/2019   Research re retention of certain professionals              0.90    Mandel, Lena
                     (.7); conference with C. Price re results (.2).


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23380035 3/15/2019   Review conflict check results (2.7) and                     4.10    Price, Craig Michael
                     retention application issues (1.2); conf. with
                     C. Price re results of research re same (.2).


23404940 3/16/2019   Communicate with D. Denny re: Centerview                    2.20    Behrens, James C.
                     engagement letter (.4); review Centerview
                     engagement letter and related correspondence
                     (1.3); multiple t/cs with D. Denny re
                     Centerview engagement (.5).


23379659 3/16/2019   Correspond with M. Koch re: Axiom retention                 0.60    Bice, William B.
                     (.2); call with H. Seeley re same (.2); review
                     draft email by H. Seeley regarding Axiom (.2).


23392620 3/16/2019   Email exchanges w/ G. Bray and working group re             1.20    Denny, Daniel B.
                     Axiom retention application and related issues
                     (.2); t/c with R. Franzoia regarding Axiom
                     retention application (.2); t/c with J. Behrens
                     (multiple) regarding Centerview engagement
                     (.5); review and analyze revised draft
                     Centerview engagement letter (.3)


23389006 3/16/2019   Communications w/ G. Bray, C. MacDonald (FTI),              1.50    Koch, Matthew
                     and J. Behrens re third party retention app
                     (.3); research re (redacted) (1.2).


23374986 3/16/2019   Review issues re: Epiq retention applications.              0.40    Milender, Parker


23404930 3/17/2019   Communicate with Milbank team re: Centerview                0.20    Behrens, James C.
                     engagement letter.


23390044 3/17/2019   Research regarding (redacted) (2.9); prepare                4.10    Franzoia, Rachel
                     (redacted) (1.2).


23377205 3/17/2019   Revise Epiq retention application.                          0.20    Milender, Parker


23755336 3/18/2019   T/c w/ D. Denny re Centerview engagement.                   0.20    Anderson, Jason T.




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23404934 3/18/2019   Review and revise Centerview employment                    2.00    Behrens, James C.
                     application (.5) and Centerview engagement
                     letter (1.2); conf w/ D. Denny re Centerview
                     engagement letter and retention application
                     (.3).


23401726 3/18/2019   Review (.3) and comment (.5) on Milbank                    1.80    Bice, William B.
                     retention application; research disinterested
                     transaction standard (.8); emails w/ M. Koch re
                     Milbank retention application (.2).


23404861 3/18/2019   Conference with J. Behrens re Centerview                   0.50    Denny, Daniel B.
                     engagement letter and retention application
                     (.3); conference with R. Franzoia re Axiom
                     retention application (.2).


23386295 3/18/2019   Review Milbank retention papers (.8); emails w/            0.90    Dunne, Dennis F.
                     M. Koch re retention application (.1).


23390222 3/18/2019   Continue to research (redacted) (6.1); draft               9.30    Franzoia, Rachel
                     UCC's Application to Employ Axiom Advisors (3);
                     conference w/ D. Denny re Axiom retention
                     application (.2).


23423501 3/18/2019   Draft Centerview retention app (1); revise                 4.40    Koch, Matthew
                     Milbank retention app (1.7); communications w/
                     W. Graham (Centerview) re Centerview retention
                     (.5); emails w/ D. Dunne, W. Bice, and K. Wong
                     re Milbank retention app (.4); revise app (.7).
                     correspond w/ L. Mandel re Epiq retention
                     application (.1).


23407092 3/18/2019   Review results of conflicts search.                        0.50    Lee, Danielle


23385091 3/18/2019   Review (.3) and revise (.9) Epiq retention                 2.80    Mandel, Lena
                     application; correspond with P. Milender and M.
                     Koch re same (.2); review (.4) and revise (1)
                     Milbank's retention application and related
                     declaration.


23425026 3/19/2019   Review Centerview engagement letter.                       0.40    Anderson, Jason T.




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23404920 3/19/2019   Review Centerview engagement letter (.4); comms            6.00    Behrens, James C.
                     w/ G. Bray re same (.4); calls and emails with
                     Centerview re: same (1.2); research case law
                     for (redacted) (2.5); revise Centerview
                     employment application (1.5).


23754498 3/19/2019   Comms w/ J. Behrens re Centerview engagement               0.90    Bray, Gregory A.
                     letter (.4); review same (.5).


23404856 3/19/2019   Teleconference with R. Franzoia re Axiom                   0.50    Denny, Daniel B.
                     retention app.


23390204 3/19/2019   Review Debtors' application to employ Lazard as            6.50    Franzoia, Rachel
                     investment banker (.6); review Debtors' Weil
                     application (.4); review Debtors' AP Services
                     application (.5); review Prime Clerk
                     application (.2); review Jenner & Block
                     application (.2); review Debtors' application
                     to employ Keller & Benvenutti (.3); research
                     regarding (redacted) (3.1); draft email to G.
                     Bray and T. Kreller regarding the same (.7);
                     phone call with D. Denny regarding the same
                     (.5).


23423521 3/19/2019   Revise Milbank retention app (1.5); draft                  3.20    Koch, Matthew
                     Centerview retention app (1.4); review local
                     rules (.1); t/c w/ C. Price re retention
                     application (.2)


23395899 3/19/2019   Further review Epiq retention application.                 0.80    Milender, Parker


23409081 3/19/2019   Review issues with retention application (.9);             1.10    Price, Craig Michael
                     t/c with M. Koch re same (.2).


23425032 3/20/2019   Review Centerview engagement letter (1.0);                 1.20    Anderson, Jason T.
                     emails w/ M. Koch re Centerview retention (.2).


23404907 3/20/2019   Telephone conference with Centerview and G.                1.20    Behrens, James C.
                     Bray regarding Centerview engagement letter.




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23754509 3/20/2019   T/c w/ Centerview and J. Behrens re Centerview              2.40    Bray, Gregory A.
                     engagement letter (1.2); review Axiom retention
                     issues (.6); calls w/ UCC members re same (.6).


23404949 3/20/2019   Telephone conference with J. Anderson regarding             0.20    Denny, Daniel B.
                     Centerview engagement.


23425341 3/20/2019   Draft Axiom retention app (2.4);                            3.10    Franzoia, Rachel
                     calls/correspondence re: same (.5); conference
                     w/ D. Denny re work in progress (.2).


23754249 3/20/2019   Call w/ M. Koch re third party retention                    0.30    Franzoia, Rachel
                     issues.


23755090 3/20/2019   Emails w/ P. Milender re Epiq retention (.2);               4.70    Koch, Matthew
                     emails w/ K. Chopra (Centerview) and T. Kreller
                     re Centerview retention issues (.2);
                     communications w/ A. Scruton (FTI) and S. Starr
                     (FTI) re potential retention of consultant
                     (.4); revise Milbank retention app (.1); revise
                     Centerview retention application (.3). Emails
                     w/ S. Garabato (Epiq) re services agreement
                     (.2); revise conflicts connections chart (.2);
                     further revise Milbank retention app (.5); call
                     w/ R. Franzoia re third party retention issues
                     (.3); emails w/ W. Graham (Centerview) and J.
                     Anderson re Centerview retention (.3); revise
                     Milbank retention application (1.6); emails w/
                     M. Koch re Epiq retention application (.1);
                     conference w/ L. Mandel re various retention
                     applications and related issues (.3).


23413012 3/20/2019   Emails w/ M. Koch re Centerview retention                   3.00    Kreller, Thomas R.
                     issues (.1); review (1.9) and revise (1.0)
                     Milbank employment papers.


23401536 3/20/2019   Correspond with P. Milender and M. Koch re                  0.50    Mandel, Lena
                     various retention applications and related
                     issues.




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23401919 3/20/2019   Review/revise Epiq retention application (.3);              0.70    Milender, Parker
                     emails w/ Epiq and M. Koch re: same (.2);
                     correspond w/ L. Mandel re various retention
                     application and related issues (.2).


23425040 3/21/2019   Finalize Centerview engagement letter.                      0.20    Anderson, Jason T.


23754532 3/21/2019   Communications w/ M. Koch re consultant                     0.20    Bray, Gregory A.
                     retention.


23404953 3/21/2019   Review and analyze professional retention                   0.50    Denny, Daniel B.
                     engagement issues re Axiom (.2) and Centerview
                     (.3).


23425342 3/21/2019   Calls/correspondence re Axiom Retention App                 2.30    Franzoia, Rachel
                     (1.1); update calendar (1.2).


23754254 3/21/2019   Revise Axiom retention app.                                 5.40    Franzoia, Rachel


23423598 3/21/2019   Correspondence w/ potential consultant re                   1.40    Koch, Matthew
                     retention (.2); communications w/ G. Bray re
                     consultant retention (.2); revise engagement
                     letter (.2); revise consultant engagement
                     letter (.5); t/c w/ C. Price re retention
                     application (.3).


23413009 3/21/2019   Further review Milbank employment papers (1.0)              2.40    Kreller, Thomas R.
                     and conflicts check disclosures (1.4).


23408977 3/21/2019   Review retention application (1); t/c with M.               1.30    Price, Craig Michael
                     Koch re same (.3).


23411984 3/22/2019   Review Axiom engagement letter (.2);                        0.30    Bice, William B.
                     correspondence with T. Kreller re same (.1).


23404956 3/22/2019   Review committee retention application issues               2.10    Denny, Daniel B.
                     (.6); conference with R. Franzoia regarding
                     draft Axiom retention app (.4); conference with
                     R. Franzoia and T. Kreller regarding Axiom
                     engagement (.2); r review and analyze Axiom
                     retention issues (.9).


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23754259 3/22/2019   Review Axiom retention app (2.2); conference w/            5.90    Franzoia, Rachel
                     D. Denny re drafting of Axiom retention app
                     (.4); conference w/ D. Denny and T. Kreller re
                     Axiom engagement (.2); revise memos on
                     retention apps for committee (3.1);


23754260 3/22/2019   Review draft of Centerview retention                       0.30    Khani, Kavon M.
                     application.


23423631 3/22/2019   Review debtors' retention apps (1.3); revise               2.70    Koch, Matthew
                     Milbank retention app (.4); revise Kreller
                     declaration (.3); revise conflicts chart (.2);
                     emails w/ T. Kreller re same (.2); emails w/ T.
                     Kreller re rule 2014 diligence (.3).


23413004 3/22/2019   Review Milbank employment app (1.1); corr to               1.90    Kreller, Thomas R.
                     UST re same (.4); emails w/ M. Koch re
                     conflicts chart (.2); emails w/ M. Koch re rule
                     2014 diligence (.2).


23755098 3/22/2019   Conference w/ D. Denny and R. Franzoia re                  0.30    Kreller, Thomas R.
                     engagement letter (.2); correspondence w/ W.
                     Bice re Axiom Engagement letter (.1).


23408984 3/22/2019   Review retention application (.8); review                  1.10    Price, Craig Michael
                     related correspondence (.3).


23411896 3/23/2019   Correspondence with T. Kreller on Axiom                    0.20    Bice, William B.
                     retention.


23412979 3/23/2019   Teleconference with M. Koch regarding Axiom                0.20    Denny, Daniel B.
                     retention application (.1); review emails re
                     same (.1).


23423638 3/23/2019   Call w/ D. Denny re consultant retention.                  0.10    Koch, Matthew


23413066 3/24/2019   Revise draft Axiom retention application (1.6);            2.90    Denny, Daniel B.
                     review and analyze case law re retention of
                     committee professionals (.9); t/c with R.
                     Franzoia regarding revised draft Axiom
                     retention application (.4).



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23425345 3/24/2019   T/c w/ D. Denny re revised draft Axiom                      5.00    Franzoia, Rachel
                     retention application (.4); further revise same
                     re D. Denny’s comments (4.6).


23441307 3/25/2019   Email T. Kreller regarding Axiom retention                  1.10    Denny, Daniel B.
                     application (.1); t/c with R. Franzoia
                     regarding revisions to draft Axiom retention
                     application (.6); review and analyze revised
                     draft Axiom retention application (.4).


23754805 3/25/2019   Correspondence w/ R. Franzoia re request for                0.50    Dexter, Erin E.
                     Judicial Notice in support of Axiom Retention
                     Application.


23459510 3/25/2019   Prepare memorandum for the UCC regarding the                2.00    Franzoia, Rachel
                     retention applications filed by the Debtors and
                     TCC (Weil, AP Services, Keller & Benvenutti,
                     Prime Clerk, Lazard, Jenner & Block, Baker &
                     Hostetler).


23755337 3/25/2019   Revise Axiom retention application (3.6);                   5.00    Franzoia, Rachel
                     correspondence with D. Denny regarding the same
                     (.6); prepare Request for Judicial Notice in
                     support of Axiom Retention Application (.8).


23432329 3/25/2019   Review comp analysis (.2); call w/ J. Willis                0.30    Koch, Matthew
                     (DLA Piper) re FTI retention app (.1).


23755339 3/25/2019   Revise Axiom engagement letter (.4); emails w/              0.90    Kreller, Thomas R.
                     G. Bray reAxiom employment papers and next
                     steps (.2); review Milbank employment papers
                     and disclosures (.3).


23439421 3/25/2019   Review FTI and CV comp analysis (.2); call w/               0.30    Price, Craig Michael
                     J. Willis (DLA Piper) re FTI retention app
                     (.1).


23754806 3/25/2019   Conduct research re: (redacted) (2.1); draft                3.70    Wolf, Julie M.
                     request for judicial notice to accompany Axiom
                     retention application (1.6).




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23441522 3/26/2019   Email to T. Kreller re Axiom retention                      0.20    Denny, Daniel B.
                     application (.1); conference with T. Kreller re
                     Axiom retention application (.1).


23754808 3/26/2019   Correspondence w/ R. Franzoia re Axiom                      0.60    Dexter, Erin E.
                     retention application supporting RJN.


23446629 3/26/2019   Confs. with S. Green re Lazard comp (.3);                   0.70    Dunne, Dennis F.
                     review same (.4).


23459566 3/26/2019   Correspondence with E. Dexter regarding Axiom               0.70    Franzoia, Rachel
                     retention application and supporting RJN.


23754833 3/26/2019   Conference w/ D. Denny re Axiom retention                   0.10    Kreller, Thomas R.
                     application.


23441471 3/27/2019   T/c with R. Franzoia regarding Axiom retention              0.20    Denny, Daniel B.
                     application.


23452161 3/27/2019   Review UST's responses and comments to draft                0.50    Dunne, Dennis F.
                     UCC advisor retention apps (.3); confs. with A.
                     Scruton (FTI) re same (.2).


23459530 3/27/2019   T/c with D. Denny to discuss various matters                0.30    Franzoia, Rachel
                     including Axiom retention application.


23459921 3/27/2019   T/c with M. Koch regarding Axiom engagement                 0.90    Franzoia, Rachel
                     (.6); email C. Gilson (Axiom) regarding the
                     same (.1); t/c w/ D. Denny re Axiom retention
                     application (.2).


23460096 3/27/2019   Review time entries for privilege and                       2.50    Franzoia, Rachel
                     compliance with guidelines.


23432593 3/27/2019   Call w/ potential consultant re retention                   1.60    Koch, Matthew
                     issues (.9); revise Centerview retention app
                     (.1); t/c w/ R. Franzoia re Axiom engagement
                     (.6).




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23454552 3/27/2019   Corr with UST and FTI re open issues and                    1.40    Kreller, Thomas R.
                     questions re FTI employment papers (.4); work
                     on responses re same (.2); call with Axiom re
                     engagement letter, employment papers
                     disclosures (.6) and next steps re same (.2).


23455073 3/27/2019   Review open items re conflict check (1.1);                  2.20    Price, Craig Michael
                     review retention materials (.6); review
                     comments from UST to FTI application (.5).


23789761 3/27/2019   Review and comment on financial advisor                     2.60    Weber, Jordan A.
                     retention application (1.9); emails on
                     engagement letter for financial advisor (.4);
                     review engagement letter for application
                     purposes (.3).


23457840 3/28/2019   Emails w/ R. Chesley (FTI) re FTI fee apps                  0.30    Koch, Matthew
                     (.1); emails w/ R. Franzoia re third party
                     consultant engagement (.2).


23454973 3/28/2019   Corr with UST and FTI re open issues and                    0.50    Kreller, Thomas R.
                     questions re FTI employment papers (.3) and
                     work on responses re same (.2).


23454984 3/28/2019   Review and revise Epiq employment papers (.3);              0.40    Kreller, Thomas R.
                     calls and corr with team re same (.1).


23441490 3/29/2019   Teleconference with R. Franzoia re response to              0.20    Denny, Daniel B.
                     Lazard application.


23459959 3/29/2019   Phone call with D. Denny re response to Lazard              3.70    Franzoia, Rachel
                     application (.2); draft objection to retention
                     application (3.5).


23459984 3/29/2019   Review draft response to TCC motion for                     0.50    Franzoia, Rachel
                     reimbursement of member expenses (.4); email
                     correspondence regarding the same (.1).


23460074 3/29/2019   Revise billing entries for privilege and                    1.80    Franzoia, Rachel
                     compliance with guidelines.




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23755349 3/29/2019   Review and revise limited response to TCC                  1.00    Kreller, Thomas R.
                     committee reimbursement procedures (.5); corr
                     with TCC counsel re same (.1); corr with UCC
                     advisor team re Lazard employment app issues
                     (.3) and next steps (.1).


23455175 3/29/2019   Review retention materials for UCC                         2.10    Price, Craig Michael
                     professionals.




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23338535 3/4/2019   Corr. with Willkie re meeting (.3); review                0.80   Dunne, Dennis F.
                    issues re subrogation claims and diligence same
                    (.5).


23338772 3/5/2019   Review coverage C & D issues (.8); review                 1.40   Dunne, Dennis F.
                    evidence and claim allowance re same (.6).


23346940 3/5/2019   Coordinate research re (redacted) (.1); discuss           1.00   Wu, Julia S.
                    same with E. Ayoub (.3); comms. with M.
                    Capolino re same (.1); research re (redacted)
                    (.5).


23338778 3/6/2019   Review upcoming meetings/agendas with                     0.40   Dunne, Dennis F.
                    subrogation group and CPUC.


23346948 3/6/2019   Research (redacted) (.4); research (redacted)             1.70   Wu, Julia S.
                    (.2); research (redacted) (.2); draft email
                    summary of research findings (.8); review and
                    finalize same (.1).


23355566 3/7/2019   Attend meeting at Willkie with ad hoc insurance           1.10   Dunne, Dennis F.
                    committee advisors (M. Feldman and J. Minias
                    (Willkie) and H. Parkhill (Rothschild).


23333951 3/7/2019   Attend meeting with A. Leblanc and D. Dunne and           0.50   Khalil, Samuel A.
                    Subrogation committee advisors (partial).


23346279 3/7/2019   Meeting with S. Khalil, D. Dunne and                      1.70   Leblanc, Andrew M.
                    subrogation claimants advisors (M. Feldman and
                    J. Minias (Willkie) and H. Parkhill of
                    Rothschild) re case summaries (1.1); coordinate
                    re same (.6).


23347011 3/7/2019   Incorporate edits to draft email regarding                2.60   Wu, Julia S.
                    wildfire insurance payouts for the PG&E
                    wildfires (1.2); correspond w/ E. Ayoub re same
                    (.2); further revise and incorporate additional
                    edits to draft email regarding wildfire
                    insurance payouts for PG&E wildfires (.5);
                    further revise same and incorporate additional
                    language re insurance carrier reports w/r/t
                    wildfire payouts (.7).


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23347024 3/8/2019    Review (.1) and incorporate (.4) S. Vora's                 0.60   Wu, Julia S.
                     comments on email re wildfire insurance
                     payouts; email w/ E. Ayoub and M. Capolino re
                     same (.1).


23396112 3/12/2019   Review research re (redacted) (.6); discussion             0.80   Ayoub, Emile G.
                     with M. Capolino and J. Wu re same (.2).


23376861 3/12/2019   Discussion with E. Ayoub and J. Wu re research             0.80   Capolino, Margherita Angela
                     relating to (redacted) (.2); review same (.6).


23457362 3/12/2019   Meeting with A. Leblanc regarding estimated                2.40   Vora, Samir
                     volume of wildfire claims and related
                     litigation issues (.6); research regarding
                     (redacted) (1.4); comms w/ E. Ayoub re same
                     (.4).


23392577 3/12/2019   Discuss with E. Ayoub and M. Capolino research             0.50   Wu, Julia S.
                     (redaction) (.2); research (redaction) (.3).


23396133 3/13/2019   Correspondence w/ J. Wu re research regarding              0.40   Ayoub, Emile G.
                     (redacted).


23376886 3/13/2019   Research regarding (redacted).                             2.90   Capolino, Margherita Angela


23392581 3/13/2019   Review results of research regarding (redacted)            3.60   Wu, Julia S.
                     (.2); research (redacted) (1) attend corr. with
                     E. Ayoub and M. Capolino regarding research
                     results (.6); create list of single-event
                     disasters that resulted in mass tort claims
                     (1.8).


23748729 3/14/2019   Review (.6) and revise (.4) email summary re               1.00   Ayoub, Emile G.
                     (redacted).


23376960 3/14/2019   Research re: tort issues and related                       6.70   Capolino, Margherita Angela
                     settlements (4.3); research re: (redacted)
                     (2.4).




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23457376 3/15/2019   Meet with A. Leblanc and FTI regarding                    2.50   Vora, Samir
                     treatment of wildfire and wildfire-related
                     subrogation claims (.8); review same (1.3) and
                     tort memo (.4).




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23312630 3/1/2019    Call with creditor re: NOL motion.                           0.20   Kestenbaum, Russell J.


23343017 3/4/2019    Comms. w/ R. Franzoia re tax issues (.1); call               1.00   Koch, Matthew
                     w/ D. Schiff (Davis Polk) and C. Price re NOL
                     motion (.9).


23355790 3/4/2019    Call w/ D. Schiff (Davis Polk) and M. Koch re                0.90   Price, Craig Michael
                     NOL motion.


23338775 3/5/2019    Review additional tax payment issue.                         0.70   Dunne, Dennis F.


23362768 3/5/2019    Review debtors' draft supplemental tax motion.               0.10   Hazra, Archan J.


23324654 3/5/2019    Reviewe supplemental tax motion (.4) and order               0.60   Heller, Benjamin
                     (.2).


23340546 3/5/2019    Review company tax presentation for creditors.               0.30   Kestenbaum, Russell J.


23343138 3/6/2019    Draft memo re supplemental tax motion.                       0.80   Koch, Matthew


23355765 3/6/2019    Revise memo re supplemental tax motion.                      0.50   Price, Craig Michael


23357828 3/7/2019    Review memo to Committee re: debtors'                        0.60   Hazra, Archan J.
                     supplemental tax motion.


23340547 3/7/2019    Review supplemental taxes motion (.2), review                0.40   Kestenbaum, Russell J.
                     and comment on memo to committee re: same (.2).


23356469 3/7/2019    Review supplemental tax motion as against                    0.30   Price, Craig Michael
                     initial draft (.2); review related declaration
                     (.1).


23389262 3/11/2019   Call with K. Meek (Robins Kaplan) re: trading                0.20   Behrens, James C.
                     motion.


23358029 3/12/2019   Review merits of settlement of NOL dispute (.4)              0.70   Khalil, Samuel A.
                     and follow up on same (.3).




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23419065 3/21/2019   Emails with Milbank team re: NOL order (.2),                0.30   Kestenbaum, Russell J.
                     t/c with S. Goldring (Weil) re: NOL motion
                     (.1).


23420081 3/22/2019   Review update from debtors re NOL trading                   0.60   Dunne, Dennis F.
                     motion settlement (.3); review relevant
                     precedent (.3).


23446273 3/25/2019   Review revised NOL order (.2); review precedent             0.70   Dunne, Dennis F.
                     and issues re same (.4); review Akin Gump's
                     position re same (.1).


23465631 3/25/2019   Review debtors' proposed final order and                    3.90   Hazra, Archan J.
                     exhibits re: equity and claims trading (.8);
                     review R. Kestenbaum comments to the same (.3);
                     conf. call w/ R. Kestenbaum, B. Heller, T.
                     Kreller re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     follow-up discussion w/ R. Kestenbaum, B.
                     Heller re: the same (.2); conf. call w/ R.
                     Kestenbaum, B. Heller, Akin tax re: the same
                     (.2); conf. call w/ R. Kestenbaum, B. Heller,
                     S. Joffe (FTI) re: the same (.2); review and
                     revise form of potential claims sell-down
                     procedures (1.8); email to R. Kestenbaum re:
                     the same (.1).


23754941 3/25/2019   Conf. call w/ R. Kestenbaum, A. Hazra, T.                   6.30   Heller, Benjamin
                     Kreller re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     follow-up discussion w/ R. Kestenbaum, A. Hazra
                     re: the same (.2); conf. call w/ R. Kestenbaum,
                     A. Hazra, H. Jacobson (Akin) tax re: the same
                     (.2); conf. call w/ R. Kestenbaum, A. Hazra, S.
                     Joffe (FTI) re: the same (.2); review latest
                     draft of proposed claim trading order (4.1);
                     meet with R. Kestenbaum and A. Hazra and attend
                     call on equity trading order and procedures
                     (1.1); call with Weil to discuss claims
                     procedures (.2);




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23450334 3/25/2019   Emails with Milbank team re: NOL motion (.1);                3.70   Kestenbaum, Russell J.
                     emails with Weil re: same (.1); review revised
                     NOL motion and associated exhibits (1.2);
                     emails with Milbank team re: same (.4); t/c
                     with T. Kreller, A. Hazra, B. Heller re: same
                     (.3); follow-up discussion w/ A. Hazra and B.
                     Heller re same (.2); conf call w/ A. Hazra, B.
                     Heller and H. Jacobson (Akin) re: same (.2);
                     p/c with A. Hazra, B. Heller and S. Joffe (FTI)
                     re: same (.2); c/c with T. Kreller and D.
                     Botter, H Jacobson (Akin) re: same (.2); work
                     on mark-up of order and exhibits (.5); emails
                     with Arent Fox re: same (.1); emails with Weil
                     with comments (.1); emails w/ A. Hazra re form
                     of potential claims sell-down procedures (.1).


23454524 3/25/2019   Conf. call w/ R. Kestenbaum, B. Heller, A.                   3.30   Kreller, Thomas R.
                     Hazra re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     review (.5) and revise (1.9) Weil draft of NOL
                     trading order; calls and corr with working
                     group re open issues and next steps re same
                     (.6); c/c w/ R. Kestenbaum and Akin (D. Botter,
                     H. Jacobson) re NOL motion and associated
                     exhibits.


23444089 3/26/2019   Assist with filing and service of Declaration                2.00   Fiscina, Brandon
                     of T. Kreller re NOL Motion.


23465632 3/26/2019   Review R. Kestenbaum comments to debtors' form               3.00   Hazra, Archan J.
                     of claims trading procedures (.2); confer w/ R.
                     Kestenbaum re: debtors' form of claims
                     sell-down procedures (.4); revise markup of
                     debtors' form of claims trading procedures
                     (.3); conf. call w/ R. Kestenbaum, T. Kreller
                     and Akin Gump (D. Botter, H. Jacobson) re:
                     debtors' proposed final order and exhibits re:
                     equity and claims trading (.6); conf. call w/
                     R. Kestenbaum, T. Kreller, S. Karotkin (Weil),
                     S. Goldring (Weil), and Akin Gump re: the same
                     (1); review revised debtors' drafts of final
                     order and exhibits re: equity and claims
                     trading (.5).




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23450338 3/26/2019   Confer w/ A. Hazra re debtors’ form of claims               3.30   Kestenbaum, Russell J.
                     sell-down procedures (.4); c/c with T. Kreller,
                     A. Hazra, D. Botter and H. Jacobson (Akin) re:
                     revised order (.6); Prep for same (.6); c/c
                     with Weil (S. Karotkin, S. Goldring), Akin (D.
                     Botter, H. Jacobson) and Milbank team (R.
                     Kestenbaum, T. Kreller) re: NOL motion (1.0);
                     p/cs with S. Goldring (Weil) re: claims motion
                     (.5); prep for same (.2).


23454575 3/26/2019   Review pleadings (1.2); prep for hearing re NOL             2.20   Kreller, Thomas R.
                     trading order disputes (1.0).


23454588 3/26/2019   Conf. call w/ R. Kestenbaum, T. Kreller and                 1.60   Kreller, Thomas R.
                     Akin Gump (D. Botter and H. Jacobson) re
                     revised NOL order (.6); conf. call w/ R.
                     Kestenbaum, T. Kreller, S. Karotkin (Weil), S.
                     Goldring (Weil), and Akin Gump re: the same
                     (1.0).


23452164 3/27/2019   Review revised NOL draft order and possible                 0.60   Dunne, Dennis F.
                     settlement re same.


23463019 3/27/2019   Review final order and exhibits regarding                   0.20   Hazra, Archan J.
                     equity trading and claims trading.


23450339 3/27/2019   Review revisions to NOL motion.                             0.30   Kestenbaum, Russell J.


23450337 3/28/2019   Emails with S. Joffe (FTI) re: NOL                          0.20   Kestenbaum, Russell J.
                     motion/order.


23755473 3/28/2019   Review NOL trading motion re tax issues.                    0.60   Khalil, Samuel A.




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23329619 3/5/2019    Conf. w/ J. Weber (multiple) re comments to                   1.80   Denny, Daniel B.
                     response letter regarding equity committee
                     (.5); revise draft letter re equity committee
                     (1.3).


23740913 3/5/2019    Draft letter to U.S. Trustee re: UCC repsonse                 0.50   Khani, Kavon M.
                     to requests for appointment of Official
                     Committee of Equity Security Holders.


23740915 3/5/2019    Calls w/ D. Denny re comments to response                     0.50   Weber, Jordan A.
                     letter to UST re equity committee.


23340050 3/6/2019    Conference with J. Weber regarding draft                      1.00   Denny, Daniel B.
                     response letter to UST re equity committee
                     (.1); review and revise draft response letter
                     to UST re equity committee (.7); review and
                     further revise revised draft response letter re
                     equity committee (.2).


23360591 3/6/2019    Review (.6) and revise (.4) UCC letter to UST                 1.00   Kreller, Thomas R.
                     re equity committee requests.


23741308 3/6/2019    Conf. with D. Denny regarding response letter                 0.10   Weber, Jordan A.
                     to UST re equity committee.


23342085 3/8/2019    Review (.3) and comment on (.5) letter to UST                 0.80   Khalil, Samuel A.
                     concerning formation of equity committee.


23360625 3/9/2019    Review (.6) and revise (.6) letter to UST re                  1.20   Kreller, Thomas R.
                     equity committee issues.


23375787 3/11/2019   Conference with J. Webber regarding revisions                 0.10   Denny, Daniel B.
                     to UST letter regarding committee formation.


23392632 3/11/2019   Finalize and proof letter to US Trustee (.8);                 1.30   Weber, Jordan A.
                     emails (.4) and conf. w/ D. Denny re same (.1).


23752378 3/11/2019   Review letter to US Trustee re Equity                         0.40   Wolf, Julie M.
                     Committee.




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23321901 3/1/2019   Review (.6) and analyze (.7) research                       1.30   Khalil, Samuel A.
                    concerning treatment of wildfire claims under
                    chapter 11 plan.


23319930 3/1/2019   Review and revise memoranda regarding (i) PGE               4.70   Vora, Samir
                    criminal exposure and (ii) wildfires and
                    methods for centralization and resolution of
                    tort claims.


23360491 3/5/2019   Research re wildfire punitive damages and                   1.20   Ayoub, Emile G.
                    insurance claims (.4); internal correspondence
                    re same (.8).


23740907 3/5/2019   Participate in diligence call led by debtor to              1.30   Bice, William B.
                    discuss safety incentives under STIP (.3);
                    participate in diligence phone call led by
                    debtor to discuss Wildfire Mitigation Plan
                    (1.0).


23740914 3/5/2019   Review and edit Committee memorandum regarding              2.20   Vora, Samir
                    tort claim liabilities.


23741301 3/6/2019   Review (.3) and revise (.4) UCC memos.                      0.70   Aronzon, Paul S.


23360501 3/6/2019   Review research re wildfire punitive damages                1.00   Ayoub, Emile G.
                    and insurance claims (.4); correspondence re
                    same (.6).


23344447 3/6/2019   Research re punitive damages liability under                1.80   Capolino, Margherita Angela
                    California state law and related estimation
                    issues.


23387097 3/6/2019   Research regarding PG&E exposure to punitive                8.90   Vora, Samir
                    damages (2.7); prepare, summary email re
                    results (.8); review and revise memorandum
                    regarding tort claim liability, research
                    thereon (2.9); review (1.1) and revise (1.4)
                    memorandum regarding PG&E criminal exposure.


23360508 3/7/2019                                                               6.10   Ayoub, Emile G.




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23741311 3/7/2019    Review CalFire interpretation of Public                      0.30   Bice, William B.
                     Resources Code cited in ruling.


23344478 3/7/2019    Email w/ E. Ayoub regarding research on                      4.80   Capolino, Margherita Angela
                     (redacted).


23346306 3/7/2019    Call with K. Orsili re fire claim issues (.4);               0.90   Leblanc, Andrew M.
                     prepare correspondence re same (.5).


23741727 3/7/2019    Review (1.2) and revise (2.3) tort claim and                 5.00   Vora, Samir
                     criminal exposure memoranda; call with E. Ayoub
                     regarding (i) PGE exposure to punitive damages
                     and (ii) insurer payouts for total loss
                     personal property claims (.2); research re same
                     (1.3).


23360511 3/8/2019    Research (.2) and revise (.6) email writeup re               1.20   Ayoub, Emile G.
                     (redacted); internal correspondence re same
                     (.4).


23344518 3/8/2019    Edit email of research re: (redacted).                       0.90   Capolino, Margherita Angela


23748434 3/12/2019   Review STIP motion and related materials (2.2)               5.30   Duke, Julia C.
                     and conduct research i/c/w same (3.1).


23389178 3/12/2019   Review (1.6) and revise (1.4) memos to                       3.60   Leblanc, Andrew M.
                     committee re fire-related issues; meet with S.
                     Vora regarding wildfire claims and related
                     litigation issues (.6).


23396210 3/14/2019   Review (2.1) and revise (2.9) memorandum                     5.40   Ayoub, Emile G.
                     analyzing PG&E's tort liability from CA
                     wildfires; discuss results w/ J. Wu re same
                     (.4).


23457371 3/14/2019   Research regarding (redacted) (2.4); research                4.60   Vora, Samir
                     (redacted) (.8); further edits to (redacted)
                     (1.4).




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23378241 3/14/2019   Conduct factual research re: (redacted) (1.3);             5.10   Wolf, Julie M.
                     conduct research re: (redacted) (2.4); review
                     S. Benz and J. Wu research re: same (.9); draft
                     summary of findings of same (.5).


23392586 3/14/2019   Research (redacted) (.9); research cases with              9.50   Wu, Julia S.
                     single-event disasters (1.3); research
                     bankruptcy cases regarding (redacted) (1.1);
                     review 10-k filings of companies with mass tort
                     litigation (1.2); discuss research results with
                     E. Ayoub and M. Capolino (.4); discuss research
                     results with M. Capolino (.5); draft email to
                     E. Ayoub regarding research methods and results
                     (.9); research (redacted) (.7); research
                     legislation regarding (redacted) (.8); draft
                     email to J. Wolf regarding (redacted) (1.7).


23396153 3/15/2019   Review (.3) and revise (.5) memorandum                     1.60   Ayoub, Emile G.
                     analyzing PG&E's tort liability from CA
                     wildfires; call w/Milbank team and FTI re
                     valuing wildfire liability (.8).


23379665 3/15/2019   Review draft memo on civil liability for                   0.80   Bice, William B.
                     wildfire claims.


23377086 3/15/2019   Revision of Wildfire Liability Memo                        0.40   Capolino, Margherita Angela


23389363 3/15/2019   Review memoranda re tort and similar claims                2.20   Leblanc, Andrew M.
                     (1.4); call with FTI team and S. Vora re
                     valuing damages in tort claims (.8).


23396223 3/18/2019   Revise memorandum analyzing PG&E's civil                   1.80   Ayoub, Emile G.
                     liability from CA wildfires (.7); research re
                     same (1.1).


23754942 3/18/2019   Discuss w/ J. Wu (redacted) (.2); call w/ J. Wu            0.70   Ayoub, Emile G.
                     and M. Capolino re revisions to memo (.5).




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23410386 3/18/2019   Revise wildfire liability memo (.2); research               1.90   Capolino, Margherita Angela
                     statutes raised in complaint against PG&E (1);
                     call w/ E. Ayoub and J. Wu re revisions to memo
                     re applicability of statues imposing civil
                     liability for tort teasers in wildfire contexts
                     (.5); conference w/ J. Wu re revising memo
                     (.2).


23457392 3/18/2019   Review and revise memorandum regarding wildfire             6.10   Vora, Samir
                     liability exposure (2); research (redacted)
                     (1.7); review FTI deck regarding wildfire
                     claims (1.4); review comments from FTI
                     regarding wildfire liability exposure
                     memorandum (1.0).


23396227 3/19/2019   Attend meeting w/ FTI and Milbank team (G.                  2.80   Ayoub, Emile G.
                     Bray, S. Vora) re value of wildfire claims (2);
                     revise memorandum analyzing PG&E's tort
                     liability from CA wildfires (.5); review
                     related documents re same (.3).


23754500 3/19/2019   Attend Meeting w/ FTI and Milbank Team (S.                  2.00   Bray, Gregory A.
                     Vora, E. Ayoub) re value of wildfire claims.


23410392 3/19/2019   Revise wildfire liability memo (.2); additional             0.60   Capolino, Margherita Angela
                     research on statutory penalties and damages
                     under certain California statutes (.4).


23405236 3/19/2019   Preparing for meeting with FTI re tort claims               2.30   Leblanc, Andrew M.
                     (.6); meeting with FTI re same (1.7).


23418811 3/19/2019   Meeting with FTI re fire damages.                           2.50   Stone, Alan J.


23457381 3/19/2019   Prepare for (.2) and attend meeting with FTI,               4.30   Vora, Samir
                     G. Bray and E. Ayoub regarding wildfire claims
                     (2.0); revise memorandum regarding PG&E
                     wildfire liabilities (2.1).


23405250 3/20/2019   Reviewing materials re wildfire and criminal                2.30   Leblanc, Andrew M.
                     proceedings (1.6); preparing for client call re
                     same (.7).




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23422674 3/22/2019   Correspondence re CA Meeting on Wildfire Cost               0.10   Ayoub, Emile G.
                     and Recovery.


23446534 3/25/2019   Research (redacted) (.3); review wildfire                   2.10   Wolf, Julie M.
                     victims' response to second order to show cause
                     (1.1); summarize additional responses to second
                     order to show cause (.7).


23460207 3/26/2019   Attention to Commission meeting re wildfire                 0.10   Ayoub, Emile G.
                     plans.


23446630 3/26/2019   Review possible creation of Paradise Victims                1.20   Dunne, Dennis F.
                     fund and elements and issues re same.


23754948 3/27/2019   Review 2019 Wildfire Safety Plan.                           1.40   Wolf, Julie M.


23441220 3/29/2019   Review summary of wildfire trust proposal (.7);             1.00   Bice, William B.
                     review proposed AB 740 (.2); communicate
                     substance of AB 740 to D. Dunne (.1).


23754419 3/29/2019   Review mass tort and pre-confirmation payment               0.80   Denny, Daniel B.
                     issues (.1); conference with T. Kreller and J.
                     Weber regarding mass tort issues (.4); review
                     mass tort issues (.3).


23457414 3/29/2019   Review (.8) and revise (.7) memorandum                      1.90   Vora, Samir
                     regarding PGE wildfire liabilities; email to
                     Cravath regarding information needed for
                     further wildfire claim analysis (.4).


23446707 3/29/2019   Review meeting agenda and materials for April               2.20   Wolf, Julie M.
                     3, 2019 Meeting of the Commission on
                     Catastrophic Wildfire Cost and Recovery.




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23377997 3/5/2019    Attend portion of diligence meeting between the           0.80   Skaliks, Christina M.
                     financial advisors and the company re
                     employment issues (.7); review agenda in
                     preparation for same (.1).


23387399 3/6/2019    Review of FTI first day employee issues.                  0.20   Skaliks, Christina M.


23340728 3/7/2019    Review and analyze STIP motion and related                7.70   Denny, Daniel B.
                     materials (1.8); conference with J. Weber
                     regarding STIP motion (.1); review and analyze
                     STIP motion and related materials (5.6);
                     teleconf. with M. Shah regarding STIP motion
                     and benefits issues (.2)


23343206 3/7/2019    Call w/ D. Denny re STIP motion.                          0.40   Koch, Matthew


23386777 3/7/2019    Correspondence with M. Shah re STIP Motion                0.40   Skaliks, Christina M.
                     (.2); correspondence w/ M. Koch and A. Scruton
                     (FTI) re STIP motion and next steps (.2)


23352676 3/8/2019    Conf. with C. Skaliks regarding 2019 STIP                 0.20   Deluca, Nicholas D.
                     motion and related matters.


23340735 3/8/2019    Review STIP motion and related materials (1.2);           1.40   Denny, Daniel B.
                     comms. w/ M. Shah and C. Skaliks re same (.2).


23380460 3/8/2019    Review STIP motion and summary of material                0.60   Skaliks, Christina M.
                     terms (.4); conf. w/ N. Deluca re same (.2).


23340740 3/9/2019    Review corrected STIP motion and declarations             1.50   Denny, Daniel B.
                     (.2); draft memorandum regarding STIP motion
                     (1.3).


23387248 3/9/2019    Correspondence with M. Shah and J. Beebe re               0.20   Skaliks, Christina M.
                     STIP motion.


23340742 3/10/2019   Draft memorandum regarding STIP motion.                   4.10   Denny, Daniel B.


23355805 3/10/2019   Review 2019 Stip terms and diligence.                     0.60   Dunne, Dennis F.




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23377419 3/11/2019   Conference call with financial advisors                    0.50   Deluca, Nicholas D.
                     regarding 2019 STIP motion and related
                     background information (.3); preparations for
                     same (.1); review STIP background emails from
                     C. Skaliks (.1).


23375785 3/11/2019   Teleconference with M. Koch regarding STIP                 1.60   Denny, Daniel B.
                     motion (.2); revise draft memorandum regarding
                     STIP Motion (1.4).


23362294 3/11/2019   Call with client (.2); review of UCC memo;                 2.80   Shah, Manan
                     review stip motion (2.2); attend advisor call
                     (.4)


23387279 3/11/2019   Review correspondence re committee memo section            0.10   Skaliks, Christina M.
                     on STIP.


23377497 3/12/2019   Comms. with J. Beebe and M. Shah regarding STIP            0.20   Deluca, Nicholas D.
                     motion.


23375781 3/12/2019   Email exchanges with E. Dexter and working                 0.30   Denny, Daniel B.
                     group regarding STIP Motion.


23388725 3/12/2019   Call w/ M. Goren (Weil) and C. Price re STIP               0.20   Koch, Matthew
                     motion.


23377818 3/12/2019   Call w/ M. Goren (Weil) and M. Koch re STIP                0.30   Price, Craig Michael
                     motion (.2); prep for same (.1).


23387404 3/12/2019   Review email re deadline to object to STIP                 0.20   Skaliks, Christina M.
                     motion (.1); attention to correspondence re.
                     TCC objection to STIP motion (.1).


23748458 3/12/2019   Review Debtors' proposed STIP and explore                  1.50   Vora, Samir
                     potential responses.


23748459 3/12/2019   Review memorandum re: STIP Motion (1.1);                   1.40   Wolf, Julie M.
                     discuss same with E. Dexter and J. Duke (.3).


23748460 3/13/2019   Review STIP motion.                                        0.70   Bray, Gregory A.



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23748465 3/13/2019   Conduct research re proposed STIP.                        5.10   Duke, Julia C.


23387771 3/14/2019   Review STIP portion of FTI presentation to                1.70   Beebe, James M.
                     committee (.6); attend UCC call re STIP and
                     other matters (1.1).


23377613 3/14/2019   Comms. with J. Beebe regarding STIP motion.               0.10   Deluca, Nicholas D.


23388897 3/14/2019   Correspondence w/ J. Duke regarding STIP                  0.70   Dexter, Erin E.
                     objection.


23384599 3/14/2019   Conduct case research re STIP (4.9); draft memo           9.30   Duke, Julia C.
                     re: same (4.4).


23372210 3/14/2019   Attend committee call (1.5); review FTI                   2.50   Shah, Manan
                     materials in prep for same (1.0).


23387352 3/14/2019   Review correspondence re FTI deck on STIP.                0.10   Skaliks, Christina M.


23748878 3/15/2019   Review (.6) and analyze (.7) STIP motion;                 1.50   Bray, Gregory A.
                     correspond w/ M. Shah re same (.2).


23375848 3/15/2019   Email exchanges with T. Kreller, M. Koch                  0.70   Denny, Daniel B.
                     regarding TCC ex parte motion regarding STIP
                     motion (.4); review and analyze TCC ex parte
                     motion (.3).


23388985 3/15/2019   Correspondence regarding STIP objection.                  0.20   Dexter, Erin E.


23748922 3/15/2019   Conduct research re STIP.                                 3.40   Duke, Julia C.


23386267 3/15/2019   Review TCC position on STIP and employees.                0.30   Dunne, Dennis F.


23386763 3/15/2019   Review STIP motion (.8); calls (.3) and corr              1.70   Kreller, Thomas R.
                     (.4) with team re TCC objection; discovery
                     matters and adjournment request re same (.2).


23387360 3/15/2019   Review correspondence between M. Shah and D.              0.10   Skaliks, Christina M.
                     Denny re: STIP next steps.




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23378245 3/15/2019   Review Debtors’ STIP Motion and authorities               6.00   Wolf, Julie M.
                     cited therein (1.6); review Debtors’
                     declarations in support of STIP Motion (.9);
                     review legal research re: STIP standards (.7);
                     review memorandum re: STIP Motion (1.3); review
                     FTI analysis of STIP (.7); review Tort
                     Committee Objection to STIP Motion (.8).


23392621 3/16/2019   Email exchanges with E. Dexter STIP motion and            0.70   Denny, Daniel B.
                     discovery (.1); prepare for STIP depositions
                     (.4); email exchanges with STIP working group
                     regarding ex parte motion and discovery (.2).


23389004 3/16/2019   Correspondence regarding STIP objection.                  0.50   Dexter, Erin E.


23386312 3/16/2019   Review 2019 STIP issues and various parties'              0.40   Dunne, Dennis F.
                     positions.


23387370 3/16/2019   Review STIP status update.                                0.10   Skaliks, Christina M.


23387843 3/17/2019   Attend call w/ S. Starr/FTI team, M. Shah, and            0.40   Beebe, James M.
                     G. Bray/Milbank team re STIP.


23392628 3/17/2019   Teleconference with S. Starr/FTI team, M. Shah,           1.50   Denny, Daniel B.
                     and G. Bray/Milbank team re STIP (.4); review
                     and analyze pending STIP and related materials
                     (.2); email exchanges with STIP working group
                     regarding amended briefing and discovery
                     schedule (.7); review and analyze STIP motion
                     issues (.2)


23389037 3/17/2019   Correspondence regarding STIP objection.                  0.20   Dexter, Erin E.


23384620 3/17/2019   Attend Advisors call w/ S. Starr/FTI team, M.             3.80   Duke, Julia C.
                     Shah, and G. Bray/Milbank team re STIP (.4);
                     conduct research re STIP objection and
                     discovery (3.4).


23754052 3/17/2019   Review correspondence re: UCC STIP Objection              0.10   Khani, Kavon M.
                     deadline.




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23389034 3/17/2019   Emails w/ J. Liou (Weil) re STIP (.1); call w/            0.50   Koch, Matthew
                     S. Starr/FTI team, M. Shah, and G. Bray/Milbank
                     team re STIP (.4).


23378761 3/17/2019   Call w/ S. Starr/FTI team, M. Shah, and G.                0.40   Shah, Manan
                     Bray/Milbank team re STIP.


23387374 3/17/2019   Attend call re STIP status w/ S. Starr/FTI                0.40   Skaliks, Christina M.
                     team, M. Shah, and G. Bray/Milbank team re
                     STIP.


23378372 3/17/2019   Call with w/ S. Starr/FTI team, M. Shah, and G.           1.60   Wolf, Julie M.
                     Bray/Milbank team re STIP (.4); review docket
                     order re: STIP objection timeline (.3); review
                     Tort Committee motion for extension to object
                     to STIP and declarations in support thereof
                     (.9).


23754462 3/18/2019   Call w/ S. Starr (FTI), M. Shah and M. Koch, J            0.40   Bray, Gregory A.
                     .Beebe re STIP.


23754466 3/18/2019   Emails w/ M. Koch re STIP issues.                         0.30   Bray, Gregory A.


23404859 3/18/2019   Review issues re STIP motion and discovery                2.10   Denny, Daniel B.
                     schedule (.2) and STIP depositions (.1);
                     conference with T. Kreller regarding STIP
                     depositions and STIP issues (.2); prepare for
                     STIP depositions (.4); review and analyze
                     materials for STIP deposition (1.2).


23386341 3/18/2019   Review developments re 2019 STIP.                         0.40   Dunne, Dennis F.


23423491 3/18/2019   Call w/ K. Bostel (Weil) re STIP issues (.3);             1.60   Koch, Matthew
                     emails w/ G. Bray re same (.3); review notice
                     re STIP (.1); emails w/ T. Kreller re same
                     (.3); revise draft stipulation re same (.3);
                     draft email to J. Liou (Weil) re STIP (.3).


23754055 3/18/2019   Emails w/ M. Koch re notice re STIP (.3); conf.           0.50   Kreller, Thomas R.
                     w/ D. Denny re STIP depositions and STIP issues
                     (.2).



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23404110 3/18/2019   Attend advisor call re: STIP.                               0.60   Shah, Manan


23422908 3/18/2019   Prepare for advisors call (.1); correspondence              0.30   Skaliks, Christina M.
                     with M. Shah re. STIP (.1); review email re.
                     tentative STIP ruling (.1).


23408786 3/18/2019   Review correspondence with FTI re: diligence                5.10   Wolf, Julie M.
                     needed to review STIP (.4); review FTI analysis
                     of STIP (1.4); conduct research re: STIP
                     standards (2.6); coordinate coverage and
                     logistics for Tort Committee depositions of
                     STIP declarants (.7).


23754502 3/19/2019   Call w/ E. Dexter re case status, background                0.30   Bray, Gregory A.
                     information, STIP issues.


23404855 3/19/2019   Review and analyze STIP deposition materials                7.20   Denny, Daniel B.
                     (2); attend STIP deposition of D. Mistry (4.6);
                     t/c with J. Wolf regarding STIP deposition
                     summary and status update (.3); review STIP
                     deposition exhibits and records (.3).


23422405 3/19/2019   Call w/ G. Bray re case status, background                  1.10   Dexter, Erin E.
                     information, STIP issues (.3); review of draft
                     STIP objection (.8).


23408765 3/19/2019   Research re hedging motion objection (3.3),                 7.80   Duke, Julia C.
                     STIP deposition (3), and STIP objection (1.5).


23408706 3/19/2019   Call w/ D. Denny re STIP deposition summary and             3.40   Wolf, Julie M.
                     status update (.3); telephonically attend
                     deposition of D. Mistry (3.1).




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23404946 3/20/2019   Emails with T. Kreller regarding STIP                      3.40   Denny, Daniel B.
                     depositions (.2); email exchange with E. Dexter
                     regarding STIP depositions and strategic issues
                     (.2); email exchange with J. Wolf and
                     litigation team regarding Friske deposition
                     (.1); email exchange with T. Kreller re STIP
                     depositions and confidentiality issues (.2);
                     draft email regarding Mistry deposition (1.9);
                     email exchange with A. Baker (Baker) regarding
                     Friske deposition (.2); coordinate retrieval of
                     D. Mistry rough transcript (.2); t/c with M.
                     Berkin (FTI) regarding STIP diligence and
                     information requests (.4).


23754488 3/20/2019   Emails w/ D. Denny re STIP depositions and                 0.20   Dexter, Erin E.
                     strategic issues.


23408755 3/20/2019   Conduct research re STIP (2.4); draft email re:            2.70   Duke, Julia C.
                     same (.3).


23755092 3/20/2019   Emails with D. Denny regarding STIP depositions            0.40   Kreller, Thomas R.
                     (.2), STIP depositions (.1) and confidentiality
                     issues (.1).


23404139 3/20/2019   Review STIP diligence (.3); Review STIP                    2.90   Shah, Manan
                     deposition transcripts (2.6).


23754504 3/20/2019   Emails w/ D. Denny re Friske deposition.                   0.10   Wolf, Julie M.


23421809 3/21/2019   Discussion w/ C. Skaliks re STIP.                          0.50   Beebe, James M.


23404960 3/21/2019   Follow up on D. Mistry deposition transcript               4.40   Denny, Daniel B.
                     (.2); attend Friske deposition (2.7); analyze
                     and summarize deposition testimony (1.5).


23755348 3/21/2019   Discuss deposition of D. Friske and                        0.50   Denny, Daniel B.
                     confidentiality issues w/ J. Wolf.


23422610 3/21/2019   Review draft STIP objection.                               0.40   Dexter, Erin E.


23755350 3/21/2019   Calls regarding STIP motion.                               0.50   Dexter, Erin E.


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23409011 3/21/2019   Conduct research re STIP issue (2.5); research             3.00   Duke, Julia C.
                     judicial notice (.5).


23423324 3/21/2019   Review memo re lift stay motion (.8); review               1.60   Orengo, Luis E.
                     memo re stay enforcement (.8).


23423881 3/21/2019   Prepare for Committee call (.1); discussion                0.20   Skaliks, Christina M.
                     with J. Beebe re. STIP (.1).


23408808 3/21/2019   Attend deposition of D. Friske (2.5); review               5.60   Wolf, Julie M.
                     transcript of deposition of D. Mistry (1.8);
                     review documents used in deposition of D.
                     Mistry (.8); discuss deposition of D. Friske
                     and confidentiality issues with D. Denny (.5).


23421754 3/22/2019   Correspondence w/ C. Skaliks and M. Shah re                0.50   Beebe, James M.
                     compensation matters.


23754536 3/22/2019   Email exchanges w/ T. Kreller and D. Denny re              0.20   Bray, Gregory A.
                     STIP depositions (.1); conference w/ D. Dunne
                     re union request (.1).


23404962 3/22/2019   Conference with R. Windom regarding STIP                   0.40   Denny, Daniel B.
                     depositions (.1); email exchange with T. Keller
                     and G. Bray regarding STIP depositions (.1);
                     email exchange with FTI re STIP deposition
                     exhibits (.1); emails w/ M. Koch re STIP motion
                     (.1).


23754802 3/22/2019   Discuss draft statement in support of STIP                 0.10   Dexter, Erin E.
                     motion w/ J. Wolf.


23409102 3/22/2019   Prepare STIP talking points outline (1.6); meet            8.20   Duke, Julia C.
                     with E. Dexter re judicial notice (.4); conduct
                     research re judicial notice (6.2).


23420121 3/22/2019   Review STIP diligence (.3); review union                   0.60   Dunne, Dennis F.
                     request (.2); confs with G. Bray re same (.1).


23423605 3/22/2019   Emails w/ J. Wolfe, D. Denny, and M. Shah re               0.20   Koch, Matthew
                     STIP motion.


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23755099 3/22/2019   Email exchange w/ D. Denny and G. Bray re STIP             0.10   Kreller, Thomas R.
                     depositions.


23411275 3/22/2019   Review correspondence re: STIP disposition                 1.40   Shah, Manan
                     (.8); emails w/ M. Koch re STIP motion (.1);
                     correspondence w/ C. Skaliks and J. Beebe re
                     compensation matters (.5).


23423188 3/22/2019   Correspondence re. STIP committee memo (.1);               1.60   Skaliks, Christina M.
                     review and comment on committee memo re: STIP
                     (1); correspondence with M. Shah and J. Beebe
                     re compensation matters (.5).


23409022 3/22/2019   Draft limited objection to STIP motion (1.8);              4.10   Wolf, Julie M.
                     draft statement in support of STIP motion
                     (1.6); discuss same with E. Dexter (.1); review
                     research re: standards for approval of STIP
                     Motion (.6).


23754943 3/22/2019   Emails w/ M. Koch re STIP motion.                          0.10   Wolf, Julie M.


23453632 3/25/2019   Attend advisors call w/ FTI Team (A. Scruton),             0.80   Beebe, James M.
                     Centerview Team (K. Chopra) and Milbank Team
                     (D. Denny, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel)
                     discussing STIP (.6); review emails re: STIP
                     diligence topics from FTI (.2).


23441303 3/25/2019   Revise draft STIP memorandum (3.5);                        3.80   Denny, Daniel B.
                     correspondence w/ C. Skaliks re STIP (.1); call
                     w/ same re same (.2).


23754804 3/25/2019   Correspondence regarding STIP objection.                   1.00   Dexter, Erin E.


23443118 3/25/2019   Conduct research re judicial notice re: STIP               3.10   Duke, Julia C.
                     (1.9); draft and revise memo re same (1.2).




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23458091 3/25/2019   Correspondence from D. Denny re. STIP (.1);                1.10   Skaliks, Christina M.
                     calls from D. Denny re. STIP (.2); revise STIP
                     memo (.7); correspondence from M. Shah re. STIP
                     memo (.1).


23446524 3/25/2019   Review revised Committee memo re: STIP Motion              1.30   Wolf, Julie M.
                     (.9); review outstanding FTI diligence requests
                     re STIP (.4).


23453650 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI) and M.             2.30   Beebe, James M.
                     Koch, C. Price, J. Beebe, C. Skaliks re STIP
                     (1.2); review STIP detailed questions and
                     depositions (.4); review limited objection to
                     STIP motion draft (.3); discuss STIP w/ C.
                     Skaliks (.1); call w/ C. Skaliks and M. Shah re
                     same (.3).


23441520 3/26/2019   Analyze FTI diligence issues re STIP motion                2.70   Denny, Daniel B.
                     (.7); email E. Dexter re revised draft response
                     to STIP motion (.1); email M. Koch and C. Price
                     regarding revisions to STIP memo (.1); email J.
                     Wolf regarding revisions to draft response to
                     STIP motion (.1); revise draft response to STIP
                     motion (1.7).


23454774 3/26/2019   Call w/ M. Koch and J. Wolfe re STIP (2); t/c              2.20   Dexter, Erin E.
                     with E. Dexter re revised draft response to
                     STIP motion (.1); review of STIP objection
                     (.1).


23432535 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI), C.                1.60   Koch, Matthew
                     Price, J. Beebe, C. Skaliks and M. Shah re STIP
                     (1.2); prepare for same (.2); call w/ E.
                     Dexter, and J. Wolfe re STIP (.2).


23754272 3/26/2019   T/c w/ D. Denny and C. Price re revisions to               0.10   Koch, Matthew
                     STIP memo.




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23454540 3/26/2019   Review STIP filings (.2); analysis re same                 1.70   Kreller, Thomas R.
                     (.5); work on limited objection re same (.6);
                     advisors call w/ A Scruton (FTI), K. Chopra
                     (Centerview) and Milbank Team (D. Denny, P.
                     Milender and J. Wolf) (.4).


23429773 3/26/2019   Attend standing Milbank team call w/ A. Scruton            0.40   Milender, Parker
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (D. Denny, T. Kreller and J. Wolf,).


23439474 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI) and M.             1.70   Price, Craig Michael
                     Koch, C. Price, J. Beebe, C. Skaliks re STIP
                     (1.2); prepare for same (.2); call re STIP
                     response (.2); t/c w/ M. Koch and D. Denny re
                     revisions to STIP memo (.1).


23444116 3/26/2019   Review additional STIP diligence (.6); Call w/             2.60   Shah, Manan
                     J. Boken (Alix), S. Starr (FTI) and M. Koch, C.
                     Price, J. Beebe, C. Skaliks re STIP (1.2); call
                     re next steps on STI w/ FTI and C. Skaliks
                     (.5); call w/ C. Skaliks and J. Beebe re same
                     (.3).


23458162 3/26/2019   Discuss STIP with J. Beebe (.1); Review                    2.60   Skaliks, Christina M.
                     comments to STIP memo (.1); attend STIP
                     diligence Call w/ J. Boken (Alix), S. Starr
                     (FTI) and M. Koch, C. Price, J. Beebe, C.
                     Skaliks re STIP (1.2); call re. next steps on
                     STIP with FTI team and J. Beebe (.6); call w/
                     M. Shah and J. Beebe re STIP pleading (.3);
                     review further revised STIP memo (.1);
                     correspondence re. objection to STIP motion
                     (.1); review further revised STIP memo (.1)


23446552 3/26/2019   Call w/ D. Denny, T. Kreller, P. Milender re               0.70   Wolf, Julie M.
                     STIP (.4); prepare for same (.2); t/c w/ D.
                     Denny re revisions to draft response to STIP
                     motion (.1).




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23446553 3/26/2019   Telephonically attend call with FTI and                    5.90   Wolf, Julie M.
                     Debtors' advisors w/ A. Scruton (FTI), K.
                     Chopra (Centerview) and Milbank Team (D. Denny,
                     T. Kreller, P. Milender) re: STIP Motion
                     diligence (.4); call with M. Koch and E. Dexter
                     re: same (.3); call with litigation team re:
                     same (.6); draft objection to STIP Motion
                     (1.7); revise objection to STIP Motion to
                     incorporate comments (1.1); review objection to
                     STIP Motion filed by U.S. Trustee (1.0); revise
                     request for judicial notice to accompany
                     retention application (.8).


23453684 3/27/2019   Comment on FTI deck re: STIP (1.1); review STIP            1.90   Beebe, James M.
                     objection (.7); call w/ C. Skaliks re STIP
                     pleading (.1).


23754835 3/27/2019   T/c w/ K. Bostel (Weil) (.3) and D. Denny (.5)             0.80   Bray, Gregory A.
                     re STIP motion and response.


23441469 3/27/2019   T/c with FTI (.2) and G. Bray (.5) regarding               2.00   Denny, Daniel B.
                     STIP motion and response; t/c with J. Wolf re
                     revisions to STIP motion response (.1); draft
                     response to STIP motion (.6); review issues re
                     draft response to STIP motion (.5); email
                     exchanges with T. Kreller regarding response to
                     STIP motion (.1).


23454830 3/27/2019   Correspondence regarding STIP motion (1) and               1.30   Dexter, Erin E.
                     review of draft objection (.3).


23432551 3/27/2019   Call w/ S. Starr (FTI), M. Shah, and G. Bray re            0.50   Koch, Matthew
                     STIP.


23755347 3/27/2019   Emails w/ D. Denny re response to STIP motion.             0.20   Kreller, Thomas R.


23434000 3/27/2019   Review (.1) and revise (.4) UCC's objection to             0.50   Mandel, Lena
                     the STIP motion.


23444352 3/27/2019   Review STIP motion.                                        1.80   Shah, Manan




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23458354 3/27/2019   Prepare for call with FTI team re. STIP (.2);             2.00   Skaliks, Christina M.
                     call with FTI team re: STIP (.6); revise STIP
                     memo (.2); revise STIP deck (.7); call with J.
                     Beebe re. STIP pleading (.1); correspondence
                     with M. Shah re. STIP (.1); correspondence with
                     J. Wolf re. STIP pleading (.1).


23454546 3/27/2019   Review and edit motion re: STIP.                          0.30   Stone, Alan J.


23457418 3/27/2019   Review objection to STIP.                                 1.00   Vora, Samir


23446555 3/27/2019   Revise objection to STIP Motion to incorporate            5.10   Wolf, Julie M.
                     comments from Milbank and FTI teams (3.2);
                     telephonically attended omnibus hearing (1.2);
                     communications with FTI re: remaining STIP
                     diligence (.7).


23754947 3/27/2019   T/c w/ D. Denny re revisions to STIP motion               0.20   Wolf, Julie M.
                     response (.1); correspondence w/ C. Skaliks re
                     STIP pleading (.1).


23453949 3/28/2019   Call w/ C. Skaliks re STIP update (.1);                   0.30   Beebe, James M.
                     discussion re committee recommendation on STIP
                     w/ C. Skaliks and M. Shah (.1); correspondence
                     w/ M. Shah and C. Skaliks re STIP pleading
                     (.1).


23754837 3/28/2019   Call w/ S. Starr (FTI), M. Koch and M. Shah re            0.60   Bray, Gregory A.
                     STIP (.5); emails w/ M. Koch re STIP issues
                     (.1).


23754838 3/28/2019   Review STIP (.7); emails w/ M. Shah re STIP               1.20   Bray, Gregory A.
                     issues (.5).


23441477 3/28/2019   Review STIP diligence and proposed responses to           0.80   Denny, Daniel B.
                     STIP motion.


23454296 3/28/2019   Correspondence regarding objection to STIP                0.70   Dexter, Erin E.
                     motion.




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23444234 3/28/2019   Assist D. McCracken with filing and service of             1.50   Fiscina, Brandon
                     3/28 Limited Objection to STIP Motion.


23755401 3/28/2019   Emails w/ M. Koch re STIP issues.                          0.10   Franzoia, Rachel


23755402 3/28/2019   Emails w/ M. Koch re STIP issues.                          0.20   Franzoia, Rachel


23457870 3/28/2019   Emails w/ M. Shah, T. Kreller, J. Wolf and G.              0.40   Koch, Matthew
                     Bray re STIP issues.


23454998 3/28/2019   Review and analyze STIP filings (.6); review               3.20   Kreller, Thomas R.
                     FTI analysis (.4); prepare limited objection re
                     same (2.1); email w/ M. Koch re STIP issues
                     (.1).


23453828 3/28/2019   File Limited Objection to STIP Motion including            8.00   Mccracken, David
                     service (5); continue to update matter
                     deposition transcript and exhibit files (3).


23439478 3/28/2019   Discuss STIP issues (.5); review FTI materials             1.10   Price, Craig Michael
                     re same (.6).


23450289 3/28/2019   Call w/ FTI and C. Skaliks re preparation for              5.40   Shah, Manan
                     committee call (.8); review objection STIP
                     (2.8); review FTI material re: STIP (.7);
                     emails w/ M. Koch re STIP issues (.1); call w/
                     C. Skaliks re STIP (.1); call w/ C. Skaliks and
                     FTI re STIP pleading (.2) and pleading and
                     committee recommendation (.5); discuss
                     committee recommendation on STIP w/ J. Beebe
                     and M. Shah (.1); correspondence w/ C. Skaliks
                     and J. Beebe re STIP pleading (.1).


23755097 3/28/2019   Call w/ S. Starr (FTI), M. Koch and G. Bray re             0.50   Shah, Manan
                     STIP.




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23458400 3/28/2019   Correspondence re. FTI STIP deck (.1); call               3.00   Skaliks, Christina M.
                     with M. Shah re. STIP (.1); call with J. Beebe
                     re. STIP update (.1); call with M. Shah and FTI
                     re. STIP pleading (.2); discuss committee
                     recommendation on STIP with J. Beebe and M.
                     Shah (.1); prepare for Committee call (.7);
                     call w/ FTI and M. Shah re same (.8); revise
                     STIP pleading (.5); review others' comments to
                     STIP pleading (.3); correspondence with M. Shah
                     and J. Beebe re. STIP pleading (.1).


23457425 3/28/2019   Review TCC objection to STIP.                             0.70   Vora, Samir


23446688 3/28/2019   Revise (1.1) and incorporate edits (5.1) to               7.40   Wolf, Julie M.
                     objection to STIP Motion; finalize and file
                     objection to STIP Motion (.3); review FTI
                     slidedeck re: STIP recommendations for
                     Committee meeting (.8); emails w/ M. Koch re
                     STIP issues (.1).


23453741 3/29/2019   Review TCC objection and Union response to STIP           1.00   Beebe, James M.
                     motion.




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37977751 3/11/2019   AIR TRAVEL Airfare: Expense Date: 03/11/2019, Business                406.61   Kreller, Thomas R.
                     Purpose: Attend Court Hearing., Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37977846 3/12/2019   AIR TRAVEL Airfare: Expense Date: 03/12/2019, Business                272.30   Franzoia, Rachel
                     Purpose: Court Hearing, Itinerary: SFO - LAX, International
                     Flight: N, 5 hours: N, Airline: Delta, Class of Service:
                     Economy/Coach

37977847 3/12/2019   AIR TRAVEL Airfare: Expense Date: 03/12/2019, Business                184.40   Franzoia, Rachel
                     Purpose: Court Hearing, Itinerary: LAX - SFO, International
                     Flight: N, 5 hours: N, Airline: American, Class of Service:
                     Economy/Coach

37967070 3/18/2019   AIR TRAVEL Airfare: Expense Date: 03/18/2019, Business                551.95   Denny, Daniel B.
                     Purpose: Attend Deposition of Dinyar Mistry., Itinerary: BUR -
                     OAK - BUR, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach

37977867 3/19/2019   AIR TRAVEL Airfare: Expense Date: 03/19/2019, Business                495.97   Denny, Daniel B.
                     Purpose: Attend Deposition of Douglas Friske., Itinerary: BUR -
                     OAK - BUR, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach

38001456 3/19/2019   AIR TRAVEL Airfare: Expense Date: 03/19/2019, Business                696.61   Vora, Samir
                     Purpose: Strategy meetings with counsel., Itinerary: DCA-LGA-
                     DCA, International Flight: N, 5 hours: N, Airline: American, Class
                     of Service: Economy/Coach

37995451 3/22/2019   AIR TRAVEL Airfare: Expense Date: 03/22/2019, Business                593.79   Kreller, Thomas R.
                     Purpose: Attend Court Hearing, Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37988903 3/26/2019   AIR TRAVEL Airfare: Expense Date: 03/26/2019, Business                406.61   Bray, Gregory A.
                     Purpose: One way ticket from LAX to SFO ($916.59 / 2 =
                     $458.30), Itinerary: LAX-SFO, International Flight: N, 5 hours: N,
                     Airline: Other, Class of Service: Economy

38018225 3/26/2019   AIR TRAVEL Airfare: Expense Date: 03/26/2019, Business                368.79   Kreller, Thomas R.
                     Purpose: Client/Committee Meeting., Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37988904 3/27/2019   AIR TRAVEL Airfare: Expense Date: 03/27/2019, Business                257.98   Bray, Gregory A.
                     Purpose: One way return on Southwest SFO to LA on 3/27/19,
                     Itinerary: SFO-LAX, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach




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                                           COURT/CLERICAL SERVICES

         Date        Description                                               Amount Name
38027378 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   60.00   Mccracken, David
                     NETWORK Court services on 3/11/2019 PG&E Corp v Pacific
                     Gas a opposition

38027379 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/12/2019 PG&E statement

38027380 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/14/2019 PG&E Corp v Pacific
                     Gas a reply

38027393 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                  102.00   Mccracken, David
                     NETWORK Court services on 3/26/2019 USSC San Francisco
                     PG&E Corp. Declaration

38027394 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/28/2019 USDC - PG&E Corp
                     Limited Objections

38027395 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                  102.00   Mccracken, David
                     NETWORK Court services on 3/27/2018 USDC San Francisco
                     PG&E Corrected Declaration




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                                        ENTERTAINMENT (INCL MEALS)

         Date        Description                                               Amount Name
38137386 3/21/2019   ENTERTAINMENT (INCL MEALS) --VENDOR: FLIK International    406.11   Vora, Samir
                     Corp. Catering - Samir Vora




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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38005276 3/11/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005277 3/11/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005289 3/11/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38005290 3/11/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005291 3/11/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38005292 3/11/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005293 3/11/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005294 3/11/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David

38005295 3/11/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005296 3/11/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38005297 3/11/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38005298 3/11/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38005278 3/12/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38005279 3/12/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005280 3/12/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005281 3/12/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005282 3/12/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38005283 3/12/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005284 3/12/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005285 3/12/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38005286 3/12/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38005287 3/12/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005288 3/12/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David

38015383 3/12/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38015384 3/14/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38015385 3/14/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38015386 3/14/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38015387 3/14/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38015388 3/14/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38015389 3/14/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38015390 3/14/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38015391 3/14/2019   EXPRESS MAIL SAN JOSE CA                            20.03   Mccracken, David

38015392 3/14/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38015393 3/14/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38015394 3/14/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38015395 3/14/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38015396 3/14/2019   EXPRESS MAIL SAN JOSE CA                            20.03   Mccracken, David

38015397 3/14/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38019449 3/26/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38019450 3/26/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38019451 3/26/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38019452 3/26/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38019453 3/26/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David

38019454 3/26/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38019455 3/26/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38019456 3/26/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38019457 3/26/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38019458 3/26/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David

38019459 3/26/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38019460 3/26/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38019461 3/26/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074260 3/27/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074261 3/27/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074262 3/27/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38074263 3/27/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074264 3/27/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074265 3/27/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074266 3/27/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38074267 3/27/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David

38074268 3/27/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38074269 3/27/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074270 3/27/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David

38074271 3/27/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38074272 3/27/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David

38074247 3/29/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074248 3/29/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074249 3/29/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074250 3/29/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074251 3/29/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38074252 3/29/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074253 3/29/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38074254 3/29/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David

38074255 3/29/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074256 3/29/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38074257 3/29/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38074258 3/29/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38074259 3/29/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David




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                                        GROUND TRANSPORTATION - LOCAL

         Date        Description                                                     Amount Name
38136055 2/25/2019   GROUND TRANSPORTATION - LOCAL CET - group, Inc.:                  67.21   Brewster, Jacqueline
                     30984/411149/ - 02/25/19 8:3 From: To:

38136056 2/28/2019   GROUND TRANSPORTATION - LOCAL CET - group, Inc.:                 147.10   Thomas, Charmaine
                     30984/393219/ - 02/28/19 11:1 From: To:

37932666 3/4/2019    GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   49.89   Denny, Daniel B.
                     Expense Date: 03/04/2019, Business Purpose: Attend 341(a)
                     Meeting., From / To: LAX, : Uber

37932667 3/4/2019    GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   52.05   Denny, Daniel B.
                     Expense Date: 03/04/2019, Business Purpose: Attend 341(a)
                     Meeting., From / To: Home, : Uber

38055757 3/11/2019   GROUND TRANSPORTATION - LOCAL                                     25.92   Mccracken, David
                     CONCORD:130542/903112/919 - 03/11/19 10:54PM From:55
                     HUDSON YARDS To:457 W. 57 ST

38055759 3/11/2019   GROUND TRANSPORTATION - LOCAL                                     27.98   Lee, Danielle
                     CONCORD:130542/903112/781 - 03/11/19 8:41PM From:55
                     HUDSON YARDS To:635 W. 42 ST

37977848 3/12/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   64.74   Franzoia, Rachel
                     Expense Date: 03/12/2019, Business Purpose: Court Hearing,
                     From / To: Home, : Uber

37977758 3/13/2019   GROUND TRANSPORTATION - LOCAL Taxi: Expense Date:                 30.00   Kreller, Thomas R.
                     03/13/2019, Business Purpose: Attend Court Hearing., From /
                     To: LAX, : L.A. Checker Cab Co.

38053961 3/13/2019   GROUND TRANSPORTATION - LOCAL                                     26.97   Mccracken, David
                     CONCORD:130251/903132/082 - 03/13/19 10:55PM From:55
                     HUDSON YARDS To:457 W. 57 ST

37967074 3/18/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   22.21   Denny, Daniel B.
                     Expense Date: 03/18/2019, Business Purpose: Attend Deposition
                     of Dinyar Mistry., From / To: Home, : Uber

37967077 3/19/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   21.59   Denny, Daniel B.
                     Expense Date: 03/19/2019, Business Purpose: Attend Deposition
                     of Dinyar Mistry., From / To: Burbank Airport, : Uber

38027601 3/19/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   33.00   Vora, Samir
                     Expense Date: 03/19/2019, Business Purpose: Meeting with FTI
                     re wildfire claims, From / To: Home of Samir Vora, : Uber

38082090 3/19/2019   GROUND TRANSPORTATION - LOCAL                                     90.18   Vora, Samir
                     DIAL:1264379/4634409/082F - 03/19/19 10:16AM From:LGA
                     LGA To:550 W 34 St NYC10001

37977870 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   21.56   Denny, Daniel B.
                     Expense Date: 03/21/2019, Business Purpose: Attend Deposition
                     of Douglas Friske., From / To: Home, : Uber



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                                        GROUND TRANSPORTATION - LOCAL

         Date        Description                                                     Amount Name
37977871 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   22.95   Denny, Daniel B.
                     Expense Date: 03/21/2019, Business Purpose: Attend Deposition
                     of Douglas Friske., From / To: Burbank Airport, : Uber

38027598 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   31.13   Vora, Samir
                     Expense Date: 03/21/2019, Business Purpose: Meeting with FTI
                     re wildfire claims, From / To: DCA Airport , : Uber

38085830 3/27/2019   GROUND TRANSPORTATION - LOCAL                                     33.99   Mccracken, David
                     CONCORD:130779/903270/620 - 03/27/19 12:24AM From:550
                     W. 34 ST To:457 W. 57 ST

38071695 3/28/2019   GROUND TRANSPORTATION - LOCAL                                     31.21   Mccracken, David
                     CONCORD:131238/1040825/643 - 03/28/19 8:22PM From:55
                     HUDSON YARDS To:131 W. 85 ST




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                                     GROUND TRANSPORTATION - OUT OF TOWN

         Date        Description                                                          Amount Name
37932664 3/4/2019    GROUND TRANSPORTATION - OUT OF TOWN Uber /                             34.29   Denny, Daniel B.
                     Rideshare: Expense Date: 03/04/2019, Business Purpose:
                     Attend 341(a) Meeting., From / To: Court, : Uber

37932665 3/4/2019    GROUND TRANSPORTATION - OUT OF TOWN Uber /                             37.32   Denny, Daniel B.
                     Rideshare: Expense Date: 03/04/2019, Business Purpose:
                     Attend 341(a) Meeting., From / To: SFO, : Uber

37977753 3/13/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             25.26   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/13/2019, Business Purpose:
                     Attend Court Hearing., From / To: Court, : Uber

37977757 3/13/2019   GROUND TRANSPORTATION - OUT OF TOWN Taxi: Expense                      50.00   Kreller, Thomas R.
                     Date: 03/13/2019, Business Purpose: Attend Court Hearing.,
                     From / To: Hotel, : San Francisco Taxicab

37967075 3/18/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             34.74   Denny, Daniel B.
                     Rideshare: Expense Date: 03/18/2019, Business Purpose:
                     Attend Deposition of Dinyar Mistry., From / To: Oakland Airport, :
                     Uber

37967076 3/19/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             81.12   Denny, Daniel B.
                     Rideshare: Expense Date: 03/19/2019, Business Purpose:
                     Attend Deposition of Dinyar Mistry., From / To: Deposition, : Uber

38027600 3/19/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             10.11   Vora, Samir
                     Rideshare: Expense Date: 03/19/2019, Business Purpose:
                     Meeting with FTI re wildfire claims, From / To: 535 W 34th Street,
                     New York, NY, : Uber

37977872 3/21/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             50.57   Denny, Daniel B.
                     Rideshare: Expense Date: 03/21/2019, Business Purpose:
                     Attend Deposition of Douglas Friske., From / To: Oakland Aiport,
                     : Uber

37977873 3/21/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             77.41   Denny, Daniel B.
                     Rideshare: Expense Date: 03/21/2019, Business Purpose:
                     Attend Deposition of Douglas Friske., From / To: Deposition, :
                     Uber

37995449 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             27.46   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/27/2019, Business Purpose:
                     Attend Court Hearing, From / To: Court, : Uber

37995455 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             75.62   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/27/2019, Business Purpose:
                     Attend Court Hearing, From / To: Hotel, : Uber

37995457 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Parking:                           73.00   Kreller, Thomas R.
                     Expense Date: 03/27/2019, Business Purpose: Attend Court
                     Hearing Merchant: LAX Airport Lot P 6




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                                                INTERNET / WIFI ACCESS

         Date        Description                                                       Amount Name
38027597 3/19/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/19/2019,          10.00   Vora, Samir
                     Business Purpose: Meeting with FTI re wildfire claims Merchant:
                     Go Go WiFi - American Airlines

38027596 3/21/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/21/2019,          10.00   Vora, Samir
                     Business Purpose: Meeting with FTI re wildfire claims Merchant:
                     GoGo WiFi - American Airlines

37995448 3/26/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/26/2019,          10.00   Kreller, Thomas R.
                     Business Purpose: Attend Court Hearing Merchant: GoGoAir

37996922 3/28/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/28/2019,          12.00   Koch, Matthew
                     Business Purpose: In Flight Wifi on 3/28/2019 Merchant:
                     American Airlines




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                                                  LEXIS

         Date        Description                                     Amount Name
38027276 3/1/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942454 3/4/2019    LEXIS                                               2.00   Orengo, Luis E.

37942460 3/4/2019    LEXIS                                              97.00   Miller, Melanie

38027277 3/4/2019    LEXIS                                              14.58   Kagen, Sarah E.

38027278 3/4/2019    LEXIS                                               7.66   Prudenti, Paula M.

37942453 3/5/2019    LEXIS                                             384.00   Weber, Jordan A.

37942455 3/5/2019    LEXIS                                             330.00   Orengo, Luis E.

38027279 3/5/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942456 3/6/2019    LEXIS                                               2.00   Orengo, Luis E.

37942457 3/6/2019    LEXIS                                              95.00   Wolf, Julie M.

38027280 3/6/2019    LEXIS                                              14.58   Kagen, Sarah E.

38027281 3/7/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942458 3/8/2019    LEXIS                                             780.00   Orengo, Luis E.

38027282 3/8/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942459 3/10/2019   LEXIS                                             270.00   Orengo, Luis E.

37955375 3/11/2019   LEXIS                                               4.00   Fiscina, Brandon

37955376 3/11/2019   LEXIS                                             159.00   Orengo, Luis E.

38027283 3/11/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027284 3/12/2019   LEXIS                                              14.58   Kagen, Sarah E.

37955378 3/13/2019   LEXIS                                             316.00   Ottenstein, Matthew H.

38027285 3/13/2019   LEXIS                                              14.58   Kagen, Sarah E.

37955377 3/14/2019   LEXIS                                              85.00   Ottenstein, Matthew H.

37955379 3/14/2019   LEXIS                                              79.00   Office General, Mr.

38027275 3/14/2019   LEXIS                                               7.39   Prudenti, Paula M.

38027286 3/14/2019   LEXIS                                              14.58   Kagen, Sarah E.



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                                                  LEXIS

         Date        Description                                     Amount Name
38027287 3/15/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971079 3/18/2019   LEXIS                                            1652.00   Franzoia, Rachel

38027288 3/18/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971080 3/19/2019   LEXIS                                            1012.00   Franzoia, Rachel

38027289 3/19/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971081 3/20/2019   LEXIS                                             307.00   Wu, Julia S.

38027290 3/20/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971082 3/21/2019   LEXIS                                             162.00   Wu, Julia S.

38027291 3/21/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971083 3/22/2019   LEXIS                                             253.00   Wu, Julia S.

38027292 3/22/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971084 3/23/2019   LEXIS                                             601.00   Wu, Julia S.

38027293 3/25/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027294 3/26/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027295 3/27/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027296 3/28/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027297 3/29/2019   LEXIS                                              14.58   Kagen, Sarah E.




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                                          LIBRARY RESEARCH

         Date        Description                                     Amount Name
38011284 3/31/2019   LIBRARY RESEARCH                                   17.00   Khalil, Samuel A.

38011285 3/31/2019   LIBRARY RESEARCH                                   25.50   Khalil, Samuel A.

38011286 3/31/2019   LIBRARY RESEARCH                                   51.00   Khalil, Samuel A.

38011287 3/31/2019   LIBRARY RESEARCH                                  731.00   Khalil, Samuel A.

38011288 3/31/2019   LIBRARY RESEARCH                                   68.00   Khalil, Samuel A.




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                                                         LODGING

         Date        Description                                                       Amount Name
37977756 3/13/2019   LODGING Hotel - Lodging: Expense Date: 03/13/2019, Business        641.39   Kreller, Thomas R.
                     Purpose: Attend Court Hearing., Check In - Check Out:
                     03/12/2019-03/13/2019

37977849 3/13/2019   LODGING Hotel - Lodging: Expense Date: 03/13/2019, Business        406.39   Franzoia, Rachel
                     Purpose: Court Hearing, Check In - Check Out: 03/12/2019-
                     03/13/2019

37967072 3/19/2019   LODGING Hotel - Lodging: Expense Date: 03/19/2019, Business        412.52   Denny, Daniel B.
                     Purpose: Attend Deposition of Dinyar Mistry., Check In - Check
                     Out: 03/18/2019-03/19/2019

38001452 3/19/2019   LODGING Hotel - Lodging: Expense Date: 03/19/2019, Business        739.10   Vora, Samir
                     Purpose: Strategy meetings with counsel., Check In - Check Out:
                     03/19/2019-03/21/2019

37988906 3/26/2019   LODGING Hotel - Lodging: Expense Date: 03/26/2019, Business        685.96   Bray, Gregory A.
                     Purpose: One way return on Southwest SFO to LA on 3/27/19,
                     Check In - Check Out: 03/26/2019-03/27/2019

37995454 3/27/2019   LODGING Hotel - Lodging: Expense Date: 03/27/2019, Business        648.79   Kreller, Thomas R.
                     Purpose: Attend Court Hearing, Check In - Check Out:
                     03/26/2019-03/27/2019




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                                                      MEAL, OVERTIME

         Date        Description                                                          Amount Name
37936268 3/2/2019    MEAL, OVERTIME Dinner: Expense Date: 03/02/2019, Business               3.60   Kim, Jae Yeon Cecelia
                     Purpose: weekend worked 6 hours., Merchant: thai, Guest(s):
                     Kim, Jae Yeon Cecelia

37977857 3/3/2019    MEAL, OVERTIME Dinner: Expense Date: 03/03/2019, Business              30.00   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Tender
                     Greens, Guest(s): Franzoia, Rachel

37944931 3/4/2019    MEAL, OVERTIME Dinner: Expense Date: 03/04/2019, Business              24.17   Orengo, Luis E.
                     Purpose: After hours meal while working on client/matter
                     44553.00001., Merchant: Pret, Guest(s): Orengo, Luis E.

37977858 3/5/2019    MEAL, OVERTIME Dinner: Expense Date: 03/05/2019, Business              22.40   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Yen Sushi,
                     Guest(s): Franzoia, Rachel

38010308 3/5/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  27.87   Orengo, Luis E.

37944879 3/6/2019    MEAL, OVERTIME Meal Allowance: Expense Date: 03/06/2019,               10.00   Ayandipo, Abayomi A.
                     Business Purpose: Participate in litigation team meeting re filing
                     logistics; review case management procedures order ; research
                     case docket and prepare litigation team work materials re case
                     law regarding arguments in opposition to preliminary injunction,
                     FERC and PPA counter-parties opposition and adversary

37944932 3/6/2019    MEAL, OVERTIME Dinner: Expense Date: 03/06/2019, Business              23.72   Orengo, Luis E.
                     Purpose: OT meal working on client/matter 44553.00001.,
                     Merchant: Pret, Guest(s): Orengo, Luis E.

38037696 3/6/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  30.00   Koch, Matthew

37944881 3/7/2019    MEAL, OVERTIME Meal Allowance: Expense Date: 03/07/2019,               10.00   Ayandipo, Abayomi A.
                     Business Purpose: Attention to correspondence refiling logistics
                     and review of case management procedures order; prepare
                     litigation team work materials re case law, statutes and pleadings
                     regarding motion to appoint PE Committee and materials related
                     to March 13, 2019 hearing.

37949548 3/7/2019    MEAL, OVERTIME Dinner: Expense Date: 03/07/2019, Business               8.97   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977856 3/7/2019    MEAL, OVERTIME Dinner: Expense Date: 03/07/2019, Business              13.66   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Tacos Tu
                     Madre, Guest(s): Franzoia, Rachel

38037697 3/7/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  30.00   Thomas, Charmaine

37977207 3/9/2019    MEAL, OVERTIME Lunch: Expense Date: 03/09/2019, Business               12.00   Mccracken, David
                     Purpose: OT Sat lunch Merchant: Roosevelt Gourmet

37977208 3/10/2019   MEAL, OVERTIME Lunch: Expense Date: 03/10/2019, Business               11.43   Mccracken, David
                     Purpose: OT Sun lunch Merchant: Roosevelt Gourmet



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                                                     MEAL, OVERTIME

         Date        Description                                                        Amount Name
37955731 3/11/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/11/2019,             10.00   Ayandipo, Abayomi A.
                     Business Purpose: Attention to correspondence re opposition to
                     motion for appointment of Official Committee of Public Entities;
                     prepare litigation team work materials re related case law,
                     statutes and pleadings regarding motion to appoint PE
                     Committee.

37955867 3/11/2019   MEAL, OVERTIME Dinner: Expense Date: 03/11/2019, Business            10.88   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38037694 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew

38037695 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal COS filing                     30.00   Mccracken, David

38037698 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Thomas, Charmaine

38037699 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                27.01   Lee, Danielle

37962491 3/13/2019   MEAL, OVERTIME Dinner: Expense Date: 03/13/2019, Business            17.35   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977855 3/13/2019   MEAL, OVERTIME Dinner: Expense Date: 03/13/2019, Business            23.65   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Alfred
                     Coffee, Guest(s): Franzoia, Rachel

38037692 3/13/2019   MEAL, OVERTIME Seamless Web - OT Meal ECF filing                     30.00   Mccracken, David

38037693 3/13/2019   MEAL, OVERTIME Seamless Web - OT Meal                                22.80   Koch, Matthew

37955742 3/14/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/14/2019,             10.00   Ayandipo, Abayomi A.
                     Business Purpose: Coordinate service on litigation parties
                     regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same.

38037691 3/14/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew

37977859 3/17/2019   MEAL, OVERTIME Dinner: Expense Date: 03/17/2019, Business            12.00   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Whole
                     Foods, Guest(s): Franzoia, Rachel

37981861 3/19/2019   MEAL, OVERTIME Dinner: Expense Date: 03/19/2019, Business             7.57   Pierucci, Katherine R.
                     Purpose: OT meal working on matters, Merchant: California
                     Pizza Kitchen, Guest(s): Pierucci, Katherine R.

38048440 3/19/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew




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                                                   MEAL, OVERTIME

         Date        Description                                                     Amount Name
37977906 3/20/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/20/2019,          10.00   Ayandipo, Abayomi A.
                     Business Purpose: Follow up re service on litigation parties
                     regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same; prepare and organize
                     litigation team work materials re SEC documents and Committee
                     meeting work

38048439 3/20/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Koch, Matthew

37977574 3/25/2019   MEAL, OVERTIME Dinner: Expense Date: 03/25/2019, Business         21.49   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977576 3/26/2019   MEAL, OVERTIME Dinner: Expense Date: 03/26/2019, Business         10.60   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38048441 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Koch, Matthew

38048442 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal Decl filing                 30.00   Mccracken, David

38048445 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Thomas, Charmaine

37988728 3/27/2019   MEAL, OVERTIME Dinner: Expense Date: 03/27/2019, Business         13.60   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38048446 3/27/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Thomas, Charmaine

38048443 3/28/2019   MEAL, OVERTIME Seamless Web - OT Meal ECF filing                  30.00   Mccracken, David

38048444 3/28/2019   MEAL, OVERTIME Seamless Web - OT Meal                             24.05   Fiscina, Brandon




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                                                     MEALS - LOCAL

         Date        Description                                                       Amount Name
37945539 3/5/2019    MEALS - LOCAL Dinner: Expense Date: 03/05/2019, Business            18.51   Koch, Matthew
                     Purpose: OT Working Meal on 3/5/19 at 7:10PM, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37945540 3/7/2019    MEALS - LOCAL Dinner: Expense Date: 03/07/2019, Business            22.31   Koch, Matthew
                     Purpose: OT Working Dinner 3/7/2019 at 6:16pm, Merchant:
                     River Restaurant, Guest(s): Koch, Matthew

38006463 3/14/2019   MEALS - LOCAL Dinner: Expense Date: 03/14/2019, Business            23.23   Wu, Julia S.
                     Purpose: Ordered dinner while working on case., Merchant:
                     Tender Greens, Guest(s): Wu, Julia S.

37967252 3/15/2019   MEALS - LOCAL Dinner: Expense Date: 03/15/2019, Business            24.32   Koch, Matthew
                     Purpose: OT Working Dinner on 3/15/2019., Merchant: Mulberry
                     & Vine, Guest(s): Koch, Matthew

37967250 3/16/2019   MEALS - LOCAL Dinner: Expense Date: 03/16/2019, Business            16.55   Koch, Matthew
                     Purpose: OT Dinner on 3/16/2019. Working Meal, Merchant:
                     EPICE CAFE, Guest(s): Koch, Matthew

37967251 3/17/2019   MEALS - LOCAL Dinner: Expense Date: 03/17/2019, Business            13.66   Koch, Matthew
                     Purpose: OT Dinner on 3/17/2019. Working Meal for PG&E,
                     Merchant: River Restaurant, Guest(s): Koch, Matthew

37967254 3/18/2019   MEALS - LOCAL Dinner: Expense Date: 03/18/2019, Business            12.51   Koch, Matthew
                     Purpose: OT Working Dinner on 3/18/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

38001453 3/19/2019   MEALS - LOCAL Snacks and Beverage: Expense Date:                     4.16   Vora, Samir
                     03/19/2019, Business Purpose: Meeting w/FTI re Wildfire claims,
                     Merchant: Paradies Lagardere, DCA Airport, Guest(s): Vora,
                     Samir

37971320 3/21/2019   MEALS - LOCAL Dinner: Expense Date: 03/21/2019, Business            28.61   Koch, Matthew
                     Purpose: OT Working Dinner 3/21/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37977586 3/25/2019   MEALS - LOCAL Dinner: Expense Date: 03/25/2019, Business            20.95   Koch, Matthew
                     Purpose: Working Dinner on 3/25/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37996926 3/27/2019   MEALS - LOCAL Dinner: Expense Date: 03/27/2019, Business            30.00   Koch, Matthew
                     Purpose: OT Working Meal 3/27/2019, Merchant: Mulberry &
                     Vine, Guest(s): Koch, Matthew




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                                                 MEALS - OUT OF TOWN

         Date        Description                                                       Amount Name
37977754 3/12/2019   MEALS - OUT OF TOWN Hotel - Dinner: Expense Date:                   75.00   Kreller, Thomas R.
                     03/12/2019, Business Purpose: Attend Court Hearing., Guest(s):
                     Kreller, Thomas R.

37977755 3/13/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                75.00   Kreller, Thomas R.
                     03/13/2019, Business Purpose: Attend Court Hearing., Guest(s):
                     Kreller, Thomas R.

37967071 3/19/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/19/2019,               19.68   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Dinyar Mistry.,
                     Merchant: Bar 510 OAK Airport, Guest(s): Denny, Daniel B.

37967073 3/19/2019   MEALS - OUT OF TOWN Breakfast: Expense Date: 03/19/2019,             8.78   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Dinyar Mistry. Merchant:
                     McDonald's

38001454 3/19/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/19/2019,               75.00   Vora, Samir
                     Business Purpose: Meeting w/FTI re Wildfire claims *Detailed
                     Receipt not available. Only submitting for reimbursement the
                     $75 allotted dinner amount. The dinner receipt was more than
                     $75., Merchant: Tailor Public House, Guest(s): Vora, Samir

37977868 3/21/2019   MEALS - OUT OF TOWN Lunch: Expense Date: 03/21/2019,                13.80   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Douglas Friske.
                     Merchant: Moolicious Cafe and Crepe, One Sansome Street,
                     105, San Francisco, CA 94104

37977869 3/21/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/21/2019,               25.80   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Douglas Friske.,
                     Merchant: SSP America - Tap and Pour - OAK Airport, Guest(s):
                     Denny, Daniel B.

38001455 3/21/2019   MEALS - OUT OF TOWN Snacks and Beverage: Expense Date:              13.05   Vora, Samir
                     03/21/2019, Business Purpose: Meeting w/FTI re Wildfire claims,
                     Merchant: SSP Tap & Pour, LaGuardia Airport, Guest(s): Vora,
                     Samir

37988905 3/26/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                50.95   Bray, Gregory A.
                     03/26/2019, Business Purpose: Attend PG&E meeting, Guest(s):
                     Bray, Gregory A.

37995452 3/26/2019   MEALS - OUT OF TOWN Hotel - Dinner: Expense Date:                   75.00   Kreller, Thomas R.
                     03/26/2019, Business Purpose: Attend Court Hearing, Guest(s):
                     Kreller, Thomas R.

37995453 3/27/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                73.52   Kreller, Thomas R.
                     03/27/2019, Business Purpose: Attend Court Hearing, Guest(s):
                     Kreller, Thomas R.




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                                            OTHER APPROVED EXPENSES

         Date        Description                                                     Amount Name
37977750 3/11/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/11/2019, Business Purpose: Attend Court Hearing.
                     Agency: Ultramar

37977845 3/12/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                15.00   Franzoia, Rachel
                     Date: 03/12/2019, Business Purpose: Court Hearing Agency:
                     Ultramar

37967069 3/18/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Denny, Daniel B.
                     Date: 03/18/2019, Business Purpose: Attend Deposition of
                     Dinyar Mistry. Agency: Ultramar

37977866 3/19/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Denny, Daniel B.
                     Date: 03/19/2019, Business Purpose: Attend Deposition of
                     Douglas Friske. Agency: Ultramar

37995450 3/22/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/22/2019, Business Purpose: Attend Court Hearing
                     Agency: Ultramar

38018224 3/26/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/26/2019, Business Purpose: Client/Committee Meeting.
                     Agency: Ultramar




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                                         OUTSIDE WORD PROCESSING

         Date        Description                                         Amount Name
38027420 3/13/2019   OUTSIDE WORD PROCESSING --VENDOR: Lone Star Legal    388.89   Aronzon, Paul S.
                     LLC Word Processing - printing and binding




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                                             PHOTOCOPIES

         Date        Description                                     Amount Name
37929956 3/2/2019    PHOTOCOPIES                                         0.20   Kim, Jae Yeon Cecelia

37933823 3/4/2019    PHOTOCOPIES                                        10.30   Duplicating, D. C.

37933824 3/4/2019    PHOTOCOPIES                                        10.80   Orengo, Luis E.

37933825 3/5/2019    PHOTOCOPIES                                         1.70   Orengo, Luis E.

37933822 3/6/2019    PHOTOCOPIES                                         4.40   Duke, Julia C.

37933826 3/6/2019    PHOTOCOPIES                                         6.80   Orengo, Luis E.

37944057 3/7/2019    PHOTOCOPIES                                         2.10   Ayandipo, Abayomi A.

37944058 3/8/2019    PHOTOCOPIES                                         1.20   Ayandipo, Abayomi A.

37944059 3/8/2019    PHOTOCOPIES                                         1.40   Orengo, Luis E.

37944060 3/12/2019   PHOTOCOPIES                                        13.50   Duplicating, D. C.

37950402 3/13/2019   PHOTOCOPIES                                         1.80   Chase, Annette

37959041 3/15/2019   PHOTOCOPIES                                        79.10   Duplicating, D. C.

37959042 3/15/2019   PHOTOCOPIES                                         1.60   Capolino, Margherita Angela

37973096 3/25/2019   PHOTOCOPIES                                        11.10   Duplicating, D. C.

37973097 3/25/2019   PHOTOCOPIES                                         3.00   Wolf, Julie M.

37973098 3/25/2019   PHOTOCOPIES                                         0.90   Orengo, Luis E.

37979510 3/27/2019   PHOTOCOPIES                                        52.10   Duplicating, D. C.

37990638 3/28/2019   PHOTOCOPIES                                         0.70   Wolf, Julie M.

37990639 3/28/2019   PHOTOCOPIES                                         2.50   Orengo, Luis E.




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         Date       Description                                       Amount Name
37926469 3/1/2019   PRINTING                                              1.20   Franzoia, Rachel

37926470 3/1/2019   PRINTING                                              6.40   Palmer, Jenni

37926471 3/1/2019   PRINTING                                              4.30   Behrens, James C.

37926472 3/1/2019   PRINTING                                             36.00   La Office Services

37926473 3/1/2019   PRINTING                                             11.40   Denny, Daniel B.

37929954 3/1/2019   PRINTING                                              0.10   Esposito, Debra

37929955 3/1/2019   PRINTING                                             11.00   Koch, Matthew

37929957 3/1/2019   PRINTING                                             64.30   Kim, Jae Yeon Cecelia

37929958 3/4/2019   PRINTING                                             84.20   Kim, Jae Yeon Cecelia

37929959 3/4/2019   PRINTING                                             97.50   Brewster, Jacqueline

37933827 3/4/2019   PRINTING                                              1.00   Duplicating, D. C.

37934132 3/4/2019   PRINTING                                              4.20   Kreller, Thomas R.

37933828 3/5/2019   PRINTING                                              1.20   Wolf, Julie M.

37934133 3/5/2019   PRINTING                                              1.20   Kreller, Thomas R.

37934134 3/5/2019   PRINTING                                             29.60   Palmer, Jenni

37934135 3/5/2019   PRINTING                                              5.00   Franzoia, Rachel

37934136 3/5/2019   PRINTING                                              7.60   Denny, Daniel B.

37935940 3/5/2019   PRINTING                                              6.00   Admin Xerox 1

37935943 3/5/2019   PRINTING                                             13.80   Kim, Jae Yeon Cecelia

37933829 3/6/2019   PRINTING                                              1.60   Wolf, Julie M.

37934137 3/6/2019   PRINTING                                              4.10   Denny, Daniel B.

37934138 3/6/2019   PRINTING                                              4.90   Franzoia, Rachel

37934139 3/6/2019   PRINTING                                              6.50   Connelly, Rachael

37935941 3/6/2019   PRINTING                                              5.00   Admin Xerox 1

37935942 3/6/2019   PRINTING                                              3.00   Koch, Matthew



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         Date        Description                                       Amount Name
37935944 3/6/2019    PRINTING                                              1.00   Kim, Jae Yeon Cecelia

37935945 3/6/2019    PRINTING                                             32.60   Brewster, Jacqueline

37944061 3/7/2019    PRINTING                                              1.70   Anderson, Angel R.

37944062 3/7/2019    PRINTING                                              8.40   Wolf, Julie M.

37944434 3/7/2019    PRINTING                                              0.60   Kreller, Thomas R.

37944435 3/7/2019    PRINTING                                             49.10   Palmer, Jenni

37944436 3/7/2019    PRINTING                                              4.70   Franzoia, Rachel

37944437 3/7/2019    PRINTING                                              3.30   Denny, Daniel B.

37944445 3/7/2019    PRINTING                                              5.80   Connelly, Rachael

37948331 3/7/2019    PRINTING                                             59.00   Koch, Matthew

37944438 3/8/2019    PRINTING                                              0.70   Denny, Daniel B.

37944439 3/8/2019    PRINTING                                              0.20   Palmer, Jenni

37944446 3/8/2019    PRINTING                                             22.00   Connelly, Rachael

37948332 3/8/2019    PRINTING                                              6.10   Koch, Matthew

37948337 3/8/2019    PRINTING                                            131.20   Thomas, Charmaine

37948338 3/8/2019    PRINTING                                              1.80   Kim, Jae Yeon Cecelia

37948344 3/8/2019    PRINTING                                             74.10   Adeyosoye, Adeola O.

37944440 3/11/2019   PRINTING                                             19.10   Palmer, Jenni

37944441 3/11/2019   PRINTING                                              3.90   Denny, Daniel B.

37944444 3/11/2019   PRINTING                                            142.30   La Office Services

37948334 3/11/2019   PRINTING                                              3.40   Bice, William B.

37948335 3/11/2019   PRINTING                                              1.40   Fiscina, Brandon

37948339 3/11/2019   PRINTING                                             32.90   Kim, Jae Yeon Cecelia

37948340 3/11/2019   PRINTING                                            164.50   Thomas, Charmaine

37948341 3/11/2019   PRINTING                                              0.20   Brewster, Jacqueline



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                                                  PRINTING

         Date        Description                                       Amount Name
37944442 3/12/2019   PRINTING                                              1.90   Denny, Daniel B.

37944443 3/12/2019   PRINTING                                              1.20   Kreller, Thomas R.

37948333 3/12/2019   PRINTING                                              5.10   Fiscina, Brandon

37948336 3/12/2019   PRINTING                                              0.20   Fiscina, Brandon

37948342 3/12/2019   PRINTING                                              1.20   Kim, Jae Yeon Cecelia

37948343 3/12/2019   PRINTING                                             14.00   Cosentino, Richard

37950626 3/13/2019   PRINTING                                              0.50   Palmer, Jenni

37950627 3/13/2019   PRINTING                                              5.30   Denny, Daniel B.

37953237 3/13/2019   PRINTING                                              1.40   Fiscina, Brandon

37950628 3/14/2019   PRINTING                                              0.10   Denny, Daniel B.

37950629 3/14/2019   PRINTING                                              3.40   Palmer, Jenni

37953238 3/14/2019   PRINTING                                             49.20   Koch, Matthew

37953239 3/14/2019   PRINTING                                              0.20   Ottenstein, Matthew H.

37959329 3/15/2019   PRINTING                                              5.60   Kreller, Thomas R.

37959330 3/15/2019   PRINTING                                              0.40   Palmer, Jenni

37959331 3/15/2019   PRINTING                                              0.60   Denny, Daniel B.

37961947 3/15/2019   PRINTING                                              1.80   Bice, William B.

37959332 3/18/2019   PRINTING                                              1.90   Denny, Daniel B.

37959333 3/18/2019   PRINTING                                             24.80   La Office Services

37959334 3/18/2019   PRINTING                                             26.40   Palmer, Jenni

37959335 3/18/2019   PRINTING                                             20.90   Franzoia, Rachel

37959336 3/18/2019   PRINTING                                              5.90   Kreller, Thomas R.

37959338 3/18/2019   PRINTING                                              1.90   Wu, Julia S.

37959337 3/19/2019   PRINTING                                              9.80   Behrens, James C.

37961946 3/19/2019   PRINTING                                              1.00   Esposito, Debra



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                                                  PRINTING

         Date        Description                                       Amount Name
37968452 3/20/2019   PRINTING                                              1.60   Behrens, James C.

37968453 3/20/2019   PRINTING                                              0.30   Denny, Daniel B.

37968455 3/20/2019   PRINTING                                              2.90   Wu, Julia S.

37968454 3/21/2019   PRINTING                                              1.20   Franzoia, Rachel

37968456 3/21/2019   PRINTING                                              0.50   Wu, Julia S.

37969961 3/21/2019   PRINTING                                             21.60   Koch, Matthew

37969962 3/21/2019   PRINTING                                              3.00   Bice, William B.

37973253 3/22/2019   PRINTING                                              0.70   Kreller, Thomas R.

37973254 3/22/2019   PRINTING                                              4.70   Franzoia, Rachel

37973255 3/22/2019   PRINTING                                              2.50   Denny, Daniel B.

37975227 3/22/2019   PRINTING                                              5.60   Koch, Matthew

37973256 3/25/2019   PRINTING                                              4.80   Denny, Daniel B.

37975228 3/25/2019   PRINTING                                              3.20   Bice, William B.

37975229 3/25/2019   PRINTING                                              5.40   Miller, Denise

37979684 3/26/2019   PRINTING                                              0.60   Kreller, Thomas R.

37979685 3/26/2019   PRINTING                                             12.10   Denny, Daniel B.

37981762 3/26/2019   PRINTING                                             13.20   Koch, Matthew

37981763 3/26/2019   PRINTING                                              1.70   Fiscina, Brandon

37981766 3/26/2019   PRINTING                                              7.90   Bice, William B.

37981764 3/27/2019   PRINTING                                              1.40   Fiscina, Brandon

37981765 3/27/2019   PRINTING                                              5.70   Koch, Matthew

37991001 3/28/2019   PRINTING                                              0.50   Palmer, Jenni

37993363 3/28/2019   PRINTING                                              7.50   Fiscina, Brandon

37991002 3/29/2019   PRINTING                                              2.80   Denny, Daniel B.

37991003 3/29/2019   PRINTING                                              0.60   Kreller, Thomas R.



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                                                  PRINTING

         Date        Description                                       Amount Name
37993365 3/29/2019   PRINTING                                              0.60   Bice, William B.




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                                                TELEPHONE

         Date        Description                                              Amount Name
37932408 3/1/2019    TELEPHONE AUSTIN    TX KOCH,MATTHEW        5054             2.56   Koch, Matthew

37932409 3/1/2019    TELEPHONE SEATTLE    WA KOCH,MATTHEW            5054        0.22   Koch, Matthew

37932410 3/1/2019    TELEPHONE SANFRNCSCO CA ESPOSITO,DEBRA            8381      0.36   Esposito, Debra

38044110 3/1/2019    TELEPHONE LOOPUP                                            4.03   Koch, Matthew

38044111 3/4/2019    TELEPHONE LOOPUP                                           11.61   Koch, Matthew

38044112 3/4/2019    TELEPHONE LOOPUP                                            1.36   Duke, Julia C.

37942906 3/5/2019    TELEPHONE SANFRNCSCO CA DENNY,DANIEL B           4302       0.69   Denny, Daniel B.

37943625 3/5/2019    TELEPHONE GRASSVLY S CA PRICE,CRAIG         5612            3.29   Price, Craig Michael

38044113 3/5/2019    TELEPHONE LOOPUP                                            3.11   Koch, Matthew

38044114 3/5/2019    TELEPHONE LOOPUP                                            1.09   Koch, Matthew

37942802 3/6/2019    TELEPHONE SANFRNCSCO CA WOLF,JULIE M            7534        0.72   Wolf, Julie M.

37942907 3/6/2019    TELEPHONE NASZ 5    NY AYOUB,EMILE G.     4571              3.29   Ayoub, Emile G.

38044115 3/6/2019    TELEPHONE LOOPUP                                            3.05   Dexter, Erin E.

38044143 3/6/2019    TELEPHONE LOOPUP                                            1.80   Orengo, Luis E.

38044116 3/7/2019    TELEPHONE LOOPUP                                            0.05   Aronzon, Paul S.

38044117 3/7/2019    TELEPHONE LOOPUP                                            1.54   Aronzon, Paul S.

38044118 3/7/2019    TELEPHONE LOOPUP                                           94.58   Koch, Matthew

38044119 3/7/2019    TELEPHONE LOOPUP                                            0.51   Koch, Matthew

37938379 3/11/2019   TELEPHONE - - VENDOR: COURTCALL LLC 2/26/19 - US           42.50   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORP/19-30088

38044120 3/11/2019   TELEPHONE LOOPUP                                           11.95   Koch, Matthew

38044149 3/11/2019   TELEPHONE LOOPUP                                            0.05   Thomas, Charmaine

38044150 3/11/2019   TELEPHONE LOOPUP                                            0.31   Koch, Matthew

38044151 3/11/2019   TELEPHONE LOOPUP                                            2.14   Koch, Matthew

37948740 3/12/2019   TELEPHONE - - VENDOR: COURTCALL LLC TELEPHONIC             35.00   Kreller, Thomas R.
                     APPEARANCE AT HEARING 3/12/19 AT 9:30 AM PT


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                                                 TELEPHONE

         Date        Description                                                Amount Name
37957284 3/12/2019   TELEPHONE SAN JOSE    CA KOCH,MATTHEW            5054         2.52   Koch, Matthew

37957285 3/12/2019   TELEPHONE RAMEY      MN KOCH,MATTHEW         5054             4.58   Koch, Matthew

38044121 3/12/2019   TELEPHONE LOOPUP                                              3.98   Koch, Matthew

38044122 3/12/2019   TELEPHONE LOOPUP                                              5.81   Koch, Matthew

38044123 3/12/2019   TELEPHONE LOOPUP                                              0.47   Dexter, Erin E.

38044152 3/12/2019   TELEPHONE LOOPUP                                              0.22   Koch, Matthew

38044153 3/12/2019   TELEPHONE LOOPUP                                              0.63   Capolino, Margherita Angela

37957286 3/13/2019   TELEPHONE AUSTIN     TX KOCH,MATTHEW        5054              2.92   Koch, Matthew

38044124 3/13/2019   TELEPHONE LOOPUP                                             69.50   Koch, Matthew

37949707 3/14/2019   TELEPHONE - - VENDOR: COURTCALL LLC 2/27/19 - US            132.50   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORPORATION/19-30088

37957287 3/14/2019   TELEPHONE NEVADACITY CA KOCH,MATTHEW              5054        1.09   Koch, Matthew

37957288 3/14/2019   TELEPHONE SEATTLE    WA KOCH,MATTHEW             5054         0.45   Koch, Matthew

38044125 3/14/2019   TELEPHONE LOOPUP                                             77.05   Koch, Matthew

37957289 3/15/2019   TELEPHONE CHICAGO     IL PRICE,CRAIG      5612                6.29   Price, Craig Michael

37957290 3/15/2019   TELEPHONE CHICAGO     IL PRICE,CRAIG      5612               12.59   Price, Craig Michael

38044126 3/15/2019   TELEPHONE LOOPUP                                              2.99   Koch, Matthew

38044127 3/17/2019   TELEPHONE LOOPUP                                              1.49   Koch, Matthew

38044144 3/17/2019   TELEPHONE LOOPUP                                              5.17   Wolf, Julie M.

38044128 3/18/2019   TELEPHONE LOOPUP                                             16.83   Koch, Matthew

37976094 3/19/2019   TELEPHONE SANFRNSCSO CA BEHRENS,JAMES C.            4436      6.99   Behrens, James C.

38044129 3/19/2019   TELEPHONE LOOPUP                                              3.80   Koch, Matthew

38044130 3/19/2019   TELEPHONE LOOPUP                                              3.18   Koch, Matthew

38044145 3/19/2019   TELEPHONE LOOPUP                                             21.44   Wolf, Julie M.

38044146 3/19/2019   TELEPHONE LOOPUP                                              6.45   Vora, Samir



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                                                     TELEPHONE

         Date        Description                                                  Amount Name
37967371 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/11/19 - US               35.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO)

37967372 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/12/19 - US               35.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO)

37967375 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/13/19 - US              170.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORPORATION/19-30088

38044131 3/21/2019   TELEPHONE LOOPUP                                                0.36   Koch, Matthew

38044132 3/21/2019   TELEPHONE LOOPUP                                               37.98   Koch, Matthew

38044147 3/21/2019   TELEPHONE LOOPUP                                               10.68   Wolf, Julie M.

38044133 3/22/2019   TELEPHONE LOOPUP                                                0.73   Koch, Matthew

38044134 3/22/2019   TELEPHONE LOOPUP                                                7.47   Koch, Matthew

38044135 3/22/2019   TELEPHONE LOOPUP                                                0.73   Koch, Matthew

38044136 3/25/2019   TELEPHONE LOOPUP                                               13.28   Koch, Matthew

38044137 3/26/2019   TELEPHONE LOOPUP                                                4.63   Koch, Matthew

38044138 3/26/2019   TELEPHONE LOOPUP                                                1.68   Koch, Matthew

37988489 3/27/2019   TELEPHONE REDFIELD      SD KOCH,MATTHEW             5054       12.82   Koch, Matthew

37988490 3/27/2019   TELEPHONE REDFIELD      SD PRICE,CRAIG         5612            10.99   Price, Craig Michael

38044139 3/27/2019   TELEPHONE LOOPUP                                               21.76   Koch, Matthew

38044140 3/27/2019   TELEPHONE LOOPUP                                                5.17   Koch, Matthew

38044141 3/28/2019   TELEPHONE LOOPUP                                              111.08   Koch, Matthew

38044148 3/28/2019   TELEPHONE LOOPUP                                                4.14   Wolf, Julie M.

37988491 3/29/2019   TELEPHONE SANFRNSCSO CA PRICE,CRAIG                 5612        5.13   Price, Craig Michael

37988492 3/29/2019   TELEPHONE SANFRNSCSO CA BICE,WILLIAM B.             5622        2.92   Bice, William B.

38044142 3/29/2019   TELEPHONE LOOPUP                                                4.89   Koch, Matthew

38027639 3/31/2019   TELEPHONE Data / Mobile Charges: Expense Date: 03/31/2019,     60.47   Aronzon, Paul S.
                     Business Purpose: Only Group 2 and line ending in 4006 are
                     reimbursable. Used for client communication. Merchant: ATT




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                                         TRANSCRIPT/DEPOSITION FEES

         Date        Description                                            Amount Name
37942627 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS          33.60   Thomas, Charmaine
                     LLC 2/13/19 - HEARING TRANSCRIPT

37942629 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS         132.00   Thomas, Charmaine
                     LLC 2/13/19 - HEARING TRANSCRIPT

37942630 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS          39.60   Thomas, Charmaine
                     LLC 2/26/19 - HEARING TRANSCRIPT

37967053 3/21/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: Jo McCall         233.20   Thomas, Charmaine
                     Court Reporting 1/29 & 1/31/19 - HEARING TRANSCRIPTS

38015422 3/25/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: VERITEXT         1176.57   Aronzon, Paul S.
                     DEPOSITION TRANSCRIPT FOR 3/19/19 DEPOSITION OF
                     DINYAR MISTRY

38045127 3/29/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: VERITEXT         1410.18   Aronzon, Paul S.
                     DEPOSITION TRANSCRIPT FOR DEPO OF DOUGLAS FRISKE
                     3/21/19




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                                   TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                           Amount Name
37936406 3/5/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Dexter, Erin E.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/05/2019, Business Purpose: Worked until 8:45 PM City
                     Limits: Out of the City

37939014 3/6/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Dexter, Erin E.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/06/2019, Business Purpose: Worked until 8:45 PM. City
                     Limits: Out of the City

37944878 3/6/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/06/2019, Business Purpose: Participate in litigation team
                     meeting re filing logistics; review case management procedures
                     order ; research case docket and prepare litigation team work
                     materials re case law regarding arguments in opposition to
                     preliminary injunction, FERC and PPA counter-parties opposition
                     and adversary

37944880 3/7/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/07/2019, Business Purpose: Attention to correspondence
                     refiling logistics and review of case management procedures
                     order; prepare litigation team work materials re case law, statutes
                     and pleadings regarding motion to appoint PE Committee and
                     materials related to March 13, 2019 hearing. City Limits: Out of
                     the

37949549 3/7/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/07/2019, Business Purpose: Taxi home following work in
                     PG&E matter. City Limits: In the City

37955730 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: Attention to correspondence re
                     opposition to motion for appointment of Official Committee of
                     Public Entities; prepare litigation team work materials re related
                     case law, statutes and pleadings regarding motion to appoint PE
                     Committee. City Limits: Out of the City

37955868 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37955871 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: OT Transportation on March 11,
                     2019, left office at 11:39PM. Receipt not required. City Limits: In
                     the City

37955872 3/13/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/13/2019, Business Purpose: OT Transportation on 3/13/18.
                     Receipt not required City Limits: In the City

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                                   TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                         Amount Name
37962492 3/13/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/13/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37955741 3/14/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/14/2019, Business Purpose: Coordinate service on litigation
                     parties regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same. City Limits: Out of the
                     City

37955873 3/14/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/14/2019, Business Purpose: OT Transportation. NYC
                     Address. left at 9:45pm. Receipt not required City Limits: In the
                     City

37967249 3/17/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/17/2019, Business Purpose: OT Transportation Home on
                     Sunday 3/17/19. NYC Address. Receipt not required City Limits:
                     In the City

37967253 3/18/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/18/2019, Business Purpose: March 18, 2019 transportation
                     allowance. Receipt not required. City Limits: In the City

37967255 3/19/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/19/2019, Business Purpose: OT Transportation Voucher
                     Home. NYC Address. Receipt not Required City Limits: In the City

37971319 3/20/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/20/2019, Business Purpose: OT Transportation Home. NYC
                     Address. Receipt not required City Limits: In the City

37977905 3/20/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/20/2019, Business Purpose: Follow up re service on litigation
                     parties regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same; prepare and organize
                     litigation team work materials re SEC documents and Committee
                     meeting

37977575 3/25/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/25/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City




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                                  TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                    Amount Name
37977587 3/25/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/25/2019, Business Purpose: OT Transportation Home. NYC.
                     Receipt not required City Limits: In the City

37977577 3/26/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/26/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37977588 3/26/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/26/2019, Business Purpose: OT Transportation Voucher. NYC
                     Address. Receipt not Required City Limits: In the City

37988729 3/27/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/27/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37988730 3/28/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/28/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City




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                                                WESTLAW

         Date        Description                                      Amount Name
37942330 3/4/2019    WESTLAW                                            606.31   Wolf, Julie M.

37942327 3/5/2019    WESTLAW                                           1061.05   Duke, Julia C.

37942331 3/5/2019    WESTLAW                                           2621.35   Wolf, Julie M.

37942332 3/5/2019    WESTLAW                                            303.16   Khani, Kavon M.

37942340 3/5/2019    WESTLAW                                            245.00   Franzoia, Rachel

37942333 3/6/2019    WESTLAW                                            454.74   Khani, Kavon M.

37942334 3/6/2019    WESTLAW                                            259.70   Wolf, Julie M.

37942341 3/6/2019    WESTLAW                                            757.89   Capolino, Margherita Angela

37942328 3/7/2019    WESTLAW                                            180.00   Denny, Daniel B.

37942335 3/7/2019    WESTLAW                                            411.28   Wolf, Julie M.

37942336 3/7/2019    WESTLAW                                            303.16   Khani, Kavon M.

37942337 3/7/2019    WESTLAW                                            303.16   Ayandipo, Abayomi A.

37942342 3/7/2019    WESTLAW                                            714.43   Capolino, Margherita Angela

37942338 3/8/2019    WESTLAW                                            151.58   Khani, Kavon M.

37942339 3/8/2019    WESTLAW                                            341.32   Wolf, Julie M.

37942329 3/9/2019    WESTLAW                                            622.75   Koch, Matthew

37954945 3/11/2019   WESTLAW                                            143.00   Weber, Jordan A.

37954949 3/11/2019   WESTLAW                                            155.69   Fiscina, Brandon

37954946 3/12/2019   WESTLAW                                           1500.98   Weber, Jordan A.

37954950 3/12/2019   WESTLAW                                            216.24   Khani, Kavon M.

37954951 3/13/2019   WESTLAW                                            822.55   Wolf, Julie M.

37954955 3/13/2019   WESTLAW                                            204.00   Wu, Julia S.

37954956 3/13/2019   WESTLAW                                            488.84   Ottenstein, Matthew H.

37954958 3/13/2019   WESTLAW                                           2077.58   Capolino, Margherita Angela

37954947 3/14/2019   WESTLAW                                           2867.27   Duke, Julia C.



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                                                WESTLAW

         Date        Description                                      Amount Name
37954952 3/14/2019   WESTLAW                                           1492.47   Wolf, Julie M.

37954953 3/14/2019   WESTLAW                                            151.58   Khani, Kavon M.

37954957 3/14/2019   WESTLAW                                            354.94   Prudenti, Paula M.

37954959 3/14/2019   WESTLAW                                           1904.80   Benz, Stephen

37954948 3/15/2019   WESTLAW                                           1130.12   Koch, Matthew

37954954 3/15/2019   WESTLAW                                            155.69   Prudenti, Paula M.

37970942 3/17/2019   WESTLAW                                           1245.99   Franzoia, Rachel

37970943 3/17/2019   WESTLAW                                            155.69   Koch, Matthew

37970944 3/18/2019   WESTLAW                                            877.99   Ayoub, Emile G.

37970945 3/18/2019   WESTLAW                                          16474.84   Franzoia, Rachel

37970953 3/18/2019   WESTLAW                                           1253.99   Wu, Julia S.

37970946 3/19/2019   WESTLAW                                            388.00   Behrens, James C.

37970947 3/19/2019   WESTLAW                                            948.69   Duke, Julia C.

37970950 3/19/2019   WESTLAW                                           7607.54   Wolf, Julie M.

37970954 3/19/2019   WESTLAW                                            143.00   Wu, Julia S.

37970958 3/19/2019   WESTLAW                                            151.58   Capolino, Margherita Angela

37970948 3/20/2019   WESTLAW                                           3709.96   Franzoia, Rachel

37970955 3/20/2019   WESTLAW                                            143.00   Wu, Julia S.

37970949 3/21/2019   WESTLAW                                            665.99   Franzoia, Rachel

37970951 3/21/2019   WESTLAW                                            151.58   Wolf, Julie M.

37970956 3/21/2019   WESTLAW                                            286.00   Wu, Julia S.

37970952 3/22/2019   WESTLAW                                            151.58   Wolf, Julie M.

37970957 3/23/2019   WESTLAW                                            897.99   Wu, Julia S.

37987713 3/25/2019   WESTLAW                                            259.70   Duke, Julia C.

37987714 3/25/2019   WESTLAW                                           2309.72   Wolf, Julie M.



                                                     37
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                                             MILBANK LLP
                                            Ending March 31, 2019

                                                WESTLAW

         Date        Description                                      Amount Name
37987715 3/26/2019   WESTLAW                                            151.58   Wolf, Julie M.




                                                     38
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 1
                                 UNITED STATES BANKRUPTCY COURT
 2
                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                    SAN FRANCISCO DIVISION
 4
      In re:                                         Bankruptcy Case No. 19-30088 (DM)
 5
      PG&E CORPORATION,                              Chapter 11
 6
                - and –                              (Lead Case)
 7
      PACIFIC GAS AND ELECTRIC                       (Jointly Administered
 8    COMPANY,
                                                     SECOND MONTHLY FEE STATEMENT OF
 9                                  Debtors.         MILBANK LLP FOR ALLOWANCE AND
                                                     PAYMENT OF COMPENSATION AND
10     Affects PG&E Corporation                     REIMBURSEMENT OF EXPENSES FOR THE
       Affects Pacific Gas and Electric             PERIOD MARCH 1, 2019 THROUGH MARCH
11    Company                                        31, 2019
       Affects both Debtors
12    * All papers shall be filed in the Lead Case   [No hearing requested]
      No. 19-30088 (DM).
13

14
      To: The Notice Parties
15
      Name of Applicant:                             Milbank LLP
16
      Authorized to Provide Professional             Attorneys for the Official Committee of Unsecured
17    Services to:                                   Creditors

18    Date of Retention:                             April 29,2019 nunc pro tunc to February 12, 2019
                                                     subject to approval by the Court
19
                                                     March 1, 2019 through March 31, 2019
20    Period for which compensation and
      reimbursement are sought:
21
      Amount of compensation sought as actual,       $1,723,364.20 (80% of $2,154,205.25)
22    reasonable, and necessary:

23    Amount of expense reimbursement sought         $88,823.53
      as actual, reasonable, and necessary:
24

25             Milbank LLP (“Milbank” or the “Applicant”), the attorneys for the Official Committee of
26
     Unsecured Creditors (the “Committee”), hereby submits its Second Monthly Fee Statement (this
27
     “Monthly Fee Statement”) for allowance and payment of compensation for professional services
28
     rendered and for reimbursement of actual and necessary expenses incurred for the period commencing
    [COURT
 Case:    19-30088
    44553.00001
                          Doc#US2707
                HAS INSTRUCTED          Filed:
                                 TO DELETE             ]
                                                06/21/19
                                           ALL FOOTERS    Entered: 06/21/19 13:59:29   Page 188
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 1   March 1, 2019 through March 31, 2019 (the “Fee Period”) pursuant to the Order Pursuant to 11 U.S.C

 2   §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
 3
     Compensation and Reimbursement of Expenses of Professional dated February 27, 2019 [Docket No.
 4
     701] (the “Interim Compensation Procedures Order”).
 5
            By this Fee Statement, Milbank requests allowance and payment of $1,723,364.20 (80% of
 6
     $2,154,205.25) as compensation for professional services rendered to the Committee during the Fee
 7

 8   Period and allowance and payment of $88,823.53 (representing 100% of the expenses allowed) as

 9   reimbursement for actual and necessary expenses incurred by Milbank during the Fee Period.
10          Annexed hereto as Exhibit A hereto is the name of each professional who performed services
11
     for the Committee in connection with these Chapter 11 Cases during the Fee Period covered by this Fee
12
     Statement and the hourly rate and total fees for each professional. Attached hereto as Exhibit B is a
13
     summary of hours during the Fee Period by task. Attached hereto as Exhibit C is a summary of expenses
14

15   incurred during the Fee Period. Attached hereto as Exhibit D are the detailed time entries for the Fee

16   Period. Attached hereto as Exhibit E are the detailed expenses entries for the Fee Period.

17          PLEASE TAKE FURTHER NOTICE that, in accordance with the Interim Compensation
18   Procedures Order, responses or objections to this Monthly Fee Statement, if any, must be filed and served
19
     on or before the 21st day (or the next business day if such day is not a business day) following the date
20
     the Monthly Fee Statement is served (the “Objection Deadline”) with this Court.
21
            PLEASE TAKE FURTHER NOTICE that upon the expiration of the Objection Deadline, the
22

23   Applicant shall file a certificate of no objection with the Court, after which the Debtors are authorized

24   and directed to pay the Applicant an amount equal to 80% of the fees and 100% of the expenses requested

25   in this Monthly Fee Statement. If an objection is properly filed, the Debtors shall be authorized and
26
     directed to pay the Applicant 80% of the fees and 100% of the expenses not subject to an objection.
27

28

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 1   Dated: June 21, 2019

 2                                         Respectfully submitted,
 3
                                           MILBANK LLP
 4
                                           By: /s/ Dennis F. Dunne
 5
                                           Dennis F. Dunne (admitted pro hac vice)
 6                                         Samuel A. Khalil (admitted pro hac vice)
                                           Gregory A. Bray
 7                                         Thomas R. Kreller
 8                                         Counsel for the Official Committee of Unsecured
                                           Creditors
 9
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                                Filed: 06/21/19 Entered: 06/21/19 13:59:29      Page 190
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                                COMPENSATION BY PROFESSIONAL
                               MARCH 1, 2019 THROUGH MARCH 31, 2019
The attorneys who rendered professional services in these chapter 11 cases from March 1, 2019
through March 31, 2019 (the “Fee Period”) are:
 NAME OF PROFESSIONAL                                                      TOTAL
    PARTNERS AND                                      YEAR     HOURLY      HOURS       TOTAL
       COUNSEL:                  DEPARTMENT         ADMITTED    RATE       BILLED   COMPENSATION
                                   Financial
 Paul Aronzon                     Restructuring       1979      $1,540      57.80      $89,012.00
                                  Global Project,
                                   Energy and
                                  Infrastructure
 William Bice                        Finance          1996      $1,540      42.90      $66,066.00
                                   Financial
 Gregory Bray                     Restructuring       1984      $1,540      93.50      $143,990.00
                                   Financial
 Dennis Dunne                     Restructuring       1991      $1,540      55.50      $85,470.00
 Russell Kestenbaum                    Tax            1999      $1,540      13.90      $21,406.00

                                   Financial                    $1,540      92.60      $142,604.00
 Thomas Kreller                   Restructuring       1992      $770*        5.50       $4,235.00
                                                                $1,540      28.20      $43,428.00
 Andrew Leblanc                     Litigation        2000       $770        4.50      $3,465.00
                                    Alternative
 Eric Moser                        Investments        1991      $1,540      1.40        $2,156.00
 Adam Moses                      Global Corporate     2002      $1,540      9.80       $15,092.00
 Michael Nolan                      Litigation        1992      $1,540      13.80      $21,252.00
 Alan Stone                         Litigation        1988      $1,540      13.50      $20,790.00
                                   Financial
 Samuel Khalil                    Restructuring       2004      $1,425      16.40      $23,370.00
 Manan Shah                            Tax            2002      $1,425      24.80      $35,340.00
                                   Financial
 Craig Price                      Restructuring       2000      $1,120     157.20      $176,064.00


 Total Partners and Counsel:                                   $1,415.71   631.30      $893,740.00




                                                      1

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                                                                  TOTAL
NAME OF PROFESSIONAL                          YEAR      HOURLY    HOURS        TOTAL
    ASSOCIATES:          DEPARTMENT         ADMITTED*    RATE     BILLED    COMPENSATION
                           Financial
Lena Mandel               Restructuring       1991       $1,080    18.70        $20,196.00
Jason Anderson                                           $995       9.30         $9,253.50
                                                         $995      91.30        $90,843.50
Samir Vora                  Litigation        2007      $497.5*     5.50        $2,736.25
Kamel Aitelaj               Litigation        2008       $995      26.70        $26,566.50
James Beebe                    Tax            2011       $995      13.50        $13,432.50
Nicholas Deluca                Tax            2009       $995       1.00         $995.00

                           Financial                     $995      123.30       $122,683.50
Daniel Denny              Restructuring       2005      $497.5*    13.00         $6,467.50
                           Financial
James Behrens             Restructuring       2015       $995      13.10        $12,510.50
Erin Dexter                 Litigation        2014       $920      58.90        $54,188.00

                           Financial                     $920      144.90       $133,308.00
Rachael Franzoia          Restructuring       2013       $460*      7.50         $3,450.00
                           Financial
Matthew Koch              Restructuring       2014       $920      182.10       $167,532.00
                           Financial
Parker Milender           Restructuring       2014       $920      20.10        $18,492.00
Katherine Pierucci          Litigation        2014       $920      19.90        $18,308.00
                           Financial
Jordan Weber              Restructuring       2015       $920      60.00        $55,200.00
Christina Skaliks              Tax            2015       $875      16.30        $14,262.50
Julie Wolf                  Litigation        2016       $875      156.00       $136,500.00
Emile Ayoub                 Litigation        2017       $830      26.70        $22,161.00
Archan Hazra                   Tax            2017       $830       7.80         $6,474.00
Kavon Khani                 Litigation        2017       $830      56.80        $47,144.00
                           Financial
Adeola Adeyosoye          Restructuring       2018       $735       1.00         $735.00
Julia Duke                  Litigation        2018       $735      89.70        $65,929.50
Luis Orengo                 Litigation        2018       $735      52.90        $38,881.50
                          Global Project,
                           Energy and
                          Infrastructure
Henry Seeley                 Finance          2018       $735      20.00        $14,700.00


                                              2

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Stephen Benz                 Litigation       2019       $595       8.30         $4,938.50
Margherita Capolino          Litigation       2019       $595      22.90         $13,625.50
Rachael Connelly          Global Corporate    2018       $595      19.10         $11,364.50
Benjamin Heller                 Tax           2018       $595      6.90          $4,105.50
Danielle Lee                 Litigation       2019       $595      84.10         $50,039.50
Julia Wu                     Litigation       2018       $595      57.20         $34,034.00
Joshua Zimberg               Litigation       2019       $595      20.80         $12,376.00


Total Associates:                                       $847.55   1,455.30      $1,233,433.75




                                              3

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                                                                            TOTAL
     NAME OF                                                  HOURLY        HOURS        TOTAL
PARAPROFESSIONALS:                DEPARTMENT                   RATE         BILLED    COMPENSATION
Angel Anderson                        Litigation               $350            8.50         $2,975.00
Abayomi Ayandipo                      Litigation               $350           19.90         $6,965.00
Jenifer Gibbs                         Litigation               $350            3.30         $1,155.00
David McCracken                       Litigation               $350            8.00         $2,800.00
                                     Financial
Charmaine Thomas                    Restructuring              $300           11.20         $3,360.00
                                     Financial
Jacqueline Brewster                 Restructuring              $290            2.60          $754.00
Brandon Fiscina                   Practice Support             $250           14.50         $3,625.00
                               Global Project, Energy
James Liles                        and Finance                 $635            8.50         $5,397.50


Total Paraprofessionals
and other non-legal staff:                                    $353.35         76.50        $27,031.50



                PROFESSIONALS                        BLENDED RATE       TOTAL HOURS      TOTAL
                                                                          BILLED      COMPENSATION
TOTALS:

Partners and Counsel                                    $1,415.71          631.30       $893,740.00

Associates                                              $847.55           1,455.30     $1,233,433.75

Paraprofessionals and other non-legal staff             $353.35            76.50           $27,031.50

Blended Attorney Rate                                   $1,019.44         2,086.60     $2,127,173.75

Total Fees Incurred                                     $995.89           2,163.10     $2,154,205.25




                                                          4

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                       COMPENSATION BY WORK TASK CODE FOR
                         SERVICES RENDERED BY MILBANK LLP
                 FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

TASK
                                  DESCRIPTION                                 HOURS       AMOUNT
CODE
00003   Automatic Stay                                                         25.50      $27,422.00
00004   Bankruptcy Litigation                                                 411.70     $351,169.50
00007   Case Administration (Dockets updates, WIP and calendar)                58.60      $51,288.00
00010   Communications with Client                                            135.80     $147,634.50
00011   Communications with Unsecured Creditors                                9.10       $11,250.50
00012   Committee Meetings                                                    126.60     $148,424.00
00013   Committee Governance                                                   41.60      $50,525.00
00014   Corporate Governance and Board Issues                                  70.60      $69,971.50
00015   Customer, Supplier and Vendor Issues                                   17.50      $19,474.50
00016   DIP Financing/Cash Management                                          62.70      $81,395.50
        General Case Strategy(includes calls with client and team calls and
00018                                                                         264.40     $284,234.00
        meetings)
00020   Court Hearings                                                         68.60      $91,302.00
00022   Non-Bankruptcy Litigation                                              43.60      $37,657.50
00023   Non-Working Travel                                                     36.00      $20,353.75
00027   CPUC                                                                   28.40      $28,506.50
00028   FERC                                                                   9.90       $11,362.50
00029   Retention/Fee Applications                                            315.20     $297,308.00
00032   Subrogation Issues                                                     33.40      $27,868.00
00034   Tax Issues                                                             40.10      $45,019.00
00036   U.S. Trustee                                                            8.70       $9,926.50
00038   Wildfire Claims and Treatment                                         118.90     $116,100.00
00039   Employee Benefits/Severance Issues                                    236.20     $226,012.50
TOTAL                                                                         2,163.10   $2,154,205.25




                                                     5
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                                  EXPENSE SUMMARY
                  FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

EXPENSES                                                               AMOUNTS

Computerized Research                                                   $69,209.77

Lodging                                                                 $3,534.15

Mail                                                                    $1,461.40

Meals                                                                   $1,965.32

Travel                                                                  $4,400.01

Transportation                                                          $1,941.58

Duplicating                                                             $2,072.49

Telephone                                                               $1,213.66

Transcript Fees                                                         $3,025.15

Total Expenses Requested:                                               $88,823.53




                                            6
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                                              Notice Parties
   PG&E Corporation
   c/o Pacific Gas & Electric Company
   Attn: Janet Loduca, Esq.
   77 Beale Street
   San Francisco, CA 94105

   Weil, Gotshal & Manges LLP
   Attn: Stephen Karotkin, Esq.
          Jessica Liou, Esq.
          Matthew Goren, Esq.
   767 Fifth Avenue
   New York, NY 10153-0119

   Keller & Benvenutti LLP
   Attn: Tobias S. Keller, Esq.
          Jane Kim, Esq
   650 California Street, Suite 1900
   San Francisco, CA 94108

   The Office of the United States Trustee for Region 17
   Attn: James L. Snyder, Esq.
          Timothy Laffredi, Esq.);
   450 Golden Gate Avenue, 5th Floor, Suite #05-0153
   San Francisco, CA 94102

   Baker & Hostetler LLP
          Attn: Eric Sagerman, Esq. and
   Cecily Dumas, Esq.
   11601 Wilshire Boulevard, Suite 1400
   Los Angeles, CA 90025-0509




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                        EXHIBIT A




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                                COMPENSATION BY PROFESSIONAL
                               MARCH 1, 2019 THROUGH MARCH 31, 2019
The attorneys who rendered professional services in these chapter 11 cases from March 1, 2019
through March 31, 2019 (the “Fee Period”) are:
 NAME OF PROFESSIONAL                                                      TOTAL
    PARTNERS AND                                      YEAR     HOURLY      HOURS       TOTAL
       COUNSEL:                  DEPARTMENT         ADMITTED    RATE       BILLED   COMPENSATION
                                   Financial
 Paul Aronzon                     Restructuring       1979      $1,540      57.80      $89,012.00
                                  Global Project,
                                   Energy and
                                  Infrastructure
 William Bice                        Finance          1996      $1,540      42.90      $66,066.00
                                   Financial
 Gregory Bray                     Restructuring       1984      $1,540      93.50      $143,990.00
                                   Financial
 Dennis Dunne                     Restructuring       1991      $1,540      55.50      $85,470.00
 Russell Kestenbaum                    Tax            1999      $1,540      13.90      $21,406.00

                                   Financial                    $1,540      92.60      $142,604.00
 Thomas Kreller                   Restructuring       1992      $770*        5.50       $4,235.00
                                                                $1,540      28.20      $43,428.00
 Andrew Leblanc                     Litigation        2000       $770        4.50      $3,465.00
                                    Alternative
 Eric Moser                        Investments        1991      $1,540      1.40        $2,156.00
 Adam Moses                      Global Corporate     2002      $1,540      9.80       $15,092.00
 Michael Nolan                      Litigation        1992      $1,540      13.80      $21,252.00
 Alan Stone                         Litigation        1988      $1,540      13.50      $20,790.00
                                   Financial
 Samuel Khalil                    Restructuring       2004      $1,425      16.40      $23,370.00
 Manan Shah                            Tax            2002      $1,425      24.80      $35,340.00
                                   Financial
 Craig Price                      Restructuring       2000      $1,120     157.20      $176,064.00


 Total Partners and Counsel:                                   $1,415.71   631.30      $893,740.00




                                                      1

   Case: 19-30088        Doc# 2707        Filed: 06/21/19 Entered: 06/21/19 13:59:29    Page 199
                                                    of 594
                                                                  TOTAL
NAME OF PROFESSIONAL                          YEAR      HOURLY    HOURS        TOTAL
    ASSOCIATES:          DEPARTMENT         ADMITTED*    RATE     BILLED    COMPENSATION
                           Financial
Lena Mandel               Restructuring       1991       $1,080    18.70        $20,196.00
Jason Anderson                                           $995       9.30         $9,253.50
                                                         $995      91.30        $90,843.50
Samir Vora                  Litigation        2007      $497.5*     5.50        $2,736.25
Kamel Aitelaj               Litigation        2008       $995      26.70        $26,566.50
James Beebe                    Tax            2011       $995      13.50        $13,432.50
Nicholas Deluca                Tax            2009       $995       1.00         $995.00

                           Financial                     $995      123.30       $122,683.50
Daniel Denny              Restructuring       2005      $497.5*    13.00         $6,467.50
                           Financial
James Behrens             Restructuring       2015       $995      13.10        $12,510.50
Erin Dexter                 Litigation        2014       $920      58.90        $54,188.00

                           Financial                     $920      144.90       $133,308.00
Rachael Franzoia          Restructuring       2013       $460*      7.50         $3,450.00
                           Financial
Matthew Koch              Restructuring       2014       $920      182.10       $167,532.00
                           Financial
Parker Milender           Restructuring       2014       $920      20.10        $18,492.00
Katherine Pierucci          Litigation        2014       $920      19.90        $18,308.00
                           Financial
Jordan Weber              Restructuring       2015       $920      60.00        $55,200.00
Christina Skaliks              Tax            2015       $875      16.30        $14,262.50
Julie Wolf                  Litigation        2016       $875      156.00       $136,500.00
Emile Ayoub                 Litigation        2017       $830      26.70        $22,161.00
Archan Hazra                   Tax            2017       $830       7.80         $6,474.00
Kavon Khani                 Litigation        2017       $830      56.80        $47,144.00
                           Financial
Adeola Adeyosoye          Restructuring       2018       $735       1.00         $735.00
Julia Duke                  Litigation        2018       $735      89.70        $65,929.50
Luis Orengo                 Litigation        2018       $735      52.90        $38,881.50
                          Global Project,
                           Energy and
                          Infrastructure
Henry Seeley                 Finance          2018       $735      20.00        $14,700.00


                                              2

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Stephen Benz                 Litigation       2019       $595       8.30         $4,938.50
Margherita Capolino          Litigation       2019       $595      22.90         $13,625.50
Rachael Connelly          Global Corporate    2018       $595      19.10         $11,364.50
Benjamin Heller                 Tax           2018       $595      6.90          $4,105.50
Danielle Lee                 Litigation       2019       $595      84.10         $50,039.50
Julia Wu                     Litigation       2018       $595      57.20         $34,034.00
Joshua Zimberg               Litigation       2019       $595      20.80         $12,376.00


Total Associates:                                       $847.55   1,455.30      $1,233,433.75




                                              3

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                                                                            TOTAL
     NAME OF                                                  HOURLY        HOURS        TOTAL
PARAPROFESSIONALS:                DEPARTMENT                   RATE         BILLED    COMPENSATION
Angel Anderson                        Litigation               $350            8.50         $2,975.00
Abayomi Ayandipo                      Litigation               $350           19.90         $6,965.00
Jenifer Gibbs                         Litigation               $350            3.30         $1,155.00
David McCracken                       Litigation               $350            8.00         $2,800.00
                                     Financial
Charmaine Thomas                    Restructuring              $300           11.20         $3,360.00
                                     Financial
Jacqueline Brewster                 Restructuring              $290            2.60          $754.00
Brandon Fiscina                   Practice Support             $250           14.50         $3,625.00
                               Global Project, Energy
James Liles                        and Finance                 $635            8.50         $5,397.50


Total Paraprofessionals
and other non-legal staff:                                    $353.35         76.50        $27,031.50



                PROFESSIONALS                        BLENDED RATE       TOTAL HOURS      TOTAL
                                                                          BILLED      COMPENSATION
TOTALS:

Partners and Counsel                                    $1,415.71          631.30       $893,740.00

Associates                                              $847.55           1,455.30     $1,233,433.75

Paraprofessionals and other non-legal staff             $353.35            76.50           $27,031.50

Blended Attorney Rate                                   $1,019.44         2,086.60     $2,127,173.75

Total Fees Incurred                                     $995.89           2,163.10     $2,154,205.25




                                                          4

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                        EXHIBIT B




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                       COMPENSATION BY WORK TASK CODE FOR
                         SERVICES RENDERED BY MILBANK LLP
                 FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

TASK
                                  DESCRIPTION                                 HOURS       AMOUNT
CODE
00003   Automatic Stay                                                         25.50      $27,422.00
00004   Bankruptcy Litigation                                                 411.70     $351,169.50
00007   Case Administration (Dockets updates, WIP and calendar)                58.60      $51,288.00
00010   Communications with Client                                            135.80     $147,634.50
00011   Communications with Unsecured Creditors                                9.10       $11,250.50
00012   Committee Meetings                                                    126.60     $148,424.00
00013   Committee Governance                                                   41.60      $50,525.00
00014   Corporate Governance and Board Issues                                  70.60      $69,971.50
00015   Customer, Supplier and Vendor Issues                                   17.50      $19,474.50
00016   DIP Financing/Cash Management                                          62.70      $81,395.50
        General Case Strategy(includes calls with client and team calls and
00018                                                                         264.40     $284,234.00
        meetings)
00020   Court Hearings                                                         68.60      $91,302.00
00022   Non-Bankruptcy Litigation                                              43.60      $37,657.50
00023   Non-Working Travel                                                     36.00      $20,353.75
00027   CPUC                                                                   28.40      $28,506.50
00028   FERC                                                                   9.90       $11,362.50
00029   Retention/Fee Applications                                            315.20     $297,308.00
00032   Subrogation Issues                                                     33.40      $27,868.00
00034   Tax Issues                                                             40.10      $45,019.00
00036   U.S. Trustee                                                            8.70       $9,926.50
00038   Wildfire Claims and Treatment                                         118.90     $116,100.00
00039   Employee Benefits/Severance Issues                                    236.20     $226,012.50
TOTAL                                                                         2,163.10   $2,154,205.25




                                                     5
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                        EXHIBIT C




Case: 19-30088   Doc# 2707   Filed: 06/21/19 Entered: 06/21/19 13:59:29   Page 205
                                       of 594
 1
                                 UNITED STATES BANKRUPTCY COURT
 2
                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                    SAN FRANCISCO DIVISION
 4
      In re:                                         Bankruptcy Case No. 19-30088 (DM)
 5
      PG&E CORPORATION,                              Chapter 11
 6
                - and –                              (Lead Case)
 7
      PACIFIC GAS AND ELECTRIC                       (Jointly Administered
 8    COMPANY,
                                                     SECOND MONTHLY FEE STATEMENT OF
 9                                  Debtors.         MILBANK LLP FOR ALLOWANCE AND
                                                     PAYMENT OF COMPENSATION AND
10     Affects PG&E Corporation                     REIMBURSEMENT OF EXPENSES FOR THE
       Affects Pacific Gas and Electric             PERIOD MARCH 1, 2019 THROUGH MARCH
11    Company                                        31, 2019
       Affects both Debtors
12    * All papers shall be filed in the Lead Case   [No hearing requested]
      No. 19-30088 (DM).
13

14
      To: The Notice Parties
15
      Name of Applicant:                             Milbank LLP
16
      Authorized to Provide Professional             Attorneys for the Official Committee of Unsecured
17    Services to:                                   Creditors

18    Date of Retention:                             April 29,2019 nunc pro tunc to February 12, 2019
                                                     subject to approval by the Court
19
                                                     March 1, 2019 through March 31, 2019
20    Period for which compensation and
      reimbursement are sought:
21
      Amount of compensation sought as actual,       $1,723,364.20 (80% of $2,154,205.25)
22    reasonable, and necessary:

23    Amount of expense reimbursement sought         $88,823.53
      as actual, reasonable, and necessary:
24

25             Milbank LLP (“Milbank” or the “Applicant”), the attorneys for the Official Committee of
26
     Unsecured Creditors (the “Committee”), hereby submits its Second Monthly Fee Statement (this
27
     “Monthly Fee Statement”) for allowance and payment of compensation for professional services
28
     rendered and for reimbursement of actual and necessary expenses incurred for the period commencing
    [COURT
 Case:    19-30088
    44553.00001
                          Doc#US2707
                HAS INSTRUCTED          Filed:
                                 TO DELETE             ]
                                                06/21/19
                                           ALL FOOTERS    Entered: 06/21/19 13:59:29   Page 206
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 1   March 1, 2019 through March 31, 2019 (the “Fee Period”) pursuant to the Order Pursuant to 11 U.S.C

 2   §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
 3
     Compensation and Reimbursement of Expenses of Professional dated February 27, 2019 [Docket No.
 4
     701] (the “Interim Compensation Procedures Order”).
 5
            By this Fee Statement, Milbank requests allowance and payment of $1,723,364.20 (80% of
 6
     $2,154,205.25) as compensation for professional services rendered to the Committee during the Fee
 7

 8   Period and allowance and payment of $88,823.53 (representing 100% of the expenses allowed) as

 9   reimbursement for actual and necessary expenses incurred by Milbank during the Fee Period.
10          Annexed hereto as Exhibit A hereto is the name of each professional who performed services
11
     for the Committee in connection with these Chapter 11 Cases during the Fee Period covered by this Fee
12
     Statement and the hourly rate and total fees for each professional. Attached hereto as Exhibit B is a
13
     summary of hours during the Fee Period by task. Attached hereto as Exhibit C is a summary of expenses
14

15   incurred during the Fee Period. Attached hereto as Exhibit D are the detailed time entries for the Fee

16   Period. Attached hereto as Exhibit E are the detailed expenses entries for the Fee Period.

17          PLEASE TAKE FURTHER NOTICE that, in accordance with the Interim Compensation
18   Procedures Order, responses or objections to this Monthly Fee Statement, if any, must be filed and served
19
     on or before the 21st day (or the next business day if such day is not a business day) following the date
20
     the Monthly Fee Statement is served (the “Objection Deadline”) with this Court.
21
            PLEASE TAKE FURTHER NOTICE that upon the expiration of the Objection Deadline, the
22

23   Applicant shall file a certificate of no objection with the Court, after which the Debtors are authorized

24   and directed to pay the Applicant an amount equal to 80% of the fees and 100% of the expenses requested

25   in this Monthly Fee Statement. If an objection is properly filed, the Debtors shall be authorized and
26
     directed to pay the Applicant 80% of the fees and 100% of the expenses not subject to an objection.
27

28

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                                              of 594
 1   Dated: June 21, 2019

 2                                         Respectfully submitted,
 3
                                           MILBANK LLP
 4
                                           By: /s/ Dennis F. Dunne
 5
                                           Dennis F. Dunne (admitted pro hac vice)
 6                                         Samuel A. Khalil (admitted pro hac vice)
                                           Gregory A. Bray
 7                                         Thomas R. Kreller
 8                                         Counsel for the Official Committee of Unsecured
                                           Creditors
 9
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 Case: 19-30088     Doc# 2707                    3
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                                COMPENSATION BY PROFESSIONAL
                               MARCH 1, 2019 THROUGH MARCH 31, 2019
The attorneys who rendered professional services in these chapter 11 cases from March 1, 2019
through March 31, 2019 (the “Fee Period”) are:
 NAME OF PROFESSIONAL                                                      TOTAL
    PARTNERS AND                                      YEAR     HOURLY      HOURS       TOTAL
       COUNSEL:                  DEPARTMENT         ADMITTED    RATE       BILLED   COMPENSATION
                                   Financial
 Paul Aronzon                     Restructuring       1979      $1,540      57.80      $89,012.00
                                  Global Project,
                                   Energy and
                                  Infrastructure
 William Bice                        Finance          1996      $1,540      42.90      $66,066.00
                                   Financial
 Gregory Bray                     Restructuring       1984      $1,540      93.50      $143,990.00
                                   Financial
 Dennis Dunne                     Restructuring       1991      $1,540      55.50      $85,470.00
 Russell Kestenbaum                    Tax            1999      $1,540      13.90      $21,406.00

                                   Financial                    $1,540      92.60      $142,604.00
 Thomas Kreller                   Restructuring       1992      $770*        5.50       $4,235.00
                                                                $1,540      28.20      $43,428.00
 Andrew Leblanc                     Litigation        2000       $770        4.50      $3,465.00
                                    Alternative
 Eric Moser                        Investments        1991      $1,540      1.40        $2,156.00
 Adam Moses                      Global Corporate     2002      $1,540      9.80       $15,092.00
 Michael Nolan                      Litigation        1992      $1,540      13.80      $21,252.00
 Alan Stone                         Litigation        1988      $1,540      13.50      $20,790.00
                                   Financial
 Samuel Khalil                    Restructuring       2004      $1,425      16.40      $23,370.00
 Manan Shah                            Tax            2002      $1,425      24.80      $35,340.00
                                   Financial
 Craig Price                      Restructuring       2000      $1,120     157.20      $176,064.00


 Total Partners and Counsel:                                   $1,415.71   631.30      $893,740.00




                                                      1

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                                                                  TOTAL
NAME OF PROFESSIONAL                          YEAR      HOURLY    HOURS        TOTAL
    ASSOCIATES:          DEPARTMENT         ADMITTED*    RATE     BILLED    COMPENSATION
                           Financial
Lena Mandel               Restructuring       1991       $1,080    18.70        $20,196.00
Jason Anderson                                           $995       9.30         $9,253.50
                                                         $995      91.30        $90,843.50
Samir Vora                  Litigation        2007      $497.5*     5.50        $2,736.25
Kamel Aitelaj               Litigation        2008       $995      26.70        $26,566.50
James Beebe                    Tax            2011       $995      13.50        $13,432.50
Nicholas Deluca                Tax            2009       $995       1.00         $995.00

                           Financial                     $995      123.30       $122,683.50
Daniel Denny              Restructuring       2005      $497.5*    13.00         $6,467.50
                           Financial
James Behrens             Restructuring       2015       $995      13.10        $12,510.50
Erin Dexter                 Litigation        2014       $920      58.90        $54,188.00

                           Financial                     $920      144.90       $133,308.00
Rachael Franzoia          Restructuring       2013       $460*      7.50         $3,450.00
                           Financial
Matthew Koch              Restructuring       2014       $920      182.10       $167,532.00
                           Financial
Parker Milender           Restructuring       2014       $920      20.10        $18,492.00
Katherine Pierucci          Litigation        2014       $920      19.90        $18,308.00
                           Financial
Jordan Weber              Restructuring       2015       $920      60.00        $55,200.00
Christina Skaliks              Tax            2015       $875      16.30        $14,262.50
Julie Wolf                  Litigation        2016       $875      156.00       $136,500.00
Emile Ayoub                 Litigation        2017       $830      26.70        $22,161.00
Archan Hazra                   Tax            2017       $830       7.80         $6,474.00
Kavon Khani                 Litigation        2017       $830      56.80        $47,144.00
                           Financial
Adeola Adeyosoye          Restructuring       2018       $735       1.00         $735.00
Julia Duke                  Litigation        2018       $735      89.70        $65,929.50
Luis Orengo                 Litigation        2018       $735      52.90        $38,881.50
                          Global Project,
                           Energy and
                          Infrastructure
Henry Seeley                 Finance          2018       $735      20.00        $14,700.00


                                              2

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Stephen Benz                 Litigation       2019       $595       8.30         $4,938.50
Margherita Capolino          Litigation       2019       $595      22.90         $13,625.50
Rachael Connelly          Global Corporate    2018       $595      19.10         $11,364.50
Benjamin Heller                 Tax           2018       $595      6.90          $4,105.50
Danielle Lee                 Litigation       2019       $595      84.10         $50,039.50
Julia Wu                     Litigation       2018       $595      57.20         $34,034.00
Joshua Zimberg               Litigation       2019       $595      20.80         $12,376.00


Total Associates:                                       $847.55   1,455.30      $1,233,433.75




                                              3

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                                                                            TOTAL
     NAME OF                                                  HOURLY        HOURS        TOTAL
PARAPROFESSIONALS:                DEPARTMENT                   RATE         BILLED    COMPENSATION
Angel Anderson                        Litigation               $350            8.50         $2,975.00
Abayomi Ayandipo                      Litigation               $350           19.90         $6,965.00
Jenifer Gibbs                         Litigation               $350            3.30         $1,155.00
David McCracken                       Litigation               $350            8.00         $2,800.00
                                     Financial
Charmaine Thomas                    Restructuring              $300           11.20         $3,360.00
                                     Financial
Jacqueline Brewster                 Restructuring              $290            2.60          $754.00
Brandon Fiscina                   Practice Support             $250           14.50         $3,625.00
                               Global Project, Energy
James Liles                        and Finance                 $635            8.50         $5,397.50


Total Paraprofessionals
and other non-legal staff:                                    $353.35         76.50        $27,031.50



                PROFESSIONALS                        BLENDED RATE       TOTAL HOURS      TOTAL
                                                                          BILLED      COMPENSATION
TOTALS:

Partners and Counsel                                    $1,415.71          631.30       $893,740.00

Associates                                              $847.55           1,455.30     $1,233,433.75

Paraprofessionals and other non-legal staff             $353.35            76.50           $27,031.50

Blended Attorney Rate                                   $1,019.44         2,086.60     $2,127,173.75

Total Fees Incurred                                     $995.89           2,163.10     $2,154,205.25




                                                          4

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                       COMPENSATION BY WORK TASK CODE FOR
                         SERVICES RENDERED BY MILBANK LLP
                 FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

TASK
                                  DESCRIPTION                                 HOURS       AMOUNT
CODE
00003   Automatic Stay                                                         25.50      $27,422.00
00004   Bankruptcy Litigation                                                 411.70     $351,169.50
00007   Case Administration (Dockets updates, WIP and calendar)                58.60      $51,288.00
00010   Communications with Client                                            135.80     $147,634.50
00011   Communications with Unsecured Creditors                                9.10       $11,250.50
00012   Committee Meetings                                                    126.60     $148,424.00
00013   Committee Governance                                                   41.60      $50,525.00
00014   Corporate Governance and Board Issues                                  70.60      $69,971.50
00015   Customer, Supplier and Vendor Issues                                   17.50      $19,474.50
00016   DIP Financing/Cash Management                                          62.70      $81,395.50
        General Case Strategy(includes calls with client and team calls and
00018                                                                         264.40     $284,234.00
        meetings)
00020   Court Hearings                                                         68.60      $91,302.00
00022   Non-Bankruptcy Litigation                                              43.60      $37,657.50
00023   Non-Working Travel                                                     36.00      $20,353.75
00027   CPUC                                                                   28.40      $28,506.50
00028   FERC                                                                   9.90       $11,362.50
00029   Retention/Fee Applications                                            315.20     $297,308.00
00032   Subrogation Issues                                                     33.40      $27,868.00
00034   Tax Issues                                                             40.10      $45,019.00
00036   U.S. Trustee                                                            8.70       $9,926.50
00038   Wildfire Claims and Treatment                                         118.90     $116,100.00
00039   Employee Benefits/Severance Issues                                    236.20     $226,012.50
TOTAL                                                                         2,163.10   $2,154,205.25




                                                     5
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                                  EXPENSE SUMMARY
                  FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

EXPENSES                                                               AMOUNTS

Computerized Research                                                   $69,209.77

Lodging                                                                 $3,534.15

Mail                                                                    $1,461.40

Meals                                                                   $1,965.32

Travel                                                                  $4,400.01

Transportation                                                          $1,941.58

Duplicating                                                             $2,072.49

Telephone                                                               $1,213.66

Transcript Fees                                                         $3,025.15

Total Expenses Requested:                                               $88,823.53




                                            6
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                                              Notice Parties
   PG&E Corporation
   c/o Pacific Gas & Electric Company
   Attn: Janet Loduca, Esq.
   77 Beale Street
   San Francisco, CA 94105

   Weil, Gotshal & Manges LLP
   Attn: Stephen Karotkin, Esq.
          Jessica Liou, Esq.
          Matthew Goren, Esq.
   767 Fifth Avenue
   New York, NY 10153-0119

   Keller & Benvenutti LLP
   Attn: Tobias S. Keller, Esq.
          Jane Kim, Esq
   650 California Street, Suite 1900
   San Francisco, CA 94108

   The Office of the United States Trustee for Region 17
   Attn: James L. Snyder, Esq.
          Timothy Laffredi, Esq.);
   450 Golden Gate Avenue, 5th Floor, Suite #05-0153
   San Francisco, CA 94102

   Baker & Hostetler LLP
          Attn: Eric Sagerman, Esq. and
   Cecily Dumas, Esq.
   11601 Wilshire Boulevard, Suite 1400
   Los Angeles, CA 90025-0509




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                        EXHIBIT D




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                                                    MILBANK LLP
                                               Description of Legal Services
                                                   Ending March 31, 2019
                                       44553.00003 OCUC of PG&E - Automatic Stay
          Date       Description                                               Hours Name


23343037 3/4/2019    Revise order granting Enel stipulation (.2);                  0.70   Koch, Matthew
                     revise stipulation re Enel lift stay motion
                     (.3); communications w/ T. Kreller and G.
                     Glemann (Stoel) re same (.2).


23355784 3/4/2019    Review order granting Enel stipulation (.2);                  0.40   Price, Craig Michael
                     communications w/ T. Kreller, M. Koch and G.
                     Glemann (Stoel) re same (.2).


23388893 3/14/2019   Calls w/ F. Bloksberg (Bloksberg law) re lift                 0.60   Koch, Matthew
                     stay motion.


23388894 3/14/2019   Communications w/ G. Glemann (Stoel) re Enel                  0.10   Koch, Matthew
                     safe harbor motion.


23389027 3/17/2019   Draft memo re automatic stay issues.                          1.50   Koch, Matthew


23401702 3/18/2019   Review Enel Green Power motion for safe harbor                0.90   Bice, William B.
                     relief (.6);review proposed stipulation between
                     Debtors and Enel (.3).


23754465 3/18/2019   Emails w/ M. Koch re Enel safe harbor motion.                 0.10   Bray, Gregory A.


23754956 3/18/2019   Emails w/ G. Bray and M. Goren (Weil) re Enel                 0.40   Koch, Matthew
                     safe harbor motion (.2); review Enel
                     stipulation (.2).


23401713 3/19/2019   Review Enel interconnection agreements (.6);                  1.10   Bice, William B.
                     draft email memorandum to Milbank Team (D.
                     Dunne, G. Bray, T. Kreller, A. Leblanc) on
                     stipulation rationale (.5).


23404074 3/21/2019   Call with M. Goren (Weil) and M. Koch (Milbank)               0.20   Bice, William B.
                     on Enel stipulation.


23423593 3/21/2019   Review as-filed Enel stipulation (.2);                        1.10   Koch, Matthew
                     communications w/ M. Goren (Weil) and W. Bice
                     re Enel stipulation (.4); draft memo re same
                     (.5).




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                                                    MILBANK LLP
                                               Description of Legal Services
                                                   Ending March 31, 2019
                                       44553.00003 OCUC of PG&E - Automatic Stay
          Date       Description                                               Hours Name


23755475 3/21/2019   Emails w/ J. Weber on documents related to                    0.10   Koch, Matthew
                     esVolta motion.


23430686 3/21/2019   Review pleadings and other relevant documents                 2.70   Weber, Jordan A.
                     related to esVolta motion (1.6); emails with M.
                     Koch on the same (.1); review precedent
                     documents for the automatic stay issues (1).


23405164 3/22/2019   Strategy call w/ M. Koch, E. Dexter and S. Vora               0.70   Milender, Parker
                     re: stay issues (.3); review materials re same
                     (.4).


23789609 3/24/2019   Review court documents related to automatic                   4.00   Weber, Jordan A.
                     stay relief issue (1.1); review precedent
                     memoranda and research on the same (.9); begin
                     draft of memo on automatic stay relief filing
                     (1.8); review diligence required on the same
                     (0.2).


23432328 3/25/2019   Emails w/ J. Weber and M. Goren (Weil) re                     0.80   Koch, Matthew
                     esVolta safe harbor motion (.4); communications
                     w/ J. Weber re esVolta safe harbor motion (.4).


23432333 3/25/2019   Emails w/ W. Bice and J. Weber re lift stay                   0.40   Koch, Matthew
                     issues (.1); discuss same w/ C. Price (.3).


23439409 3/25/2019   Review lift stay issues (.2); discuss same with               0.50   Price, Craig Michael
                     M. Koch. (.3).


23460279 3/25/2019   Research (1.3) and draft memo regarding                       3.80   Weber, Jordan A.
                     (redacted) (1.9); emails w/ W. Bice and M. Koch
                     re lift stay issues (.1); emails w/ M. Koch re
                     esVolta safe harbor motion (.2); comms w/ same
                     re same (.2); t/c with W. Farmer re: Enel Green
                     Power memo materials (.1).




                                                             2
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                                                    MILBANK LLP
                                               Description of Legal Services
                                                   Ending March 31, 2019
                                       44553.00003 OCUC of PG&E - Automatic Stay
          Date       Description                                               Hours Name


23438946 3/26/2019   Review esVolta motion safe harbor analysis                    3.80   Bice, William B.
                     (.4); review memo in support of esVolta motion
                     and supporting declaration (.8); review esVolta
                     PPA (.8); research (redacted) (1.1); draft
                     correspondence to M. Koch, J. Weber
                     highlighting differences between esVolta and
                     energy PPAs (.5);emails w/ M. Koch and J. Weber
                     re lift stay issues (.1); emails w/ M. Koch re
                     esVolta safe harbor motion (.1).


23432538 3/26/2019   Review esVolta draft stipulation (.2); emails                 0.40   Koch, Matthew
                     w/ W. Bice and E. Brady (Hogan Lovells) re
                     esVolta safe harbor motion (.2).


23460389 3/26/2019   Review (.3) and implement comments to memo on                 1.20   Weber, Jordan A.
                     motion to lift stay (.9).




                                                              3
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                                                  MILBANK LLP
                                              Description of Legal Services
                                                  Ending March 31, 2019
                                  44553.00004 OCUC of PG&E - Bankruptcy Litigation
          Date      Description                                               Hours Name


23309418 3/1/2019   Review pleadings re motion for appointment of              0.80   Bice, William B.
                    public entities committee (.5); correspond with
                    D. Dunne, A. LeBlanc, P. Aronson, T. Kreller,
                    and G. Bray re Committee position on motion
                    (.3).


23318831 3/1/2019   Draft section of solvent debtor issues                     4.30   Duke, Julia C.
                    memorandum.


23319431 3/1/2019   Conduct research re: (redacted) (4.2); Internal            4.80   Khani, Kavon M.
                    correspondence re: same (.3); email
                    correspondence re: Motion to Appoint an
                    Official Committee of Public Entities (.2);
                    email correspondence re: objection deadline for
                    remaining first day motions (.1).


23329631 3/4/2019   Review (2.3) and analyze (1.9) case law re                 4.60   Denny, Daniel B.
                    appointment of public entity committee; t/c. w/
                    E. Dexter, J. Wolf, J. Duke and R. Franzoia re
                    research and analysis re response to public
                    entity committee motion (.3); email to T.
                    Kreller re same (.1).


23357636 3/4/2019   Correspondence with Milbank team re FERC                   0.90   Dexter, Erin E.
                    adversary reply.


23740664 3/4/2019   Review pleadings (1.4) and research (.8) i/c/w             3.80   Dexter, Erin E.
                    (redacted); internal correspondence re same
                    (.5); meet with J. Duke and J. Wolf re public
                    entities committee objection (.4); meet with J.
                    Duke, J. Wolf, R. Franzoia, and D. Denny re
                    same (.7).


23319144 3/4/2019   Conduct research re (redacted) (6.8); meet with            7.90   Duke, Julia C.
                    E. Dexter and J. Wolf re same (.4); meet with
                    E. Dexter, J. Wolf, R. Franzoia and D. Denny re
                    same (.7).




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23360495 3/4/2019   Draft memo to the Committee regarding Motion to            6.00   Franzoia, Rachel
                    Appoint Public Entities Committee (4.9); conf.
                    with D. Denny, J. Duke, E. Dexter and J. Wolf
                    regarding opposition to public entities
                    committee motion (.7); internal comms re same
                    (.4).


23355373 3/4/2019   Research re: (redacted) (2.9); correspondence              3.20   Khani, Kavon M.
                    with J. Wolf and J. Duke re: client memorandum
                    w/r/t same (.3).


23354207 3/4/2019   Review FERC opposition to PI (2.1), PPA                    9.70   Orengo, Luis E.
                    counterparties opposition to PI (1.3), PPA
                    counterparties opposition to motion to
                    intervene (2.1), Frank Lindt opposition to PI
                    (1.1); draft counter arguments for reply brief
                    to each brief (3.1)


23387087 3/4/2019   Review public entities' motion for appointment             3.00   Vora, Samir
                    of official committee (1.2) and conduct
                    research thereon (1.8).


23344536 3/4/2019   Call with E. Dexter and J. Duke re: Motion for             8.70   Wolf, Julie M.
                    Appointment of Public Entities Committee (.4);
                    review Motion for Appointment of Public
                    Entities Committee and cases cited therein
                    (2.1); conduct legal research re: (redacted)
                    (3.4); call with W. Bice re: opposition to
                    motion for public entities committee (.3); call
                    with R. Franzoia, D. Denny, E. Dexter, and J.
                    Duke re: committee Opposition to motion for
                    public entities committee (.7); draft outline
                    of arguments for Opposition (1.8).


23327216 3/5/2019   Review PG&E petition for rehearing in Exelon               1.00   Bice, William B.
                    case (.6); discussion with A. LeBlanc re
                    intervention in FERC proceeding (.1);
                    correspond with J. Lilesre filed rate
                    jurisprudence on electric and gas cases (.3).


23329623 3/5/2019   Conf. w/ R. Franzoia (multiple) re memo re                 2.30   Denny, Daniel B.
                    public entity committee motion (.6); research
                    regarding (redacted) (1.7).


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23357692 3/5/2019   Internal correspondence (1.5) and calls (.4)                 1.90   Dexter, Erin E.
                    regarding reply in support of PI in FERC
                    adversary proceeding.


23327697 3/5/2019   Coordinate with team re pro hac vice                         1.30   Duke, Julia C.
                    applications for A. Leblanc and A. Stone (.8);
                    attend Milbank team call re strategy (.5).


23740912 3/5/2019   Draft objection to motion to appoint official                7.80   Duke, Julia C.
                    committee of public entities.


23360493 3/5/2019   Research regarding (redacted) (.7); revise memo              5.40   Franzoia, Rachel
                    to Committee regarding same (3.7); email
                    exchange with J. Wolf regarding same (.4);
                    conference with D. Denny re same (.6).


23355952 3/5/2019   Conduct research re: (redacted) (5.7); draft                 7.60   Khani, Kavon M.
                    client memorandum outline re: same (1.6);
                    review email correspondence re: statement filed
                    by Ad Hoc Committee of Senior Unsecured
                    Noteholders (.3).


23346264 3/5/2019   Coordinate re FERC adversary proceeding (1.1);               1.20   Leblanc, Andrew M.
                    discussion with W. Bice re intervention in FERC
                    proceeding (.1).


23354322 3/5/2019   Continue review of FERC opposition to PI (1.3),             10.70   Orengo, Luis E.
                    PPA counterparties opposition to PI (.8), PPA
                    counterparties opposition to motion to
                    intervene (.9), Frank Lindt opposition to PI
                    (.7); conf. with E. Dexter regarding reply to
                    oppositions briefs (1.1); prepare write-up to
                    discuss on call regarding reply to oppositions
                    briefs (1.3); discussion with J. Liles
                    regarding FERC jurisdictional issues (.4);
                    follow up meeting with same re same (.1);
                    research re (redacted) (.8); draft outline of
                    reply briefing re oppositions briefs (2.7);
                    email w/ W. Bice re outline of reply briefing
                    issues (.4); email to W. Bice re Boston
                    Generating case law (.2).




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23387093 3/5/2019   Further analyze public entity motion for                   2.50   Vora, Samir
                    committee appointment (1.3); research regarding
                    (redacted) (1.2).


23359964 3/6/2019   Call regarding potential intervention of the               4.80   Aitelaj, Kamel Malik
                    Committee in FERC proceeding (1.0); call with
                    PG&E's counsel (Weil) regarding petition for
                    injunction (.5); prep for same (.6);
                    preliminary analysis regarding adequacy of
                    intervention in FERC proceeding (2.7).


23352149 3/6/2019   Attend team meeting re filing protocol and                 2.50   Anderson, Angel R.
                    court rules (.7); internal correspondence (.4)
                    and prep (1.4) re same.


23342356 3/6/2019   Participate in litigation team meeting re                  6.00   Ayandipo, Abayomi A.
                    filing logistics (.7); review case management
                    procedures order (1.2); review case docket and
                    prepare litigation team work materials re case
                    law regarding arguments in opposition to
                    preliminary injunction, FERC and PPA
                    counter-parties opposition and adversary
                    proceedings reply briefing (4.1).


23333668 3/6/2019   Review summary of reply brief of FERC in                   2.10   Bice, William B.
                    adversary proceeding (.7); provide additional
                    comment on potential counterarguments in
                    proceedings (.5). conf. with E. Dexter, T.
                    Kreller, L. Orengo and M. Nolan on FERC
                    adversary proceeding arguments (.4); correspond
                    with J. Liles re Boston Generating case as
                    Federal Power Act precedent (.2); call with J.
                    Liles and M. Nolan re FERC intervention (.3).


23333712 3/6/2019   Draft response for ratepayer committee request.            0.20   Bice, William B.


23340052 3/6/2019   Teleconference with E. Dexter regarding                    1.40   Denny, Daniel B.
                    response to Public Entities Committee motion
                    (.2); revise draft memorandum regarding
                    response to Public Entities Committee motion
                    (.5); review (.3) and revise (.4) draft
                    response regarding public entity committee
                    motion.


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23743600 3/6/2019   Conf. with D. Denny re response to Public                  0.20   Denny, Daniel B.
                    Entities Committee motion.


23357796 3/6/2019   Correspondence w/ team regarding reply in                  2.00   Dexter, Erin E.
                    support of PI in FERC adversary proceeding
                    (.9); conf. with W. Bice, T. Kreller, L. Orengo
                    and M. Nolan re FERC adversary proceeding
                    arguments (.4) and prep for same (.2); call
                    with Weil re reply in support of PI in FERC
                    adversary proceeding (.5).


23741305 3/6/2019   Review revised opposition to public entities               3.50   Dexter, Erin E.
                    motion (2.1); review (.6) and draft (.8)
                    correspondence concerning same.


23329127 3/6/2019   Review all local, court, and bankruptcy rules              6.50   Duke, Julia C.
                    regarding filing (2.7); draft tip sheet for
                    filing in PG&E bankruptcy and adversary
                    proceedings (2.1); meet with E. Dexter re same
                    (.3); revise as per E. Dexter (.7); attend
                    meeting re same (.7).


23329132 3/6/2019   Review (.3) and revise (.6) objection to motion            0.90   Duke, Julia C.
                    for public entities committee.


23338781 3/6/2019   Review Butte settlement motion.                            0.30   Dunne, Dennis F.


23345478 3/6/2019   Team meeting regarding case management and                 2.30   Gibbs, Jenifer G.
                    filing protocol (.7); comms. with D. Denny re
                    same (.4); review case information and
                    documentation provided for same (1.2).


23355997 3/6/2019   Conduct research re: (redacted) (4.3); meet                8.30   Khani, Kavon M.
                    with J. Wolf to discuss issues related to
                    client memorandum re same (.4); draft client
                    memorandum re: (redacted) (3.6).


23360592 3/6/2019   Review (.8) and revise (.6) UCC objection to               2.10   Kreller, Thomas R.
                    Public Entity motion for official committee;
                    internal correspondence with team re same (.7).




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23360628 3/6/2019   Review FERC adversary filings (1.9); attention             3.20   Kreller, Thomas R.
                    to reply brief issues (.9); t/c with W. Bice,
                    E. Dexter, L. Orengo and M. Nolan re FERC
                    adversary proceeding arguments (.4).


23345896 3/6/2019   Call with W. Bice re FERC adversary proceeding             1.00   Liles, James
                    (.3); meet with L. Orengo re reply briefing
                    issues (.6); email w/ same re case law
                    addressing FERC actions under FPA (.1).


23356082 3/6/2019   Revise FERC-related documents (1.9); internal              3.00   Nolan, Michael D.
                    comms. re procedural background re same (.7);
                    conf. with W. Bice, T. Kreller, L. Orengo and
                    E. Dexter re FERC adversary proceeding
                    arguments (.4).


23354326 3/6/2019   Draft email to W. Bice regarding questions                 7.10   Orengo, Luis E.
                    i/c/w reply briefing issues for pre-call with
                    Milbank team and call with Weil (1.1); research
                    re: (redacted) (2.4); discussion with J. Liles
                    regarding different treatment of market-based
                    rates and cost-based rates by FERC (.9); email
                    w/ W. Bice regarding FERC authority to regulate
                    buyer (.3); conf. with W. Bice, T. Kreller, L.
                    E. Dexter and M. Nolan re FERC adversary
                    proceeding reply brief (.4); call with Weil
                    regarding reply briefing issues (.5); follow-up
                    correspondence with E. Dexter (.4); review
                    issues re UCC reply brief in support of PI
                    (1.1).


23344449 3/6/2019   Conf. with J. Wolf re regarding (redacted).                0.40   Wolf, Julie M.


23741309 3/6/2019   Draft additional sections of Opposition to                 7.50   Wolf, Julie M.
                    public entities committee motion (1.1); revise
                    same to align with letter to US Trustee (2.1)
                    and incorporate edits from E. Dexter (.7);
                    review ongoing CPUC proceedings to determine
                    public entities party thereto (1.2); review
                    local rules for motion pleading requirements
                    i/c/w Opposition to PE Motion (.7); conduct
                    legal research re: (redacted) (1.7).




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23360136 3/7/2019   Meeting (.2) and emails (.2) with L. Orengo                4.50   Aitelaj, Kamel Malik
                    regarding FERC proceedings; review materials
                    from FERC proceeding and bankruptcy adversary
                    proceeding (4.1).


23352156 3/7/2019   Retrieve cases and statues i/c/w FERC adversary            3.50   Anderson, Angel R.
                    proceeding from Westlaw database (3.1);
                    internal correspondence re same (.4).


23356035 3/7/2019   Research re (redacted).                                    3.10   Khani, Kavon M.


23354222 3/7/2019   Review FERC adversary and appeal arguments                 8.60   Orengo, Luis E.
                    (1.1); email (.3) and conf. (.2) with K.
                    Aitelaj re same (.1); draft UCC reply brief in
                    support of debtors' motion for preliminary
                    injunction (6.9).


23387110 3/7/2019   Incorporate comments to opposition to motion               2.20   Vora, Samir
                    for appointment of public entity committee
                    (1.3); further review (.3) and edit (.6) same.


23344471 3/7/2019   Revise Opposition to PE Motion per comments and            5.50   Wolf, Julie M.
                    edits from W. Bice and D. Denny (2.6); revise
                    Opposition to PE Motion per comments from
                    weekly committee call (1.2); discuss same with
                    E. Dexter (.2); draft talking points for
                    Hearing on PE Motion (1.4); discuss same with
                    D. Denny (.1).


23360004 3/8/2019   Draft (3.9) and edit (1.3) motion to intervene             7.30   Aitelaj, Kamel Malik
                    in FERC proceeding; comms. with J. Liles and E.
                    Dexter re same (.2); revisions to same per M.
                    Nolan's comments (1.9).


23342556 3/8/2019   Review correspondence re filing of pleadings               0.40   Ayandipo, Abayomi A.
                    regarding motion to appoint PE Committee.




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23357879 3/8/2019   Review (.8) and revise (2.1) reply in support              4.00   Dexter, Erin E.
                    of FERC PI; internal correspondence regarding
                    same (.4); call w/ J. Liles and K. Aitelaj re
                    motion to intervene in FERC proceeding (.2);
                    discussions w/ L. Orengo re UCC reply brief in
                    support of motion for preliminary injunction
                    (.5).


23742391 3/8/2019   Revise opposition to public entities committee             2.50   Dexter, Erin E.
                    motion (2.3); correspondence regarding same
                    (.2).


23355657 3/8/2019   Confs. with R. Harris re request for official              0.90   Dunne, Dennis F.
                    ratepayer committee (.2); review Judge Montali
                    decision re same in PG&E I (.4); review
                    recommendation to committee re same (.3).


23352751 3/8/2019   Review (.3) and respond to (.2) support team               1.00   Gibbs, Jenifer G.
                    communications; review case information and
                    court procedures (.5).


23356101 3/8/2019   Conduct research re: (redacted) (2.6); draft               4.40   Khani, Kavon M.
                    client memorandum re: same (1.8).


23346106 3/8/2019   Review draft of Committee motion to intervene              0.80   Liles, James
                    in FERC proceeding (.3); review relevant FERC
                    procedural regulations (.3); call w/ K. Aitelaj
                    re draft motion to intervene (.2).


23356416 3/8/2019   Review relevant pleadings (.6) and revise                  2.00   Nolan, Michael D.
                    motion to intervene (1.4).


23354331 3/8/2019   Draft UCC reply brief in support of debtors'               6.80   Orengo, Luis E.
                    motion for preliminary injunction (2.7); review
                    transcript from 2/27 hearing (.5); discussions
                    with E. Dexter regarding edits to UCC reply
                    brief in support of preliminary injunction
                    (.5); incorporate edits/comments into reply
                    brief (2.9); correspond w/ K. Aitelaj regarding
                    FERC citation (.2).


23354383 3/8/2019   Review PI reply brief.                                     0.50   Stone, Alan J.


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23387117 3/8/2019   Review (1.3) and revise (1.6) research                     5.70   Vora, Samir
                    regarding (redacted); review (.9) and revise
                    (1.9) tort claim and criminal exposure
                    memoranda.


23344676 3/8/2019   Revise Opposition to PE Motion per comments                5.80   Wolf, Julie M.
                    from D. Dunne (2.2); comms with E. Dexter re
                    same (.3); review UST Objection to PE Motion
                    (.7); revise Opposition to PE Motion per UST
                    Objection (1.1); correspond w/ with litigation
                    support team re electronic filing and delivery
                    of paper copies of Opposition to chambers per
                    Court order (.9); prepare materials for 3/13
                    hearing on PE Motion and Oppositions thereto
                    (.6).


23341994 3/9/2019   Review (.6) and comment on (.4) draft                      1.00   Bice, William B.
                    intervention motion for NextEra FERC
                    proceeding.


23357945 3/9/2019   Review revisions to public entities' committee             0.20   Dexter, Erin E.
                    motion and FERC adversary proceeding reply.


23742812 3/9/2019   Review edits to public entities' committee                 0.20   Dexter, Erin E.
                    motion


23341963 3/9/2019   Review (.7) and comment on (.4) FERC                       1.10   Khalil, Samuel A.
                    intervention memo.


23356110 3/9/2019   Conduct legal research re:(redacted) (1.3);                3.40   Khani, Kavon M.
                    continue drafting client memorandum re: same
                    (1.9); correspondence w/ J. Wolf re same (.2).


23360467 3/9/2019   Review pleadings re FERC adversary and                     1.30   Kreller, Thomas R.
                    preliminary injunction motion (.7); revise
                    reply in support of preliminary injunction
                    motion (.6).


23360601 3/9/2019   Review and revise opposition to public entity              1.40   Kreller, Thomas R.
                    committee motion




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23344649 3/9/2019    Revise Opposition to PE Motion per comments and            1.90   Wolf, Julie M.
                     edits from T. Kreller.


23342006 3/10/2019   Review (.3) and comment on (.3) draft adversary            0.70   Bice, William B.
                     brief; correspondence with D. Dunne and S.
                     Khalil re adversary proceeding and FERC
                     intervention (.1).


23357955 3/10/2019   Review (.4) and edit (.8) reply in support of              2.40   Dexter, Erin E.
                     PI in FERC adversary proceeding; correspondence
                     regarding same (.4); revise opposition to
                     public entities committee motion (.6) and
                     correspondence re same (.2).


23343296 3/10/2019   Review case law re (redacted).                             0.50   Koch, Matthew


23360465 3/10/2019   Further review pleadings re FERC adversary and             2.80   Kreller, Thomas R.
                     preliminary injunction motion (1.2); edit reply
                     in support of preliminary injunction motion
                     (1.3); correspondence w/ L. Orengo re same
                     (.3).


23356485 3/10/2019   Review (.4) and comment on (.6) FERC adversary             1.00   Nolan, Michael D.
                     reply.


23354303 3/10/2019   Revise UCC reply brief per T. Kreller                      2.40   Orengo, Luis E.
                     edits/comments (2.2); correspond w/ E. Dexter
                     re same (.2).


23384060 3/10/2019   Review public entities motion.                             0.30   Stone, Alan J.


23387125 3/10/2019   Review debtors' draft opposition to appointment            1.00   Vora, Samir
                     of public entity committee.


23344650 3/10/2019   Communications with E. Dexter re joinder to                0.20   Wolf, Julie M.
                     Opposition to PE Motion.


23388004 3/11/2019   Revisions to draft motion to intervene in FERC             5.50   Aitelaj, Kamel Malik
                     proceeding (5.0); coordinate with J. Liles re
                     same (.4); call with same re same (.1).




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23377116 3/11/2019   Review correspondence re opposition to motion              4.00   Ayandipo, Abayomi A.
                     for appointment of Official Committee of Public
                     Entities (.6); prepare litigation team work
                     materials re related case law, statutes and
                     pleadings regarding motion to appoint PE
                     Committee (3.4).


23375778 3/11/2019   Review revised draft opposition to public                  0.40   Denny, Daniel B.
                     entities committee motion (.3); teleconference
                     with J. Wolf regarding revised draft opposition
                     to public entities committee motion (.1).


23388603 3/11/2019   Finalize public entities motion for filing                 4.50   Dexter, Erin E.
                     (1.0) and correspondence regarding filing and
                     service of same (1.3); correspondence regarding
                     edits to reply in support of FERC PI (2.2).


23365095 3/11/2019   Review district court opinion on reference                 0.60   Dunne, Dennis F.
                     (.4); review indications on merits re same
                     (.2).


23363920 3/11/2019   Per J. Wolf, assist with preparation of key                7.70   Fiscina, Brandon
                     materials for 3/13 hearing (6.7); assist D.
                     McCracken with collection of UCC Opposition
                     filing to be served and preparation of
                     documents to be sent out (1).


23386805 3/11/2019   Conduct research (3.9) and draft client                    7.20   Khani, Kavon M.
                     memorandum (3.3) re: (redacted).


23387185 3/11/2019   Attend telephonic status conference re FERC PI             0.50   Kreller, Thomas R.
                     hearing.


23388492 3/11/2019   Email from W. Bice, re: comments on motion to              1.20   Liles, James
                     intervene in FERC matter (.2); email from K.
                     Aitelajre same (.1); call w/ K. Aitelaj re open
                     issues i/c/w draft motion to intervene (.3);
                     email from K. Aitelaj re revised draft of
                     motion (.1); review (.2) and comment on (.2)
                     revised draft motion to intervene; call w/ K.
                     Aitelaj re same (.1).




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23352782 3/11/2019   Review debtors' response to FERC's objection to            1.50   Mandel, Lena
                     preliminary injunction (.5); review (.3) and
                     markup (.7) UCC's response to same.


23352789 3/11/2019   Review UCC's opposition to Public Entity                   0.40   Mandel, Lena
                     Committee.


23385537 3/11/2019   Review Debtors' FERC adversary reply brief                 2.00   Nolan, Michael D.
                     (1.2) and internal discussion of same (.8).


23395943 3/11/2019   Review Debtors' reply brief in support of                  5.10   Orengo, Luis E.
                     motion for preliminary injunction (3.4); draft
                     email regarding debtors' reply brief (.3);
                     email with K. Aitelaj regarding 108(a) issue
                     (.1);; email E. Dexter regarding 108(a) issue
                     (.2);; draft email to committee regarding
                     district court's denial of withdrawal of
                     reference (.7); summarize debtor's comments to
                     UCC reply brief (.4).


23457355 3/11/2019   Review J. Montali 2001 decision disbanding                 0.70   Vora, Samir
                     official committee of ratepayers.


23379250 3/12/2019   Correspond with E. Dexter re reply brief for               0.60   Bice, William B.
                     FERC adversary (.2); discuss reply brief for
                     preliminary injunction motion with J. Nolan
                     (Weil) and E. Dexter (.4).


23379256 3/12/2019   Review (.4) and comment on (.2) revised FERC               1.00   Bice, William B.
                     intervention pleading; correspond with A.
                     Leblanc, M. Nolan, and E. Dexter) re status of
                     Committee intervention (.4).


23388672 3/12/2019   Finalize FERC reply brief (2.9); discuss same              3.60   Dexter, Erin E.
                     with J. Nolan (Weil) and W. Bice (.4);
                     correspondence w/ A. Ayandipo re same (.3).


23384260 3/12/2019   Review (1.8) and revise (2.3) solvent debtor               4.10   Duke, Julia C.
                     memo.




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23386837 3/12/2019   Conduct further legal research re: (redacted)               5.40   Khani, Kavon M.
                     (2.1); further revise client memorandum re:
                     same (2.4); correspondence w/ J. Wolf re same
                     (.3); review case management order from Judge
                     Montali i/c/w same (.6).


23387386 3/12/2019   Review (.4) and revise (.6) reply in support of             1.00   Kreller, Thomas R.
                     preliminary injunction motion.


23388536 3/12/2019   Email from W. Bice re: comments to revised                  0.30   Liles, James
                     draft of FERC motion to intervene (.2); emails
                     w/ W. Bice and M. Nolan re same # (.1).


23378174 3/12/2019   Review case management order i/c/w hearing                  5.30   Wolf, Julie M.
                     agenda (.1); summarize same for T. Kreller
                     (.2); discuss Ratepayer Committee Motion with
                     E. Dexter and M. Koch (.2); conduct legal
                     research re: (redacted) (4.8).


23387920 3/13/2019   Revisions to draft motion to intervene in FERC              1.80   Aitelaj, Kamel Malik
                     proceeding (1.4); coordinate with M. Nolan and
                     J. Liles re same (.4).


23379549 3/13/2019   Call with M. Nolan on intervention proceedings              0.60   Bice, William B.
                     pleadings (.4); review revised intervention
                     pleading (.2).


23388755 3/13/2019   Final edits to reply brief (.7) and                         1.70   Dexter, Erin E.
                     coordination ref filing of same (1).


23363941 3/13/2019   Prepare UCC Reply Brief in Support of                       0.50   Fiscina, Brandon
                     Preliminary Injunction and related materials
                     for service.


23386875 3/13/2019   Review (.8) and research (1.3) client                       3.30   Khani, Kavon M.
                     memorandum re: (redacted); conduct additional
                     research re: same (1.2).


23389283 3/13/2019   Call with M. Nolan and K. Aitelaj re: motion to             0.40   Liles, James
                     intervene in FERC proceedings.




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23385567 3/13/2019   Call w/ J. Liles and K. Aitelaj re: motion to               2.00   Nolan, Michael D.
                     intervene in FERC proceedings (.4); draft FERC
                     petition (1.6).


23395948 3/13/2019   Email regarding edits to reply brief (.2);                  0.90   Orengo, Luis E.
                     finalize same (.2); coordinate filing (.2); and
                     service(.3) of reply brief.


23457366 3/13/2019   Review (.8) and revise (2.4) latest versions of             3.20   Vora, Samir
                     criminal exposure and civil liabilities
                     memoranda.


23387946 3/14/2019   Finalize for filing motions to intervene in                 2.80   Aitelaj, Kamel Malik
                     FERC proceedings (NextEra and Exelon) (1.6);
                     corr. with Y. Ayandipo re same (.7); coordinate
                     with K. Aitelaj and M. Nolan re: filing of same
                     (.5).


23377132 3/14/2019   Finalize motion to intervene for filing (2.1)               3.50   Ayandipo, Abayomi A.
                     and coordinate service on notice parties (.5);
                     review correspondence re same (.9).


23391630 3/14/2019   Research (redacted) (2.2); draft memo re: same              4.80   Benz, Stephen
                     for S. Vora and J Wolf (2.6).


23379634 3/14/2019   Correspondence with Weil team on filing of                  0.30   Bice, William B.
                     intervention at FERC.


23386235 3/14/2019   Review strategy re FERC intervention and                    0.70   Dunne, Dennis F.
                     rehearing.


23386893 3/14/2019   Conduct further research re: (redacted) (.7);               2.80   Khani, Kavon M.
                     draft memorandum re: (redacted) (1.9); discuss
                     same with J. Wolf (.2).




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23389346 3/14/2019   Corr.w/ K. Aitelaj re: administrative process              2.00   Liles, James
                     for FERC electronic filings (.4); coordinate
                     with K. Aitelaj and M. Nolan re: filing of FERC
                     motions to intervene (.5); further research re:
                     (redacted) (.4) and correspond w/ K. Aitelaj re
                     same (.2); correspond w/ litigation support
                     team re: procedures for service (.1);
                     correspondence w/ T. Kreller re: edits to FERC
                     motions (.3); email exchange with T. Kreller
                     and W. Bice re same (.1).


23379604 3/15/2019   Correspond with Weil re intervention (.1);                 0.20   Bice, William B.
                     correspond with M. Nolan and A. Leblanc on
                     Exelon intervention (.1).


23384617 3/15/2019   Meet with litigation team re open issues and               1.00   Duke, Julia C.
                     research topics (.5); meet with UCC team re
                     same (.5).


23386268 3/15/2019   Review possible legislative action re inverse              1.10   Dunne, Dennis F.
                     condemnation (.4); review constitutional issues
                     re same (.7).


23423503 3/19/2019   Review motion to dismiss Camp Fire adversary.              0.40   Koch, Matthew


23457383 3/19/2019   Review and analyze debtors' motion to dismiss              3.10   Vora, Samir
                     Camp-Fire related adversary proceeding (1.0);
                     review (1.7) and finalize (.4) memorandum
                     regarding PG&E criminal exposure liability.


23408796 3/19/2019   Review Debtors' hedging motion and related                 5.60   Wolf, Julie M.
                     declaration (1.1); draft objection to hedging
                     motion (1.4); discuss same with M. Koch (.1);
                     conduct research re: (redacted) (2.1); review
                     communications and diligence requests between
                     FTI and Alix (.9).


23419843 3/19/2019   Research (redacted) (,9): incorporate                      2.70   Wu, Julia S.
                     (redacted) into memo (.4); draft memo regarding
                     (redacted) (.5); incorporate comments and
                     revisions to memo regarding (redacted) (.9).




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23419859 3/19/2019   Draft memo regarding debtor's motion to dismiss            1.40   Wu, Julia S.
                     class action complaint against PG&E (.5);
                     address comments and revisions to memo
                     regarding potential proof of claim filed by
                     potential class (.9).


23422501 3/20/2019   Review materials regarding request for judicial            0.70   Dexter, Erin E.
                     notice.


23419890 3/20/2019   Research case law regarding (redacted) (3.0);              7.40   Wu, Julia S.
                     further edit (2.1) and revise (.7) memo;
                     research (redacted) (1.0); edit memo re PG&E’s
                     motion to dismiss class action (.5); discuss
                     with K. Pierucci effects of an automatic stay
                     expiration (.1).


23419913 3/21/2019   Incorporate comments to memo re class action               7.20   Wu, Julia S.
                     proof of claim in bankruptcy (2.6); discuss
                     with K. Pierucci re same (.2); draft memo
                     summarizing PG&E's motion to dismiss an
                     adversary proceeding (2.1); research
                     (redacted) (2.3).


23408991 3/22/2019   Prepare materials re D. Friske deposition                  2.50   Ayandipo, Abayomi A.
                     transcripts and related exhibits.


23422624 3/22/2019   Correspondence regarding Debtors' motion to                0.80   Dexter, Erin E.
                     dismiss Herndon (Camp Fire) class action (.4);
                     meet w/ J. Duke re judicial notice (.4).


23457394 3/22/2019   Review Debtors' motion to dismiss or stay                  4.10   Vora, Samir
                     Herndon class action (.4); review preliminary
                     comments to motion summarizing same (.7);
                     summarize submissions with respect to PGE
                     probation hearing (2); research regarding
                     (redacted) (1).




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23409105 3/22/2019   Review PG&E response to second order to show               2.80   Wolf, Julie M.
                     cause (.5); review CPUC response re same (.4);
                     review U.S. attorney response re same (.2);
                     summarize responses to second order to show
                     cause (.8); review press release, agenda, and
                     materials for April 3, 2019 meeting of
                     Commission on Catastrophic Wildfire Cost and
                     Recovery (.9).


23419920 3/22/2019   Research case law on (redatced) (1); revise                2.60   Wu, Julia S.
                     draft memo summarizing PG&E's motion to dismiss
                     class action adversary proceeding (.8);
                     research (redatced) (.6); discuss memo with K.
                     Pierucci (.2).


23419938 3/23/2019   Research on (redacted) (2.9); summarize PG&E's             4.50   Wu, Julia S.
                     motion to dismiss class action adversary
                     proceeding (1.1); review memo (.3); comms w/ M.
                     Koch re show cause pleadings (.2). (redacted)


23422701 3/24/2019   Edit Committee memo on Debtors' motion to                  2.30   Dexter, Erin E.
                     dismiss Herndon (Camp Fire) class action.


23425469 3/24/2019   Revise memorandum re: Herndon motion to dismiss            3.20   Pierucci, Katherine R.
                     (2.5); research redacted) (.7).


23457399 3/24/2019   Review memorandum regarding Debtors' motion to             1.80   Vora, Samir
                     dismiss Herndon complaint.


23455013 3/25/2019   Correspondence regarding memo on MTD Herndon               1.10   Dexter, Erin E.
                     class action complaint.


23444791 3/25/2019   Incorporate edits into memo re PG&E's motion to            0.40   Wu, Julia S.
                     dismiss class action lawsuit against PG&E.


23444123 3/27/2019   Collect materials re Corrected Declaration of              2.80   Fiscina, Brandon
                     T. Kreller (.5); prepare service re same (1.8);
                     compile (.4) and circulate (.1) hard copy
                     deposition materials attorneys.




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23455009 3/29/2019   Conference w/ D. Denny re litigation support              0.90   Kreller, Thomas R.
                     and case management (.1); conference w/ D.
                     Denny and J. Weber re mass tort issues (.4);
                     emails w/ D. Denny and J. Weber re mass tort
                     issues (.4).


23446751 3/29/2019   Communication with FTI and Milbank teams re:              1.20   Wolf, Julie M.
                     hedging motion objection.




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23305752 3/1/2019      Review draft Committee meeting minutes.                      0.50   Denny, Daniel B.


23325779 3/1/2019      Review docket and update calendar of critical                0.50   Franzoia, Rachel
                       dates and deadlines.


23328929 3/1/2019      Review docket. (.3); update task list (.4);                  1.00   Koch, Matthew
                       communications w/ T. Kreller, G. Bray, and P.
                       Aronzon re workstreams (.3).


23314503 3/1/2019      Review and update pleadings database and                     0.60   Thomas, Charmaine
                       distribute filings to team.


23343024 3/4/2019      Update task list (.7); review service pleadings              0.80   Koch, Matthew
                       (.1).


23346151 3/4/2019      Update pleadings database.                                   0.60   Thomas, Charmaine


23329620 3/5/2019      Review updated task list.                                    0.10   Denny, Daniel B.


23360496 3/5/2019      Review court filings and docket updates (.6);                0.90   Franzoia, Rachel
                       update calendar of critical dates and deadlines
                       (.3).


23360532 3/6/2019      Review filings and docket entries (.3); update               0.50   Franzoia, Rachel
                       calendar (.2).


23346203 3/6/2019      Update pleadings database (1.6) and distribute               1.70   Thomas, Charmaine
                       filings to team (.1).


23360556 3/7/2019      Review filings (.2) and update calendar per                  0.40   Franzoia, Rachel
                       same (.2).


23343212 3/7/2019      Emails w/ D. Dunne re committee administration               1.10   Koch, Matthew
                       issues (.3); update task list (.2); coordinate
                       work streams (.2); calendar critical dates
                       (.2); draft emails to C. Price re same (.2).


23338406 3/7/2019      Correspond with M. Koch, C. Price and D. Denny               0.20   Mandel, Lena
                       re administrative matters.




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23356261 3/7/2019      Revise task list (.1); coordinate work streams              0.70   Price, Craig Michael
                       (.2) correspondence with M. Koch re same (.1);
                       review calendar of critical dates (.2); draft
                       emails to M. Koch re same (.1).


23340733 3/8/2019      Review task list and work streams (.1);                     0.60   Denny, Daniel B.
                       teleconference with working group re same (.4);
                       email exchanges with litigation support re
                       filing and service of pleading (.1).


23360562 3/8/2019      Review filings and docket entries (1.7); update             2.50   Franzoia, Rachel
                       calendar (.8).


23343274 3/8/2019      Update task list (.1); docket notice of                     0.40   Koch, Matthew
                       continued hearing (.1); emails w/ T. Kreller re
                       same (.1); update case calendar (.1).


23356309 3/8/2019      Review task list (.2); emails w/ T. Kreller re              0.70   Price, Craig Michael
                       open issues (.1); review case calendar (.4).


23346476 3/8/2019      Review conflicts material (.3) and create                   1.40   Thomas, Charmaine
                       additional conflict binders (1.1).


23390002 3/11/2019     Review docket entries and filings (.3); update              0.60   Franzoia, Rachel
                       calendar (.3).


23388610 3/11/2019     Update task list.                                           0.20   Koch, Matthew


23387394 3/11/2019     Review and analyze new motions re STIP (.6),                2.40   Kreller, Thomas R.
                       tax payments (.4), hedging program (.4) and
                       Butte settlement (.6) and corr. with team re
                       same (.4).


23380079 3/12/2019     Further correspondence w/ Clerk's Office re                 1.00   Brewster, Jacqueline
                       modification to court docket (.3); review
                       docket re new filings (.3) and update pleading
                       database (.4).


23388719 3/12/2019     Coordinate work streams (.8); review case                   1.50   Koch, Matthew
                       management order (.4); correspondence w/ T.
                       Kreller and C. Thomas re same (.3).


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23377998 3/12/2019   Review case management order (.4);                         0.70   Price, Craig Michael
                     correspondence w/ T. Kreller and C. Thomas re
                     same (.3).


23380695 3/12/2019   Review conflicts search list (.6) and create               2.20   Thomas, Charmaine
                     conflicts binder (1.6).


23392650 3/12/2019   Organize case documents and materials.                     0.80   Weber, Jordan A.


23380093 3/13/2019   Review court docket re recent filings (.2);                0.40   Brewster, Jacqueline
                     update pleadings files accordingly (.2).


23386221 3/13/2019   Confs. with C. Jacobs re Wamco (.3); review                0.50   Dunne, Dennis F.
                     same and consequences (.2).


23388809 3/13/2019   Review docket (.2); update task list (.2);                 0.60   Koch, Matthew
                     review PG&E 8-k (.2).


23380719 3/13/2019   Review docket re filings (.3); update pleadings            1.10   Thomas, Charmaine
                     database (.8).


23389946 3/14/2019   Review docket entries and filings (.6); update             0.90   Franzoia, Rachel
                     calendar (.3).


23388866 3/14/2019   Communications w/ G. Bray and S. Starr (FTI) re            0.70   Koch, Matthew
                     information sharing protocols (.5); update task
                     list (.2).


23377851 3/14/2019   Review recent pleadings filed in case.                     0.80   Price, Craig Michael


23748739 3/14/2019   Retrieve and distribute precedent hedging and              0.80   Thomas, Charmaine
                     trading motions.


23386275 3/15/2019   Confs. with S. Karotkin (Weil) re case                     0.30   Dunne, Dennis F.
                     developments.


23390068 3/15/2019   Review filings and docket entries (.5); update             0.80   Franzoia, Rachel
                     case calendar (.3).




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23379104 3/15/2019   Review task list (.3) and critical dates list             0.80   Mandel, Lena
                     (.2); conference call with team re outstanding
                     matters (.3).


23380802 3/15/2019   Update pleadings database.                                0.90   Thomas, Charmaine


23389002 3/16/2019   Update critical dates on calendar.                        0.20   Koch, Matthew


23386300 3/18/2019   Review creditors willing to replace Wamco (.3);           0.50   Dunne, Dennis F.
                     corr. with A. Vara (UST) re same (.2).


23390046 3/18/2019   Review filings and docket entries (.6); update            0.90   Franzoia, Rachel
                     case calendar (.3).


23423495 3/18/2019   Update case calendar.                                     0.30   Koch, Matthew


23390186 3/19/2019   Review filings and docket entries (.5); update            0.90   Franzoia, Rachel
                     calendar (.4).


23411855 3/20/2019   Review recent filings (.2); update same on                0.40   Brewster, Jacqueline
                     internal drive (.2).


23404948 3/20/2019   Conference with R. Franzoia regarding work in             1.40   Denny, Daniel B.
                     progress (.2); revise litigation support
                     memorandum (.7); review and analyze recent PGE
                     filings (.5).


23754251 3/20/2019   Update case calendar.                                     0.70   Franzoia, Rachel


23423574 3/20/2019   Provide docket update (.2); update task list              1.60   Koch, Matthew
                     (.4); update critical dates calendar (.5);
                     review docket (.2); emails w/ J. Weber re same
                     (.1); coordinate work streams (.2).


23412283 3/20/2019   Update pleadings database (.2); review (.2) and           0.70   Thomas, Charmaine
                     assemble (.3) same.


23423596 3/21/2019   Update task list (.3); coordinate work streams            0.60   Koch, Matthew
                     (.3).




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23751624 3/21/2019   Emails w/ M. Koch re docket updates.                       0.10   Weber, Jordan A.


23754257 3/22/2019   Update case calendar.                                      1.60   Franzoia, Rachel


23423620 3/22/2019   Emails w/ T. Kreller re case management issues             0.90   Koch, Matthew
                     (.3); update task list (.6).


23755096 3/22/2019   Emails w/ C. Price re case management issues.              0.30   Kreller, Thomas R.


23423637 3/23/2019   Call w/ E. Dexter, P. Milender, and S. Vora re             0.30   Koch, Matthew
                     critical dates and work streams.


23454527 3/25/2019   Conference call with UST re fee examiner issues            0.70   Kreller, Thomas R.
                     (.4); review notes re same (.3).


23460310 3/25/2019   Review case updates and new docket alerts.                 0.40   Weber, Jordan A.


23754830 3/26/2019   T/c w/ M. Koch re open items (.3); comms w/ C.             0.60   Bray, Gregory A.
                     Price re open items (.3).


23755100 3/26/2019   Conf. w/ M. Koch re scheduling issues (.2);                0.30   Dunne, Dennis F.
                     comms w/ C. Price re scheduling issues (.1).


23459507 3/26/2019   Conference call with G. Bray to discuss various            0.50   Franzoia, Rachel
                     work streams.


23459517 3/26/2019   Review filings and docket entries (.5); update             0.80   Franzoia, Rachel
                     calendar (.3).


23432544 3/26/2019   T/c with G. Bray re open items (.3);                       1.30   Koch, Matthew
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re scheduling issues (.2); update task list
                     (.6); conf. w/ L. Mandel re matters scheduled
                     for 4/10 hearing (.2).


23439470 3/26/2019   Prepare for (.2) and call (.5) w/ G. Bray re               1.50   Price, Craig Michael
                     strategy; update task list (.5); t/c w/ T.
                     Kreller and M. Koch re next steps (.3).




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23439515 3/26/2019   Communications w/ G. Bray re open items (.3);               1.30   Price, Craig Michael
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re scheduling issues (.2); update task list
                     (.6); conference w/ L. Mandel re matters
                     scheduled for 4/10 hearing (.2).


23447195 3/26/2019   Update pleadings database and case docs. (.8);              1.20   Thomas, Charmaine
                     review docketing and case logistics (.4).


23459950 3/27/2019   Review filings and docket entries (.5); update              0.70   Franzoia, Rachel
                     calendar (.2).


23439479 3/28/2019   Review committee website issues.                            0.40   Price, Craig Michael


23754418 3/29/2019   Emails w/ M. Koch re task list (.1); review                 1.40   Denny, Daniel B.
                     updated task list and case calendar (.5);
                     revise draft task list (.5); conference with T.
                     Kreller regarding litigation support and case
                     management (.1); email exchange with G. Bray
                     hearing transcript and strategic issues (.2).


23454971 3/29/2019   Emails w/ M. Koch re Working Group List.                    0.10   Dunne, Dennis F.


23459511 3/29/2019   Review filings and docket entries (.6); update              0.90   Franzoia, Rachel
                     calendar (.3).


23457956 3/29/2019   Emails w/ D. Denny re task list (.1); emails w/             0.70   Koch, Matthew
                     C. Price and D. Dunne re working group list
                     (.1); manage work streams (.5).


23455172 3/29/2019   Update key parties list (.3); t/c with FTI re               1.20   Price, Craig Michael
                     same (.3); t/c with Epiq re website (.2);
                     review docket for filings (.4).




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23321086 3/1/2019   Conferences with UCC members re cases and UCC              0.50    Aronzon, Paul S.
                    issues.


23739346 3/1/2019   Review (.2) and revise (.3) various UCC memos.             0.50    Aronzon, Paul S.


23740183 3/1/2019   Revise info agent memo for Committee.                      0.20    Koch, Matthew


23320423 3/3/2019   Review developments and options re consultant              0.70    Dunne, Dennis F.
                    (.4); review options and conditions re website
                    consultant (.3).


23325646 3/3/2019   Legal research re (redacted) (2.3); draft memo             6.70    Franzoia, Rachel
                    to Committee re same (4.4).


23346129 3/4/2019   Calls with various UCC members re case issues.             0.70    Aronzon, Paul S.


23740237 3/4/2019   Review (.3) and revise (.3) UCC memos.                     0.60    Aronzon, Paul S.


23342028 3/4/2019   Review analysis of Axiom retention (.4) and                0.70    Khalil, Samuel A.
                    correspondence to UCC re: same (.3).


23740910 3/5/2019   Revise draft memo for Committee re public                  2.80    Denny, Daniel B.
                    entity committee motion.


23338773 3/5/2019   Review and finalize for circulation to                     0.40    Dunne, Dennis F.
                    committee memo and recommendation re Axiom.


23343098 3/5/2019   Revise UCC fiduciary duty memo for Committee               0.70    Koch, Matthew
                    (.4); t/c with C. Price re same re same (.3).


23327929 3/5/2019   Draft memo to Committee re: Butte County                   1.60    Milender, Parker
                    settlement motion.


23325882 3/5/2019   Draft omnibus Committee fiduciary duty memo.               1.50    Pierucci, Katherine R.


23355751 3/5/2019   Review (.4) and revise (.4) fiduciary duty                 1.10    Price, Craig Michael
                    memo; o/c with M. Koch re same (.3).


23346131 3/6/2019   Review memos to be distributed to Committee.               1.60    Aronzon, Paul S.



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23332502 3/6/2019    Review motions to be summarized (.4); review               1.50    Mandel, Lena
                     (.1) and revise (1.0) memo to the UCC re
                     matters to be heard on 3/27.


23333888 3/6/2019    Call w/ Committee member and T. Kreller re:                0.40    Milender, Parker
                     trading order.


23346134 3/7/2019    Conferences with UCC members re various case               0.90    Aronzon, Paul S.
                     issues (.2); review and revise UCC memos (.7).


23355493 3/7/2019    Review advisor memos and recommendations to UCC            1.40    Dunne, Dennis F.
                     re various motions and requests (1.2); email
                     committee re same (.2).


23356273 3/7/2019    Review hedging motion (.5); revise memo to                 1.10    Price, Craig Michael
                     Committee re same (.6).


23387191 3/7/2019    Participate in standing UCC call (1.4);                    2.50    Vora, Samir
                     preparation for same (1.1).


23346066 3/8/2019    Conferences with UCC members re various case               1.60    Aronzon, Paul S.
                     issues.


23741725 3/8/2019    Review (.2) and revise (.2) various UCC memos.             0.40    Aronzon, Paul S.


23343273 3/8/2019    Revise omnibus committee memo (.5); revise                 2.00    Koch, Matthew
                     committee update email (.6); draft UCC update
                     email (.6); draft update Committee email (.3).


23356312 3/8/2019    Review omnibus committee memo (.4); review (.6)            1.80    Price, Craig Michael
                     and revise (.6) committee update email; revise
                     updated Committee email (.2).


23341962 3/9/2019    Review and comment on update email to UCC                  0.50    Khalil, Samuel A.
                     concerning DIP objections by TCC and FERC
                     intervention.


23355685 3/10/2019   Draft memo to Committee re ratepayer committee,            0.40    Dunne, Dennis F.
                     Debtors' position re TCC objection to DIP and
                     recommendations re same.



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23343593 3/10/2019   Draft UCC update email.                                    0.30   Koch, Matthew


23383752 3/11/2019   Conferences with UCC members re various case               0.50   Aronzon, Paul S.
                     issues.


23743601 3/11/2019   Review (.3) and revise (.2) UCC memos.                     0.50   Aronzon, Paul S.


23388631 3/11/2019   Revise omnibus committee memo (.3);                        0.60   Koch, Matthew
                     communications w/ M. Shah and E. Moser re
                     omnibus Committee memo (.3).


23352781 3/11/2019   Review (.1) and revise (.4) revised memo to                0.50   Mandel, Lena
                     committee re 3/27 hearing.


23377787 3/11/2019   Revise omnibus committee memo.                             1.10   Price, Craig Michael


23377790 3/11/2019   Communications w/ M. Shah and E. Moser re                  0.30   Price, Craig Michael
                     omnibus Committee memo.


23377791 3/11/2019   Revise agenda for UCC advisor call.                        0.30   Price, Craig Michael


23752379 3/11/2019   Review weekend update to Committee re: DIP                 0.40   Wolf, Julie M.
                     Motion and Rate Payer Committee Motion.


23383870 3/12/2019   Conferences with UCC members re various case               0.40   Aronzon, Paul S.
                     issues.


23383946 3/13/2019   Conferences with UCC members re various case               0.90   Aronzon, Paul S.
                     issues (.3); review and revise UCC memos (.6).


23748463 3/13/2019   Review (.8) and revise (.6) UCC memos.                     1.40   Bray, Gregory A.


23386945 3/13/2019   Review materials for 3/13 Committee call.                  0.70   Khani, Kavon M.


23388784 3/13/2019   Revise omnibus memo.                                       1.00   Koch, Matthew


23383876 3/14/2019   Conferences with UCC members re various case               3.40   Aronzon, Paul S.
                     issues (2.5); review (.4) and revise (.5)
                     various UCC memos.



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23377067 3/14/2019   Revise Wildfire Liability Memo for circulation             2.10    Capolino, Margherita Angela
                     to Committee.


23389150 3/14/2019   Participate in UCC call (1.5); review materials            2.10    Leblanc, Andrew M.
                     in preparation for same (.6).


23383879 3/15/2019   Conferences with UCC members re various case               0.30    Aronzon, Paul S.
                     issues.


23748829 3/15/2019   Review (.3) and revise (.8) various UCC memos.             1.10    Bray, Gregory A.


23374767 3/15/2019   Draft memo to Committee re: stay enforcement.              1.50    Milender, Parker


23385088 3/18/2019   Review (.3) and revise (.5) memo to the UCC re             3.20    Mandel, Lena
                     stay enforcement motion; review (.1) and revise
                     (.3) memo to the UCC re motion to lift the
                     stay; review (.4) and revise (1.6) Epiq
                     services agreement.


23755089 3/19/2019   Prepare memo to the Committee summarizing                  1.20    Franzoia, Rachel
                     Debtors' retention applications.


23391881 3/19/2019   Revise memorandum to Committee re: proof of                2.90    Pierucci, Katherine R.
                     claims.


23429255 3/19/2019   Research re: redact (.5); revise memorandums               1.30    Pierucci, Katherine R.
                     for Committee re same (.8).


23754250 3/20/2019   Prepare memos to Committee on retention apps               7.90    Franzoia, Rachel
                     (5.5) and TCC reimbursement motion (2.4).


23423569 3/20/2019   Draft update email to UCC (.4); draft email to             1.00    Koch, Matthew
                     UCC re 3/21 call (.6).


23429259 3/20/2019   Research procedures for (redacted) (1.0);                  3.20    Pierucci, Katherine R.
                     revise memorandum re: (redacted) (2.1); discuss
                     w/ J. Wu effects of an automatic stay
                     expiration (.1).




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23754505 3/21/2019   Draft memo for committee regarding approval of               0.70   Bice, William B.
                     Enel stipulation.


23754255 3/21/2019   Prepare memos to Committee on retention apps                 4.30   Franzoia, Rachel
                     (2.1) and TCC reimbursement motion (2.2).


23405254 3/21/2019   Participate in client call re: wildfire issues               2.00   Leblanc, Andrew M.
                     (.8); prepare for same (1.2).


23429262 3/21/2019   Research (redacted) (1.3); revise memorandum                 3.50   Pierucci, Katherine R.
                     re: class proof of claims (2); discuss w/ J. Wu
                     on comments to memo re (redacted) (.2).


23411603 3/22/2019   Conferences with UCC members re various case                 0.30   Aronzon, Paul S.
                     issues.


23754944 3/22/2019   Review (.3) and comment on memorandum to the                 0.80   Beebe, James M.
                     UCC re: STIP motion (.4); review emails re:
                     draft agenda for UCC and debtors meeting (.1).


23754258 3/22/2019   Review and summarize TCC reimbursement memo                  1.40   Franzoia, Rachel
                     (1.1); calls re: same (.3).


23754261 3/22/2019   Draft meeting agendas.                                       0.10   Khani, Kavon M.


23405163 3/22/2019   Draft memo to Committee re: motion for real                  1.60   Milender, Parker
                     estate procedures.


23428978 3/22/2019   Revise memo for committee re: class action                   4.30   Pierucci, Katherine R.
                     proof of claims (2); revise memo re: motion to
                     dismiss Herndon class action (2.1); discuss
                     memo w/ J. Wu (.2).


23754946 3/22/2019   Review committee memo re: STIP (.6); edit                    1.20   Shah, Manan
                     committee memo (.6).


23754264 3/23/2019   Prepare memos on retention apps (.4) and TCC                 0.90   Franzoia, Rachel
                     reimbursement motion (.5).


23754265 3/25/2019   Edit UCC memos.                                              0.40   Aronzon, Paul S.



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23754949 3/25/2019   Review (.5) and comment (.6) on committee memo             1.10   Beebe, James M.
                     re: STIP motion.


23755124 3/25/2019   Prepare memorandum for the UCC regarding the               5.00   Franzoia, Rachel
                     retention applications filed by the Debtors and
                     TCC (Weil, AP Services, Keller & Benvenutti,
                     Prime Clerk, Lazard, Jenner & Block, Baker &
                     Hostetler) (3.8); prepare memorandum for the
                     UCC regarding the TCC's motion regarding
                     reimbursement of member expenses (1.2).


23432335 3/25/2019   Revise omnibus memo for 3/28 UCC call.                     2.60   Koch, Matthew


23426996 3/25/2019   Review (.1) and revise (.4) memo to the UCC re             0.50   Mandel, Lena
                     matters scheduled for 4/10.


23439410 3/25/2019   Revise omnibus memo for 3/28 call (2.7); review            4.20   Price, Craig Michael
                     various related pleadings for committee memo
                     (1.2); review draft orders re same (.3).


23444111 3/25/2019   Review committee memo (.4); review STIP matters            1.20   Shah, Manan
                     re same (.7); correspondence w/ C. Skaliks re
                     STIP memo (.1).


23754952 3/26/2019   Review (.1) and send emails re: STIP memo to               0.40   Beebe, James M.
                     committee (.3).


23754807 3/26/2019   Review (.6) and comment on (.2) Milbank memo on            0.80   Bice, William B.
                     esVolta motion.


23754954 3/26/2019   Revise draft STIP memo (1.3); t/c with M.                  1.60   Denny, Daniel B.
                     Berkin (FTI) re: comments to draft STIP memo
                     (.3).


23459893 3/26/2019   Revise memorandum for the UCC regarding                    2.40   Franzoia, Rachel
                     retention applications filed by the Debtors and
                     the TCC.


23432542 3/26/2019   Revise omnibus memo for 3/28 call (2.8);                   3.70   Koch, Matthew
                     revise 3/28 omnibus committee memo (.9).




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23428547 3/26/2019   Review (.3) and revise (.9); memo to the UCC re           1.60    Mandel, Lena
                     matters scheduled for hearing on 4/10;
                     conference with C. Price and M. Koch re same
                     (.4).


23439475 3/26/2019   Draft omnibus memo for 3/28 call (1.8); revise            3.70    Price, Craig Michael
                     omnibus memo for 3/28 call (1.9).


23754957 3/27/2019   Attend UCC call re: STIP w/ FTI and Milbank               0.60    Beebe, James M.
                     Team (C. Skaliks).


23432555 3/27/2019   Revise omnibus memo.                                      0.60    Koch, Matthew


23455081 3/27/2019   Draft memo to committee re open items and                 5.20    Price, Craig Michael
                     upcoming hearing (1.7); revise same (.6);
                     review (.4) and edit (.7) FTI presentations;
                     prep email to committee re distribution (.9);
                     review memos to committee from litigation (.7);
                     t/c with M. Koch re emails to Committee (.2).


23457893 3/28/2019   Emails w/ C. Price re Committee distribution              0.20    Koch, Matthew
                     (.1); emails w/ J. Davies (Mizuho) re
                     scheduling (.1).


23439487 3/28/2019   Attend meeting with Mizuho (1.4); emails w/ M.            1.50    Price, Craig Michael
                     Koch re Committee distribution (.1).


23455173 3/29/2019   Draft memo to committee re procedures for                 2.50    Price, Craig Michael
                     reimbursement (.5); o/c with T. Kreller re same
                     (.2); draft response to TCC Committee's motion
                     (.8); draft email to committee re distribution
                     of materials (.8); o/c with D. Dunne re same
                     (.2).




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23343081 3/5/2019    Call w/ D. Griffith (Griffith law firm) re                    0.20   Koch, Matthew
                     vendor issues.


23346030 3/6/2019    Conferences with unsecured creditors re various               0.40   Aronzon, Paul S.
                     case issues.


23346313 3/8/2019    Participate in call with D. Botter and M.                     0.50   Leblanc, Andrew M.
                     Stamer (Akin) re PG&E.


23388724 3/12/2019   Calls w/ unsecured creditors re case status.                  0.80   Koch, Matthew


23411590 3/19/2019   Call with unsecured creditors re various case                 0.50   Aronzon, Paul S.
                     issues.


23423537 3/19/2019   Respond to inquiries from unsecured creditors.                0.40   Koch, Matthew


23411599 3/20/2019   Call with unsecured creditors re various case                 0.30   Aronzon, Paul S.
                     issues.


23411644 3/21/2019   Conferences with unsecured creditors re various               1.50   Aronzon, Paul S.
                     case issues (1.1); conferences with G. Bray re
                     status (.4).


23420095 3/21/2019   Attend meeting with ad hoc bond advisors and T.               0.70   Dunne, Dennis F.
                     Kreller.


23457431 3/21/2019   Meeting with Ad Hoc Group of Bondholders                      1.50   Vora, Samir
                     counsel (Akin) and FAs regarding case
                     strategies and diligence efforts.


23423628 3/22/2019   Call w/ C. Kenny (Diameter) re case issues.                   0.50   Koch, Matthew


23432332 3/25/2019   Communications w/ potential unsecured                         0.50   Koch, Matthew
                     creditors.


23439412 3/25/2019   Calls with unsecured creditors.                               0.50   Price, Craig Michael


23441211 3/29/2019   Attend conference call with ad hoc bondholder                 0.20   Bice, William B.
                     advisors, E. Dexter, and T. Kreller.




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23454315 3/29/2019   Ad hoc bondholder advisors call w/ W. Bice and            0.40   Dexter, Erin E.
                     T. Kreller (.2); prepare for same (.2).


23455004 3/29/2019   Attend update call with ad hoc bondholder                 0.20   Kreller, Thomas R.
                     advisors, W. Bice and E. Dexter (.1); prepare
                     for same (.1).




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23325645 3/1/2019   Revise minutes of Committee calls.                        1.60   Franzoia, Rachel


23343016 3/4/2019   Prepare agenda for 3/7 UCC call.                          0.50   Koch, Matthew


23355786 3/4/2019   Review agenda for 3/12 UCC call.                          0.50   Price, Craig Michael


23360494 3/5/2019   Revise Committee call minutes (.7); email                 0.90   Franzoia, Rachel
                    exchange with T. Kreller and M. Koch re same
                    (.2).


23343096 3/5/2019   Communications w/ T. Kreller, A. Scruton (FTI),           1.10   Koch, Matthew
                    and K. Chopra (Centerview) re draft agenda for
                    3/7 UCC call (.5); update UCC call materials
                    (.6).


23343159 3/6/2019   Numerous communications w/ C. Price, P.                   6.40   Koch, Matthew
                    Aronzon, S. Starr (FTI), M. Berlin (FTI) and D.
                    Dunne re UCC call preparation (1.3); emails w/
                    D. Dunne, T. Kreller, and C. Price re 3/7 UCC
                    call (.3); finalize Committee call materials
                    (.9); prepare email to Committee re same (.7);
                    preparation for 3/7 Committee call (1.1); draft
                    talking points for 3/7 committee meeting (1.8);
                    emails w/ S. Khalil re UCC agenda (.3).


23355762 3/6/2019   Numerous communications w/ M. Koch, P. Aronzon,           4.60   Price, Craig Michael
                    S. Starr (FTI), M. Berlin (FTI) and D. Dunne re
                    UCC call preparation (.8); emails w/ D. Dunne,
                    T. Kreller, and M Koch re 3/7 UCC call (.3);
                    finalize Committee call materials (1.1); review
                    email to Committee re same (.5); preparation
                    for 3/7 Committee call (.8); revise talking
                    points for 3/7 committee meeting (1.1).


23340099 3/7/2019   Attend standing committee meeting (partial)               1.30   Bice, William B.
                    with committee members led by D. Dunne.


23340730 3/7/2019   Teleconference with committee members and                 1.50   Denny, Daniel B.
                    professionals re March 7 meeting agenda (1.4);
                    prep for same (.1).




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23355494 3/7/2019    Attend weekly UCC call.                                    1.40   Dunne, Dennis F.


23360549 3/7/2019    Review agenda and materials for weekly                     2.60   Franzoia, Rachel
                     committee meeting (.7); prep for (.5) and
                     attend (1.4) weekly Committee meeting.


23340544 3/7/2019    Participate on UCC weekly call (partial).                  1.00   Kestenbaum, Russell J.


23332525 3/7/2019    Attend weekly committee call (1.4); draft                  2.60   Khalil, Samuel A.
                     agenda for same (1.2).


23343181 3/7/2019    Prepare for (.7) and attend (1.4) standing UCC             2.70   Koch, Matthew
                     call w/ D. Dunne/Milbank team, A. Scruton/FTI
                     team, and K. Chopra/Centerview team;
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re UCC call (.2); emails w/ D. Dunne re UCC
                     call materials (.4)


23360564 3/7/2019    Attend weekly UCC call (1.4); prep for same                2.40   Kreller, Thomas R.
                     (1.0).


23346280 3/7/2019    Participate in weekly UCC call (1.4); prep for             1.80   Leblanc, Andrew M.
                     same (.4).


23356279 3/7/2019    Prepare for (.7) and attend (1.4) standing UCC             2.70   Price, Craig Michael
                     call w/ D. Dunne/Milbank team, A. Scruton/FTI
                     team, and K. Chopra/Centerview team;
                     communications w/A. Scruton (FTI) and D. Dunne
                     re UCC call (.2); emails w/ D. Dunne re UCC
                     call materials (.4).


23354467 3/7/2019    Participate on weekly Committee call (1.4);                1.50   Stone, Alan J.
                     prepare for same (.1).


23388727 3/12/2019   Draft agenda for 3/14 UCC call.                            0.50   Koch, Matthew


23389342 3/12/2019   Prepare for UCC call (.4); correspondence re               1.10   Leblanc, Andrew M.
                     same (.7).


23377814 3/12/2019   Draft agenda for 3/14 UCC call.                            0.30   Price, Craig Michael



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23386411 3/13/2019   Review materials for weekly call (.3) and memo             0.40   Dunne, Dennis F.
                     to UCC re same (.1).


23364467 3/13/2019   Review (.2) and comment on (.1) agenda for UCC             0.90   Khalil, Samuel A.
                     call; review and comment on UCC correspondence
                     providing updates on hearing (.6).


23388802 3/13/2019   Draft annotated agenda for 3/13 UCC call (.7);             2.00   Koch, Matthew
                     emails w/ D. Dunne, T. Kreller, and G. Bray re
                     same (.3); prepare for 3/14 UCC call (.9);
                     update draft agenda for 3/14 UCC meeting (.1).


23379452 3/14/2019   Correspond with S. Khalil and M. Koch re prep              2.20   Bice, William B.
                     for FERC presentation to Committee (.7); attend
                     standing committee call with committee members,
                     Milbank (D. Dunne), FTI (A. Scruton) and
                     Centerview (S. Greene) (1.5).


23388855 3/14/2019   Participate in weekly committee meeting                    0.80   Dexter, Erin E.
                     (partial).


23386227 3/14/2019   Attend weekly committee meeting.                           1.50   Dunne, Dennis F.


23389948 3/14/2019   Attend weekly Committee conference call (1.5);             1.70   Franzoia, Rachel
                     prep for same (.2).


23383494 3/14/2019   Attend weekly call with UCC and professionals              1.60   Kestenbaum, Russell J.
                     (1.5); prep for same (.1).


23388842 3/14/2019   Participate on weekly UCC call (1.5);                      3.10   Koch, Matthew
                     preparation for same (1.4); emails w/ D. Dunne
                     and C. MacDonald (FTI) re same (.2).


23387152 3/14/2019   Prep for (.4) and attend weekly UCC meeting                2.80   Kreller, Thomas R.
                     (1.5); follow up calls and corr re same (.9).


23372176 3/14/2019   Attend Committee call w/ Milbank, FTI and                  1.50   Milender, Parker
                     Centerview teams.


23377848 3/14/2019   Participate in Committee call (1.5); prep                  2.40   Price, Craig Michael
                     materials for committee call (.9).


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23411596 3/18/2019   Review case and UCC issues (.7); review case              2.40   Aronzon, Paul S.
                     filings/pleadings (.4); review press articles,
                     research materials and memos (.8); review (.2)
                     and revise UCC memos (.3).


23421577 3/18/2019   Attend advisors call with Milbank (W. Bice, G.            1.20   Beebe, James M.
                     Bray, D. Denny, K. Khani, M. Koch, T. Kreller,
                     L. Mandel, C. Skaliks, S. Vora, J. Wolf), FTI
                     (S. Star) and Centerview (K. Chopra) to discuss
                     STIP motion and hedging motion (.7); review
                     emails regarding acceptance of motion re:
                     extension of STIP hearing deadline (.5)


23401725 3/18/2019   Attend standing advisors call with Milbank (J.            0.60   Bice, William B.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, C. Skaliks, A. Stone, S.
                     Vora, J. Wolf), FTI (S. Starr) and Centerview
                     (K. Chopra).Attend standing advisors call with
                     Milbank (J. Beebe, G. Bray, D. Denny, K. Khani,
                     M. Koch, T. Kreller, L. Mandel, C. Skaliks, A.
                     Stone, S. Vora, J. Wolf), FTI (S. Starr) and
                     Centerview (K. Chopra) (partial).


23754463 3/18/2019   Standing advisors call w/ K. Chopra                       0.70   Bray, Gregory A.
                     (Centerview), A. Scruton (FTI) and Milbank Team
                     (W. Bice, J. Beebe, D. Denny, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, C. Skaliks, A.
                     Stone, S. Vora, J. Wolf).


23404860 3/18/2019   Review and analyze Committee call agenda and              1.90   Denny, Daniel B.
                     pending matters (.1); t/c for standing weekly
                     call with Milbank (W. Bice, J. Beebe, G. Bray,
                     K. Khani, M. Koch, T. Kreller, L. Mandel, C.
                     Skaliks, A. Stone, S. Vora, J. Wolf), FTI (S.
                     Star) and Centerview (K. Chopra) (.7); review
                     and analyze PGE background memorandum (1.1).




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23423497 3/18/2019   Coordinate work streams (.6); standing advisors           1.80   Koch, Matthew
                     call w/ K. Chopra (Centerview), A. Scruton
                     (FTI), and Milbank team (W. Bice, J. Beebe, G.
                     Bray, D. Denny, K. Khani, T. Kreller, L.
                     Mandel, C. Skaliks, A. Stone, S. Vora, J. Wolf)
                     (.7); draft agenda for standing advisors call
                     (.5).


23422896 3/18/2019   Attend advisors' call with A. Scruton (FTI), K.           0.70   Skaliks, Christina M.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     J. Beebe, G. Bray, D. Denny, K. Khani, M. Koch,
                     T. Kreller, L. Mandel, A. Stone, S. Vora, J.
                     Wolf).


23754485 3/19/2019   Communications w/ M. Koch re UCC agenda.                  0.20   Bray, Gregory A.


23754421 3/19/2019   Comms w/ M. Koch re UCC agenda.                           0.20   Dexter, Erin E.


23423522 3/19/2019   Emails w/ A. Scruton (FTI) and K. Chopra                  1.70   Koch, Matthew
                     (Centerview) re 3/21 UCC call (.4); prep for
                     3/21 UCC call (.5); communications w/ S. Vora,
                     E. Dexter, and G. Bray re UCC agenda (.5);
                     draft agenda for 3/21 UCC call (.3).


23426169 3/20/2019   Review agenda and materials for committee call.           0.30   Dunne, Dennis F.


23423567 3/20/2019   Emails w/ G. Bray re 3/21 UCC call.                       0.20   Koch, Matthew


23404066 3/21/2019   Attend standing committee call w/ FTI,                    1.00   Bice, William B.
                     Centerview and Milbank Team (J. Beebe
                     (partial), D. Denny, E. Dexter, D. Dunne, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prep for same (.3).


23404954 3/21/2019   Attend weekly committee call w/ FTI (J. Beebe             0.80   Denny, Daniel B.
                     (partial), W. Bice, E. Dexter, D. Dunne, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prep for same (.1).


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23422586 3/21/2019   Attend UCC call w/ FTI, Centerview and Milbank             1.20   Dexter, Erin E.
                     (J. Beebe (partial), W. Bice, D. Denny, D.
                     Dunne, R. Franzoia, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, P. Milender (partial), M.
                     Shah, C. Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prepare for same (.5).


23420090 3/21/2019   Pre-call planning with FTI and CV (.4);                    1.10   Dunne, Dennis F.
                     standing committee call w/ Milbank (J. Beebe
                     (partial), W. Bice, D. Denny, E. Dexter, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum), A. Scruton (FTI) and K. Chopra
                     (Centerview) (.7).


23419083 3/21/2019   Attend call with UCC and Milbank (J. Beebe                 0.70   Kestenbaum, Russell J.
                     (partial), W. Bice, D. Denny, E. Dexter, D.
                     Dunne, R. Franzoia, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, P. Milender (partial), M.
                     Shah, C. Price C. Skaliks, S. Vora, J. Wolf).


23423591 3/21/2019   Standing Committee call w/ A. Scruton (FTI), K.            3.20   Koch, Matthew
                     Chopra (Centerview)and Milbank Team (J. Beebe
                     (partial), W. Bice, D. Denny, E. Dexter, D.
                     Dunne, R. Franzoia, K. Khani, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prepare for UCC call (.9);
                     draft annotated agenda for 3/21 UCC call (.6);
                     prepare for 3/21 UCC call (1).


23413007 3/21/2019   Attend standing weekly UCC w/ A. Scruton (FTI),            1.40   Kreller, Thomas R.
                     K. Chopra (Centerview) and Milbank Team (J.
                     Beebe (partial), W. Bice, D. Denny, E. Dexter,
                     D. Dunne, R. Franzoia, K. Khani, M. Koch, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); review materials re same
                     (.3); prepare for same (.4).




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23404326 3/21/2019   Attend committee call w/ FTI, Centerview and              0.80   Shah, Manan
                     Milbank (J. Beebe (partial), W. Bice, D. Denny,
                     E. Dexter, D. Dunne, R. Franzoia, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, P. Milender
                     (partial), C. Price C. Skaliks, S. Vora, J.
                     Wolf, R. Kestenbaum) (.7); prep for same (.1).


23423880 3/21/2019   Attend committee call FTI, Centerview and                 0.70   Skaliks, Christina M.
                     Milbank (J. Beebe (partial), W. Bice, D. Denny,
                     E. Dexter, D. Dunne, R. Franzoia, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, P. Milender
                     (partial), M. Shah, C. Price, S. Vora, J. Wolf,
                     R. Kestenbaum).


23408809 3/21/2019   Prepare for weekly committee call discussion of           0.70   Wolf, Julie M.
                     criminal exposure.


23413005 3/22/2019   Call w/ M. Koch and G. Bray re strategy (.5);             1.30   Kreller, Thomas R.
                     emails w/ M. Koch re team strategy call (.1);
                     attend call w/ FTI (A. Scruton), Centerview (K.
                     Chopra) and Milbank Team (J. Beebe, D. Denny,
                     E. Dexter, M. Koch, T. Kreller, P. Milender, R.
                     Franzoia, C. Price, A. Stone, J. Wolf) (.7).


23441306 3/25/2019   Attend weekly standing call w/ A. Scruton                 0.70   Denny, Daniel B.
                     (FTI), K. Chopra (Centerview) and Milbank team
                     (J. Beebe, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel) (.5);
                     prepare for same (.2).


23432336 3/25/2019   Emails w/ D. Dunne re scheduling and Committee            2.40   Koch, Matthew
                     meeting (.2); update work streams (.6);
                     standing advisors call w/ K. Chopra
                     (Centerview), A. Scruton(FTI), and Milbank Team
                     (J. Beebe, D. Denny, E. Dexter, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel) Milbank)
                     (.6); prepare for advisors call (.6); draft
                     agenda for advisors call w/ C. Price (.4).




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23454531 3/25/2019   Attend weekly standing advisors call w/ K.                 0.80   Kreller, Thomas R.
                     Chopra (Centerview), A. Scruton (FTI) and
                     Milbank team J. Beebe, D. Denny, E. Dexter, M.
                     Koch, P. Milender, R. Franzoia, C. Price, A.
                     Stone, J. Wolf, M. Shah, C. Skaliks, L. Mandel)
                     (.6); prepare for same (.2).


23432533 3/26/2019   Draft agenda for 3/28 call.                                0.70   Koch, Matthew


23439472 3/26/2019   Revise agenda for committee call.                          0.30   Price, Craig Michael


23452166 3/27/2019   Review materials for 3/28 committee call.                  0.70   Dunne, Dennis F.


23459962 3/27/2019   Review memo and other materials circulated in              1.30   Franzoia, Rachel
                     preparation for weekly UCC call.


23432596 3/27/2019   Emails w/ T. Kreller, M. Shah, W. Ng (FTI), S.             5.10   Koch, Matthew
                     Starr (FTI), W. Graham (Centerview), and C.
                     Price re 3/28 UCC call (.5); prepare for 3/28
                     UCC call (1.6); draft talking points for 3/28
                     UCC call (2.5); emails w/ T. Kreller, and C.
                     Price re 3/28 UCC meeting (.3); t/c w/ C. Price
                     re emails to Committee (.2).


23754836 3/27/2019   Emails w/ M. Koch re 3/28 UCC call (.1); emails            0.20   Kreller, Thomas R.
                     w/ same re UCC meeting (.1).


23455077 3/27/2019   Draft agenda for committee meeting (.3); t/c               0.80   Price, Craig Michael
                     with GB re same (.4); email w/ M. Koch re 3/28
                     UCC Meeting (.1).


23438992 3/28/2019   Attend standing committee call w/ FTI (A.                  2.00   Bice, William B.
                     Scruton et al), Centerview (K. Chopra et al)
                     and Milbank Team (D. Denny (partial), D. Dunne,
                     S. Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, E. Dexter, T. Kreller (partial), J.
                     Beebe, J. Wolf, A. Stone, P. Milender
                     (partial), L. Mandel).




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23454299 3/28/2019   Attend weekly committee meeting w/ A. Scruton              2.10   Dexter, Erin E.
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, T. Kreller (partial), J. Beebe, J.
                     Wolf, A. Stone, P. Milender (partial), L.
                     Mandel) (2); email exchanges w/ R. Franzoia re
                     UCC telephonic meeting (.1).


23454418 3/28/2019   Attend UCC call w/ A. Scruton (FTI), K. Chopra             2.10   Dunne, Dennis F.
                     (Centerview) and Milbank team (W. Bice, D.
                     Denny (partial), S. Khalil, R. Kestenbaum K.
                     Khani, M. Koch, R. Franzoia, E. Dexter, T.
                     Kreller (partial), J. Beebe, J. Wolf, A. Stone,
                     P. Milender (partial), L. Mandel) (2.0); emails
                     w/ M. Koch re 3/28 meeting (.1).


23454510 3/28/2019   Attend in-person meeting with Mizuho at                    1.50   Dunne, Dennis F.
                     Stroock.


23459508 3/28/2019   Weekly UCC telephonic meeting w/ A. Scruton                3.30   Franzoia, Rachel
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, E.
                     Dexter, T. Kreller (partial), J. Beebe, J.
                     Wolf, A. Stone, P. Milender (partial), L.
                     Mandel) (2.0); follow-up email exchange with E.
                     Dexter (.1) and D. Denny (.2) regarding the
                     same (.3); prepare minutes of meeting (.7).


23450336 3/28/2019   Participate (partial) on call with UCC w/ FTI,             1.90   Kestenbaum, Russell J.
                     Centerview and Milbank (W. Bice, D. Denny
                     (partial), D. Dunne, S. Khalil, K. Khani, M.
                     Koch, R. Franzoia, E. Dexter, T. Kreller
                     (partial), J. Beebe, J. Wolf, A. Stone, P.
                     Milender (partial), L. Mandel).




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23457869 3/28/2019   Standing Committee call w/ A. Scruton(FTI), K.            2.60   Koch, Matthew
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     D. Denny (partial), D. Dunne, S. Khalil, R.
                     Kestenbaum, K. Khani, R. Franzoia, E. Dexter,
                     T. Kreller (partial), J. Beebe, J. Wolf, A.
                     Stone, P. Milender (partial), L. Mandel) (2);
                     prepare for same (.1); call w/ C. Price re 3/28
                     UCC meeting (.3); emails w/ D. Dunne re 3/28
                     meeting (.2).


23454991 3/28/2019   Partially attend weekly UCC call w/ FTI,                  1.90   Kreller, Thomas R.
                     Centerview and Milbank (W. Bice, D. Denny
                     (partial), D. Dunne, S. Khalil, R. Kestenbaum
                     K. Khani, M. Koch, R. Franzoia, E. Dexter, J.
                     Beebe, J. Wolf, A. Stone, P. Milender
                     (partial), L. Mandel).


23439928 3/28/2019   Attend Committee call w/ Milbank (W. Bice, D.             0.50   Milender, Parker
                     Denny (partial), D. Dunne, K. Khani, M. Koch,
                     J. Beebe, R. Franzoia, E. Dexter, J. Wolf, A.
                     Stone, P. Milender (partial), L. Mandel), FTI,
                     and Centerview teams (partial).


23439477 3/28/2019   Attend Committee meeting (2); prepare for same            4.10   Price, Craig Michael
                     (1.8); call w/ M. Koch re 3/28 UCC meeting
                     (.3).


23454994 3/28/2019   Attend committee call w/ A. Scruton (FTI), K.             2.00   Stone, Alan J.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     D. Denny (partial), D. Dunne, S. Khalil, R.
                     Kestenbaum K. Khani, M. Koch, R. Franzoia, E.
                     Dexter, T. Kreller (partial), J. Beebe, J.
                     Wolf, P. Milender (partial), L. Mandel).


23457455 3/28/2019   Committee call regarding case status (partial)            1.70   Vora, Samir
                     (1.1); prep re: same (.6).




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23446689 3/28/2019   Attend weekly committee call w/ A. Scruton                 2.00   Wolf, Julie M.
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, E. Dexter, T. Kreller (partial), J.
                     Beebe, A. Stone, P. Milender (partial), L.
                     Mandel).


23755125 3/29/2019   O/c w/ C. Price re committee re distribution of            0.20   Dunne, Dennis F.
                     materials.


23455254 3/29/2019   Draft email to committee re distribution of                1.00   Price, Craig Michael
                     materials (.8); o/c with D. Dunne re same (.2).




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23739345 3/1/2019   Review issues re bylaws.                                    0.90   Bray, Gregory A.


23305755 3/1/2019   Email exchanges regarding revisions to draft                0.60   Denny, Daniel B.
                    Bylaws (.3); email exchanges w/ working group
                    re comments to same (.3).


23320002 3/1/2019   Review various by-law revisions.                            0.40   Dunne, Dennis F.


23328927 3/1/2019   Revise bylaws (.8); communications w/ S. Bryant             1.80   Koch, Matthew
                    (Locke Lord), M. Ngo (PBGC), G. Bray, and D.
                    Denny re same (.4); revise info agent memo
                    (.6).


23319937 3/1/2019   Calls re bylaws with PBGC (.4); IBEW (.5); team             2.30   Price, Craig Michael
                    (.7); review info agent memo to committee (.7).


23328931 3/2/2019   Research re (redacted).                                     3.20   Koch, Matthew


23740236 3/4/2019   Review (.6) and revise (.3) bylaws.                         0.90   Bray, Gregory A.


23329633 3/4/2019   Emails w/ J. Weber re debtor corporate                      0.10   Denny, Daniel B.
                    governance issues.


23318009 3/4/2019   Review (.8); research re same (.2). (redacted).             1.00   Mandel, Lena


23740872 3/4/2019   Review bylaws and related materials.                        0.50   Price, Craig Michael


23740908 3/5/2019   Review issues re Committee by-laws.                         0.90   Bray, Gregory A.


23329616 3/5/2019   Review edits to committee bylaws.                           0.10   Denny, Daniel B.


23741303 3/6/2019   Review comments to bylaws by UCC members.                   0.70   Bray, Gregory A.


23741306 3/6/2019   Review composite by-laws reflecting member                  0.80   Dunne, Dennis F.
                    comments.


23360596 3/6/2019   Comms. with team re UCC confidentiality issues              0.40   Kreller, Thomas R.
                    with Company.




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23741325 3/7/2019    Review revised bylaws (.7), call w/ M. Koch re            0.90   Bray, Gregory A.
                     same (.2).


23356269 3/7/2019    Call w/ J. Liou (Weil), G. Bray, and M. Koch re           1.00   Price, Craig Michael
                     bylaws (.3); call w/ E. Daucher (Norton Rose)
                     re bylaws (.2); review comments re same (.2);
                     emails w/ D. Dunne re same (.1); call w/ G.
                     Bray re same (.2).


23357920 3/8/2019    Comms. with M. Koch re: bylaws.                           0.40   Behrens, James C.


23741747 3/8/2019    Communications w/ G. Bray and C. Price re                 0.90   Bray, Gregory A.
                     bylaws (.3); review same (.6)


23343250 3/8/2019    Revise bylaws (.2); communications w/ C. Price,           1.70   Koch, Matthew
                     G. Bray, and E. Daucher (Norton Rose) re same
                     (.4); revise bylaws (.9); emails w/ G. Bray and
                     J. Behrens re bylaws (.2).


23356379 3/8/2019    Revise bylaws (1.8); communications w/ M. Koch,           2.40   Price, Craig Michael
                     G. Bray, and E. Daucher (Norton Rose) re same
                     (.4); emails w/ G. Bray and J. Behrens re
                     bylaws (.2).


23388630 3/11/2019   Call w/ E. Daucher (Norton Rose) re bylaws                0.80   Koch, Matthew
                     (.3); revise same (.5).


23748433 3/12/2019   Review bylaws.                                            1.20   Bray, Gregory A.


23388723 3/12/2019   Communications w/ G. Bray re bylaws.                      0.30   Koch, Matthew


23379555 3/13/2019   Correspondence with D. Dunne and M. Koch on               0.40   Bice, William B.
                     recusal standards for committee members and
                     structure of intervention.


23748464 3/13/2019   Review bylaws.                                            0.80   Bray, Gregory A.




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23388790 3/13/2019   Finalize bylaws (.9); communications w/ W.                2.10   Koch, Matthew
                     Bryant (Locke Lord) and G. Bray re bylaws (.6);
                     finalize UST letter re equity committee (.3);
                     communications w/ D. Dunne and S. Khalil re
                     same (.3).


23386740 3/13/2019   Calls (.6) and corr (.6) with C Jacobs, MT team           1.20   Kreller, Thomas R.
                     re committee resignation, alternatives and next
                     steps.


23377838 3/13/2019   Revise bylaws (1); t/c with committee members             1.40   Price, Craig Michael
                     re same (.4).


23748732 3/14/2019   Review issues re Committee by-laws.                       1.20   Bray, Gregory A.


23385679 3/15/2019   Review correspondence regarding bylaws.                   0.20   Bray, Gregory A.


23754464 3/18/2019   Emails w/ M. Koch re bylaws issues (.2); emails           0.30   Bray, Gregory A.
                     w/ M. Koch re revisions to bylaws (.1).


23754801 3/18/2019   Emails w/ M. Koch re bylaws issues (.2); review           0.70   Dunne, Dennis F.
                     PBGC comments to by-laws (.3); review final
                     version of same (.2);


23423498 3/18/2019   Emails w/ D. Dunne and G. Bray re bylaws issues           1.00   Koch, Matthew
                     (.4); revise bylaws (.4); emails w/ G. Bray and
                     M. Ngo (PBGC) re same (.2).


23754497 3/19/2019   Emails w/ M. Koch re bylaws                               0.10   Bray, Gregory A.


23426006 3/19/2019   Confs with A. Vara (UST) re Wamco, replacement            1.20   Dunne, Dennis F.
                     candidates and Roebbellen (.2); review issues
                     re same (.2); review Mizuho's selection (.1);
                     confs with Stroock & Strooke Team re same (.3);
                     review chair, by-laws and related issues (.3);
                     emails w/ M. Koch re bylaws (.1).


23423528 3/19/2019   Emails w/ G. Bray, B. Brownstein (Arent Fox),             0.90   Koch, Matthew
                     and D. Dunne re bylaws (.2); revise same (.3);
                     research re same (.4).




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23755338 3/20/2019   Review Mizuho integration issues.                        0.30   Dunne, Dennis F.


23423566 3/20/2019   Communications w/ G. Bray re notice of revised           0.20   Koch, Matthew
                     committee formation.


23754531 3/21/2019   Review by law issues.                                    1.10   Bray, Gregory A.


23754534 3/22/2019   Comms w/ J. Liou (Weil) and M. Koch re bylaws            0.80   Bray, Gregory A.
                     (.2); call w/ M. Koch r same (.1); emails w/ M.
                     Koch re same (.3); emails w/ same re NDA (.2).


23754945 3/22/2019   Emails w/ M. Koch re NDA.                                0.10   Dunne, Dennis F.


23423632 3/22/2019   Communications w/ J. Liou (Weil) and G. Bray re          1.50   Koch, Matthew
                     bylaws (.2); call w/ J. Liou (Weil) re bylaws
                     (.1); call w/ G. Bray re same (.1); revise
                     bylaws (.2); t/c w/ C. Price re same (.2);
                     emails w/ G. Bray re same (.3); emails w/ D.
                     Dunne (.1), G. Bray (.2), and J. Liou (Weil)
                     (.1).


23408980 3/22/2019   Review comments to bylaws (.7); t/c with M.              0.90   Price, Craig Michael
                     Koch re same (.2).


23754950 3/25/2019   Comms w/ M. Koch re bylaws (.3); comms w/ C.             0.60   Denny, Daniel B.
                     Price re same (.3).


23455856 3/25/2019   Review final bylaws and NOL trading motion.              0.20   Khani, Kavon M.


23755492 3/29/2019   Confs. with K. Lewis re committee chair and              0.20   Dunne, Dennis F.
                     upcoming meetings.




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23329615 3/5/2019   Review (.2) and analyze (.4) debtor governance            0.90   Denny, Daniel B.
                    materials; conf. w/ J. Weber re corporate
                    governance memo (.3).


23366119 3/6/2019   Teleconference with A. Moses, D. Denny, and J.            1.10   Anderson, Jason T.
                    Weber regarding corporate governance issues
                    (.6); prep for same (.5).


23345476 3/6/2019   Preliminary research for (redacted).                      0.70   Connelly, Rachael


23340083 3/6/2019   Teleconference with A. Moses, J. Anderson, and            1.10   Denny, Daniel B.
                    J. Weber regarding corporate governance issues
                    (.6); email exchange with A. Moses and working
                    group re corporate governance issues (.2);
                    review and analyze debtor corporate governance
                    materials (.3).


23360504 3/6/2019   T/c with J. Anderson, D. Denny, and J. Weber re           3.10   Moses, Adam R.
                    corporate governance issues (.6); review (1.6)
                    and analyze (.9) materials in connection with
                    the preparation of draft proxy contest memo.


23741307 3/6/2019   Conf. with A. Moses, D. Denny, and J. Anderson            0.90   Weber, Jordan A.
                    regarding corporate governance issues (.6);
                    review materials i/c/w same (.3).


23366123 3/7/2019   Internal comms. re memo on Blue Mountain proxy            0.80   Anderson, Jason T.
                    campaign (.3); coordinate re preparation of
                    same (.5).


23360510 3/7/2019   Analysis of materials in connection with proxy            0.50   Moses, Adam R.
                    contest memo.


23345498 3/8/2019   Continue research for (4.6) and revise (4.2)              8.80   Connelly, Rachael
                    memo re (redacted); begin drafting memo.


23366547 3/9/2019   Revise memo re: Blue Mountain proxy issues.               0.40   Anderson, Jason T.


23345522 3/9/2019   Conduct research for (redacted) (.6) and revise           1.00   Connelly, Rachael
                    same (.4).




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23360520 3/9/2019    Review and comment on draft proxy contest memo.             2.80   Moses, Adam R.


23345523 3/10/2019   Continue research for (redacted) (1.2) and                  2.60   Connelly, Rachael
                     revise same (1.4).


23360524 3/10/2019   Review draft memorandum re proxy issues.                    0.10   Moses, Adam R.


23357343 3/11/2019   Further research for (redacted) (.7); conf. w/              2.50   Connelly, Rachael
                     D. Denny re same (.2); edit memo (1.6).


23375786 3/11/2019   Review and analyze (redacted) (1.7); conference             2.40   Denny, Daniel B.
                     with R. Connelly regarding research re same
                     (.2); conference with J. Weber (multiple) re
                     corporate governance memo (.5).


23360615 3/11/2019   Review (.4) and comment on (.6) draft proxy                 1.00   Moses, Adam R.
                     contest memo.


23392633 3/11/2019   Legal research (4.1) and revisions to (3.6)                 7.90   Weber, Jordan A.
                     (redacted); conf. w/ D. Denny re same (.2).


23413518 3/12/2019   Revisions to proxy contest memo.                            3.50   Anderson, Jason T.


23378130 3/12/2019   Revise (redact).                                            0.60   Connelly, Rachael


23375780 3/12/2019   Conference with J. Weber regarding draft corp               6.80   Denny, Daniel B.
                     governance memo (.2); review same (.8);
                     research (redacted) (4.4); revise draft memo
                     regarding (redacted) (1.0); review (.1) and
                     analyze (.2) revised (redacted); teleconference
                     with J. Weber regarding same (.1).


23360526 3/12/2019   Review (1.1) and comment on (.7) draft proxy                1.80   Moses, Adam R.
                     contest memo.


23392637 3/12/2019   Extensive research (4.3) and drafting (4.1) re             10.70   Weber, Jordan A.
                     (redacted); extensive communications with
                     Milbank team on the same (2.2); conf. with D.
                     Denny re same (.1).




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23413498 3/13/2019   Continue efforts on proxy memo.                           1.30   Anderson, Jason T.


23375789 3/13/2019   Review comments to draft corp. governance memo            1.70   Denny, Daniel B.
                     (.2); email exchanges with J. Anderson and
                     working group re corp governance memo (.2); t/c
                     with J. Anderson re revisions to memo (.1);
                     corr. with C. Price and M. Koch re corp
                     governance memorandum (.1); review (.4) and
                     further edit (.7 ) revised corp governance
                     memo.


23374355 3/13/2019   Review (.3) and comment on (.8) memo re:                  1.10   Khalil, Samuel A.
                     corporate governance issues relating to board
                     replacement.


23384161 3/13/2019   Review (.6) and edit (.9) corp governance memo;           1.80   Stone, Alan J.
                     call with J. Anderson re same (.3).


23375846 3/15/2019   Draft email to group regarding revised                    0.20   Denny, Daniel B.
                     Corporate Governance Memo.


23386270 3/15/2019   Review status of independent director search              1.10   Dunne, Dennis F.
                     (.3); confs. with S. Karotkin (Weil) re same
                     (.2); confs. with two prospective board members
                     (.6).


23386276 3/16/2019   Review updates re independent director                    0.60   Dunne, Dennis F.
                     selection.


23417931 3/18/2019   Revise corporate governance memo (.1);                    0.20   Anderson, Jason T.
                     conference w/ D. Denny re proxy memo supplement
                     (.1).


23404862 3/18/2019   Conference with J. Anderson re proxy memo                 0.10   Denny, Daniel B.
                     supplement.


23404955 3/22/2019   Email J. Anderson regarding revisions to draft            0.10   Denny, Daniel B.
                     proxy context memo.


23454985 3/29/2019   Review developments re board slate and next               0.40   Dunne, Dennis F.
                     steps.


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23740906 3/5/2019    Participate in diligence phone call led by                 0.80   Bice, William B.
                     debtor to discuss PPAs and cost savings.


23327944 3/5/2019    Participate in diligence call re: customer                 0.70   Milender, Parker
                     programs and PPAs.


23343236 3/8/2019    Revise memo re hedging motion.                             1.30   Koch, Matthew


23343285 3/9/2019    Research re (redacted).                                    0.50   Koch, Matthew


23742829 3/10/2019   Correspondence with M. Nolan re (redacted).                0.20   Bice, William B.


23742830 3/10/2019   Emails from W. Bice and M. Nolan re FERC                   0.50   Koch, Matthew
                     adversary (.2); emails from E. Dexter re FERC
                     adversary (.3).


23743602 3/11/2019   Review issues re hedging motion.                           0.40   Bray, Gregory A.


23387896 3/11/2019   Meet w/ B. Kastner re hedging motion (.1);                 0.80   Moser, Eric K.
                     review hedging motion (.7).


23387971 3/12/2019   Continue review of hedging motion (.4);                    0.60   Moser, Eric K.
                     correspondence with M. Koch re same (.2).


23748461 3/13/2019   Review (.4) and revise (.5) hedging motion.                0.90   Bray, Gregory A.


23748830 3/15/2019   Review issues re (redacted).                               0.90   Bray, Gregory A.


23388942 3/15/2019   Research re hedging motion.                                1.60   Koch, Matthew


23380036 3/15/2019   Revise hedging order.                                      0.70   Price, Craig Michael


23423506 3/19/2019   Emails w/ J. Wolfe re hedging issues.                      0.20   Koch, Matthew


23754506 3/20/2019   Emails w/ M. Koch re hedging motion (.2);                  0.30   Bray, Gregory A.
                     emails w/ W. Bice re Enel Stipulation (.1)




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23423560 3/20/2019   Call w/ M. Goren (Weil) re hedging motion (.1);            0.70   Koch, Matthew
                     emails w/ G. Bray re same (.2); communications
                     w/ T. Kreller and J. Wolfe re hedging motion
                     issues (.2); review draft objection (.2).


23755091 3/20/2019   Communications w/ C. Price and J. Wolfe re                 0.20   Kreller, Thomas R.
                     hedging motion issues.


23401540 3/20/2019   Review (.1) and revise (.3) limited objection              0.40   Mandel, Lena
                     to the hedging motion.


23408790 3/20/2019   Revise objection to hedging motion (1.2); draft            4.00   Wolf, Julie M.
                     declaration in support of objection to hedging
                     motion (2.0); communications w/ T. Kreller and
                     M. Koch hedging motion issues (.2); review
                     additional correspondence between FTI and Alix
                     (.6).


23455257 3/29/2019   Revise hedging order (.5); t/c with FTI re same            1.10   Price, Craig Michael
                     (.6).


23754420 3/29/2019   Emails w/ D. Denny re hedging motion (.1);                 0.70   Wolf, Julie M.
                     communication with FTI Team re: hedging motion
                     objection (.6).




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23319849 3/1/2019   Review DIP issues (1.3); review DIP order (.4);            2.60   Bray, Gregory A.
                    internal calls (.6) and emails (.3) re same.


23743596 3/1/2019   Review DIP Order.                                          0.40   Price, Craig Michael


23740235 3/4/2019   Review DIP issues (.8); internal calls (.3) and            1.30   Bray, Gregory A.
                    emails (.2) re same.


23743599 3/5/2019   Review and revise UCC DIP memo.                            0.80   Aronzon, Paul S.


23740909 3/5/2019   Review DIP issues (.7); internal emails re same            1.00   Bray, Gregory A.
                    (.3).


23741304 3/6/2019   Review DIP order (.8) and cash management                  1.10   Bray, Gregory A.
                    issues (.3).


23741314 3/7/2019   Review DIP issues.                                         0.90   Bray, Gregory A.


23343160 3/7/2019   Address cash management issues.                            0.20   Koch, Matthew


23344211 3/8/2019   Review DIP objection of Tort Committee (.3);               0.40   Bice, William B.
                    conf. w/ G. Bray re same (.1).


23741748 3/8/2019   Review Tort Committee DIP objection (.4); conf.            0.50   Bray, Gregory A.
                    w/ W. Bice re same (.1).


23355737 3/8/2019   Review tort committee's objection to DIP (.4);             0.70   Dunne, Dennis F.
                    craft response/recommendation to committee to
                    same (.3).


23341996 3/8/2019   Review revised DIP order per committee member              0.90   Khalil, Samuel A.
                    questions.


23343257 3/8/2019   Calls w/ S. Starr (FTI) and K. Bostel (Weil) re            1.30   Koch, Matthew
                    cash management issues (.3); call w/ W. Ng
                    (FTI) and C. Price re DIP financing (.1); draft
                    email to D. Dunne/Milbank team re DIP issues
                    (.4); call w/ P. Sandler (Cravath) and C. Price
                    re DIP issues (.2); review revised cash
                    management order (.3).



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23356376 3/8/2019    Calls w/ FTI and K. Bostel (Weil) re cash                 1.50   Price, Craig Michael
                     management issues and order (.3); call w/ W. Ng
                     (FTI) and M. Koch re DIP financing (.1) and
                     review DIP order (.2); assist in drafting email
                     to D. Dunne/Milbank team re DIP issues (.4);
                     call w/ P. Sandler (Cravath) and M. Koch re DIP
                     issues (.2); revise cash management order (.3).


23355672 3/9/2019    Review company position re tort committee                 0.70   Dunne, Dennis F.
                     objection to DIP (.3); review sizing and
                     related issues (.4).


23343284 3/9/2019    Draft email to D. Dunne re DIP issues (.6);               1.20   Koch, Matthew
                     communications w/ D. Dennis and S. Khalil re
                     DIP issues (.2); call w/ P. Sandler (Cravath)
                     re same (.4).


23343307 3/10/2019   Review draft DIP reply (.3); emails w/ P.                 0.90   Koch, Matthew
                     Sandler (Cravath) re DIP response (.1); draft
                     DIP joinder (.5).


23377961 3/11/2019   Review correspondence from T. Kreller and G.              0.20   Bice, William B.
                     Bray re DIP motion.


23751974 3/11/2019   Review issues re DIP motion (3.1); correspond             3.40   Bray, Gregory A.
                     w/ TW. Bice and G. Bray re same (.3).


23365096 3/11/2019   Review TCC DIP objection (.4) and Debtors’                1.10   Dunne, Dennis F.
                     response (.3); review UCC response to same
                     (.4).


23341968 3/11/2019   Review and corresp. re: DIP objection filed by            0.60   Khalil, Samuel A.
                     TCC.


23388667 3/11/2019   Emails w/ G. Bray and D. Dunne re DIP statement           2.70   Koch, Matthew
                     (.2); communications w/ T. Kreller, G. Bray, A.
                     Leblanc, and C. Price re DIP statement (.6);
                     revise DIP statement (.2); draft DIP statement
                     (1.1); communications w/ C. Price, S. Khalil,
                     and G. Bray re same (.6).




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23387193 3/11/2019   Review recent pleadings (.6), calls and corr               2.20   Kreller, Thomas R.
                     with team (.5) and prep response (1.1) re DIP
                     financing motion for upcoming final hearing.


23389366 3/11/2019   Review (.2) and revise (.4) statement regarding            1.20   Leblanc, Andrew M.
                     DIP; correspondence re same (.6).


23352784 3/11/2019   Review (.1) and revise (.3) UCC statement in               0.60   Mandel, Lena
                     support of DIP motion; correspond with team re
                     same (.2).


23377318 3/11/2019   Draft DIP statement (1.1); communications w/ M.            1.70   Price, Craig Michael
                     Koch, S. Khalil, and G. Bray re same (.6).


23377789 3/11/2019   Draft emails w/ M. Koch for G. Bray and D.                 1.40   Price, Craig Michael
                     Dunne re DIP statement (.6); revise DIP
                     statement (.8).


23748160 3/11/2019   Review emails re DIP.                                      0.20   Stone, Alan J.


23392635 3/11/2019   Review DIP statement (.2); emails w/ same with             0.50   Weber, Jordan A.
                     various members of Milbank team (.3).


23379590 3/12/2019   Preparations for filing Statement in support of            2.50   Anderson, Angel R.
                     DIP motion.


23377124 3/12/2019   Preparations for filing of DIP Statement (.6);             1.00   Ayandipo, Abayomi A.
                     correspondence re same (.4).


23385673 3/12/2019   Review DIP issues (1.4); review DIP order (.7);            3.10   Bray, Gregory A.
                     internal calls (.6) and emails (.4) re same.


23385561 3/12/2019   Review (.3) and revise (.4) UCC DIP Statement.             0.70   Dunne, Dennis F.


23358015 3/12/2019   Review (.2) and comment on (.4) joinder to                 0.60   Khalil, Samuel A.
                     debtor response to TCC DIP objection.




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23388710 3/12/2019   Finalize DIP statement (.7); emails w/ D. Dunne           1.60   Koch, Matthew
                     re DIP statement filing (.2); review DIP
                     pleadings (.3); emails w/ P. Sandler (Cravath)
                     re same (.2); communications w/ C. Price re
                     same (.2).


23362451 3/12/2019   Conferences with D. Dunne and M. Koch re UCC              1.20   Mandel, Lena
                     response to DIP objections (.3); review
                     debtors' response (.3); revise UCC's response
                     (.4); correspond with team members re same
                     (.2).


23377827 3/12/2019   Emails w/ D. Dunne re filing of DIP statement             0.60   Price, Craig Michael
                     (.2); emails w/ P. Sandler (Cravath) re same
                     (.2); communications w/ M. Koch re same (.2).


23386222 3/13/2019   Review Judge Montali's position on DIP                    0.30   Dunne, Dennis F.
                     objections and next steps re same.


23748730 3/14/2019   Review DIP issues (.8); internal emails re same           1.10   Bray, Gregory A.
                     (.3).


23748738 3/14/2019   T/c with DPW re DIP issue.                                0.60   Price, Craig Michael


23748831 3/15/2019   Review revised DIP order and related issues.              0.90   Bray, Gregory A.


23367962 3/15/2019   Review research re (redacted).                            0.40   Khalil, Samuel A.


23418741 3/18/2019   Review issues re DIP.                                     0.30   Bray, Gregory A.


23754800 3/18/2019   Comms w/ M. Koch re DIP updates.                          0.10   Dunne, Dennis F.


23423480 3/18/2019   Communications w/ P. Sandler (Cravath) and D.             0.20   Koch, Matthew
                     Dunne re DIP updates.


23418784 3/19/2019   Review DIP issues (1.1) and by-law issues (.4).           1.50   Bray, Gregory A.


23401724 3/20/2019   Review emails re: DIP order.                              0.10   Bice, William B.


23418744 3/20/2019   Review emails re: DIP order.                              1.70   Bray, Gregory A.


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23754252 3/21/2019   Discuss DIP with (multiple) UCC advisors.                  1.00   Aronzon, Paul S.


23418746 3/21/2019   Review DIP issues.                                         2.40   Bray, Gregory A.


23754832 3/26/2019   Conference w/ D. Dunne re TCC DIP objection and            0.50   Bray, Gregory A.
                     settlement conversations (.2); emails w/ R.
                     Franzoia re prep for final hearing on DIP
                     motion (.3);


23446628 3/26/2019   Confs. with K. Hansen re TCC objection and                 1.10   Dunne, Dennis F.
                     settlement conversations re: DIP (.3); review
                     issues and position re same (.2); confs. with
                     G. Bray re same (.2); review revised DIP order
                     (.4).


23459514 3/26/2019   Collect DIP-related materials and pleadings                2.60   Franzoia, Rachel
                     (.7); review materials in preparation for final
                     hearing on DIP motion (1.6); email exchange
                     with G. Bray regarding the same (.3).


23432520 3/26/2019   Review revised proposed DIP order.                         0.20   Koch, Matthew


23439469 3/26/2019   Review revised DIP Order.                                  0.50   Price, Craig Michael


23754834 3/27/2019   Review DIP issues.                                         1.00   Bray, Gregory A.


23452165 3/27/2019   Review TCC position re further DIP delay (.3);             0.50   Dunne, Dennis F.
                     review risks of resyndication and cost flex re
                     same (.2).


23455047 3/29/2019   Review DIP issues.                                         2.20   Bray, Gregory A.




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23321087 3/1/2019    Conferences with Milbank team and multiple                    2.50   Aronzon, Paul S.
                     other advisors re case and UCC issues and
                     hearing preparation (.7); conf. w/ T. Kreller,
                     D. Denny, J. Weber, R. Franzoia, C. Price, M.
                     Koch and P. Milender re work streams (1.8).


23305757 3/1/2019    Review working group emails re case updates                   3.20   Denny, Daniel B.
                     (.4); review and analyze recent bankruptcy
                     docket filings (.3); conf. w/ T. Kreller, P.
                     Aronzon, J. Weber, R. Franzoia, C. Price, M.
                     Koch and P. Milender re work streams (1.8);
                     emails w/ working group re court filing and
                     service requirements (.2); research re same
                     (.5).


23305758 3/1/2019    Review and analyze public entity committee                    2.50   Denny, Daniel B.
                     motion and authorities cited therein (2.2);
                     conference with R. Franzoia re same (.3).


23320076 3/1/2019    Review request for public entities committee                  1.20   Dunne, Dennis F.
                     (.4); review case law, precedent and standards
                     re same (.8).


23325644 3/1/2019    Meeting with D. Denny, J. Weber, T. Kreller, P.               1.80   Franzoia, Rachel
                     Aronzon, C. Price, M. Koch and P. Milender re
                     work streams.


23325778 3/1/2019    Review Motion to Appoint Public Entities                      3.50   Franzoia, Rachel
                     Committee and supporting declaration (1.7);
                     conference with D. Denny re same (.3); review
                     case law cited in support of motion (1.5).


23328930 3/1/2019    Communications w/ C. Price/Milbank team re work               4.30   Koch, Matthew
                     streams (.2); conf. w/ T. Kreller, P. Aronzon,
                     J. Weber, R. Franzoia, D. Denny, M. Koch and P.
                     Milender re work streams (1.8); draft email to
                     M. Goren (Weil) and P. Sandler (Cravath) re
                     adjournment (.4); revise cash management order
                     (.8); review motion to appoint public entity
                     committee (.4); emails w/ D. Dunne/Milbank team
                     re same (.2); review revised proposed orders
                     for operational integrity motion (.2) and
                     customer programs (.3).


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23320077 3/1/2019    Review case filings, public documents re                      2.80   Kreller, Thomas R.
                     political and legislative developments and
                     other materials (.7); conf. w/ C. Price, P.
                     Aronzon, J. Weber, R. Franzoia, D. Denny, M.
                     Koch and P. Milender re work streams (1.8) and
                     prep for same (.3).


23304746 3/1/2019    Call w/ C. Price, M. Koch, T. Kreller and                     1.30   Milender, Parker
                     Milbank team re: work streams (partial) (1.1);
                     follow up meeting w/ M. Koch and C. Price (.2).


23319934 3/1/2019    Conf. w/ T. Kreller, P. Aronzon, J. Weber, R.                 1.60   Price, Craig Michael
                     Franzoia, D. Denny, M. Koch and P. Milender re
                     work streams (partial) (1.4); follow up call w/
                     M. Koch and P. Milender (.2).


23319947 3/1/2019    Review cash management order (.8); review                     1.60   Price, Craig Michael
                     motion to appoint public entity committee (.3);
                     review revised proposed operational integrity
                     order (.2) and customer programs (.3).


23740207 3/1/2019    Review motion for appointment of Public                       0.20   Vora, Samir
                     Entities' Commission.


23326058 3/1/2019    Conf. w/ T. Kreller, P. Aronzon, D. Denny, R.                 1.80   Weber, Jordan A.
                     Franzoia, C. Price, M. Koch and P. Milender re
                     work streams.


23305760 3/2/2019    Research case law re (redacted) (1.8); comms.                 2.00   Denny, Daniel B.
                     w/ W. Bice re same (.2).


23305761 3/3/2019    Continue research re (redacted).                              2.90   Denny, Daniel B.


23320425 3/3/2019    Review issues re tort committee advisor                       0.60   Dunne, Dennis F.
                     selection.


23346130 3/4/2019    Conferences with Milbank team and other UCC                   1.50   Aronzon, Paul S.
                     advisors re case and UCC issues.




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23313913 3/4/2019    Review motion for public entity committee (.3);               0.60   Bice, William B.
                     discuss committee objection to same with J.
                     Wolf (.3).


23342000 3/4/2019    Participate on weekly advisors call (.5);                     1.20   Khalil, Samuel A.
                     review proposals from information and noticing
                     firms (.4); analysis of same (.3).


23343040 3/4/2019    Discuss next steps w/ C. Price (.2);                          1.40   Koch, Matthew
                     communications w/ T. Kreller, C. Price and G.
                     Bray re next steps (.2); draft agenda for
                     standing advisors call (1).


23360459 3/4/2019    Review (.7) and revise (.9) final orders on                   2.30   Kreller, Thomas R.
                     continued first day matters; internal calls
                     (.4) and corr with team re same (.3).


23355732 3/4/2019    Discuss next steps w/ M. Koch (.2);                           1.90   Price, Craig Michael
                     communications w/ T. Kreller, M. Koch and G.
                     Bray re next steps (.2); draft agenda for
                     standing advisors call (1.0); review
                     correspondence re case issues (.5).


23357052 3/4/2019    Review correspondence from M. Koch re:                        0.10   Skaliks, Christina M.
                     advisors' call.


23354297 3/4/2019    Attend advisors call.                                         0.80   Stone, Alan J.


23346027 3/5/2019    Conferences with Milbank team and other UCC                   2.40   Aronzon, Paul S.
                     advisors re remaining issues re first day
                     orders (1.1); conference with FTI re open issue
                     (.6); review case filings (.4) and research
                     materials (.3).


23327219 3/5/2019    Review slide deck for debtor diligence                        0.40   Bice, William B.
                     presentation.


23329617 3/5/2019    Team strategy call w/ T. Kreller, C. Price, M.                1.00   Denny, Daniel B.
                     Koch, R. Franzoia, E. Dexter (.5); review (.2)
                     and analyze (.3) case materials and strategy
                     memo re PGE bankruptcy.



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23357716 3/5/2019    Attend Milbank team strategy call (.5); attend                1.00   Dexter, Erin E.
                     advisors' call (.5).


23740911 3/5/2019    Internal correspondence (multiple) regarding                  1.60   Dexter, Erin E.
                     public entities committee objection.


23360502 3/5/2019    Conference call with C. Price, M. Koch, D.                    0.40   Franzoia, Rachel
                     Denny, T. Kreller, J. Weber, J. Wolf, J. Duke
                     and E. Dexter to discuss and coordinate work
                     streams (partial).


23322542 3/5/2019    Attend weekly advisors call.                                  0.40   Khalil, Samuel A.


23343048 3/5/2019    Emails w/ W. Bice re diligence meeting.                       0.30   Koch, Matthew


23343097 3/5/2019    Diligence call w/ A. Scruton (FTI), C. Price,                 7.90   Koch, Matthew
                     and T. Kreller (.3); team strategy call w/ T.
                     Kreller, D. Denny, and C. Price/Milbank team
                     (.5); attend diligence call (5.9); draft update
                     email to T. Kreller and P. Aronzon (.6); manage
                     work streams (.6).


23360469 3/5/2019    Team strategy call w/ D. Denny, and C.                        1.80   Kreller, Thomas R.
                     Price/Milbank team (.5); review case filings
                     (.6) and emails with working group re same
                     (.7).


23327933 3/5/2019    Review new filings (Butte settlement motion and               0.60   Milender, Parker
                     supplemental taxes motion).


23355748 3/5/2019    Communications w/ T. Kreller, A. Scruton (FTI),               1.20   Price, Craig Michael
                     and K. Chopra (Centerview) re draft agenda for
                     3/7 UCC call (.5); update UCC call materials
                     (.7).




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23355753 3/5/2019    Diligence call w/ A. Scruton (FTI), M. Koch,                  7.90   Price, Craig Michael
                     and T. Kreller (.3); team strategy call w/ T.
                     Kreller, D. Denny, and M. Koch/Milbank team
                     (.5); participate in diligence call (5.9);
                     draft update email to T. Kreller and P. Aronzon
                     re same (.6); review work streams with M. Koch
                     (.6).


23359316 3/5/2019    Telephonically attend diligence meeting between               4.10   Vora, Samir
                     financial advisors and committee, review
                     materials thereon


23360623 3/5/2019    Research re (redacted) (5.4); conf. w/ D. Denny               6.20   Weber, Jordan A.
                     re: corporate governance memo (.3); attend
                     Milbank team strategy call (.5).


23344446 3/5/2019    Attend Milbank strategy team call (partial).                  0.40   Wolf, Julie M.


23344453 3/5/2019    Conduct legal research re: (redacted) (1.1);                 10.20   Wolf, Julie M.
                     conduct legal research re: (redacted) (2.8);
                     conduct legal research re: (redacted) (2.1);
                     draft (redacted) (4.2).


23345474 3/6/2019    Attend team case strategy meeting (.7); prep                  0.80   Brewster, Jacqueline
                     for same (.1).


23360536 3/6/2019    Review information from Senate hearing                        1.90   Franzoia, Rachel
                     regarding PG&E bankruptcy case (1.6); email
                     exchange with Milbank team regarding same (.3).


23343155 3/6/2019    Review docket (.2); communications w/ C. Price                2.30   Koch, Matthew
                     and T. Kreller re diligence issues (.1);
                     meeting w/ E. Dexter, C. Price, and D. Denny re
                     filing issues and strategies (.6); dial into
                     day 2 of diligence meeting w/ Debtors' advisors
                     (1.4).




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23355759 3/6/2019    Communications w/ M. Koch and T. Kreller re                   1.40   Price, Craig Michael
                     diligence issues (.1); meeting w/ E. Dexter, M.
                     Koch, and D. Denny and Milbank litigation and
                     FRG re filing issues and strategies (.6); prep
                     for same (.1); participate in day 2 of
                     diligence meeting w/ Debtors' advisors (.6)
                     (partial)


23360624 3/6/2019    Research re: (redact) (4.9); draft memo re:                   8.20   Weber, Jordan A.
                     (redact) (3.3).


23346031 3/7/2019    Conferences with Milbank team and other                       4.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.9); discuss next steps w/ C. Price, T.
                     Kreller, G. Bray, and M. Koch (.4).conference
                     with other case professionals (1.2); review
                     case filings (.3); review motions filed by
                     Debtors (.9); o/c with team re open issues
                     (.7).


23741310 3/7/2019    Review correspondence re filing logistics (.4);               0.90   Ayandipo, Abayomi A.
                     review case management procedures order (.5).


23340098 3/7/2019    Review (.4) and comment on (.6) motion re                     1.00   Bice, William B.
                     public entity committee.


23741313 3/7/2019    Discuss case strategy M.Koch, and P. Aronzon.                 0.40   Bray, Gregory A.


23345483 3/7/2019    Conduct research for memo (1.7); begin drafting               2.90   Connelly, Rachael
                     memo (1.2).


23340729 3/7/2019    Discussion with J. Wolf regarding revised draft               0.10   Denny, Daniel B.
                     response re Public Entities Committee motion.


23340731 3/7/2019    Comms. with M. Koch regarding case strategy and               0.30   Denny, Daniel B.
                     pending motions (.2); comms. with T. Kreller
                     regarding hearing preparation (.1).


23357819 3/7/2019    Internal correspondence regarding (.8) and                    2.20   Dexter, Erin E.
                     edits to (1.4) objection to public entities
                     committee motion.



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23360558 3/7/2019    Review draft opposition to Motion to Appoint                  1.10   Franzoia, Rachel
                     Public Entities Committee (.8); conference with
                     D. Denny regarding same (.3).


23343169 3/7/2019    Review hedging motion (.5); draft memo re same                1.20   Koch, Matthew
                     (.7).


23343209 3/7/2019    Comms. w/ R. Franzoia re case calendar (.1);                  0.60   Koch, Matthew
                     emails w/ C. Price and D. Denny re team
                     strategy call (.1); discuss next steps w/ C.
                     Price, T. Kreller, G. Bray, and P. Aronzon
                     (.4).


23741724 3/7/2019    Discuss general case strategy and next steps w/               0.40   Kreller, Thomas R.
                     C. Price, M. Koch, G. Bray, and P. Aronzon).


23356264 3/7/2019    Emails w/ M. Koch and D. Denny re team strategy               0.50   Price, Craig Michael
                     call (.1); discuss next steps w/ M. Koch, T.
                     Kreller, G. Bray, and P. Aronzon (.4).


23346067 3/8/2019    Conferences with Milbank team and other                       2.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.4); conferences with other case professionals
                     (1.3); review case filings (.7).


23357917 3/8/2019    Attend standing advisors call.                                0.40   Dexter, Erin E.


23343268 3/8/2019    Emails w/ W. Bice re committee formation issues               0.50   Koch, Matthew
                     (.2); team strategy call w/ C. Price/Milbank
                     team (.3).


23339325 3/8/2019    Call w/ M. Koch and Milbank team re work                      0.40   Milender, Parker
                     streams (.3); prep for same (.1).


23356301 3/8/2019    Review case issues (.7); emails w/ W. Bice and                1.20   Price, Craig Michael
                     M. Koch re open issues (.2); team strategy call
                     w/ M. Koch/Milbank team (.3).


23387192 3/8/2019    Internal call regarding strategy and next                     0.40   Vora, Samir
                     steps.




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23360626 3/8/2019    Review Debtors’ pleadings (2.6); o/c w/ C.                    4.10   Weber, Jordan A.
                     Price and M. Koch re: same (1.1); o/c with T.
                     Kreller re open issues (.4).


23344642 3/8/2019    Milbank Team Call re: work streams.                           0.30   Wolf, Julie M.


23343280 3/9/2019    Emails w/ S. Khalil re prior PG&E decisions.                  0.20   Koch, Matthew


23388686 3/9/2019    Coordinate re open issues on various motions                  0.50   Leblanc, Andrew M.
                     and objections.


23356319 3/9/2019    Respond to various emails from team re case                   1.60   Price, Craig Michael
                     management (.8); t/c with M. Koch re issues
                     with orders (.1); review related first day
                     orders (.7).


23346119 3/10/2019   Review emails from Milbank team regarding                     0.50   Behrens, James C.
                     upcoming hearings and outstanding issues.


23383753 3/11/2019   Conferences with Milbank team re case and UCC                 1.80   Aronzon, Paul S.
                     issues (.7); conference with other case
                     professionals (.6); review pleadings (.4) and
                     correspondence re same (.1).


23377946 3/11/2019   Attend standing committee advisors call with                  0.50   Bice, William B.
                     Milbank (C. Price), FTI (S. Starr) and
                     Centerview (K. Chopra).


23375777 3/11/2019   Email exchanges with working group regarding                  1.50   Denny, Daniel B.
                     pending motions and Committee responses (.6);
                     teleconference with Milbank, FTI and Centerview
                     regarding weekly meeting to discuss work in
                     progress (.6); email exchange with T. Kreller
                     and others regarding hearing preparation (.3).


23365100 3/11/2019   Review advisor issues re TCC.                                 0.30   Dunne, Dennis F.


23389940 3/11/2019   Weekly conference call with advisors.                         0.50   Franzoia, Rachel




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23388662 3/11/2019   Discuss work streams w/ C. Price (.6);                        2.00   Koch, Matthew
                     coordinate work streams (.2); call w/ J. Wolf
                     re objection to public entities committee (.1);
                     UCC advisors strategy call w/ A. Scruton/FTI
                     team, K. Chopra/Centerview team, and S.
                     Khalil/Milbank team (.5); discuss work streams
                     w/ C. Price (.3); draft agenda for UCC advisor
                     call (.3).


23389163 3/11/2019   Participate in advisor call with FTI and                      1.00   Leblanc, Andrew M.
                     Centerview (.5); prep for same (.5).


23350237 3/11/2019   Attend standing advisors call w/ Milbank,                     0.40   Milender, Parker
                     Centerview and FTI teams (partial).


23377786 3/11/2019   Coordinate work streams.                                      0.40   Price, Craig Michael


23377797 3/11/2019   UCC advisors strategy call w/ A. Scruton/FTI                  0.90   Price, Craig Michael
                     team, K. Chopra/Centerview team, and S.
                     Khalil/Milbank team (.5); prep for same (.4).


23384109 3/11/2019   Attend Advisors call.                                         0.50   Stone, Alan J.


23457359 3/11/2019   Attend advisors telephone meeting regarding                   0.50   Vora, Samir
                     strategy and next steps.


23378095 3/11/2019   Attend weekly advisors call (.5); review court                6.20   Wolf, Julie M.
                     Order for Joint Administration (.3); revise
                     Opposition to PE Motion (.6);, revise
                     Opposition to PE Motion (2.6) and finalize same
                     for filing and service; corr. with D. McCracken
                     re same (.2); coordinate electronic filing and
                     delivery of chambers copies; review certificate
                     of service of Opposition (.4); review Debtors'
                     Objection to PE Motion (1.3); discuss materials
                     for 3/13 hearing on PE Motion with legal
                     assistant team (.3).


23383871 3/12/2019   Conferences with Milbank team and other UCC                   3.20   Aronzon, Paul S.
                     advisors re case and UCC issues (1.8);
                     conference with other case professionals (.8);
                     review pleadings and research materials (.6).


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23375779 3/12/2019   Team strategy calls w/ M. Koch, C. Price, E.                  0.50   Denny, Daniel B.
                     Dexter, and D. Denny and Milbank team
                     (partial).


23388708 3/12/2019   Team strategy calls w/ M. Koch, C. Price, T.                  1.20   Dexter, Erin E.
                     Kreller, and D. Denny and Milbank team (1.2).


23389942 3/12/2019   Conference call with Milbank team to discuss                  0.60   Franzoia, Rachel
                     various work streams.


23388702 3/12/2019   Team strategy calls w/ T. Kreller, C. Price, E.               1.40   Koch, Matthew
                     Dexter, and D. Denny and Milbank team (1.2);
                     call w/ A. Scruton (FTI) re next steps (.2).


23748438 3/12/2019   Team strategy calls w/ M. Koch, C. Price, E.                  1.20   Kreller, Thomas R.
                     Dexter, and D. Denny and Milbank team.


23363618 3/12/2019   Attend standing Milbank team call w/ M. Koch,                 0.30   Milender, Parker
                     C. Price, T. Kreller and team (partial).


23377829 3/12/2019   Team strategy calls w/ T. Kreller, C. Price, E.               1.20   Price, Craig Michael
                     Dexter, and D. Denny and Milbank team.


23392688 3/12/2019   Attend Milbank team strategy and planning                     0.50   Weber, Jordan A.
                     meeting (partial).


23378136 3/12/2019   Attend weekly Milbank call re: tasks and                      1.10   Wolf, Julie M.
                     upcoming deadlines (.8); meeting with A.
                     Leblanc, S. Vora, and E. Dexter re: litigation
                     tasks (.3).


23383948 3/13/2019   Conferences with Milbank team and other                       1.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.6); conference with other case professionals
                     (.4); review case filings (.4).


23375790 3/13/2019   Review and analyze emails regarding preparation               0.80   Denny, Daniel B.
                     for committee meeting and work in progress
                     (.5); t/c with R. Franzoia regarding court
                     hearing and pending matters (.3).




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23388756 3/13/2019   Communications w/ D. Dunne, W. Bice, and C.                   0.30   Koch, Matthew
                     Price re case updates.


23374614 3/13/2019   Correspondence with working group.                            0.50   Moses, Adam R.


23377869 3/13/2019   Prep for committee call (.8); draft emails for                1.70   Price, Craig Michael
                     committee with M. Koch (.9).


23388881 3/14/2019   Emails w/ D. Dunne and W. Ng (FTI) re diligence               2.70   Koch, Matthew
                     issues (.7); review open issues re hedging and
                     STIP motions (1.3); communications w/ G. Bray,
                     C. Price, and W. Ng (FTI) re diligence issues
                     (.7).


23383880 3/15/2019   Conferences with Milbank team and other                       1.10   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.3); review case filings and research
                     materials (.8).


23389987 3/15/2019   Conference call with Milbank team to discuss                  0.30   Franzoia, Rachel
                     status of various work streams (partial).


23388968 3/15/2019   Call w/ W. Ng (FTI) re diligence (.3);                        1.10   Koch, Matthew
                     coordinate work streams (.4); team strategy
                     call w/ L. Mandel, S. Vora, D. Denny, C.
                     Price/Milbank team (.4).


23374763 3/15/2019   Attend Milbank team strategy call.                            0.40   Milender, Parker


23380037 3/15/2019   Review work streams (.8); attend standing team                1.20   Price, Craig Michael
                     call re same (.4).


23378249 3/15/2019   Attend weekly Milbank call re: tasks and                      0.30   Wolf, Julie M.
                     upcoming deadlines (partial).


23392622 3/16/2019   Review (.3) and analyze (.1) work in progress                 0.40   Denny, Daniel B.
                     regarding pending motions, anticipated motions
                     and related matters.




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23389008 3/16/2019   Communications w/ T. Kreller and G. Bray re                   0.70   Koch, Matthew
                     case strategy (.4); emails w/ A. Scruton (FTI)
                     re diligence issues (.3).


23386947 3/17/2019   Review correspondence re: information sharing.                0.10   Khani, Kavon M.


23389036 3/17/2019   Emails w/ K. Chopra (Centerview), A. Scruton                  2.00   Koch, Matthew
                     (FTI), and T. Kreller re standing advisors call
                     (.2); call w/ L. Attard (Baker) re information
                     sharing issues (.1); call w/ K. Bostel (Weil)
                     and J. Liou (Weil) re information sharing (.4);
                     numerous communications w/ G. Bray, W. Ng
                     (FTI), and T. Kreller re same (.9);
                     communications w/ G. Bray and K. Bostel (Weil)
                     re information sharing (.4).


23754461 3/18/2019   Call w/ K. Bostel (Weil), J. Liou (Weil), and                 1.10   Bray, Gregory A.
                     M. Koch re information sharing (.4); numerous
                     communications w/ M. Koch re same (.3);
                     communications w/ M. Koch and K. Bostel (Weil)
                     re information sharing (.4).


23754483 3/18/2019   Call w/ M. Koch and T. Kreller re work streams                1.80   Bray, Gregory A.
                     (.6); review matters relating to Axiom (.4) and
                     UCC members (.8).


23413049 3/18/2019   Standing Advisors Call w/ A. Scruton (FTI), K.                1.20   Kreller, Thomas R.
                     Chopra (Centerview), Milbank team (W. Bice, J.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, L.
                     Mandel, C. Skaliks, A. Stone, S. Vora, J. Wolf)
                     (.7); emails w/ M. Koch re standing advisors
                     call (.2); comms w/ same re information sharing
                     (.3).


23418766 3/18/2019   Advisor's call w/ A. Scruton (FTI), K. Chopra                 2.10   Stone, Alan J.
                     (Centerview) and Milbank Team (W. Bice, J.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, C. Skaliks, S. Vora, J.
                     Wolf) (.7); review memos (.9); review FIT deck
                     (.5).




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23408708 3/18/2019   Weekly advisors call w/ A. Scruton (FTI), K.                  0.90   Wolf, Julie M.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     J. Beebe, G. Bray, D. Denny, K. Khani, M. Koch,
                     T. Kreller, L. Mandel, C. Skaliks, A. Stone, S.
                     Vora) (.7); prep for same (.2).


23411591 3/19/2019   Call w/ Milbank Team (D. Denny, T. Kreller, L.                2.30   Aronzon, Paul S.
                     Mandel) re case and UCC issues (.4); review
                     relevant documents re same (1.0); revise UCC
                     memos and materials (.9).


23404854 3/19/2019   Review case status (.5) and review committee                  1.60   Denny, Daniel B.
                     agenda (.7); call w/ P. Aronzon, T. Kreller,
                     L. Mandel re case and UCC issues (.4).


23390146 3/19/2019   Conference call with Milbank team to discuss                  0.50   Franzoia, Rachel
                     status of various work streams.


23423513 3/19/2019   Calls w/ G. Bray and T. Kreller re work streams               0.70   Koch, Matthew
                     (.5); circulate materials for call w/ G. Bray
                     re work streams and next steps (.2).


23413013 3/19/2019   Calls w/ G. Bray and M. Koch re work streams                  1.10   Kreller, Thomas R.
                     (.5); call w/ P. Aronzon, L. Mandel and D.
                     Denny re case and UCC issues (.4); prepare for
                     same (.2).


23408682 3/19/2019   Research re: (redacted).                                      1.10   Lee, Danielle


23395829 3/19/2019   T/c w/ P. Aronzon, D. Denny, T. Kreller re case               0.60   Mandel, Lena
                     and UCC issues (.5); prep for same (.1).


23411600 3/20/2019   Conferences with G. Bray (.4) and UCC advisors                1.20   Aronzon, Paul S.
                     (.3) re UCC issues; review materials re same
                     (.5).


23754507 3/20/2019   Emails w/ M. Koch re 3/21 UCC call.                           0.20   Bray, Gregory A.


23754508 3/20/2019   Conferences w/ P. Aronzon re UCC issues.                      0.40   Bray, Gregory A.




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23423551 3/20/2019   Coordinate work streams (.2); calls w/ C. Price               0.80   Koch, Matthew
                     re open issues (.6).


23408705 3/20/2019   Research re: (redacted).                                      2.40   Lee, Danielle


23408971 3/20/2019   Calls with M. Koch re open issues (.6); review                2.10   Price, Craig Michael
                     correspondence (.3); review memos to committee
                     (1.2).


23411601 3/21/2019   Review case status (.4); review case                          1.40   Aronzon, Paul S.
                     correspondence (1).


23754533 3/21/2019   Conferences w/ P. Aronzon re status (.4);                     1.30   Bray, Gregory A.
                     review issues raised in telephone conference
                     call (.7); review issues re Axiom (.2).


23404952 3/21/2019   Review and analyze PGE first day declaration                  1.20   Denny, Daniel B.
                     and related case materials (1); t/c with J.
                     Weber regarding pending tasks and
                     responsibilities (.2)


23423583 3/21/2019   Standing call w/ J. Liou (Weil), J.                           0.50   Koch, Matthew
                     Boken(Alix), K. Chopra (Centerview), and A.
                     Scruton (FTI).


23405255 3/21/2019   Meeting with Akin and Perella re Ad Hoc group                 1.00   Leblanc, Andrew M.
                     and coordination.


23408807 3/21/2019   Research re: (redact) (4.1); summarize same                   6.80   Lee, Danielle
                     (2.7).


23408973 3/21/2019   Review recent pleadings.                                      1.00   Price, Craig Michael


23751625 3/21/2019   T/c w/ D. Denny re pending tasks and                          0.20   Weber, Jordan A.
                     responsibilities.


23411604 3/22/2019   Conferences with G. Bray (.3) and UCC advisors                0.90   Aronzon, Paul S.
                     (.2) re updates. review case filings (.4).




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23754535 3/22/2019   Call w/ M. Koch and T. Kreller re strategy                    1.00   Bray, Gregory A.
                     (.7); conferences w/ G. Bray (.3) re updates.


23404963 3/22/2019   Prepare for internal standing call regarding                  2.00   Denny, Daniel B.
                     pending matters (.6); review and analyze
                     updated task list and calendar (.1); t/c
                     regarding standing call regarding work in
                     progress (.8); analyze emails regarding
                     strategic issues and pending motions (.5).


23422661 3/22/2019   PG&E team strategy call with M. Koch, P.                      0.80   Dexter, Erin E.
                     Milender and S. Vora.


23425343 3/22/2019   Emails w/ M. Koch re team strategy call.                      0.20   Franzoia, Rachel


23423633 3/22/2019   Communications w/ W. Ng (FTI) re meeting w/                   1.50   Koch, Matthew
                     company (.2); emails w/ W. Ng (FTI) re meeting
                     w/ company (.1); comment on proposed agenda
                     (.3); call w/ G. Bray and T. Kreller re
                     go-forward strategy (.7); emails w R. Franzoia,
                     J. Wolf, and T. Kreller re team strategy call
                     (.2).


23408822 3/22/2019   Research re: (redacted).                                      5.90   Lee, Danielle


23423204 3/22/2019   Prepare for advisors call (.1); correspondence                0.30   Skaliks, Christina M.
                     re: agenda for UCC and debtors' meeting (.1);
                     correspondence re. task list (.1).


23423443 3/22/2019   Attend standing advisors call A. Scruton (FTI),               0.50   Skaliks, Christina M.
                     K. Chopra (Centerview) w/ E. Dexter, T.
                     Kreller, C. Skaliks, J. Wolf.


23754803 3/22/2019   Strategy call w/ E. Dexter, P. Milender and M.                0.30   Vora, Samir
                     Koch (.3).




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23408969 3/22/2019   Emails w/ M. Koch re team strategy call (.1);                 1.00   Wolf, Julie M.
                     attend weekly Milbank call w/ A. Scruton (FTI),
                     K. Chopra (Centerview) and Milbank Team (J.
                     Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, R. Franzoia, C. Price, A.
                     Stone) (.6); update team task list (.3).


23425344 3/23/2019   Update calendar.                                              3.60   Franzoia, Rachel


23455181 3/23/2019   Review correspondence re open issues for                      0.90   Price, Craig Michael
                     upcoming week.


23455187 3/24/2019   Review correspondence and open items (.8);                    1.70   Price, Craig Michael
                     draft open items list for coming week (.9).


23446330 3/25/2019   Summarize case status update (.5); conferences                2.10   Aronzon, Paul S.
                     with UCC advisors (.6) and other case
                     professionals (.7); review, research materials
                     (.3).


23454742 3/25/2019   Attend advisors call w/ A Scruton (FTI), K.                   0.70   Dexter, Erin E.
                     Chpra (Centerview), Milbank Team (J. Beebe, D.
                     Denny, M. Koch, T. Kreller, P. Milender, R.
                     Franzoia, C. Price, A. Stone, J. Wolf, M. Shah,
                     C. Skaliks, L. Mandel) (partrial) (.6); prep
                     for same (.1).


23754940 3/25/2019   Emails w/ M. Koch re scheduling and Committee                 0.20   Dunne, Dennis F.
                     meeting.


23459506 3/25/2019   Weekly conference call with UCC advisors w/ A.                0.60   Franzoia, Rachel
                     Scruton (FTI), K Chopra (Centerview) and
                     Milbank Team (Attend call w/ FTI (A. Scruton),
                     Centerview (K. Chopra) and Milbank Team (J.
                     Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel).




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23416738 3/25/2019   Attend standing advisors call w/ Milbank Team                 0.60   Milender, Parker
                     (Attend call w/ FTI (A. Scruton), Centerview
                     (K. Chopra) and Milbank Team J. Beebe, D.
                     Denny, E. Dexter, M. Koch, T. Kreller, R.
                     Franzoia, C. Price, A. Stone, J. Wolf, M. Shah,
                     C. Skaliks, L. Mandel), A. Scruton (FTI) and K.
                     Chopra (Centerview) team. I) and K. Chopra
                     (Centerview) team.


23439411 3/25/2019   Attend advisors call w/ A. Scruton (FTI), K.                  1.30   Price, Craig Michael
                     Chopra (Centerview) and Milbank Team (J. Beebe,
                     D. Denny, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, A. Stone, J. Wolf, M.
                     Shah, C. Skaliks, L. Mandel) (.6); prep for
                     same (.3); draft agenda for committee call with
                     M. Koch (.4).


23754951 3/25/2019   Attend Advisor call w/ FTI, Centerview and                    0.60   Shah, Manan
                     Milbank Team (J. Beebe, D. Denny, E. Dexter, M.
                     Koch, T. Kreller, P. Milender, R. Franzoia, C.
                     Price, A. Stone, J. Wolf, C. Skaliks, L.
                     Mandel).


23446520 3/25/2019   Attend weekly advisors call w/ K. Chopra                      0.60   Wolf, Julie M.
                     (Centerview), A. Scruton (FTI) and Milbank Team
                     (J. Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, R. Franzoia, C. Price, A.
                     Stone, M. Shah, C. Skaliks, L. Mandel).


23426513 3/25/2019   Research (1.1) and summarize (3.5) (redacted).                4.60   Zimberg, Joshua


23446339 3/26/2019   Provide update to Milbank team (.5) and UCC                   2.00   Aronzon, Paul S.
                     advisors (.3); review press articles (.7);
                     review UCC materials (.5).


23754831 3/26/2019   Call w/ M. Koch re strategy (.5); conference                  1.50   Bray, Gregory A.
                     call w/ same re work streams (.5); call w/ C.
                     Price re strategy (.5).


23441521 3/26/2019   Prepare for weekly standing Milbank call (.3);                0.70   Denny, Daniel B.
                     correspondence re: open issues (.4).




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23441523 3/26/2019   Review materials re corrected declaration (.2);               0.40   Denny, Daniel B.
                     email exchange with T. Kreller regarding court
                     filings and pending matters (.2).


23754955 3/26/2019   Analyze draft omnibus committee memo regarding                1.00   Denny, Daniel B.
                     retention applications and pending motions
                     (.6); advisors call w/ Milbank Team (T.
                     Kreller, P. Milender, J. Wolf), A. Scruton
                     (FTI), K. Chopra (Centerview) (.4).


23435374 3/26/2019   Review (.1) and analyze (.3) team strategy.                   0.40   Duke, Julia C.


23457120 3/26/2019   Review email correspondence re: materials and                 0.60   Khani, Kavon M.
                     agenda for upcoming Committee call.


23432527 3/26/2019   Prepare for (.2) and call (.5) w/ G. Bray re                  1.40   Koch, Matthew
                     strategy; update task list (.4); t/c w/ T.
                     Kreller and C. Price re next steps (.3).


23454579 3/26/2019   Emails w/ M. Koch re next steps (.3); emails w/               0.50   Kreller, Thomas R.
                     D. Denny re court filings and pending matters
                     (.2).


23460330 3/26/2019   Analyze general case strategy and next steps.                 0.60   Weber, Jordan A.


23455070 3/27/2019   Call with FTI and CV re open issues.                          1.20   Price, Craig Michael


23754958 3/27/2019   Emails w/ M. Koch re UCC Call.                                0.10   Shah, Manan


23755094 3/28/2019   Emails w/ R. Franzoia re UCC telephonic                       0.20   Denny, Daniel B.
                     meeting.


23755095 3/28/2019   Discuss case strategy w/ C. Price and G. Bray.                1.20   Kreller, Thomas R.



23439488 3/28/2019   Revise limited objection (.4); discuss case                   1.60   Price, Craig Michael
                     strategy with T. Kreller and G. Bray (1.2).




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23754839 3/29/2019   Email exchanges w/ D. Denny re hearing                        2.80   Bray, Gregory A.
                     transcript and strategic issues (.2);
                     conference call w/ R. Franzoia to discuss
                     various work streams (.7); call w/ J. Wolf re
                     task list and deadlines (.6); review new
                     pleadings filed (.8); review next steps (.5).


23441489 3/29/2019   Review emails regarding pending motions and                   1.00   Denny, Daniel B.
                     diligence (.5); email exchange with J. Wolf re
                     response to hedging motion (.1); review March
                     27 hearing regarding open issues with tort
                     claimants (.4).


23454982 3/29/2019   Review Pimco proposal.                                        0.60   Dunne, Dennis F.


23457286 3/29/2019   Review correspondence re: case updates (.1);                  0.40   Khani, Kavon M.
                     review response to TCC's reimbursement
                     procedures (.3).


23755351 3/29/2019   O/c w/ C. Price re procedures for reimbursement               0.20   Kreller, Thomas R.
                     memo.


23446702 3/29/2019   Call w/ G. Bray re task list and deadlines                    1.40   Wolf, Julie M.
                     (.6); update task list re: hedging objection
                     (.8).




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23354416 3/4/2019    Review issues re March 13 hearing.                            0.80   Bray, Gregory A.


23329606 3/4/2019    Attend 341(a) meeting of creditors.                           2.00   Denny, Daniel B.


23343028 3/4/2019    Revise draft stipulation (.2) and proposed                    0.40   Koch, Matthew
                     order (.1) re 3/12 and 3/13 hearings;
                     communications w/ C. Price and T. Kreller re
                     same (.1).


23355724 3/4/2019    Revise draft stipulation (.3) and proposed                    0.60   Price, Craig Michael
                     order (.2) re 3/12 and 3/13 hearings;
                     communications w/ M. Koch and T. Kreller re
                     same (.1).


23354418 3/5/2019    Review materials in preparation for March 13                  1.10   Bray, Gregory A.
                     hearing.


23354356 3/6/2019    Review materials re March 13 hearing (.9);                    1.20   Bray, Gregory A.
                     internal correspondence re same (.3).


23354358 3/7/2019    Review materials for March 13 hearing.                        0.80   Bray, Gregory A.


23741726 3/8/2019    Review materials for 5/13 hearing.                            1.60   Ayandipo, Abayomi A.


23354359 3/8/2019    Review materials for March 13 hearing (1.3);                  1.60   Bray, Gregory A.
                     emails w/ T. Kreller re same (.3).


23343295 3/10/2019   Emails w/ T. Kreller re 3/12 hearing (.1);                    2.00   Koch, Matthew
                     numerous communications w/ D. Dunne, S. Khalil,
                     P. Sandler (Cravath), M. Goren (Weil), and C.
                     Price re 3/12 and 3/13 hearings (1.9).


23383755 3/11/2019   Prepare for and attend court hearing (.5); prep               0.60   Aronzon, Paul S.
                     for same (.1).


23377792 3/11/2019   Telephonically attend FERC adversary hearing.                 0.50   Price, Craig Michael


23383867 3/12/2019   Prepare for (.6) and attend (.4) court hearing.               1.00   Aronzon, Paul S.




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23385560 3/12/2019   Review pleadings in prep for 3/13 hearing (.9);               1.10   Dunne, Dennis F.
                     corr. with S. Karotkin (Weil) re same (.2).


23389979 3/12/2019   Prepare for (.6) and attend (.4) March 13                     1.00   Franzoia, Rachel
                     omnibus hearing on public entities motion, DIP
                     motion, and other continued first day motions.


23387170 3/12/2019   Travel to SFO for omnibus hearing and review                  2.80   Kreller, Thomas R.
                     court filings and prep for hearing en route.


23387379 3/12/2019   Attend omnibus hearing on customer programs                   0.50   Kreller, Thomas R.
                     motion.


23377832 3/12/2019   Participate in omnibus hearing (.4); prep for                 0.60   Price, Craig Michael
                     same (.2).


23383947 3/13/2019   Prepare for (1.0) and attend (3.0) court                      4.00   Aronzon, Paul S.
                     hearing.


23384585 3/13/2019   Attend hearing (3); draft and distribute                      3.80   Duke, Julia C.
                     summary of same (.8).


23386217 3/13/2019   Review summary of 3/13 hearing.                               0.30   Dunne, Dennis F.


23388783 3/13/2019   Telephonically attend (partial) 3/13 omnibus                  2.20   Koch, Matthew
                     hearing.


23386738 3/13/2019   Prep for (3.0) and attend (3.8) omnibus                       6.80   Kreller, Thomas R.
                     hearing.


23389158 3/13/2019   Telephonically participate (partial) in omnibus               1.60   Leblanc, Andrew M.
                     hearing.


23377985 3/13/2019   Participate in court hearing re first day                     0.80   Price, Craig Michael
                     motions (partial).


23752380 3/13/2019   Telephonically attend omnibus hearing re: DIP                 3.80   Wolf, Julie M.
                     Motion and Public Entities Committee Motion.




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23385677 3/14/2019   Review materials in preparation for March 14                  2.30   Bray, Gregory A.
                     hearing.


23423514 3/19/2019   Emails w/ W. Bice (.1), K. Bostel (Weil) (.1),                0.30   Koch, Matthew
                     and T. Kreller (.1) re upcoming hearings.


23754056 3/19/2019   Emails w/ M. Koch re upcoming hearings.                       0.10   Kreller, Thomas R.


23418748 3/22/2019   Prepare for hearing—review DIP issues (2.0) and               3.00   Bray, Gregory A.
                     by law issues (1.0).


23420067 3/24/2019   Review TCC's filing re settlement funding                     0.20   Dunne, Dennis F.
                     motion.


23455039 3/25/2019   Review materials for court hearing (1.3);                     4.00   Bray, Gregory A.
                     prepare for meeting next week (.7); strategize
                     next steps (.8); review anticipated pleadings
                     (1.2).


23455041 3/26/2019   Review issues raised in court hearings (2.1);                 2.40   Bray, Gregory A.
                     review relevant pleadings re same (.3).


23454545 3/26/2019   Review court filings (1.1); prep for 3/27                     2.10   Kreller, Thomas R.
                     omnibus hearing matters (1.0).


23455043 3/27/2019   Review (.2) and revise (1.4) draft pleadings;                 3.20   Bray, Gregory A.
                     prepare for upcoming hearings (.9); review next
                     steps (.7).


23432566 3/27/2019   Attend omnibus hearing (1.3); review related                  1.70   Koch, Matthew
                     materials (.4).


23454550 3/27/2019   Attend 3/27 omnibus hearing re NOL trading                    2.60   Kreller, Thomas R.
                     order, final DIP financing and other agenda
                     items (1.3); prep for same (1.3).


23455045 3/28/2019   Review agenda for meeting next week (1.4);                    3.20   Bray, Gregory A.
                     review new pleadings (.8); review court hearing
                     issues (1.0).




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23308322 3/1/2019   Review PG&E criminal case docket.                         0.20    Benz, Stephen


23314326 3/1/2019   Review recent filings in the PG&E criminal case           1.70    Wu, Julia S.
                    docket (.8) and; summarize same for team (.9).


23324979 3/2/2019   Review recent court filings in San Bruno                  0.60    Ayoub, Emile G.
                    criminal proceeding (.3); correspond with team
                    re same (.3).


23309397 3/2/2019   Communication with D. Dunne, A. LeBlanc, T.               0.20    Bice, William B.
                    Kreller, G. Bray, and P. Aronson re CPUC rights
                    of public entities.


23360484 3/4/2019   Review recent court filings in San Bruno                  0.50    Ayoub, Emile G.
                    criminal proceeding (.1); correspond with
                    Milbank team re same (.4).


23360499 3/6/2019   Review recent court filings in San Bruno                  0.20    Ayoub, Emile G.
                    criminal proceeding (.1); comms. with J. Wu re
                    same (.1).


23741302 3/6/2019   Review materials re probation order.                      0.20    Bice, William B.


23350294 3/6/2019   Review and analysis of Jude Alsup’s revised               1.50    Khalil, Samuel A.
                    addditional probation conditions re PG&E (1.1);
                    corresp. w/ internal team re: same (.4).


23343142 3/6/2019   Review show cause order in criminal proceeding.           0.40    Koch, Matthew


23346952 3/6/2019   Comms. with E. Ayoub regarding new filings on             0.90    Wu, Julia S.
                    the PG&E criminal case docket (.2); draft email
                    to C. Price and M. Koch regarding updated
                    filings (.7).


23360507 3/7/2019   Review recent court filings in San Bruno                  0.20    Ayoub, Emile G.
                    criminal proceeding (.1); correspond with team
                    re same (.1).




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23356307 3/7/2019    Review recent docket updates in the criminal               3.30   Benz, Stephen
                     liability case (.9); update standing internal
                     memo re Judge Alsup's proposed Second Order to
                     Show Cause re modification of PG&E's Probation
                     (2.4).


23340092 3/7/2019    Review Judge Alsup probation ruling.                       0.40   Bice, William B.


23344648 3/8/2019    Review J. Alsup proposed revised additional                3.50   Wolf, Julie M.
                     conditions to PG&E probation order (1.4);
                     revise draft memorandum re Company criminal
                     liability and exposure to incorporate revised
                     probation conditions (2.1).


23748161 3/11/2019   Review (1.8) and revise (2.2) memoranda                    4.00   Vora, Samir
                     regarding PG&E criminal and civil liability
                     exposure.


23378172 3/13/2019   Review Sonoma District Attorney office press               5.00   Wolf, Julie M.
                     release: re district attorney criminal charges
                     (.3); revise memorandum re criminal exposure to
                     incorporate same (.8); review Bankruptcy Court
                     order and pleadings from 2001 bankruptcy of
                     PG&E re: Rate with S. Vora re inverse
                     condemnation research (2.2); correspond w/ with
                     S. Benz and J. Wu (.3) re same; revise and
                     incorporate edits to memorandum re criminal
                     exposure (1.4).


23384195 3/14/2019   Attend committee call (partial).                           1.00   Stone, Alan J.


23392600 3/15/2019   Review criminal case docket for updated                    0.10   Wu, Julia S.
                     filings.


23378377 3/17/2019   Revise memoranda re criminal liability and                 0.60   Wolf, Julie M.
                     civil liability.




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23419989 3/18/2019   Research case law regarding (redacted) (2);                6.20   Wu, Julia S.
                     edit memo re same (3.1); discuss with E. Ayoub
                     applicability of statutes (.2); call with E.
                     Ayoub and M. Capolino regarding revisions to
                     the memo (.5); call with M. Capolino regarding
                     revising memo (.2); research re: (redacted)
                     (.2).


23401715 3/19/2019   Review Milbank memorandum on criminal law                  0.70   Bice, William B.
                     proceedings.


23426055 3/20/2019   Review San Bruno memo.                                     0.70   Dunne, Dennis F.


23457384 3/20/2019   Review (.2) and revise talking points for                  3.00   Vora, Samir
                     criminal exposure memorandum (.3); research
                     regarding (redacted) (2.5).


23408792 3/20/2019   Draft talking points re: Company criminal                  2.70   Wolf, Julie M.
                     liability and exposure (1.2); research
                     (redacted) (1.5).


23755352 3/21/2019   Prepare for weekly committee call discussion of            0.80   Wolf, Julie M.
                     criminal exposure.


23422659 3/22/2019   Review recent court filings in San Bruno                   0.50   Ayoub, Emile G.
                     criminal proceeding.


23420902 3/22/2019   Review recent filings in the San Bruno criminal            0.30   Khani, Kavon M.
                     proceeding.


23419921 3/22/2019   Draft email summarizing criminal docket                    2.60   Wu, Julia S.
                     filings.


23754813 3/26/2019   Draft talking points on criminal proceeding for            0.70   Wolf, Julie M.
                     Committee call.


23446556 3/27/2019   Prepare materials for 4/2 criminal proceeding              0.50   Wolf, Julie M.
                     hearing on order to show cause.


23446705 3/29/2019   Review materials and docket re: hearing on                 0.40   Wolf, Julie M.
                     Order to Show Cause.


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23329605 3/4/2019    Travel to and from San Francisco for 341(a)                4.00   Denny, Daniel B.
                     meeting.


23389978 3/12/2019   Travel from Los Angeles to San Francisco for               3.00   Franzoia, Rachel
                     March 13 omnibus hearing.


23389944 3/13/2019   Return travel time to Los Angeles following                4.50   Franzoia, Rachel
                     March 13 omnibus hearing in San Francisco.


23386741 3/13/2019   Return travel from omnibus hearing.                        2.50   Kreller, Thomas R.


23404863 3/18/2019   Travel time for STIP deposition.                           2.50   Denny, Daniel B.


23404857 3/19/2019   Travel time from STIP deposition.                          2.50   Denny, Daniel B.


23405235 3/19/2019   Travel to and from New York for meeting with               4.50   Leblanc, Andrew M.
                     FTI.


23457380 3/19/2019   Travel to NY for meeting with FTI on wildfire              3.00   Vora, Samir
                     claims.


23404951 3/21/2019   Travel time to (2.1) and from Friske deposition            4.00   Denny, Daniel B.
                     (1.9).


23457390 3/21/2019   Return travel to D.C.                                      2.50   Vora, Samir


23454592 3/27/2019   Travel home following omnibus hearing                      3.00   Kreller, Thomas R.




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23319997 3/1/2019    Review CPUC hearings.                                      1.70   Dunne, Dennis F.


23323572 3/1/2019    Review De-energization filings (.9); review                1.60   Seeley, Henry
                     SB901 filings (.7).


23313916 3/4/2019    Review hearing transcript for Wildfire                     0.40   Bice, William B.
                     Mitigation Plan proceeding.


23355910 3/4/2019    Review docket updates to General Rate Case                 1.80   Seeley, Henry
                     (.2), SB901 Rulemaking (.8), De-Energization
                     Proceeding (.3) and Wildfire Cost Recovery
                     (.5).


23355983 3/5/2019    Update CPUC sections of CPUC and FERC summary              0.60   Seeley, Henry
                     document.


23356009 3/6/2019    Final review of CPUC summary for circulation to            0.50   Seeley, Henry
                     PG&E working group.


23342029 3/8/2019    Review filings in safety culture proceeding at             3.00   Bice, William B.
                     CPUC (2.3); draft summary of safety culture
                     proceeding for OCC (.5); respond to question
                     from J. Weber on CPUC input into Board
                     selection/proxy contest (.2).


23343260 3/8/2019    Emails w/ H. Seeley re CPUC proceedings.                   0.20   Koch, Matthew


23356103 3/8/2019    Review (.8) and update (.9) summary for                    1.70   Seeley, Henry
                     circulation to UCC.


23379264 3/12/2019   Comms. w/ H. Seely regarding committee memo on             0.20   Bice, William B.
                     CPUC proceedings.


23387477 3/12/2019   Review docket filings in SB901,                            1.70   Seeley, Henry
                     De-Energization, Safety Proceeding, and General
                     Rate Case (.9). draftsummary re filings (.8).


23386220 3/13/2019   Attend meeting with A. Kornberg and B. Hermann             1.20   Dunne, Dennis F.
                     (CPUC) re case developments and paths forward.




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23387575 3/15/2019   Review docket updates re SB901 proceeding (.8);            1.10   Seeley, Henry
                     review docket updates to de-energization
                     proceeding (.3).


23387832 3/16/2019   Review news articles and public filings re:                2.40   Seeley, Henry
                     CPUC.


23401708 3/19/2019   Review filings in CPUC docket for Wildfire                 1.20   Bice, William B.
                     Mitigation Plans (.6); review SDG&E objection
                     to public participation in wildfire cost
                     hearing (.2); review (.2) and comment (.2) on
                     H. Seeley memo on new filings in CPUC
                     proceedings.


23422415 3/19/2019   Review docket updates for CPUC proceedings                 1.80   Seeley, Henry
                     (1.1); update weekly summary (.7).


23422576 3/21/2019   Review CPUC docket updates.                                0.60   Seeley, Henry


23754953 3/21/2019   Correspondence w/ W. Bice re update to                     0.10   Seeley, Henry
                     committee memo on proceeding.


23411879 3/22/2019   Review docket entries for Wildfire Plan                    0.40   Bice, William B.
                     proceeding (.3); correspondence with H. Seeley
                     on update to committee memo on proceeding (.1).


23422689 3/23/2019   Review PG&E reply comments to wildfire                     1.20   Seeley, Henry
                     mitigation plan comments.


23438948 3/26/2019   Review reply comments of PG&E in Wildfire                  0.80   Bice, William B.
                     Mitigation Proceeding.


23455894 3/26/2019   Review materials re: weekly updates regarding              3.40   Seeley, Henry
                     SB901 (2.5), safety Culture (.1), and
                     de-energization (.8).


23460217 3/27/2019   Prepare for upcoming Commission meeting re                 0.10   Ayoub, Emile G.
                     wildfires.


23460221 3/28/2019   Coordinate w/ J. Wu re attending California’s              0.20   Ayoub, Emile G.
                     Commission on Wildfire meeting.


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23438993 3/28/2019   Review filings in CPUC safety culture                    0.40   Bice, William B.
                     proceeding (.2); review revisions to CPUC
                     proceedings memo to committee (.2).


23755126 3/29/2019   Communicate substance of AB 740 w/ W. Bice.              0.10   Dunne, Dennis F.




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23345646 3/5/2019    Meet with L. Orengo re: FERC jurisdictional                2.40   Liles, James
                     matters (.4); follow up meeting with L. Orengo
                     re same (.1); email exchanges with W. Bice re:
                     internal team call to discuss FERC declaratory
                     orders on jurisdiction (.1); review memo to
                     Committee re intervention in FERC proceedings
                     (.3); research (redacted) (.2); review outline
                     of draft briefing issues for FERC adversary
                     proceeding (.4); email to W. Bice re same (.5);
                     email exchange with W. Bice re query on FERC
                     jurisdictional issue (.4).


23355987 3/5/2019    Update weekly summary chart for FERC                       0.30   Seeley, Henry
                     transmission rate case.


23356249 3/6/2019    Review FERC docket filings.                                0.50   Seeley, Henry


23742833 3/9/2019    Revise FERC petition (.9); internal                        1.30   Nolan, Michael D.
                     communication re same (.4).


23387182 3/11/2019   Review (.3) and revise (.2) reply in support of            0.80   Kreller, Thomas R.
                     preliminary injunction re FERC jurisdiction and
                     calls and corr with team re same (.3).


23385552 3/11/2019   Work on FERC petition (.8); internal discussion            1.00   Nolan, Michael D.
                     of bankruptcy draft pleadings (.2).


23387158 3/14/2019   Review (.4) and revise motion to intervene in              0.80   Kreller, Thomas R.
                     FERC proceedings (.2); corr with team re same
                     (.2)


23385548 3/14/2019   Coordinate with K. Aitelaj and J. Liles re:                0.50   Nolan, Michael D.
                     filing of FERC motions to intervene.


23389372 3/15/2019   Email from T. Kreller re: coordination on                  0.10   Liles, James
                     governmental filings.


23387574 3/15/2019   Review of filings to the PG&E transmission rate            0.10   Seeley, Henry
                     case.




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23422409 3/19/2019   Review FERC docket updates (.5); update weekly            0.60   Seeley, Henry
                     summary (.1).


23460206 3/26/2019   Review recent FERC regulatory filing (.1);                0.20   Ayoub, Emile G.
                     review FERC Commission meeting re wildfire
                     plans (.1).


23446297 3/26/2019   Review email notifications from FERC re:                  0.30   Liles, James
                     tolling orders in NextEra and Exelon dockets
                     (.1); forward FERC tolling orders to Milbank
                     FERC team (.1); meeting with M. Nolan re:
                     discussion of FERC rehearing tolling orders and
                     outlook for later action (.1).


23444207 3/26/2019   Review FERC action on rehearing application               1.00   Nolan, Michael D.
                     (.9); meeting w/ J. Liles re discussion of FERC
                     rehearing tolling orders and outlook for later
                     action (.1).




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23308083 3/1/2019   Perform conflicts review (5.1); meet w/ C.                   5.40   Lee, Danielle
                    Price and D. Lee re same (.3).


23320070 3/1/2019   Review conflicts results (2.4); meeting w/ C.                2.70   Price, Craig Michael
                    Price and D. Lee re same (.3).


23320376 3/2/2019   Review Axiom's position re conflicts (.3);                   0.70   Dunne, Dennis F.
                    confs. with A. Scruton (FTI) re same (.2);
                    review response to same (.2).


23308087 3/3/2019   Perform conflicts review (1.7); internal comms.              2.00   Lee, Danielle
                    re: same (.3).


23362471 3/3/2019   Review conflict check analysis.                              2.10   Price, Craig Michael


23338533 3/4/2019   Review Axiom engagement (.3); confs. with FTI                0.90   Dunne, Dennis F.
                    (C. MacDonald, S. Starr, A. Scruton) re:
                    alternatives and recommendations (.4); review
                    Axiom retention issues (.2).


23343029 3/4/2019   Perform rule 2014 review re Milbank retention                3.10   Koch, Matthew
                    (2.4); t/c with C. Price re conflict issues and
                    research re same (.7).


23343053 3/4/2019   Continue conflicts review.                                   6.60   Lee, Danielle


23355744 3/4/2019   Conflicts review (2.2); o/c with T. Lomazow re               3.20   Price, Craig Michael
                    conflicts issues (.3); o/c with M. Koch re
                    research i/c/w conflict issues (.7).


23338771 3/5/2019   Conf. with S. Karotkin (Weil) and A. Leblanc re              0.30   Dunne, Dennis F.
                    retention of professionals.


23343095 3/5/2019   Review update re potential advisor retention.                0.10   Koch, Matthew


23346263 3/5/2019   Call with D. Dunne and S. Karotkin (Weil) re re              0.60   Leblanc, Andrew M.
                    retention of professionals (.3); review
                    materials re same (.3).


23343111 3/5/2019   Perform conflicts review.                                    8.10   Lee, Danielle



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23355756 3/5/2019   Meeting with team re conflicts review (1.1);                 3.30   Price, Craig Michael
                    review related conflict materials (2.2).


23359018 3/6/2019   Team meeting re conflict search process.                     0.50   Adeyosoye, Adeola O.


23741300 3/6/2019   Review retention materials (.4); o/c with C.                 0.50   Aronzon, Paul S.
                    Price re same (.1).


23343532 3/6/2019   Perform conflicts review (7.9); team meeting re              8.50   Lee, Danielle
                    same (.5); internal correspondence re same
                    (.1).


23355760 3/6/2019   Review conflicts materials (2.7); team meeting               3.20   Price, Craig Michael
                    re same (.5).


23329159 3/6/2019   Perform conflicts review (7.3); team meeting re              7.80   Zimberg, Joshua
                    same and next steps (.5).


23355495 3/7/2019   Confs. with A. Scruton re Compass (.2); review               0.40   Dunne, Dennis F.
                    scope of terms re same (.2).


23343508 3/7/2019   Perform conflicts review.                                    4.40   Lee, Danielle


23356284 3/7/2019   Review conflict materials (2.1); comms. with A.              2.50   Price, Craig Michael
                    Adeyosoye re same (.4).


23336215 3/7/2019   Perform conflicts review (6.2); correspond w/                6.50   Zimberg, Joshua
                    C. Price re same (.3).


23355648 3/8/2019   Review update from Axiom (.4); confs. with Epiq              0.90   Dunne, Dennis F.
                    re discount (.3); review counter (.2).


23343540 3/8/2019   Perform conflicts search.                                    8.10   Lee, Danielle


23339328 3/8/2019   Draft Epiq retention application.                            2.50   Milender, Parker


23356317 3/8/2019   Review conflict materials (2.7); t/c with team               3.50   Price, Craig Michael
                    re same (.8).




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23355673 3/9/2019    Review tort committee retention of advisors                  0.70   Dunne, Dennis F.
                     (.2); review fee app preparation (.5).


23355684 3/10/2019   Review position of Axiom (.3); review Epiq                   0.70   Dunne, Dennis F.
                     retention terms (.2); memo to UCC re same (.2).


23343308 3/10/2019   Emails w/ C. MacDonald (FTI) re potential                    0.20   Koch, Matthew
                     retention issues.


23377968 3/11/2019   Review draft Axiom retention letter (.6) and                 0.70   Bice, William B.
                     comment on same (.1).


23365101 3/11/2019   Review FTI's draft retention application and                 0.60   Dunne, Dennis F.
                     disclosures.


23388652 3/11/2019   Bankruptcy rule 2014 review (2.5); call w/ P.                2.60   Koch, Matthew
                     Milender re noticing agent retention (.1).


23363468 3/11/2019   Perform conflicts search.                                    6.90   Lee, Danielle


23350241 3/11/2019   Revise Epiq fee application.                                 1.60   Milender, Parker


23377795 3/11/2019   Perform conflicts review (2.0); revise                       2.80   Price, Craig Michael
                     retention application (.8).


23392636 3/11/2019   Emails re Centerview retention application                   0.60   Weber, Jordan A.
                     (.2); review Centerview comments and circulate
                     the same to Milbank team (.4).


23748432 3/12/2019   Review issues re Axiom.                                      1.70   Bray, Gregory A.


23375782 3/12/2019   Conference with J. Weber and J. Anderson                     0.50   Denny, Daniel B.
                     (partial) regarding Centerview engagement
                     letter.


23385557 3/12/2019   Review Axiom retention and next steps (.3);                  1.10   Dunne, Dennis F.
                     confs. with A. Scruton, M. Eisenband, and S.
                     Starr (FTI) re FTI disclosures (.3); review
                     same (.2); review Milbank searches and conflict
                     results (.3). .



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23388682 3/12/2019   Mark up potential consultant engagement letter               1.00   Koch, Matthew
                     (.8); call w/ A. Scruton (FTI) re retention
                     issues (.2).


23389195 3/12/2019   Conference with A. Scruton, M. Eisenband, and                0.60   Leblanc, Andrew M.
                     S. Star (FTI) re: FTI retention issues (.3);
                     review same (.3).


23368301 3/12/2019   Perform conflicts review.                                    2.50   Lee, Danielle


23377822 3/12/2019   Revise Axiom engagement letter.                              0.80   Price, Craig Michael


23377823 3/12/2019   Call w/ A. Scruton (FTI) re retention issues.                0.20   Price, Craig Michael


23377833 3/12/2019   Review conflict materials (1.9); review                      2.80   Price, Craig Michael
                     retention issues (.9).


23392646 3/12/2019   Call with W. Graham (Centerview) regarding                   0.30   Weber, Jordan A.
                     comments to retention app.


23389659 3/13/2019   Corresp with C. Price and D. Lee re status of                0.50   Adeyosoye, Adeola O.
                     retention application.


23379532 3/13/2019   Complete review of Axiom engagement letter.                  0.10   Bice, William B.


23748462 3/13/2019   Review of Axiom engagement letter.                           0.40   Bray, Gregory A.


23388813 3/13/2019   Emails w/ C. MacDonald (FTI) re retention                    3.10   Koch, Matthew
                     issues (.2); perform rule 2014 review (2.9).


23368407 3/13/2019   Review materials for conflicts search.                       7.20   Lee, Danielle


23748640 3/13/2019   Revise retention application (1.9); review                   7.30   Price, Craig Michael
                     conflict materials (3.4); review conflict
                     materials (2.0).


23363460 3/13/2019   Perform conflicts review.                                    1.90   Zimberg, Joshua


23748734 3/14/2019   Review issues related to Axiom retention.                    1.40   Bray, Gregory A.



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23375840 3/14/2019   Review debtors retention applications (.2);                 0.30    Denny, Daniel B.
                     email exchanges with M. Koch and working group
                     re analysis of same (.1).


23388896 3/14/2019   Revise Milbank retention app (1.2); revise                  3.00    Koch, Matthew
                     Milbank retention app (1.1); communications w/
                     C. MacDonald (FTI) and C. Price re retention
                     issues (.2); call w/ S. Garabato (Epiq) and P.
                     Milender re services agreement (.5).


23368442 3/14/2019   Review materials in connection with conflicts               4.90    Lee, Danielle
                     search


23372177 3/14/2019   Call w/ S. Garabato (Epiq) and M. Koch re:                  1.00    Milender, Parker
                     retention application (.5); draft comments to
                     Epiq services agreement (.5).


23377844 3/14/2019   Conflict review (2.1); finalize retention                   4.00    Price, Craig Michael
                     application (1.9).


23404971 3/15/2019   Communicate with M. Koch re: Milbank retention              0.40    Behrens, James C.
                     application.


23748921 3/15/2019   Review Axiom issues.                                        1.40    Bray, Gregory A.


23388972 3/15/2019   Communications w/ G. Bray and C. Price re third             5.40    Koch, Matthew
                     party retention issues (.5); revise Milbank
                     retention app (3.9); perform rule 2014 review
                     (1).


23748923 3/15/2019   Review and analyze debtors fee applications                 2.80    Kreller, Thomas R.
                     (.9); corr with team re same (.2); revise
                     Milbank employment applications and related
                     disclosures (1.2); calls and corr with team re
                     same (.5).


23377676 3/15/2019   Update conflict search results for retention                2.80    Lee, Danielle
                     Application.


23379103 3/15/2019   Research re retention of certain professionals              0.90    Mandel, Lena
                     (.7); conference with C. Price re results (.2).


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23380035 3/15/2019   Review conflict check results (2.7) and                     4.10    Price, Craig Michael
                     retention application issues (1.2); conf. with
                     C. Price re results of research re same (.2).


23404940 3/16/2019   Communicate with D. Denny re: Centerview                    2.20    Behrens, James C.
                     engagement letter (.4); review Centerview
                     engagement letter and related correspondence
                     (1.3); multiple t/cs with D. Denny re
                     Centerview engagement (.5).


23379659 3/16/2019   Correspond with M. Koch re: Axiom retention                 0.60    Bice, William B.
                     (.2); call with H. Seeley re same (.2); review
                     draft email by H. Seeley regarding Axiom (.2).


23392620 3/16/2019   Email exchanges w/ G. Bray and working group re             1.20    Denny, Daniel B.
                     Axiom retention application and related issues
                     (.2); t/c with R. Franzoia regarding Axiom
                     retention application (.2); t/c with J. Behrens
                     (multiple) regarding Centerview engagement
                     (.5); review and analyze revised draft
                     Centerview engagement letter (.3)


23389006 3/16/2019   Communications w/ G. Bray, C. MacDonald (FTI),              1.50    Koch, Matthew
                     and J. Behrens re third party retention app
                     (.3); research re (redacted) (1.2).


23374986 3/16/2019   Review issues re: Epiq retention applications.              0.40    Milender, Parker


23404930 3/17/2019   Communicate with Milbank team re: Centerview                0.20    Behrens, James C.
                     engagement letter.


23390044 3/17/2019   Research regarding (redacted) (2.9); prepare                4.10    Franzoia, Rachel
                     (redacted) (1.2).


23377205 3/17/2019   Revise Epiq retention application.                          0.20    Milender, Parker


23755336 3/18/2019   T/c w/ D. Denny re Centerview engagement.                   0.20    Anderson, Jason T.




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23404934 3/18/2019   Review and revise Centerview employment                    2.00    Behrens, James C.
                     application (.5) and Centerview engagement
                     letter (1.2); conf w/ D. Denny re Centerview
                     engagement letter and retention application
                     (.3).


23401726 3/18/2019   Review (.3) and comment (.5) on Milbank                    1.80    Bice, William B.
                     retention application; research disinterested
                     transaction standard (.8); emails w/ M. Koch re
                     Milbank retention application (.2).


23404861 3/18/2019   Conference with J. Behrens re Centerview                   0.50    Denny, Daniel B.
                     engagement letter and retention application
                     (.3); conference with R. Franzoia re Axiom
                     retention application (.2).


23386295 3/18/2019   Review Milbank retention papers (.8); emails w/            0.90    Dunne, Dennis F.
                     M. Koch re retention application (.1).


23390222 3/18/2019   Continue to research (redacted) (6.1); draft               9.30    Franzoia, Rachel
                     UCC's Application to Employ Axiom Advisors (3);
                     conference w/ D. Denny re Axiom retention
                     application (.2).


23423501 3/18/2019   Draft Centerview retention app (1); revise                 4.40    Koch, Matthew
                     Milbank retention app (1.7); communications w/
                     W. Graham (Centerview) re Centerview retention
                     (.5); emails w/ D. Dunne, W. Bice, and K. Wong
                     re Milbank retention app (.4); revise app (.7).
                     correspond w/ L. Mandel re Epiq retention
                     application (.1).


23407092 3/18/2019   Review results of conflicts search.                        0.50    Lee, Danielle


23385091 3/18/2019   Review (.3) and revise (.9) Epiq retention                 2.80    Mandel, Lena
                     application; correspond with P. Milender and M.
                     Koch re same (.2); review (.4) and revise (1)
                     Milbank's retention application and related
                     declaration.


23425026 3/19/2019   Review Centerview engagement letter.                       0.40    Anderson, Jason T.




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23404920 3/19/2019   Review Centerview engagement letter (.4); comms            6.00    Behrens, James C.
                     w/ G. Bray re same (.4); calls and emails with
                     Centerview re: same (1.2); research case law
                     for (redacted) (2.5); revise Centerview
                     employment application (1.5).


23754498 3/19/2019   Comms w/ J. Behrens re Centerview engagement               0.90    Bray, Gregory A.
                     letter (.4); review same (.5).


23404856 3/19/2019   Teleconference with R. Franzoia re Axiom                   0.50    Denny, Daniel B.
                     retention app.


23390204 3/19/2019   Review Debtors' application to employ Lazard as            6.50    Franzoia, Rachel
                     investment banker (.6); review Debtors' Weil
                     application (.4); review Debtors' AP Services
                     application (.5); review Prime Clerk
                     application (.2); review Jenner & Block
                     application (.2); review Debtors' application
                     to employ Keller & Benvenutti (.3); research
                     regarding (redacted) (3.1); draft email to G.
                     Bray and T. Kreller regarding the same (.7);
                     phone call with D. Denny regarding the same
                     (.5).


23423521 3/19/2019   Revise Milbank retention app (1.5); draft                  3.20    Koch, Matthew
                     Centerview retention app (1.4); review local
                     rules (.1); t/c w/ C. Price re retention
                     application (.2)


23395899 3/19/2019   Further review Epiq retention application.                 0.80    Milender, Parker


23409081 3/19/2019   Review issues with retention application (.9);             1.10    Price, Craig Michael
                     t/c with M. Koch re same (.2).


23425032 3/20/2019   Review Centerview engagement letter (1.0);                 1.20    Anderson, Jason T.
                     emails w/ M. Koch re Centerview retention (.2).


23404907 3/20/2019   Telephone conference with Centerview and G.                1.20    Behrens, James C.
                     Bray regarding Centerview engagement letter.




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23754509 3/20/2019   T/c w/ Centerview and J. Behrens re Centerview              2.40    Bray, Gregory A.
                     engagement letter (1.2); review Axiom retention
                     issues (.6); calls w/ UCC members re same (.6).


23404949 3/20/2019   Telephone conference with J. Anderson regarding             0.20    Denny, Daniel B.
                     Centerview engagement.


23425341 3/20/2019   Draft Axiom retention app (2.4);                            3.10    Franzoia, Rachel
                     calls/correspondence re: same (.5); conference
                     w/ D. Denny re work in progress (.2).


23754249 3/20/2019   Call w/ M. Koch re third party retention                    0.30    Franzoia, Rachel
                     issues.


23755090 3/20/2019   Emails w/ P. Milender re Epiq retention (.2);               4.70    Koch, Matthew
                     emails w/ K. Chopra (Centerview) and T. Kreller
                     re Centerview retention issues (.2);
                     communications w/ A. Scruton (FTI) and S. Starr
                     (FTI) re potential retention of consultant
                     (.4); revise Milbank retention app (.1); revise
                     Centerview retention application (.3). Emails
                     w/ S. Garabato (Epiq) re services agreement
                     (.2); revise conflicts connections chart (.2);
                     further revise Milbank retention app (.5); call
                     w/ R. Franzoia re third party retention issues
                     (.3); emails w/ W. Graham (Centerview) and J.
                     Anderson re Centerview retention (.3); revise
                     Milbank retention application (1.6); emails w/
                     M. Koch re Epiq retention application (.1);
                     conference w/ L. Mandel re various retention
                     applications and related issues (.3).


23413012 3/20/2019   Emails w/ M. Koch re Centerview retention                   3.00    Kreller, Thomas R.
                     issues (.1); review (1.9) and revise (1.0)
                     Milbank employment papers.


23401536 3/20/2019   Correspond with P. Milender and M. Koch re                  0.50    Mandel, Lena
                     various retention applications and related
                     issues.




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23401919 3/20/2019   Review/revise Epiq retention application (.3);              0.70    Milender, Parker
                     emails w/ Epiq and M. Koch re: same (.2);
                     correspond w/ L. Mandel re various retention
                     application and related issues (.2).


23425040 3/21/2019   Finalize Centerview engagement letter.                      0.20    Anderson, Jason T.


23754532 3/21/2019   Communications w/ M. Koch re consultant                     0.20    Bray, Gregory A.
                     retention.


23404953 3/21/2019   Review and analyze professional retention                   0.50    Denny, Daniel B.
                     engagement issues re Axiom (.2) and Centerview
                     (.3).


23425342 3/21/2019   Calls/correspondence re Axiom Retention App                 2.30    Franzoia, Rachel
                     (1.1); update calendar (1.2).


23754254 3/21/2019   Revise Axiom retention app.                                 5.40    Franzoia, Rachel


23423598 3/21/2019   Correspondence w/ potential consultant re                   1.40    Koch, Matthew
                     retention (.2); communications w/ G. Bray re
                     consultant retention (.2); revise engagement
                     letter (.2); revise consultant engagement
                     letter (.5); t/c w/ C. Price re retention
                     application (.3).


23413009 3/21/2019   Further review Milbank employment papers (1.0)              2.40    Kreller, Thomas R.
                     and conflicts check disclosures (1.4).


23408977 3/21/2019   Review retention application (1); t/c with M.               1.30    Price, Craig Michael
                     Koch re same (.3).


23411984 3/22/2019   Review Axiom engagement letter (.2);                        0.30    Bice, William B.
                     correspondence with T. Kreller re same (.1).


23404956 3/22/2019   Review committee retention application issues               2.10    Denny, Daniel B.
                     (.6); conference with R. Franzoia regarding
                     draft Axiom retention app (.4); conference with
                     R. Franzoia and T. Kreller regarding Axiom
                     engagement (.2); r review and analyze Axiom
                     retention issues (.9).


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23754259 3/22/2019   Review Axiom retention app (2.2); conference w/            5.90    Franzoia, Rachel
                     D. Denny re drafting of Axiom retention app
                     (.4); conference w/ D. Denny and T. Kreller re
                     Axiom engagement (.2); revise memos on
                     retention apps for committee (3.1);


23754260 3/22/2019   Review draft of Centerview retention                       0.30    Khani, Kavon M.
                     application.


23423631 3/22/2019   Review debtors' retention apps (1.3); revise               2.70    Koch, Matthew
                     Milbank retention app (.4); revise Kreller
                     declaration (.3); revise conflicts chart (.2);
                     emails w/ T. Kreller re same (.2); emails w/ T.
                     Kreller re rule 2014 diligence (.3).


23413004 3/22/2019   Review Milbank employment app (1.1); corr to               1.90    Kreller, Thomas R.
                     UST re same (.4); emails w/ M. Koch re
                     conflicts chart (.2); emails w/ M. Koch re rule
                     2014 diligence (.2).


23755098 3/22/2019   Conference w/ D. Denny and R. Franzoia re                  0.30    Kreller, Thomas R.
                     engagement letter (.2); correspondence w/ W.
                     Bice re Axiom Engagement letter (.1).


23408984 3/22/2019   Review retention application (.8); review                  1.10    Price, Craig Michael
                     related correspondence (.3).


23411896 3/23/2019   Correspondence with T. Kreller on Axiom                    0.20    Bice, William B.
                     retention.


23412979 3/23/2019   Teleconference with M. Koch regarding Axiom                0.20    Denny, Daniel B.
                     retention application (.1); review emails re
                     same (.1).


23423638 3/23/2019   Call w/ D. Denny re consultant retention.                  0.10    Koch, Matthew


23413066 3/24/2019   Revise draft Axiom retention application (1.6);            2.90    Denny, Daniel B.
                     review and analyze case law re retention of
                     committee professionals (.9); t/c with R.
                     Franzoia regarding revised draft Axiom
                     retention application (.4).



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23425345 3/24/2019   T/c w/ D. Denny re revised draft Axiom                      5.00    Franzoia, Rachel
                     retention application (.4); further revise same
                     re D. Denny’s comments (4.6).


23441307 3/25/2019   Email T. Kreller regarding Axiom retention                  1.10    Denny, Daniel B.
                     application (.1); t/c with R. Franzoia
                     regarding revisions to draft Axiom retention
                     application (.6); review and analyze revised
                     draft Axiom retention application (.4).


23754805 3/25/2019   Correspondence w/ R. Franzoia re request for                0.50    Dexter, Erin E.
                     Judicial Notice in support of Axiom Retention
                     Application.


23459510 3/25/2019   Prepare memorandum for the UCC regarding the                2.00    Franzoia, Rachel
                     retention applications filed by the Debtors and
                     TCC (Weil, AP Services, Keller & Benvenutti,
                     Prime Clerk, Lazard, Jenner & Block, Baker &
                     Hostetler).


23755337 3/25/2019   Revise Axiom retention application (3.6);                   5.00    Franzoia, Rachel
                     correspondence with D. Denny regarding the same
                     (.6); prepare Request for Judicial Notice in
                     support of Axiom Retention Application (.8).


23432329 3/25/2019   Review comp analysis (.2); call w/ J. Willis                0.30    Koch, Matthew
                     (DLA Piper) re FTI retention app (.1).


23755339 3/25/2019   Revise Axiom engagement letter (.4); emails w/              0.90    Kreller, Thomas R.
                     G. Bray reAxiom employment papers and next
                     steps (.2); review Milbank employment papers
                     and disclosures (.3).


23439421 3/25/2019   Review FTI and CV comp analysis (.2); call w/               0.30    Price, Craig Michael
                     J. Willis (DLA Piper) re FTI retention app
                     (.1).


23754806 3/25/2019   Conduct research re: (redacted) (2.1); draft                3.70    Wolf, Julie M.
                     request for judicial notice to accompany Axiom
                     retention application (1.6).




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23441522 3/26/2019   Email to T. Kreller re Axiom retention                      0.20    Denny, Daniel B.
                     application (.1); conference with T. Kreller re
                     Axiom retention application (.1).


23754808 3/26/2019   Correspondence w/ R. Franzoia re Axiom                      0.60    Dexter, Erin E.
                     retention application supporting RJN.


23446629 3/26/2019   Confs. with S. Green re Lazard comp (.3);                   0.70    Dunne, Dennis F.
                     review same (.4).


23459566 3/26/2019   Correspondence with E. Dexter regarding Axiom               0.70    Franzoia, Rachel
                     retention application and supporting RJN.


23754833 3/26/2019   Conference w/ D. Denny re Axiom retention                   0.10    Kreller, Thomas R.
                     application.


23441471 3/27/2019   T/c with R. Franzoia regarding Axiom retention              0.20    Denny, Daniel B.
                     application.


23452161 3/27/2019   Review UST's responses and comments to draft                0.50    Dunne, Dennis F.
                     UCC advisor retention apps (.3); confs. with A.
                     Scruton (FTI) re same (.2).


23459530 3/27/2019   T/c with D. Denny to discuss various matters                0.30    Franzoia, Rachel
                     including Axiom retention application.


23459921 3/27/2019   T/c with M. Koch regarding Axiom engagement                 0.90    Franzoia, Rachel
                     (.6); email C. Gilson (Axiom) regarding the
                     same (.1); t/c w/ D. Denny re Axiom retention
                     application (.2).


23460096 3/27/2019   Review time entries for privilege and                       2.50    Franzoia, Rachel
                     compliance with guidelines.


23432593 3/27/2019   Call w/ potential consultant re retention                   1.60    Koch, Matthew
                     issues (.9); revise Centerview retention app
                     (.1); t/c w/ R. Franzoia re Axiom engagement
                     (.6).




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23454552 3/27/2019   Corr with UST and FTI re open issues and                    1.40    Kreller, Thomas R.
                     questions re FTI employment papers (.4); work
                     on responses re same (.2); call with Axiom re
                     engagement letter, employment papers
                     disclosures (.6) and next steps re same (.2).


23455073 3/27/2019   Review open items re conflict check (1.1);                  2.20    Price, Craig Michael
                     review retention materials (.6); review
                     comments from UST to FTI application (.5).


23789761 3/27/2019   Review and comment on financial advisor                     2.60    Weber, Jordan A.
                     retention application (1.9); emails on
                     engagement letter for financial advisor (.4);
                     review engagement letter for application
                     purposes (.3).


23457840 3/28/2019   Emails w/ R. Chesley (FTI) re FTI fee apps                  0.30    Koch, Matthew
                     (.1); emails w/ R. Franzoia re third party
                     consultant engagement (.2).


23454973 3/28/2019   Corr with UST and FTI re open issues and                    0.50    Kreller, Thomas R.
                     questions re FTI employment papers (.3) and
                     work on responses re same (.2).


23454984 3/28/2019   Review and revise Epiq employment papers (.3);              0.40    Kreller, Thomas R.
                     calls and corr with team re same (.1).


23441490 3/29/2019   Teleconference with R. Franzoia re response to              0.20    Denny, Daniel B.
                     Lazard application.


23459959 3/29/2019   Phone call with D. Denny re response to Lazard              3.70    Franzoia, Rachel
                     application (.2); draft objection to retention
                     application (3.5).


23459984 3/29/2019   Review draft response to TCC motion for                     0.50    Franzoia, Rachel
                     reimbursement of member expenses (.4); email
                     correspondence regarding the same (.1).


23460074 3/29/2019   Revise billing entries for privilege and                    1.80    Franzoia, Rachel
                     compliance with guidelines.




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23755349 3/29/2019   Review and revise limited response to TCC                  1.00    Kreller, Thomas R.
                     committee reimbursement procedures (.5); corr
                     with TCC counsel re same (.1); corr with UCC
                     advisor team re Lazard employment app issues
                     (.3) and next steps (.1).


23455175 3/29/2019   Review retention materials for UCC                         2.10    Price, Craig Michael
                     professionals.




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23338535 3/4/2019   Corr. with Willkie re meeting (.3); review                0.80   Dunne, Dennis F.
                    issues re subrogation claims and diligence same
                    (.5).


23338772 3/5/2019   Review coverage C & D issues (.8); review                 1.40   Dunne, Dennis F.
                    evidence and claim allowance re same (.6).


23346940 3/5/2019   Coordinate research re (redacted) (.1); discuss           1.00   Wu, Julia S.
                    same with E. Ayoub (.3); comms. with M.
                    Capolino re same (.1); research re (redacted)
                    (.5).


23338778 3/6/2019   Review upcoming meetings/agendas with                     0.40   Dunne, Dennis F.
                    subrogation group and CPUC.


23346948 3/6/2019   Research (redacted) (.4); research (redacted)             1.70   Wu, Julia S.
                    (.2); research (redacted) (.2); draft email
                    summary of research findings (.8); review and
                    finalize same (.1).


23355566 3/7/2019   Attend meeting at Willkie with ad hoc insurance           1.10   Dunne, Dennis F.
                    committee advisors (M. Feldman and J. Minias
                    (Willkie) and H. Parkhill (Rothschild).


23333951 3/7/2019   Attend meeting with A. Leblanc and D. Dunne and           0.50   Khalil, Samuel A.
                    Subrogation committee advisors (partial).


23346279 3/7/2019   Meeting with S. Khalil, D. Dunne and                      1.70   Leblanc, Andrew M.
                    subrogation claimants advisors (M. Feldman and
                    J. Minias (Willkie) and H. Parkhill of
                    Rothschild) re case summaries (1.1); coordinate
                    re same (.6).


23347011 3/7/2019   Incorporate edits to draft email regarding                2.60   Wu, Julia S.
                    wildfire insurance payouts for the PG&E
                    wildfires (1.2); correspond w/ E. Ayoub re same
                    (.2); further revise and incorporate additional
                    edits to draft email regarding wildfire
                    insurance payouts for PG&E wildfires (.5);
                    further revise same and incorporate additional
                    language re insurance carrier reports w/r/t
                    wildfire payouts (.7).


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23347024 3/8/2019    Review (.1) and incorporate (.4) S. Vora's                 0.60   Wu, Julia S.
                     comments on email re wildfire insurance
                     payouts; email w/ E. Ayoub and M. Capolino re
                     same (.1).


23396112 3/12/2019   Review research re (redacted) (.6); discussion             0.80   Ayoub, Emile G.
                     with M. Capolino and J. Wu re same (.2).


23376861 3/12/2019   Discussion with E. Ayoub and J. Wu re research             0.80   Capolino, Margherita Angela
                     relating to (redacted) (.2); review same (.6).


23457362 3/12/2019   Meeting with A. Leblanc regarding estimated                2.40   Vora, Samir
                     volume of wildfire claims and related
                     litigation issues (.6); research regarding
                     (redacted) (1.4); comms w/ E. Ayoub re same
                     (.4).


23392577 3/12/2019   Discuss with E. Ayoub and M. Capolino research             0.50   Wu, Julia S.
                     (redaction) (.2); research (redaction) (.3).


23396133 3/13/2019   Correspondence w/ J. Wu re research regarding              0.40   Ayoub, Emile G.
                     (redacted).


23376886 3/13/2019   Research regarding (redacted).                             2.90   Capolino, Margherita Angela


23392581 3/13/2019   Review results of research regarding (redacted)            3.60   Wu, Julia S.
                     (.2); research (redacted) (1) attend corr. with
                     E. Ayoub and M. Capolino regarding research
                     results (.6); create list of single-event
                     disasters that resulted in mass tort claims
                     (1.8).


23748729 3/14/2019   Review (.6) and revise (.4) email summary re               1.00   Ayoub, Emile G.
                     (redacted).


23376960 3/14/2019   Research re: tort issues and related                       6.70   Capolino, Margherita Angela
                     settlements (4.3); research re: (redacted)
                     (2.4).




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23457376 3/15/2019   Meet with A. Leblanc and FTI regarding                    2.50   Vora, Samir
                     treatment of wildfire and wildfire-related
                     subrogation claims (.8); review same (1.3) and
                     tort memo (.4).




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23312630 3/1/2019    Call with creditor re: NOL motion.                           0.20   Kestenbaum, Russell J.


23343017 3/4/2019    Comms. w/ R. Franzoia re tax issues (.1); call               1.00   Koch, Matthew
                     w/ D. Schiff (Davis Polk) and C. Price re NOL
                     motion (.9).


23355790 3/4/2019    Call w/ D. Schiff (Davis Polk) and M. Koch re                0.90   Price, Craig Michael
                     NOL motion.


23338775 3/5/2019    Review additional tax payment issue.                         0.70   Dunne, Dennis F.


23362768 3/5/2019    Review debtors' draft supplemental tax motion.               0.10   Hazra, Archan J.


23324654 3/5/2019    Reviewe supplemental tax motion (.4) and order               0.60   Heller, Benjamin
                     (.2).


23340546 3/5/2019    Review company tax presentation for creditors.               0.30   Kestenbaum, Russell J.


23343138 3/6/2019    Draft memo re supplemental tax motion.                       0.80   Koch, Matthew


23355765 3/6/2019    Revise memo re supplemental tax motion.                      0.50   Price, Craig Michael


23357828 3/7/2019    Review memo to Committee re: debtors'                        0.60   Hazra, Archan J.
                     supplemental tax motion.


23340547 3/7/2019    Review supplemental taxes motion (.2), review                0.40   Kestenbaum, Russell J.
                     and comment on memo to committee re: same (.2).


23356469 3/7/2019    Review supplemental tax motion as against                    0.30   Price, Craig Michael
                     initial draft (.2); review related declaration
                     (.1).


23389262 3/11/2019   Call with K. Meek (Robins Kaplan) re: trading                0.20   Behrens, James C.
                     motion.


23358029 3/12/2019   Review merits of settlement of NOL dispute (.4)              0.70   Khalil, Samuel A.
                     and follow up on same (.3).




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23419065 3/21/2019   Emails with Milbank team re: NOL order (.2),                0.30   Kestenbaum, Russell J.
                     t/c with S. Goldring (Weil) re: NOL motion
                     (.1).


23420081 3/22/2019   Review update from debtors re NOL trading                   0.60   Dunne, Dennis F.
                     motion settlement (.3); review relevant
                     precedent (.3).


23446273 3/25/2019   Review revised NOL order (.2); review precedent             0.70   Dunne, Dennis F.
                     and issues re same (.4); review Akin Gump's
                     position re same (.1).


23465631 3/25/2019   Review debtors' proposed final order and                    3.90   Hazra, Archan J.
                     exhibits re: equity and claims trading (.8);
                     review R. Kestenbaum comments to the same (.3);
                     conf. call w/ R. Kestenbaum, B. Heller, T.
                     Kreller re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     follow-up discussion w/ R. Kestenbaum, B.
                     Heller re: the same (.2); conf. call w/ R.
                     Kestenbaum, B. Heller, Akin tax re: the same
                     (.2); conf. call w/ R. Kestenbaum, B. Heller,
                     S. Joffe (FTI) re: the same (.2); review and
                     revise form of potential claims sell-down
                     procedures (1.8); email to R. Kestenbaum re:
                     the same (.1).


23754941 3/25/2019   Conf. call w/ R. Kestenbaum, A. Hazra, T.                   6.30   Heller, Benjamin
                     Kreller re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     follow-up discussion w/ R. Kestenbaum, A. Hazra
                     re: the same (.2); conf. call w/ R. Kestenbaum,
                     A. Hazra, H. Jacobson (Akin) tax re: the same
                     (.2); conf. call w/ R. Kestenbaum, A. Hazra, S.
                     Joffe (FTI) re: the same (.2); review latest
                     draft of proposed claim trading order (4.1);
                     meet with R. Kestenbaum and A. Hazra and attend
                     call on equity trading order and procedures
                     (1.1); call with Weil to discuss claims
                     procedures (.2);




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23450334 3/25/2019   Emails with Milbank team re: NOL motion (.1);                3.70   Kestenbaum, Russell J.
                     emails with Weil re: same (.1); review revised
                     NOL motion and associated exhibits (1.2);
                     emails with Milbank team re: same (.4); t/c
                     with T. Kreller, A. Hazra, B. Heller re: same
                     (.3); follow-up discussion w/ A. Hazra and B.
                     Heller re same (.2); conf call w/ A. Hazra, B.
                     Heller and H. Jacobson (Akin) re: same (.2);
                     p/c with A. Hazra, B. Heller and S. Joffe (FTI)
                     re: same (.2); c/c with T. Kreller and D.
                     Botter, H Jacobson (Akin) re: same (.2); work
                     on mark-up of order and exhibits (.5); emails
                     with Arent Fox re: same (.1); emails with Weil
                     with comments (.1); emails w/ A. Hazra re form
                     of potential claims sell-down procedures (.1).


23454524 3/25/2019   Conf. call w/ R. Kestenbaum, B. Heller, A.                   3.30   Kreller, Thomas R.
                     Hazra re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     review (.5) and revise (1.9) Weil draft of NOL
                     trading order; calls and corr with working
                     group re open issues and next steps re same
                     (.6); c/c w/ R. Kestenbaum and Akin (D. Botter,
                     H. Jacobson) re NOL motion and associated
                     exhibits.


23444089 3/26/2019   Assist with filing and service of Declaration                2.00   Fiscina, Brandon
                     of T. Kreller re NOL Motion.


23465632 3/26/2019   Review R. Kestenbaum comments to debtors' form               3.00   Hazra, Archan J.
                     of claims trading procedures (.2); confer w/ R.
                     Kestenbaum re: debtors' form of claims
                     sell-down procedures (.4); revise markup of
                     debtors' form of claims trading procedures
                     (.3); conf. call w/ R. Kestenbaum, T. Kreller
                     and Akin Gump (D. Botter, H. Jacobson) re:
                     debtors' proposed final order and exhibits re:
                     equity and claims trading (.6); conf. call w/
                     R. Kestenbaum, T. Kreller, S. Karotkin (Weil),
                     S. Goldring (Weil), and Akin Gump re: the same
                     (1); review revised debtors' drafts of final
                     order and exhibits re: equity and claims
                     trading (.5).




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23450338 3/26/2019   Confer w/ A. Hazra re debtors’ form of claims               3.30   Kestenbaum, Russell J.
                     sell-down procedures (.4); c/c with T. Kreller,
                     A. Hazra, D. Botter and H. Jacobson (Akin) re:
                     revised order (.6); Prep for same (.6); c/c
                     with Weil (S. Karotkin, S. Goldring), Akin (D.
                     Botter, H. Jacobson) and Milbank team (R.
                     Kestenbaum, T. Kreller) re: NOL motion (1.0);
                     p/cs with S. Goldring (Weil) re: claims motion
                     (.5); prep for same (.2).


23454575 3/26/2019   Review pleadings (1.2); prep for hearing re NOL             2.20   Kreller, Thomas R.
                     trading order disputes (1.0).


23454588 3/26/2019   Conf. call w/ R. Kestenbaum, T. Kreller and                 1.60   Kreller, Thomas R.
                     Akin Gump (D. Botter and H. Jacobson) re
                     revised NOL order (.6); conf. call w/ R.
                     Kestenbaum, T. Kreller, S. Karotkin (Weil), S.
                     Goldring (Weil), and Akin Gump re: the same
                     (1.0).


23452164 3/27/2019   Review revised NOL draft order and possible                 0.60   Dunne, Dennis F.
                     settlement re same.


23463019 3/27/2019   Review final order and exhibits regarding                   0.20   Hazra, Archan J.
                     equity trading and claims trading.


23450339 3/27/2019   Review revisions to NOL motion.                             0.30   Kestenbaum, Russell J.


23450337 3/28/2019   Emails with S. Joffe (FTI) re: NOL                          0.20   Kestenbaum, Russell J.
                     motion/order.


23755473 3/28/2019   Review NOL trading motion re tax issues.                    0.60   Khalil, Samuel A.




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23329619 3/5/2019    Conf. w/ J. Weber (multiple) re comments to                   1.80   Denny, Daniel B.
                     response letter regarding equity committee
                     (.5); revise draft letter re equity committee
                     (1.3).


23740913 3/5/2019    Draft letter to U.S. Trustee re: UCC repsonse                 0.50   Khani, Kavon M.
                     to requests for appointment of Official
                     Committee of Equity Security Holders.


23740915 3/5/2019    Calls w/ D. Denny re comments to response                     0.50   Weber, Jordan A.
                     letter to UST re equity committee.


23340050 3/6/2019    Conference with J. Weber regarding draft                      1.00   Denny, Daniel B.
                     response letter to UST re equity committee
                     (.1); review and revise draft response letter
                     to UST re equity committee (.7); review and
                     further revise revised draft response letter re
                     equity committee (.2).


23360591 3/6/2019    Review (.6) and revise (.4) UCC letter to UST                 1.00   Kreller, Thomas R.
                     re equity committee requests.


23741308 3/6/2019    Conf. with D. Denny regarding response letter                 0.10   Weber, Jordan A.
                     to UST re equity committee.


23342085 3/8/2019    Review (.3) and comment on (.5) letter to UST                 0.80   Khalil, Samuel A.
                     concerning formation of equity committee.


23360625 3/9/2019    Review (.6) and revise (.6) letter to UST re                  1.20   Kreller, Thomas R.
                     equity committee issues.


23375787 3/11/2019   Conference with J. Webber regarding revisions                 0.10   Denny, Daniel B.
                     to UST letter regarding committee formation.


23392632 3/11/2019   Finalize and proof letter to US Trustee (.8);                 1.30   Weber, Jordan A.
                     emails (.4) and conf. w/ D. Denny re same (.1).


23752378 3/11/2019   Review letter to US Trustee re Equity                         0.40   Wolf, Julie M.
                     Committee.




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23321901 3/1/2019   Review (.6) and analyze (.7) research                       1.30   Khalil, Samuel A.
                    concerning treatment of wildfire claims under
                    chapter 11 plan.


23319930 3/1/2019   Review and revise memoranda regarding (i) PGE               4.70   Vora, Samir
                    criminal exposure and (ii) wildfires and
                    methods for centralization and resolution of
                    tort claims.


23360491 3/5/2019   Research re wildfire punitive damages and                   1.20   Ayoub, Emile G.
                    insurance claims (.4); internal correspondence
                    re same (.8).


23740907 3/5/2019   Participate in diligence call led by debtor to              1.30   Bice, William B.
                    discuss safety incentives under STIP (.3);
                    participate in diligence phone call led by
                    debtor to discuss Wildfire Mitigation Plan
                    (1.0).


23740914 3/5/2019   Review and edit Committee memorandum regarding              2.20   Vora, Samir
                    tort claim liabilities.


23741301 3/6/2019   Review (.3) and revise (.4) UCC memos.                      0.70   Aronzon, Paul S.


23360501 3/6/2019   Review research re wildfire punitive damages                1.00   Ayoub, Emile G.
                    and insurance claims (.4); correspondence re
                    same (.6).


23344447 3/6/2019   Research re punitive damages liability under                1.80   Capolino, Margherita Angela
                    California state law and related estimation
                    issues.


23387097 3/6/2019   Research regarding PG&E exposure to punitive                8.90   Vora, Samir
                    damages (2.7); prepare, summary email re
                    results (.8); review and revise memorandum
                    regarding tort claim liability, research
                    thereon (2.9); review (1.1) and revise (1.4)
                    memorandum regarding PG&E criminal exposure.


23360508 3/7/2019                                                               6.10   Ayoub, Emile G.




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23741311 3/7/2019    Review CalFire interpretation of Public                      0.30   Bice, William B.
                     Resources Code cited in ruling.


23344478 3/7/2019    Email w/ E. Ayoub regarding research on                      4.80   Capolino, Margherita Angela
                     (redacted).


23346306 3/7/2019    Call with K. Orsili re fire claim issues (.4);               0.90   Leblanc, Andrew M.
                     prepare correspondence re same (.5).


23741727 3/7/2019    Review (1.2) and revise (2.3) tort claim and                 5.00   Vora, Samir
                     criminal exposure memoranda; call with E. Ayoub
                     regarding (i) PGE exposure to punitive damages
                     and (ii) insurer payouts for total loss
                     personal property claims (.2); research re same
                     (1.3).


23360511 3/8/2019    Research (.2) and revise (.6) email writeup re               1.20   Ayoub, Emile G.
                     (redacted); internal correspondence re same
                     (.4).


23344518 3/8/2019    Edit email of research re: (redacted).                       0.90   Capolino, Margherita Angela


23748434 3/12/2019   Review STIP motion and related materials (2.2)               5.30   Duke, Julia C.
                     and conduct research i/c/w same (3.1).


23389178 3/12/2019   Review (1.6) and revise (1.4) memos to                       3.60   Leblanc, Andrew M.
                     committee re fire-related issues; meet with S.
                     Vora regarding wildfire claims and related
                     litigation issues (.6).


23396210 3/14/2019   Review (2.1) and revise (2.9) memorandum                     5.40   Ayoub, Emile G.
                     analyzing PG&E's tort liability from CA
                     wildfires; discuss results w/ J. Wu re same
                     (.4).


23457371 3/14/2019   Research regarding (redacted) (2.4); research                4.60   Vora, Samir
                     (redacted) (.8); further edits to (redacted)
                     (1.4).




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23378241 3/14/2019   Conduct factual research re: (redacted) (1.3);             5.10   Wolf, Julie M.
                     conduct research re: (redacted) (2.4); review
                     S. Benz and J. Wu research re: same (.9); draft
                     summary of findings of same (.5).


23392586 3/14/2019   Research (redacted) (.9); research cases with              9.50   Wu, Julia S.
                     single-event disasters (1.3); research
                     bankruptcy cases regarding (redacted) (1.1);
                     review 10-k filings of companies with mass tort
                     litigation (1.2); discuss research results with
                     E. Ayoub and M. Capolino (.4); discuss research
                     results with M. Capolino (.5); draft email to
                     E. Ayoub regarding research methods and results
                     (.9); research (redacted) (.7); research
                     legislation regarding (redacted) (.8); draft
                     email to J. Wolf regarding (redacted) (1.7).


23396153 3/15/2019   Review (.3) and revise (.5) memorandum                     1.60   Ayoub, Emile G.
                     analyzing PG&E's tort liability from CA
                     wildfires; call w/Milbank team and FTI re
                     valuing wildfire liability (.8).


23379665 3/15/2019   Review draft memo on civil liability for                   0.80   Bice, William B.
                     wildfire claims.


23377086 3/15/2019   Revision of Wildfire Liability Memo                        0.40   Capolino, Margherita Angela


23389363 3/15/2019   Review memoranda re tort and similar claims                2.20   Leblanc, Andrew M.
                     (1.4); call with FTI team and S. Vora re
                     valuing damages in tort claims (.8).


23396223 3/18/2019   Revise memorandum analyzing PG&E's civil                   1.80   Ayoub, Emile G.
                     liability from CA wildfires (.7); research re
                     same (1.1).


23754942 3/18/2019   Discuss w/ J. Wu (redacted) (.2); call w/ J. Wu            0.70   Ayoub, Emile G.
                     and M. Capolino re revisions to memo (.5).




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23410386 3/18/2019   Revise wildfire liability memo (.2); research               1.90   Capolino, Margherita Angela
                     statutes raised in complaint against PG&E (1);
                     call w/ E. Ayoub and J. Wu re revisions to memo
                     re applicability of statues imposing civil
                     liability for tort teasers in wildfire contexts
                     (.5); conference w/ J. Wu re revising memo
                     (.2).


23457392 3/18/2019   Review and revise memorandum regarding wildfire             6.10   Vora, Samir
                     liability exposure (2); research (redacted)
                     (1.7); review FTI deck regarding wildfire
                     claims (1.4); review comments from FTI
                     regarding wildfire liability exposure
                     memorandum (1.0).


23396227 3/19/2019   Attend meeting w/ FTI and Milbank team (G.                  2.80   Ayoub, Emile G.
                     Bray, S. Vora) re value of wildfire claims (2);
                     revise memorandum analyzing PG&E's tort
                     liability from CA wildfires (.5); review
                     related documents re same (.3).


23754500 3/19/2019   Attend Meeting w/ FTI and Milbank Team (S.                  2.00   Bray, Gregory A.
                     Vora, E. Ayoub) re value of wildfire claims.


23410392 3/19/2019   Revise wildfire liability memo (.2); additional             0.60   Capolino, Margherita Angela
                     research on statutory penalties and damages
                     under certain California statutes (.4).


23405236 3/19/2019   Preparing for meeting with FTI re tort claims               2.30   Leblanc, Andrew M.
                     (.6); meeting with FTI re same (1.7).


23418811 3/19/2019   Meeting with FTI re fire damages.                           2.50   Stone, Alan J.


23457381 3/19/2019   Prepare for (.2) and attend meeting with FTI,               4.30   Vora, Samir
                     G. Bray and E. Ayoub regarding wildfire claims
                     (2.0); revise memorandum regarding PG&E
                     wildfire liabilities (2.1).


23405250 3/20/2019   Reviewing materials re wildfire and criminal                2.30   Leblanc, Andrew M.
                     proceedings (1.6); preparing for client call re
                     same (.7).




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23422674 3/22/2019   Correspondence re CA Meeting on Wildfire Cost               0.10   Ayoub, Emile G.
                     and Recovery.


23446534 3/25/2019   Research (redacted) (.3); review wildfire                   2.10   Wolf, Julie M.
                     victims' response to second order to show cause
                     (1.1); summarize additional responses to second
                     order to show cause (.7).


23460207 3/26/2019   Attention to Commission meeting re wildfire                 0.10   Ayoub, Emile G.
                     plans.


23446630 3/26/2019   Review possible creation of Paradise Victims                1.20   Dunne, Dennis F.
                     fund and elements and issues re same.


23754948 3/27/2019   Review 2019 Wildfire Safety Plan.                           1.40   Wolf, Julie M.


23441220 3/29/2019   Review summary of wildfire trust proposal (.7);             1.00   Bice, William B.
                     review proposed AB 740 (.2); communicate
                     substance of AB 740 to D. Dunne (.1).


23754419 3/29/2019   Review mass tort and pre-confirmation payment               0.80   Denny, Daniel B.
                     issues (.1); conference with T. Kreller and J.
                     Weber regarding mass tort issues (.4); review
                     mass tort issues (.3).


23457414 3/29/2019   Review (.8) and revise (.7) memorandum                      1.90   Vora, Samir
                     regarding PGE wildfire liabilities; email to
                     Cravath regarding information needed for
                     further wildfire claim analysis (.4).


23446707 3/29/2019   Review meeting agenda and materials for April               2.20   Wolf, Julie M.
                     3, 2019 Meeting of the Commission on
                     Catastrophic Wildfire Cost and Recovery.




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23377997 3/5/2019    Attend portion of diligence meeting between the           0.80   Skaliks, Christina M.
                     financial advisors and the company re
                     employment issues (.7); review agenda in
                     preparation for same (.1).


23387399 3/6/2019    Review of FTI first day employee issues.                  0.20   Skaliks, Christina M.


23340728 3/7/2019    Review and analyze STIP motion and related                7.70   Denny, Daniel B.
                     materials (1.8); conference with J. Weber
                     regarding STIP motion (.1); review and analyze
                     STIP motion and related materials (5.6);
                     teleconf. with M. Shah regarding STIP motion
                     and benefits issues (.2)


23343206 3/7/2019    Call w/ D. Denny re STIP motion.                          0.40   Koch, Matthew


23386777 3/7/2019    Correspondence with M. Shah re STIP Motion                0.40   Skaliks, Christina M.
                     (.2); correspondence w/ M. Koch and A. Scruton
                     (FTI) re STIP motion and next steps (.2)


23352676 3/8/2019    Conf. with C. Skaliks regarding 2019 STIP                 0.20   Deluca, Nicholas D.
                     motion and related matters.


23340735 3/8/2019    Review STIP motion and related materials (1.2);           1.40   Denny, Daniel B.
                     comms. w/ M. Shah and C. Skaliks re same (.2).


23380460 3/8/2019    Review STIP motion and summary of material                0.60   Skaliks, Christina M.
                     terms (.4); conf. w/ N. Deluca re same (.2).


23340740 3/9/2019    Review corrected STIP motion and declarations             1.50   Denny, Daniel B.
                     (.2); draft memorandum regarding STIP motion
                     (1.3).


23387248 3/9/2019    Correspondence with M. Shah and J. Beebe re               0.20   Skaliks, Christina M.
                     STIP motion.


23340742 3/10/2019   Draft memorandum regarding STIP motion.                   4.10   Denny, Daniel B.


23355805 3/10/2019   Review 2019 Stip terms and diligence.                     0.60   Dunne, Dennis F.




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23377419 3/11/2019   Conference call with financial advisors                    0.50   Deluca, Nicholas D.
                     regarding 2019 STIP motion and related
                     background information (.3); preparations for
                     same (.1); review STIP background emails from
                     C. Skaliks (.1).


23375785 3/11/2019   Teleconference with M. Koch regarding STIP                 1.60   Denny, Daniel B.
                     motion (.2); revise draft memorandum regarding
                     STIP Motion (1.4).


23362294 3/11/2019   Call with client (.2); review of UCC memo;                 2.80   Shah, Manan
                     review stip motion (2.2); attend advisor call
                     (.4)


23387279 3/11/2019   Review correspondence re committee memo section            0.10   Skaliks, Christina M.
                     on STIP.


23377497 3/12/2019   Comms. with J. Beebe and M. Shah regarding STIP            0.20   Deluca, Nicholas D.
                     motion.


23375781 3/12/2019   Email exchanges with E. Dexter and working                 0.30   Denny, Daniel B.
                     group regarding STIP Motion.


23388725 3/12/2019   Call w/ M. Goren (Weil) and C. Price re STIP               0.20   Koch, Matthew
                     motion.


23377818 3/12/2019   Call w/ M. Goren (Weil) and M. Koch re STIP                0.30   Price, Craig Michael
                     motion (.2); prep for same (.1).


23387404 3/12/2019   Review email re deadline to object to STIP                 0.20   Skaliks, Christina M.
                     motion (.1); attention to correspondence re.
                     TCC objection to STIP motion (.1).


23748458 3/12/2019   Review Debtors' proposed STIP and explore                  1.50   Vora, Samir
                     potential responses.


23748459 3/12/2019   Review memorandum re: STIP Motion (1.1);                   1.40   Wolf, Julie M.
                     discuss same with E. Dexter and J. Duke (.3).


23748460 3/13/2019   Review STIP motion.                                        0.70   Bray, Gregory A.



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23748465 3/13/2019   Conduct research re proposed STIP.                        5.10   Duke, Julia C.


23387771 3/14/2019   Review STIP portion of FTI presentation to                1.70   Beebe, James M.
                     committee (.6); attend UCC call re STIP and
                     other matters (1.1).


23377613 3/14/2019   Comms. with J. Beebe regarding STIP motion.               0.10   Deluca, Nicholas D.


23388897 3/14/2019   Correspondence w/ J. Duke regarding STIP                  0.70   Dexter, Erin E.
                     objection.


23384599 3/14/2019   Conduct case research re STIP (4.9); draft memo           9.30   Duke, Julia C.
                     re: same (4.4).


23372210 3/14/2019   Attend committee call (1.5); review FTI                   2.50   Shah, Manan
                     materials in prep for same (1.0).


23387352 3/14/2019   Review correspondence re FTI deck on STIP.                0.10   Skaliks, Christina M.


23748878 3/15/2019   Review (.6) and analyze (.7) STIP motion;                 1.50   Bray, Gregory A.
                     correspond w/ M. Shah re same (.2).


23375848 3/15/2019   Email exchanges with T. Kreller, M. Koch                  0.70   Denny, Daniel B.
                     regarding TCC ex parte motion regarding STIP
                     motion (.4); review and analyze TCC ex parte
                     motion (.3).


23388985 3/15/2019   Correspondence regarding STIP objection.                  0.20   Dexter, Erin E.


23748922 3/15/2019   Conduct research re STIP.                                 3.40   Duke, Julia C.


23386267 3/15/2019   Review TCC position on STIP and employees.                0.30   Dunne, Dennis F.


23386763 3/15/2019   Review STIP motion (.8); calls (.3) and corr              1.70   Kreller, Thomas R.
                     (.4) with team re TCC objection; discovery
                     matters and adjournment request re same (.2).


23387360 3/15/2019   Review correspondence between M. Shah and D.              0.10   Skaliks, Christina M.
                     Denny re: STIP next steps.




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23378245 3/15/2019   Review Debtors’ STIP Motion and authorities               6.00   Wolf, Julie M.
                     cited therein (1.6); review Debtors’
                     declarations in support of STIP Motion (.9);
                     review legal research re: STIP standards (.7);
                     review memorandum re: STIP Motion (1.3); review
                     FTI analysis of STIP (.7); review Tort
                     Committee Objection to STIP Motion (.8).


23392621 3/16/2019   Email exchanges with E. Dexter STIP motion and            0.70   Denny, Daniel B.
                     discovery (.1); prepare for STIP depositions
                     (.4); email exchanges with STIP working group
                     regarding ex parte motion and discovery (.2).


23389004 3/16/2019   Correspondence regarding STIP objection.                  0.50   Dexter, Erin E.


23386312 3/16/2019   Review 2019 STIP issues and various parties'              0.40   Dunne, Dennis F.
                     positions.


23387370 3/16/2019   Review STIP status update.                                0.10   Skaliks, Christina M.


23387843 3/17/2019   Attend call w/ S. Starr/FTI team, M. Shah, and            0.40   Beebe, James M.
                     G. Bray/Milbank team re STIP.


23392628 3/17/2019   Teleconference with S. Starr/FTI team, M. Shah,           1.50   Denny, Daniel B.
                     and G. Bray/Milbank team re STIP (.4); review
                     and analyze pending STIP and related materials
                     (.2); email exchanges with STIP working group
                     regarding amended briefing and discovery
                     schedule (.7); review and analyze STIP motion
                     issues (.2)


23389037 3/17/2019   Correspondence regarding STIP objection.                  0.20   Dexter, Erin E.


23384620 3/17/2019   Attend Advisors call w/ S. Starr/FTI team, M.             3.80   Duke, Julia C.
                     Shah, and G. Bray/Milbank team re STIP (.4);
                     conduct research re STIP objection and
                     discovery (3.4).


23754052 3/17/2019   Review correspondence re: UCC STIP Objection              0.10   Khani, Kavon M.
                     deadline.




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23389034 3/17/2019   Emails w/ J. Liou (Weil) re STIP (.1); call w/            0.50   Koch, Matthew
                     S. Starr/FTI team, M. Shah, and G. Bray/Milbank
                     team re STIP (.4).


23378761 3/17/2019   Call w/ S. Starr/FTI team, M. Shah, and G.                0.40   Shah, Manan
                     Bray/Milbank team re STIP.


23387374 3/17/2019   Attend call re STIP status w/ S. Starr/FTI                0.40   Skaliks, Christina M.
                     team, M. Shah, and G. Bray/Milbank team re
                     STIP.


23378372 3/17/2019   Call with w/ S. Starr/FTI team, M. Shah, and G.           1.60   Wolf, Julie M.
                     Bray/Milbank team re STIP (.4); review docket
                     order re: STIP objection timeline (.3); review
                     Tort Committee motion for extension to object
                     to STIP and declarations in support thereof
                     (.9).


23754462 3/18/2019   Call w/ S. Starr (FTI), M. Shah and M. Koch, J            0.40   Bray, Gregory A.
                     .Beebe re STIP.


23754466 3/18/2019   Emails w/ M. Koch re STIP issues.                         0.30   Bray, Gregory A.


23404859 3/18/2019   Review issues re STIP motion and discovery                2.10   Denny, Daniel B.
                     schedule (.2) and STIP depositions (.1);
                     conference with T. Kreller regarding STIP
                     depositions and STIP issues (.2); prepare for
                     STIP depositions (.4); review and analyze
                     materials for STIP deposition (1.2).


23386341 3/18/2019   Review developments re 2019 STIP.                         0.40   Dunne, Dennis F.


23423491 3/18/2019   Call w/ K. Bostel (Weil) re STIP issues (.3);             1.60   Koch, Matthew
                     emails w/ G. Bray re same (.3); review notice
                     re STIP (.1); emails w/ T. Kreller re same
                     (.3); revise draft stipulation re same (.3);
                     draft email to J. Liou (Weil) re STIP (.3).


23754055 3/18/2019   Emails w/ M. Koch re notice re STIP (.3); conf.           0.50   Kreller, Thomas R.
                     w/ D. Denny re STIP depositions and STIP issues
                     (.2).



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23404110 3/18/2019   Attend advisor call re: STIP.                               0.60   Shah, Manan


23422908 3/18/2019   Prepare for advisors call (.1); correspondence              0.30   Skaliks, Christina M.
                     with M. Shah re. STIP (.1); review email re.
                     tentative STIP ruling (.1).


23408786 3/18/2019   Review correspondence with FTI re: diligence                5.10   Wolf, Julie M.
                     needed to review STIP (.4); review FTI analysis
                     of STIP (1.4); conduct research re: STIP
                     standards (2.6); coordinate coverage and
                     logistics for Tort Committee depositions of
                     STIP declarants (.7).


23754502 3/19/2019   Call w/ E. Dexter re case status, background                0.30   Bray, Gregory A.
                     information, STIP issues.


23404855 3/19/2019   Review and analyze STIP deposition materials                7.20   Denny, Daniel B.
                     (2); attend STIP deposition of D. Mistry (4.6);
                     t/c with J. Wolf regarding STIP deposition
                     summary and status update (.3); review STIP
                     deposition exhibits and records (.3).


23422405 3/19/2019   Call w/ G. Bray re case status, background                  1.10   Dexter, Erin E.
                     information, STIP issues (.3); review of draft
                     STIP objection (.8).


23408765 3/19/2019   Research re hedging motion objection (3.3),                 7.80   Duke, Julia C.
                     STIP deposition (3), and STIP objection (1.5).


23408706 3/19/2019   Call w/ D. Denny re STIP deposition summary and             3.40   Wolf, Julie M.
                     status update (.3); telephonically attend
                     deposition of D. Mistry (3.1).




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23404946 3/20/2019   Emails with T. Kreller regarding STIP                      3.40   Denny, Daniel B.
                     depositions (.2); email exchange with E. Dexter
                     regarding STIP depositions and strategic issues
                     (.2); email exchange with J. Wolf and
                     litigation team regarding Friske deposition
                     (.1); email exchange with T. Kreller re STIP
                     depositions and confidentiality issues (.2);
                     draft email regarding Mistry deposition (1.9);
                     email exchange with A. Baker (Baker) regarding
                     Friske deposition (.2); coordinate retrieval of
                     D. Mistry rough transcript (.2); t/c with M.
                     Berkin (FTI) regarding STIP diligence and
                     information requests (.4).


23754488 3/20/2019   Emails w/ D. Denny re STIP depositions and                 0.20   Dexter, Erin E.
                     strategic issues.


23408755 3/20/2019   Conduct research re STIP (2.4); draft email re:            2.70   Duke, Julia C.
                     same (.3).


23755092 3/20/2019   Emails with D. Denny regarding STIP depositions            0.40   Kreller, Thomas R.
                     (.2), STIP depositions (.1) and confidentiality
                     issues (.1).


23404139 3/20/2019   Review STIP diligence (.3); Review STIP                    2.90   Shah, Manan
                     deposition transcripts (2.6).


23754504 3/20/2019   Emails w/ D. Denny re Friske deposition.                   0.10   Wolf, Julie M.


23421809 3/21/2019   Discussion w/ C. Skaliks re STIP.                          0.50   Beebe, James M.


23404960 3/21/2019   Follow up on D. Mistry deposition transcript               4.40   Denny, Daniel B.
                     (.2); attend Friske deposition (2.7); analyze
                     and summarize deposition testimony (1.5).


23755348 3/21/2019   Discuss deposition of D. Friske and                        0.50   Denny, Daniel B.
                     confidentiality issues w/ J. Wolf.


23422610 3/21/2019   Review draft STIP objection.                               0.40   Dexter, Erin E.


23755350 3/21/2019   Calls regarding STIP motion.                               0.50   Dexter, Erin E.


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23409011 3/21/2019   Conduct research re STIP issue (2.5); research             3.00   Duke, Julia C.
                     judicial notice (.5).


23423324 3/21/2019   Review memo re lift stay motion (.8); review               1.60   Orengo, Luis E.
                     memo re stay enforcement (.8).


23423881 3/21/2019   Prepare for Committee call (.1); discussion                0.20   Skaliks, Christina M.
                     with J. Beebe re. STIP (.1).


23408808 3/21/2019   Attend deposition of D. Friske (2.5); review               5.60   Wolf, Julie M.
                     transcript of deposition of D. Mistry (1.8);
                     review documents used in deposition of D.
                     Mistry (.8); discuss deposition of D. Friske
                     and confidentiality issues with D. Denny (.5).


23421754 3/22/2019   Correspondence w/ C. Skaliks and M. Shah re                0.50   Beebe, James M.
                     compensation matters.


23754536 3/22/2019   Email exchanges w/ T. Kreller and D. Denny re              0.20   Bray, Gregory A.
                     STIP depositions (.1); conference w/ D. Dunne
                     re union request (.1).


23404962 3/22/2019   Conference with R. Windom regarding STIP                   0.40   Denny, Daniel B.
                     depositions (.1); email exchange with T. Keller
                     and G. Bray regarding STIP depositions (.1);
                     email exchange with FTI re STIP deposition
                     exhibits (.1); emails w/ M. Koch re STIP motion
                     (.1).


23754802 3/22/2019   Discuss draft statement in support of STIP                 0.10   Dexter, Erin E.
                     motion w/ J. Wolf.


23409102 3/22/2019   Prepare STIP talking points outline (1.6); meet            8.20   Duke, Julia C.
                     with E. Dexter re judicial notice (.4); conduct
                     research re judicial notice (6.2).


23420121 3/22/2019   Review STIP diligence (.3); review union                   0.60   Dunne, Dennis F.
                     request (.2); confs with G. Bray re same (.1).


23423605 3/22/2019   Emails w/ J. Wolfe, D. Denny, and M. Shah re               0.20   Koch, Matthew
                     STIP motion.


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23755099 3/22/2019   Email exchange w/ D. Denny and G. Bray re STIP             0.10   Kreller, Thomas R.
                     depositions.


23411275 3/22/2019   Review correspondence re: STIP disposition                 1.40   Shah, Manan
                     (.8); emails w/ M. Koch re STIP motion (.1);
                     correspondence w/ C. Skaliks and J. Beebe re
                     compensation matters (.5).


23423188 3/22/2019   Correspondence re. STIP committee memo (.1);               1.60   Skaliks, Christina M.
                     review and comment on committee memo re: STIP
                     (1); correspondence with M. Shah and J. Beebe
                     re compensation matters (.5).


23409022 3/22/2019   Draft limited objection to STIP motion (1.8);              4.10   Wolf, Julie M.
                     draft statement in support of STIP motion
                     (1.6); discuss same with E. Dexter (.1); review
                     research re: standards for approval of STIP
                     Motion (.6).


23754943 3/22/2019   Emails w/ M. Koch re STIP motion.                          0.10   Wolf, Julie M.


23453632 3/25/2019   Attend advisors call w/ FTI Team (A. Scruton),             0.80   Beebe, James M.
                     Centerview Team (K. Chopra) and Milbank Team
                     (D. Denny, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel)
                     discussing STIP (.6); review emails re: STIP
                     diligence topics from FTI (.2).


23441303 3/25/2019   Revise draft STIP memorandum (3.5);                        3.80   Denny, Daniel B.
                     correspondence w/ C. Skaliks re STIP (.1); call
                     w/ same re same (.2).


23754804 3/25/2019   Correspondence regarding STIP objection.                   1.00   Dexter, Erin E.


23443118 3/25/2019   Conduct research re judicial notice re: STIP               3.10   Duke, Julia C.
                     (1.9); draft and revise memo re same (1.2).




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23458091 3/25/2019   Correspondence from D. Denny re. STIP (.1);                1.10   Skaliks, Christina M.
                     calls from D. Denny re. STIP (.2); revise STIP
                     memo (.7); correspondence from M. Shah re. STIP
                     memo (.1).


23446524 3/25/2019   Review revised Committee memo re: STIP Motion              1.30   Wolf, Julie M.
                     (.9); review outstanding FTI diligence requests
                     re STIP (.4).


23453650 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI) and M.             2.30   Beebe, James M.
                     Koch, C. Price, J. Beebe, C. Skaliks re STIP
                     (1.2); review STIP detailed questions and
                     depositions (.4); review limited objection to
                     STIP motion draft (.3); discuss STIP w/ C.
                     Skaliks (.1); call w/ C. Skaliks and M. Shah re
                     same (.3).


23441520 3/26/2019   Analyze FTI diligence issues re STIP motion                2.70   Denny, Daniel B.
                     (.7); email E. Dexter re revised draft response
                     to STIP motion (.1); email M. Koch and C. Price
                     regarding revisions to STIP memo (.1); email J.
                     Wolf regarding revisions to draft response to
                     STIP motion (.1); revise draft response to STIP
                     motion (1.7).


23454774 3/26/2019   Call w/ M. Koch and J. Wolfe re STIP (2); t/c              2.20   Dexter, Erin E.
                     with E. Dexter re revised draft response to
                     STIP motion (.1); review of STIP objection
                     (.1).


23432535 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI), C.                1.60   Koch, Matthew
                     Price, J. Beebe, C. Skaliks and M. Shah re STIP
                     (1.2); prepare for same (.2); call w/ E.
                     Dexter, and J. Wolfe re STIP (.2).


23754272 3/26/2019   T/c w/ D. Denny and C. Price re revisions to               0.10   Koch, Matthew
                     STIP memo.




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23454540 3/26/2019   Review STIP filings (.2); analysis re same                 1.70   Kreller, Thomas R.
                     (.5); work on limited objection re same (.6);
                     advisors call w/ A Scruton (FTI), K. Chopra
                     (Centerview) and Milbank Team (D. Denny, P.
                     Milender and J. Wolf) (.4).


23429773 3/26/2019   Attend standing Milbank team call w/ A. Scruton            0.40   Milender, Parker
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (D. Denny, T. Kreller and J. Wolf,).


23439474 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI) and M.             1.70   Price, Craig Michael
                     Koch, C. Price, J. Beebe, C. Skaliks re STIP
                     (1.2); prepare for same (.2); call re STIP
                     response (.2); t/c w/ M. Koch and D. Denny re
                     revisions to STIP memo (.1).


23444116 3/26/2019   Review additional STIP diligence (.6); Call w/             2.60   Shah, Manan
                     J. Boken (Alix), S. Starr (FTI) and M. Koch, C.
                     Price, J. Beebe, C. Skaliks re STIP (1.2); call
                     re next steps on STI w/ FTI and C. Skaliks
                     (.5); call w/ C. Skaliks and J. Beebe re same
                     (.3).


23458162 3/26/2019   Discuss STIP with J. Beebe (.1); Review                    2.60   Skaliks, Christina M.
                     comments to STIP memo (.1); attend STIP
                     diligence Call w/ J. Boken (Alix), S. Starr
                     (FTI) and M. Koch, C. Price, J. Beebe, C.
                     Skaliks re STIP (1.2); call re. next steps on
                     STIP with FTI team and J. Beebe (.6); call w/
                     M. Shah and J. Beebe re STIP pleading (.3);
                     review further revised STIP memo (.1);
                     correspondence re. objection to STIP motion
                     (.1); review further revised STIP memo (.1)


23446552 3/26/2019   Call w/ D. Denny, T. Kreller, P. Milender re               0.70   Wolf, Julie M.
                     STIP (.4); prepare for same (.2); t/c w/ D.
                     Denny re revisions to draft response to STIP
                     motion (.1).




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23446553 3/26/2019   Telephonically attend call with FTI and                    5.90   Wolf, Julie M.
                     Debtors' advisors w/ A. Scruton (FTI), K.
                     Chopra (Centerview) and Milbank Team (D. Denny,
                     T. Kreller, P. Milender) re: STIP Motion
                     diligence (.4); call with M. Koch and E. Dexter
                     re: same (.3); call with litigation team re:
                     same (.6); draft objection to STIP Motion
                     (1.7); revise objection to STIP Motion to
                     incorporate comments (1.1); review objection to
                     STIP Motion filed by U.S. Trustee (1.0); revise
                     request for judicial notice to accompany
                     retention application (.8).


23453684 3/27/2019   Comment on FTI deck re: STIP (1.1); review STIP            1.90   Beebe, James M.
                     objection (.7); call w/ C. Skaliks re STIP
                     pleading (.1).


23754835 3/27/2019   T/c w/ K. Bostel (Weil) (.3) and D. Denny (.5)             0.80   Bray, Gregory A.
                     re STIP motion and response.


23441469 3/27/2019   T/c with FTI (.2) and G. Bray (.5) regarding               2.00   Denny, Daniel B.
                     STIP motion and response; t/c with J. Wolf re
                     revisions to STIP motion response (.1); draft
                     response to STIP motion (.6); review issues re
                     draft response to STIP motion (.5); email
                     exchanges with T. Kreller regarding response to
                     STIP motion (.1).


23454830 3/27/2019   Correspondence regarding STIP motion (1) and               1.30   Dexter, Erin E.
                     review of draft objection (.3).


23432551 3/27/2019   Call w/ S. Starr (FTI), M. Shah, and G. Bray re            0.50   Koch, Matthew
                     STIP.


23755347 3/27/2019   Emails w/ D. Denny re response to STIP motion.             0.20   Kreller, Thomas R.


23434000 3/27/2019   Review (.1) and revise (.4) UCC's objection to             0.50   Mandel, Lena
                     the STIP motion.


23444352 3/27/2019   Review STIP motion.                                        1.80   Shah, Manan




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23458354 3/27/2019   Prepare for call with FTI team re. STIP (.2);             2.00   Skaliks, Christina M.
                     call with FTI team re: STIP (.6); revise STIP
                     memo (.2); revise STIP deck (.7); call with J.
                     Beebe re. STIP pleading (.1); correspondence
                     with M. Shah re. STIP (.1); correspondence with
                     J. Wolf re. STIP pleading (.1).


23454546 3/27/2019   Review and edit motion re: STIP.                          0.30   Stone, Alan J.


23457418 3/27/2019   Review objection to STIP.                                 1.00   Vora, Samir


23446555 3/27/2019   Revise objection to STIP Motion to incorporate            5.10   Wolf, Julie M.
                     comments from Milbank and FTI teams (3.2);
                     telephonically attended omnibus hearing (1.2);
                     communications with FTI re: remaining STIP
                     diligence (.7).


23754947 3/27/2019   T/c w/ D. Denny re revisions to STIP motion               0.20   Wolf, Julie M.
                     response (.1); correspondence w/ C. Skaliks re
                     STIP pleading (.1).


23453949 3/28/2019   Call w/ C. Skaliks re STIP update (.1);                   0.30   Beebe, James M.
                     discussion re committee recommendation on STIP
                     w/ C. Skaliks and M. Shah (.1); correspondence
                     w/ M. Shah and C. Skaliks re STIP pleading
                     (.1).


23754837 3/28/2019   Call w/ S. Starr (FTI), M. Koch and M. Shah re            0.60   Bray, Gregory A.
                     STIP (.5); emails w/ M. Koch re STIP issues
                     (.1).


23754838 3/28/2019   Review STIP (.7); emails w/ M. Shah re STIP               1.20   Bray, Gregory A.
                     issues (.5).


23441477 3/28/2019   Review STIP diligence and proposed responses to           0.80   Denny, Daniel B.
                     STIP motion.


23454296 3/28/2019   Correspondence regarding objection to STIP                0.70   Dexter, Erin E.
                     motion.




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23444234 3/28/2019   Assist D. McCracken with filing and service of             1.50   Fiscina, Brandon
                     3/28 Limited Objection to STIP Motion.


23755401 3/28/2019   Emails w/ M. Koch re STIP issues.                          0.10   Franzoia, Rachel


23755402 3/28/2019   Emails w/ M. Koch re STIP issues.                          0.20   Franzoia, Rachel


23457870 3/28/2019   Emails w/ M. Shah, T. Kreller, J. Wolf and G.              0.40   Koch, Matthew
                     Bray re STIP issues.


23454998 3/28/2019   Review and analyze STIP filings (.6); review               3.20   Kreller, Thomas R.
                     FTI analysis (.4); prepare limited objection re
                     same (2.1); email w/ M. Koch re STIP issues
                     (.1).


23453828 3/28/2019   File Limited Objection to STIP Motion including            8.00   Mccracken, David
                     service (5); continue to update matter
                     deposition transcript and exhibit files (3).


23439478 3/28/2019   Discuss STIP issues (.5); review FTI materials             1.10   Price, Craig Michael
                     re same (.6).


23450289 3/28/2019   Call w/ FTI and C. Skaliks re preparation for              5.40   Shah, Manan
                     committee call (.8); review objection STIP
                     (2.8); review FTI material re: STIP (.7);
                     emails w/ M. Koch re STIP issues (.1); call w/
                     C. Skaliks re STIP (.1); call w/ C. Skaliks and
                     FTI re STIP pleading (.2) and pleading and
                     committee recommendation (.5); discuss
                     committee recommendation on STIP w/ J. Beebe
                     and M. Shah (.1); correspondence w/ C. Skaliks
                     and J. Beebe re STIP pleading (.1).


23755097 3/28/2019   Call w/ S. Starr (FTI), M. Koch and G. Bray re             0.50   Shah, Manan
                     STIP.




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23458400 3/28/2019   Correspondence re. FTI STIP deck (.1); call               3.00   Skaliks, Christina M.
                     with M. Shah re. STIP (.1); call with J. Beebe
                     re. STIP update (.1); call with M. Shah and FTI
                     re. STIP pleading (.2); discuss committee
                     recommendation on STIP with J. Beebe and M.
                     Shah (.1); prepare for Committee call (.7);
                     call w/ FTI and M. Shah re same (.8); revise
                     STIP pleading (.5); review others' comments to
                     STIP pleading (.3); correspondence with M. Shah
                     and J. Beebe re. STIP pleading (.1).


23457425 3/28/2019   Review TCC objection to STIP.                             0.70   Vora, Samir


23446688 3/28/2019   Revise (1.1) and incorporate edits (5.1) to               7.40   Wolf, Julie M.
                     objection to STIP Motion; finalize and file
                     objection to STIP Motion (.3); review FTI
                     slidedeck re: STIP recommendations for
                     Committee meeting (.8); emails w/ M. Koch re
                     STIP issues (.1).


23453741 3/29/2019   Review TCC objection and Union response to STIP           1.00   Beebe, James M.
                     motion.




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                        EXHIBIT E




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                                                          AIR TRAVEL

         Date        Description                                                          Amount Name
37977751 3/11/2019   AIR TRAVEL Airfare: Expense Date: 03/11/2019, Business                406.61   Kreller, Thomas R.
                     Purpose: Attend Court Hearing., Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37977846 3/12/2019   AIR TRAVEL Airfare: Expense Date: 03/12/2019, Business                272.30   Franzoia, Rachel
                     Purpose: Court Hearing, Itinerary: SFO - LAX, International
                     Flight: N, 5 hours: N, Airline: Delta, Class of Service:
                     Economy/Coach

37977847 3/12/2019   AIR TRAVEL Airfare: Expense Date: 03/12/2019, Business                184.40   Franzoia, Rachel
                     Purpose: Court Hearing, Itinerary: LAX - SFO, International
                     Flight: N, 5 hours: N, Airline: American, Class of Service:
                     Economy/Coach

37967070 3/18/2019   AIR TRAVEL Airfare: Expense Date: 03/18/2019, Business                551.95   Denny, Daniel B.
                     Purpose: Attend Deposition of Dinyar Mistry., Itinerary: BUR -
                     OAK - BUR, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach

37977867 3/19/2019   AIR TRAVEL Airfare: Expense Date: 03/19/2019, Business                495.97   Denny, Daniel B.
                     Purpose: Attend Deposition of Douglas Friske., Itinerary: BUR -
                     OAK - BUR, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach

38001456 3/19/2019   AIR TRAVEL Airfare: Expense Date: 03/19/2019, Business                696.61   Vora, Samir
                     Purpose: Strategy meetings with counsel., Itinerary: DCA-LGA-
                     DCA, International Flight: N, 5 hours: N, Airline: American, Class
                     of Service: Economy/Coach

37995451 3/22/2019   AIR TRAVEL Airfare: Expense Date: 03/22/2019, Business                593.79   Kreller, Thomas R.
                     Purpose: Attend Court Hearing, Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37988903 3/26/2019   AIR TRAVEL Airfare: Expense Date: 03/26/2019, Business                406.61   Bray, Gregory A.
                     Purpose: One way ticket from LAX to SFO ($916.59 / 2 =
                     $458.30), Itinerary: LAX-SFO, International Flight: N, 5 hours: N,
                     Airline: Other, Class of Service: Economy

38018225 3/26/2019   AIR TRAVEL Airfare: Expense Date: 03/26/2019, Business                368.79   Kreller, Thomas R.
                     Purpose: Client/Committee Meeting., Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37988904 3/27/2019   AIR TRAVEL Airfare: Expense Date: 03/27/2019, Business                257.98   Bray, Gregory A.
                     Purpose: One way return on Southwest SFO to LA on 3/27/19,
                     Itinerary: SFO-LAX, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach




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                                           COURT/CLERICAL SERVICES

         Date        Description                                               Amount Name
38027378 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   60.00   Mccracken, David
                     NETWORK Court services on 3/11/2019 PG&E Corp v Pacific
                     Gas a opposition

38027379 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/12/2019 PG&E statement

38027380 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/14/2019 PG&E Corp v Pacific
                     Gas a reply

38027393 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                  102.00   Mccracken, David
                     NETWORK Court services on 3/26/2019 USSC San Francisco
                     PG&E Corp. Declaration

38027394 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/28/2019 USDC - PG&E Corp
                     Limited Objections

38027395 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                  102.00   Mccracken, David
                     NETWORK Court services on 3/27/2018 USDC San Francisco
                     PG&E Corrected Declaration




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                                        ENTERTAINMENT (INCL MEALS)

         Date        Description                                               Amount Name
38137386 3/21/2019   ENTERTAINMENT (INCL MEALS) --VENDOR: FLIK International    406.11   Vora, Samir
                     Corp. Catering - Samir Vora




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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38005276 3/11/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005277 3/11/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005289 3/11/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38005290 3/11/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005291 3/11/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38005292 3/11/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005293 3/11/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005294 3/11/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David

38005295 3/11/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005296 3/11/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38005297 3/11/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38005298 3/11/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38005278 3/12/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38005279 3/12/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005280 3/12/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005281 3/12/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005282 3/12/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38005283 3/12/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005284 3/12/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005285 3/12/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38005286 3/12/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38005287 3/12/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005288 3/12/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David

38015383 3/12/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38015384 3/14/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38015385 3/14/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38015386 3/14/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38015387 3/14/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38015388 3/14/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38015389 3/14/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38015390 3/14/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38015391 3/14/2019   EXPRESS MAIL SAN JOSE CA                            20.03   Mccracken, David

38015392 3/14/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38015393 3/14/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38015394 3/14/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38015395 3/14/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38015396 3/14/2019   EXPRESS MAIL SAN JOSE CA                            20.03   Mccracken, David

38015397 3/14/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38019449 3/26/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38019450 3/26/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38019451 3/26/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38019452 3/26/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38019453 3/26/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David

38019454 3/26/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38019455 3/26/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38019456 3/26/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38019457 3/26/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38019458 3/26/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David

38019459 3/26/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38019460 3/26/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38019461 3/26/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074260 3/27/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074261 3/27/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074262 3/27/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38074263 3/27/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074264 3/27/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074265 3/27/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074266 3/27/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38074267 3/27/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David

38074268 3/27/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38074269 3/27/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074270 3/27/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David

38074271 3/27/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38074272 3/27/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David

38074247 3/29/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074248 3/29/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074249 3/29/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074250 3/29/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074251 3/29/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38074252 3/29/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074253 3/29/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38074254 3/29/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David

38074255 3/29/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074256 3/29/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38074257 3/29/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38074258 3/29/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38074259 3/29/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David




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                                        GROUND TRANSPORTATION - LOCAL

         Date        Description                                                     Amount Name
38136055 2/25/2019   GROUND TRANSPORTATION - LOCAL CET - group, Inc.:                  67.21   Brewster, Jacqueline
                     30984/411149/ - 02/25/19 8:3 From: To:

38136056 2/28/2019   GROUND TRANSPORTATION - LOCAL CET - group, Inc.:                 147.10   Thomas, Charmaine
                     30984/393219/ - 02/28/19 11:1 From: To:

37932666 3/4/2019    GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   49.89   Denny, Daniel B.
                     Expense Date: 03/04/2019, Business Purpose: Attend 341(a)
                     Meeting., From / To: LAX, : Uber

37932667 3/4/2019    GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   52.05   Denny, Daniel B.
                     Expense Date: 03/04/2019, Business Purpose: Attend 341(a)
                     Meeting., From / To: Home, : Uber

38055757 3/11/2019   GROUND TRANSPORTATION - LOCAL                                     25.92   Mccracken, David
                     CONCORD:130542/903112/919 - 03/11/19 10:54PM From:55
                     HUDSON YARDS To:457 W. 57 ST

38055759 3/11/2019   GROUND TRANSPORTATION - LOCAL                                     27.98   Lee, Danielle
                     CONCORD:130542/903112/781 - 03/11/19 8:41PM From:55
                     HUDSON YARDS To:635 W. 42 ST

37977848 3/12/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   64.74   Franzoia, Rachel
                     Expense Date: 03/12/2019, Business Purpose: Court Hearing,
                     From / To: Home, : Uber

37977758 3/13/2019   GROUND TRANSPORTATION - LOCAL Taxi: Expense Date:                 30.00   Kreller, Thomas R.
                     03/13/2019, Business Purpose: Attend Court Hearing., From /
                     To: LAX, : L.A. Checker Cab Co.

38053961 3/13/2019   GROUND TRANSPORTATION - LOCAL                                     26.97   Mccracken, David
                     CONCORD:130251/903132/082 - 03/13/19 10:55PM From:55
                     HUDSON YARDS To:457 W. 57 ST

37967074 3/18/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   22.21   Denny, Daniel B.
                     Expense Date: 03/18/2019, Business Purpose: Attend Deposition
                     of Dinyar Mistry., From / To: Home, : Uber

37967077 3/19/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   21.59   Denny, Daniel B.
                     Expense Date: 03/19/2019, Business Purpose: Attend Deposition
                     of Dinyar Mistry., From / To: Burbank Airport, : Uber

38027601 3/19/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   33.00   Vora, Samir
                     Expense Date: 03/19/2019, Business Purpose: Meeting with FTI
                     re wildfire claims, From / To: Home of Samir Vora, : Uber

38082090 3/19/2019   GROUND TRANSPORTATION - LOCAL                                     90.18   Vora, Samir
                     DIAL:1264379/4634409/082F - 03/19/19 10:16AM From:LGA
                     LGA To:550 W 34 St NYC10001

37977870 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   21.56   Denny, Daniel B.
                     Expense Date: 03/21/2019, Business Purpose: Attend Deposition
                     of Douglas Friske., From / To: Home, : Uber



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                                        GROUND TRANSPORTATION - LOCAL

         Date        Description                                                     Amount Name
37977871 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   22.95   Denny, Daniel B.
                     Expense Date: 03/21/2019, Business Purpose: Attend Deposition
                     of Douglas Friske., From / To: Burbank Airport, : Uber

38027598 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   31.13   Vora, Samir
                     Expense Date: 03/21/2019, Business Purpose: Meeting with FTI
                     re wildfire claims, From / To: DCA Airport , : Uber

38085830 3/27/2019   GROUND TRANSPORTATION - LOCAL                                     33.99   Mccracken, David
                     CONCORD:130779/903270/620 - 03/27/19 12:24AM From:550
                     W. 34 ST To:457 W. 57 ST

38071695 3/28/2019   GROUND TRANSPORTATION - LOCAL                                     31.21   Mccracken, David
                     CONCORD:131238/1040825/643 - 03/28/19 8:22PM From:55
                     HUDSON YARDS To:131 W. 85 ST




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                                     GROUND TRANSPORTATION - OUT OF TOWN

         Date        Description                                                          Amount Name
37932664 3/4/2019    GROUND TRANSPORTATION - OUT OF TOWN Uber /                             34.29   Denny, Daniel B.
                     Rideshare: Expense Date: 03/04/2019, Business Purpose:
                     Attend 341(a) Meeting., From / To: Court, : Uber

37932665 3/4/2019    GROUND TRANSPORTATION - OUT OF TOWN Uber /                             37.32   Denny, Daniel B.
                     Rideshare: Expense Date: 03/04/2019, Business Purpose:
                     Attend 341(a) Meeting., From / To: SFO, : Uber

37977753 3/13/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             25.26   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/13/2019, Business Purpose:
                     Attend Court Hearing., From / To: Court, : Uber

37977757 3/13/2019   GROUND TRANSPORTATION - OUT OF TOWN Taxi: Expense                      50.00   Kreller, Thomas R.
                     Date: 03/13/2019, Business Purpose: Attend Court Hearing.,
                     From / To: Hotel, : San Francisco Taxicab

37967075 3/18/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             34.74   Denny, Daniel B.
                     Rideshare: Expense Date: 03/18/2019, Business Purpose:
                     Attend Deposition of Dinyar Mistry., From / To: Oakland Airport, :
                     Uber

37967076 3/19/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             81.12   Denny, Daniel B.
                     Rideshare: Expense Date: 03/19/2019, Business Purpose:
                     Attend Deposition of Dinyar Mistry., From / To: Deposition, : Uber

38027600 3/19/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             10.11   Vora, Samir
                     Rideshare: Expense Date: 03/19/2019, Business Purpose:
                     Meeting with FTI re wildfire claims, From / To: 535 W 34th Street,
                     New York, NY, : Uber

37977872 3/21/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             50.57   Denny, Daniel B.
                     Rideshare: Expense Date: 03/21/2019, Business Purpose:
                     Attend Deposition of Douglas Friske., From / To: Oakland Aiport,
                     : Uber

37977873 3/21/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             77.41   Denny, Daniel B.
                     Rideshare: Expense Date: 03/21/2019, Business Purpose:
                     Attend Deposition of Douglas Friske., From / To: Deposition, :
                     Uber

37995449 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             27.46   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/27/2019, Business Purpose:
                     Attend Court Hearing, From / To: Court, : Uber

37995455 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             75.62   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/27/2019, Business Purpose:
                     Attend Court Hearing, From / To: Hotel, : Uber

37995457 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Parking:                           73.00   Kreller, Thomas R.
                     Expense Date: 03/27/2019, Business Purpose: Attend Court
                     Hearing Merchant: LAX Airport Lot P 6




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                                                INTERNET / WIFI ACCESS

         Date        Description                                                       Amount Name
38027597 3/19/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/19/2019,          10.00   Vora, Samir
                     Business Purpose: Meeting with FTI re wildfire claims Merchant:
                     Go Go WiFi - American Airlines

38027596 3/21/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/21/2019,          10.00   Vora, Samir
                     Business Purpose: Meeting with FTI re wildfire claims Merchant:
                     GoGo WiFi - American Airlines

37995448 3/26/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/26/2019,          10.00   Kreller, Thomas R.
                     Business Purpose: Attend Court Hearing Merchant: GoGoAir

37996922 3/28/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/28/2019,          12.00   Koch, Matthew
                     Business Purpose: In Flight Wifi on 3/28/2019 Merchant:
                     American Airlines




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                                                  LEXIS

         Date        Description                                     Amount Name
38027276 3/1/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942454 3/4/2019    LEXIS                                               2.00   Orengo, Luis E.

37942460 3/4/2019    LEXIS                                              97.00   Miller, Melanie

38027277 3/4/2019    LEXIS                                              14.58   Kagen, Sarah E.

38027278 3/4/2019    LEXIS                                               7.66   Prudenti, Paula M.

37942453 3/5/2019    LEXIS                                             384.00   Weber, Jordan A.

37942455 3/5/2019    LEXIS                                             330.00   Orengo, Luis E.

38027279 3/5/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942456 3/6/2019    LEXIS                                               2.00   Orengo, Luis E.

37942457 3/6/2019    LEXIS                                              95.00   Wolf, Julie M.

38027280 3/6/2019    LEXIS                                              14.58   Kagen, Sarah E.

38027281 3/7/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942458 3/8/2019    LEXIS                                             780.00   Orengo, Luis E.

38027282 3/8/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942459 3/10/2019   LEXIS                                             270.00   Orengo, Luis E.

37955375 3/11/2019   LEXIS                                               4.00   Fiscina, Brandon

37955376 3/11/2019   LEXIS                                             159.00   Orengo, Luis E.

38027283 3/11/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027284 3/12/2019   LEXIS                                              14.58   Kagen, Sarah E.

37955378 3/13/2019   LEXIS                                             316.00   Ottenstein, Matthew H.

38027285 3/13/2019   LEXIS                                              14.58   Kagen, Sarah E.

37955377 3/14/2019   LEXIS                                              85.00   Ottenstein, Matthew H.

37955379 3/14/2019   LEXIS                                              79.00   Office General, Mr.

38027275 3/14/2019   LEXIS                                               7.39   Prudenti, Paula M.

38027286 3/14/2019   LEXIS                                              14.58   Kagen, Sarah E.



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                                                  LEXIS

         Date        Description                                     Amount Name
38027287 3/15/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971079 3/18/2019   LEXIS                                            1652.00   Franzoia, Rachel

38027288 3/18/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971080 3/19/2019   LEXIS                                            1012.00   Franzoia, Rachel

38027289 3/19/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971081 3/20/2019   LEXIS                                             307.00   Wu, Julia S.

38027290 3/20/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971082 3/21/2019   LEXIS                                             162.00   Wu, Julia S.

38027291 3/21/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971083 3/22/2019   LEXIS                                             253.00   Wu, Julia S.

38027292 3/22/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971084 3/23/2019   LEXIS                                             601.00   Wu, Julia S.

38027293 3/25/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027294 3/26/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027295 3/27/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027296 3/28/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027297 3/29/2019   LEXIS                                              14.58   Kagen, Sarah E.




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                                          LIBRARY RESEARCH

         Date        Description                                     Amount Name
38011284 3/31/2019   LIBRARY RESEARCH                                   17.00   Khalil, Samuel A.

38011285 3/31/2019   LIBRARY RESEARCH                                   25.50   Khalil, Samuel A.

38011286 3/31/2019   LIBRARY RESEARCH                                   51.00   Khalil, Samuel A.

38011287 3/31/2019   LIBRARY RESEARCH                                  731.00   Khalil, Samuel A.

38011288 3/31/2019   LIBRARY RESEARCH                                   68.00   Khalil, Samuel A.




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                                                         LODGING

         Date        Description                                                       Amount Name
37977756 3/13/2019   LODGING Hotel - Lodging: Expense Date: 03/13/2019, Business        641.39   Kreller, Thomas R.
                     Purpose: Attend Court Hearing., Check In - Check Out:
                     03/12/2019-03/13/2019

37977849 3/13/2019   LODGING Hotel - Lodging: Expense Date: 03/13/2019, Business        406.39   Franzoia, Rachel
                     Purpose: Court Hearing, Check In - Check Out: 03/12/2019-
                     03/13/2019

37967072 3/19/2019   LODGING Hotel - Lodging: Expense Date: 03/19/2019, Business        412.52   Denny, Daniel B.
                     Purpose: Attend Deposition of Dinyar Mistry., Check In - Check
                     Out: 03/18/2019-03/19/2019

38001452 3/19/2019   LODGING Hotel - Lodging: Expense Date: 03/19/2019, Business        739.10   Vora, Samir
                     Purpose: Strategy meetings with counsel., Check In - Check Out:
                     03/19/2019-03/21/2019

37988906 3/26/2019   LODGING Hotel - Lodging: Expense Date: 03/26/2019, Business        685.96   Bray, Gregory A.
                     Purpose: One way return on Southwest SFO to LA on 3/27/19,
                     Check In - Check Out: 03/26/2019-03/27/2019

37995454 3/27/2019   LODGING Hotel - Lodging: Expense Date: 03/27/2019, Business        648.79   Kreller, Thomas R.
                     Purpose: Attend Court Hearing, Check In - Check Out:
                     03/26/2019-03/27/2019




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                                                      MEAL, OVERTIME

         Date        Description                                                          Amount Name
37936268 3/2/2019    MEAL, OVERTIME Dinner: Expense Date: 03/02/2019, Business               3.60   Kim, Jae Yeon Cecelia
                     Purpose: weekend worked 6 hours., Merchant: thai, Guest(s):
                     Kim, Jae Yeon Cecelia

37977857 3/3/2019    MEAL, OVERTIME Dinner: Expense Date: 03/03/2019, Business              30.00   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Tender
                     Greens, Guest(s): Franzoia, Rachel

37944931 3/4/2019    MEAL, OVERTIME Dinner: Expense Date: 03/04/2019, Business              24.17   Orengo, Luis E.
                     Purpose: After hours meal while working on client/matter
                     44553.00001., Merchant: Pret, Guest(s): Orengo, Luis E.

37977858 3/5/2019    MEAL, OVERTIME Dinner: Expense Date: 03/05/2019, Business              22.40   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Yen Sushi,
                     Guest(s): Franzoia, Rachel

38010308 3/5/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  27.87   Orengo, Luis E.

37944879 3/6/2019    MEAL, OVERTIME Meal Allowance: Expense Date: 03/06/2019,               10.00   Ayandipo, Abayomi A.
                     Business Purpose: Participate in litigation team meeting re filing
                     logistics; review case management procedures order ; research
                     case docket and prepare litigation team work materials re case
                     law regarding arguments in opposition to preliminary injunction,
                     FERC and PPA counter-parties opposition and adversary

37944932 3/6/2019    MEAL, OVERTIME Dinner: Expense Date: 03/06/2019, Business              23.72   Orengo, Luis E.
                     Purpose: OT meal working on client/matter 44553.00001.,
                     Merchant: Pret, Guest(s): Orengo, Luis E.

38037696 3/6/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  30.00   Koch, Matthew

37944881 3/7/2019    MEAL, OVERTIME Meal Allowance: Expense Date: 03/07/2019,               10.00   Ayandipo, Abayomi A.
                     Business Purpose: Attention to correspondence refiling logistics
                     and review of case management procedures order; prepare
                     litigation team work materials re case law, statutes and pleadings
                     regarding motion to appoint PE Committee and materials related
                     to March 13, 2019 hearing.

37949548 3/7/2019    MEAL, OVERTIME Dinner: Expense Date: 03/07/2019, Business               8.97   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977856 3/7/2019    MEAL, OVERTIME Dinner: Expense Date: 03/07/2019, Business              13.66   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Tacos Tu
                     Madre, Guest(s): Franzoia, Rachel

38037697 3/7/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  30.00   Thomas, Charmaine

37977207 3/9/2019    MEAL, OVERTIME Lunch: Expense Date: 03/09/2019, Business               12.00   Mccracken, David
                     Purpose: OT Sat lunch Merchant: Roosevelt Gourmet

37977208 3/10/2019   MEAL, OVERTIME Lunch: Expense Date: 03/10/2019, Business               11.43   Mccracken, David
                     Purpose: OT Sun lunch Merchant: Roosevelt Gourmet



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                                                     MEAL, OVERTIME

         Date        Description                                                        Amount Name
37955731 3/11/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/11/2019,             10.00   Ayandipo, Abayomi A.
                     Business Purpose: Attention to correspondence re opposition to
                     motion for appointment of Official Committee of Public Entities;
                     prepare litigation team work materials re related case law,
                     statutes and pleadings regarding motion to appoint PE
                     Committee.

37955867 3/11/2019   MEAL, OVERTIME Dinner: Expense Date: 03/11/2019, Business            10.88   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38037694 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew

38037695 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal COS filing                     30.00   Mccracken, David

38037698 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Thomas, Charmaine

38037699 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                27.01   Lee, Danielle

37962491 3/13/2019   MEAL, OVERTIME Dinner: Expense Date: 03/13/2019, Business            17.35   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977855 3/13/2019   MEAL, OVERTIME Dinner: Expense Date: 03/13/2019, Business            23.65   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Alfred
                     Coffee, Guest(s): Franzoia, Rachel

38037692 3/13/2019   MEAL, OVERTIME Seamless Web - OT Meal ECF filing                     30.00   Mccracken, David

38037693 3/13/2019   MEAL, OVERTIME Seamless Web - OT Meal                                22.80   Koch, Matthew

37955742 3/14/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/14/2019,             10.00   Ayandipo, Abayomi A.
                     Business Purpose: Coordinate service on litigation parties
                     regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same.

38037691 3/14/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew

37977859 3/17/2019   MEAL, OVERTIME Dinner: Expense Date: 03/17/2019, Business            12.00   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Whole
                     Foods, Guest(s): Franzoia, Rachel

37981861 3/19/2019   MEAL, OVERTIME Dinner: Expense Date: 03/19/2019, Business             7.57   Pierucci, Katherine R.
                     Purpose: OT meal working on matters, Merchant: California
                     Pizza Kitchen, Guest(s): Pierucci, Katherine R.

38048440 3/19/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew




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                                                   MEAL, OVERTIME

         Date        Description                                                     Amount Name
37977906 3/20/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/20/2019,          10.00   Ayandipo, Abayomi A.
                     Business Purpose: Follow up re service on litigation parties
                     regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same; prepare and organize
                     litigation team work materials re SEC documents and Committee
                     meeting work

38048439 3/20/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Koch, Matthew

37977574 3/25/2019   MEAL, OVERTIME Dinner: Expense Date: 03/25/2019, Business         21.49   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977576 3/26/2019   MEAL, OVERTIME Dinner: Expense Date: 03/26/2019, Business         10.60   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38048441 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Koch, Matthew

38048442 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal Decl filing                 30.00   Mccracken, David

38048445 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Thomas, Charmaine

37988728 3/27/2019   MEAL, OVERTIME Dinner: Expense Date: 03/27/2019, Business         13.60   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38048446 3/27/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Thomas, Charmaine

38048443 3/28/2019   MEAL, OVERTIME Seamless Web - OT Meal ECF filing                  30.00   Mccracken, David

38048444 3/28/2019   MEAL, OVERTIME Seamless Web - OT Meal                             24.05   Fiscina, Brandon




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                                                     MEALS - LOCAL

         Date        Description                                                       Amount Name
37945539 3/5/2019    MEALS - LOCAL Dinner: Expense Date: 03/05/2019, Business            18.51   Koch, Matthew
                     Purpose: OT Working Meal on 3/5/19 at 7:10PM, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37945540 3/7/2019    MEALS - LOCAL Dinner: Expense Date: 03/07/2019, Business            22.31   Koch, Matthew
                     Purpose: OT Working Dinner 3/7/2019 at 6:16pm, Merchant:
                     River Restaurant, Guest(s): Koch, Matthew

38006463 3/14/2019   MEALS - LOCAL Dinner: Expense Date: 03/14/2019, Business            23.23   Wu, Julia S.
                     Purpose: Ordered dinner while working on case., Merchant:
                     Tender Greens, Guest(s): Wu, Julia S.

37967252 3/15/2019   MEALS - LOCAL Dinner: Expense Date: 03/15/2019, Business            24.32   Koch, Matthew
                     Purpose: OT Working Dinner on 3/15/2019., Merchant: Mulberry
                     & Vine, Guest(s): Koch, Matthew

37967250 3/16/2019   MEALS - LOCAL Dinner: Expense Date: 03/16/2019, Business            16.55   Koch, Matthew
                     Purpose: OT Dinner on 3/16/2019. Working Meal, Merchant:
                     EPICE CAFE, Guest(s): Koch, Matthew

37967251 3/17/2019   MEALS - LOCAL Dinner: Expense Date: 03/17/2019, Business            13.66   Koch, Matthew
                     Purpose: OT Dinner on 3/17/2019. Working Meal for PG&E,
                     Merchant: River Restaurant, Guest(s): Koch, Matthew

37967254 3/18/2019   MEALS - LOCAL Dinner: Expense Date: 03/18/2019, Business            12.51   Koch, Matthew
                     Purpose: OT Working Dinner on 3/18/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

38001453 3/19/2019   MEALS - LOCAL Snacks and Beverage: Expense Date:                     4.16   Vora, Samir
                     03/19/2019, Business Purpose: Meeting w/FTI re Wildfire claims,
                     Merchant: Paradies Lagardere, DCA Airport, Guest(s): Vora,
                     Samir

37971320 3/21/2019   MEALS - LOCAL Dinner: Expense Date: 03/21/2019, Business            28.61   Koch, Matthew
                     Purpose: OT Working Dinner 3/21/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37977586 3/25/2019   MEALS - LOCAL Dinner: Expense Date: 03/25/2019, Business            20.95   Koch, Matthew
                     Purpose: Working Dinner on 3/25/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37996926 3/27/2019   MEALS - LOCAL Dinner: Expense Date: 03/27/2019, Business            30.00   Koch, Matthew
                     Purpose: OT Working Meal 3/27/2019, Merchant: Mulberry &
                     Vine, Guest(s): Koch, Matthew




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                                                 MEALS - OUT OF TOWN

         Date        Description                                                       Amount Name
37977754 3/12/2019   MEALS - OUT OF TOWN Hotel - Dinner: Expense Date:                   75.00   Kreller, Thomas R.
                     03/12/2019, Business Purpose: Attend Court Hearing., Guest(s):
                     Kreller, Thomas R.

37977755 3/13/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                75.00   Kreller, Thomas R.
                     03/13/2019, Business Purpose: Attend Court Hearing., Guest(s):
                     Kreller, Thomas R.

37967071 3/19/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/19/2019,               19.68   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Dinyar Mistry.,
                     Merchant: Bar 510 OAK Airport, Guest(s): Denny, Daniel B.

37967073 3/19/2019   MEALS - OUT OF TOWN Breakfast: Expense Date: 03/19/2019,             8.78   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Dinyar Mistry. Merchant:
                     McDonald's

38001454 3/19/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/19/2019,               75.00   Vora, Samir
                     Business Purpose: Meeting w/FTI re Wildfire claims *Detailed
                     Receipt not available. Only submitting for reimbursement the
                     $75 allotted dinner amount. The dinner receipt was more than
                     $75., Merchant: Tailor Public House, Guest(s): Vora, Samir

37977868 3/21/2019   MEALS - OUT OF TOWN Lunch: Expense Date: 03/21/2019,                13.80   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Douglas Friske.
                     Merchant: Moolicious Cafe and Crepe, One Sansome Street,
                     105, San Francisco, CA 94104

37977869 3/21/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/21/2019,               25.80   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Douglas Friske.,
                     Merchant: SSP America - Tap and Pour - OAK Airport, Guest(s):
                     Denny, Daniel B.

38001455 3/21/2019   MEALS - OUT OF TOWN Snacks and Beverage: Expense Date:              13.05   Vora, Samir
                     03/21/2019, Business Purpose: Meeting w/FTI re Wildfire claims,
                     Merchant: SSP Tap & Pour, LaGuardia Airport, Guest(s): Vora,
                     Samir

37988905 3/26/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                50.95   Bray, Gregory A.
                     03/26/2019, Business Purpose: Attend PG&E meeting, Guest(s):
                     Bray, Gregory A.

37995452 3/26/2019   MEALS - OUT OF TOWN Hotel - Dinner: Expense Date:                   75.00   Kreller, Thomas R.
                     03/26/2019, Business Purpose: Attend Court Hearing, Guest(s):
                     Kreller, Thomas R.

37995453 3/27/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                73.52   Kreller, Thomas R.
                     03/27/2019, Business Purpose: Attend Court Hearing, Guest(s):
                     Kreller, Thomas R.




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                                            OTHER APPROVED EXPENSES

         Date        Description                                                     Amount Name
37977750 3/11/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/11/2019, Business Purpose: Attend Court Hearing.
                     Agency: Ultramar

37977845 3/12/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                15.00   Franzoia, Rachel
                     Date: 03/12/2019, Business Purpose: Court Hearing Agency:
                     Ultramar

37967069 3/18/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Denny, Daniel B.
                     Date: 03/18/2019, Business Purpose: Attend Deposition of
                     Dinyar Mistry. Agency: Ultramar

37977866 3/19/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Denny, Daniel B.
                     Date: 03/19/2019, Business Purpose: Attend Deposition of
                     Douglas Friske. Agency: Ultramar

37995450 3/22/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/22/2019, Business Purpose: Attend Court Hearing
                     Agency: Ultramar

38018224 3/26/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/26/2019, Business Purpose: Client/Committee Meeting.
                     Agency: Ultramar




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                                         OUTSIDE WORD PROCESSING

         Date        Description                                         Amount Name
38027420 3/13/2019   OUTSIDE WORD PROCESSING --VENDOR: Lone Star Legal    388.89   Aronzon, Paul S.
                     LLC Word Processing - printing and binding




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                                             PHOTOCOPIES

         Date        Description                                     Amount Name
37929956 3/2/2019    PHOTOCOPIES                                         0.20   Kim, Jae Yeon Cecelia

37933823 3/4/2019    PHOTOCOPIES                                        10.30   Duplicating, D. C.

37933824 3/4/2019    PHOTOCOPIES                                        10.80   Orengo, Luis E.

37933825 3/5/2019    PHOTOCOPIES                                         1.70   Orengo, Luis E.

37933822 3/6/2019    PHOTOCOPIES                                         4.40   Duke, Julia C.

37933826 3/6/2019    PHOTOCOPIES                                         6.80   Orengo, Luis E.

37944057 3/7/2019    PHOTOCOPIES                                         2.10   Ayandipo, Abayomi A.

37944058 3/8/2019    PHOTOCOPIES                                         1.20   Ayandipo, Abayomi A.

37944059 3/8/2019    PHOTOCOPIES                                         1.40   Orengo, Luis E.

37944060 3/12/2019   PHOTOCOPIES                                        13.50   Duplicating, D. C.

37950402 3/13/2019   PHOTOCOPIES                                         1.80   Chase, Annette

37959041 3/15/2019   PHOTOCOPIES                                        79.10   Duplicating, D. C.

37959042 3/15/2019   PHOTOCOPIES                                         1.60   Capolino, Margherita Angela

37973096 3/25/2019   PHOTOCOPIES                                        11.10   Duplicating, D. C.

37973097 3/25/2019   PHOTOCOPIES                                         3.00   Wolf, Julie M.

37973098 3/25/2019   PHOTOCOPIES                                         0.90   Orengo, Luis E.

37979510 3/27/2019   PHOTOCOPIES                                        52.10   Duplicating, D. C.

37990638 3/28/2019   PHOTOCOPIES                                         0.70   Wolf, Julie M.

37990639 3/28/2019   PHOTOCOPIES                                         2.50   Orengo, Luis E.




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                                                 PRINTING

         Date       Description                                       Amount Name
37926469 3/1/2019   PRINTING                                              1.20   Franzoia, Rachel

37926470 3/1/2019   PRINTING                                              6.40   Palmer, Jenni

37926471 3/1/2019   PRINTING                                              4.30   Behrens, James C.

37926472 3/1/2019   PRINTING                                             36.00   La Office Services

37926473 3/1/2019   PRINTING                                             11.40   Denny, Daniel B.

37929954 3/1/2019   PRINTING                                              0.10   Esposito, Debra

37929955 3/1/2019   PRINTING                                             11.00   Koch, Matthew

37929957 3/1/2019   PRINTING                                             64.30   Kim, Jae Yeon Cecelia

37929958 3/4/2019   PRINTING                                             84.20   Kim, Jae Yeon Cecelia

37929959 3/4/2019   PRINTING                                             97.50   Brewster, Jacqueline

37933827 3/4/2019   PRINTING                                              1.00   Duplicating, D. C.

37934132 3/4/2019   PRINTING                                              4.20   Kreller, Thomas R.

37933828 3/5/2019   PRINTING                                              1.20   Wolf, Julie M.

37934133 3/5/2019   PRINTING                                              1.20   Kreller, Thomas R.

37934134 3/5/2019   PRINTING                                             29.60   Palmer, Jenni

37934135 3/5/2019   PRINTING                                              5.00   Franzoia, Rachel

37934136 3/5/2019   PRINTING                                              7.60   Denny, Daniel B.

37935940 3/5/2019   PRINTING                                              6.00   Admin Xerox 1

37935943 3/5/2019   PRINTING                                             13.80   Kim, Jae Yeon Cecelia

37933829 3/6/2019   PRINTING                                              1.60   Wolf, Julie M.

37934137 3/6/2019   PRINTING                                              4.10   Denny, Daniel B.

37934138 3/6/2019   PRINTING                                              4.90   Franzoia, Rachel

37934139 3/6/2019   PRINTING                                              6.50   Connelly, Rachael

37935941 3/6/2019   PRINTING                                              5.00   Admin Xerox 1

37935942 3/6/2019   PRINTING                                              3.00   Koch, Matthew



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                                                  PRINTING

         Date        Description                                       Amount Name
37935944 3/6/2019    PRINTING                                              1.00   Kim, Jae Yeon Cecelia

37935945 3/6/2019    PRINTING                                             32.60   Brewster, Jacqueline

37944061 3/7/2019    PRINTING                                              1.70   Anderson, Angel R.

37944062 3/7/2019    PRINTING                                              8.40   Wolf, Julie M.

37944434 3/7/2019    PRINTING                                              0.60   Kreller, Thomas R.

37944435 3/7/2019    PRINTING                                             49.10   Palmer, Jenni

37944436 3/7/2019    PRINTING                                              4.70   Franzoia, Rachel

37944437 3/7/2019    PRINTING                                              3.30   Denny, Daniel B.

37944445 3/7/2019    PRINTING                                              5.80   Connelly, Rachael

37948331 3/7/2019    PRINTING                                             59.00   Koch, Matthew

37944438 3/8/2019    PRINTING                                              0.70   Denny, Daniel B.

37944439 3/8/2019    PRINTING                                              0.20   Palmer, Jenni

37944446 3/8/2019    PRINTING                                             22.00   Connelly, Rachael

37948332 3/8/2019    PRINTING                                              6.10   Koch, Matthew

37948337 3/8/2019    PRINTING                                            131.20   Thomas, Charmaine

37948338 3/8/2019    PRINTING                                              1.80   Kim, Jae Yeon Cecelia

37948344 3/8/2019    PRINTING                                             74.10   Adeyosoye, Adeola O.

37944440 3/11/2019   PRINTING                                             19.10   Palmer, Jenni

37944441 3/11/2019   PRINTING                                              3.90   Denny, Daniel B.

37944444 3/11/2019   PRINTING                                            142.30   La Office Services

37948334 3/11/2019   PRINTING                                              3.40   Bice, William B.

37948335 3/11/2019   PRINTING                                              1.40   Fiscina, Brandon

37948339 3/11/2019   PRINTING                                             32.90   Kim, Jae Yeon Cecelia

37948340 3/11/2019   PRINTING                                            164.50   Thomas, Charmaine

37948341 3/11/2019   PRINTING                                              0.20   Brewster, Jacqueline



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                                                  PRINTING

         Date        Description                                       Amount Name
37944442 3/12/2019   PRINTING                                              1.90   Denny, Daniel B.

37944443 3/12/2019   PRINTING                                              1.20   Kreller, Thomas R.

37948333 3/12/2019   PRINTING                                              5.10   Fiscina, Brandon

37948336 3/12/2019   PRINTING                                              0.20   Fiscina, Brandon

37948342 3/12/2019   PRINTING                                              1.20   Kim, Jae Yeon Cecelia

37948343 3/12/2019   PRINTING                                             14.00   Cosentino, Richard

37950626 3/13/2019   PRINTING                                              0.50   Palmer, Jenni

37950627 3/13/2019   PRINTING                                              5.30   Denny, Daniel B.

37953237 3/13/2019   PRINTING                                              1.40   Fiscina, Brandon

37950628 3/14/2019   PRINTING                                              0.10   Denny, Daniel B.

37950629 3/14/2019   PRINTING                                              3.40   Palmer, Jenni

37953238 3/14/2019   PRINTING                                             49.20   Koch, Matthew

37953239 3/14/2019   PRINTING                                              0.20   Ottenstein, Matthew H.

37959329 3/15/2019   PRINTING                                              5.60   Kreller, Thomas R.

37959330 3/15/2019   PRINTING                                              0.40   Palmer, Jenni

37959331 3/15/2019   PRINTING                                              0.60   Denny, Daniel B.

37961947 3/15/2019   PRINTING                                              1.80   Bice, William B.

37959332 3/18/2019   PRINTING                                              1.90   Denny, Daniel B.

37959333 3/18/2019   PRINTING                                             24.80   La Office Services

37959334 3/18/2019   PRINTING                                             26.40   Palmer, Jenni

37959335 3/18/2019   PRINTING                                             20.90   Franzoia, Rachel

37959336 3/18/2019   PRINTING                                              5.90   Kreller, Thomas R.

37959338 3/18/2019   PRINTING                                              1.90   Wu, Julia S.

37959337 3/19/2019   PRINTING                                              9.80   Behrens, James C.

37961946 3/19/2019   PRINTING                                              1.00   Esposito, Debra



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                                                  PRINTING

         Date        Description                                       Amount Name
37968452 3/20/2019   PRINTING                                              1.60   Behrens, James C.

37968453 3/20/2019   PRINTING                                              0.30   Denny, Daniel B.

37968455 3/20/2019   PRINTING                                              2.90   Wu, Julia S.

37968454 3/21/2019   PRINTING                                              1.20   Franzoia, Rachel

37968456 3/21/2019   PRINTING                                              0.50   Wu, Julia S.

37969961 3/21/2019   PRINTING                                             21.60   Koch, Matthew

37969962 3/21/2019   PRINTING                                              3.00   Bice, William B.

37973253 3/22/2019   PRINTING                                              0.70   Kreller, Thomas R.

37973254 3/22/2019   PRINTING                                              4.70   Franzoia, Rachel

37973255 3/22/2019   PRINTING                                              2.50   Denny, Daniel B.

37975227 3/22/2019   PRINTING                                              5.60   Koch, Matthew

37973256 3/25/2019   PRINTING                                              4.80   Denny, Daniel B.

37975228 3/25/2019   PRINTING                                              3.20   Bice, William B.

37975229 3/25/2019   PRINTING                                              5.40   Miller, Denise

37979684 3/26/2019   PRINTING                                              0.60   Kreller, Thomas R.

37979685 3/26/2019   PRINTING                                             12.10   Denny, Daniel B.

37981762 3/26/2019   PRINTING                                             13.20   Koch, Matthew

37981763 3/26/2019   PRINTING                                              1.70   Fiscina, Brandon

37981766 3/26/2019   PRINTING                                              7.90   Bice, William B.

37981764 3/27/2019   PRINTING                                              1.40   Fiscina, Brandon

37981765 3/27/2019   PRINTING                                              5.70   Koch, Matthew

37991001 3/28/2019   PRINTING                                              0.50   Palmer, Jenni

37993363 3/28/2019   PRINTING                                              7.50   Fiscina, Brandon

37991002 3/29/2019   PRINTING                                              2.80   Denny, Daniel B.

37991003 3/29/2019   PRINTING                                              0.60   Kreller, Thomas R.



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                                                  PRINTING

         Date        Description                                       Amount Name
37993365 3/29/2019   PRINTING                                              0.60   Bice, William B.




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                                                TELEPHONE

         Date        Description                                              Amount Name
37932408 3/1/2019    TELEPHONE AUSTIN    TX KOCH,MATTHEW        5054             2.56   Koch, Matthew

37932409 3/1/2019    TELEPHONE SEATTLE    WA KOCH,MATTHEW            5054        0.22   Koch, Matthew

37932410 3/1/2019    TELEPHONE SANFRNCSCO CA ESPOSITO,DEBRA            8381      0.36   Esposito, Debra

38044110 3/1/2019    TELEPHONE LOOPUP                                            4.03   Koch, Matthew

38044111 3/4/2019    TELEPHONE LOOPUP                                           11.61   Koch, Matthew

38044112 3/4/2019    TELEPHONE LOOPUP                                            1.36   Duke, Julia C.

37942906 3/5/2019    TELEPHONE SANFRNCSCO CA DENNY,DANIEL B           4302       0.69   Denny, Daniel B.

37943625 3/5/2019    TELEPHONE GRASSVLY S CA PRICE,CRAIG         5612            3.29   Price, Craig Michael

38044113 3/5/2019    TELEPHONE LOOPUP                                            3.11   Koch, Matthew

38044114 3/5/2019    TELEPHONE LOOPUP                                            1.09   Koch, Matthew

37942802 3/6/2019    TELEPHONE SANFRNCSCO CA WOLF,JULIE M            7534        0.72   Wolf, Julie M.

37942907 3/6/2019    TELEPHONE NASZ 5    NY AYOUB,EMILE G.     4571              3.29   Ayoub, Emile G.

38044115 3/6/2019    TELEPHONE LOOPUP                                            3.05   Dexter, Erin E.

38044143 3/6/2019    TELEPHONE LOOPUP                                            1.80   Orengo, Luis E.

38044116 3/7/2019    TELEPHONE LOOPUP                                            0.05   Aronzon, Paul S.

38044117 3/7/2019    TELEPHONE LOOPUP                                            1.54   Aronzon, Paul S.

38044118 3/7/2019    TELEPHONE LOOPUP                                           94.58   Koch, Matthew

38044119 3/7/2019    TELEPHONE LOOPUP                                            0.51   Koch, Matthew

37938379 3/11/2019   TELEPHONE - - VENDOR: COURTCALL LLC 2/26/19 - US           42.50   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORP/19-30088

38044120 3/11/2019   TELEPHONE LOOPUP                                           11.95   Koch, Matthew

38044149 3/11/2019   TELEPHONE LOOPUP                                            0.05   Thomas, Charmaine

38044150 3/11/2019   TELEPHONE LOOPUP                                            0.31   Koch, Matthew

38044151 3/11/2019   TELEPHONE LOOPUP                                            2.14   Koch, Matthew

37948740 3/12/2019   TELEPHONE - - VENDOR: COURTCALL LLC TELEPHONIC             35.00   Kreller, Thomas R.
                     APPEARANCE AT HEARING 3/12/19 AT 9:30 AM PT


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                                                 TELEPHONE

         Date        Description                                                Amount Name
37957284 3/12/2019   TELEPHONE SAN JOSE    CA KOCH,MATTHEW            5054         2.52   Koch, Matthew

37957285 3/12/2019   TELEPHONE RAMEY      MN KOCH,MATTHEW         5054             4.58   Koch, Matthew

38044121 3/12/2019   TELEPHONE LOOPUP                                              3.98   Koch, Matthew

38044122 3/12/2019   TELEPHONE LOOPUP                                              5.81   Koch, Matthew

38044123 3/12/2019   TELEPHONE LOOPUP                                              0.47   Dexter, Erin E.

38044152 3/12/2019   TELEPHONE LOOPUP                                              0.22   Koch, Matthew

38044153 3/12/2019   TELEPHONE LOOPUP                                              0.63   Capolino, Margherita Angela

37957286 3/13/2019   TELEPHONE AUSTIN     TX KOCH,MATTHEW        5054              2.92   Koch, Matthew

38044124 3/13/2019   TELEPHONE LOOPUP                                             69.50   Koch, Matthew

37949707 3/14/2019   TELEPHONE - - VENDOR: COURTCALL LLC 2/27/19 - US            132.50   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORPORATION/19-30088

37957287 3/14/2019   TELEPHONE NEVADACITY CA KOCH,MATTHEW              5054        1.09   Koch, Matthew

37957288 3/14/2019   TELEPHONE SEATTLE    WA KOCH,MATTHEW             5054         0.45   Koch, Matthew

38044125 3/14/2019   TELEPHONE LOOPUP                                             77.05   Koch, Matthew

37957289 3/15/2019   TELEPHONE CHICAGO     IL PRICE,CRAIG      5612                6.29   Price, Craig Michael

37957290 3/15/2019   TELEPHONE CHICAGO     IL PRICE,CRAIG      5612               12.59   Price, Craig Michael

38044126 3/15/2019   TELEPHONE LOOPUP                                              2.99   Koch, Matthew

38044127 3/17/2019   TELEPHONE LOOPUP                                              1.49   Koch, Matthew

38044144 3/17/2019   TELEPHONE LOOPUP                                              5.17   Wolf, Julie M.

38044128 3/18/2019   TELEPHONE LOOPUP                                             16.83   Koch, Matthew

37976094 3/19/2019   TELEPHONE SANFRNSCSO CA BEHRENS,JAMES C.            4436      6.99   Behrens, James C.

38044129 3/19/2019   TELEPHONE LOOPUP                                              3.80   Koch, Matthew

38044130 3/19/2019   TELEPHONE LOOPUP                                              3.18   Koch, Matthew

38044145 3/19/2019   TELEPHONE LOOPUP                                             21.44   Wolf, Julie M.

38044146 3/19/2019   TELEPHONE LOOPUP                                              6.45   Vora, Samir



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                                                     TELEPHONE

         Date        Description                                                  Amount Name
37967371 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/11/19 - US               35.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO)

37967372 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/12/19 - US               35.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO)

37967375 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/13/19 - US              170.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORPORATION/19-30088

38044131 3/21/2019   TELEPHONE LOOPUP                                                0.36   Koch, Matthew

38044132 3/21/2019   TELEPHONE LOOPUP                                               37.98   Koch, Matthew

38044147 3/21/2019   TELEPHONE LOOPUP                                               10.68   Wolf, Julie M.

38044133 3/22/2019   TELEPHONE LOOPUP                                                0.73   Koch, Matthew

38044134 3/22/2019   TELEPHONE LOOPUP                                                7.47   Koch, Matthew

38044135 3/22/2019   TELEPHONE LOOPUP                                                0.73   Koch, Matthew

38044136 3/25/2019   TELEPHONE LOOPUP                                               13.28   Koch, Matthew

38044137 3/26/2019   TELEPHONE LOOPUP                                                4.63   Koch, Matthew

38044138 3/26/2019   TELEPHONE LOOPUP                                                1.68   Koch, Matthew

37988489 3/27/2019   TELEPHONE REDFIELD      SD KOCH,MATTHEW             5054       12.82   Koch, Matthew

37988490 3/27/2019   TELEPHONE REDFIELD      SD PRICE,CRAIG         5612            10.99   Price, Craig Michael

38044139 3/27/2019   TELEPHONE LOOPUP                                               21.76   Koch, Matthew

38044140 3/27/2019   TELEPHONE LOOPUP                                                5.17   Koch, Matthew

38044141 3/28/2019   TELEPHONE LOOPUP                                              111.08   Koch, Matthew

38044148 3/28/2019   TELEPHONE LOOPUP                                                4.14   Wolf, Julie M.

37988491 3/29/2019   TELEPHONE SANFRNSCSO CA PRICE,CRAIG                 5612        5.13   Price, Craig Michael

37988492 3/29/2019   TELEPHONE SANFRNSCSO CA BICE,WILLIAM B.             5622        2.92   Bice, William B.

38044142 3/29/2019   TELEPHONE LOOPUP                                                4.89   Koch, Matthew

38027639 3/31/2019   TELEPHONE Data / Mobile Charges: Expense Date: 03/31/2019,     60.47   Aronzon, Paul S.
                     Business Purpose: Only Group 2 and line ending in 4006 are
                     reimbursable. Used for client communication. Merchant: ATT




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                                         TRANSCRIPT/DEPOSITION FEES

         Date        Description                                            Amount Name
37942627 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS          33.60   Thomas, Charmaine
                     LLC 2/13/19 - HEARING TRANSCRIPT

37942629 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS         132.00   Thomas, Charmaine
                     LLC 2/13/19 - HEARING TRANSCRIPT

37942630 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS          39.60   Thomas, Charmaine
                     LLC 2/26/19 - HEARING TRANSCRIPT

37967053 3/21/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: Jo McCall         233.20   Thomas, Charmaine
                     Court Reporting 1/29 & 1/31/19 - HEARING TRANSCRIPTS

38015422 3/25/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: VERITEXT         1176.57   Aronzon, Paul S.
                     DEPOSITION TRANSCRIPT FOR 3/19/19 DEPOSITION OF
                     DINYAR MISTRY

38045127 3/29/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: VERITEXT         1410.18   Aronzon, Paul S.
                     DEPOSITION TRANSCRIPT FOR DEPO OF DOUGLAS FRISKE
                     3/21/19




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                                   TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                           Amount Name
37936406 3/5/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Dexter, Erin E.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/05/2019, Business Purpose: Worked until 8:45 PM City
                     Limits: Out of the City

37939014 3/6/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Dexter, Erin E.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/06/2019, Business Purpose: Worked until 8:45 PM. City
                     Limits: Out of the City

37944878 3/6/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/06/2019, Business Purpose: Participate in litigation team
                     meeting re filing logistics; review case management procedures
                     order ; research case docket and prepare litigation team work
                     materials re case law regarding arguments in opposition to
                     preliminary injunction, FERC and PPA counter-parties opposition
                     and adversary

37944880 3/7/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/07/2019, Business Purpose: Attention to correspondence
                     refiling logistics and review of case management procedures
                     order; prepare litigation team work materials re case law, statutes
                     and pleadings regarding motion to appoint PE Committee and
                     materials related to March 13, 2019 hearing. City Limits: Out of
                     the

37949549 3/7/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/07/2019, Business Purpose: Taxi home following work in
                     PG&E matter. City Limits: In the City

37955730 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: Attention to correspondence re
                     opposition to motion for appointment of Official Committee of
                     Public Entities; prepare litigation team work materials re related
                     case law, statutes and pleadings regarding motion to appoint PE
                     Committee. City Limits: Out of the City

37955868 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37955871 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: OT Transportation on March 11,
                     2019, left office at 11:39PM. Receipt not required. City Limits: In
                     the City

37955872 3/13/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/13/2019, Business Purpose: OT Transportation on 3/13/18.
                     Receipt not required City Limits: In the City

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                                   TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                         Amount Name
37962492 3/13/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/13/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37955741 3/14/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/14/2019, Business Purpose: Coordinate service on litigation
                     parties regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same. City Limits: Out of the
                     City

37955873 3/14/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/14/2019, Business Purpose: OT Transportation. NYC
                     Address. left at 9:45pm. Receipt not required City Limits: In the
                     City

37967249 3/17/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/17/2019, Business Purpose: OT Transportation Home on
                     Sunday 3/17/19. NYC Address. Receipt not required City Limits:
                     In the City

37967253 3/18/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/18/2019, Business Purpose: March 18, 2019 transportation
                     allowance. Receipt not required. City Limits: In the City

37967255 3/19/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/19/2019, Business Purpose: OT Transportation Voucher
                     Home. NYC Address. Receipt not Required City Limits: In the City

37971319 3/20/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/20/2019, Business Purpose: OT Transportation Home. NYC
                     Address. Receipt not required City Limits: In the City

37977905 3/20/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/20/2019, Business Purpose: Follow up re service on litigation
                     parties regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same; prepare and organize
                     litigation team work materials re SEC documents and Committee
                     meeting

37977575 3/25/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/25/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City




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                                  TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                    Amount Name
37977587 3/25/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/25/2019, Business Purpose: OT Transportation Home. NYC.
                     Receipt not required City Limits: In the City

37977577 3/26/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/26/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37977588 3/26/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/26/2019, Business Purpose: OT Transportation Voucher. NYC
                     Address. Receipt not Required City Limits: In the City

37988729 3/27/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/27/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37988730 3/28/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/28/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City




                                                             35
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                                             MILBANK LLP
                                            Ending March 31, 2019

                                                WESTLAW

         Date        Description                                      Amount Name
37942330 3/4/2019    WESTLAW                                            606.31   Wolf, Julie M.

37942327 3/5/2019    WESTLAW                                           1061.05   Duke, Julia C.

37942331 3/5/2019    WESTLAW                                           2621.35   Wolf, Julie M.

37942332 3/5/2019    WESTLAW                                            303.16   Khani, Kavon M.

37942340 3/5/2019    WESTLAW                                            245.00   Franzoia, Rachel

37942333 3/6/2019    WESTLAW                                            454.74   Khani, Kavon M.

37942334 3/6/2019    WESTLAW                                            259.70   Wolf, Julie M.

37942341 3/6/2019    WESTLAW                                            757.89   Capolino, Margherita Angela

37942328 3/7/2019    WESTLAW                                            180.00   Denny, Daniel B.

37942335 3/7/2019    WESTLAW                                            411.28   Wolf, Julie M.

37942336 3/7/2019    WESTLAW                                            303.16   Khani, Kavon M.

37942337 3/7/2019    WESTLAW                                            303.16   Ayandipo, Abayomi A.

37942342 3/7/2019    WESTLAW                                            714.43   Capolino, Margherita Angela

37942338 3/8/2019    WESTLAW                                            151.58   Khani, Kavon M.

37942339 3/8/2019    WESTLAW                                            341.32   Wolf, Julie M.

37942329 3/9/2019    WESTLAW                                            622.75   Koch, Matthew

37954945 3/11/2019   WESTLAW                                            143.00   Weber, Jordan A.

37954949 3/11/2019   WESTLAW                                            155.69   Fiscina, Brandon

37954946 3/12/2019   WESTLAW                                           1500.98   Weber, Jordan A.

37954950 3/12/2019   WESTLAW                                            216.24   Khani, Kavon M.

37954951 3/13/2019   WESTLAW                                            822.55   Wolf, Julie M.

37954955 3/13/2019   WESTLAW                                            204.00   Wu, Julia S.

37954956 3/13/2019   WESTLAW                                            488.84   Ottenstein, Matthew H.

37954958 3/13/2019   WESTLAW                                           2077.58   Capolino, Margherita Angela

37954947 3/14/2019   WESTLAW                                           2867.27   Duke, Julia C.



                                                     36
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                                             MILBANK LLP
                                            Ending March 31, 2019

                                                WESTLAW

         Date        Description                                      Amount Name
37954952 3/14/2019   WESTLAW                                           1492.47   Wolf, Julie M.

37954953 3/14/2019   WESTLAW                                            151.58   Khani, Kavon M.

37954957 3/14/2019   WESTLAW                                            354.94   Prudenti, Paula M.

37954959 3/14/2019   WESTLAW                                           1904.80   Benz, Stephen

37954948 3/15/2019   WESTLAW                                           1130.12   Koch, Matthew

37954954 3/15/2019   WESTLAW                                            155.69   Prudenti, Paula M.

37970942 3/17/2019   WESTLAW                                           1245.99   Franzoia, Rachel

37970943 3/17/2019   WESTLAW                                            155.69   Koch, Matthew

37970944 3/18/2019   WESTLAW                                            877.99   Ayoub, Emile G.

37970945 3/18/2019   WESTLAW                                          16474.84   Franzoia, Rachel

37970953 3/18/2019   WESTLAW                                           1253.99   Wu, Julia S.

37970946 3/19/2019   WESTLAW                                            388.00   Behrens, James C.

37970947 3/19/2019   WESTLAW                                            948.69   Duke, Julia C.

37970950 3/19/2019   WESTLAW                                           7607.54   Wolf, Julie M.

37970954 3/19/2019   WESTLAW                                            143.00   Wu, Julia S.

37970958 3/19/2019   WESTLAW                                            151.58   Capolino, Margherita Angela

37970948 3/20/2019   WESTLAW                                           3709.96   Franzoia, Rachel

37970955 3/20/2019   WESTLAW                                            143.00   Wu, Julia S.

37970949 3/21/2019   WESTLAW                                            665.99   Franzoia, Rachel

37970951 3/21/2019   WESTLAW                                            151.58   Wolf, Julie M.

37970956 3/21/2019   WESTLAW                                            286.00   Wu, Julia S.

37970952 3/22/2019   WESTLAW                                            151.58   Wolf, Julie M.

37970957 3/23/2019   WESTLAW                                            897.99   Wu, Julia S.

37987713 3/25/2019   WESTLAW                                            259.70   Duke, Julia C.

37987714 3/25/2019   WESTLAW                                           2309.72   Wolf, Julie M.



                                                     37
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                                             MILBANK LLP
                                            Ending March 31, 2019

                                                WESTLAW

         Date        Description                                      Amount Name
37987715 3/26/2019   WESTLAW                                            151.58   Wolf, Julie M.




                                                     38
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 1
                                 UNITED STATES BANKRUPTCY COURT
 2
                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                    SAN FRANCISCO DIVISION
 4
      In re:                                         Bankruptcy Case No. 19-30088 (DM)
 5
      PG&E CORPORATION,                              Chapter 11
 6
                - and –                              (Lead Case)
 7
      PACIFIC GAS AND ELECTRIC                       (Jointly Administered
 8    COMPANY,
                                                     SECOND MONTHLY FEE STATEMENT OF
 9                                  Debtors.         MILBANK LLP FOR ALLOWANCE AND
                                                     PAYMENT OF COMPENSATION AND
10     Affects PG&E Corporation                     REIMBURSEMENT OF EXPENSES FOR THE
       Affects Pacific Gas and Electric             PERIOD MARCH 1, 2019 THROUGH MARCH
11    Company                                        31, 2019
       Affects both Debtors
12    * All papers shall be filed in the Lead Case   [No hearing requested]
      No. 19-30088 (DM).
13

14
      To: The Notice Parties
15
      Name of Applicant:                             Milbank LLP
16
      Authorized to Provide Professional             Attorneys for the Official Committee of Unsecured
17    Services to:                                   Creditors

18    Date of Retention:                             April 29,2019 nunc pro tunc to February 12, 2019
                                                     subject to approval by the Court
19
                                                     March 1, 2019 through March 31, 2019
20    Period for which compensation and
      reimbursement are sought:
21
      Amount of compensation sought as actual,       $1,723,364.20 (80% of $2,154,205.25)
22    reasonable, and necessary:

23    Amount of expense reimbursement sought         $88,823.53
      as actual, reasonable, and necessary:
24

25             Milbank LLP (“Milbank” or the “Applicant”), the attorneys for the Official Committee of
26
     Unsecured Creditors (the “Committee”), hereby submits its Second Monthly Fee Statement (this
27
     “Monthly Fee Statement”) for allowance and payment of compensation for professional services
28
     rendered and for reimbursement of actual and necessary expenses incurred for the period commencing
    [COURT
 Case:    19-30088
    44553.00001
                          Doc#US2707
                HAS INSTRUCTED          Filed:
                                 TO DELETE             ]
                                                06/21/19
                                           ALL FOOTERS    Entered: 06/21/19 13:59:29   Page 391
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 1   March 1, 2019 through March 31, 2019 (the “Fee Period”) pursuant to the Order Pursuant to 11 U.S.C

 2   §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
 3
     Compensation and Reimbursement of Expenses of Professional dated February 27, 2019 [Docket No.
 4
     701] (the “Interim Compensation Procedures Order”).
 5
            By this Fee Statement, Milbank requests allowance and payment of $1,723,364.20 (80% of
 6
     $2,154,205.25) as compensation for professional services rendered to the Committee during the Fee
 7

 8   Period and allowance and payment of $88,823.53 (representing 100% of the expenses allowed) as

 9   reimbursement for actual and necessary expenses incurred by Milbank during the Fee Period.
10          Annexed hereto as Exhibit A hereto is the name of each professional who performed services
11
     for the Committee in connection with these Chapter 11 Cases during the Fee Period covered by this Fee
12
     Statement and the hourly rate and total fees for each professional. Attached hereto as Exhibit B is a
13
     summary of hours during the Fee Period by task. Attached hereto as Exhibit C is a summary of expenses
14

15   incurred during the Fee Period. Attached hereto as Exhibit D are the detailed time entries for the Fee

16   Period. Attached hereto as Exhibit E are the detailed expenses entries for the Fee Period.

17          PLEASE TAKE FURTHER NOTICE that, in accordance with the Interim Compensation
18   Procedures Order, responses or objections to this Monthly Fee Statement, if any, must be filed and served
19
     on or before the 21st day (or the next business day if such day is not a business day) following the date
20
     the Monthly Fee Statement is served (the “Objection Deadline”) with this Court.
21
            PLEASE TAKE FURTHER NOTICE that upon the expiration of the Objection Deadline, the
22

23   Applicant shall file a certificate of no objection with the Court, after which the Debtors are authorized

24   and directed to pay the Applicant an amount equal to 80% of the fees and 100% of the expenses requested

25   in this Monthly Fee Statement. If an objection is properly filed, the Debtors shall be authorized and
26
     directed to pay the Applicant 80% of the fees and 100% of the expenses not subject to an objection.
27

28

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 1   Dated: June 21, 2019

 2                                         Respectfully submitted,
 3
                                           MILBANK LLP
 4
                                           By: /s/ Dennis F. Dunne
 5
                                           Dennis F. Dunne (admitted pro hac vice)
 6                                         Samuel A. Khalil (admitted pro hac vice)
                                           Gregory A. Bray
 7                                         Thomas R. Kreller
 8                                         Counsel for the Official Committee of Unsecured
                                           Creditors
 9
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                                COMPENSATION BY PROFESSIONAL
                               MARCH 1, 2019 THROUGH MARCH 31, 2019
The attorneys who rendered professional services in these chapter 11 cases from March 1, 2019
through March 31, 2019 (the “Fee Period”) are:
 NAME OF PROFESSIONAL                                                      TOTAL
    PARTNERS AND                                      YEAR     HOURLY      HOURS       TOTAL
       COUNSEL:                  DEPARTMENT         ADMITTED    RATE       BILLED   COMPENSATION
                                   Financial
 Paul Aronzon                     Restructuring       1979      $1,540      57.80      $89,012.00
                                  Global Project,
                                   Energy and
                                  Infrastructure
 William Bice                        Finance          1996      $1,540      42.90      $66,066.00
                                   Financial
 Gregory Bray                     Restructuring       1984      $1,540      93.50      $143,990.00
                                   Financial
 Dennis Dunne                     Restructuring       1991      $1,540      55.50      $85,470.00
 Russell Kestenbaum                    Tax            1999      $1,540      13.90      $21,406.00

                                   Financial                    $1,540      92.60      $142,604.00
 Thomas Kreller                   Restructuring       1992      $770*        5.50       $4,235.00
                                                                $1,540      28.20      $43,428.00
 Andrew Leblanc                     Litigation        2000       $770        4.50      $3,465.00
                                    Alternative
 Eric Moser                        Investments        1991      $1,540      1.40        $2,156.00
 Adam Moses                      Global Corporate     2002      $1,540      9.80       $15,092.00
 Michael Nolan                      Litigation        1992      $1,540      13.80      $21,252.00
 Alan Stone                         Litigation        1988      $1,540      13.50      $20,790.00
                                   Financial
 Samuel Khalil                    Restructuring       2004      $1,425      16.40      $23,370.00
 Manan Shah                            Tax            2002      $1,425      24.80      $35,340.00
                                   Financial
 Craig Price                      Restructuring       2000      $1,120     157.20      $176,064.00


 Total Partners and Counsel:                                   $1,415.71   631.30      $893,740.00




                                                      1

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                                                                  TOTAL
NAME OF PROFESSIONAL                          YEAR      HOURLY    HOURS        TOTAL
    ASSOCIATES:          DEPARTMENT         ADMITTED*    RATE     BILLED    COMPENSATION
                           Financial
Lena Mandel               Restructuring       1991       $1,080    18.70        $20,196.00
Jason Anderson                                           $995       9.30         $9,253.50
                                                         $995      91.30        $90,843.50
Samir Vora                  Litigation        2007      $497.5*     5.50        $2,736.25
Kamel Aitelaj               Litigation        2008       $995      26.70        $26,566.50
James Beebe                    Tax            2011       $995      13.50        $13,432.50
Nicholas Deluca                Tax            2009       $995       1.00         $995.00

                           Financial                     $995      123.30       $122,683.50
Daniel Denny              Restructuring       2005      $497.5*    13.00         $6,467.50
                           Financial
James Behrens             Restructuring       2015       $995      13.10        $12,510.50
Erin Dexter                 Litigation        2014       $920      58.90        $54,188.00

                           Financial                     $920      144.90       $133,308.00
Rachael Franzoia          Restructuring       2013       $460*      7.50         $3,450.00
                           Financial
Matthew Koch              Restructuring       2014       $920      182.10       $167,532.00
                           Financial
Parker Milender           Restructuring       2014       $920      20.10        $18,492.00
Katherine Pierucci          Litigation        2014       $920      19.90        $18,308.00
                           Financial
Jordan Weber              Restructuring       2015       $920      60.00        $55,200.00
Christina Skaliks              Tax            2015       $875      16.30        $14,262.50
Julie Wolf                  Litigation        2016       $875      156.00       $136,500.00
Emile Ayoub                 Litigation        2017       $830      26.70        $22,161.00
Archan Hazra                   Tax            2017       $830       7.80         $6,474.00
Kavon Khani                 Litigation        2017       $830      56.80        $47,144.00
                           Financial
Adeola Adeyosoye          Restructuring       2018       $735       1.00         $735.00
Julia Duke                  Litigation        2018       $735      89.70        $65,929.50
Luis Orengo                 Litigation        2018       $735      52.90        $38,881.50
                          Global Project,
                           Energy and
                          Infrastructure
Henry Seeley                 Finance          2018       $735      20.00        $14,700.00


                                              2

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Stephen Benz                 Litigation       2019       $595       8.30         $4,938.50
Margherita Capolino          Litigation       2019       $595      22.90         $13,625.50
Rachael Connelly          Global Corporate    2018       $595      19.10         $11,364.50
Benjamin Heller                 Tax           2018       $595      6.90          $4,105.50
Danielle Lee                 Litigation       2019       $595      84.10         $50,039.50
Julia Wu                     Litigation       2018       $595      57.20         $34,034.00
Joshua Zimberg               Litigation       2019       $595      20.80         $12,376.00


Total Associates:                                       $847.55   1,455.30      $1,233,433.75




                                              3

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                                                                            TOTAL
     NAME OF                                                  HOURLY        HOURS        TOTAL
PARAPROFESSIONALS:                DEPARTMENT                   RATE         BILLED    COMPENSATION
Angel Anderson                        Litigation               $350            8.50         $2,975.00
Abayomi Ayandipo                      Litigation               $350           19.90         $6,965.00
Jenifer Gibbs                         Litigation               $350            3.30         $1,155.00
David McCracken                       Litigation               $350            8.00         $2,800.00
                                     Financial
Charmaine Thomas                    Restructuring              $300           11.20         $3,360.00
                                     Financial
Jacqueline Brewster                 Restructuring              $290            2.60          $754.00
Brandon Fiscina                   Practice Support             $250           14.50         $3,625.00
                               Global Project, Energy
James Liles                        and Finance                 $635            8.50         $5,397.50


Total Paraprofessionals
and other non-legal staff:                                    $353.35         76.50        $27,031.50



                PROFESSIONALS                        BLENDED RATE       TOTAL HOURS      TOTAL
                                                                          BILLED      COMPENSATION
TOTALS:

Partners and Counsel                                    $1,415.71          631.30       $893,740.00

Associates                                              $847.55           1,455.30     $1,233,433.75

Paraprofessionals and other non-legal staff             $353.35            76.50           $27,031.50

Blended Attorney Rate                                   $1,019.44         2,086.60     $2,127,173.75

Total Fees Incurred                                     $995.89           2,163.10     $2,154,205.25




                                                          4

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                       COMPENSATION BY WORK TASK CODE FOR
                         SERVICES RENDERED BY MILBANK LLP
                 FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

TASK
                                  DESCRIPTION                                 HOURS       AMOUNT
CODE
00003   Automatic Stay                                                         25.50      $27,422.00
00004   Bankruptcy Litigation                                                 411.70     $351,169.50
00007   Case Administration (Dockets updates, WIP and calendar)                58.60      $51,288.00
00010   Communications with Client                                            135.80     $147,634.50
00011   Communications with Unsecured Creditors                                9.10       $11,250.50
00012   Committee Meetings                                                    126.60     $148,424.00
00013   Committee Governance                                                   41.60      $50,525.00
00014   Corporate Governance and Board Issues                                  70.60      $69,971.50
00015   Customer, Supplier and Vendor Issues                                   17.50      $19,474.50
00016   DIP Financing/Cash Management                                          62.70      $81,395.50
        General Case Strategy(includes calls with client and team calls and
00018                                                                         264.40     $284,234.00
        meetings)
00020   Court Hearings                                                         68.60      $91,302.00
00022   Non-Bankruptcy Litigation                                              43.60      $37,657.50
00023   Non-Working Travel                                                     36.00      $20,353.75
00027   CPUC                                                                   28.40      $28,506.50
00028   FERC                                                                   9.90       $11,362.50
00029   Retention/Fee Applications                                            315.20     $297,308.00
00032   Subrogation Issues                                                     33.40      $27,868.00
00034   Tax Issues                                                             40.10      $45,019.00
00036   U.S. Trustee                                                            8.70       $9,926.50
00038   Wildfire Claims and Treatment                                         118.90     $116,100.00
00039   Employee Benefits/Severance Issues                                    236.20     $226,012.50
TOTAL                                                                         2,163.10   $2,154,205.25




                                                     5
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                                  EXPENSE SUMMARY
                  FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

EXPENSES                                                               AMOUNTS

Computerized Research                                                   $69,209.77

Lodging                                                                 $3,534.15

Mail                                                                    $1,461.40

Meals                                                                   $1,965.32

Travel                                                                  $4,400.01

Transportation                                                          $1,941.58

Duplicating                                                             $2,072.49

Telephone                                                               $1,213.66

Transcript Fees                                                         $3,025.15

Total Expenses Requested:                                               $88,823.53




                                            6
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                                              Notice Parties
   PG&E Corporation
   c/o Pacific Gas & Electric Company
   Attn: Janet Loduca, Esq.
   77 Beale Street
   San Francisco, CA 94105

   Weil, Gotshal & Manges LLP
   Attn: Stephen Karotkin, Esq.
          Jessica Liou, Esq.
          Matthew Goren, Esq.
   767 Fifth Avenue
   New York, NY 10153-0119

   Keller & Benvenutti LLP
   Attn: Tobias S. Keller, Esq.
          Jane Kim, Esq
   650 California Street, Suite 1900
   San Francisco, CA 94108

   The Office of the United States Trustee for Region 17
   Attn: James L. Snyder, Esq.
          Timothy Laffredi, Esq.);
   450 Golden Gate Avenue, 5th Floor, Suite #05-0153
   San Francisco, CA 94102

   Baker & Hostetler LLP
          Attn: Eric Sagerman, Esq. and
   Cecily Dumas, Esq.
   11601 Wilshire Boulevard, Suite 1400
   Los Angeles, CA 90025-0509




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                        EXHIBIT A




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                                COMPENSATION BY PROFESSIONAL
                               MARCH 1, 2019 THROUGH MARCH 31, 2019
The attorneys who rendered professional services in these chapter 11 cases from March 1, 2019
through March 31, 2019 (the “Fee Period”) are:
 NAME OF PROFESSIONAL                                                      TOTAL
    PARTNERS AND                                      YEAR     HOURLY      HOURS       TOTAL
       COUNSEL:                  DEPARTMENT         ADMITTED    RATE       BILLED   COMPENSATION
                                   Financial
 Paul Aronzon                     Restructuring       1979      $1,540      57.80      $89,012.00
                                  Global Project,
                                   Energy and
                                  Infrastructure
 William Bice                        Finance          1996      $1,540      42.90      $66,066.00
                                   Financial
 Gregory Bray                     Restructuring       1984      $1,540      93.50      $143,990.00
                                   Financial
 Dennis Dunne                     Restructuring       1991      $1,540      55.50      $85,470.00
 Russell Kestenbaum                    Tax            1999      $1,540      13.90      $21,406.00

                                   Financial                    $1,540      92.60      $142,604.00
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                                                                $1,540      28.20      $43,428.00
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                                    Alternative
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 Adam Moses                      Global Corporate     2002      $1,540      9.80       $15,092.00
 Michael Nolan                      Litigation        1992      $1,540      13.80      $21,252.00
 Alan Stone                         Litigation        1988      $1,540      13.50      $20,790.00
                                   Financial
 Samuel Khalil                    Restructuring       2004      $1,425      16.40      $23,370.00
 Manan Shah                            Tax            2002      $1,425      24.80      $35,340.00
                                   Financial
 Craig Price                      Restructuring       2000      $1,120     157.20      $176,064.00


 Total Partners and Counsel:                                   $1,415.71   631.30      $893,740.00




                                                      1

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                                                    of 594
                                                                  TOTAL
NAME OF PROFESSIONAL                          YEAR      HOURLY    HOURS        TOTAL
    ASSOCIATES:          DEPARTMENT         ADMITTED*    RATE     BILLED    COMPENSATION
                           Financial
Lena Mandel               Restructuring       1991       $1,080    18.70        $20,196.00
Jason Anderson                                           $995       9.30         $9,253.50
                                                         $995      91.30        $90,843.50
Samir Vora                  Litigation        2007      $497.5*     5.50        $2,736.25
Kamel Aitelaj               Litigation        2008       $995      26.70        $26,566.50
James Beebe                    Tax            2011       $995      13.50        $13,432.50
Nicholas Deluca                Tax            2009       $995       1.00         $995.00

                           Financial                     $995      123.30       $122,683.50
Daniel Denny              Restructuring       2005      $497.5*    13.00         $6,467.50
                           Financial
James Behrens             Restructuring       2015       $995      13.10        $12,510.50
Erin Dexter                 Litigation        2014       $920      58.90        $54,188.00

                           Financial                     $920      144.90       $133,308.00
Rachael Franzoia          Restructuring       2013       $460*      7.50         $3,450.00
                           Financial
Matthew Koch              Restructuring       2014       $920      182.10       $167,532.00
                           Financial
Parker Milender           Restructuring       2014       $920      20.10        $18,492.00
Katherine Pierucci          Litigation        2014       $920      19.90        $18,308.00
                           Financial
Jordan Weber              Restructuring       2015       $920      60.00        $55,200.00
Christina Skaliks              Tax            2015       $875      16.30        $14,262.50
Julie Wolf                  Litigation        2016       $875      156.00       $136,500.00
Emile Ayoub                 Litigation        2017       $830      26.70        $22,161.00
Archan Hazra                   Tax            2017       $830       7.80         $6,474.00
Kavon Khani                 Litigation        2017       $830      56.80        $47,144.00
                           Financial
Adeola Adeyosoye          Restructuring       2018       $735       1.00         $735.00
Julia Duke                  Litigation        2018       $735      89.70        $65,929.50
Luis Orengo                 Litigation        2018       $735      52.90        $38,881.50
                          Global Project,
                           Energy and
                          Infrastructure
Henry Seeley                 Finance          2018       $735      20.00        $14,700.00


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Stephen Benz                 Litigation       2019       $595       8.30         $4,938.50
Margherita Capolino          Litigation       2019       $595      22.90         $13,625.50
Rachael Connelly          Global Corporate    2018       $595      19.10         $11,364.50
Benjamin Heller                 Tax           2018       $595      6.90          $4,105.50
Danielle Lee                 Litigation       2019       $595      84.10         $50,039.50
Julia Wu                     Litigation       2018       $595      57.20         $34,034.00
Joshua Zimberg               Litigation       2019       $595      20.80         $12,376.00


Total Associates:                                       $847.55   1,455.30      $1,233,433.75




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                                                                            TOTAL
     NAME OF                                                  HOURLY        HOURS        TOTAL
PARAPROFESSIONALS:                DEPARTMENT                   RATE         BILLED    COMPENSATION
Angel Anderson                        Litigation               $350            8.50         $2,975.00
Abayomi Ayandipo                      Litigation               $350           19.90         $6,965.00
Jenifer Gibbs                         Litigation               $350            3.30         $1,155.00
David McCracken                       Litigation               $350            8.00         $2,800.00
                                     Financial
Charmaine Thomas                    Restructuring              $300           11.20         $3,360.00
                                     Financial
Jacqueline Brewster                 Restructuring              $290            2.60          $754.00
Brandon Fiscina                   Practice Support             $250           14.50         $3,625.00
                               Global Project, Energy
James Liles                        and Finance                 $635            8.50         $5,397.50


Total Paraprofessionals
and other non-legal staff:                                    $353.35         76.50        $27,031.50



                PROFESSIONALS                        BLENDED RATE       TOTAL HOURS      TOTAL
                                                                          BILLED      COMPENSATION
TOTALS:

Partners and Counsel                                    $1,415.71          631.30       $893,740.00

Associates                                              $847.55           1,455.30     $1,233,433.75

Paraprofessionals and other non-legal staff             $353.35            76.50           $27,031.50

Blended Attorney Rate                                   $1,019.44         2,086.60     $2,127,173.75

Total Fees Incurred                                     $995.89           2,163.10     $2,154,205.25




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                        EXHIBIT B




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                       COMPENSATION BY WORK TASK CODE FOR
                         SERVICES RENDERED BY MILBANK LLP
                 FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

TASK
                                  DESCRIPTION                                 HOURS       AMOUNT
CODE
00003   Automatic Stay                                                         25.50      $27,422.00
00004   Bankruptcy Litigation                                                 411.70     $351,169.50
00007   Case Administration (Dockets updates, WIP and calendar)                58.60      $51,288.00
00010   Communications with Client                                            135.80     $147,634.50
00011   Communications with Unsecured Creditors                                9.10       $11,250.50
00012   Committee Meetings                                                    126.60     $148,424.00
00013   Committee Governance                                                   41.60      $50,525.00
00014   Corporate Governance and Board Issues                                  70.60      $69,971.50
00015   Customer, Supplier and Vendor Issues                                   17.50      $19,474.50
00016   DIP Financing/Cash Management                                          62.70      $81,395.50
        General Case Strategy(includes calls with client and team calls and
00018                                                                         264.40     $284,234.00
        meetings)
00020   Court Hearings                                                         68.60      $91,302.00
00022   Non-Bankruptcy Litigation                                              43.60      $37,657.50
00023   Non-Working Travel                                                     36.00      $20,353.75
00027   CPUC                                                                   28.40      $28,506.50
00028   FERC                                                                   9.90       $11,362.50
00029   Retention/Fee Applications                                            315.20     $297,308.00
00032   Subrogation Issues                                                     33.40      $27,868.00
00034   Tax Issues                                                             40.10      $45,019.00
00036   U.S. Trustee                                                            8.70       $9,926.50
00038   Wildfire Claims and Treatment                                         118.90     $116,100.00
00039   Employee Benefits/Severance Issues                                    236.20     $226,012.50
TOTAL                                                                         2,163.10   $2,154,205.25




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                        EXHIBIT C




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                                  EXPENSE SUMMARY
                  FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

EXPENSES                                                               AMOUNTS

Computerized Research                                                   $69,209.77

Lodging                                                                 $3,534.15

Mail                                                                    $1,461.40

Meals                                                                   $1,965.32

Travel                                                                  $4,400.01

Transportation                                                          $1,941.58

Duplicating                                                             $2,072.49

Telephone                                                               $1,213.66

Transcript Fees                                                         $3,025.15

Total Expenses Requested:                                               $88,823.53




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                        EXHIBIT D




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                                                    MILBANK LLP
                                               Description of Legal Services
                                                   Ending March 31, 2019
                                       44553.00003 OCUC of PG&E - Automatic Stay
          Date       Description                                               Hours Name


23343037 3/4/2019    Revise order granting Enel stipulation (.2);                  0.70   Koch, Matthew
                     revise stipulation re Enel lift stay motion
                     (.3); communications w/ T. Kreller and G.
                     Glemann (Stoel) re same (.2).


23355784 3/4/2019    Review order granting Enel stipulation (.2);                  0.40   Price, Craig Michael
                     communications w/ T. Kreller, M. Koch and G.
                     Glemann (Stoel) re same (.2).


23388893 3/14/2019   Calls w/ F. Bloksberg (Bloksberg law) re lift                 0.60   Koch, Matthew
                     stay motion.


23388894 3/14/2019   Communications w/ G. Glemann (Stoel) re Enel                  0.10   Koch, Matthew
                     safe harbor motion.


23389027 3/17/2019   Draft memo re automatic stay issues.                          1.50   Koch, Matthew


23401702 3/18/2019   Review Enel Green Power motion for safe harbor                0.90   Bice, William B.
                     relief (.6);review proposed stipulation between
                     Debtors and Enel (.3).


23754465 3/18/2019   Emails w/ M. Koch re Enel safe harbor motion.                 0.10   Bray, Gregory A.


23754956 3/18/2019   Emails w/ G. Bray and M. Goren (Weil) re Enel                 0.40   Koch, Matthew
                     safe harbor motion (.2); review Enel
                     stipulation (.2).


23401713 3/19/2019   Review Enel interconnection agreements (.6);                  1.10   Bice, William B.
                     draft email memorandum to Milbank Team (D.
                     Dunne, G. Bray, T. Kreller, A. Leblanc) on
                     stipulation rationale (.5).


23404074 3/21/2019   Call with M. Goren (Weil) and M. Koch (Milbank)               0.20   Bice, William B.
                     on Enel stipulation.


23423593 3/21/2019   Review as-filed Enel stipulation (.2);                        1.10   Koch, Matthew
                     communications w/ M. Goren (Weil) and W. Bice
                     re Enel stipulation (.4); draft memo re same
                     (.5).




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                                                    MILBANK LLP
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          Date       Description                                               Hours Name


23755475 3/21/2019   Emails w/ J. Weber on documents related to                    0.10   Koch, Matthew
                     esVolta motion.


23430686 3/21/2019   Review pleadings and other relevant documents                 2.70   Weber, Jordan A.
                     related to esVolta motion (1.6); emails with M.
                     Koch on the same (.1); review precedent
                     documents for the automatic stay issues (1).


23405164 3/22/2019   Strategy call w/ M. Koch, E. Dexter and S. Vora               0.70   Milender, Parker
                     re: stay issues (.3); review materials re same
                     (.4).


23789609 3/24/2019   Review court documents related to automatic                   4.00   Weber, Jordan A.
                     stay relief issue (1.1); review precedent
                     memoranda and research on the same (.9); begin
                     draft of memo on automatic stay relief filing
                     (1.8); review diligence required on the same
                     (0.2).


23432328 3/25/2019   Emails w/ J. Weber and M. Goren (Weil) re                     0.80   Koch, Matthew
                     esVolta safe harbor motion (.4); communications
                     w/ J. Weber re esVolta safe harbor motion (.4).


23432333 3/25/2019   Emails w/ W. Bice and J. Weber re lift stay                   0.40   Koch, Matthew
                     issues (.1); discuss same w/ C. Price (.3).


23439409 3/25/2019   Review lift stay issues (.2); discuss same with               0.50   Price, Craig Michael
                     M. Koch. (.3).


23460279 3/25/2019   Research (1.3) and draft memo regarding                       3.80   Weber, Jordan A.
                     (redacted) (1.9); emails w/ W. Bice and M. Koch
                     re lift stay issues (.1); emails w/ M. Koch re
                     esVolta safe harbor motion (.2); comms w/ same
                     re same (.2); t/c with W. Farmer re: Enel Green
                     Power memo materials (.1).




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          Date       Description                                               Hours Name


23438946 3/26/2019   Review esVolta motion safe harbor analysis                    3.80   Bice, William B.
                     (.4); review memo in support of esVolta motion
                     and supporting declaration (.8); review esVolta
                     PPA (.8); research (redacted) (1.1); draft
                     correspondence to M. Koch, J. Weber
                     highlighting differences between esVolta and
                     energy PPAs (.5);emails w/ M. Koch and J. Weber
                     re lift stay issues (.1); emails w/ M. Koch re
                     esVolta safe harbor motion (.1).


23432538 3/26/2019   Review esVolta draft stipulation (.2); emails                 0.40   Koch, Matthew
                     w/ W. Bice and E. Brady (Hogan Lovells) re
                     esVolta safe harbor motion (.2).


23460389 3/26/2019   Review (.3) and implement comments to memo on                 1.20   Weber, Jordan A.
                     motion to lift stay (.9).




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23309418 3/1/2019   Review pleadings re motion for appointment of              0.80   Bice, William B.
                    public entities committee (.5); correspond with
                    D. Dunne, A. LeBlanc, P. Aronson, T. Kreller,
                    and G. Bray re Committee position on motion
                    (.3).


23318831 3/1/2019   Draft section of solvent debtor issues                     4.30   Duke, Julia C.
                    memorandum.


23319431 3/1/2019   Conduct research re: (redacted) (4.2); Internal            4.80   Khani, Kavon M.
                    correspondence re: same (.3); email
                    correspondence re: Motion to Appoint an
                    Official Committee of Public Entities (.2);
                    email correspondence re: objection deadline for
                    remaining first day motions (.1).


23329631 3/4/2019   Review (2.3) and analyze (1.9) case law re                 4.60   Denny, Daniel B.
                    appointment of public entity committee; t/c. w/
                    E. Dexter, J. Wolf, J. Duke and R. Franzoia re
                    research and analysis re response to public
                    entity committee motion (.3); email to T.
                    Kreller re same (.1).


23357636 3/4/2019   Correspondence with Milbank team re FERC                   0.90   Dexter, Erin E.
                    adversary reply.


23740664 3/4/2019   Review pleadings (1.4) and research (.8) i/c/w             3.80   Dexter, Erin E.
                    (redacted); internal correspondence re same
                    (.5); meet with J. Duke and J. Wolf re public
                    entities committee objection (.4); meet with J.
                    Duke, J. Wolf, R. Franzoia, and D. Denny re
                    same (.7).


23319144 3/4/2019   Conduct research re (redacted) (6.8); meet with            7.90   Duke, Julia C.
                    E. Dexter and J. Wolf re same (.4); meet with
                    E. Dexter, J. Wolf, R. Franzoia and D. Denny re
                    same (.7).




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23360495 3/4/2019   Draft memo to the Committee regarding Motion to            6.00   Franzoia, Rachel
                    Appoint Public Entities Committee (4.9); conf.
                    with D. Denny, J. Duke, E. Dexter and J. Wolf
                    regarding opposition to public entities
                    committee motion (.7); internal comms re same
                    (.4).


23355373 3/4/2019   Research re: (redacted) (2.9); correspondence              3.20   Khani, Kavon M.
                    with J. Wolf and J. Duke re: client memorandum
                    w/r/t same (.3).


23354207 3/4/2019   Review FERC opposition to PI (2.1), PPA                    9.70   Orengo, Luis E.
                    counterparties opposition to PI (1.3), PPA
                    counterparties opposition to motion to
                    intervene (2.1), Frank Lindt opposition to PI
                    (1.1); draft counter arguments for reply brief
                    to each brief (3.1)


23387087 3/4/2019   Review public entities' motion for appointment             3.00   Vora, Samir
                    of official committee (1.2) and conduct
                    research thereon (1.8).


23344536 3/4/2019   Call with E. Dexter and J. Duke re: Motion for             8.70   Wolf, Julie M.
                    Appointment of Public Entities Committee (.4);
                    review Motion for Appointment of Public
                    Entities Committee and cases cited therein
                    (2.1); conduct legal research re: (redacted)
                    (3.4); call with W. Bice re: opposition to
                    motion for public entities committee (.3); call
                    with R. Franzoia, D. Denny, E. Dexter, and J.
                    Duke re: committee Opposition to motion for
                    public entities committee (.7); draft outline
                    of arguments for Opposition (1.8).


23327216 3/5/2019   Review PG&E petition for rehearing in Exelon               1.00   Bice, William B.
                    case (.6); discussion with A. LeBlanc re
                    intervention in FERC proceeding (.1);
                    correspond with J. Lilesre filed rate
                    jurisprudence on electric and gas cases (.3).


23329623 3/5/2019   Conf. w/ R. Franzoia (multiple) re memo re                 2.30   Denny, Daniel B.
                    public entity committee motion (.6); research
                    regarding (redacted) (1.7).


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23357692 3/5/2019   Internal correspondence (1.5) and calls (.4)                 1.90   Dexter, Erin E.
                    regarding reply in support of PI in FERC
                    adversary proceeding.


23327697 3/5/2019   Coordinate with team re pro hac vice                         1.30   Duke, Julia C.
                    applications for A. Leblanc and A. Stone (.8);
                    attend Milbank team call re strategy (.5).


23740912 3/5/2019   Draft objection to motion to appoint official                7.80   Duke, Julia C.
                    committee of public entities.


23360493 3/5/2019   Research regarding (redacted) (.7); revise memo              5.40   Franzoia, Rachel
                    to Committee regarding same (3.7); email
                    exchange with J. Wolf regarding same (.4);
                    conference with D. Denny re same (.6).


23355952 3/5/2019   Conduct research re: (redacted) (5.7); draft                 7.60   Khani, Kavon M.
                    client memorandum outline re: same (1.6);
                    review email correspondence re: statement filed
                    by Ad Hoc Committee of Senior Unsecured
                    Noteholders (.3).


23346264 3/5/2019   Coordinate re FERC adversary proceeding (1.1);               1.20   Leblanc, Andrew M.
                    discussion with W. Bice re intervention in FERC
                    proceeding (.1).


23354322 3/5/2019   Continue review of FERC opposition to PI (1.3),             10.70   Orengo, Luis E.
                    PPA counterparties opposition to PI (.8), PPA
                    counterparties opposition to motion to
                    intervene (.9), Frank Lindt opposition to PI
                    (.7); conf. with E. Dexter regarding reply to
                    oppositions briefs (1.1); prepare write-up to
                    discuss on call regarding reply to oppositions
                    briefs (1.3); discussion with J. Liles
                    regarding FERC jurisdictional issues (.4);
                    follow up meeting with same re same (.1);
                    research re (redacted) (.8); draft outline of
                    reply briefing re oppositions briefs (2.7);
                    email w/ W. Bice re outline of reply briefing
                    issues (.4); email to W. Bice re Boston
                    Generating case law (.2).




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23387093 3/5/2019   Further analyze public entity motion for                   2.50   Vora, Samir
                    committee appointment (1.3); research regarding
                    (redacted) (1.2).


23359964 3/6/2019   Call regarding potential intervention of the               4.80   Aitelaj, Kamel Malik
                    Committee in FERC proceeding (1.0); call with
                    PG&E's counsel (Weil) regarding petition for
                    injunction (.5); prep for same (.6);
                    preliminary analysis regarding adequacy of
                    intervention in FERC proceeding (2.7).


23352149 3/6/2019   Attend team meeting re filing protocol and                 2.50   Anderson, Angel R.
                    court rules (.7); internal correspondence (.4)
                    and prep (1.4) re same.


23342356 3/6/2019   Participate in litigation team meeting re                  6.00   Ayandipo, Abayomi A.
                    filing logistics (.7); review case management
                    procedures order (1.2); review case docket and
                    prepare litigation team work materials re case
                    law regarding arguments in opposition to
                    preliminary injunction, FERC and PPA
                    counter-parties opposition and adversary
                    proceedings reply briefing (4.1).


23333668 3/6/2019   Review summary of reply brief of FERC in                   2.10   Bice, William B.
                    adversary proceeding (.7); provide additional
                    comment on potential counterarguments in
                    proceedings (.5). conf. with E. Dexter, T.
                    Kreller, L. Orengo and M. Nolan on FERC
                    adversary proceeding arguments (.4); correspond
                    with J. Liles re Boston Generating case as
                    Federal Power Act precedent (.2); call with J.
                    Liles and M. Nolan re FERC intervention (.3).


23333712 3/6/2019   Draft response for ratepayer committee request.            0.20   Bice, William B.


23340052 3/6/2019   Teleconference with E. Dexter regarding                    1.40   Denny, Daniel B.
                    response to Public Entities Committee motion
                    (.2); revise draft memorandum regarding
                    response to Public Entities Committee motion
                    (.5); review (.3) and revise (.4) draft
                    response regarding public entity committee
                    motion.


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23743600 3/6/2019   Conf. with D. Denny re response to Public                  0.20   Denny, Daniel B.
                    Entities Committee motion.


23357796 3/6/2019   Correspondence w/ team regarding reply in                  2.00   Dexter, Erin E.
                    support of PI in FERC adversary proceeding
                    (.9); conf. with W. Bice, T. Kreller, L. Orengo
                    and M. Nolan re FERC adversary proceeding
                    arguments (.4) and prep for same (.2); call
                    with Weil re reply in support of PI in FERC
                    adversary proceeding (.5).


23741305 3/6/2019   Review revised opposition to public entities               3.50   Dexter, Erin E.
                    motion (2.1); review (.6) and draft (.8)
                    correspondence concerning same.


23329127 3/6/2019   Review all local, court, and bankruptcy rules              6.50   Duke, Julia C.
                    regarding filing (2.7); draft tip sheet for
                    filing in PG&E bankruptcy and adversary
                    proceedings (2.1); meet with E. Dexter re same
                    (.3); revise as per E. Dexter (.7); attend
                    meeting re same (.7).


23329132 3/6/2019   Review (.3) and revise (.6) objection to motion            0.90   Duke, Julia C.
                    for public entities committee.


23338781 3/6/2019   Review Butte settlement motion.                            0.30   Dunne, Dennis F.


23345478 3/6/2019   Team meeting regarding case management and                 2.30   Gibbs, Jenifer G.
                    filing protocol (.7); comms. with D. Denny re
                    same (.4); review case information and
                    documentation provided for same (1.2).


23355997 3/6/2019   Conduct research re: (redacted) (4.3); meet                8.30   Khani, Kavon M.
                    with J. Wolf to discuss issues related to
                    client memorandum re same (.4); draft client
                    memorandum re: (redacted) (3.6).


23360592 3/6/2019   Review (.8) and revise (.6) UCC objection to               2.10   Kreller, Thomas R.
                    Public Entity motion for official committee;
                    internal correspondence with team re same (.7).




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23360628 3/6/2019   Review FERC adversary filings (1.9); attention             3.20   Kreller, Thomas R.
                    to reply brief issues (.9); t/c with W. Bice,
                    E. Dexter, L. Orengo and M. Nolan re FERC
                    adversary proceeding arguments (.4).


23345896 3/6/2019   Call with W. Bice re FERC adversary proceeding             1.00   Liles, James
                    (.3); meet with L. Orengo re reply briefing
                    issues (.6); email w/ same re case law
                    addressing FERC actions under FPA (.1).


23356082 3/6/2019   Revise FERC-related documents (1.9); internal              3.00   Nolan, Michael D.
                    comms. re procedural background re same (.7);
                    conf. with W. Bice, T. Kreller, L. Orengo and
                    E. Dexter re FERC adversary proceeding
                    arguments (.4).


23354326 3/6/2019   Draft email to W. Bice regarding questions                 7.10   Orengo, Luis E.
                    i/c/w reply briefing issues for pre-call with
                    Milbank team and call with Weil (1.1); research
                    re: (redacted) (2.4); discussion with J. Liles
                    regarding different treatment of market-based
                    rates and cost-based rates by FERC (.9); email
                    w/ W. Bice regarding FERC authority to regulate
                    buyer (.3); conf. with W. Bice, T. Kreller, L.
                    E. Dexter and M. Nolan re FERC adversary
                    proceeding reply brief (.4); call with Weil
                    regarding reply briefing issues (.5); follow-up
                    correspondence with E. Dexter (.4); review
                    issues re UCC reply brief in support of PI
                    (1.1).


23344449 3/6/2019   Conf. with J. Wolf re regarding (redacted).                0.40   Wolf, Julie M.


23741309 3/6/2019   Draft additional sections of Opposition to                 7.50   Wolf, Julie M.
                    public entities committee motion (1.1); revise
                    same to align with letter to US Trustee (2.1)
                    and incorporate edits from E. Dexter (.7);
                    review ongoing CPUC proceedings to determine
                    public entities party thereto (1.2); review
                    local rules for motion pleading requirements
                    i/c/w Opposition to PE Motion (.7); conduct
                    legal research re: (redacted) (1.7).




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23360136 3/7/2019   Meeting (.2) and emails (.2) with L. Orengo                4.50   Aitelaj, Kamel Malik
                    regarding FERC proceedings; review materials
                    from FERC proceeding and bankruptcy adversary
                    proceeding (4.1).


23352156 3/7/2019   Retrieve cases and statues i/c/w FERC adversary            3.50   Anderson, Angel R.
                    proceeding from Westlaw database (3.1);
                    internal correspondence re same (.4).


23356035 3/7/2019   Research re (redacted).                                    3.10   Khani, Kavon M.


23354222 3/7/2019   Review FERC adversary and appeal arguments                 8.60   Orengo, Luis E.
                    (1.1); email (.3) and conf. (.2) with K.
                    Aitelaj re same (.1); draft UCC reply brief in
                    support of debtors' motion for preliminary
                    injunction (6.9).


23387110 3/7/2019   Incorporate comments to opposition to motion               2.20   Vora, Samir
                    for appointment of public entity committee
                    (1.3); further review (.3) and edit (.6) same.


23344471 3/7/2019   Revise Opposition to PE Motion per comments and            5.50   Wolf, Julie M.
                    edits from W. Bice and D. Denny (2.6); revise
                    Opposition to PE Motion per comments from
                    weekly committee call (1.2); discuss same with
                    E. Dexter (.2); draft talking points for
                    Hearing on PE Motion (1.4); discuss same with
                    D. Denny (.1).


23360004 3/8/2019   Draft (3.9) and edit (1.3) motion to intervene             7.30   Aitelaj, Kamel Malik
                    in FERC proceeding; comms. with J. Liles and E.
                    Dexter re same (.2); revisions to same per M.
                    Nolan's comments (1.9).


23342556 3/8/2019   Review correspondence re filing of pleadings               0.40   Ayandipo, Abayomi A.
                    regarding motion to appoint PE Committee.




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23357879 3/8/2019   Review (.8) and revise (2.1) reply in support              4.00   Dexter, Erin E.
                    of FERC PI; internal correspondence regarding
                    same (.4); call w/ J. Liles and K. Aitelaj re
                    motion to intervene in FERC proceeding (.2);
                    discussions w/ L. Orengo re UCC reply brief in
                    support of motion for preliminary injunction
                    (.5).


23742391 3/8/2019   Revise opposition to public entities committee             2.50   Dexter, Erin E.
                    motion (2.3); correspondence regarding same
                    (.2).


23355657 3/8/2019   Confs. with R. Harris re request for official              0.90   Dunne, Dennis F.
                    ratepayer committee (.2); review Judge Montali
                    decision re same in PG&E I (.4); review
                    recommendation to committee re same (.3).


23352751 3/8/2019   Review (.3) and respond to (.2) support team               1.00   Gibbs, Jenifer G.
                    communications; review case information and
                    court procedures (.5).


23356101 3/8/2019   Conduct research re: (redacted) (2.6); draft               4.40   Khani, Kavon M.
                    client memorandum re: same (1.8).


23346106 3/8/2019   Review draft of Committee motion to intervene              0.80   Liles, James
                    in FERC proceeding (.3); review relevant FERC
                    procedural regulations (.3); call w/ K. Aitelaj
                    re draft motion to intervene (.2).


23356416 3/8/2019   Review relevant pleadings (.6) and revise                  2.00   Nolan, Michael D.
                    motion to intervene (1.4).


23354331 3/8/2019   Draft UCC reply brief in support of debtors'               6.80   Orengo, Luis E.
                    motion for preliminary injunction (2.7); review
                    transcript from 2/27 hearing (.5); discussions
                    with E. Dexter regarding edits to UCC reply
                    brief in support of preliminary injunction
                    (.5); incorporate edits/comments into reply
                    brief (2.9); correspond w/ K. Aitelaj regarding
                    FERC citation (.2).


23354383 3/8/2019   Review PI reply brief.                                     0.50   Stone, Alan J.


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23387117 3/8/2019   Review (1.3) and revise (1.6) research                     5.70   Vora, Samir
                    regarding (redacted); review (.9) and revise
                    (1.9) tort claim and criminal exposure
                    memoranda.


23344676 3/8/2019   Revise Opposition to PE Motion per comments                5.80   Wolf, Julie M.
                    from D. Dunne (2.2); comms with E. Dexter re
                    same (.3); review UST Objection to PE Motion
                    (.7); revise Opposition to PE Motion per UST
                    Objection (1.1); correspond w/ with litigation
                    support team re electronic filing and delivery
                    of paper copies of Opposition to chambers per
                    Court order (.9); prepare materials for 3/13
                    hearing on PE Motion and Oppositions thereto
                    (.6).


23341994 3/9/2019   Review (.6) and comment on (.4) draft                      1.00   Bice, William B.
                    intervention motion for NextEra FERC
                    proceeding.


23357945 3/9/2019   Review revisions to public entities' committee             0.20   Dexter, Erin E.
                    motion and FERC adversary proceeding reply.


23742812 3/9/2019   Review edits to public entities' committee                 0.20   Dexter, Erin E.
                    motion


23341963 3/9/2019   Review (.7) and comment on (.4) FERC                       1.10   Khalil, Samuel A.
                    intervention memo.


23356110 3/9/2019   Conduct legal research re:(redacted) (1.3);                3.40   Khani, Kavon M.
                    continue drafting client memorandum re: same
                    (1.9); correspondence w/ J. Wolf re same (.2).


23360467 3/9/2019   Review pleadings re FERC adversary and                     1.30   Kreller, Thomas R.
                    preliminary injunction motion (.7); revise
                    reply in support of preliminary injunction
                    motion (.6).


23360601 3/9/2019   Review and revise opposition to public entity              1.40   Kreller, Thomas R.
                    committee motion




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23344649 3/9/2019    Revise Opposition to PE Motion per comments and            1.90   Wolf, Julie M.
                     edits from T. Kreller.


23342006 3/10/2019   Review (.3) and comment on (.3) draft adversary            0.70   Bice, William B.
                     brief; correspondence with D. Dunne and S.
                     Khalil re adversary proceeding and FERC
                     intervention (.1).


23357955 3/10/2019   Review (.4) and edit (.8) reply in support of              2.40   Dexter, Erin E.
                     PI in FERC adversary proceeding; correspondence
                     regarding same (.4); revise opposition to
                     public entities committee motion (.6) and
                     correspondence re same (.2).


23343296 3/10/2019   Review case law re (redacted).                             0.50   Koch, Matthew


23360465 3/10/2019   Further review pleadings re FERC adversary and             2.80   Kreller, Thomas R.
                     preliminary injunction motion (1.2); edit reply
                     in support of preliminary injunction motion
                     (1.3); correspondence w/ L. Orengo re same
                     (.3).


23356485 3/10/2019   Review (.4) and comment on (.6) FERC adversary             1.00   Nolan, Michael D.
                     reply.


23354303 3/10/2019   Revise UCC reply brief per T. Kreller                      2.40   Orengo, Luis E.
                     edits/comments (2.2); correspond w/ E. Dexter
                     re same (.2).


23384060 3/10/2019   Review public entities motion.                             0.30   Stone, Alan J.


23387125 3/10/2019   Review debtors' draft opposition to appointment            1.00   Vora, Samir
                     of public entity committee.


23344650 3/10/2019   Communications with E. Dexter re joinder to                0.20   Wolf, Julie M.
                     Opposition to PE Motion.


23388004 3/11/2019   Revisions to draft motion to intervene in FERC             5.50   Aitelaj, Kamel Malik
                     proceeding (5.0); coordinate with J. Liles re
                     same (.4); call with same re same (.1).




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23377116 3/11/2019   Review correspondence re opposition to motion              4.00   Ayandipo, Abayomi A.
                     for appointment of Official Committee of Public
                     Entities (.6); prepare litigation team work
                     materials re related case law, statutes and
                     pleadings regarding motion to appoint PE
                     Committee (3.4).


23375778 3/11/2019   Review revised draft opposition to public                  0.40   Denny, Daniel B.
                     entities committee motion (.3); teleconference
                     with J. Wolf regarding revised draft opposition
                     to public entities committee motion (.1).


23388603 3/11/2019   Finalize public entities motion for filing                 4.50   Dexter, Erin E.
                     (1.0) and correspondence regarding filing and
                     service of same (1.3); correspondence regarding
                     edits to reply in support of FERC PI (2.2).


23365095 3/11/2019   Review district court opinion on reference                 0.60   Dunne, Dennis F.
                     (.4); review indications on merits re same
                     (.2).


23363920 3/11/2019   Per J. Wolf, assist with preparation of key                7.70   Fiscina, Brandon
                     materials for 3/13 hearing (6.7); assist D.
                     McCracken with collection of UCC Opposition
                     filing to be served and preparation of
                     documents to be sent out (1).


23386805 3/11/2019   Conduct research (3.9) and draft client                    7.20   Khani, Kavon M.
                     memorandum (3.3) re: (redacted).


23387185 3/11/2019   Attend telephonic status conference re FERC PI             0.50   Kreller, Thomas R.
                     hearing.


23388492 3/11/2019   Email from W. Bice, re: comments on motion to              1.20   Liles, James
                     intervene in FERC matter (.2); email from K.
                     Aitelajre same (.1); call w/ K. Aitelaj re open
                     issues i/c/w draft motion to intervene (.3);
                     email from K. Aitelaj re revised draft of
                     motion (.1); review (.2) and comment on (.2)
                     revised draft motion to intervene; call w/ K.
                     Aitelaj re same (.1).




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23352782 3/11/2019   Review debtors' response to FERC's objection to            1.50   Mandel, Lena
                     preliminary injunction (.5); review (.3) and
                     markup (.7) UCC's response to same.


23352789 3/11/2019   Review UCC's opposition to Public Entity                   0.40   Mandel, Lena
                     Committee.


23385537 3/11/2019   Review Debtors' FERC adversary reply brief                 2.00   Nolan, Michael D.
                     (1.2) and internal discussion of same (.8).


23395943 3/11/2019   Review Debtors' reply brief in support of                  5.10   Orengo, Luis E.
                     motion for preliminary injunction (3.4); draft
                     email regarding debtors' reply brief (.3);
                     email with K. Aitelaj regarding 108(a) issue
                     (.1);; email E. Dexter regarding 108(a) issue
                     (.2);; draft email to committee regarding
                     district court's denial of withdrawal of
                     reference (.7); summarize debtor's comments to
                     UCC reply brief (.4).


23457355 3/11/2019   Review J. Montali 2001 decision disbanding                 0.70   Vora, Samir
                     official committee of ratepayers.


23379250 3/12/2019   Correspond with E. Dexter re reply brief for               0.60   Bice, William B.
                     FERC adversary (.2); discuss reply brief for
                     preliminary injunction motion with J. Nolan
                     (Weil) and E. Dexter (.4).


23379256 3/12/2019   Review (.4) and comment on (.2) revised FERC               1.00   Bice, William B.
                     intervention pleading; correspond with A.
                     Leblanc, M. Nolan, and E. Dexter) re status of
                     Committee intervention (.4).


23388672 3/12/2019   Finalize FERC reply brief (2.9); discuss same              3.60   Dexter, Erin E.
                     with J. Nolan (Weil) and W. Bice (.4);
                     correspondence w/ A. Ayandipo re same (.3).


23384260 3/12/2019   Review (1.8) and revise (2.3) solvent debtor               4.10   Duke, Julia C.
                     memo.




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23386837 3/12/2019   Conduct further legal research re: (redacted)               5.40   Khani, Kavon M.
                     (2.1); further revise client memorandum re:
                     same (2.4); correspondence w/ J. Wolf re same
                     (.3); review case management order from Judge
                     Montali i/c/w same (.6).


23387386 3/12/2019   Review (.4) and revise (.6) reply in support of             1.00   Kreller, Thomas R.
                     preliminary injunction motion.


23388536 3/12/2019   Email from W. Bice re: comments to revised                  0.30   Liles, James
                     draft of FERC motion to intervene (.2); emails
                     w/ W. Bice and M. Nolan re same # (.1).


23378174 3/12/2019   Review case management order i/c/w hearing                  5.30   Wolf, Julie M.
                     agenda (.1); summarize same for T. Kreller
                     (.2); discuss Ratepayer Committee Motion with
                     E. Dexter and M. Koch (.2); conduct legal
                     research re: (redacted) (4.8).


23387920 3/13/2019   Revisions to draft motion to intervene in FERC              1.80   Aitelaj, Kamel Malik
                     proceeding (1.4); coordinate with M. Nolan and
                     J. Liles re same (.4).


23379549 3/13/2019   Call with M. Nolan on intervention proceedings              0.60   Bice, William B.
                     pleadings (.4); review revised intervention
                     pleading (.2).


23388755 3/13/2019   Final edits to reply brief (.7) and                         1.70   Dexter, Erin E.
                     coordination ref filing of same (1).


23363941 3/13/2019   Prepare UCC Reply Brief in Support of                       0.50   Fiscina, Brandon
                     Preliminary Injunction and related materials
                     for service.


23386875 3/13/2019   Review (.8) and research (1.3) client                       3.30   Khani, Kavon M.
                     memorandum re: (redacted); conduct additional
                     research re: same (1.2).


23389283 3/13/2019   Call with M. Nolan and K. Aitelaj re: motion to             0.40   Liles, James
                     intervene in FERC proceedings.




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23385567 3/13/2019   Call w/ J. Liles and K. Aitelaj re: motion to               2.00   Nolan, Michael D.
                     intervene in FERC proceedings (.4); draft FERC
                     petition (1.6).


23395948 3/13/2019   Email regarding edits to reply brief (.2);                  0.90   Orengo, Luis E.
                     finalize same (.2); coordinate filing (.2); and
                     service(.3) of reply brief.


23457366 3/13/2019   Review (.8) and revise (2.4) latest versions of             3.20   Vora, Samir
                     criminal exposure and civil liabilities
                     memoranda.


23387946 3/14/2019   Finalize for filing motions to intervene in                 2.80   Aitelaj, Kamel Malik
                     FERC proceedings (NextEra and Exelon) (1.6);
                     corr. with Y. Ayandipo re same (.7); coordinate
                     with K. Aitelaj and M. Nolan re: filing of same
                     (.5).


23377132 3/14/2019   Finalize motion to intervene for filing (2.1)               3.50   Ayandipo, Abayomi A.
                     and coordinate service on notice parties (.5);
                     review correspondence re same (.9).


23391630 3/14/2019   Research (redacted) (2.2); draft memo re: same              4.80   Benz, Stephen
                     for S. Vora and J Wolf (2.6).


23379634 3/14/2019   Correspondence with Weil team on filing of                  0.30   Bice, William B.
                     intervention at FERC.


23386235 3/14/2019   Review strategy re FERC intervention and                    0.70   Dunne, Dennis F.
                     rehearing.


23386893 3/14/2019   Conduct further research re: (redacted) (.7);               2.80   Khani, Kavon M.
                     draft memorandum re: (redacted) (1.9); discuss
                     same with J. Wolf (.2).




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23389346 3/14/2019   Corr.w/ K. Aitelaj re: administrative process              2.00   Liles, James
                     for FERC electronic filings (.4); coordinate
                     with K. Aitelaj and M. Nolan re: filing of FERC
                     motions to intervene (.5); further research re:
                     (redacted) (.4) and correspond w/ K. Aitelaj re
                     same (.2); correspond w/ litigation support
                     team re: procedures for service (.1);
                     correspondence w/ T. Kreller re: edits to FERC
                     motions (.3); email exchange with T. Kreller
                     and W. Bice re same (.1).


23379604 3/15/2019   Correspond with Weil re intervention (.1);                 0.20   Bice, William B.
                     correspond with M. Nolan and A. Leblanc on
                     Exelon intervention (.1).


23384617 3/15/2019   Meet with litigation team re open issues and               1.00   Duke, Julia C.
                     research topics (.5); meet with UCC team re
                     same (.5).


23386268 3/15/2019   Review possible legislative action re inverse              1.10   Dunne, Dennis F.
                     condemnation (.4); review constitutional issues
                     re same (.7).


23423503 3/19/2019   Review motion to dismiss Camp Fire adversary.              0.40   Koch, Matthew


23457383 3/19/2019   Review and analyze debtors' motion to dismiss              3.10   Vora, Samir
                     Camp-Fire related adversary proceeding (1.0);
                     review (1.7) and finalize (.4) memorandum
                     regarding PG&E criminal exposure liability.


23408796 3/19/2019   Review Debtors' hedging motion and related                 5.60   Wolf, Julie M.
                     declaration (1.1); draft objection to hedging
                     motion (1.4); discuss same with M. Koch (.1);
                     conduct research re: (redacted) (2.1); review
                     communications and diligence requests between
                     FTI and Alix (.9).


23419843 3/19/2019   Research (redacted) (,9): incorporate                      2.70   Wu, Julia S.
                     (redacted) into memo (.4); draft memo regarding
                     (redacted) (.5); incorporate comments and
                     revisions to memo regarding (redacted) (.9).




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23419859 3/19/2019   Draft memo regarding debtor's motion to dismiss            1.40   Wu, Julia S.
                     class action complaint against PG&E (.5);
                     address comments and revisions to memo
                     regarding potential proof of claim filed by
                     potential class (.9).


23422501 3/20/2019   Review materials regarding request for judicial            0.70   Dexter, Erin E.
                     notice.


23419890 3/20/2019   Research case law regarding (redacted) (3.0);              7.40   Wu, Julia S.
                     further edit (2.1) and revise (.7) memo;
                     research (redacted) (1.0); edit memo re PG&E’s
                     motion to dismiss class action (.5); discuss
                     with K. Pierucci effects of an automatic stay
                     expiration (.1).


23419913 3/21/2019   Incorporate comments to memo re class action               7.20   Wu, Julia S.
                     proof of claim in bankruptcy (2.6); discuss
                     with K. Pierucci re same (.2); draft memo
                     summarizing PG&E's motion to dismiss an
                     adversary proceeding (2.1); research
                     (redacted) (2.3).


23408991 3/22/2019   Prepare materials re D. Friske deposition                  2.50   Ayandipo, Abayomi A.
                     transcripts and related exhibits.


23422624 3/22/2019   Correspondence regarding Debtors' motion to                0.80   Dexter, Erin E.
                     dismiss Herndon (Camp Fire) class action (.4);
                     meet w/ J. Duke re judicial notice (.4).


23457394 3/22/2019   Review Debtors' motion to dismiss or stay                  4.10   Vora, Samir
                     Herndon class action (.4); review preliminary
                     comments to motion summarizing same (.7);
                     summarize submissions with respect to PGE
                     probation hearing (2); research regarding
                     (redacted) (1).




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23409105 3/22/2019   Review PG&E response to second order to show               2.80   Wolf, Julie M.
                     cause (.5); review CPUC response re same (.4);
                     review U.S. attorney response re same (.2);
                     summarize responses to second order to show
                     cause (.8); review press release, agenda, and
                     materials for April 3, 2019 meeting of
                     Commission on Catastrophic Wildfire Cost and
                     Recovery (.9).


23419920 3/22/2019   Research case law on (redatced) (1); revise                2.60   Wu, Julia S.
                     draft memo summarizing PG&E's motion to dismiss
                     class action adversary proceeding (.8);
                     research (redatced) (.6); discuss memo with K.
                     Pierucci (.2).


23419938 3/23/2019   Research on (redacted) (2.9); summarize PG&E's             4.50   Wu, Julia S.
                     motion to dismiss class action adversary
                     proceeding (1.1); review memo (.3); comms w/ M.
                     Koch re show cause pleadings (.2). (redacted)


23422701 3/24/2019   Edit Committee memo on Debtors' motion to                  2.30   Dexter, Erin E.
                     dismiss Herndon (Camp Fire) class action.


23425469 3/24/2019   Revise memorandum re: Herndon motion to dismiss            3.20   Pierucci, Katherine R.
                     (2.5); research redacted) (.7).


23457399 3/24/2019   Review memorandum regarding Debtors' motion to             1.80   Vora, Samir
                     dismiss Herndon complaint.


23455013 3/25/2019   Correspondence regarding memo on MTD Herndon               1.10   Dexter, Erin E.
                     class action complaint.


23444791 3/25/2019   Incorporate edits into memo re PG&E's motion to            0.40   Wu, Julia S.
                     dismiss class action lawsuit against PG&E.


23444123 3/27/2019   Collect materials re Corrected Declaration of              2.80   Fiscina, Brandon
                     T. Kreller (.5); prepare service re same (1.8);
                     compile (.4) and circulate (.1) hard copy
                     deposition materials attorneys.




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23455009 3/29/2019   Conference w/ D. Denny re litigation support              0.90   Kreller, Thomas R.
                     and case management (.1); conference w/ D.
                     Denny and J. Weber re mass tort issues (.4);
                     emails w/ D. Denny and J. Weber re mass tort
                     issues (.4).


23446751 3/29/2019   Communication with FTI and Milbank teams re:              1.20   Wolf, Julie M.
                     hedging motion objection.




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23305752 3/1/2019      Review draft Committee meeting minutes.                      0.50   Denny, Daniel B.


23325779 3/1/2019      Review docket and update calendar of critical                0.50   Franzoia, Rachel
                       dates and deadlines.


23328929 3/1/2019      Review docket. (.3); update task list (.4);                  1.00   Koch, Matthew
                       communications w/ T. Kreller, G. Bray, and P.
                       Aronzon re workstreams (.3).


23314503 3/1/2019      Review and update pleadings database and                     0.60   Thomas, Charmaine
                       distribute filings to team.


23343024 3/4/2019      Update task list (.7); review service pleadings              0.80   Koch, Matthew
                       (.1).


23346151 3/4/2019      Update pleadings database.                                   0.60   Thomas, Charmaine


23329620 3/5/2019      Review updated task list.                                    0.10   Denny, Daniel B.


23360496 3/5/2019      Review court filings and docket updates (.6);                0.90   Franzoia, Rachel
                       update calendar of critical dates and deadlines
                       (.3).


23360532 3/6/2019      Review filings and docket entries (.3); update               0.50   Franzoia, Rachel
                       calendar (.2).


23346203 3/6/2019      Update pleadings database (1.6) and distribute               1.70   Thomas, Charmaine
                       filings to team (.1).


23360556 3/7/2019      Review filings (.2) and update calendar per                  0.40   Franzoia, Rachel
                       same (.2).


23343212 3/7/2019      Emails w/ D. Dunne re committee administration               1.10   Koch, Matthew
                       issues (.3); update task list (.2); coordinate
                       work streams (.2); calendar critical dates
                       (.2); draft emails to C. Price re same (.2).


23338406 3/7/2019      Correspond with M. Koch, C. Price and D. Denny               0.20   Mandel, Lena
                       re administrative matters.




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23356261 3/7/2019      Revise task list (.1); coordinate work streams              0.70   Price, Craig Michael
                       (.2) correspondence with M. Koch re same (.1);
                       review calendar of critical dates (.2); draft
                       emails to M. Koch re same (.1).


23340733 3/8/2019      Review task list and work streams (.1);                     0.60   Denny, Daniel B.
                       teleconference with working group re same (.4);
                       email exchanges with litigation support re
                       filing and service of pleading (.1).


23360562 3/8/2019      Review filings and docket entries (1.7); update             2.50   Franzoia, Rachel
                       calendar (.8).


23343274 3/8/2019      Update task list (.1); docket notice of                     0.40   Koch, Matthew
                       continued hearing (.1); emails w/ T. Kreller re
                       same (.1); update case calendar (.1).


23356309 3/8/2019      Review task list (.2); emails w/ T. Kreller re              0.70   Price, Craig Michael
                       open issues (.1); review case calendar (.4).


23346476 3/8/2019      Review conflicts material (.3) and create                   1.40   Thomas, Charmaine
                       additional conflict binders (1.1).


23390002 3/11/2019     Review docket entries and filings (.3); update              0.60   Franzoia, Rachel
                       calendar (.3).


23388610 3/11/2019     Update task list.                                           0.20   Koch, Matthew


23387394 3/11/2019     Review and analyze new motions re STIP (.6),                2.40   Kreller, Thomas R.
                       tax payments (.4), hedging program (.4) and
                       Butte settlement (.6) and corr. with team re
                       same (.4).


23380079 3/12/2019     Further correspondence w/ Clerk's Office re                 1.00   Brewster, Jacqueline
                       modification to court docket (.3); review
                       docket re new filings (.3) and update pleading
                       database (.4).


23388719 3/12/2019     Coordinate work streams (.8); review case                   1.50   Koch, Matthew
                       management order (.4); correspondence w/ T.
                       Kreller and C. Thomas re same (.3).


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23377998 3/12/2019   Review case management order (.4);                         0.70   Price, Craig Michael
                     correspondence w/ T. Kreller and C. Thomas re
                     same (.3).


23380695 3/12/2019   Review conflicts search list (.6) and create               2.20   Thomas, Charmaine
                     conflicts binder (1.6).


23392650 3/12/2019   Organize case documents and materials.                     0.80   Weber, Jordan A.


23380093 3/13/2019   Review court docket re recent filings (.2);                0.40   Brewster, Jacqueline
                     update pleadings files accordingly (.2).


23386221 3/13/2019   Confs. with C. Jacobs re Wamco (.3); review                0.50   Dunne, Dennis F.
                     same and consequences (.2).


23388809 3/13/2019   Review docket (.2); update task list (.2);                 0.60   Koch, Matthew
                     review PG&E 8-k (.2).


23380719 3/13/2019   Review docket re filings (.3); update pleadings            1.10   Thomas, Charmaine
                     database (.8).


23389946 3/14/2019   Review docket entries and filings (.6); update             0.90   Franzoia, Rachel
                     calendar (.3).


23388866 3/14/2019   Communications w/ G. Bray and S. Starr (FTI) re            0.70   Koch, Matthew
                     information sharing protocols (.5); update task
                     list (.2).


23377851 3/14/2019   Review recent pleadings filed in case.                     0.80   Price, Craig Michael


23748739 3/14/2019   Retrieve and distribute precedent hedging and              0.80   Thomas, Charmaine
                     trading motions.


23386275 3/15/2019   Confs. with S. Karotkin (Weil) re case                     0.30   Dunne, Dennis F.
                     developments.


23390068 3/15/2019   Review filings and docket entries (.5); update             0.80   Franzoia, Rachel
                     case calendar (.3).




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23379104 3/15/2019   Review task list (.3) and critical dates list             0.80   Mandel, Lena
                     (.2); conference call with team re outstanding
                     matters (.3).


23380802 3/15/2019   Update pleadings database.                                0.90   Thomas, Charmaine


23389002 3/16/2019   Update critical dates on calendar.                        0.20   Koch, Matthew


23386300 3/18/2019   Review creditors willing to replace Wamco (.3);           0.50   Dunne, Dennis F.
                     corr. with A. Vara (UST) re same (.2).


23390046 3/18/2019   Review filings and docket entries (.6); update            0.90   Franzoia, Rachel
                     case calendar (.3).


23423495 3/18/2019   Update case calendar.                                     0.30   Koch, Matthew


23390186 3/19/2019   Review filings and docket entries (.5); update            0.90   Franzoia, Rachel
                     calendar (.4).


23411855 3/20/2019   Review recent filings (.2); update same on                0.40   Brewster, Jacqueline
                     internal drive (.2).


23404948 3/20/2019   Conference with R. Franzoia regarding work in             1.40   Denny, Daniel B.
                     progress (.2); revise litigation support
                     memorandum (.7); review and analyze recent PGE
                     filings (.5).


23754251 3/20/2019   Update case calendar.                                     0.70   Franzoia, Rachel


23423574 3/20/2019   Provide docket update (.2); update task list              1.60   Koch, Matthew
                     (.4); update critical dates calendar (.5);
                     review docket (.2); emails w/ J. Weber re same
                     (.1); coordinate work streams (.2).


23412283 3/20/2019   Update pleadings database (.2); review (.2) and           0.70   Thomas, Charmaine
                     assemble (.3) same.


23423596 3/21/2019   Update task list (.3); coordinate work streams            0.60   Koch, Matthew
                     (.3).




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23751624 3/21/2019   Emails w/ M. Koch re docket updates.                       0.10   Weber, Jordan A.


23754257 3/22/2019   Update case calendar.                                      1.60   Franzoia, Rachel


23423620 3/22/2019   Emails w/ T. Kreller re case management issues             0.90   Koch, Matthew
                     (.3); update task list (.6).


23755096 3/22/2019   Emails w/ C. Price re case management issues.              0.30   Kreller, Thomas R.


23423637 3/23/2019   Call w/ E. Dexter, P. Milender, and S. Vora re             0.30   Koch, Matthew
                     critical dates and work streams.


23454527 3/25/2019   Conference call with UST re fee examiner issues            0.70   Kreller, Thomas R.
                     (.4); review notes re same (.3).


23460310 3/25/2019   Review case updates and new docket alerts.                 0.40   Weber, Jordan A.


23754830 3/26/2019   T/c w/ M. Koch re open items (.3); comms w/ C.             0.60   Bray, Gregory A.
                     Price re open items (.3).


23755100 3/26/2019   Conf. w/ M. Koch re scheduling issues (.2);                0.30   Dunne, Dennis F.
                     comms w/ C. Price re scheduling issues (.1).


23459507 3/26/2019   Conference call with G. Bray to discuss various            0.50   Franzoia, Rachel
                     work streams.


23459517 3/26/2019   Review filings and docket entries (.5); update             0.80   Franzoia, Rachel
                     calendar (.3).


23432544 3/26/2019   T/c with G. Bray re open items (.3);                       1.30   Koch, Matthew
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re scheduling issues (.2); update task list
                     (.6); conf. w/ L. Mandel re matters scheduled
                     for 4/10 hearing (.2).


23439470 3/26/2019   Prepare for (.2) and call (.5) w/ G. Bray re               1.50   Price, Craig Michael
                     strategy; update task list (.5); t/c w/ T.
                     Kreller and M. Koch re next steps (.3).




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23439515 3/26/2019   Communications w/ G. Bray re open items (.3);               1.30   Price, Craig Michael
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re scheduling issues (.2); update task list
                     (.6); conference w/ L. Mandel re matters
                     scheduled for 4/10 hearing (.2).


23447195 3/26/2019   Update pleadings database and case docs. (.8);              1.20   Thomas, Charmaine
                     review docketing and case logistics (.4).


23459950 3/27/2019   Review filings and docket entries (.5); update              0.70   Franzoia, Rachel
                     calendar (.2).


23439479 3/28/2019   Review committee website issues.                            0.40   Price, Craig Michael


23754418 3/29/2019   Emails w/ M. Koch re task list (.1); review                 1.40   Denny, Daniel B.
                     updated task list and case calendar (.5);
                     revise draft task list (.5); conference with T.
                     Kreller regarding litigation support and case
                     management (.1); email exchange with G. Bray
                     hearing transcript and strategic issues (.2).


23454971 3/29/2019   Emails w/ M. Koch re Working Group List.                    0.10   Dunne, Dennis F.


23459511 3/29/2019   Review filings and docket entries (.6); update              0.90   Franzoia, Rachel
                     calendar (.3).


23457956 3/29/2019   Emails w/ D. Denny re task list (.1); emails w/             0.70   Koch, Matthew
                     C. Price and D. Dunne re working group list
                     (.1); manage work streams (.5).


23455172 3/29/2019   Update key parties list (.3); t/c with FTI re               1.20   Price, Craig Michael
                     same (.3); t/c with Epiq re website (.2);
                     review docket for filings (.4).




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23321086 3/1/2019   Conferences with UCC members re cases and UCC              0.50    Aronzon, Paul S.
                    issues.


23739346 3/1/2019   Review (.2) and revise (.3) various UCC memos.             0.50    Aronzon, Paul S.


23740183 3/1/2019   Revise info agent memo for Committee.                      0.20    Koch, Matthew


23320423 3/3/2019   Review developments and options re consultant              0.70    Dunne, Dennis F.
                    (.4); review options and conditions re website
                    consultant (.3).


23325646 3/3/2019   Legal research re (redacted) (2.3); draft memo             6.70    Franzoia, Rachel
                    to Committee re same (4.4).


23346129 3/4/2019   Calls with various UCC members re case issues.             0.70    Aronzon, Paul S.


23740237 3/4/2019   Review (.3) and revise (.3) UCC memos.                     0.60    Aronzon, Paul S.


23342028 3/4/2019   Review analysis of Axiom retention (.4) and                0.70    Khalil, Samuel A.
                    correspondence to UCC re: same (.3).


23740910 3/5/2019   Revise draft memo for Committee re public                  2.80    Denny, Daniel B.
                    entity committee motion.


23338773 3/5/2019   Review and finalize for circulation to                     0.40    Dunne, Dennis F.
                    committee memo and recommendation re Axiom.


23343098 3/5/2019   Revise UCC fiduciary duty memo for Committee               0.70    Koch, Matthew
                    (.4); t/c with C. Price re same re same (.3).


23327929 3/5/2019   Draft memo to Committee re: Butte County                   1.60    Milender, Parker
                    settlement motion.


23325882 3/5/2019   Draft omnibus Committee fiduciary duty memo.               1.50    Pierucci, Katherine R.


23355751 3/5/2019   Review (.4) and revise (.4) fiduciary duty                 1.10    Price, Craig Michael
                    memo; o/c with M. Koch re same (.3).


23346131 3/6/2019   Review memos to be distributed to Committee.               1.60    Aronzon, Paul S.



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23332502 3/6/2019    Review motions to be summarized (.4); review               1.50    Mandel, Lena
                     (.1) and revise (1.0) memo to the UCC re
                     matters to be heard on 3/27.


23333888 3/6/2019    Call w/ Committee member and T. Kreller re:                0.40    Milender, Parker
                     trading order.


23346134 3/7/2019    Conferences with UCC members re various case               0.90    Aronzon, Paul S.
                     issues (.2); review and revise UCC memos (.7).


23355493 3/7/2019    Review advisor memos and recommendations to UCC            1.40    Dunne, Dennis F.
                     re various motions and requests (1.2); email
                     committee re same (.2).


23356273 3/7/2019    Review hedging motion (.5); revise memo to                 1.10    Price, Craig Michael
                     Committee re same (.6).


23387191 3/7/2019    Participate in standing UCC call (1.4);                    2.50    Vora, Samir
                     preparation for same (1.1).


23346066 3/8/2019    Conferences with UCC members re various case               1.60    Aronzon, Paul S.
                     issues.


23741725 3/8/2019    Review (.2) and revise (.2) various UCC memos.             0.40    Aronzon, Paul S.


23343273 3/8/2019    Revise omnibus committee memo (.5); revise                 2.00    Koch, Matthew
                     committee update email (.6); draft UCC update
                     email (.6); draft update Committee email (.3).


23356312 3/8/2019    Review omnibus committee memo (.4); review (.6)            1.80    Price, Craig Michael
                     and revise (.6) committee update email; revise
                     updated Committee email (.2).


23341962 3/9/2019    Review and comment on update email to UCC                  0.50    Khalil, Samuel A.
                     concerning DIP objections by TCC and FERC
                     intervention.


23355685 3/10/2019   Draft memo to Committee re ratepayer committee,            0.40    Dunne, Dennis F.
                     Debtors' position re TCC objection to DIP and
                     recommendations re same.



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23343593 3/10/2019   Draft UCC update email.                                    0.30   Koch, Matthew


23383752 3/11/2019   Conferences with UCC members re various case               0.50   Aronzon, Paul S.
                     issues.


23743601 3/11/2019   Review (.3) and revise (.2) UCC memos.                     0.50   Aronzon, Paul S.


23388631 3/11/2019   Revise omnibus committee memo (.3);                        0.60   Koch, Matthew
                     communications w/ M. Shah and E. Moser re
                     omnibus Committee memo (.3).


23352781 3/11/2019   Review (.1) and revise (.4) revised memo to                0.50   Mandel, Lena
                     committee re 3/27 hearing.


23377787 3/11/2019   Revise omnibus committee memo.                             1.10   Price, Craig Michael


23377790 3/11/2019   Communications w/ M. Shah and E. Moser re                  0.30   Price, Craig Michael
                     omnibus Committee memo.


23377791 3/11/2019   Revise agenda for UCC advisor call.                        0.30   Price, Craig Michael


23752379 3/11/2019   Review weekend update to Committee re: DIP                 0.40   Wolf, Julie M.
                     Motion and Rate Payer Committee Motion.


23383870 3/12/2019   Conferences with UCC members re various case               0.40   Aronzon, Paul S.
                     issues.


23383946 3/13/2019   Conferences with UCC members re various case               0.90   Aronzon, Paul S.
                     issues (.3); review and revise UCC memos (.6).


23748463 3/13/2019   Review (.8) and revise (.6) UCC memos.                     1.40   Bray, Gregory A.


23386945 3/13/2019   Review materials for 3/13 Committee call.                  0.70   Khani, Kavon M.


23388784 3/13/2019   Revise omnibus memo.                                       1.00   Koch, Matthew


23383876 3/14/2019   Conferences with UCC members re various case               3.40   Aronzon, Paul S.
                     issues (2.5); review (.4) and revise (.5)
                     various UCC memos.



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23377067 3/14/2019   Revise Wildfire Liability Memo for circulation             2.10    Capolino, Margherita Angela
                     to Committee.


23389150 3/14/2019   Participate in UCC call (1.5); review materials            2.10    Leblanc, Andrew M.
                     in preparation for same (.6).


23383879 3/15/2019   Conferences with UCC members re various case               0.30    Aronzon, Paul S.
                     issues.


23748829 3/15/2019   Review (.3) and revise (.8) various UCC memos.             1.10    Bray, Gregory A.


23374767 3/15/2019   Draft memo to Committee re: stay enforcement.              1.50    Milender, Parker


23385088 3/18/2019   Review (.3) and revise (.5) memo to the UCC re             3.20    Mandel, Lena
                     stay enforcement motion; review (.1) and revise
                     (.3) memo to the UCC re motion to lift the
                     stay; review (.4) and revise (1.6) Epiq
                     services agreement.


23755089 3/19/2019   Prepare memo to the Committee summarizing                  1.20    Franzoia, Rachel
                     Debtors' retention applications.


23391881 3/19/2019   Revise memorandum to Committee re: proof of                2.90    Pierucci, Katherine R.
                     claims.


23429255 3/19/2019   Research re: redact (.5); revise memorandums               1.30    Pierucci, Katherine R.
                     for Committee re same (.8).


23754250 3/20/2019   Prepare memos to Committee on retention apps               7.90    Franzoia, Rachel
                     (5.5) and TCC reimbursement motion (2.4).


23423569 3/20/2019   Draft update email to UCC (.4); draft email to             1.00    Koch, Matthew
                     UCC re 3/21 call (.6).


23429259 3/20/2019   Research procedures for (redacted) (1.0);                  3.20    Pierucci, Katherine R.
                     revise memorandum re: (redacted) (2.1); discuss
                     w/ J. Wu effects of an automatic stay
                     expiration (.1).




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23754505 3/21/2019   Draft memo for committee regarding approval of               0.70   Bice, William B.
                     Enel stipulation.


23754255 3/21/2019   Prepare memos to Committee on retention apps                 4.30   Franzoia, Rachel
                     (2.1) and TCC reimbursement motion (2.2).


23405254 3/21/2019   Participate in client call re: wildfire issues               2.00   Leblanc, Andrew M.
                     (.8); prepare for same (1.2).


23429262 3/21/2019   Research (redacted) (1.3); revise memorandum                 3.50   Pierucci, Katherine R.
                     re: class proof of claims (2); discuss w/ J. Wu
                     on comments to memo re (redacted) (.2).


23411603 3/22/2019   Conferences with UCC members re various case                 0.30   Aronzon, Paul S.
                     issues.


23754944 3/22/2019   Review (.3) and comment on memorandum to the                 0.80   Beebe, James M.
                     UCC re: STIP motion (.4); review emails re:
                     draft agenda for UCC and debtors meeting (.1).


23754258 3/22/2019   Review and summarize TCC reimbursement memo                  1.40   Franzoia, Rachel
                     (1.1); calls re: same (.3).


23754261 3/22/2019   Draft meeting agendas.                                       0.10   Khani, Kavon M.


23405163 3/22/2019   Draft memo to Committee re: motion for real                  1.60   Milender, Parker
                     estate procedures.


23428978 3/22/2019   Revise memo for committee re: class action                   4.30   Pierucci, Katherine R.
                     proof of claims (2); revise memo re: motion to
                     dismiss Herndon class action (2.1); discuss
                     memo w/ J. Wu (.2).


23754946 3/22/2019   Review committee memo re: STIP (.6); edit                    1.20   Shah, Manan
                     committee memo (.6).


23754264 3/23/2019   Prepare memos on retention apps (.4) and TCC                 0.90   Franzoia, Rachel
                     reimbursement motion (.5).


23754265 3/25/2019   Edit UCC memos.                                              0.40   Aronzon, Paul S.



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23754949 3/25/2019   Review (.5) and comment (.6) on committee memo             1.10   Beebe, James M.
                     re: STIP motion.


23755124 3/25/2019   Prepare memorandum for the UCC regarding the               5.00   Franzoia, Rachel
                     retention applications filed by the Debtors and
                     TCC (Weil, AP Services, Keller & Benvenutti,
                     Prime Clerk, Lazard, Jenner & Block, Baker &
                     Hostetler) (3.8); prepare memorandum for the
                     UCC regarding the TCC's motion regarding
                     reimbursement of member expenses (1.2).


23432335 3/25/2019   Revise omnibus memo for 3/28 UCC call.                     2.60   Koch, Matthew


23426996 3/25/2019   Review (.1) and revise (.4) memo to the UCC re             0.50   Mandel, Lena
                     matters scheduled for 4/10.


23439410 3/25/2019   Revise omnibus memo for 3/28 call (2.7); review            4.20   Price, Craig Michael
                     various related pleadings for committee memo
                     (1.2); review draft orders re same (.3).


23444111 3/25/2019   Review committee memo (.4); review STIP matters            1.20   Shah, Manan
                     re same (.7); correspondence w/ C. Skaliks re
                     STIP memo (.1).


23754952 3/26/2019   Review (.1) and send emails re: STIP memo to               0.40   Beebe, James M.
                     committee (.3).


23754807 3/26/2019   Review (.6) and comment on (.2) Milbank memo on            0.80   Bice, William B.
                     esVolta motion.


23754954 3/26/2019   Revise draft STIP memo (1.3); t/c with M.                  1.60   Denny, Daniel B.
                     Berkin (FTI) re: comments to draft STIP memo
                     (.3).


23459893 3/26/2019   Revise memorandum for the UCC regarding                    2.40   Franzoia, Rachel
                     retention applications filed by the Debtors and
                     the TCC.


23432542 3/26/2019   Revise omnibus memo for 3/28 call (2.8);                   3.70   Koch, Matthew
                     revise 3/28 omnibus committee memo (.9).




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23428547 3/26/2019   Review (.3) and revise (.9); memo to the UCC re           1.60    Mandel, Lena
                     matters scheduled for hearing on 4/10;
                     conference with C. Price and M. Koch re same
                     (.4).


23439475 3/26/2019   Draft omnibus memo for 3/28 call (1.8); revise            3.70    Price, Craig Michael
                     omnibus memo for 3/28 call (1.9).


23754957 3/27/2019   Attend UCC call re: STIP w/ FTI and Milbank               0.60    Beebe, James M.
                     Team (C. Skaliks).


23432555 3/27/2019   Revise omnibus memo.                                      0.60    Koch, Matthew


23455081 3/27/2019   Draft memo to committee re open items and                 5.20    Price, Craig Michael
                     upcoming hearing (1.7); revise same (.6);
                     review (.4) and edit (.7) FTI presentations;
                     prep email to committee re distribution (.9);
                     review memos to committee from litigation (.7);
                     t/c with M. Koch re emails to Committee (.2).


23457893 3/28/2019   Emails w/ C. Price re Committee distribution              0.20    Koch, Matthew
                     (.1); emails w/ J. Davies (Mizuho) re
                     scheduling (.1).


23439487 3/28/2019   Attend meeting with Mizuho (1.4); emails w/ M.            1.50    Price, Craig Michael
                     Koch re Committee distribution (.1).


23455173 3/29/2019   Draft memo to committee re procedures for                 2.50    Price, Craig Michael
                     reimbursement (.5); o/c with T. Kreller re same
                     (.2); draft response to TCC Committee's motion
                     (.8); draft email to committee re distribution
                     of materials (.8); o/c with D. Dunne re same
                     (.2).




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23343081 3/5/2019    Call w/ D. Griffith (Griffith law firm) re                    0.20   Koch, Matthew
                     vendor issues.


23346030 3/6/2019    Conferences with unsecured creditors re various               0.40   Aronzon, Paul S.
                     case issues.


23346313 3/8/2019    Participate in call with D. Botter and M.                     0.50   Leblanc, Andrew M.
                     Stamer (Akin) re PG&E.


23388724 3/12/2019   Calls w/ unsecured creditors re case status.                  0.80   Koch, Matthew


23411590 3/19/2019   Call with unsecured creditors re various case                 0.50   Aronzon, Paul S.
                     issues.


23423537 3/19/2019   Respond to inquiries from unsecured creditors.                0.40   Koch, Matthew


23411599 3/20/2019   Call with unsecured creditors re various case                 0.30   Aronzon, Paul S.
                     issues.


23411644 3/21/2019   Conferences with unsecured creditors re various               1.50   Aronzon, Paul S.
                     case issues (1.1); conferences with G. Bray re
                     status (.4).


23420095 3/21/2019   Attend meeting with ad hoc bond advisors and T.               0.70   Dunne, Dennis F.
                     Kreller.


23457431 3/21/2019   Meeting with Ad Hoc Group of Bondholders                      1.50   Vora, Samir
                     counsel (Akin) and FAs regarding case
                     strategies and diligence efforts.


23423628 3/22/2019   Call w/ C. Kenny (Diameter) re case issues.                   0.50   Koch, Matthew


23432332 3/25/2019   Communications w/ potential unsecured                         0.50   Koch, Matthew
                     creditors.


23439412 3/25/2019   Calls with unsecured creditors.                               0.50   Price, Craig Michael


23441211 3/29/2019   Attend conference call with ad hoc bondholder                 0.20   Bice, William B.
                     advisors, E. Dexter, and T. Kreller.




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23454315 3/29/2019   Ad hoc bondholder advisors call w/ W. Bice and            0.40   Dexter, Erin E.
                     T. Kreller (.2); prepare for same (.2).


23455004 3/29/2019   Attend update call with ad hoc bondholder                 0.20   Kreller, Thomas R.
                     advisors, W. Bice and E. Dexter (.1); prepare
                     for same (.1).




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23325645 3/1/2019   Revise minutes of Committee calls.                        1.60   Franzoia, Rachel


23343016 3/4/2019   Prepare agenda for 3/7 UCC call.                          0.50   Koch, Matthew


23355786 3/4/2019   Review agenda for 3/12 UCC call.                          0.50   Price, Craig Michael


23360494 3/5/2019   Revise Committee call minutes (.7); email                 0.90   Franzoia, Rachel
                    exchange with T. Kreller and M. Koch re same
                    (.2).


23343096 3/5/2019   Communications w/ T. Kreller, A. Scruton (FTI),           1.10   Koch, Matthew
                    and K. Chopra (Centerview) re draft agenda for
                    3/7 UCC call (.5); update UCC call materials
                    (.6).


23343159 3/6/2019   Numerous communications w/ C. Price, P.                   6.40   Koch, Matthew
                    Aronzon, S. Starr (FTI), M. Berlin (FTI) and D.
                    Dunne re UCC call preparation (1.3); emails w/
                    D. Dunne, T. Kreller, and C. Price re 3/7 UCC
                    call (.3); finalize Committee call materials
                    (.9); prepare email to Committee re same (.7);
                    preparation for 3/7 Committee call (1.1); draft
                    talking points for 3/7 committee meeting (1.8);
                    emails w/ S. Khalil re UCC agenda (.3).


23355762 3/6/2019   Numerous communications w/ M. Koch, P. Aronzon,           4.60   Price, Craig Michael
                    S. Starr (FTI), M. Berlin (FTI) and D. Dunne re
                    UCC call preparation (.8); emails w/ D. Dunne,
                    T. Kreller, and M Koch re 3/7 UCC call (.3);
                    finalize Committee call materials (1.1); review
                    email to Committee re same (.5); preparation
                    for 3/7 Committee call (.8); revise talking
                    points for 3/7 committee meeting (1.1).


23340099 3/7/2019   Attend standing committee meeting (partial)               1.30   Bice, William B.
                    with committee members led by D. Dunne.


23340730 3/7/2019   Teleconference with committee members and                 1.50   Denny, Daniel B.
                    professionals re March 7 meeting agenda (1.4);
                    prep for same (.1).




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23355494 3/7/2019    Attend weekly UCC call.                                    1.40   Dunne, Dennis F.


23360549 3/7/2019    Review agenda and materials for weekly                     2.60   Franzoia, Rachel
                     committee meeting (.7); prep for (.5) and
                     attend (1.4) weekly Committee meeting.


23340544 3/7/2019    Participate on UCC weekly call (partial).                  1.00   Kestenbaum, Russell J.


23332525 3/7/2019    Attend weekly committee call (1.4); draft                  2.60   Khalil, Samuel A.
                     agenda for same (1.2).


23343181 3/7/2019    Prepare for (.7) and attend (1.4) standing UCC             2.70   Koch, Matthew
                     call w/ D. Dunne/Milbank team, A. Scruton/FTI
                     team, and K. Chopra/Centerview team;
                     communications w/ A. Scruton (FTI) and D. Dunne
                     re UCC call (.2); emails w/ D. Dunne re UCC
                     call materials (.4)


23360564 3/7/2019    Attend weekly UCC call (1.4); prep for same                2.40   Kreller, Thomas R.
                     (1.0).


23346280 3/7/2019    Participate in weekly UCC call (1.4); prep for             1.80   Leblanc, Andrew M.
                     same (.4).


23356279 3/7/2019    Prepare for (.7) and attend (1.4) standing UCC             2.70   Price, Craig Michael
                     call w/ D. Dunne/Milbank team, A. Scruton/FTI
                     team, and K. Chopra/Centerview team;
                     communications w/A. Scruton (FTI) and D. Dunne
                     re UCC call (.2); emails w/ D. Dunne re UCC
                     call materials (.4).


23354467 3/7/2019    Participate on weekly Committee call (1.4);                1.50   Stone, Alan J.
                     prepare for same (.1).


23388727 3/12/2019   Draft agenda for 3/14 UCC call.                            0.50   Koch, Matthew


23389342 3/12/2019   Prepare for UCC call (.4); correspondence re               1.10   Leblanc, Andrew M.
                     same (.7).


23377814 3/12/2019   Draft agenda for 3/14 UCC call.                            0.30   Price, Craig Michael



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23386411 3/13/2019   Review materials for weekly call (.3) and memo             0.40   Dunne, Dennis F.
                     to UCC re same (.1).


23364467 3/13/2019   Review (.2) and comment on (.1) agenda for UCC             0.90   Khalil, Samuel A.
                     call; review and comment on UCC correspondence
                     providing updates on hearing (.6).


23388802 3/13/2019   Draft annotated agenda for 3/13 UCC call (.7);             2.00   Koch, Matthew
                     emails w/ D. Dunne, T. Kreller, and G. Bray re
                     same (.3); prepare for 3/14 UCC call (.9);
                     update draft agenda for 3/14 UCC meeting (.1).


23379452 3/14/2019   Correspond with S. Khalil and M. Koch re prep              2.20   Bice, William B.
                     for FERC presentation to Committee (.7); attend
                     standing committee call with committee members,
                     Milbank (D. Dunne), FTI (A. Scruton) and
                     Centerview (S. Greene) (1.5).


23388855 3/14/2019   Participate in weekly committee meeting                    0.80   Dexter, Erin E.
                     (partial).


23386227 3/14/2019   Attend weekly committee meeting.                           1.50   Dunne, Dennis F.


23389948 3/14/2019   Attend weekly Committee conference call (1.5);             1.70   Franzoia, Rachel
                     prep for same (.2).


23383494 3/14/2019   Attend weekly call with UCC and professionals              1.60   Kestenbaum, Russell J.
                     (1.5); prep for same (.1).


23388842 3/14/2019   Participate on weekly UCC call (1.5);                      3.10   Koch, Matthew
                     preparation for same (1.4); emails w/ D. Dunne
                     and C. MacDonald (FTI) re same (.2).


23387152 3/14/2019   Prep for (.4) and attend weekly UCC meeting                2.80   Kreller, Thomas R.
                     (1.5); follow up calls and corr re same (.9).


23372176 3/14/2019   Attend Committee call w/ Milbank, FTI and                  1.50   Milender, Parker
                     Centerview teams.


23377848 3/14/2019   Participate in Committee call (1.5); prep                  2.40   Price, Craig Michael
                     materials for committee call (.9).


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23411596 3/18/2019   Review case and UCC issues (.7); review case              2.40   Aronzon, Paul S.
                     filings/pleadings (.4); review press articles,
                     research materials and memos (.8); review (.2)
                     and revise UCC memos (.3).


23421577 3/18/2019   Attend advisors call with Milbank (W. Bice, G.            1.20   Beebe, James M.
                     Bray, D. Denny, K. Khani, M. Koch, T. Kreller,
                     L. Mandel, C. Skaliks, S. Vora, J. Wolf), FTI
                     (S. Star) and Centerview (K. Chopra) to discuss
                     STIP motion and hedging motion (.7); review
                     emails regarding acceptance of motion re:
                     extension of STIP hearing deadline (.5)


23401725 3/18/2019   Attend standing advisors call with Milbank (J.            0.60   Bice, William B.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, C. Skaliks, A. Stone, S.
                     Vora, J. Wolf), FTI (S. Starr) and Centerview
                     (K. Chopra).Attend standing advisors call with
                     Milbank (J. Beebe, G. Bray, D. Denny, K. Khani,
                     M. Koch, T. Kreller, L. Mandel, C. Skaliks, A.
                     Stone, S. Vora, J. Wolf), FTI (S. Starr) and
                     Centerview (K. Chopra) (partial).


23754463 3/18/2019   Standing advisors call w/ K. Chopra                       0.70   Bray, Gregory A.
                     (Centerview), A. Scruton (FTI) and Milbank Team
                     (W. Bice, J. Beebe, D. Denny, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, C. Skaliks, A.
                     Stone, S. Vora, J. Wolf).


23404860 3/18/2019   Review and analyze Committee call agenda and              1.90   Denny, Daniel B.
                     pending matters (.1); t/c for standing weekly
                     call with Milbank (W. Bice, J. Beebe, G. Bray,
                     K. Khani, M. Koch, T. Kreller, L. Mandel, C.
                     Skaliks, A. Stone, S. Vora, J. Wolf), FTI (S.
                     Star) and Centerview (K. Chopra) (.7); review
                     and analyze PGE background memorandum (1.1).




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23423497 3/18/2019   Coordinate work streams (.6); standing advisors           1.80   Koch, Matthew
                     call w/ K. Chopra (Centerview), A. Scruton
                     (FTI), and Milbank team (W. Bice, J. Beebe, G.
                     Bray, D. Denny, K. Khani, T. Kreller, L.
                     Mandel, C. Skaliks, A. Stone, S. Vora, J. Wolf)
                     (.7); draft agenda for standing advisors call
                     (.5).


23422896 3/18/2019   Attend advisors' call with A. Scruton (FTI), K.           0.70   Skaliks, Christina M.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     J. Beebe, G. Bray, D. Denny, K. Khani, M. Koch,
                     T. Kreller, L. Mandel, A. Stone, S. Vora, J.
                     Wolf).


23754485 3/19/2019   Communications w/ M. Koch re UCC agenda.                  0.20   Bray, Gregory A.


23754421 3/19/2019   Comms w/ M. Koch re UCC agenda.                           0.20   Dexter, Erin E.


23423522 3/19/2019   Emails w/ A. Scruton (FTI) and K. Chopra                  1.70   Koch, Matthew
                     (Centerview) re 3/21 UCC call (.4); prep for
                     3/21 UCC call (.5); communications w/ S. Vora,
                     E. Dexter, and G. Bray re UCC agenda (.5);
                     draft agenda for 3/21 UCC call (.3).


23426169 3/20/2019   Review agenda and materials for committee call.           0.30   Dunne, Dennis F.


23423567 3/20/2019   Emails w/ G. Bray re 3/21 UCC call.                       0.20   Koch, Matthew


23404066 3/21/2019   Attend standing committee call w/ FTI,                    1.00   Bice, William B.
                     Centerview and Milbank Team (J. Beebe
                     (partial), D. Denny, E. Dexter, D. Dunne, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prep for same (.3).


23404954 3/21/2019   Attend weekly committee call w/ FTI (J. Beebe             0.80   Denny, Daniel B.
                     (partial), W. Bice, E. Dexter, D. Dunne, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prep for same (.1).


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23422586 3/21/2019   Attend UCC call w/ FTI, Centerview and Milbank             1.20   Dexter, Erin E.
                     (J. Beebe (partial), W. Bice, D. Denny, D.
                     Dunne, R. Franzoia, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, P. Milender (partial), M.
                     Shah, C. Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prepare for same (.5).


23420090 3/21/2019   Pre-call planning with FTI and CV (.4);                    1.10   Dunne, Dennis F.
                     standing committee call w/ Milbank (J. Beebe
                     (partial), W. Bice, D. Denny, E. Dexter, R.
                     Franzoia, K. Khani, M. Koch, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum), A. Scruton (FTI) and K. Chopra
                     (Centerview) (.7).


23419083 3/21/2019   Attend call with UCC and Milbank (J. Beebe                 0.70   Kestenbaum, Russell J.
                     (partial), W. Bice, D. Denny, E. Dexter, D.
                     Dunne, R. Franzoia, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, P. Milender (partial), M.
                     Shah, C. Price C. Skaliks, S. Vora, J. Wolf).


23423591 3/21/2019   Standing Committee call w/ A. Scruton (FTI), K.            3.20   Koch, Matthew
                     Chopra (Centerview)and Milbank Team (J. Beebe
                     (partial), W. Bice, D. Denny, E. Dexter, D.
                     Dunne, R. Franzoia, K. Khani, T. Kreller, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); prepare for UCC call (.9);
                     draft annotated agenda for 3/21 UCC call (.6);
                     prepare for 3/21 UCC call (1).


23413007 3/21/2019   Attend standing weekly UCC w/ A. Scruton (FTI),            1.40   Kreller, Thomas R.
                     K. Chopra (Centerview) and Milbank Team (J.
                     Beebe (partial), W. Bice, D. Denny, E. Dexter,
                     D. Dunne, R. Franzoia, K. Khani, M. Koch, L.
                     Mandel, P. Milender (partial), M. Shah, C.
                     Price C. Skaliks, S. Vora, J. Wolf, R.
                     Kestenbaum) (.7); review materials re same
                     (.3); prepare for same (.4).




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23404326 3/21/2019   Attend committee call w/ FTI, Centerview and              0.80   Shah, Manan
                     Milbank (J. Beebe (partial), W. Bice, D. Denny,
                     E. Dexter, D. Dunne, R. Franzoia, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, P. Milender
                     (partial), C. Price C. Skaliks, S. Vora, J.
                     Wolf, R. Kestenbaum) (.7); prep for same (.1).


23423880 3/21/2019   Attend committee call FTI, Centerview and                 0.70   Skaliks, Christina M.
                     Milbank (J. Beebe (partial), W. Bice, D. Denny,
                     E. Dexter, D. Dunne, R. Franzoia, K. Khani, M.
                     Koch, T. Kreller, L. Mandel, P. Milender
                     (partial), M. Shah, C. Price, S. Vora, J. Wolf,
                     R. Kestenbaum).


23408809 3/21/2019   Prepare for weekly committee call discussion of           0.70   Wolf, Julie M.
                     criminal exposure.


23413005 3/22/2019   Call w/ M. Koch and G. Bray re strategy (.5);             1.30   Kreller, Thomas R.
                     emails w/ M. Koch re team strategy call (.1);
                     attend call w/ FTI (A. Scruton), Centerview (K.
                     Chopra) and Milbank Team (J. Beebe, D. Denny,
                     E. Dexter, M. Koch, T. Kreller, P. Milender, R.
                     Franzoia, C. Price, A. Stone, J. Wolf) (.7).


23441306 3/25/2019   Attend weekly standing call w/ A. Scruton                 0.70   Denny, Daniel B.
                     (FTI), K. Chopra (Centerview) and Milbank team
                     (J. Beebe, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel) (.5);
                     prepare for same (.2).


23432336 3/25/2019   Emails w/ D. Dunne re scheduling and Committee            2.40   Koch, Matthew
                     meeting (.2); update work streams (.6);
                     standing advisors call w/ K. Chopra
                     (Centerview), A. Scruton(FTI), and Milbank Team
                     (J. Beebe, D. Denny, E. Dexter, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel) Milbank)
                     (.6); prepare for advisors call (.6); draft
                     agenda for advisors call w/ C. Price (.4).




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23454531 3/25/2019   Attend weekly standing advisors call w/ K.                 0.80   Kreller, Thomas R.
                     Chopra (Centerview), A. Scruton (FTI) and
                     Milbank team J. Beebe, D. Denny, E. Dexter, M.
                     Koch, P. Milender, R. Franzoia, C. Price, A.
                     Stone, J. Wolf, M. Shah, C. Skaliks, L. Mandel)
                     (.6); prepare for same (.2).


23432533 3/26/2019   Draft agenda for 3/28 call.                                0.70   Koch, Matthew


23439472 3/26/2019   Revise agenda for committee call.                          0.30   Price, Craig Michael


23452166 3/27/2019   Review materials for 3/28 committee call.                  0.70   Dunne, Dennis F.


23459962 3/27/2019   Review memo and other materials circulated in              1.30   Franzoia, Rachel
                     preparation for weekly UCC call.


23432596 3/27/2019   Emails w/ T. Kreller, M. Shah, W. Ng (FTI), S.             5.10   Koch, Matthew
                     Starr (FTI), W. Graham (Centerview), and C.
                     Price re 3/28 UCC call (.5); prepare for 3/28
                     UCC call (1.6); draft talking points for 3/28
                     UCC call (2.5); emails w/ T. Kreller, and C.
                     Price re 3/28 UCC meeting (.3); t/c w/ C. Price
                     re emails to Committee (.2).


23754836 3/27/2019   Emails w/ M. Koch re 3/28 UCC call (.1); emails            0.20   Kreller, Thomas R.
                     w/ same re UCC meeting (.1).


23455077 3/27/2019   Draft agenda for committee meeting (.3); t/c               0.80   Price, Craig Michael
                     with GB re same (.4); email w/ M. Koch re 3/28
                     UCC Meeting (.1).


23438992 3/28/2019   Attend standing committee call w/ FTI (A.                  2.00   Bice, William B.
                     Scruton et al), Centerview (K. Chopra et al)
                     and Milbank Team (D. Denny (partial), D. Dunne,
                     S. Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, E. Dexter, T. Kreller (partial), J.
                     Beebe, J. Wolf, A. Stone, P. Milender
                     (partial), L. Mandel).




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23454299 3/28/2019   Attend weekly committee meeting w/ A. Scruton              2.10   Dexter, Erin E.
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, T. Kreller (partial), J. Beebe, J.
                     Wolf, A. Stone, P. Milender (partial), L.
                     Mandel) (2); email exchanges w/ R. Franzoia re
                     UCC telephonic meeting (.1).


23454418 3/28/2019   Attend UCC call w/ A. Scruton (FTI), K. Chopra             2.10   Dunne, Dennis F.
                     (Centerview) and Milbank team (W. Bice, D.
                     Denny (partial), S. Khalil, R. Kestenbaum K.
                     Khani, M. Koch, R. Franzoia, E. Dexter, T.
                     Kreller (partial), J. Beebe, J. Wolf, A. Stone,
                     P. Milender (partial), L. Mandel) (2.0); emails
                     w/ M. Koch re 3/28 meeting (.1).


23454510 3/28/2019   Attend in-person meeting with Mizuho at                    1.50   Dunne, Dennis F.
                     Stroock.


23459508 3/28/2019   Weekly UCC telephonic meeting w/ A. Scruton                3.30   Franzoia, Rachel
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, E.
                     Dexter, T. Kreller (partial), J. Beebe, J.
                     Wolf, A. Stone, P. Milender (partial), L.
                     Mandel) (2.0); follow-up email exchange with E.
                     Dexter (.1) and D. Denny (.2) regarding the
                     same (.3); prepare minutes of meeting (.7).


23450336 3/28/2019   Participate (partial) on call with UCC w/ FTI,             1.90   Kestenbaum, Russell J.
                     Centerview and Milbank (W. Bice, D. Denny
                     (partial), D. Dunne, S. Khalil, K. Khani, M.
                     Koch, R. Franzoia, E. Dexter, T. Kreller
                     (partial), J. Beebe, J. Wolf, A. Stone, P.
                     Milender (partial), L. Mandel).




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23457869 3/28/2019   Standing Committee call w/ A. Scruton(FTI), K.            2.60   Koch, Matthew
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     D. Denny (partial), D. Dunne, S. Khalil, R.
                     Kestenbaum, K. Khani, R. Franzoia, E. Dexter,
                     T. Kreller (partial), J. Beebe, J. Wolf, A.
                     Stone, P. Milender (partial), L. Mandel) (2);
                     prepare for same (.1); call w/ C. Price re 3/28
                     UCC meeting (.3); emails w/ D. Dunne re 3/28
                     meeting (.2).


23454991 3/28/2019   Partially attend weekly UCC call w/ FTI,                  1.90   Kreller, Thomas R.
                     Centerview and Milbank (W. Bice, D. Denny
                     (partial), D. Dunne, S. Khalil, R. Kestenbaum
                     K. Khani, M. Koch, R. Franzoia, E. Dexter, J.
                     Beebe, J. Wolf, A. Stone, P. Milender
                     (partial), L. Mandel).


23439928 3/28/2019   Attend Committee call w/ Milbank (W. Bice, D.             0.50   Milender, Parker
                     Denny (partial), D. Dunne, K. Khani, M. Koch,
                     J. Beebe, R. Franzoia, E. Dexter, J. Wolf, A.
                     Stone, P. Milender (partial), L. Mandel), FTI,
                     and Centerview teams (partial).


23439477 3/28/2019   Attend Committee meeting (2); prepare for same            4.10   Price, Craig Michael
                     (1.8); call w/ M. Koch re 3/28 UCC meeting
                     (.3).


23454994 3/28/2019   Attend committee call w/ A. Scruton (FTI), K.             2.00   Stone, Alan J.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     D. Denny (partial), D. Dunne, S. Khalil, R.
                     Kestenbaum K. Khani, M. Koch, R. Franzoia, E.
                     Dexter, T. Kreller (partial), J. Beebe, J.
                     Wolf, P. Milender (partial), L. Mandel).


23457455 3/28/2019   Committee call regarding case status (partial)            1.70   Vora, Samir
                     (1.1); prep re: same (.6).




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23446689 3/28/2019   Attend weekly committee call w/ A. Scruton                 2.00   Wolf, Julie M.
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (W. Bice, D. Denny (partial), D. Dunne, S.
                     Khalil, R. Kestenbaum K. Khani, M. Koch, R.
                     Franzoia, E. Dexter, T. Kreller (partial), J.
                     Beebe, A. Stone, P. Milender (partial), L.
                     Mandel).


23755125 3/29/2019   O/c w/ C. Price re committee re distribution of            0.20   Dunne, Dennis F.
                     materials.


23455254 3/29/2019   Draft email to committee re distribution of                1.00   Price, Craig Michael
                     materials (.8); o/c with D. Dunne re same (.2).




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23739345 3/1/2019   Review issues re bylaws.                                    0.90   Bray, Gregory A.


23305755 3/1/2019   Email exchanges regarding revisions to draft                0.60   Denny, Daniel B.
                    Bylaws (.3); email exchanges w/ working group
                    re comments to same (.3).


23320002 3/1/2019   Review various by-law revisions.                            0.40   Dunne, Dennis F.


23328927 3/1/2019   Revise bylaws (.8); communications w/ S. Bryant             1.80   Koch, Matthew
                    (Locke Lord), M. Ngo (PBGC), G. Bray, and D.
                    Denny re same (.4); revise info agent memo
                    (.6).


23319937 3/1/2019   Calls re bylaws with PBGC (.4); IBEW (.5); team             2.30   Price, Craig Michael
                    (.7); review info agent memo to committee (.7).


23328931 3/2/2019   Research re (redacted).                                     3.20   Koch, Matthew


23740236 3/4/2019   Review (.6) and revise (.3) bylaws.                         0.90   Bray, Gregory A.


23329633 3/4/2019   Emails w/ J. Weber re debtor corporate                      0.10   Denny, Daniel B.
                    governance issues.


23318009 3/4/2019   Review (.8); research re same (.2). (redacted).             1.00   Mandel, Lena


23740872 3/4/2019   Review bylaws and related materials.                        0.50   Price, Craig Michael


23740908 3/5/2019   Review issues re Committee by-laws.                         0.90   Bray, Gregory A.


23329616 3/5/2019   Review edits to committee bylaws.                           0.10   Denny, Daniel B.


23741303 3/6/2019   Review comments to bylaws by UCC members.                   0.70   Bray, Gregory A.


23741306 3/6/2019   Review composite by-laws reflecting member                  0.80   Dunne, Dennis F.
                    comments.


23360596 3/6/2019   Comms. with team re UCC confidentiality issues              0.40   Kreller, Thomas R.
                    with Company.




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23741325 3/7/2019    Review revised bylaws (.7), call w/ M. Koch re            0.90   Bray, Gregory A.
                     same (.2).


23356269 3/7/2019    Call w/ J. Liou (Weil), G. Bray, and M. Koch re           1.00   Price, Craig Michael
                     bylaws (.3); call w/ E. Daucher (Norton Rose)
                     re bylaws (.2); review comments re same (.2);
                     emails w/ D. Dunne re same (.1); call w/ G.
                     Bray re same (.2).


23357920 3/8/2019    Comms. with M. Koch re: bylaws.                           0.40   Behrens, James C.


23741747 3/8/2019    Communications w/ G. Bray and C. Price re                 0.90   Bray, Gregory A.
                     bylaws (.3); review same (.6)


23343250 3/8/2019    Revise bylaws (.2); communications w/ C. Price,           1.70   Koch, Matthew
                     G. Bray, and E. Daucher (Norton Rose) re same
                     (.4); revise bylaws (.9); emails w/ G. Bray and
                     J. Behrens re bylaws (.2).


23356379 3/8/2019    Revise bylaws (1.8); communications w/ M. Koch,           2.40   Price, Craig Michael
                     G. Bray, and E. Daucher (Norton Rose) re same
                     (.4); emails w/ G. Bray and J. Behrens re
                     bylaws (.2).


23388630 3/11/2019   Call w/ E. Daucher (Norton Rose) re bylaws                0.80   Koch, Matthew
                     (.3); revise same (.5).


23748433 3/12/2019   Review bylaws.                                            1.20   Bray, Gregory A.


23388723 3/12/2019   Communications w/ G. Bray re bylaws.                      0.30   Koch, Matthew


23379555 3/13/2019   Correspondence with D. Dunne and M. Koch on               0.40   Bice, William B.
                     recusal standards for committee members and
                     structure of intervention.


23748464 3/13/2019   Review bylaws.                                            0.80   Bray, Gregory A.




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23388790 3/13/2019   Finalize bylaws (.9); communications w/ W.                2.10   Koch, Matthew
                     Bryant (Locke Lord) and G. Bray re bylaws (.6);
                     finalize UST letter re equity committee (.3);
                     communications w/ D. Dunne and S. Khalil re
                     same (.3).


23386740 3/13/2019   Calls (.6) and corr (.6) with C Jacobs, MT team           1.20   Kreller, Thomas R.
                     re committee resignation, alternatives and next
                     steps.


23377838 3/13/2019   Revise bylaws (1); t/c with committee members             1.40   Price, Craig Michael
                     re same (.4).


23748732 3/14/2019   Review issues re Committee by-laws.                       1.20   Bray, Gregory A.


23385679 3/15/2019   Review correspondence regarding bylaws.                   0.20   Bray, Gregory A.


23754464 3/18/2019   Emails w/ M. Koch re bylaws issues (.2); emails           0.30   Bray, Gregory A.
                     w/ M. Koch re revisions to bylaws (.1).


23754801 3/18/2019   Emails w/ M. Koch re bylaws issues (.2); review           0.70   Dunne, Dennis F.
                     PBGC comments to by-laws (.3); review final
                     version of same (.2);


23423498 3/18/2019   Emails w/ D. Dunne and G. Bray re bylaws issues           1.00   Koch, Matthew
                     (.4); revise bylaws (.4); emails w/ G. Bray and
                     M. Ngo (PBGC) re same (.2).


23754497 3/19/2019   Emails w/ M. Koch re bylaws                               0.10   Bray, Gregory A.


23426006 3/19/2019   Confs with A. Vara (UST) re Wamco, replacement            1.20   Dunne, Dennis F.
                     candidates and Roebbellen (.2); review issues
                     re same (.2); review Mizuho's selection (.1);
                     confs with Stroock & Strooke Team re same (.3);
                     review chair, by-laws and related issues (.3);
                     emails w/ M. Koch re bylaws (.1).


23423528 3/19/2019   Emails w/ G. Bray, B. Brownstein (Arent Fox),             0.90   Koch, Matthew
                     and D. Dunne re bylaws (.2); revise same (.3);
                     research re same (.4).




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23755338 3/20/2019   Review Mizuho integration issues.                        0.30   Dunne, Dennis F.


23423566 3/20/2019   Communications w/ G. Bray re notice of revised           0.20   Koch, Matthew
                     committee formation.


23754531 3/21/2019   Review by law issues.                                    1.10   Bray, Gregory A.


23754534 3/22/2019   Comms w/ J. Liou (Weil) and M. Koch re bylaws            0.80   Bray, Gregory A.
                     (.2); call w/ M. Koch r same (.1); emails w/ M.
                     Koch re same (.3); emails w/ same re NDA (.2).


23754945 3/22/2019   Emails w/ M. Koch re NDA.                                0.10   Dunne, Dennis F.


23423632 3/22/2019   Communications w/ J. Liou (Weil) and G. Bray re          1.50   Koch, Matthew
                     bylaws (.2); call w/ J. Liou (Weil) re bylaws
                     (.1); call w/ G. Bray re same (.1); revise
                     bylaws (.2); t/c w/ C. Price re same (.2);
                     emails w/ G. Bray re same (.3); emails w/ D.
                     Dunne (.1), G. Bray (.2), and J. Liou (Weil)
                     (.1).


23408980 3/22/2019   Review comments to bylaws (.7); t/c with M.              0.90   Price, Craig Michael
                     Koch re same (.2).


23754950 3/25/2019   Comms w/ M. Koch re bylaws (.3); comms w/ C.             0.60   Denny, Daniel B.
                     Price re same (.3).


23455856 3/25/2019   Review final bylaws and NOL trading motion.              0.20   Khani, Kavon M.


23755492 3/29/2019   Confs. with K. Lewis re committee chair and              0.20   Dunne, Dennis F.
                     upcoming meetings.




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23329615 3/5/2019   Review (.2) and analyze (.4) debtor governance            0.90   Denny, Daniel B.
                    materials; conf. w/ J. Weber re corporate
                    governance memo (.3).


23366119 3/6/2019   Teleconference with A. Moses, D. Denny, and J.            1.10   Anderson, Jason T.
                    Weber regarding corporate governance issues
                    (.6); prep for same (.5).


23345476 3/6/2019   Preliminary research for (redacted).                      0.70   Connelly, Rachael


23340083 3/6/2019   Teleconference with A. Moses, J. Anderson, and            1.10   Denny, Daniel B.
                    J. Weber regarding corporate governance issues
                    (.6); email exchange with A. Moses and working
                    group re corporate governance issues (.2);
                    review and analyze debtor corporate governance
                    materials (.3).


23360504 3/6/2019   T/c with J. Anderson, D. Denny, and J. Weber re           3.10   Moses, Adam R.
                    corporate governance issues (.6); review (1.6)
                    and analyze (.9) materials in connection with
                    the preparation of draft proxy contest memo.


23741307 3/6/2019   Conf. with A. Moses, D. Denny, and J. Anderson            0.90   Weber, Jordan A.
                    regarding corporate governance issues (.6);
                    review materials i/c/w same (.3).


23366123 3/7/2019   Internal comms. re memo on Blue Mountain proxy            0.80   Anderson, Jason T.
                    campaign (.3); coordinate re preparation of
                    same (.5).


23360510 3/7/2019   Analysis of materials in connection with proxy            0.50   Moses, Adam R.
                    contest memo.


23345498 3/8/2019   Continue research for (4.6) and revise (4.2)              8.80   Connelly, Rachael
                    memo re (redacted); begin drafting memo.


23366547 3/9/2019   Revise memo re: Blue Mountain proxy issues.               0.40   Anderson, Jason T.


23345522 3/9/2019   Conduct research for (redacted) (.6) and revise           1.00   Connelly, Rachael
                    same (.4).




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23360520 3/9/2019    Review and comment on draft proxy contest memo.             2.80   Moses, Adam R.


23345523 3/10/2019   Continue research for (redacted) (1.2) and                  2.60   Connelly, Rachael
                     revise same (1.4).


23360524 3/10/2019   Review draft memorandum re proxy issues.                    0.10   Moses, Adam R.


23357343 3/11/2019   Further research for (redacted) (.7); conf. w/              2.50   Connelly, Rachael
                     D. Denny re same (.2); edit memo (1.6).


23375786 3/11/2019   Review and analyze (redacted) (1.7); conference             2.40   Denny, Daniel B.
                     with R. Connelly regarding research re same
                     (.2); conference with J. Weber (multiple) re
                     corporate governance memo (.5).


23360615 3/11/2019   Review (.4) and comment on (.6) draft proxy                 1.00   Moses, Adam R.
                     contest memo.


23392633 3/11/2019   Legal research (4.1) and revisions to (3.6)                 7.90   Weber, Jordan A.
                     (redacted); conf. w/ D. Denny re same (.2).


23413518 3/12/2019   Revisions to proxy contest memo.                            3.50   Anderson, Jason T.


23378130 3/12/2019   Revise (redact).                                            0.60   Connelly, Rachael


23375780 3/12/2019   Conference with J. Weber regarding draft corp               6.80   Denny, Daniel B.
                     governance memo (.2); review same (.8);
                     research (redacted) (4.4); revise draft memo
                     regarding (redacted) (1.0); review (.1) and
                     analyze (.2) revised (redacted); teleconference
                     with J. Weber regarding same (.1).


23360526 3/12/2019   Review (1.1) and comment on (.7) draft proxy                1.80   Moses, Adam R.
                     contest memo.


23392637 3/12/2019   Extensive research (4.3) and drafting (4.1) re             10.70   Weber, Jordan A.
                     (redacted); extensive communications with
                     Milbank team on the same (2.2); conf. with D.
                     Denny re same (.1).




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23413498 3/13/2019   Continue efforts on proxy memo.                           1.30   Anderson, Jason T.


23375789 3/13/2019   Review comments to draft corp. governance memo            1.70   Denny, Daniel B.
                     (.2); email exchanges with J. Anderson and
                     working group re corp governance memo (.2); t/c
                     with J. Anderson re revisions to memo (.1);
                     corr. with C. Price and M. Koch re corp
                     governance memorandum (.1); review (.4) and
                     further edit (.7 ) revised corp governance
                     memo.


23374355 3/13/2019   Review (.3) and comment on (.8) memo re:                  1.10   Khalil, Samuel A.
                     corporate governance issues relating to board
                     replacement.


23384161 3/13/2019   Review (.6) and edit (.9) corp governance memo;           1.80   Stone, Alan J.
                     call with J. Anderson re same (.3).


23375846 3/15/2019   Draft email to group regarding revised                    0.20   Denny, Daniel B.
                     Corporate Governance Memo.


23386270 3/15/2019   Review status of independent director search              1.10   Dunne, Dennis F.
                     (.3); confs. with S. Karotkin (Weil) re same
                     (.2); confs. with two prospective board members
                     (.6).


23386276 3/16/2019   Review updates re independent director                    0.60   Dunne, Dennis F.
                     selection.


23417931 3/18/2019   Revise corporate governance memo (.1);                    0.20   Anderson, Jason T.
                     conference w/ D. Denny re proxy memo supplement
                     (.1).


23404862 3/18/2019   Conference with J. Anderson re proxy memo                 0.10   Denny, Daniel B.
                     supplement.


23404955 3/22/2019   Email J. Anderson regarding revisions to draft            0.10   Denny, Daniel B.
                     proxy context memo.


23454985 3/29/2019   Review developments re board slate and next               0.40   Dunne, Dennis F.
                     steps.


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23740906 3/5/2019    Participate in diligence phone call led by                 0.80   Bice, William B.
                     debtor to discuss PPAs and cost savings.


23327944 3/5/2019    Participate in diligence call re: customer                 0.70   Milender, Parker
                     programs and PPAs.


23343236 3/8/2019    Revise memo re hedging motion.                             1.30   Koch, Matthew


23343285 3/9/2019    Research re (redacted).                                    0.50   Koch, Matthew


23742829 3/10/2019   Correspondence with M. Nolan re (redacted).                0.20   Bice, William B.


23742830 3/10/2019   Emails from W. Bice and M. Nolan re FERC                   0.50   Koch, Matthew
                     adversary (.2); emails from E. Dexter re FERC
                     adversary (.3).


23743602 3/11/2019   Review issues re hedging motion.                           0.40   Bray, Gregory A.


23387896 3/11/2019   Meet w/ B. Kastner re hedging motion (.1);                 0.80   Moser, Eric K.
                     review hedging motion (.7).


23387971 3/12/2019   Continue review of hedging motion (.4);                    0.60   Moser, Eric K.
                     correspondence with M. Koch re same (.2).


23748461 3/13/2019   Review (.4) and revise (.5) hedging motion.                0.90   Bray, Gregory A.


23748830 3/15/2019   Review issues re (redacted).                               0.90   Bray, Gregory A.


23388942 3/15/2019   Research re hedging motion.                                1.60   Koch, Matthew


23380036 3/15/2019   Revise hedging order.                                      0.70   Price, Craig Michael


23423506 3/19/2019   Emails w/ J. Wolfe re hedging issues.                      0.20   Koch, Matthew


23754506 3/20/2019   Emails w/ M. Koch re hedging motion (.2);                  0.30   Bray, Gregory A.
                     emails w/ W. Bice re Enel Stipulation (.1)




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23423560 3/20/2019   Call w/ M. Goren (Weil) re hedging motion (.1);            0.70   Koch, Matthew
                     emails w/ G. Bray re same (.2); communications
                     w/ T. Kreller and J. Wolfe re hedging motion
                     issues (.2); review draft objection (.2).


23755091 3/20/2019   Communications w/ C. Price and J. Wolfe re                 0.20   Kreller, Thomas R.
                     hedging motion issues.


23401540 3/20/2019   Review (.1) and revise (.3) limited objection              0.40   Mandel, Lena
                     to the hedging motion.


23408790 3/20/2019   Revise objection to hedging motion (1.2); draft            4.00   Wolf, Julie M.
                     declaration in support of objection to hedging
                     motion (2.0); communications w/ T. Kreller and
                     M. Koch hedging motion issues (.2); review
                     additional correspondence between FTI and Alix
                     (.6).


23455257 3/29/2019   Revise hedging order (.5); t/c with FTI re same            1.10   Price, Craig Michael
                     (.6).


23754420 3/29/2019   Emails w/ D. Denny re hedging motion (.1);                 0.70   Wolf, Julie M.
                     communication with FTI Team re: hedging motion
                     objection (.6).




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23319849 3/1/2019   Review DIP issues (1.3); review DIP order (.4);            2.60   Bray, Gregory A.
                    internal calls (.6) and emails (.3) re same.


23743596 3/1/2019   Review DIP Order.                                          0.40   Price, Craig Michael


23740235 3/4/2019   Review DIP issues (.8); internal calls (.3) and            1.30   Bray, Gregory A.
                    emails (.2) re same.


23743599 3/5/2019   Review and revise UCC DIP memo.                            0.80   Aronzon, Paul S.


23740909 3/5/2019   Review DIP issues (.7); internal emails re same            1.00   Bray, Gregory A.
                    (.3).


23741304 3/6/2019   Review DIP order (.8) and cash management                  1.10   Bray, Gregory A.
                    issues (.3).


23741314 3/7/2019   Review DIP issues.                                         0.90   Bray, Gregory A.


23343160 3/7/2019   Address cash management issues.                            0.20   Koch, Matthew


23344211 3/8/2019   Review DIP objection of Tort Committee (.3);               0.40   Bice, William B.
                    conf. w/ G. Bray re same (.1).


23741748 3/8/2019   Review Tort Committee DIP objection (.4); conf.            0.50   Bray, Gregory A.
                    w/ W. Bice re same (.1).


23355737 3/8/2019   Review tort committee's objection to DIP (.4);             0.70   Dunne, Dennis F.
                    craft response/recommendation to committee to
                    same (.3).


23341996 3/8/2019   Review revised DIP order per committee member              0.90   Khalil, Samuel A.
                    questions.


23343257 3/8/2019   Calls w/ S. Starr (FTI) and K. Bostel (Weil) re            1.30   Koch, Matthew
                    cash management issues (.3); call w/ W. Ng
                    (FTI) and C. Price re DIP financing (.1); draft
                    email to D. Dunne/Milbank team re DIP issues
                    (.4); call w/ P. Sandler (Cravath) and C. Price
                    re DIP issues (.2); review revised cash
                    management order (.3).



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23356376 3/8/2019    Calls w/ FTI and K. Bostel (Weil) re cash                 1.50   Price, Craig Michael
                     management issues and order (.3); call w/ W. Ng
                     (FTI) and M. Koch re DIP financing (.1) and
                     review DIP order (.2); assist in drafting email
                     to D. Dunne/Milbank team re DIP issues (.4);
                     call w/ P. Sandler (Cravath) and M. Koch re DIP
                     issues (.2); revise cash management order (.3).


23355672 3/9/2019    Review company position re tort committee                 0.70   Dunne, Dennis F.
                     objection to DIP (.3); review sizing and
                     related issues (.4).


23343284 3/9/2019    Draft email to D. Dunne re DIP issues (.6);               1.20   Koch, Matthew
                     communications w/ D. Dennis and S. Khalil re
                     DIP issues (.2); call w/ P. Sandler (Cravath)
                     re same (.4).


23343307 3/10/2019   Review draft DIP reply (.3); emails w/ P.                 0.90   Koch, Matthew
                     Sandler (Cravath) re DIP response (.1); draft
                     DIP joinder (.5).


23377961 3/11/2019   Review correspondence from T. Kreller and G.              0.20   Bice, William B.
                     Bray re DIP motion.


23751974 3/11/2019   Review issues re DIP motion (3.1); correspond             3.40   Bray, Gregory A.
                     w/ TW. Bice and G. Bray re same (.3).


23365096 3/11/2019   Review TCC DIP objection (.4) and Debtors’                1.10   Dunne, Dennis F.
                     response (.3); review UCC response to same
                     (.4).


23341968 3/11/2019   Review and corresp. re: DIP objection filed by            0.60   Khalil, Samuel A.
                     TCC.


23388667 3/11/2019   Emails w/ G. Bray and D. Dunne re DIP statement           2.70   Koch, Matthew
                     (.2); communications w/ T. Kreller, G. Bray, A.
                     Leblanc, and C. Price re DIP statement (.6);
                     revise DIP statement (.2); draft DIP statement
                     (1.1); communications w/ C. Price, S. Khalil,
                     and G. Bray re same (.6).




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23387193 3/11/2019   Review recent pleadings (.6), calls and corr               2.20   Kreller, Thomas R.
                     with team (.5) and prep response (1.1) re DIP
                     financing motion for upcoming final hearing.


23389366 3/11/2019   Review (.2) and revise (.4) statement regarding            1.20   Leblanc, Andrew M.
                     DIP; correspondence re same (.6).


23352784 3/11/2019   Review (.1) and revise (.3) UCC statement in               0.60   Mandel, Lena
                     support of DIP motion; correspond with team re
                     same (.2).


23377318 3/11/2019   Draft DIP statement (1.1); communications w/ M.            1.70   Price, Craig Michael
                     Koch, S. Khalil, and G. Bray re same (.6).


23377789 3/11/2019   Draft emails w/ M. Koch for G. Bray and D.                 1.40   Price, Craig Michael
                     Dunne re DIP statement (.6); revise DIP
                     statement (.8).


23748160 3/11/2019   Review emails re DIP.                                      0.20   Stone, Alan J.


23392635 3/11/2019   Review DIP statement (.2); emails w/ same with             0.50   Weber, Jordan A.
                     various members of Milbank team (.3).


23379590 3/12/2019   Preparations for filing Statement in support of            2.50   Anderson, Angel R.
                     DIP motion.


23377124 3/12/2019   Preparations for filing of DIP Statement (.6);             1.00   Ayandipo, Abayomi A.
                     correspondence re same (.4).


23385673 3/12/2019   Review DIP issues (1.4); review DIP order (.7);            3.10   Bray, Gregory A.
                     internal calls (.6) and emails (.4) re same.


23385561 3/12/2019   Review (.3) and revise (.4) UCC DIP Statement.             0.70   Dunne, Dennis F.


23358015 3/12/2019   Review (.2) and comment on (.4) joinder to                 0.60   Khalil, Samuel A.
                     debtor response to TCC DIP objection.




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23388710 3/12/2019   Finalize DIP statement (.7); emails w/ D. Dunne           1.60   Koch, Matthew
                     re DIP statement filing (.2); review DIP
                     pleadings (.3); emails w/ P. Sandler (Cravath)
                     re same (.2); communications w/ C. Price re
                     same (.2).


23362451 3/12/2019   Conferences with D. Dunne and M. Koch re UCC              1.20   Mandel, Lena
                     response to DIP objections (.3); review
                     debtors' response (.3); revise UCC's response
                     (.4); correspond with team members re same
                     (.2).


23377827 3/12/2019   Emails w/ D. Dunne re filing of DIP statement             0.60   Price, Craig Michael
                     (.2); emails w/ P. Sandler (Cravath) re same
                     (.2); communications w/ M. Koch re same (.2).


23386222 3/13/2019   Review Judge Montali's position on DIP                    0.30   Dunne, Dennis F.
                     objections and next steps re same.


23748730 3/14/2019   Review DIP issues (.8); internal emails re same           1.10   Bray, Gregory A.
                     (.3).


23748738 3/14/2019   T/c with DPW re DIP issue.                                0.60   Price, Craig Michael


23748831 3/15/2019   Review revised DIP order and related issues.              0.90   Bray, Gregory A.


23367962 3/15/2019   Review research re (redacted).                            0.40   Khalil, Samuel A.


23418741 3/18/2019   Review issues re DIP.                                     0.30   Bray, Gregory A.


23754800 3/18/2019   Comms w/ M. Koch re DIP updates.                          0.10   Dunne, Dennis F.


23423480 3/18/2019   Communications w/ P. Sandler (Cravath) and D.             0.20   Koch, Matthew
                     Dunne re DIP updates.


23418784 3/19/2019   Review DIP issues (1.1) and by-law issues (.4).           1.50   Bray, Gregory A.


23401724 3/20/2019   Review emails re: DIP order.                              0.10   Bice, William B.


23418744 3/20/2019   Review emails re: DIP order.                              1.70   Bray, Gregory A.


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23754252 3/21/2019   Discuss DIP with (multiple) UCC advisors.                  1.00   Aronzon, Paul S.


23418746 3/21/2019   Review DIP issues.                                         2.40   Bray, Gregory A.


23754832 3/26/2019   Conference w/ D. Dunne re TCC DIP objection and            0.50   Bray, Gregory A.
                     settlement conversations (.2); emails w/ R.
                     Franzoia re prep for final hearing on DIP
                     motion (.3);


23446628 3/26/2019   Confs. with K. Hansen re TCC objection and                 1.10   Dunne, Dennis F.
                     settlement conversations re: DIP (.3); review
                     issues and position re same (.2); confs. with
                     G. Bray re same (.2); review revised DIP order
                     (.4).


23459514 3/26/2019   Collect DIP-related materials and pleadings                2.60   Franzoia, Rachel
                     (.7); review materials in preparation for final
                     hearing on DIP motion (1.6); email exchange
                     with G. Bray regarding the same (.3).


23432520 3/26/2019   Review revised proposed DIP order.                         0.20   Koch, Matthew


23439469 3/26/2019   Review revised DIP Order.                                  0.50   Price, Craig Michael


23754834 3/27/2019   Review DIP issues.                                         1.00   Bray, Gregory A.


23452165 3/27/2019   Review TCC position re further DIP delay (.3);             0.50   Dunne, Dennis F.
                     review risks of resyndication and cost flex re
                     same (.2).


23455047 3/29/2019   Review DIP issues.                                         2.20   Bray, Gregory A.




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23321087 3/1/2019    Conferences with Milbank team and multiple                    2.50   Aronzon, Paul S.
                     other advisors re case and UCC issues and
                     hearing preparation (.7); conf. w/ T. Kreller,
                     D. Denny, J. Weber, R. Franzoia, C. Price, M.
                     Koch and P. Milender re work streams (1.8).


23305757 3/1/2019    Review working group emails re case updates                   3.20   Denny, Daniel B.
                     (.4); review and analyze recent bankruptcy
                     docket filings (.3); conf. w/ T. Kreller, P.
                     Aronzon, J. Weber, R. Franzoia, C. Price, M.
                     Koch and P. Milender re work streams (1.8);
                     emails w/ working group re court filing and
                     service requirements (.2); research re same
                     (.5).


23305758 3/1/2019    Review and analyze public entity committee                    2.50   Denny, Daniel B.
                     motion and authorities cited therein (2.2);
                     conference with R. Franzoia re same (.3).


23320076 3/1/2019    Review request for public entities committee                  1.20   Dunne, Dennis F.
                     (.4); review case law, precedent and standards
                     re same (.8).


23325644 3/1/2019    Meeting with D. Denny, J. Weber, T. Kreller, P.               1.80   Franzoia, Rachel
                     Aronzon, C. Price, M. Koch and P. Milender re
                     work streams.


23325778 3/1/2019    Review Motion to Appoint Public Entities                      3.50   Franzoia, Rachel
                     Committee and supporting declaration (1.7);
                     conference with D. Denny re same (.3); review
                     case law cited in support of motion (1.5).


23328930 3/1/2019    Communications w/ C. Price/Milbank team re work               4.30   Koch, Matthew
                     streams (.2); conf. w/ T. Kreller, P. Aronzon,
                     J. Weber, R. Franzoia, D. Denny, M. Koch and P.
                     Milender re work streams (1.8); draft email to
                     M. Goren (Weil) and P. Sandler (Cravath) re
                     adjournment (.4); revise cash management order
                     (.8); review motion to appoint public entity
                     committee (.4); emails w/ D. Dunne/Milbank team
                     re same (.2); review revised proposed orders
                     for operational integrity motion (.2) and
                     customer programs (.3).


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23320077 3/1/2019    Review case filings, public documents re                      2.80   Kreller, Thomas R.
                     political and legislative developments and
                     other materials (.7); conf. w/ C. Price, P.
                     Aronzon, J. Weber, R. Franzoia, D. Denny, M.
                     Koch and P. Milender re work streams (1.8) and
                     prep for same (.3).


23304746 3/1/2019    Call w/ C. Price, M. Koch, T. Kreller and                     1.30   Milender, Parker
                     Milbank team re: work streams (partial) (1.1);
                     follow up meeting w/ M. Koch and C. Price (.2).


23319934 3/1/2019    Conf. w/ T. Kreller, P. Aronzon, J. Weber, R.                 1.60   Price, Craig Michael
                     Franzoia, D. Denny, M. Koch and P. Milender re
                     work streams (partial) (1.4); follow up call w/
                     M. Koch and P. Milender (.2).


23319947 3/1/2019    Review cash management order (.8); review                     1.60   Price, Craig Michael
                     motion to appoint public entity committee (.3);
                     review revised proposed operational integrity
                     order (.2) and customer programs (.3).


23740207 3/1/2019    Review motion for appointment of Public                       0.20   Vora, Samir
                     Entities' Commission.


23326058 3/1/2019    Conf. w/ T. Kreller, P. Aronzon, D. Denny, R.                 1.80   Weber, Jordan A.
                     Franzoia, C. Price, M. Koch and P. Milender re
                     work streams.


23305760 3/2/2019    Research case law re (redacted) (1.8); comms.                 2.00   Denny, Daniel B.
                     w/ W. Bice re same (.2).


23305761 3/3/2019    Continue research re (redacted).                              2.90   Denny, Daniel B.


23320425 3/3/2019    Review issues re tort committee advisor                       0.60   Dunne, Dennis F.
                     selection.


23346130 3/4/2019    Conferences with Milbank team and other UCC                   1.50   Aronzon, Paul S.
                     advisors re case and UCC issues.




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23313913 3/4/2019    Review motion for public entity committee (.3);               0.60   Bice, William B.
                     discuss committee objection to same with J.
                     Wolf (.3).


23342000 3/4/2019    Participate on weekly advisors call (.5);                     1.20   Khalil, Samuel A.
                     review proposals from information and noticing
                     firms (.4); analysis of same (.3).


23343040 3/4/2019    Discuss next steps w/ C. Price (.2);                          1.40   Koch, Matthew
                     communications w/ T. Kreller, C. Price and G.
                     Bray re next steps (.2); draft agenda for
                     standing advisors call (1).


23360459 3/4/2019    Review (.7) and revise (.9) final orders on                   2.30   Kreller, Thomas R.
                     continued first day matters; internal calls
                     (.4) and corr with team re same (.3).


23355732 3/4/2019    Discuss next steps w/ M. Koch (.2);                           1.90   Price, Craig Michael
                     communications w/ T. Kreller, M. Koch and G.
                     Bray re next steps (.2); draft agenda for
                     standing advisors call (1.0); review
                     correspondence re case issues (.5).


23357052 3/4/2019    Review correspondence from M. Koch re:                        0.10   Skaliks, Christina M.
                     advisors' call.


23354297 3/4/2019    Attend advisors call.                                         0.80   Stone, Alan J.


23346027 3/5/2019    Conferences with Milbank team and other UCC                   2.40   Aronzon, Paul S.
                     advisors re remaining issues re first day
                     orders (1.1); conference with FTI re open issue
                     (.6); review case filings (.4) and research
                     materials (.3).


23327219 3/5/2019    Review slide deck for debtor diligence                        0.40   Bice, William B.
                     presentation.


23329617 3/5/2019    Team strategy call w/ T. Kreller, C. Price, M.                1.00   Denny, Daniel B.
                     Koch, R. Franzoia, E. Dexter (.5); review (.2)
                     and analyze (.3) case materials and strategy
                     memo re PGE bankruptcy.



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23357716 3/5/2019    Attend Milbank team strategy call (.5); attend                1.00   Dexter, Erin E.
                     advisors' call (.5).


23740911 3/5/2019    Internal correspondence (multiple) regarding                  1.60   Dexter, Erin E.
                     public entities committee objection.


23360502 3/5/2019    Conference call with C. Price, M. Koch, D.                    0.40   Franzoia, Rachel
                     Denny, T. Kreller, J. Weber, J. Wolf, J. Duke
                     and E. Dexter to discuss and coordinate work
                     streams (partial).


23322542 3/5/2019    Attend weekly advisors call.                                  0.40   Khalil, Samuel A.


23343048 3/5/2019    Emails w/ W. Bice re diligence meeting.                       0.30   Koch, Matthew


23343097 3/5/2019    Diligence call w/ A. Scruton (FTI), C. Price,                 7.90   Koch, Matthew
                     and T. Kreller (.3); team strategy call w/ T.
                     Kreller, D. Denny, and C. Price/Milbank team
                     (.5); attend diligence call (5.9); draft update
                     email to T. Kreller and P. Aronzon (.6); manage
                     work streams (.6).


23360469 3/5/2019    Team strategy call w/ D. Denny, and C.                        1.80   Kreller, Thomas R.
                     Price/Milbank team (.5); review case filings
                     (.6) and emails with working group re same
                     (.7).


23327933 3/5/2019    Review new filings (Butte settlement motion and               0.60   Milender, Parker
                     supplemental taxes motion).


23355748 3/5/2019    Communications w/ T. Kreller, A. Scruton (FTI),               1.20   Price, Craig Michael
                     and K. Chopra (Centerview) re draft agenda for
                     3/7 UCC call (.5); update UCC call materials
                     (.7).




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23355753 3/5/2019    Diligence call w/ A. Scruton (FTI), M. Koch,                  7.90   Price, Craig Michael
                     and T. Kreller (.3); team strategy call w/ T.
                     Kreller, D. Denny, and M. Koch/Milbank team
                     (.5); participate in diligence call (5.9);
                     draft update email to T. Kreller and P. Aronzon
                     re same (.6); review work streams with M. Koch
                     (.6).


23359316 3/5/2019    Telephonically attend diligence meeting between               4.10   Vora, Samir
                     financial advisors and committee, review
                     materials thereon


23360623 3/5/2019    Research re (redacted) (5.4); conf. w/ D. Denny               6.20   Weber, Jordan A.
                     re: corporate governance memo (.3); attend
                     Milbank team strategy call (.5).


23344446 3/5/2019    Attend Milbank strategy team call (partial).                  0.40   Wolf, Julie M.


23344453 3/5/2019    Conduct legal research re: (redacted) (1.1);                 10.20   Wolf, Julie M.
                     conduct legal research re: (redacted) (2.8);
                     conduct legal research re: (redacted) (2.1);
                     draft (redacted) (4.2).


23345474 3/6/2019    Attend team case strategy meeting (.7); prep                  0.80   Brewster, Jacqueline
                     for same (.1).


23360536 3/6/2019    Review information from Senate hearing                        1.90   Franzoia, Rachel
                     regarding PG&E bankruptcy case (1.6); email
                     exchange with Milbank team regarding same (.3).


23343155 3/6/2019    Review docket (.2); communications w/ C. Price                2.30   Koch, Matthew
                     and T. Kreller re diligence issues (.1);
                     meeting w/ E. Dexter, C. Price, and D. Denny re
                     filing issues and strategies (.6); dial into
                     day 2 of diligence meeting w/ Debtors' advisors
                     (1.4).




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23355759 3/6/2019    Communications w/ M. Koch and T. Kreller re                   1.40   Price, Craig Michael
                     diligence issues (.1); meeting w/ E. Dexter, M.
                     Koch, and D. Denny and Milbank litigation and
                     FRG re filing issues and strategies (.6); prep
                     for same (.1); participate in day 2 of
                     diligence meeting w/ Debtors' advisors (.6)
                     (partial)


23360624 3/6/2019    Research re: (redact) (4.9); draft memo re:                   8.20   Weber, Jordan A.
                     (redact) (3.3).


23346031 3/7/2019    Conferences with Milbank team and other                       4.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.9); discuss next steps w/ C. Price, T.
                     Kreller, G. Bray, and M. Koch (.4).conference
                     with other case professionals (1.2); review
                     case filings (.3); review motions filed by
                     Debtors (.9); o/c with team re open issues
                     (.7).


23741310 3/7/2019    Review correspondence re filing logistics (.4);               0.90   Ayandipo, Abayomi A.
                     review case management procedures order (.5).


23340098 3/7/2019    Review (.4) and comment on (.6) motion re                     1.00   Bice, William B.
                     public entity committee.


23741313 3/7/2019    Discuss case strategy M.Koch, and P. Aronzon.                 0.40   Bray, Gregory A.


23345483 3/7/2019    Conduct research for memo (1.7); begin drafting               2.90   Connelly, Rachael
                     memo (1.2).


23340729 3/7/2019    Discussion with J. Wolf regarding revised draft               0.10   Denny, Daniel B.
                     response re Public Entities Committee motion.


23340731 3/7/2019    Comms. with M. Koch regarding case strategy and               0.30   Denny, Daniel B.
                     pending motions (.2); comms. with T. Kreller
                     regarding hearing preparation (.1).


23357819 3/7/2019    Internal correspondence regarding (.8) and                    2.20   Dexter, Erin E.
                     edits to (1.4) objection to public entities
                     committee motion.



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23360558 3/7/2019    Review draft opposition to Motion to Appoint                  1.10   Franzoia, Rachel
                     Public Entities Committee (.8); conference with
                     D. Denny regarding same (.3).


23343169 3/7/2019    Review hedging motion (.5); draft memo re same                1.20   Koch, Matthew
                     (.7).


23343209 3/7/2019    Comms. w/ R. Franzoia re case calendar (.1);                  0.60   Koch, Matthew
                     emails w/ C. Price and D. Denny re team
                     strategy call (.1); discuss next steps w/ C.
                     Price, T. Kreller, G. Bray, and P. Aronzon
                     (.4).


23741724 3/7/2019    Discuss general case strategy and next steps w/               0.40   Kreller, Thomas R.
                     C. Price, M. Koch, G. Bray, and P. Aronzon).


23356264 3/7/2019    Emails w/ M. Koch and D. Denny re team strategy               0.50   Price, Craig Michael
                     call (.1); discuss next steps w/ M. Koch, T.
                     Kreller, G. Bray, and P. Aronzon (.4).


23346067 3/8/2019    Conferences with Milbank team and other                       2.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.4); conferences with other case professionals
                     (1.3); review case filings (.7).


23357917 3/8/2019    Attend standing advisors call.                                0.40   Dexter, Erin E.


23343268 3/8/2019    Emails w/ W. Bice re committee formation issues               0.50   Koch, Matthew
                     (.2); team strategy call w/ C. Price/Milbank
                     team (.3).


23339325 3/8/2019    Call w/ M. Koch and Milbank team re work                      0.40   Milender, Parker
                     streams (.3); prep for same (.1).


23356301 3/8/2019    Review case issues (.7); emails w/ W. Bice and                1.20   Price, Craig Michael
                     M. Koch re open issues (.2); team strategy call
                     w/ M. Koch/Milbank team (.3).


23387192 3/8/2019    Internal call regarding strategy and next                     0.40   Vora, Samir
                     steps.




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23360626 3/8/2019    Review Debtors’ pleadings (2.6); o/c w/ C.                    4.10   Weber, Jordan A.
                     Price and M. Koch re: same (1.1); o/c with T.
                     Kreller re open issues (.4).


23344642 3/8/2019    Milbank Team Call re: work streams.                           0.30   Wolf, Julie M.


23343280 3/9/2019    Emails w/ S. Khalil re prior PG&E decisions.                  0.20   Koch, Matthew


23388686 3/9/2019    Coordinate re open issues on various motions                  0.50   Leblanc, Andrew M.
                     and objections.


23356319 3/9/2019    Respond to various emails from team re case                   1.60   Price, Craig Michael
                     management (.8); t/c with M. Koch re issues
                     with orders (.1); review related first day
                     orders (.7).


23346119 3/10/2019   Review emails from Milbank team regarding                     0.50   Behrens, James C.
                     upcoming hearings and outstanding issues.


23383753 3/11/2019   Conferences with Milbank team re case and UCC                 1.80   Aronzon, Paul S.
                     issues (.7); conference with other case
                     professionals (.6); review pleadings (.4) and
                     correspondence re same (.1).


23377946 3/11/2019   Attend standing committee advisors call with                  0.50   Bice, William B.
                     Milbank (C. Price), FTI (S. Starr) and
                     Centerview (K. Chopra).


23375777 3/11/2019   Email exchanges with working group regarding                  1.50   Denny, Daniel B.
                     pending motions and Committee responses (.6);
                     teleconference with Milbank, FTI and Centerview
                     regarding weekly meeting to discuss work in
                     progress (.6); email exchange with T. Kreller
                     and others regarding hearing preparation (.3).


23365100 3/11/2019   Review advisor issues re TCC.                                 0.30   Dunne, Dennis F.


23389940 3/11/2019   Weekly conference call with advisors.                         0.50   Franzoia, Rachel




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23388662 3/11/2019   Discuss work streams w/ C. Price (.6);                        2.00   Koch, Matthew
                     coordinate work streams (.2); call w/ J. Wolf
                     re objection to public entities committee (.1);
                     UCC advisors strategy call w/ A. Scruton/FTI
                     team, K. Chopra/Centerview team, and S.
                     Khalil/Milbank team (.5); discuss work streams
                     w/ C. Price (.3); draft agenda for UCC advisor
                     call (.3).


23389163 3/11/2019   Participate in advisor call with FTI and                      1.00   Leblanc, Andrew M.
                     Centerview (.5); prep for same (.5).


23350237 3/11/2019   Attend standing advisors call w/ Milbank,                     0.40   Milender, Parker
                     Centerview and FTI teams (partial).


23377786 3/11/2019   Coordinate work streams.                                      0.40   Price, Craig Michael


23377797 3/11/2019   UCC advisors strategy call w/ A. Scruton/FTI                  0.90   Price, Craig Michael
                     team, K. Chopra/Centerview team, and S.
                     Khalil/Milbank team (.5); prep for same (.4).


23384109 3/11/2019   Attend Advisors call.                                         0.50   Stone, Alan J.


23457359 3/11/2019   Attend advisors telephone meeting regarding                   0.50   Vora, Samir
                     strategy and next steps.


23378095 3/11/2019   Attend weekly advisors call (.5); review court                6.20   Wolf, Julie M.
                     Order for Joint Administration (.3); revise
                     Opposition to PE Motion (.6);, revise
                     Opposition to PE Motion (2.6) and finalize same
                     for filing and service; corr. with D. McCracken
                     re same (.2); coordinate electronic filing and
                     delivery of chambers copies; review certificate
                     of service of Opposition (.4); review Debtors'
                     Objection to PE Motion (1.3); discuss materials
                     for 3/13 hearing on PE Motion with legal
                     assistant team (.3).


23383871 3/12/2019   Conferences with Milbank team and other UCC                   3.20   Aronzon, Paul S.
                     advisors re case and UCC issues (1.8);
                     conference with other case professionals (.8);
                     review pleadings and research materials (.6).


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23375779 3/12/2019   Team strategy calls w/ M. Koch, C. Price, E.                  0.50   Denny, Daniel B.
                     Dexter, and D. Denny and Milbank team
                     (partial).


23388708 3/12/2019   Team strategy calls w/ M. Koch, C. Price, T.                  1.20   Dexter, Erin E.
                     Kreller, and D. Denny and Milbank team (1.2).


23389942 3/12/2019   Conference call with Milbank team to discuss                  0.60   Franzoia, Rachel
                     various work streams.


23388702 3/12/2019   Team strategy calls w/ T. Kreller, C. Price, E.               1.40   Koch, Matthew
                     Dexter, and D. Denny and Milbank team (1.2);
                     call w/ A. Scruton (FTI) re next steps (.2).


23748438 3/12/2019   Team strategy calls w/ M. Koch, C. Price, E.                  1.20   Kreller, Thomas R.
                     Dexter, and D. Denny and Milbank team.


23363618 3/12/2019   Attend standing Milbank team call w/ M. Koch,                 0.30   Milender, Parker
                     C. Price, T. Kreller and team (partial).


23377829 3/12/2019   Team strategy calls w/ T. Kreller, C. Price, E.               1.20   Price, Craig Michael
                     Dexter, and D. Denny and Milbank team.


23392688 3/12/2019   Attend Milbank team strategy and planning                     0.50   Weber, Jordan A.
                     meeting (partial).


23378136 3/12/2019   Attend weekly Milbank call re: tasks and                      1.10   Wolf, Julie M.
                     upcoming deadlines (.8); meeting with A.
                     Leblanc, S. Vora, and E. Dexter re: litigation
                     tasks (.3).


23383948 3/13/2019   Conferences with Milbank team and other                       1.40   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.6); conference with other case professionals
                     (.4); review case filings (.4).


23375790 3/13/2019   Review and analyze emails regarding preparation               0.80   Denny, Daniel B.
                     for committee meeting and work in progress
                     (.5); t/c with R. Franzoia regarding court
                     hearing and pending matters (.3).




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23388756 3/13/2019   Communications w/ D. Dunne, W. Bice, and C.                   0.30   Koch, Matthew
                     Price re case updates.


23374614 3/13/2019   Correspondence with working group.                            0.50   Moses, Adam R.


23377869 3/13/2019   Prep for committee call (.8); draft emails for                1.70   Price, Craig Michael
                     committee with M. Koch (.9).


23388881 3/14/2019   Emails w/ D. Dunne and W. Ng (FTI) re diligence               2.70   Koch, Matthew
                     issues (.7); review open issues re hedging and
                     STIP motions (1.3); communications w/ G. Bray,
                     C. Price, and W. Ng (FTI) re diligence issues
                     (.7).


23383880 3/15/2019   Conferences with Milbank team and other                       1.10   Aronzon, Paul S.
                     (multiple) UCC advisors re case and UCC issues
                     (.3); review case filings and research
                     materials (.8).


23389987 3/15/2019   Conference call with Milbank team to discuss                  0.30   Franzoia, Rachel
                     status of various work streams (partial).


23388968 3/15/2019   Call w/ W. Ng (FTI) re diligence (.3);                        1.10   Koch, Matthew
                     coordinate work streams (.4); team strategy
                     call w/ L. Mandel, S. Vora, D. Denny, C.
                     Price/Milbank team (.4).


23374763 3/15/2019   Attend Milbank team strategy call.                            0.40   Milender, Parker


23380037 3/15/2019   Review work streams (.8); attend standing team                1.20   Price, Craig Michael
                     call re same (.4).


23378249 3/15/2019   Attend weekly Milbank call re: tasks and                      0.30   Wolf, Julie M.
                     upcoming deadlines (partial).


23392622 3/16/2019   Review (.3) and analyze (.1) work in progress                 0.40   Denny, Daniel B.
                     regarding pending motions, anticipated motions
                     and related matters.




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23389008 3/16/2019   Communications w/ T. Kreller and G. Bray re                   0.70   Koch, Matthew
                     case strategy (.4); emails w/ A. Scruton (FTI)
                     re diligence issues (.3).


23386947 3/17/2019   Review correspondence re: information sharing.                0.10   Khani, Kavon M.


23389036 3/17/2019   Emails w/ K. Chopra (Centerview), A. Scruton                  2.00   Koch, Matthew
                     (FTI), and T. Kreller re standing advisors call
                     (.2); call w/ L. Attard (Baker) re information
                     sharing issues (.1); call w/ K. Bostel (Weil)
                     and J. Liou (Weil) re information sharing (.4);
                     numerous communications w/ G. Bray, W. Ng
                     (FTI), and T. Kreller re same (.9);
                     communications w/ G. Bray and K. Bostel (Weil)
                     re information sharing (.4).


23754461 3/18/2019   Call w/ K. Bostel (Weil), J. Liou (Weil), and                 1.10   Bray, Gregory A.
                     M. Koch re information sharing (.4); numerous
                     communications w/ M. Koch re same (.3);
                     communications w/ M. Koch and K. Bostel (Weil)
                     re information sharing (.4).


23754483 3/18/2019   Call w/ M. Koch and T. Kreller re work streams                1.80   Bray, Gregory A.
                     (.6); review matters relating to Axiom (.4) and
                     UCC members (.8).


23413049 3/18/2019   Standing Advisors Call w/ A. Scruton (FTI), K.                1.20   Kreller, Thomas R.
                     Chopra (Centerview), Milbank team (W. Bice, J.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, L.
                     Mandel, C. Skaliks, A. Stone, S. Vora, J. Wolf)
                     (.7); emails w/ M. Koch re standing advisors
                     call (.2); comms w/ same re information sharing
                     (.3).


23418766 3/18/2019   Advisor's call w/ A. Scruton (FTI), K. Chopra                 2.10   Stone, Alan J.
                     (Centerview) and Milbank Team (W. Bice, J.
                     Beebe, G. Bray, D. Denny, K. Khani, M. Koch, T.
                     Kreller, L. Mandel, C. Skaliks, S. Vora, J.
                     Wolf) (.7); review memos (.9); review FIT deck
                     (.5).




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23408708 3/18/2019   Weekly advisors call w/ A. Scruton (FTI), K.                  0.90   Wolf, Julie M.
                     Chopra (Centerview) and Milbank Team (W. Bice,
                     J. Beebe, G. Bray, D. Denny, K. Khani, M. Koch,
                     T. Kreller, L. Mandel, C. Skaliks, A. Stone, S.
                     Vora) (.7); prep for same (.2).


23411591 3/19/2019   Call w/ Milbank Team (D. Denny, T. Kreller, L.                2.30   Aronzon, Paul S.
                     Mandel) re case and UCC issues (.4); review
                     relevant documents re same (1.0); revise UCC
                     memos and materials (.9).


23404854 3/19/2019   Review case status (.5) and review committee                  1.60   Denny, Daniel B.
                     agenda (.7); call w/ P. Aronzon, T. Kreller,
                     L. Mandel re case and UCC issues (.4).


23390146 3/19/2019   Conference call with Milbank team to discuss                  0.50   Franzoia, Rachel
                     status of various work streams.


23423513 3/19/2019   Calls w/ G. Bray and T. Kreller re work streams               0.70   Koch, Matthew
                     (.5); circulate materials for call w/ G. Bray
                     re work streams and next steps (.2).


23413013 3/19/2019   Calls w/ G. Bray and M. Koch re work streams                  1.10   Kreller, Thomas R.
                     (.5); call w/ P. Aronzon, L. Mandel and D.
                     Denny re case and UCC issues (.4); prepare for
                     same (.2).


23408682 3/19/2019   Research re: (redacted).                                      1.10   Lee, Danielle


23395829 3/19/2019   T/c w/ P. Aronzon, D. Denny, T. Kreller re case               0.60   Mandel, Lena
                     and UCC issues (.5); prep for same (.1).


23411600 3/20/2019   Conferences with G. Bray (.4) and UCC advisors                1.20   Aronzon, Paul S.
                     (.3) re UCC issues; review materials re same
                     (.5).


23754507 3/20/2019   Emails w/ M. Koch re 3/21 UCC call.                           0.20   Bray, Gregory A.


23754508 3/20/2019   Conferences w/ P. Aronzon re UCC issues.                      0.40   Bray, Gregory A.




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23423551 3/20/2019   Coordinate work streams (.2); calls w/ C. Price               0.80   Koch, Matthew
                     re open issues (.6).


23408705 3/20/2019   Research re: (redacted).                                      2.40   Lee, Danielle


23408971 3/20/2019   Calls with M. Koch re open issues (.6); review                2.10   Price, Craig Michael
                     correspondence (.3); review memos to committee
                     (1.2).


23411601 3/21/2019   Review case status (.4); review case                          1.40   Aronzon, Paul S.
                     correspondence (1).


23754533 3/21/2019   Conferences w/ P. Aronzon re status (.4);                     1.30   Bray, Gregory A.
                     review issues raised in telephone conference
                     call (.7); review issues re Axiom (.2).


23404952 3/21/2019   Review and analyze PGE first day declaration                  1.20   Denny, Daniel B.
                     and related case materials (1); t/c with J.
                     Weber regarding pending tasks and
                     responsibilities (.2)


23423583 3/21/2019   Standing call w/ J. Liou (Weil), J.                           0.50   Koch, Matthew
                     Boken(Alix), K. Chopra (Centerview), and A.
                     Scruton (FTI).


23405255 3/21/2019   Meeting with Akin and Perella re Ad Hoc group                 1.00   Leblanc, Andrew M.
                     and coordination.


23408807 3/21/2019   Research re: (redact) (4.1); summarize same                   6.80   Lee, Danielle
                     (2.7).


23408973 3/21/2019   Review recent pleadings.                                      1.00   Price, Craig Michael


23751625 3/21/2019   T/c w/ D. Denny re pending tasks and                          0.20   Weber, Jordan A.
                     responsibilities.


23411604 3/22/2019   Conferences with G. Bray (.3) and UCC advisors                0.90   Aronzon, Paul S.
                     (.2) re updates. review case filings (.4).




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23754535 3/22/2019   Call w/ M. Koch and T. Kreller re strategy                    1.00   Bray, Gregory A.
                     (.7); conferences w/ G. Bray (.3) re updates.


23404963 3/22/2019   Prepare for internal standing call regarding                  2.00   Denny, Daniel B.
                     pending matters (.6); review and analyze
                     updated task list and calendar (.1); t/c
                     regarding standing call regarding work in
                     progress (.8); analyze emails regarding
                     strategic issues and pending motions (.5).


23422661 3/22/2019   PG&E team strategy call with M. Koch, P.                      0.80   Dexter, Erin E.
                     Milender and S. Vora.


23425343 3/22/2019   Emails w/ M. Koch re team strategy call.                      0.20   Franzoia, Rachel


23423633 3/22/2019   Communications w/ W. Ng (FTI) re meeting w/                   1.50   Koch, Matthew
                     company (.2); emails w/ W. Ng (FTI) re meeting
                     w/ company (.1); comment on proposed agenda
                     (.3); call w/ G. Bray and T. Kreller re
                     go-forward strategy (.7); emails w R. Franzoia,
                     J. Wolf, and T. Kreller re team strategy call
                     (.2).


23408822 3/22/2019   Research re: (redacted).                                      5.90   Lee, Danielle


23423204 3/22/2019   Prepare for advisors call (.1); correspondence                0.30   Skaliks, Christina M.
                     re: agenda for UCC and debtors' meeting (.1);
                     correspondence re. task list (.1).


23423443 3/22/2019   Attend standing advisors call A. Scruton (FTI),               0.50   Skaliks, Christina M.
                     K. Chopra (Centerview) w/ E. Dexter, T.
                     Kreller, C. Skaliks, J. Wolf.


23754803 3/22/2019   Strategy call w/ E. Dexter, P. Milender and M.                0.30   Vora, Samir
                     Koch (.3).




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23408969 3/22/2019   Emails w/ M. Koch re team strategy call (.1);                 1.00   Wolf, Julie M.
                     attend weekly Milbank call w/ A. Scruton (FTI),
                     K. Chopra (Centerview) and Milbank Team (J.
                     Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, R. Franzoia, C. Price, A.
                     Stone) (.6); update team task list (.3).


23425344 3/23/2019   Update calendar.                                              3.60   Franzoia, Rachel


23455181 3/23/2019   Review correspondence re open issues for                      0.90   Price, Craig Michael
                     upcoming week.


23455187 3/24/2019   Review correspondence and open items (.8);                    1.70   Price, Craig Michael
                     draft open items list for coming week (.9).


23446330 3/25/2019   Summarize case status update (.5); conferences                2.10   Aronzon, Paul S.
                     with UCC advisors (.6) and other case
                     professionals (.7); review, research materials
                     (.3).


23454742 3/25/2019   Attend advisors call w/ A Scruton (FTI), K.                   0.70   Dexter, Erin E.
                     Chpra (Centerview), Milbank Team (J. Beebe, D.
                     Denny, M. Koch, T. Kreller, P. Milender, R.
                     Franzoia, C. Price, A. Stone, J. Wolf, M. Shah,
                     C. Skaliks, L. Mandel) (partrial) (.6); prep
                     for same (.1).


23754940 3/25/2019   Emails w/ M. Koch re scheduling and Committee                 0.20   Dunne, Dennis F.
                     meeting.


23459506 3/25/2019   Weekly conference call with UCC advisors w/ A.                0.60   Franzoia, Rachel
                     Scruton (FTI), K Chopra (Centerview) and
                     Milbank Team (Attend call w/ FTI (A. Scruton),
                     Centerview (K. Chopra) and Milbank Team (J.
                     Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel).




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23416738 3/25/2019   Attend standing advisors call w/ Milbank Team                 0.60   Milender, Parker
                     (Attend call w/ FTI (A. Scruton), Centerview
                     (K. Chopra) and Milbank Team J. Beebe, D.
                     Denny, E. Dexter, M. Koch, T. Kreller, R.
                     Franzoia, C. Price, A. Stone, J. Wolf, M. Shah,
                     C. Skaliks, L. Mandel), A. Scruton (FTI) and K.
                     Chopra (Centerview) team. I) and K. Chopra
                     (Centerview) team.


23439411 3/25/2019   Attend advisors call w/ A. Scruton (FTI), K.                  1.30   Price, Craig Michael
                     Chopra (Centerview) and Milbank Team (J. Beebe,
                     D. Denny, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, A. Stone, J. Wolf, M.
                     Shah, C. Skaliks, L. Mandel) (.6); prep for
                     same (.3); draft agenda for committee call with
                     M. Koch (.4).


23754951 3/25/2019   Attend Advisor call w/ FTI, Centerview and                    0.60   Shah, Manan
                     Milbank Team (J. Beebe, D. Denny, E. Dexter, M.
                     Koch, T. Kreller, P. Milender, R. Franzoia, C.
                     Price, A. Stone, J. Wolf, C. Skaliks, L.
                     Mandel).


23446520 3/25/2019   Attend weekly advisors call w/ K. Chopra                      0.60   Wolf, Julie M.
                     (Centerview), A. Scruton (FTI) and Milbank Team
                     (J. Beebe, D. Denny, E. Dexter, M. Koch, T.
                     Kreller, P. Milender, R. Franzoia, C. Price, A.
                     Stone, M. Shah, C. Skaliks, L. Mandel).


23426513 3/25/2019   Research (1.1) and summarize (3.5) (redacted).                4.60   Zimberg, Joshua


23446339 3/26/2019   Provide update to Milbank team (.5) and UCC                   2.00   Aronzon, Paul S.
                     advisors (.3); review press articles (.7);
                     review UCC materials (.5).


23754831 3/26/2019   Call w/ M. Koch re strategy (.5); conference                  1.50   Bray, Gregory A.
                     call w/ same re work streams (.5); call w/ C.
                     Price re strategy (.5).


23441521 3/26/2019   Prepare for weekly standing Milbank call (.3);                0.70   Denny, Daniel B.
                     correspondence re: open issues (.4).




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23441523 3/26/2019   Review materials re corrected declaration (.2);               0.40   Denny, Daniel B.
                     email exchange with T. Kreller regarding court
                     filings and pending matters (.2).


23754955 3/26/2019   Analyze draft omnibus committee memo regarding                1.00   Denny, Daniel B.
                     retention applications and pending motions
                     (.6); advisors call w/ Milbank Team (T.
                     Kreller, P. Milender, J. Wolf), A. Scruton
                     (FTI), K. Chopra (Centerview) (.4).


23435374 3/26/2019   Review (.1) and analyze (.3) team strategy.                   0.40   Duke, Julia C.


23457120 3/26/2019   Review email correspondence re: materials and                 0.60   Khani, Kavon M.
                     agenda for upcoming Committee call.


23432527 3/26/2019   Prepare for (.2) and call (.5) w/ G. Bray re                  1.40   Koch, Matthew
                     strategy; update task list (.4); t/c w/ T.
                     Kreller and C. Price re next steps (.3).


23454579 3/26/2019   Emails w/ M. Koch re next steps (.3); emails w/               0.50   Kreller, Thomas R.
                     D. Denny re court filings and pending matters
                     (.2).


23460330 3/26/2019   Analyze general case strategy and next steps.                 0.60   Weber, Jordan A.


23455070 3/27/2019   Call with FTI and CV re open issues.                          1.20   Price, Craig Michael


23754958 3/27/2019   Emails w/ M. Koch re UCC Call.                                0.10   Shah, Manan


23755094 3/28/2019   Emails w/ R. Franzoia re UCC telephonic                       0.20   Denny, Daniel B.
                     meeting.


23755095 3/28/2019   Discuss case strategy w/ C. Price and G. Bray.                1.20   Kreller, Thomas R.



23439488 3/28/2019   Revise limited objection (.4); discuss case                   1.60   Price, Craig Michael
                     strategy with T. Kreller and G. Bray (1.2).




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23754839 3/29/2019   Email exchanges w/ D. Denny re hearing                        2.80   Bray, Gregory A.
                     transcript and strategic issues (.2);
                     conference call w/ R. Franzoia to discuss
                     various work streams (.7); call w/ J. Wolf re
                     task list and deadlines (.6); review new
                     pleadings filed (.8); review next steps (.5).


23441489 3/29/2019   Review emails regarding pending motions and                   1.00   Denny, Daniel B.
                     diligence (.5); email exchange with J. Wolf re
                     response to hedging motion (.1); review March
                     27 hearing regarding open issues with tort
                     claimants (.4).


23454982 3/29/2019   Review Pimco proposal.                                        0.60   Dunne, Dennis F.


23457286 3/29/2019   Review correspondence re: case updates (.1);                  0.40   Khani, Kavon M.
                     review response to TCC's reimbursement
                     procedures (.3).


23755351 3/29/2019   O/c w/ C. Price re procedures for reimbursement               0.20   Kreller, Thomas R.
                     memo.


23446702 3/29/2019   Call w/ G. Bray re task list and deadlines                    1.40   Wolf, Julie M.
                     (.6); update task list re: hedging objection
                     (.8).




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23354416 3/4/2019    Review issues re March 13 hearing.                            0.80   Bray, Gregory A.


23329606 3/4/2019    Attend 341(a) meeting of creditors.                           2.00   Denny, Daniel B.


23343028 3/4/2019    Revise draft stipulation (.2) and proposed                    0.40   Koch, Matthew
                     order (.1) re 3/12 and 3/13 hearings;
                     communications w/ C. Price and T. Kreller re
                     same (.1).


23355724 3/4/2019    Revise draft stipulation (.3) and proposed                    0.60   Price, Craig Michael
                     order (.2) re 3/12 and 3/13 hearings;
                     communications w/ M. Koch and T. Kreller re
                     same (.1).


23354418 3/5/2019    Review materials in preparation for March 13                  1.10   Bray, Gregory A.
                     hearing.


23354356 3/6/2019    Review materials re March 13 hearing (.9);                    1.20   Bray, Gregory A.
                     internal correspondence re same (.3).


23354358 3/7/2019    Review materials for March 13 hearing.                        0.80   Bray, Gregory A.


23741726 3/8/2019    Review materials for 5/13 hearing.                            1.60   Ayandipo, Abayomi A.


23354359 3/8/2019    Review materials for March 13 hearing (1.3);                  1.60   Bray, Gregory A.
                     emails w/ T. Kreller re same (.3).


23343295 3/10/2019   Emails w/ T. Kreller re 3/12 hearing (.1);                    2.00   Koch, Matthew
                     numerous communications w/ D. Dunne, S. Khalil,
                     P. Sandler (Cravath), M. Goren (Weil), and C.
                     Price re 3/12 and 3/13 hearings (1.9).


23383755 3/11/2019   Prepare for and attend court hearing (.5); prep               0.60   Aronzon, Paul S.
                     for same (.1).


23377792 3/11/2019   Telephonically attend FERC adversary hearing.                 0.50   Price, Craig Michael


23383867 3/12/2019   Prepare for (.6) and attend (.4) court hearing.               1.00   Aronzon, Paul S.




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23385560 3/12/2019   Review pleadings in prep for 3/13 hearing (.9);               1.10   Dunne, Dennis F.
                     corr. with S. Karotkin (Weil) re same (.2).


23389979 3/12/2019   Prepare for (.6) and attend (.4) March 13                     1.00   Franzoia, Rachel
                     omnibus hearing on public entities motion, DIP
                     motion, and other continued first day motions.


23387170 3/12/2019   Travel to SFO for omnibus hearing and review                  2.80   Kreller, Thomas R.
                     court filings and prep for hearing en route.


23387379 3/12/2019   Attend omnibus hearing on customer programs                   0.50   Kreller, Thomas R.
                     motion.


23377832 3/12/2019   Participate in omnibus hearing (.4); prep for                 0.60   Price, Craig Michael
                     same (.2).


23383947 3/13/2019   Prepare for (1.0) and attend (3.0) court                      4.00   Aronzon, Paul S.
                     hearing.


23384585 3/13/2019   Attend hearing (3); draft and distribute                      3.80   Duke, Julia C.
                     summary of same (.8).


23386217 3/13/2019   Review summary of 3/13 hearing.                               0.30   Dunne, Dennis F.


23388783 3/13/2019   Telephonically attend (partial) 3/13 omnibus                  2.20   Koch, Matthew
                     hearing.


23386738 3/13/2019   Prep for (3.0) and attend (3.8) omnibus                       6.80   Kreller, Thomas R.
                     hearing.


23389158 3/13/2019   Telephonically participate (partial) in omnibus               1.60   Leblanc, Andrew M.
                     hearing.


23377985 3/13/2019   Participate in court hearing re first day                     0.80   Price, Craig Michael
                     motions (partial).


23752380 3/13/2019   Telephonically attend omnibus hearing re: DIP                 3.80   Wolf, Julie M.
                     Motion and Public Entities Committee Motion.




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23385677 3/14/2019   Review materials in preparation for March 14                  2.30   Bray, Gregory A.
                     hearing.


23423514 3/19/2019   Emails w/ W. Bice (.1), K. Bostel (Weil) (.1),                0.30   Koch, Matthew
                     and T. Kreller (.1) re upcoming hearings.


23754056 3/19/2019   Emails w/ M. Koch re upcoming hearings.                       0.10   Kreller, Thomas R.


23418748 3/22/2019   Prepare for hearing—review DIP issues (2.0) and               3.00   Bray, Gregory A.
                     by law issues (1.0).


23420067 3/24/2019   Review TCC's filing re settlement funding                     0.20   Dunne, Dennis F.
                     motion.


23455039 3/25/2019   Review materials for court hearing (1.3);                     4.00   Bray, Gregory A.
                     prepare for meeting next week (.7); strategize
                     next steps (.8); review anticipated pleadings
                     (1.2).


23455041 3/26/2019   Review issues raised in court hearings (2.1);                 2.40   Bray, Gregory A.
                     review relevant pleadings re same (.3).


23454545 3/26/2019   Review court filings (1.1); prep for 3/27                     2.10   Kreller, Thomas R.
                     omnibus hearing matters (1.0).


23455043 3/27/2019   Review (.2) and revise (1.4) draft pleadings;                 3.20   Bray, Gregory A.
                     prepare for upcoming hearings (.9); review next
                     steps (.7).


23432566 3/27/2019   Attend omnibus hearing (1.3); review related                  1.70   Koch, Matthew
                     materials (.4).


23454550 3/27/2019   Attend 3/27 omnibus hearing re NOL trading                    2.60   Kreller, Thomas R.
                     order, final DIP financing and other agenda
                     items (1.3); prep for same (1.3).


23455045 3/28/2019   Review agenda for meeting next week (1.4);                    3.20   Bray, Gregory A.
                     review new pleadings (.8); review court hearing
                     issues (1.0).




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23308322 3/1/2019   Review PG&E criminal case docket.                         0.20    Benz, Stephen


23314326 3/1/2019   Review recent filings in the PG&E criminal case           1.70    Wu, Julia S.
                    docket (.8) and; summarize same for team (.9).


23324979 3/2/2019   Review recent court filings in San Bruno                  0.60    Ayoub, Emile G.
                    criminal proceeding (.3); correspond with team
                    re same (.3).


23309397 3/2/2019   Communication with D. Dunne, A. LeBlanc, T.               0.20    Bice, William B.
                    Kreller, G. Bray, and P. Aronson re CPUC rights
                    of public entities.


23360484 3/4/2019   Review recent court filings in San Bruno                  0.50    Ayoub, Emile G.
                    criminal proceeding (.1); correspond with
                    Milbank team re same (.4).


23360499 3/6/2019   Review recent court filings in San Bruno                  0.20    Ayoub, Emile G.
                    criminal proceeding (.1); comms. with J. Wu re
                    same (.1).


23741302 3/6/2019   Review materials re probation order.                      0.20    Bice, William B.


23350294 3/6/2019   Review and analysis of Jude Alsup’s revised               1.50    Khalil, Samuel A.
                    addditional probation conditions re PG&E (1.1);
                    corresp. w/ internal team re: same (.4).


23343142 3/6/2019   Review show cause order in criminal proceeding.           0.40    Koch, Matthew


23346952 3/6/2019   Comms. with E. Ayoub regarding new filings on             0.90    Wu, Julia S.
                    the PG&E criminal case docket (.2); draft email
                    to C. Price and M. Koch regarding updated
                    filings (.7).


23360507 3/7/2019   Review recent court filings in San Bruno                  0.20    Ayoub, Emile G.
                    criminal proceeding (.1); correspond with team
                    re same (.1).




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23356307 3/7/2019    Review recent docket updates in the criminal               3.30   Benz, Stephen
                     liability case (.9); update standing internal
                     memo re Judge Alsup's proposed Second Order to
                     Show Cause re modification of PG&E's Probation
                     (2.4).


23340092 3/7/2019    Review Judge Alsup probation ruling.                       0.40   Bice, William B.


23344648 3/8/2019    Review J. Alsup proposed revised additional                3.50   Wolf, Julie M.
                     conditions to PG&E probation order (1.4);
                     revise draft memorandum re Company criminal
                     liability and exposure to incorporate revised
                     probation conditions (2.1).


23748161 3/11/2019   Review (1.8) and revise (2.2) memoranda                    4.00   Vora, Samir
                     regarding PG&E criminal and civil liability
                     exposure.


23378172 3/13/2019   Review Sonoma District Attorney office press               5.00   Wolf, Julie M.
                     release: re district attorney criminal charges
                     (.3); revise memorandum re criminal exposure to
                     incorporate same (.8); review Bankruptcy Court
                     order and pleadings from 2001 bankruptcy of
                     PG&E re: Rate with S. Vora re inverse
                     condemnation research (2.2); correspond w/ with
                     S. Benz and J. Wu (.3) re same; revise and
                     incorporate edits to memorandum re criminal
                     exposure (1.4).


23384195 3/14/2019   Attend committee call (partial).                           1.00   Stone, Alan J.


23392600 3/15/2019   Review criminal case docket for updated                    0.10   Wu, Julia S.
                     filings.


23378377 3/17/2019   Revise memoranda re criminal liability and                 0.60   Wolf, Julie M.
                     civil liability.




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23419989 3/18/2019   Research case law regarding (redacted) (2);                6.20   Wu, Julia S.
                     edit memo re same (3.1); discuss with E. Ayoub
                     applicability of statutes (.2); call with E.
                     Ayoub and M. Capolino regarding revisions to
                     the memo (.5); call with M. Capolino regarding
                     revising memo (.2); research re: (redacted)
                     (.2).


23401715 3/19/2019   Review Milbank memorandum on criminal law                  0.70   Bice, William B.
                     proceedings.


23426055 3/20/2019   Review San Bruno memo.                                     0.70   Dunne, Dennis F.


23457384 3/20/2019   Review (.2) and revise talking points for                  3.00   Vora, Samir
                     criminal exposure memorandum (.3); research
                     regarding (redacted) (2.5).


23408792 3/20/2019   Draft talking points re: Company criminal                  2.70   Wolf, Julie M.
                     liability and exposure (1.2); research
                     (redacted) (1.5).


23755352 3/21/2019   Prepare for weekly committee call discussion of            0.80   Wolf, Julie M.
                     criminal exposure.


23422659 3/22/2019   Review recent court filings in San Bruno                   0.50   Ayoub, Emile G.
                     criminal proceeding.


23420902 3/22/2019   Review recent filings in the San Bruno criminal            0.30   Khani, Kavon M.
                     proceeding.


23419921 3/22/2019   Draft email summarizing criminal docket                    2.60   Wu, Julia S.
                     filings.


23754813 3/26/2019   Draft talking points on criminal proceeding for            0.70   Wolf, Julie M.
                     Committee call.


23446556 3/27/2019   Prepare materials for 4/2 criminal proceeding              0.50   Wolf, Julie M.
                     hearing on order to show cause.


23446705 3/29/2019   Review materials and docket re: hearing on                 0.40   Wolf, Julie M.
                     Order to Show Cause.


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23329605 3/4/2019    Travel to and from San Francisco for 341(a)                4.00   Denny, Daniel B.
                     meeting.


23389978 3/12/2019   Travel from Los Angeles to San Francisco for               3.00   Franzoia, Rachel
                     March 13 omnibus hearing.


23389944 3/13/2019   Return travel time to Los Angeles following                4.50   Franzoia, Rachel
                     March 13 omnibus hearing in San Francisco.


23386741 3/13/2019   Return travel from omnibus hearing.                        2.50   Kreller, Thomas R.


23404863 3/18/2019   Travel time for STIP deposition.                           2.50   Denny, Daniel B.


23404857 3/19/2019   Travel time from STIP deposition.                          2.50   Denny, Daniel B.


23405235 3/19/2019   Travel to and from New York for meeting with               4.50   Leblanc, Andrew M.
                     FTI.


23457380 3/19/2019   Travel to NY for meeting with FTI on wildfire              3.00   Vora, Samir
                     claims.


23404951 3/21/2019   Travel time to (2.1) and from Friske deposition            4.00   Denny, Daniel B.
                     (1.9).


23457390 3/21/2019   Return travel to D.C.                                      2.50   Vora, Samir


23454592 3/27/2019   Travel home following omnibus hearing                      3.00   Kreller, Thomas R.




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23319997 3/1/2019    Review CPUC hearings.                                      1.70   Dunne, Dennis F.


23323572 3/1/2019    Review De-energization filings (.9); review                1.60   Seeley, Henry
                     SB901 filings (.7).


23313916 3/4/2019    Review hearing transcript for Wildfire                     0.40   Bice, William B.
                     Mitigation Plan proceeding.


23355910 3/4/2019    Review docket updates to General Rate Case                 1.80   Seeley, Henry
                     (.2), SB901 Rulemaking (.8), De-Energization
                     Proceeding (.3) and Wildfire Cost Recovery
                     (.5).


23355983 3/5/2019    Update CPUC sections of CPUC and FERC summary              0.60   Seeley, Henry
                     document.


23356009 3/6/2019    Final review of CPUC summary for circulation to            0.50   Seeley, Henry
                     PG&E working group.


23342029 3/8/2019    Review filings in safety culture proceeding at             3.00   Bice, William B.
                     CPUC (2.3); draft summary of safety culture
                     proceeding for OCC (.5); respond to question
                     from J. Weber on CPUC input into Board
                     selection/proxy contest (.2).


23343260 3/8/2019    Emails w/ H. Seeley re CPUC proceedings.                   0.20   Koch, Matthew


23356103 3/8/2019    Review (.8) and update (.9) summary for                    1.70   Seeley, Henry
                     circulation to UCC.


23379264 3/12/2019   Comms. w/ H. Seely regarding committee memo on             0.20   Bice, William B.
                     CPUC proceedings.


23387477 3/12/2019   Review docket filings in SB901,                            1.70   Seeley, Henry
                     De-Energization, Safety Proceeding, and General
                     Rate Case (.9). draftsummary re filings (.8).


23386220 3/13/2019   Attend meeting with A. Kornberg and B. Hermann             1.20   Dunne, Dennis F.
                     (CPUC) re case developments and paths forward.




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23387575 3/15/2019   Review docket updates re SB901 proceeding (.8);            1.10   Seeley, Henry
                     review docket updates to de-energization
                     proceeding (.3).


23387832 3/16/2019   Review news articles and public filings re:                2.40   Seeley, Henry
                     CPUC.


23401708 3/19/2019   Review filings in CPUC docket for Wildfire                 1.20   Bice, William B.
                     Mitigation Plans (.6); review SDG&E objection
                     to public participation in wildfire cost
                     hearing (.2); review (.2) and comment (.2) on
                     H. Seeley memo on new filings in CPUC
                     proceedings.


23422415 3/19/2019   Review docket updates for CPUC proceedings                 1.80   Seeley, Henry
                     (1.1); update weekly summary (.7).


23422576 3/21/2019   Review CPUC docket updates.                                0.60   Seeley, Henry


23754953 3/21/2019   Correspondence w/ W. Bice re update to                     0.10   Seeley, Henry
                     committee memo on proceeding.


23411879 3/22/2019   Review docket entries for Wildfire Plan                    0.40   Bice, William B.
                     proceeding (.3); correspondence with H. Seeley
                     on update to committee memo on proceeding (.1).


23422689 3/23/2019   Review PG&E reply comments to wildfire                     1.20   Seeley, Henry
                     mitigation plan comments.


23438948 3/26/2019   Review reply comments of PG&E in Wildfire                  0.80   Bice, William B.
                     Mitigation Proceeding.


23455894 3/26/2019   Review materials re: weekly updates regarding              3.40   Seeley, Henry
                     SB901 (2.5), safety Culture (.1), and
                     de-energization (.8).


23460217 3/27/2019   Prepare for upcoming Commission meeting re                 0.10   Ayoub, Emile G.
                     wildfires.


23460221 3/28/2019   Coordinate w/ J. Wu re attending California’s              0.20   Ayoub, Emile G.
                     Commission on Wildfire meeting.


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23438993 3/28/2019   Review filings in CPUC safety culture                    0.40   Bice, William B.
                     proceeding (.2); review revisions to CPUC
                     proceedings memo to committee (.2).


23755126 3/29/2019   Communicate substance of AB 740 w/ W. Bice.              0.10   Dunne, Dennis F.




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23345646 3/5/2019    Meet with L. Orengo re: FERC jurisdictional                2.40   Liles, James
                     matters (.4); follow up meeting with L. Orengo
                     re same (.1); email exchanges with W. Bice re:
                     internal team call to discuss FERC declaratory
                     orders on jurisdiction (.1); review memo to
                     Committee re intervention in FERC proceedings
                     (.3); research (redacted) (.2); review outline
                     of draft briefing issues for FERC adversary
                     proceeding (.4); email to W. Bice re same (.5);
                     email exchange with W. Bice re query on FERC
                     jurisdictional issue (.4).


23355987 3/5/2019    Update weekly summary chart for FERC                       0.30   Seeley, Henry
                     transmission rate case.


23356249 3/6/2019    Review FERC docket filings.                                0.50   Seeley, Henry


23742833 3/9/2019    Revise FERC petition (.9); internal                        1.30   Nolan, Michael D.
                     communication re same (.4).


23387182 3/11/2019   Review (.3) and revise (.2) reply in support of            0.80   Kreller, Thomas R.
                     preliminary injunction re FERC jurisdiction and
                     calls and corr with team re same (.3).


23385552 3/11/2019   Work on FERC petition (.8); internal discussion            1.00   Nolan, Michael D.
                     of bankruptcy draft pleadings (.2).


23387158 3/14/2019   Review (.4) and revise motion to intervene in              0.80   Kreller, Thomas R.
                     FERC proceedings (.2); corr with team re same
                     (.2)


23385548 3/14/2019   Coordinate with K. Aitelaj and J. Liles re:                0.50   Nolan, Michael D.
                     filing of FERC motions to intervene.


23389372 3/15/2019   Email from T. Kreller re: coordination on                  0.10   Liles, James
                     governmental filings.


23387574 3/15/2019   Review of filings to the PG&E transmission rate            0.10   Seeley, Henry
                     case.




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23422409 3/19/2019   Review FERC docket updates (.5); update weekly            0.60   Seeley, Henry
                     summary (.1).


23460206 3/26/2019   Review recent FERC regulatory filing (.1);                0.20   Ayoub, Emile G.
                     review FERC Commission meeting re wildfire
                     plans (.1).


23446297 3/26/2019   Review email notifications from FERC re:                  0.30   Liles, James
                     tolling orders in NextEra and Exelon dockets
                     (.1); forward FERC tolling orders to Milbank
                     FERC team (.1); meeting with M. Nolan re:
                     discussion of FERC rehearing tolling orders and
                     outlook for later action (.1).


23444207 3/26/2019   Review FERC action on rehearing application               1.00   Nolan, Michael D.
                     (.9); meeting w/ J. Liles re discussion of FERC
                     rehearing tolling orders and outlook for later
                     action (.1).




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23308083 3/1/2019   Perform conflicts review (5.1); meet w/ C.                   5.40   Lee, Danielle
                    Price and D. Lee re same (.3).


23320070 3/1/2019   Review conflicts results (2.4); meeting w/ C.                2.70   Price, Craig Michael
                    Price and D. Lee re same (.3).


23320376 3/2/2019   Review Axiom's position re conflicts (.3);                   0.70   Dunne, Dennis F.
                    confs. with A. Scruton (FTI) re same (.2);
                    review response to same (.2).


23308087 3/3/2019   Perform conflicts review (1.7); internal comms.              2.00   Lee, Danielle
                    re: same (.3).


23362471 3/3/2019   Review conflict check analysis.                              2.10   Price, Craig Michael


23338533 3/4/2019   Review Axiom engagement (.3); confs. with FTI                0.90   Dunne, Dennis F.
                    (C. MacDonald, S. Starr, A. Scruton) re:
                    alternatives and recommendations (.4); review
                    Axiom retention issues (.2).


23343029 3/4/2019   Perform rule 2014 review re Milbank retention                3.10   Koch, Matthew
                    (2.4); t/c with C. Price re conflict issues and
                    research re same (.7).


23343053 3/4/2019   Continue conflicts review.                                   6.60   Lee, Danielle


23355744 3/4/2019   Conflicts review (2.2); o/c with T. Lomazow re               3.20   Price, Craig Michael
                    conflicts issues (.3); o/c with M. Koch re
                    research i/c/w conflict issues (.7).


23338771 3/5/2019   Conf. with S. Karotkin (Weil) and A. Leblanc re              0.30   Dunne, Dennis F.
                    retention of professionals.


23343095 3/5/2019   Review update re potential advisor retention.                0.10   Koch, Matthew


23346263 3/5/2019   Call with D. Dunne and S. Karotkin (Weil) re re              0.60   Leblanc, Andrew M.
                    retention of professionals (.3); review
                    materials re same (.3).


23343111 3/5/2019   Perform conflicts review.                                    8.10   Lee, Danielle



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23355756 3/5/2019   Meeting with team re conflicts review (1.1);                 3.30   Price, Craig Michael
                    review related conflict materials (2.2).


23359018 3/6/2019   Team meeting re conflict search process.                     0.50   Adeyosoye, Adeola O.


23741300 3/6/2019   Review retention materials (.4); o/c with C.                 0.50   Aronzon, Paul S.
                    Price re same (.1).


23343532 3/6/2019   Perform conflicts review (7.9); team meeting re              8.50   Lee, Danielle
                    same (.5); internal correspondence re same
                    (.1).


23355760 3/6/2019   Review conflicts materials (2.7); team meeting               3.20   Price, Craig Michael
                    re same (.5).


23329159 3/6/2019   Perform conflicts review (7.3); team meeting re              7.80   Zimberg, Joshua
                    same and next steps (.5).


23355495 3/7/2019   Confs. with A. Scruton re Compass (.2); review               0.40   Dunne, Dennis F.
                    scope of terms re same (.2).


23343508 3/7/2019   Perform conflicts review.                                    4.40   Lee, Danielle


23356284 3/7/2019   Review conflict materials (2.1); comms. with A.              2.50   Price, Craig Michael
                    Adeyosoye re same (.4).


23336215 3/7/2019   Perform conflicts review (6.2); correspond w/                6.50   Zimberg, Joshua
                    C. Price re same (.3).


23355648 3/8/2019   Review update from Axiom (.4); confs. with Epiq              0.90   Dunne, Dennis F.
                    re discount (.3); review counter (.2).


23343540 3/8/2019   Perform conflicts search.                                    8.10   Lee, Danielle


23339328 3/8/2019   Draft Epiq retention application.                            2.50   Milender, Parker


23356317 3/8/2019   Review conflict materials (2.7); t/c with team               3.50   Price, Craig Michael
                    re same (.8).




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23355673 3/9/2019    Review tort committee retention of advisors                  0.70   Dunne, Dennis F.
                     (.2); review fee app preparation (.5).


23355684 3/10/2019   Review position of Axiom (.3); review Epiq                   0.70   Dunne, Dennis F.
                     retention terms (.2); memo to UCC re same (.2).


23343308 3/10/2019   Emails w/ C. MacDonald (FTI) re potential                    0.20   Koch, Matthew
                     retention issues.


23377968 3/11/2019   Review draft Axiom retention letter (.6) and                 0.70   Bice, William B.
                     comment on same (.1).


23365101 3/11/2019   Review FTI's draft retention application and                 0.60   Dunne, Dennis F.
                     disclosures.


23388652 3/11/2019   Bankruptcy rule 2014 review (2.5); call w/ P.                2.60   Koch, Matthew
                     Milender re noticing agent retention (.1).


23363468 3/11/2019   Perform conflicts search.                                    6.90   Lee, Danielle


23350241 3/11/2019   Revise Epiq fee application.                                 1.60   Milender, Parker


23377795 3/11/2019   Perform conflicts review (2.0); revise                       2.80   Price, Craig Michael
                     retention application (.8).


23392636 3/11/2019   Emails re Centerview retention application                   0.60   Weber, Jordan A.
                     (.2); review Centerview comments and circulate
                     the same to Milbank team (.4).


23748432 3/12/2019   Review issues re Axiom.                                      1.70   Bray, Gregory A.


23375782 3/12/2019   Conference with J. Weber and J. Anderson                     0.50   Denny, Daniel B.
                     (partial) regarding Centerview engagement
                     letter.


23385557 3/12/2019   Review Axiom retention and next steps (.3);                  1.10   Dunne, Dennis F.
                     confs. with A. Scruton, M. Eisenband, and S.
                     Starr (FTI) re FTI disclosures (.3); review
                     same (.2); review Milbank searches and conflict
                     results (.3). .



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23388682 3/12/2019   Mark up potential consultant engagement letter               1.00   Koch, Matthew
                     (.8); call w/ A. Scruton (FTI) re retention
                     issues (.2).


23389195 3/12/2019   Conference with A. Scruton, M. Eisenband, and                0.60   Leblanc, Andrew M.
                     S. Star (FTI) re: FTI retention issues (.3);
                     review same (.3).


23368301 3/12/2019   Perform conflicts review.                                    2.50   Lee, Danielle


23377822 3/12/2019   Revise Axiom engagement letter.                              0.80   Price, Craig Michael


23377823 3/12/2019   Call w/ A. Scruton (FTI) re retention issues.                0.20   Price, Craig Michael


23377833 3/12/2019   Review conflict materials (1.9); review                      2.80   Price, Craig Michael
                     retention issues (.9).


23392646 3/12/2019   Call with W. Graham (Centerview) regarding                   0.30   Weber, Jordan A.
                     comments to retention app.


23389659 3/13/2019   Corresp with C. Price and D. Lee re status of                0.50   Adeyosoye, Adeola O.
                     retention application.


23379532 3/13/2019   Complete review of Axiom engagement letter.                  0.10   Bice, William B.


23748462 3/13/2019   Review of Axiom engagement letter.                           0.40   Bray, Gregory A.


23388813 3/13/2019   Emails w/ C. MacDonald (FTI) re retention                    3.10   Koch, Matthew
                     issues (.2); perform rule 2014 review (2.9).


23368407 3/13/2019   Review materials for conflicts search.                       7.20   Lee, Danielle


23748640 3/13/2019   Revise retention application (1.9); review                   7.30   Price, Craig Michael
                     conflict materials (3.4); review conflict
                     materials (2.0).


23363460 3/13/2019   Perform conflicts review.                                    1.90   Zimberg, Joshua


23748734 3/14/2019   Review issues related to Axiom retention.                    1.40   Bray, Gregory A.



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23375840 3/14/2019   Review debtors retention applications (.2);                 0.30    Denny, Daniel B.
                     email exchanges with M. Koch and working group
                     re analysis of same (.1).


23388896 3/14/2019   Revise Milbank retention app (1.2); revise                  3.00    Koch, Matthew
                     Milbank retention app (1.1); communications w/
                     C. MacDonald (FTI) and C. Price re retention
                     issues (.2); call w/ S. Garabato (Epiq) and P.
                     Milender re services agreement (.5).


23368442 3/14/2019   Review materials in connection with conflicts               4.90    Lee, Danielle
                     search


23372177 3/14/2019   Call w/ S. Garabato (Epiq) and M. Koch re:                  1.00    Milender, Parker
                     retention application (.5); draft comments to
                     Epiq services agreement (.5).


23377844 3/14/2019   Conflict review (2.1); finalize retention                   4.00    Price, Craig Michael
                     application (1.9).


23404971 3/15/2019   Communicate with M. Koch re: Milbank retention              0.40    Behrens, James C.
                     application.


23748921 3/15/2019   Review Axiom issues.                                        1.40    Bray, Gregory A.


23388972 3/15/2019   Communications w/ G. Bray and C. Price re third             5.40    Koch, Matthew
                     party retention issues (.5); revise Milbank
                     retention app (3.9); perform rule 2014 review
                     (1).


23748923 3/15/2019   Review and analyze debtors fee applications                 2.80    Kreller, Thomas R.
                     (.9); corr with team re same (.2); revise
                     Milbank employment applications and related
                     disclosures (1.2); calls and corr with team re
                     same (.5).


23377676 3/15/2019   Update conflict search results for retention                2.80    Lee, Danielle
                     Application.


23379103 3/15/2019   Research re retention of certain professionals              0.90    Mandel, Lena
                     (.7); conference with C. Price re results (.2).


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23380035 3/15/2019   Review conflict check results (2.7) and                     4.10    Price, Craig Michael
                     retention application issues (1.2); conf. with
                     C. Price re results of research re same (.2).


23404940 3/16/2019   Communicate with D. Denny re: Centerview                    2.20    Behrens, James C.
                     engagement letter (.4); review Centerview
                     engagement letter and related correspondence
                     (1.3); multiple t/cs with D. Denny re
                     Centerview engagement (.5).


23379659 3/16/2019   Correspond with M. Koch re: Axiom retention                 0.60    Bice, William B.
                     (.2); call with H. Seeley re same (.2); review
                     draft email by H. Seeley regarding Axiom (.2).


23392620 3/16/2019   Email exchanges w/ G. Bray and working group re             1.20    Denny, Daniel B.
                     Axiom retention application and related issues
                     (.2); t/c with R. Franzoia regarding Axiom
                     retention application (.2); t/c with J. Behrens
                     (multiple) regarding Centerview engagement
                     (.5); review and analyze revised draft
                     Centerview engagement letter (.3)


23389006 3/16/2019   Communications w/ G. Bray, C. MacDonald (FTI),              1.50    Koch, Matthew
                     and J. Behrens re third party retention app
                     (.3); research re (redacted) (1.2).


23374986 3/16/2019   Review issues re: Epiq retention applications.              0.40    Milender, Parker


23404930 3/17/2019   Communicate with Milbank team re: Centerview                0.20    Behrens, James C.
                     engagement letter.


23390044 3/17/2019   Research regarding (redacted) (2.9); prepare                4.10    Franzoia, Rachel
                     (redacted) (1.2).


23377205 3/17/2019   Revise Epiq retention application.                          0.20    Milender, Parker


23755336 3/18/2019   T/c w/ D. Denny re Centerview engagement.                   0.20    Anderson, Jason T.




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23404934 3/18/2019   Review and revise Centerview employment                    2.00    Behrens, James C.
                     application (.5) and Centerview engagement
                     letter (1.2); conf w/ D. Denny re Centerview
                     engagement letter and retention application
                     (.3).


23401726 3/18/2019   Review (.3) and comment (.5) on Milbank                    1.80    Bice, William B.
                     retention application; research disinterested
                     transaction standard (.8); emails w/ M. Koch re
                     Milbank retention application (.2).


23404861 3/18/2019   Conference with J. Behrens re Centerview                   0.50    Denny, Daniel B.
                     engagement letter and retention application
                     (.3); conference with R. Franzoia re Axiom
                     retention application (.2).


23386295 3/18/2019   Review Milbank retention papers (.8); emails w/            0.90    Dunne, Dennis F.
                     M. Koch re retention application (.1).


23390222 3/18/2019   Continue to research (redacted) (6.1); draft               9.30    Franzoia, Rachel
                     UCC's Application to Employ Axiom Advisors (3);
                     conference w/ D. Denny re Axiom retention
                     application (.2).


23423501 3/18/2019   Draft Centerview retention app (1); revise                 4.40    Koch, Matthew
                     Milbank retention app (1.7); communications w/
                     W. Graham (Centerview) re Centerview retention
                     (.5); emails w/ D. Dunne, W. Bice, and K. Wong
                     re Milbank retention app (.4); revise app (.7).
                     correspond w/ L. Mandel re Epiq retention
                     application (.1).


23407092 3/18/2019   Review results of conflicts search.                        0.50    Lee, Danielle


23385091 3/18/2019   Review (.3) and revise (.9) Epiq retention                 2.80    Mandel, Lena
                     application; correspond with P. Milender and M.
                     Koch re same (.2); review (.4) and revise (1)
                     Milbank's retention application and related
                     declaration.


23425026 3/19/2019   Review Centerview engagement letter.                       0.40    Anderson, Jason T.




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23404920 3/19/2019   Review Centerview engagement letter (.4); comms            6.00    Behrens, James C.
                     w/ G. Bray re same (.4); calls and emails with
                     Centerview re: same (1.2); research case law
                     for (redacted) (2.5); revise Centerview
                     employment application (1.5).


23754498 3/19/2019   Comms w/ J. Behrens re Centerview engagement               0.90    Bray, Gregory A.
                     letter (.4); review same (.5).


23404856 3/19/2019   Teleconference with R. Franzoia re Axiom                   0.50    Denny, Daniel B.
                     retention app.


23390204 3/19/2019   Review Debtors' application to employ Lazard as            6.50    Franzoia, Rachel
                     investment banker (.6); review Debtors' Weil
                     application (.4); review Debtors' AP Services
                     application (.5); review Prime Clerk
                     application (.2); review Jenner & Block
                     application (.2); review Debtors' application
                     to employ Keller & Benvenutti (.3); research
                     regarding (redacted) (3.1); draft email to G.
                     Bray and T. Kreller regarding the same (.7);
                     phone call with D. Denny regarding the same
                     (.5).


23423521 3/19/2019   Revise Milbank retention app (1.5); draft                  3.20    Koch, Matthew
                     Centerview retention app (1.4); review local
                     rules (.1); t/c w/ C. Price re retention
                     application (.2)


23395899 3/19/2019   Further review Epiq retention application.                 0.80    Milender, Parker


23409081 3/19/2019   Review issues with retention application (.9);             1.10    Price, Craig Michael
                     t/c with M. Koch re same (.2).


23425032 3/20/2019   Review Centerview engagement letter (1.0);                 1.20    Anderson, Jason T.
                     emails w/ M. Koch re Centerview retention (.2).


23404907 3/20/2019   Telephone conference with Centerview and G.                1.20    Behrens, James C.
                     Bray regarding Centerview engagement letter.




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23754509 3/20/2019   T/c w/ Centerview and J. Behrens re Centerview              2.40    Bray, Gregory A.
                     engagement letter (1.2); review Axiom retention
                     issues (.6); calls w/ UCC members re same (.6).


23404949 3/20/2019   Telephone conference with J. Anderson regarding             0.20    Denny, Daniel B.
                     Centerview engagement.


23425341 3/20/2019   Draft Axiom retention app (2.4);                            3.10    Franzoia, Rachel
                     calls/correspondence re: same (.5); conference
                     w/ D. Denny re work in progress (.2).


23754249 3/20/2019   Call w/ M. Koch re third party retention                    0.30    Franzoia, Rachel
                     issues.


23755090 3/20/2019   Emails w/ P. Milender re Epiq retention (.2);               4.70    Koch, Matthew
                     emails w/ K. Chopra (Centerview) and T. Kreller
                     re Centerview retention issues (.2);
                     communications w/ A. Scruton (FTI) and S. Starr
                     (FTI) re potential retention of consultant
                     (.4); revise Milbank retention app (.1); revise
                     Centerview retention application (.3). Emails
                     w/ S. Garabato (Epiq) re services agreement
                     (.2); revise conflicts connections chart (.2);
                     further revise Milbank retention app (.5); call
                     w/ R. Franzoia re third party retention issues
                     (.3); emails w/ W. Graham (Centerview) and J.
                     Anderson re Centerview retention (.3); revise
                     Milbank retention application (1.6); emails w/
                     M. Koch re Epiq retention application (.1);
                     conference w/ L. Mandel re various retention
                     applications and related issues (.3).


23413012 3/20/2019   Emails w/ M. Koch re Centerview retention                   3.00    Kreller, Thomas R.
                     issues (.1); review (1.9) and revise (1.0)
                     Milbank employment papers.


23401536 3/20/2019   Correspond with P. Milender and M. Koch re                  0.50    Mandel, Lena
                     various retention applications and related
                     issues.




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23401919 3/20/2019   Review/revise Epiq retention application (.3);              0.70    Milender, Parker
                     emails w/ Epiq and M. Koch re: same (.2);
                     correspond w/ L. Mandel re various retention
                     application and related issues (.2).


23425040 3/21/2019   Finalize Centerview engagement letter.                      0.20    Anderson, Jason T.


23754532 3/21/2019   Communications w/ M. Koch re consultant                     0.20    Bray, Gregory A.
                     retention.


23404953 3/21/2019   Review and analyze professional retention                   0.50    Denny, Daniel B.
                     engagement issues re Axiom (.2) and Centerview
                     (.3).


23425342 3/21/2019   Calls/correspondence re Axiom Retention App                 2.30    Franzoia, Rachel
                     (1.1); update calendar (1.2).


23754254 3/21/2019   Revise Axiom retention app.                                 5.40    Franzoia, Rachel


23423598 3/21/2019   Correspondence w/ potential consultant re                   1.40    Koch, Matthew
                     retention (.2); communications w/ G. Bray re
                     consultant retention (.2); revise engagement
                     letter (.2); revise consultant engagement
                     letter (.5); t/c w/ C. Price re retention
                     application (.3).


23413009 3/21/2019   Further review Milbank employment papers (1.0)              2.40    Kreller, Thomas R.
                     and conflicts check disclosures (1.4).


23408977 3/21/2019   Review retention application (1); t/c with M.               1.30    Price, Craig Michael
                     Koch re same (.3).


23411984 3/22/2019   Review Axiom engagement letter (.2);                        0.30    Bice, William B.
                     correspondence with T. Kreller re same (.1).


23404956 3/22/2019   Review committee retention application issues               2.10    Denny, Daniel B.
                     (.6); conference with R. Franzoia regarding
                     draft Axiom retention app (.4); conference with
                     R. Franzoia and T. Kreller regarding Axiom
                     engagement (.2); r review and analyze Axiom
                     retention issues (.9).


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23754259 3/22/2019   Review Axiom retention app (2.2); conference w/            5.90    Franzoia, Rachel
                     D. Denny re drafting of Axiom retention app
                     (.4); conference w/ D. Denny and T. Kreller re
                     Axiom engagement (.2); revise memos on
                     retention apps for committee (3.1);


23754260 3/22/2019   Review draft of Centerview retention                       0.30    Khani, Kavon M.
                     application.


23423631 3/22/2019   Review debtors' retention apps (1.3); revise               2.70    Koch, Matthew
                     Milbank retention app (.4); revise Kreller
                     declaration (.3); revise conflicts chart (.2);
                     emails w/ T. Kreller re same (.2); emails w/ T.
                     Kreller re rule 2014 diligence (.3).


23413004 3/22/2019   Review Milbank employment app (1.1); corr to               1.90    Kreller, Thomas R.
                     UST re same (.4); emails w/ M. Koch re
                     conflicts chart (.2); emails w/ M. Koch re rule
                     2014 diligence (.2).


23755098 3/22/2019   Conference w/ D. Denny and R. Franzoia re                  0.30    Kreller, Thomas R.
                     engagement letter (.2); correspondence w/ W.
                     Bice re Axiom Engagement letter (.1).


23408984 3/22/2019   Review retention application (.8); review                  1.10    Price, Craig Michael
                     related correspondence (.3).


23411896 3/23/2019   Correspondence with T. Kreller on Axiom                    0.20    Bice, William B.
                     retention.


23412979 3/23/2019   Teleconference with M. Koch regarding Axiom                0.20    Denny, Daniel B.
                     retention application (.1); review emails re
                     same (.1).


23423638 3/23/2019   Call w/ D. Denny re consultant retention.                  0.10    Koch, Matthew


23413066 3/24/2019   Revise draft Axiom retention application (1.6);            2.90    Denny, Daniel B.
                     review and analyze case law re retention of
                     committee professionals (.9); t/c with R.
                     Franzoia regarding revised draft Axiom
                     retention application (.4).



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23425345 3/24/2019   T/c w/ D. Denny re revised draft Axiom                      5.00    Franzoia, Rachel
                     retention application (.4); further revise same
                     re D. Denny’s comments (4.6).


23441307 3/25/2019   Email T. Kreller regarding Axiom retention                  1.10    Denny, Daniel B.
                     application (.1); t/c with R. Franzoia
                     regarding revisions to draft Axiom retention
                     application (.6); review and analyze revised
                     draft Axiom retention application (.4).


23754805 3/25/2019   Correspondence w/ R. Franzoia re request for                0.50    Dexter, Erin E.
                     Judicial Notice in support of Axiom Retention
                     Application.


23459510 3/25/2019   Prepare memorandum for the UCC regarding the                2.00    Franzoia, Rachel
                     retention applications filed by the Debtors and
                     TCC (Weil, AP Services, Keller & Benvenutti,
                     Prime Clerk, Lazard, Jenner & Block, Baker &
                     Hostetler).


23755337 3/25/2019   Revise Axiom retention application (3.6);                   5.00    Franzoia, Rachel
                     correspondence with D. Denny regarding the same
                     (.6); prepare Request for Judicial Notice in
                     support of Axiom Retention Application (.8).


23432329 3/25/2019   Review comp analysis (.2); call w/ J. Willis                0.30    Koch, Matthew
                     (DLA Piper) re FTI retention app (.1).


23755339 3/25/2019   Revise Axiom engagement letter (.4); emails w/              0.90    Kreller, Thomas R.
                     G. Bray reAxiom employment papers and next
                     steps (.2); review Milbank employment papers
                     and disclosures (.3).


23439421 3/25/2019   Review FTI and CV comp analysis (.2); call w/               0.30    Price, Craig Michael
                     J. Willis (DLA Piper) re FTI retention app
                     (.1).


23754806 3/25/2019   Conduct research re: (redacted) (2.1); draft                3.70    Wolf, Julie M.
                     request for judicial notice to accompany Axiom
                     retention application (1.6).




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23441522 3/26/2019   Email to T. Kreller re Axiom retention                      0.20    Denny, Daniel B.
                     application (.1); conference with T. Kreller re
                     Axiom retention application (.1).


23754808 3/26/2019   Correspondence w/ R. Franzoia re Axiom                      0.60    Dexter, Erin E.
                     retention application supporting RJN.


23446629 3/26/2019   Confs. with S. Green re Lazard comp (.3);                   0.70    Dunne, Dennis F.
                     review same (.4).


23459566 3/26/2019   Correspondence with E. Dexter regarding Axiom               0.70    Franzoia, Rachel
                     retention application and supporting RJN.


23754833 3/26/2019   Conference w/ D. Denny re Axiom retention                   0.10    Kreller, Thomas R.
                     application.


23441471 3/27/2019   T/c with R. Franzoia regarding Axiom retention              0.20    Denny, Daniel B.
                     application.


23452161 3/27/2019   Review UST's responses and comments to draft                0.50    Dunne, Dennis F.
                     UCC advisor retention apps (.3); confs. with A.
                     Scruton (FTI) re same (.2).


23459530 3/27/2019   T/c with D. Denny to discuss various matters                0.30    Franzoia, Rachel
                     including Axiom retention application.


23459921 3/27/2019   T/c with M. Koch regarding Axiom engagement                 0.90    Franzoia, Rachel
                     (.6); email C. Gilson (Axiom) regarding the
                     same (.1); t/c w/ D. Denny re Axiom retention
                     application (.2).


23460096 3/27/2019   Review time entries for privilege and                       2.50    Franzoia, Rachel
                     compliance with guidelines.


23432593 3/27/2019   Call w/ potential consultant re retention                   1.60    Koch, Matthew
                     issues (.9); revise Centerview retention app
                     (.1); t/c w/ R. Franzoia re Axiom engagement
                     (.6).




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23454552 3/27/2019   Corr with UST and FTI re open issues and                    1.40    Kreller, Thomas R.
                     questions re FTI employment papers (.4); work
                     on responses re same (.2); call with Axiom re
                     engagement letter, employment papers
                     disclosures (.6) and next steps re same (.2).


23455073 3/27/2019   Review open items re conflict check (1.1);                  2.20    Price, Craig Michael
                     review retention materials (.6); review
                     comments from UST to FTI application (.5).


23789761 3/27/2019   Review and comment on financial advisor                     2.60    Weber, Jordan A.
                     retention application (1.9); emails on
                     engagement letter for financial advisor (.4);
                     review engagement letter for application
                     purposes (.3).


23457840 3/28/2019   Emails w/ R. Chesley (FTI) re FTI fee apps                  0.30    Koch, Matthew
                     (.1); emails w/ R. Franzoia re third party
                     consultant engagement (.2).


23454973 3/28/2019   Corr with UST and FTI re open issues and                    0.50    Kreller, Thomas R.
                     questions re FTI employment papers (.3) and
                     work on responses re same (.2).


23454984 3/28/2019   Review and revise Epiq employment papers (.3);              0.40    Kreller, Thomas R.
                     calls and corr with team re same (.1).


23441490 3/29/2019   Teleconference with R. Franzoia re response to              0.20    Denny, Daniel B.
                     Lazard application.


23459959 3/29/2019   Phone call with D. Denny re response to Lazard              3.70    Franzoia, Rachel
                     application (.2); draft objection to retention
                     application (3.5).


23459984 3/29/2019   Review draft response to TCC motion for                     0.50    Franzoia, Rachel
                     reimbursement of member expenses (.4); email
                     correspondence regarding the same (.1).


23460074 3/29/2019   Revise billing entries for privilege and                    1.80    Franzoia, Rachel
                     compliance with guidelines.




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23755349 3/29/2019   Review and revise limited response to TCC                  1.00    Kreller, Thomas R.
                     committee reimbursement procedures (.5); corr
                     with TCC counsel re same (.1); corr with UCC
                     advisor team re Lazard employment app issues
                     (.3) and next steps (.1).


23455175 3/29/2019   Review retention materials for UCC                         2.10    Price, Craig Michael
                     professionals.




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23338535 3/4/2019   Corr. with Willkie re meeting (.3); review                0.80   Dunne, Dennis F.
                    issues re subrogation claims and diligence same
                    (.5).


23338772 3/5/2019   Review coverage C & D issues (.8); review                 1.40   Dunne, Dennis F.
                    evidence and claim allowance re same (.6).


23346940 3/5/2019   Coordinate research re (redacted) (.1); discuss           1.00   Wu, Julia S.
                    same with E. Ayoub (.3); comms. with M.
                    Capolino re same (.1); research re (redacted)
                    (.5).


23338778 3/6/2019   Review upcoming meetings/agendas with                     0.40   Dunne, Dennis F.
                    subrogation group and CPUC.


23346948 3/6/2019   Research (redacted) (.4); research (redacted)             1.70   Wu, Julia S.
                    (.2); research (redacted) (.2); draft email
                    summary of research findings (.8); review and
                    finalize same (.1).


23355566 3/7/2019   Attend meeting at Willkie with ad hoc insurance           1.10   Dunne, Dennis F.
                    committee advisors (M. Feldman and J. Minias
                    (Willkie) and H. Parkhill (Rothschild).


23333951 3/7/2019   Attend meeting with A. Leblanc and D. Dunne and           0.50   Khalil, Samuel A.
                    Subrogation committee advisors (partial).


23346279 3/7/2019   Meeting with S. Khalil, D. Dunne and                      1.70   Leblanc, Andrew M.
                    subrogation claimants advisors (M. Feldman and
                    J. Minias (Willkie) and H. Parkhill of
                    Rothschild) re case summaries (1.1); coordinate
                    re same (.6).


23347011 3/7/2019   Incorporate edits to draft email regarding                2.60   Wu, Julia S.
                    wildfire insurance payouts for the PG&E
                    wildfires (1.2); correspond w/ E. Ayoub re same
                    (.2); further revise and incorporate additional
                    edits to draft email regarding wildfire
                    insurance payouts for PG&E wildfires (.5);
                    further revise same and incorporate additional
                    language re insurance carrier reports w/r/t
                    wildfire payouts (.7).


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23347024 3/8/2019    Review (.1) and incorporate (.4) S. Vora's                 0.60   Wu, Julia S.
                     comments on email re wildfire insurance
                     payouts; email w/ E. Ayoub and M. Capolino re
                     same (.1).


23396112 3/12/2019   Review research re (redacted) (.6); discussion             0.80   Ayoub, Emile G.
                     with M. Capolino and J. Wu re same (.2).


23376861 3/12/2019   Discussion with E. Ayoub and J. Wu re research             0.80   Capolino, Margherita Angela
                     relating to (redacted) (.2); review same (.6).


23457362 3/12/2019   Meeting with A. Leblanc regarding estimated                2.40   Vora, Samir
                     volume of wildfire claims and related
                     litigation issues (.6); research regarding
                     (redacted) (1.4); comms w/ E. Ayoub re same
                     (.4).


23392577 3/12/2019   Discuss with E. Ayoub and M. Capolino research             0.50   Wu, Julia S.
                     (redaction) (.2); research (redaction) (.3).


23396133 3/13/2019   Correspondence w/ J. Wu re research regarding              0.40   Ayoub, Emile G.
                     (redacted).


23376886 3/13/2019   Research regarding (redacted).                             2.90   Capolino, Margherita Angela


23392581 3/13/2019   Review results of research regarding (redacted)            3.60   Wu, Julia S.
                     (.2); research (redacted) (1) attend corr. with
                     E. Ayoub and M. Capolino regarding research
                     results (.6); create list of single-event
                     disasters that resulted in mass tort claims
                     (1.8).


23748729 3/14/2019   Review (.6) and revise (.4) email summary re               1.00   Ayoub, Emile G.
                     (redacted).


23376960 3/14/2019   Research re: tort issues and related                       6.70   Capolino, Margherita Angela
                     settlements (4.3); research re: (redacted)
                     (2.4).




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23457376 3/15/2019   Meet with A. Leblanc and FTI regarding                    2.50   Vora, Samir
                     treatment of wildfire and wildfire-related
                     subrogation claims (.8); review same (1.3) and
                     tort memo (.4).




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23312630 3/1/2019    Call with creditor re: NOL motion.                           0.20   Kestenbaum, Russell J.


23343017 3/4/2019    Comms. w/ R. Franzoia re tax issues (.1); call               1.00   Koch, Matthew
                     w/ D. Schiff (Davis Polk) and C. Price re NOL
                     motion (.9).


23355790 3/4/2019    Call w/ D. Schiff (Davis Polk) and M. Koch re                0.90   Price, Craig Michael
                     NOL motion.


23338775 3/5/2019    Review additional tax payment issue.                         0.70   Dunne, Dennis F.


23362768 3/5/2019    Review debtors' draft supplemental tax motion.               0.10   Hazra, Archan J.


23324654 3/5/2019    Reviewe supplemental tax motion (.4) and order               0.60   Heller, Benjamin
                     (.2).


23340546 3/5/2019    Review company tax presentation for creditors.               0.30   Kestenbaum, Russell J.


23343138 3/6/2019    Draft memo re supplemental tax motion.                       0.80   Koch, Matthew


23355765 3/6/2019    Revise memo re supplemental tax motion.                      0.50   Price, Craig Michael


23357828 3/7/2019    Review memo to Committee re: debtors'                        0.60   Hazra, Archan J.
                     supplemental tax motion.


23340547 3/7/2019    Review supplemental taxes motion (.2), review                0.40   Kestenbaum, Russell J.
                     and comment on memo to committee re: same (.2).


23356469 3/7/2019    Review supplemental tax motion as against                    0.30   Price, Craig Michael
                     initial draft (.2); review related declaration
                     (.1).


23389262 3/11/2019   Call with K. Meek (Robins Kaplan) re: trading                0.20   Behrens, James C.
                     motion.


23358029 3/12/2019   Review merits of settlement of NOL dispute (.4)              0.70   Khalil, Samuel A.
                     and follow up on same (.3).




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23419065 3/21/2019   Emails with Milbank team re: NOL order (.2),                0.30   Kestenbaum, Russell J.
                     t/c with S. Goldring (Weil) re: NOL motion
                     (.1).


23420081 3/22/2019   Review update from debtors re NOL trading                   0.60   Dunne, Dennis F.
                     motion settlement (.3); review relevant
                     precedent (.3).


23446273 3/25/2019   Review revised NOL order (.2); review precedent             0.70   Dunne, Dennis F.
                     and issues re same (.4); review Akin Gump's
                     position re same (.1).


23465631 3/25/2019   Review debtors' proposed final order and                    3.90   Hazra, Archan J.
                     exhibits re: equity and claims trading (.8);
                     review R. Kestenbaum comments to the same (.3);
                     conf. call w/ R. Kestenbaum, B. Heller, T.
                     Kreller re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     follow-up discussion w/ R. Kestenbaum, B.
                     Heller re: the same (.2); conf. call w/ R.
                     Kestenbaum, B. Heller, Akin tax re: the same
                     (.2); conf. call w/ R. Kestenbaum, B. Heller,
                     S. Joffe (FTI) re: the same (.2); review and
                     revise form of potential claims sell-down
                     procedures (1.8); email to R. Kestenbaum re:
                     the same (.1).


23754941 3/25/2019   Conf. call w/ R. Kestenbaum, A. Hazra, T.                   6.30   Heller, Benjamin
                     Kreller re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     follow-up discussion w/ R. Kestenbaum, A. Hazra
                     re: the same (.2); conf. call w/ R. Kestenbaum,
                     A. Hazra, H. Jacobson (Akin) tax re: the same
                     (.2); conf. call w/ R. Kestenbaum, A. Hazra, S.
                     Joffe (FTI) re: the same (.2); review latest
                     draft of proposed claim trading order (4.1);
                     meet with R. Kestenbaum and A. Hazra and attend
                     call on equity trading order and procedures
                     (1.1); call with Weil to discuss claims
                     procedures (.2);




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23450334 3/25/2019   Emails with Milbank team re: NOL motion (.1);                3.70   Kestenbaum, Russell J.
                     emails with Weil re: same (.1); review revised
                     NOL motion and associated exhibits (1.2);
                     emails with Milbank team re: same (.4); t/c
                     with T. Kreller, A. Hazra, B. Heller re: same
                     (.3); follow-up discussion w/ A. Hazra and B.
                     Heller re same (.2); conf call w/ A. Hazra, B.
                     Heller and H. Jacobson (Akin) re: same (.2);
                     p/c with A. Hazra, B. Heller and S. Joffe (FTI)
                     re: same (.2); c/c with T. Kreller and D.
                     Botter, H Jacobson (Akin) re: same (.2); work
                     on mark-up of order and exhibits (.5); emails
                     with Arent Fox re: same (.1); emails with Weil
                     with comments (.1); emails w/ A. Hazra re form
                     of potential claims sell-down procedures (.1).


23454524 3/25/2019   Conf. call w/ R. Kestenbaum, B. Heller, A.                   3.30   Kreller, Thomas R.
                     Hazra re: debtors' proposed final order and
                     exhibits re: equity and claims trading (.3);
                     review (.5) and revise (1.9) Weil draft of NOL
                     trading order; calls and corr with working
                     group re open issues and next steps re same
                     (.6); c/c w/ R. Kestenbaum and Akin (D. Botter,
                     H. Jacobson) re NOL motion and associated
                     exhibits.


23444089 3/26/2019   Assist with filing and service of Declaration                2.00   Fiscina, Brandon
                     of T. Kreller re NOL Motion.


23465632 3/26/2019   Review R. Kestenbaum comments to debtors' form               3.00   Hazra, Archan J.
                     of claims trading procedures (.2); confer w/ R.
                     Kestenbaum re: debtors' form of claims
                     sell-down procedures (.4); revise markup of
                     debtors' form of claims trading procedures
                     (.3); conf. call w/ R. Kestenbaum, T. Kreller
                     and Akin Gump (D. Botter, H. Jacobson) re:
                     debtors' proposed final order and exhibits re:
                     equity and claims trading (.6); conf. call w/
                     R. Kestenbaum, T. Kreller, S. Karotkin (Weil),
                     S. Goldring (Weil), and Akin Gump re: the same
                     (1); review revised debtors' drafts of final
                     order and exhibits re: equity and claims
                     trading (.5).




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23450338 3/26/2019   Confer w/ A. Hazra re debtors’ form of claims               3.30   Kestenbaum, Russell J.
                     sell-down procedures (.4); c/c with T. Kreller,
                     A. Hazra, D. Botter and H. Jacobson (Akin) re:
                     revised order (.6); Prep for same (.6); c/c
                     with Weil (S. Karotkin, S. Goldring), Akin (D.
                     Botter, H. Jacobson) and Milbank team (R.
                     Kestenbaum, T. Kreller) re: NOL motion (1.0);
                     p/cs with S. Goldring (Weil) re: claims motion
                     (.5); prep for same (.2).


23454575 3/26/2019   Review pleadings (1.2); prep for hearing re NOL             2.20   Kreller, Thomas R.
                     trading order disputes (1.0).


23454588 3/26/2019   Conf. call w/ R. Kestenbaum, T. Kreller and                 1.60   Kreller, Thomas R.
                     Akin Gump (D. Botter and H. Jacobson) re
                     revised NOL order (.6); conf. call w/ R.
                     Kestenbaum, T. Kreller, S. Karotkin (Weil), S.
                     Goldring (Weil), and Akin Gump re: the same
                     (1.0).


23452164 3/27/2019   Review revised NOL draft order and possible                 0.60   Dunne, Dennis F.
                     settlement re same.


23463019 3/27/2019   Review final order and exhibits regarding                   0.20   Hazra, Archan J.
                     equity trading and claims trading.


23450339 3/27/2019   Review revisions to NOL motion.                             0.30   Kestenbaum, Russell J.


23450337 3/28/2019   Emails with S. Joffe (FTI) re: NOL                          0.20   Kestenbaum, Russell J.
                     motion/order.


23755473 3/28/2019   Review NOL trading motion re tax issues.                    0.60   Khalil, Samuel A.




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23329619 3/5/2019    Conf. w/ J. Weber (multiple) re comments to                   1.80   Denny, Daniel B.
                     response letter regarding equity committee
                     (.5); revise draft letter re equity committee
                     (1.3).


23740913 3/5/2019    Draft letter to U.S. Trustee re: UCC repsonse                 0.50   Khani, Kavon M.
                     to requests for appointment of Official
                     Committee of Equity Security Holders.


23740915 3/5/2019    Calls w/ D. Denny re comments to response                     0.50   Weber, Jordan A.
                     letter to UST re equity committee.


23340050 3/6/2019    Conference with J. Weber regarding draft                      1.00   Denny, Daniel B.
                     response letter to UST re equity committee
                     (.1); review and revise draft response letter
                     to UST re equity committee (.7); review and
                     further revise revised draft response letter re
                     equity committee (.2).


23360591 3/6/2019    Review (.6) and revise (.4) UCC letter to UST                 1.00   Kreller, Thomas R.
                     re equity committee requests.


23741308 3/6/2019    Conf. with D. Denny regarding response letter                 0.10   Weber, Jordan A.
                     to UST re equity committee.


23342085 3/8/2019    Review (.3) and comment on (.5) letter to UST                 0.80   Khalil, Samuel A.
                     concerning formation of equity committee.


23360625 3/9/2019    Review (.6) and revise (.6) letter to UST re                  1.20   Kreller, Thomas R.
                     equity committee issues.


23375787 3/11/2019   Conference with J. Webber regarding revisions                 0.10   Denny, Daniel B.
                     to UST letter regarding committee formation.


23392632 3/11/2019   Finalize and proof letter to US Trustee (.8);                 1.30   Weber, Jordan A.
                     emails (.4) and conf. w/ D. Denny re same (.1).


23752378 3/11/2019   Review letter to US Trustee re Equity                         0.40   Wolf, Julie M.
                     Committee.




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23321901 3/1/2019   Review (.6) and analyze (.7) research                       1.30   Khalil, Samuel A.
                    concerning treatment of wildfire claims under
                    chapter 11 plan.


23319930 3/1/2019   Review and revise memoranda regarding (i) PGE               4.70   Vora, Samir
                    criminal exposure and (ii) wildfires and
                    methods for centralization and resolution of
                    tort claims.


23360491 3/5/2019   Research re wildfire punitive damages and                   1.20   Ayoub, Emile G.
                    insurance claims (.4); internal correspondence
                    re same (.8).


23740907 3/5/2019   Participate in diligence call led by debtor to              1.30   Bice, William B.
                    discuss safety incentives under STIP (.3);
                    participate in diligence phone call led by
                    debtor to discuss Wildfire Mitigation Plan
                    (1.0).


23740914 3/5/2019   Review and edit Committee memorandum regarding              2.20   Vora, Samir
                    tort claim liabilities.


23741301 3/6/2019   Review (.3) and revise (.4) UCC memos.                      0.70   Aronzon, Paul S.


23360501 3/6/2019   Review research re wildfire punitive damages                1.00   Ayoub, Emile G.
                    and insurance claims (.4); correspondence re
                    same (.6).


23344447 3/6/2019   Research re punitive damages liability under                1.80   Capolino, Margherita Angela
                    California state law and related estimation
                    issues.


23387097 3/6/2019   Research regarding PG&E exposure to punitive                8.90   Vora, Samir
                    damages (2.7); prepare, summary email re
                    results (.8); review and revise memorandum
                    regarding tort claim liability, research
                    thereon (2.9); review (1.1) and revise (1.4)
                    memorandum regarding PG&E criminal exposure.


23360508 3/7/2019                                                               6.10   Ayoub, Emile G.




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23741311 3/7/2019    Review CalFire interpretation of Public                      0.30   Bice, William B.
                     Resources Code cited in ruling.


23344478 3/7/2019    Email w/ E. Ayoub regarding research on                      4.80   Capolino, Margherita Angela
                     (redacted).


23346306 3/7/2019    Call with K. Orsili re fire claim issues (.4);               0.90   Leblanc, Andrew M.
                     prepare correspondence re same (.5).


23741727 3/7/2019    Review (1.2) and revise (2.3) tort claim and                 5.00   Vora, Samir
                     criminal exposure memoranda; call with E. Ayoub
                     regarding (i) PGE exposure to punitive damages
                     and (ii) insurer payouts for total loss
                     personal property claims (.2); research re same
                     (1.3).


23360511 3/8/2019    Research (.2) and revise (.6) email writeup re               1.20   Ayoub, Emile G.
                     (redacted); internal correspondence re same
                     (.4).


23344518 3/8/2019    Edit email of research re: (redacted).                       0.90   Capolino, Margherita Angela


23748434 3/12/2019   Review STIP motion and related materials (2.2)               5.30   Duke, Julia C.
                     and conduct research i/c/w same (3.1).


23389178 3/12/2019   Review (1.6) and revise (1.4) memos to                       3.60   Leblanc, Andrew M.
                     committee re fire-related issues; meet with S.
                     Vora regarding wildfire claims and related
                     litigation issues (.6).


23396210 3/14/2019   Review (2.1) and revise (2.9) memorandum                     5.40   Ayoub, Emile G.
                     analyzing PG&E's tort liability from CA
                     wildfires; discuss results w/ J. Wu re same
                     (.4).


23457371 3/14/2019   Research regarding (redacted) (2.4); research                4.60   Vora, Samir
                     (redacted) (.8); further edits to (redacted)
                     (1.4).




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23378241 3/14/2019   Conduct factual research re: (redacted) (1.3);             5.10   Wolf, Julie M.
                     conduct research re: (redacted) (2.4); review
                     S. Benz and J. Wu research re: same (.9); draft
                     summary of findings of same (.5).


23392586 3/14/2019   Research (redacted) (.9); research cases with              9.50   Wu, Julia S.
                     single-event disasters (1.3); research
                     bankruptcy cases regarding (redacted) (1.1);
                     review 10-k filings of companies with mass tort
                     litigation (1.2); discuss research results with
                     E. Ayoub and M. Capolino (.4); discuss research
                     results with M. Capolino (.5); draft email to
                     E. Ayoub regarding research methods and results
                     (.9); research (redacted) (.7); research
                     legislation regarding (redacted) (.8); draft
                     email to J. Wolf regarding (redacted) (1.7).


23396153 3/15/2019   Review (.3) and revise (.5) memorandum                     1.60   Ayoub, Emile G.
                     analyzing PG&E's tort liability from CA
                     wildfires; call w/Milbank team and FTI re
                     valuing wildfire liability (.8).


23379665 3/15/2019   Review draft memo on civil liability for                   0.80   Bice, William B.
                     wildfire claims.


23377086 3/15/2019   Revision of Wildfire Liability Memo                        0.40   Capolino, Margherita Angela


23389363 3/15/2019   Review memoranda re tort and similar claims                2.20   Leblanc, Andrew M.
                     (1.4); call with FTI team and S. Vora re
                     valuing damages in tort claims (.8).


23396223 3/18/2019   Revise memorandum analyzing PG&E's civil                   1.80   Ayoub, Emile G.
                     liability from CA wildfires (.7); research re
                     same (1.1).


23754942 3/18/2019   Discuss w/ J. Wu (redacted) (.2); call w/ J. Wu            0.70   Ayoub, Emile G.
                     and M. Capolino re revisions to memo (.5).




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23410386 3/18/2019   Revise wildfire liability memo (.2); research               1.90   Capolino, Margherita Angela
                     statutes raised in complaint against PG&E (1);
                     call w/ E. Ayoub and J. Wu re revisions to memo
                     re applicability of statues imposing civil
                     liability for tort teasers in wildfire contexts
                     (.5); conference w/ J. Wu re revising memo
                     (.2).


23457392 3/18/2019   Review and revise memorandum regarding wildfire             6.10   Vora, Samir
                     liability exposure (2); research (redacted)
                     (1.7); review FTI deck regarding wildfire
                     claims (1.4); review comments from FTI
                     regarding wildfire liability exposure
                     memorandum (1.0).


23396227 3/19/2019   Attend meeting w/ FTI and Milbank team (G.                  2.80   Ayoub, Emile G.
                     Bray, S. Vora) re value of wildfire claims (2);
                     revise memorandum analyzing PG&E's tort
                     liability from CA wildfires (.5); review
                     related documents re same (.3).


23754500 3/19/2019   Attend Meeting w/ FTI and Milbank Team (S.                  2.00   Bray, Gregory A.
                     Vora, E. Ayoub) re value of wildfire claims.


23410392 3/19/2019   Revise wildfire liability memo (.2); additional             0.60   Capolino, Margherita Angela
                     research on statutory penalties and damages
                     under certain California statutes (.4).


23405236 3/19/2019   Preparing for meeting with FTI re tort claims               2.30   Leblanc, Andrew M.
                     (.6); meeting with FTI re same (1.7).


23418811 3/19/2019   Meeting with FTI re fire damages.                           2.50   Stone, Alan J.


23457381 3/19/2019   Prepare for (.2) and attend meeting with FTI,               4.30   Vora, Samir
                     G. Bray and E. Ayoub regarding wildfire claims
                     (2.0); revise memorandum regarding PG&E
                     wildfire liabilities (2.1).


23405250 3/20/2019   Reviewing materials re wildfire and criminal                2.30   Leblanc, Andrew M.
                     proceedings (1.6); preparing for client call re
                     same (.7).




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23422674 3/22/2019   Correspondence re CA Meeting on Wildfire Cost               0.10   Ayoub, Emile G.
                     and Recovery.


23446534 3/25/2019   Research (redacted) (.3); review wildfire                   2.10   Wolf, Julie M.
                     victims' response to second order to show cause
                     (1.1); summarize additional responses to second
                     order to show cause (.7).


23460207 3/26/2019   Attention to Commission meeting re wildfire                 0.10   Ayoub, Emile G.
                     plans.


23446630 3/26/2019   Review possible creation of Paradise Victims                1.20   Dunne, Dennis F.
                     fund and elements and issues re same.


23754948 3/27/2019   Review 2019 Wildfire Safety Plan.                           1.40   Wolf, Julie M.


23441220 3/29/2019   Review summary of wildfire trust proposal (.7);             1.00   Bice, William B.
                     review proposed AB 740 (.2); communicate
                     substance of AB 740 to D. Dunne (.1).


23754419 3/29/2019   Review mass tort and pre-confirmation payment               0.80   Denny, Daniel B.
                     issues (.1); conference with T. Kreller and J.
                     Weber regarding mass tort issues (.4); review
                     mass tort issues (.3).


23457414 3/29/2019   Review (.8) and revise (.7) memorandum                      1.90   Vora, Samir
                     regarding PGE wildfire liabilities; email to
                     Cravath regarding information needed for
                     further wildfire claim analysis (.4).


23446707 3/29/2019   Review meeting agenda and materials for April               2.20   Wolf, Julie M.
                     3, 2019 Meeting of the Commission on
                     Catastrophic Wildfire Cost and Recovery.




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23377997 3/5/2019    Attend portion of diligence meeting between the           0.80   Skaliks, Christina M.
                     financial advisors and the company re
                     employment issues (.7); review agenda in
                     preparation for same (.1).


23387399 3/6/2019    Review of FTI first day employee issues.                  0.20   Skaliks, Christina M.


23340728 3/7/2019    Review and analyze STIP motion and related                7.70   Denny, Daniel B.
                     materials (1.8); conference with J. Weber
                     regarding STIP motion (.1); review and analyze
                     STIP motion and related materials (5.6);
                     teleconf. with M. Shah regarding STIP motion
                     and benefits issues (.2)


23343206 3/7/2019    Call w/ D. Denny re STIP motion.                          0.40   Koch, Matthew


23386777 3/7/2019    Correspondence with M. Shah re STIP Motion                0.40   Skaliks, Christina M.
                     (.2); correspondence w/ M. Koch and A. Scruton
                     (FTI) re STIP motion and next steps (.2)


23352676 3/8/2019    Conf. with C. Skaliks regarding 2019 STIP                 0.20   Deluca, Nicholas D.
                     motion and related matters.


23340735 3/8/2019    Review STIP motion and related materials (1.2);           1.40   Denny, Daniel B.
                     comms. w/ M. Shah and C. Skaliks re same (.2).


23380460 3/8/2019    Review STIP motion and summary of material                0.60   Skaliks, Christina M.
                     terms (.4); conf. w/ N. Deluca re same (.2).


23340740 3/9/2019    Review corrected STIP motion and declarations             1.50   Denny, Daniel B.
                     (.2); draft memorandum regarding STIP motion
                     (1.3).


23387248 3/9/2019    Correspondence with M. Shah and J. Beebe re               0.20   Skaliks, Christina M.
                     STIP motion.


23340742 3/10/2019   Draft memorandum regarding STIP motion.                   4.10   Denny, Daniel B.


23355805 3/10/2019   Review 2019 Stip terms and diligence.                     0.60   Dunne, Dennis F.




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23377419 3/11/2019   Conference call with financial advisors                    0.50   Deluca, Nicholas D.
                     regarding 2019 STIP motion and related
                     background information (.3); preparations for
                     same (.1); review STIP background emails from
                     C. Skaliks (.1).


23375785 3/11/2019   Teleconference with M. Koch regarding STIP                 1.60   Denny, Daniel B.
                     motion (.2); revise draft memorandum regarding
                     STIP Motion (1.4).


23362294 3/11/2019   Call with client (.2); review of UCC memo;                 2.80   Shah, Manan
                     review stip motion (2.2); attend advisor call
                     (.4)


23387279 3/11/2019   Review correspondence re committee memo section            0.10   Skaliks, Christina M.
                     on STIP.


23377497 3/12/2019   Comms. with J. Beebe and M. Shah regarding STIP            0.20   Deluca, Nicholas D.
                     motion.


23375781 3/12/2019   Email exchanges with E. Dexter and working                 0.30   Denny, Daniel B.
                     group regarding STIP Motion.


23388725 3/12/2019   Call w/ M. Goren (Weil) and C. Price re STIP               0.20   Koch, Matthew
                     motion.


23377818 3/12/2019   Call w/ M. Goren (Weil) and M. Koch re STIP                0.30   Price, Craig Michael
                     motion (.2); prep for same (.1).


23387404 3/12/2019   Review email re deadline to object to STIP                 0.20   Skaliks, Christina M.
                     motion (.1); attention to correspondence re.
                     TCC objection to STIP motion (.1).


23748458 3/12/2019   Review Debtors' proposed STIP and explore                  1.50   Vora, Samir
                     potential responses.


23748459 3/12/2019   Review memorandum re: STIP Motion (1.1);                   1.40   Wolf, Julie M.
                     discuss same with E. Dexter and J. Duke (.3).


23748460 3/13/2019   Review STIP motion.                                        0.70   Bray, Gregory A.



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23748465 3/13/2019   Conduct research re proposed STIP.                        5.10   Duke, Julia C.


23387771 3/14/2019   Review STIP portion of FTI presentation to                1.70   Beebe, James M.
                     committee (.6); attend UCC call re STIP and
                     other matters (1.1).


23377613 3/14/2019   Comms. with J. Beebe regarding STIP motion.               0.10   Deluca, Nicholas D.


23388897 3/14/2019   Correspondence w/ J. Duke regarding STIP                  0.70   Dexter, Erin E.
                     objection.


23384599 3/14/2019   Conduct case research re STIP (4.9); draft memo           9.30   Duke, Julia C.
                     re: same (4.4).


23372210 3/14/2019   Attend committee call (1.5); review FTI                   2.50   Shah, Manan
                     materials in prep for same (1.0).


23387352 3/14/2019   Review correspondence re FTI deck on STIP.                0.10   Skaliks, Christina M.


23748878 3/15/2019   Review (.6) and analyze (.7) STIP motion;                 1.50   Bray, Gregory A.
                     correspond w/ M. Shah re same (.2).


23375848 3/15/2019   Email exchanges with T. Kreller, M. Koch                  0.70   Denny, Daniel B.
                     regarding TCC ex parte motion regarding STIP
                     motion (.4); review and analyze TCC ex parte
                     motion (.3).


23388985 3/15/2019   Correspondence regarding STIP objection.                  0.20   Dexter, Erin E.


23748922 3/15/2019   Conduct research re STIP.                                 3.40   Duke, Julia C.


23386267 3/15/2019   Review TCC position on STIP and employees.                0.30   Dunne, Dennis F.


23386763 3/15/2019   Review STIP motion (.8); calls (.3) and corr              1.70   Kreller, Thomas R.
                     (.4) with team re TCC objection; discovery
                     matters and adjournment request re same (.2).


23387360 3/15/2019   Review correspondence between M. Shah and D.              0.10   Skaliks, Christina M.
                     Denny re: STIP next steps.




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23378245 3/15/2019   Review Debtors’ STIP Motion and authorities               6.00   Wolf, Julie M.
                     cited therein (1.6); review Debtors’
                     declarations in support of STIP Motion (.9);
                     review legal research re: STIP standards (.7);
                     review memorandum re: STIP Motion (1.3); review
                     FTI analysis of STIP (.7); review Tort
                     Committee Objection to STIP Motion (.8).


23392621 3/16/2019   Email exchanges with E. Dexter STIP motion and            0.70   Denny, Daniel B.
                     discovery (.1); prepare for STIP depositions
                     (.4); email exchanges with STIP working group
                     regarding ex parte motion and discovery (.2).


23389004 3/16/2019   Correspondence regarding STIP objection.                  0.50   Dexter, Erin E.


23386312 3/16/2019   Review 2019 STIP issues and various parties'              0.40   Dunne, Dennis F.
                     positions.


23387370 3/16/2019   Review STIP status update.                                0.10   Skaliks, Christina M.


23387843 3/17/2019   Attend call w/ S. Starr/FTI team, M. Shah, and            0.40   Beebe, James M.
                     G. Bray/Milbank team re STIP.


23392628 3/17/2019   Teleconference with S. Starr/FTI team, M. Shah,           1.50   Denny, Daniel B.
                     and G. Bray/Milbank team re STIP (.4); review
                     and analyze pending STIP and related materials
                     (.2); email exchanges with STIP working group
                     regarding amended briefing and discovery
                     schedule (.7); review and analyze STIP motion
                     issues (.2)


23389037 3/17/2019   Correspondence regarding STIP objection.                  0.20   Dexter, Erin E.


23384620 3/17/2019   Attend Advisors call w/ S. Starr/FTI team, M.             3.80   Duke, Julia C.
                     Shah, and G. Bray/Milbank team re STIP (.4);
                     conduct research re STIP objection and
                     discovery (3.4).


23754052 3/17/2019   Review correspondence re: UCC STIP Objection              0.10   Khani, Kavon M.
                     deadline.




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23389034 3/17/2019   Emails w/ J. Liou (Weil) re STIP (.1); call w/            0.50   Koch, Matthew
                     S. Starr/FTI team, M. Shah, and G. Bray/Milbank
                     team re STIP (.4).


23378761 3/17/2019   Call w/ S. Starr/FTI team, M. Shah, and G.                0.40   Shah, Manan
                     Bray/Milbank team re STIP.


23387374 3/17/2019   Attend call re STIP status w/ S. Starr/FTI                0.40   Skaliks, Christina M.
                     team, M. Shah, and G. Bray/Milbank team re
                     STIP.


23378372 3/17/2019   Call with w/ S. Starr/FTI team, M. Shah, and G.           1.60   Wolf, Julie M.
                     Bray/Milbank team re STIP (.4); review docket
                     order re: STIP objection timeline (.3); review
                     Tort Committee motion for extension to object
                     to STIP and declarations in support thereof
                     (.9).


23754462 3/18/2019   Call w/ S. Starr (FTI), M. Shah and M. Koch, J            0.40   Bray, Gregory A.
                     .Beebe re STIP.


23754466 3/18/2019   Emails w/ M. Koch re STIP issues.                         0.30   Bray, Gregory A.


23404859 3/18/2019   Review issues re STIP motion and discovery                2.10   Denny, Daniel B.
                     schedule (.2) and STIP depositions (.1);
                     conference with T. Kreller regarding STIP
                     depositions and STIP issues (.2); prepare for
                     STIP depositions (.4); review and analyze
                     materials for STIP deposition (1.2).


23386341 3/18/2019   Review developments re 2019 STIP.                         0.40   Dunne, Dennis F.


23423491 3/18/2019   Call w/ K. Bostel (Weil) re STIP issues (.3);             1.60   Koch, Matthew
                     emails w/ G. Bray re same (.3); review notice
                     re STIP (.1); emails w/ T. Kreller re same
                     (.3); revise draft stipulation re same (.3);
                     draft email to J. Liou (Weil) re STIP (.3).


23754055 3/18/2019   Emails w/ M. Koch re notice re STIP (.3); conf.           0.50   Kreller, Thomas R.
                     w/ D. Denny re STIP depositions and STIP issues
                     (.2).



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23404110 3/18/2019   Attend advisor call re: STIP.                               0.60   Shah, Manan


23422908 3/18/2019   Prepare for advisors call (.1); correspondence              0.30   Skaliks, Christina M.
                     with M. Shah re. STIP (.1); review email re.
                     tentative STIP ruling (.1).


23408786 3/18/2019   Review correspondence with FTI re: diligence                5.10   Wolf, Julie M.
                     needed to review STIP (.4); review FTI analysis
                     of STIP (1.4); conduct research re: STIP
                     standards (2.6); coordinate coverage and
                     logistics for Tort Committee depositions of
                     STIP declarants (.7).


23754502 3/19/2019   Call w/ E. Dexter re case status, background                0.30   Bray, Gregory A.
                     information, STIP issues.


23404855 3/19/2019   Review and analyze STIP deposition materials                7.20   Denny, Daniel B.
                     (2); attend STIP deposition of D. Mistry (4.6);
                     t/c with J. Wolf regarding STIP deposition
                     summary and status update (.3); review STIP
                     deposition exhibits and records (.3).


23422405 3/19/2019   Call w/ G. Bray re case status, background                  1.10   Dexter, Erin E.
                     information, STIP issues (.3); review of draft
                     STIP objection (.8).


23408765 3/19/2019   Research re hedging motion objection (3.3),                 7.80   Duke, Julia C.
                     STIP deposition (3), and STIP objection (1.5).


23408706 3/19/2019   Call w/ D. Denny re STIP deposition summary and             3.40   Wolf, Julie M.
                     status update (.3); telephonically attend
                     deposition of D. Mistry (3.1).




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23404946 3/20/2019   Emails with T. Kreller regarding STIP                      3.40   Denny, Daniel B.
                     depositions (.2); email exchange with E. Dexter
                     regarding STIP depositions and strategic issues
                     (.2); email exchange with J. Wolf and
                     litigation team regarding Friske deposition
                     (.1); email exchange with T. Kreller re STIP
                     depositions and confidentiality issues (.2);
                     draft email regarding Mistry deposition (1.9);
                     email exchange with A. Baker (Baker) regarding
                     Friske deposition (.2); coordinate retrieval of
                     D. Mistry rough transcript (.2); t/c with M.
                     Berkin (FTI) regarding STIP diligence and
                     information requests (.4).


23754488 3/20/2019   Emails w/ D. Denny re STIP depositions and                 0.20   Dexter, Erin E.
                     strategic issues.


23408755 3/20/2019   Conduct research re STIP (2.4); draft email re:            2.70   Duke, Julia C.
                     same (.3).


23755092 3/20/2019   Emails with D. Denny regarding STIP depositions            0.40   Kreller, Thomas R.
                     (.2), STIP depositions (.1) and confidentiality
                     issues (.1).


23404139 3/20/2019   Review STIP diligence (.3); Review STIP                    2.90   Shah, Manan
                     deposition transcripts (2.6).


23754504 3/20/2019   Emails w/ D. Denny re Friske deposition.                   0.10   Wolf, Julie M.


23421809 3/21/2019   Discussion w/ C. Skaliks re STIP.                          0.50   Beebe, James M.


23404960 3/21/2019   Follow up on D. Mistry deposition transcript               4.40   Denny, Daniel B.
                     (.2); attend Friske deposition (2.7); analyze
                     and summarize deposition testimony (1.5).


23755348 3/21/2019   Discuss deposition of D. Friske and                        0.50   Denny, Daniel B.
                     confidentiality issues w/ J. Wolf.


23422610 3/21/2019   Review draft STIP objection.                               0.40   Dexter, Erin E.


23755350 3/21/2019   Calls regarding STIP motion.                               0.50   Dexter, Erin E.


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23409011 3/21/2019   Conduct research re STIP issue (2.5); research             3.00   Duke, Julia C.
                     judicial notice (.5).


23423324 3/21/2019   Review memo re lift stay motion (.8); review               1.60   Orengo, Luis E.
                     memo re stay enforcement (.8).


23423881 3/21/2019   Prepare for Committee call (.1); discussion                0.20   Skaliks, Christina M.
                     with J. Beebe re. STIP (.1).


23408808 3/21/2019   Attend deposition of D. Friske (2.5); review               5.60   Wolf, Julie M.
                     transcript of deposition of D. Mistry (1.8);
                     review documents used in deposition of D.
                     Mistry (.8); discuss deposition of D. Friske
                     and confidentiality issues with D. Denny (.5).


23421754 3/22/2019   Correspondence w/ C. Skaliks and M. Shah re                0.50   Beebe, James M.
                     compensation matters.


23754536 3/22/2019   Email exchanges w/ T. Kreller and D. Denny re              0.20   Bray, Gregory A.
                     STIP depositions (.1); conference w/ D. Dunne
                     re union request (.1).


23404962 3/22/2019   Conference with R. Windom regarding STIP                   0.40   Denny, Daniel B.
                     depositions (.1); email exchange with T. Keller
                     and G. Bray regarding STIP depositions (.1);
                     email exchange with FTI re STIP deposition
                     exhibits (.1); emails w/ M. Koch re STIP motion
                     (.1).


23754802 3/22/2019   Discuss draft statement in support of STIP                 0.10   Dexter, Erin E.
                     motion w/ J. Wolf.


23409102 3/22/2019   Prepare STIP talking points outline (1.6); meet            8.20   Duke, Julia C.
                     with E. Dexter re judicial notice (.4); conduct
                     research re judicial notice (6.2).


23420121 3/22/2019   Review STIP diligence (.3); review union                   0.60   Dunne, Dennis F.
                     request (.2); confs with G. Bray re same (.1).


23423605 3/22/2019   Emails w/ J. Wolfe, D. Denny, and M. Shah re               0.20   Koch, Matthew
                     STIP motion.


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23755099 3/22/2019   Email exchange w/ D. Denny and G. Bray re STIP             0.10   Kreller, Thomas R.
                     depositions.


23411275 3/22/2019   Review correspondence re: STIP disposition                 1.40   Shah, Manan
                     (.8); emails w/ M. Koch re STIP motion (.1);
                     correspondence w/ C. Skaliks and J. Beebe re
                     compensation matters (.5).


23423188 3/22/2019   Correspondence re. STIP committee memo (.1);               1.60   Skaliks, Christina M.
                     review and comment on committee memo re: STIP
                     (1); correspondence with M. Shah and J. Beebe
                     re compensation matters (.5).


23409022 3/22/2019   Draft limited objection to STIP motion (1.8);              4.10   Wolf, Julie M.
                     draft statement in support of STIP motion
                     (1.6); discuss same with E. Dexter (.1); review
                     research re: standards for approval of STIP
                     Motion (.6).


23754943 3/22/2019   Emails w/ M. Koch re STIP motion.                          0.10   Wolf, Julie M.


23453632 3/25/2019   Attend advisors call w/ FTI Team (A. Scruton),             0.80   Beebe, James M.
                     Centerview Team (K. Chopra) and Milbank Team
                     (D. Denny, E. Dexter, M. Koch, T. Kreller, P.
                     Milender, R. Franzoia, C. Price, A. Stone, J.
                     Wolf, M. Shah, C. Skaliks, L. Mandel)
                     discussing STIP (.6); review emails re: STIP
                     diligence topics from FTI (.2).


23441303 3/25/2019   Revise draft STIP memorandum (3.5);                        3.80   Denny, Daniel B.
                     correspondence w/ C. Skaliks re STIP (.1); call
                     w/ same re same (.2).


23754804 3/25/2019   Correspondence regarding STIP objection.                   1.00   Dexter, Erin E.


23443118 3/25/2019   Conduct research re judicial notice re: STIP               3.10   Duke, Julia C.
                     (1.9); draft and revise memo re same (1.2).




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23458091 3/25/2019   Correspondence from D. Denny re. STIP (.1);                1.10   Skaliks, Christina M.
                     calls from D. Denny re. STIP (.2); revise STIP
                     memo (.7); correspondence from M. Shah re. STIP
                     memo (.1).


23446524 3/25/2019   Review revised Committee memo re: STIP Motion              1.30   Wolf, Julie M.
                     (.9); review outstanding FTI diligence requests
                     re STIP (.4).


23453650 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI) and M.             2.30   Beebe, James M.
                     Koch, C. Price, J. Beebe, C. Skaliks re STIP
                     (1.2); review STIP detailed questions and
                     depositions (.4); review limited objection to
                     STIP motion draft (.3); discuss STIP w/ C.
                     Skaliks (.1); call w/ C. Skaliks and M. Shah re
                     same (.3).


23441520 3/26/2019   Analyze FTI diligence issues re STIP motion                2.70   Denny, Daniel B.
                     (.7); email E. Dexter re revised draft response
                     to STIP motion (.1); email M. Koch and C. Price
                     regarding revisions to STIP memo (.1); email J.
                     Wolf regarding revisions to draft response to
                     STIP motion (.1); revise draft response to STIP
                     motion (1.7).


23454774 3/26/2019   Call w/ M. Koch and J. Wolfe re STIP (2); t/c              2.20   Dexter, Erin E.
                     with E. Dexter re revised draft response to
                     STIP motion (.1); review of STIP objection
                     (.1).


23432535 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI), C.                1.60   Koch, Matthew
                     Price, J. Beebe, C. Skaliks and M. Shah re STIP
                     (1.2); prepare for same (.2); call w/ E.
                     Dexter, and J. Wolfe re STIP (.2).


23754272 3/26/2019   T/c w/ D. Denny and C. Price re revisions to               0.10   Koch, Matthew
                     STIP memo.




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23454540 3/26/2019   Review STIP filings (.2); analysis re same                 1.70   Kreller, Thomas R.
                     (.5); work on limited objection re same (.6);
                     advisors call w/ A Scruton (FTI), K. Chopra
                     (Centerview) and Milbank Team (D. Denny, P.
                     Milender and J. Wolf) (.4).


23429773 3/26/2019   Attend standing Milbank team call w/ A. Scruton            0.40   Milender, Parker
                     (FTI), K. Chopra (Centerview) and Milbank Team
                     (D. Denny, T. Kreller and J. Wolf,).


23439474 3/26/2019   Call w/ J. Boken (Alix), S. Starr (FTI) and M.             1.70   Price, Craig Michael
                     Koch, C. Price, J. Beebe, C. Skaliks re STIP
                     (1.2); prepare for same (.2); call re STIP
                     response (.2); t/c w/ M. Koch and D. Denny re
                     revisions to STIP memo (.1).


23444116 3/26/2019   Review additional STIP diligence (.6); Call w/             2.60   Shah, Manan
                     J. Boken (Alix), S. Starr (FTI) and M. Koch, C.
                     Price, J. Beebe, C. Skaliks re STIP (1.2); call
                     re next steps on STI w/ FTI and C. Skaliks
                     (.5); call w/ C. Skaliks and J. Beebe re same
                     (.3).


23458162 3/26/2019   Discuss STIP with J. Beebe (.1); Review                    2.60   Skaliks, Christina M.
                     comments to STIP memo (.1); attend STIP
                     diligence Call w/ J. Boken (Alix), S. Starr
                     (FTI) and M. Koch, C. Price, J. Beebe, C.
                     Skaliks re STIP (1.2); call re. next steps on
                     STIP with FTI team and J. Beebe (.6); call w/
                     M. Shah and J. Beebe re STIP pleading (.3);
                     review further revised STIP memo (.1);
                     correspondence re. objection to STIP motion
                     (.1); review further revised STIP memo (.1)


23446552 3/26/2019   Call w/ D. Denny, T. Kreller, P. Milender re               0.70   Wolf, Julie M.
                     STIP (.4); prepare for same (.2); t/c w/ D.
                     Denny re revisions to draft response to STIP
                     motion (.1).




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23446553 3/26/2019   Telephonically attend call with FTI and                    5.90   Wolf, Julie M.
                     Debtors' advisors w/ A. Scruton (FTI), K.
                     Chopra (Centerview) and Milbank Team (D. Denny,
                     T. Kreller, P. Milender) re: STIP Motion
                     diligence (.4); call with M. Koch and E. Dexter
                     re: same (.3); call with litigation team re:
                     same (.6); draft objection to STIP Motion
                     (1.7); revise objection to STIP Motion to
                     incorporate comments (1.1); review objection to
                     STIP Motion filed by U.S. Trustee (1.0); revise
                     request for judicial notice to accompany
                     retention application (.8).


23453684 3/27/2019   Comment on FTI deck re: STIP (1.1); review STIP            1.90   Beebe, James M.
                     objection (.7); call w/ C. Skaliks re STIP
                     pleading (.1).


23754835 3/27/2019   T/c w/ K. Bostel (Weil) (.3) and D. Denny (.5)             0.80   Bray, Gregory A.
                     re STIP motion and response.


23441469 3/27/2019   T/c with FTI (.2) and G. Bray (.5) regarding               2.00   Denny, Daniel B.
                     STIP motion and response; t/c with J. Wolf re
                     revisions to STIP motion response (.1); draft
                     response to STIP motion (.6); review issues re
                     draft response to STIP motion (.5); email
                     exchanges with T. Kreller regarding response to
                     STIP motion (.1).


23454830 3/27/2019   Correspondence regarding STIP motion (1) and               1.30   Dexter, Erin E.
                     review of draft objection (.3).


23432551 3/27/2019   Call w/ S. Starr (FTI), M. Shah, and G. Bray re            0.50   Koch, Matthew
                     STIP.


23755347 3/27/2019   Emails w/ D. Denny re response to STIP motion.             0.20   Kreller, Thomas R.


23434000 3/27/2019   Review (.1) and revise (.4) UCC's objection to             0.50   Mandel, Lena
                     the STIP motion.


23444352 3/27/2019   Review STIP motion.                                        1.80   Shah, Manan




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23458354 3/27/2019   Prepare for call with FTI team re. STIP (.2);             2.00   Skaliks, Christina M.
                     call with FTI team re: STIP (.6); revise STIP
                     memo (.2); revise STIP deck (.7); call with J.
                     Beebe re. STIP pleading (.1); correspondence
                     with M. Shah re. STIP (.1); correspondence with
                     J. Wolf re. STIP pleading (.1).


23454546 3/27/2019   Review and edit motion re: STIP.                          0.30   Stone, Alan J.


23457418 3/27/2019   Review objection to STIP.                                 1.00   Vora, Samir


23446555 3/27/2019   Revise objection to STIP Motion to incorporate            5.10   Wolf, Julie M.
                     comments from Milbank and FTI teams (3.2);
                     telephonically attended omnibus hearing (1.2);
                     communications with FTI re: remaining STIP
                     diligence (.7).


23754947 3/27/2019   T/c w/ D. Denny re revisions to STIP motion               0.20   Wolf, Julie M.
                     response (.1); correspondence w/ C. Skaliks re
                     STIP pleading (.1).


23453949 3/28/2019   Call w/ C. Skaliks re STIP update (.1);                   0.30   Beebe, James M.
                     discussion re committee recommendation on STIP
                     w/ C. Skaliks and M. Shah (.1); correspondence
                     w/ M. Shah and C. Skaliks re STIP pleading
                     (.1).


23754837 3/28/2019   Call w/ S. Starr (FTI), M. Koch and M. Shah re            0.60   Bray, Gregory A.
                     STIP (.5); emails w/ M. Koch re STIP issues
                     (.1).


23754838 3/28/2019   Review STIP (.7); emails w/ M. Shah re STIP               1.20   Bray, Gregory A.
                     issues (.5).


23441477 3/28/2019   Review STIP diligence and proposed responses to           0.80   Denny, Daniel B.
                     STIP motion.


23454296 3/28/2019   Correspondence regarding objection to STIP                0.70   Dexter, Erin E.
                     motion.




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23444234 3/28/2019   Assist D. McCracken with filing and service of             1.50   Fiscina, Brandon
                     3/28 Limited Objection to STIP Motion.


23755401 3/28/2019   Emails w/ M. Koch re STIP issues.                          0.10   Franzoia, Rachel


23755402 3/28/2019   Emails w/ M. Koch re STIP issues.                          0.20   Franzoia, Rachel


23457870 3/28/2019   Emails w/ M. Shah, T. Kreller, J. Wolf and G.              0.40   Koch, Matthew
                     Bray re STIP issues.


23454998 3/28/2019   Review and analyze STIP filings (.6); review               3.20   Kreller, Thomas R.
                     FTI analysis (.4); prepare limited objection re
                     same (2.1); email w/ M. Koch re STIP issues
                     (.1).


23453828 3/28/2019   File Limited Objection to STIP Motion including            8.00   Mccracken, David
                     service (5); continue to update matter
                     deposition transcript and exhibit files (3).


23439478 3/28/2019   Discuss STIP issues (.5); review FTI materials             1.10   Price, Craig Michael
                     re same (.6).


23450289 3/28/2019   Call w/ FTI and C. Skaliks re preparation for              5.40   Shah, Manan
                     committee call (.8); review objection STIP
                     (2.8); review FTI material re: STIP (.7);
                     emails w/ M. Koch re STIP issues (.1); call w/
                     C. Skaliks re STIP (.1); call w/ C. Skaliks and
                     FTI re STIP pleading (.2) and pleading and
                     committee recommendation (.5); discuss
                     committee recommendation on STIP w/ J. Beebe
                     and M. Shah (.1); correspondence w/ C. Skaliks
                     and J. Beebe re STIP pleading (.1).


23755097 3/28/2019   Call w/ S. Starr (FTI), M. Koch and G. Bray re             0.50   Shah, Manan
                     STIP.




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23458400 3/28/2019   Correspondence re. FTI STIP deck (.1); call               3.00   Skaliks, Christina M.
                     with M. Shah re. STIP (.1); call with J. Beebe
                     re. STIP update (.1); call with M. Shah and FTI
                     re. STIP pleading (.2); discuss committee
                     recommendation on STIP with J. Beebe and M.
                     Shah (.1); prepare for Committee call (.7);
                     call w/ FTI and M. Shah re same (.8); revise
                     STIP pleading (.5); review others' comments to
                     STIP pleading (.3); correspondence with M. Shah
                     and J. Beebe re. STIP pleading (.1).


23457425 3/28/2019   Review TCC objection to STIP.                             0.70   Vora, Samir


23446688 3/28/2019   Revise (1.1) and incorporate edits (5.1) to               7.40   Wolf, Julie M.
                     objection to STIP Motion; finalize and file
                     objection to STIP Motion (.3); review FTI
                     slidedeck re: STIP recommendations for
                     Committee meeting (.8); emails w/ M. Koch re
                     STIP issues (.1).


23453741 3/29/2019   Review TCC objection and Union response to STIP           1.00   Beebe, James M.
                     motion.




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                                                          AIR TRAVEL

         Date        Description                                                          Amount Name
37977751 3/11/2019   AIR TRAVEL Airfare: Expense Date: 03/11/2019, Business                406.61   Kreller, Thomas R.
                     Purpose: Attend Court Hearing., Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37977846 3/12/2019   AIR TRAVEL Airfare: Expense Date: 03/12/2019, Business                272.30   Franzoia, Rachel
                     Purpose: Court Hearing, Itinerary: SFO - LAX, International
                     Flight: N, 5 hours: N, Airline: Delta, Class of Service:
                     Economy/Coach

37977847 3/12/2019   AIR TRAVEL Airfare: Expense Date: 03/12/2019, Business                184.40   Franzoia, Rachel
                     Purpose: Court Hearing, Itinerary: LAX - SFO, International
                     Flight: N, 5 hours: N, Airline: American, Class of Service:
                     Economy/Coach

37967070 3/18/2019   AIR TRAVEL Airfare: Expense Date: 03/18/2019, Business                551.95   Denny, Daniel B.
                     Purpose: Attend Deposition of Dinyar Mistry., Itinerary: BUR -
                     OAK - BUR, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach

37977867 3/19/2019   AIR TRAVEL Airfare: Expense Date: 03/19/2019, Business                495.97   Denny, Daniel B.
                     Purpose: Attend Deposition of Douglas Friske., Itinerary: BUR -
                     OAK - BUR, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach

38001456 3/19/2019   AIR TRAVEL Airfare: Expense Date: 03/19/2019, Business                696.61   Vora, Samir
                     Purpose: Strategy meetings with counsel., Itinerary: DCA-LGA-
                     DCA, International Flight: N, 5 hours: N, Airline: American, Class
                     of Service: Economy/Coach

37995451 3/22/2019   AIR TRAVEL Airfare: Expense Date: 03/22/2019, Business                593.79   Kreller, Thomas R.
                     Purpose: Attend Court Hearing, Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37988903 3/26/2019   AIR TRAVEL Airfare: Expense Date: 03/26/2019, Business                406.61   Bray, Gregory A.
                     Purpose: One way ticket from LAX to SFO ($916.59 / 2 =
                     $458.30), Itinerary: LAX-SFO, International Flight: N, 5 hours: N,
                     Airline: Other, Class of Service: Economy

38018225 3/26/2019   AIR TRAVEL Airfare: Expense Date: 03/26/2019, Business                368.79   Kreller, Thomas R.
                     Purpose: Client/Committee Meeting., Itinerary: LAX - SFO - LAX,
                     International Flight: N, 5 hours: N, Airline: American, Class of
                     Service: Economy/Coach

37988904 3/27/2019   AIR TRAVEL Airfare: Expense Date: 03/27/2019, Business                257.98   Bray, Gregory A.
                     Purpose: One way return on Southwest SFO to LA on 3/27/19,
                     Itinerary: SFO-LAX, International Flight: N, 5 hours: N, Airline:
                     Southwest, Class of Service: Economy/Coach




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                                           COURT/CLERICAL SERVICES

         Date        Description                                               Amount Name
38027378 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   60.00   Mccracken, David
                     NETWORK Court services on 3/11/2019 PG&E Corp v Pacific
                     Gas a opposition

38027379 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/12/2019 PG&E statement

38027380 3/17/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/14/2019 PG&E Corp v Pacific
                     Gas a reply

38027393 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                  102.00   Mccracken, David
                     NETWORK Court services on 3/26/2019 USSC San Francisco
                     PG&E Corp. Declaration

38027394 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                   55.00   Mccracken, David
                     NETWORK Court services on 3/28/2019 USDC - PG&E Corp
                     Limited Objections

38027395 3/31/2019   COURT/CLERICAL SERVICES --VENDOR: EXPRESS                  102.00   Mccracken, David
                     NETWORK Court services on 3/27/2018 USDC San Francisco
                     PG&E Corrected Declaration




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                                        ENTERTAINMENT (INCL MEALS)

         Date        Description                                               Amount Name
38137386 3/21/2019   ENTERTAINMENT (INCL MEALS) --VENDOR: FLIK International    406.11   Vora, Samir
                     Corp. Catering - Samir Vora




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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38005276 3/11/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005277 3/11/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005289 3/11/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38005290 3/11/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005291 3/11/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38005292 3/11/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005293 3/11/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005294 3/11/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David

38005295 3/11/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005296 3/11/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38005297 3/11/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38005298 3/11/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38005278 3/12/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38005279 3/12/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005280 3/12/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38005281 3/12/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005282 3/12/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38005283 3/12/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38005284 3/12/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005285 3/12/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38005286 3/12/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38005287 3/12/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38005288 3/12/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David

38015383 3/12/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38015384 3/14/2019   EXPRESS MAIL SAN RAFAEL CA                          20.03   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38015385 3/14/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38015386 3/14/2019   EXPRESS MAIL SACRAMENTO CA                          24.73   Mccracken, David

38015387 3/14/2019   EXPRESS MAIL ARLINGTON TX                           17.96   Mccracken, David

38015388 3/14/2019   EXPRESS MAIL ROCKVILLE MD                           15.82   Mccracken, David

38015389 3/14/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38015390 3/14/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.03   Mccracken, David

38015391 3/14/2019   EXPRESS MAIL SAN JOSE CA                            20.03   Mccracken, David

38015392 3/14/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38015393 3/14/2019   EXPRESS MAIL WASHINGTON DC                          15.82   Mccracken, David

38015394 3/14/2019   EXPRESS MAIL SANTA ROSA CA                          20.03   Mccracken, David

38015395 3/14/2019   EXPRESS MAIL PHILADELPHIA PA                        15.82   Mccracken, David

38015396 3/14/2019   EXPRESS MAIL SAN JOSE CA                            20.03   Mccracken, David

38015397 3/14/2019   EXPRESS MAIL FRESNO CA                              20.03   Mccracken, David

38019449 3/26/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38019450 3/26/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38019451 3/26/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38019452 3/26/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38019453 3/26/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David

38019454 3/26/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38019455 3/26/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38019456 3/26/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38019457 3/26/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38019458 3/26/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David

38019459 3/26/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38019460 3/26/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38019461 3/26/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074260 3/27/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074261 3/27/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074262 3/27/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38074263 3/27/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074264 3/27/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074265 3/27/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074266 3/27/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38074267 3/27/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David

38074268 3/27/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38074269 3/27/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074270 3/27/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David

38074271 3/27/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38074272 3/27/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David

38074247 3/29/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074248 3/29/2019   EXPRESS MAIL FRESNO CA                              20.15   Mccracken, David

38074249 3/29/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074250 3/29/2019   EXPRESS MAIL WASHINGTON DC                          15.91   Mccracken, David

38074251 3/29/2019   EXPRESS MAIL PHILADELPHIA PA                        15.91   Mccracken, David

38074252 3/29/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074253 3/29/2019   EXPRESS MAIL AUBURN CA                              20.15   Mccracken, David

38074254 3/29/2019   EXPRESS MAIL SANTA ROSA CA                          20.15   Mccracken, David

38074255 3/29/2019   EXPRESS MAIL SAN FRANCISCO CA                       20.15   Mccracken, David

38074256 3/29/2019   EXPRESS MAIL SACRAMENTO CA                          24.88   Mccracken, David

38074257 3/29/2019   EXPRESS MAIL ROCKVILLE MD                           15.91   Mccracken, David



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                                                 EXPRESS MAIL

         Date        Description                                      Amount Name
38074258 3/29/2019   EXPRESS MAIL ARLINGTON TX                           18.06   Mccracken, David

38074259 3/29/2019   EXPRESS MAIL SAN RAFAEL CA                          20.15   Mccracken, David




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                                        GROUND TRANSPORTATION - LOCAL

         Date        Description                                                     Amount Name
38136055 2/25/2019   GROUND TRANSPORTATION - LOCAL CET - group, Inc.:                  67.21   Brewster, Jacqueline
                     30984/411149/ - 02/25/19 8:3 From: To:

38136056 2/28/2019   GROUND TRANSPORTATION - LOCAL CET - group, Inc.:                 147.10   Thomas, Charmaine
                     30984/393219/ - 02/28/19 11:1 From: To:

37932666 3/4/2019    GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   49.89   Denny, Daniel B.
                     Expense Date: 03/04/2019, Business Purpose: Attend 341(a)
                     Meeting., From / To: LAX, : Uber

37932667 3/4/2019    GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   52.05   Denny, Daniel B.
                     Expense Date: 03/04/2019, Business Purpose: Attend 341(a)
                     Meeting., From / To: Home, : Uber

38055757 3/11/2019   GROUND TRANSPORTATION - LOCAL                                     25.92   Mccracken, David
                     CONCORD:130542/903112/919 - 03/11/19 10:54PM From:55
                     HUDSON YARDS To:457 W. 57 ST

38055759 3/11/2019   GROUND TRANSPORTATION - LOCAL                                     27.98   Lee, Danielle
                     CONCORD:130542/903112/781 - 03/11/19 8:41PM From:55
                     HUDSON YARDS To:635 W. 42 ST

37977848 3/12/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   64.74   Franzoia, Rachel
                     Expense Date: 03/12/2019, Business Purpose: Court Hearing,
                     From / To: Home, : Uber

37977758 3/13/2019   GROUND TRANSPORTATION - LOCAL Taxi: Expense Date:                 30.00   Kreller, Thomas R.
                     03/13/2019, Business Purpose: Attend Court Hearing., From /
                     To: LAX, : L.A. Checker Cab Co.

38053961 3/13/2019   GROUND TRANSPORTATION - LOCAL                                     26.97   Mccracken, David
                     CONCORD:130251/903132/082 - 03/13/19 10:55PM From:55
                     HUDSON YARDS To:457 W. 57 ST

37967074 3/18/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   22.21   Denny, Daniel B.
                     Expense Date: 03/18/2019, Business Purpose: Attend Deposition
                     of Dinyar Mistry., From / To: Home, : Uber

37967077 3/19/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   21.59   Denny, Daniel B.
                     Expense Date: 03/19/2019, Business Purpose: Attend Deposition
                     of Dinyar Mistry., From / To: Burbank Airport, : Uber

38027601 3/19/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   33.00   Vora, Samir
                     Expense Date: 03/19/2019, Business Purpose: Meeting with FTI
                     re wildfire claims, From / To: Home of Samir Vora, : Uber

38082090 3/19/2019   GROUND TRANSPORTATION - LOCAL                                     90.18   Vora, Samir
                     DIAL:1264379/4634409/082F - 03/19/19 10:16AM From:LGA
                     LGA To:550 W 34 St NYC10001

37977870 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   21.56   Denny, Daniel B.
                     Expense Date: 03/21/2019, Business Purpose: Attend Deposition
                     of Douglas Friske., From / To: Home, : Uber



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                                        GROUND TRANSPORTATION - LOCAL

         Date        Description                                                     Amount Name
37977871 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   22.95   Denny, Daniel B.
                     Expense Date: 03/21/2019, Business Purpose: Attend Deposition
                     of Douglas Friske., From / To: Burbank Airport, : Uber

38027598 3/21/2019   GROUND TRANSPORTATION - LOCAL Uber / Rideshare:                   31.13   Vora, Samir
                     Expense Date: 03/21/2019, Business Purpose: Meeting with FTI
                     re wildfire claims, From / To: DCA Airport , : Uber

38085830 3/27/2019   GROUND TRANSPORTATION - LOCAL                                     33.99   Mccracken, David
                     CONCORD:130779/903270/620 - 03/27/19 12:24AM From:550
                     W. 34 ST To:457 W. 57 ST

38071695 3/28/2019   GROUND TRANSPORTATION - LOCAL                                     31.21   Mccracken, David
                     CONCORD:131238/1040825/643 - 03/28/19 8:22PM From:55
                     HUDSON YARDS To:131 W. 85 ST




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                                     GROUND TRANSPORTATION - OUT OF TOWN

         Date        Description                                                          Amount Name
37932664 3/4/2019    GROUND TRANSPORTATION - OUT OF TOWN Uber /                             34.29   Denny, Daniel B.
                     Rideshare: Expense Date: 03/04/2019, Business Purpose:
                     Attend 341(a) Meeting., From / To: Court, : Uber

37932665 3/4/2019    GROUND TRANSPORTATION - OUT OF TOWN Uber /                             37.32   Denny, Daniel B.
                     Rideshare: Expense Date: 03/04/2019, Business Purpose:
                     Attend 341(a) Meeting., From / To: SFO, : Uber

37977753 3/13/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             25.26   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/13/2019, Business Purpose:
                     Attend Court Hearing., From / To: Court, : Uber

37977757 3/13/2019   GROUND TRANSPORTATION - OUT OF TOWN Taxi: Expense                      50.00   Kreller, Thomas R.
                     Date: 03/13/2019, Business Purpose: Attend Court Hearing.,
                     From / To: Hotel, : San Francisco Taxicab

37967075 3/18/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             34.74   Denny, Daniel B.
                     Rideshare: Expense Date: 03/18/2019, Business Purpose:
                     Attend Deposition of Dinyar Mistry., From / To: Oakland Airport, :
                     Uber

37967076 3/19/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             81.12   Denny, Daniel B.
                     Rideshare: Expense Date: 03/19/2019, Business Purpose:
                     Attend Deposition of Dinyar Mistry., From / To: Deposition, : Uber

38027600 3/19/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             10.11   Vora, Samir
                     Rideshare: Expense Date: 03/19/2019, Business Purpose:
                     Meeting with FTI re wildfire claims, From / To: 535 W 34th Street,
                     New York, NY, : Uber

37977872 3/21/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             50.57   Denny, Daniel B.
                     Rideshare: Expense Date: 03/21/2019, Business Purpose:
                     Attend Deposition of Douglas Friske., From / To: Oakland Aiport,
                     : Uber

37977873 3/21/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             77.41   Denny, Daniel B.
                     Rideshare: Expense Date: 03/21/2019, Business Purpose:
                     Attend Deposition of Douglas Friske., From / To: Deposition, :
                     Uber

37995449 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             27.46   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/27/2019, Business Purpose:
                     Attend Court Hearing, From / To: Court, : Uber

37995455 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Uber /                             75.62   Kreller, Thomas R.
                     Rideshare: Expense Date: 03/27/2019, Business Purpose:
                     Attend Court Hearing, From / To: Hotel, : Uber

37995457 3/27/2019   GROUND TRANSPORTATION - OUT OF TOWN Parking:                           73.00   Kreller, Thomas R.
                     Expense Date: 03/27/2019, Business Purpose: Attend Court
                     Hearing Merchant: LAX Airport Lot P 6




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                                                INTERNET / WIFI ACCESS

         Date        Description                                                       Amount Name
38027597 3/19/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/19/2019,          10.00   Vora, Samir
                     Business Purpose: Meeting with FTI re wildfire claims Merchant:
                     Go Go WiFi - American Airlines

38027596 3/21/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/21/2019,          10.00   Vora, Samir
                     Business Purpose: Meeting with FTI re wildfire claims Merchant:
                     GoGo WiFi - American Airlines

37995448 3/26/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/26/2019,          10.00   Kreller, Thomas R.
                     Business Purpose: Attend Court Hearing Merchant: GoGoAir

37996922 3/28/2019   INTERNET / WIFI ACCESS Air Wifi: Expense Date: 03/28/2019,          12.00   Koch, Matthew
                     Business Purpose: In Flight Wifi on 3/28/2019 Merchant:
                     American Airlines




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                                                  LEXIS

         Date        Description                                     Amount Name
38027276 3/1/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942454 3/4/2019    LEXIS                                               2.00   Orengo, Luis E.

37942460 3/4/2019    LEXIS                                              97.00   Miller, Melanie

38027277 3/4/2019    LEXIS                                              14.58   Kagen, Sarah E.

38027278 3/4/2019    LEXIS                                               7.66   Prudenti, Paula M.

37942453 3/5/2019    LEXIS                                             384.00   Weber, Jordan A.

37942455 3/5/2019    LEXIS                                             330.00   Orengo, Luis E.

38027279 3/5/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942456 3/6/2019    LEXIS                                               2.00   Orengo, Luis E.

37942457 3/6/2019    LEXIS                                              95.00   Wolf, Julie M.

38027280 3/6/2019    LEXIS                                              14.58   Kagen, Sarah E.

38027281 3/7/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942458 3/8/2019    LEXIS                                             780.00   Orengo, Luis E.

38027282 3/8/2019    LEXIS                                              14.58   Kagen, Sarah E.

37942459 3/10/2019   LEXIS                                             270.00   Orengo, Luis E.

37955375 3/11/2019   LEXIS                                               4.00   Fiscina, Brandon

37955376 3/11/2019   LEXIS                                             159.00   Orengo, Luis E.

38027283 3/11/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027284 3/12/2019   LEXIS                                              14.58   Kagen, Sarah E.

37955378 3/13/2019   LEXIS                                             316.00   Ottenstein, Matthew H.

38027285 3/13/2019   LEXIS                                              14.58   Kagen, Sarah E.

37955377 3/14/2019   LEXIS                                              85.00   Ottenstein, Matthew H.

37955379 3/14/2019   LEXIS                                              79.00   Office General, Mr.

38027275 3/14/2019   LEXIS                                               7.39   Prudenti, Paula M.

38027286 3/14/2019   LEXIS                                              14.58   Kagen, Sarah E.



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                                                  LEXIS

         Date        Description                                     Amount Name
38027287 3/15/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971079 3/18/2019   LEXIS                                            1652.00   Franzoia, Rachel

38027288 3/18/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971080 3/19/2019   LEXIS                                            1012.00   Franzoia, Rachel

38027289 3/19/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971081 3/20/2019   LEXIS                                             307.00   Wu, Julia S.

38027290 3/20/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971082 3/21/2019   LEXIS                                             162.00   Wu, Julia S.

38027291 3/21/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971083 3/22/2019   LEXIS                                             253.00   Wu, Julia S.

38027292 3/22/2019   LEXIS                                              14.58   Kagen, Sarah E.

37971084 3/23/2019   LEXIS                                             601.00   Wu, Julia S.

38027293 3/25/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027294 3/26/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027295 3/27/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027296 3/28/2019   LEXIS                                              14.58   Kagen, Sarah E.

38027297 3/29/2019   LEXIS                                              14.58   Kagen, Sarah E.




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                                          LIBRARY RESEARCH

         Date        Description                                     Amount Name
38011284 3/31/2019   LIBRARY RESEARCH                                   17.00   Khalil, Samuel A.

38011285 3/31/2019   LIBRARY RESEARCH                                   25.50   Khalil, Samuel A.

38011286 3/31/2019   LIBRARY RESEARCH                                   51.00   Khalil, Samuel A.

38011287 3/31/2019   LIBRARY RESEARCH                                  731.00   Khalil, Samuel A.

38011288 3/31/2019   LIBRARY RESEARCH                                   68.00   Khalil, Samuel A.




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                                                         LODGING

         Date        Description                                                       Amount Name
37977756 3/13/2019   LODGING Hotel - Lodging: Expense Date: 03/13/2019, Business        641.39   Kreller, Thomas R.
                     Purpose: Attend Court Hearing., Check In - Check Out:
                     03/12/2019-03/13/2019

37977849 3/13/2019   LODGING Hotel - Lodging: Expense Date: 03/13/2019, Business        406.39   Franzoia, Rachel
                     Purpose: Court Hearing, Check In - Check Out: 03/12/2019-
                     03/13/2019

37967072 3/19/2019   LODGING Hotel - Lodging: Expense Date: 03/19/2019, Business        412.52   Denny, Daniel B.
                     Purpose: Attend Deposition of Dinyar Mistry., Check In - Check
                     Out: 03/18/2019-03/19/2019

38001452 3/19/2019   LODGING Hotel - Lodging: Expense Date: 03/19/2019, Business        739.10   Vora, Samir
                     Purpose: Strategy meetings with counsel., Check In - Check Out:
                     03/19/2019-03/21/2019

37988906 3/26/2019   LODGING Hotel - Lodging: Expense Date: 03/26/2019, Business        685.96   Bray, Gregory A.
                     Purpose: One way return on Southwest SFO to LA on 3/27/19,
                     Check In - Check Out: 03/26/2019-03/27/2019

37995454 3/27/2019   LODGING Hotel - Lodging: Expense Date: 03/27/2019, Business        648.79   Kreller, Thomas R.
                     Purpose: Attend Court Hearing, Check In - Check Out:
                     03/26/2019-03/27/2019




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                                                      MEAL, OVERTIME

         Date        Description                                                          Amount Name
37936268 3/2/2019    MEAL, OVERTIME Dinner: Expense Date: 03/02/2019, Business               3.60   Kim, Jae Yeon Cecelia
                     Purpose: weekend worked 6 hours., Merchant: thai, Guest(s):
                     Kim, Jae Yeon Cecelia

37977857 3/3/2019    MEAL, OVERTIME Dinner: Expense Date: 03/03/2019, Business              30.00   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Tender
                     Greens, Guest(s): Franzoia, Rachel

37944931 3/4/2019    MEAL, OVERTIME Dinner: Expense Date: 03/04/2019, Business              24.17   Orengo, Luis E.
                     Purpose: After hours meal while working on client/matter
                     44553.00001., Merchant: Pret, Guest(s): Orengo, Luis E.

37977858 3/5/2019    MEAL, OVERTIME Dinner: Expense Date: 03/05/2019, Business              22.40   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Yen Sushi,
                     Guest(s): Franzoia, Rachel

38010308 3/5/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  27.87   Orengo, Luis E.

37944879 3/6/2019    MEAL, OVERTIME Meal Allowance: Expense Date: 03/06/2019,               10.00   Ayandipo, Abayomi A.
                     Business Purpose: Participate in litigation team meeting re filing
                     logistics; review case management procedures order ; research
                     case docket and prepare litigation team work materials re case
                     law regarding arguments in opposition to preliminary injunction,
                     FERC and PPA counter-parties opposition and adversary

37944932 3/6/2019    MEAL, OVERTIME Dinner: Expense Date: 03/06/2019, Business              23.72   Orengo, Luis E.
                     Purpose: OT meal working on client/matter 44553.00001.,
                     Merchant: Pret, Guest(s): Orengo, Luis E.

38037696 3/6/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  30.00   Koch, Matthew

37944881 3/7/2019    MEAL, OVERTIME Meal Allowance: Expense Date: 03/07/2019,               10.00   Ayandipo, Abayomi A.
                     Business Purpose: Attention to correspondence refiling logistics
                     and review of case management procedures order; prepare
                     litigation team work materials re case law, statutes and pleadings
                     regarding motion to appoint PE Committee and materials related
                     to March 13, 2019 hearing.

37949548 3/7/2019    MEAL, OVERTIME Dinner: Expense Date: 03/07/2019, Business               8.97   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977856 3/7/2019    MEAL, OVERTIME Dinner: Expense Date: 03/07/2019, Business              13.66   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Tacos Tu
                     Madre, Guest(s): Franzoia, Rachel

38037697 3/7/2019    MEAL, OVERTIME Seamless Web - OT Meal                                  30.00   Thomas, Charmaine

37977207 3/9/2019    MEAL, OVERTIME Lunch: Expense Date: 03/09/2019, Business               12.00   Mccracken, David
                     Purpose: OT Sat lunch Merchant: Roosevelt Gourmet

37977208 3/10/2019   MEAL, OVERTIME Lunch: Expense Date: 03/10/2019, Business               11.43   Mccracken, David
                     Purpose: OT Sun lunch Merchant: Roosevelt Gourmet



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                                                     MEAL, OVERTIME

         Date        Description                                                        Amount Name
37955731 3/11/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/11/2019,             10.00   Ayandipo, Abayomi A.
                     Business Purpose: Attention to correspondence re opposition to
                     motion for appointment of Official Committee of Public Entities;
                     prepare litigation team work materials re related case law,
                     statutes and pleadings regarding motion to appoint PE
                     Committee.

37955867 3/11/2019   MEAL, OVERTIME Dinner: Expense Date: 03/11/2019, Business            10.88   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38037694 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew

38037695 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal COS filing                     30.00   Mccracken, David

38037698 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Thomas, Charmaine

38037699 3/11/2019   MEAL, OVERTIME Seamless Web - OT Meal                                27.01   Lee, Danielle

37962491 3/13/2019   MEAL, OVERTIME Dinner: Expense Date: 03/13/2019, Business            17.35   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977855 3/13/2019   MEAL, OVERTIME Dinner: Expense Date: 03/13/2019, Business            23.65   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Alfred
                     Coffee, Guest(s): Franzoia, Rachel

38037692 3/13/2019   MEAL, OVERTIME Seamless Web - OT Meal ECF filing                     30.00   Mccracken, David

38037693 3/13/2019   MEAL, OVERTIME Seamless Web - OT Meal                                22.80   Koch, Matthew

37955742 3/14/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/14/2019,             10.00   Ayandipo, Abayomi A.
                     Business Purpose: Coordinate service on litigation parties
                     regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same.

38037691 3/14/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew

37977859 3/17/2019   MEAL, OVERTIME Dinner: Expense Date: 03/17/2019, Business            12.00   Franzoia, Rachel
                     Purpose: Working/Overtime Meal - PG&E, Merchant: Whole
                     Foods, Guest(s): Franzoia, Rachel

37981861 3/19/2019   MEAL, OVERTIME Dinner: Expense Date: 03/19/2019, Business             7.57   Pierucci, Katherine R.
                     Purpose: OT meal working on matters, Merchant: California
                     Pizza Kitchen, Guest(s): Pierucci, Katherine R.

38048440 3/19/2019   MEAL, OVERTIME Seamless Web - OT Meal                                30.00   Koch, Matthew




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                                                   MEAL, OVERTIME

         Date        Description                                                     Amount Name
37977906 3/20/2019   MEAL, OVERTIME Meal Allowance: Expense Date: 03/20/2019,          10.00   Ayandipo, Abayomi A.
                     Business Purpose: Follow up re service on litigation parties
                     regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same; prepare and organize
                     litigation team work materials re SEC documents and Committee
                     meeting work

38048439 3/20/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Koch, Matthew

37977574 3/25/2019   MEAL, OVERTIME Dinner: Expense Date: 03/25/2019, Business         21.49   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

37977576 3/26/2019   MEAL, OVERTIME Dinner: Expense Date: 03/26/2019, Business         10.60   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38048441 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Koch, Matthew

38048442 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal Decl filing                 30.00   Mccracken, David

38048445 3/26/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Thomas, Charmaine

37988728 3/27/2019   MEAL, OVERTIME Dinner: Expense Date: 03/27/2019, Business         13.60   Price, Craig Michael
                     Purpose: Overtime meal during work in PG&E matter, Merchant:
                     River Restaurant, Guest(s): Price, Craig Michael

38048446 3/27/2019   MEAL, OVERTIME Seamless Web - OT Meal                             30.00   Thomas, Charmaine

38048443 3/28/2019   MEAL, OVERTIME Seamless Web - OT Meal ECF filing                  30.00   Mccracken, David

38048444 3/28/2019   MEAL, OVERTIME Seamless Web - OT Meal                             24.05   Fiscina, Brandon




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                                                     MEALS - LOCAL

         Date        Description                                                       Amount Name
37945539 3/5/2019    MEALS - LOCAL Dinner: Expense Date: 03/05/2019, Business            18.51   Koch, Matthew
                     Purpose: OT Working Meal on 3/5/19 at 7:10PM, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37945540 3/7/2019    MEALS - LOCAL Dinner: Expense Date: 03/07/2019, Business            22.31   Koch, Matthew
                     Purpose: OT Working Dinner 3/7/2019 at 6:16pm, Merchant:
                     River Restaurant, Guest(s): Koch, Matthew

38006463 3/14/2019   MEALS - LOCAL Dinner: Expense Date: 03/14/2019, Business            23.23   Wu, Julia S.
                     Purpose: Ordered dinner while working on case., Merchant:
                     Tender Greens, Guest(s): Wu, Julia S.

37967252 3/15/2019   MEALS - LOCAL Dinner: Expense Date: 03/15/2019, Business            24.32   Koch, Matthew
                     Purpose: OT Working Dinner on 3/15/2019., Merchant: Mulberry
                     & Vine, Guest(s): Koch, Matthew

37967250 3/16/2019   MEALS - LOCAL Dinner: Expense Date: 03/16/2019, Business            16.55   Koch, Matthew
                     Purpose: OT Dinner on 3/16/2019. Working Meal, Merchant:
                     EPICE CAFE, Guest(s): Koch, Matthew

37967251 3/17/2019   MEALS - LOCAL Dinner: Expense Date: 03/17/2019, Business            13.66   Koch, Matthew
                     Purpose: OT Dinner on 3/17/2019. Working Meal for PG&E,
                     Merchant: River Restaurant, Guest(s): Koch, Matthew

37967254 3/18/2019   MEALS - LOCAL Dinner: Expense Date: 03/18/2019, Business            12.51   Koch, Matthew
                     Purpose: OT Working Dinner on 3/18/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

38001453 3/19/2019   MEALS - LOCAL Snacks and Beverage: Expense Date:                     4.16   Vora, Samir
                     03/19/2019, Business Purpose: Meeting w/FTI re Wildfire claims,
                     Merchant: Paradies Lagardere, DCA Airport, Guest(s): Vora,
                     Samir

37971320 3/21/2019   MEALS - LOCAL Dinner: Expense Date: 03/21/2019, Business            28.61   Koch, Matthew
                     Purpose: OT Working Dinner 3/21/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37977586 3/25/2019   MEALS - LOCAL Dinner: Expense Date: 03/25/2019, Business            20.95   Koch, Matthew
                     Purpose: Working Dinner on 3/25/2019, Merchant: River
                     Restaurant, Guest(s): Koch, Matthew

37996926 3/27/2019   MEALS - LOCAL Dinner: Expense Date: 03/27/2019, Business            30.00   Koch, Matthew
                     Purpose: OT Working Meal 3/27/2019, Merchant: Mulberry &
                     Vine, Guest(s): Koch, Matthew




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                                                 MEALS - OUT OF TOWN

         Date        Description                                                       Amount Name
37977754 3/12/2019   MEALS - OUT OF TOWN Hotel - Dinner: Expense Date:                   75.00   Kreller, Thomas R.
                     03/12/2019, Business Purpose: Attend Court Hearing., Guest(s):
                     Kreller, Thomas R.

37977755 3/13/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                75.00   Kreller, Thomas R.
                     03/13/2019, Business Purpose: Attend Court Hearing., Guest(s):
                     Kreller, Thomas R.

37967071 3/19/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/19/2019,               19.68   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Dinyar Mistry.,
                     Merchant: Bar 510 OAK Airport, Guest(s): Denny, Daniel B.

37967073 3/19/2019   MEALS - OUT OF TOWN Breakfast: Expense Date: 03/19/2019,             8.78   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Dinyar Mistry. Merchant:
                     McDonald's

38001454 3/19/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/19/2019,               75.00   Vora, Samir
                     Business Purpose: Meeting w/FTI re Wildfire claims *Detailed
                     Receipt not available. Only submitting for reimbursement the
                     $75 allotted dinner amount. The dinner receipt was more than
                     $75., Merchant: Tailor Public House, Guest(s): Vora, Samir

37977868 3/21/2019   MEALS - OUT OF TOWN Lunch: Expense Date: 03/21/2019,                13.80   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Douglas Friske.
                     Merchant: Moolicious Cafe and Crepe, One Sansome Street,
                     105, San Francisco, CA 94104

37977869 3/21/2019   MEALS - OUT OF TOWN Dinner: Expense Date: 03/21/2019,               25.80   Denny, Daniel B.
                     Business Purpose: Attend Deposition of Douglas Friske.,
                     Merchant: SSP America - Tap and Pour - OAK Airport, Guest(s):
                     Denny, Daniel B.

38001455 3/21/2019   MEALS - OUT OF TOWN Snacks and Beverage: Expense Date:              13.05   Vora, Samir
                     03/21/2019, Business Purpose: Meeting w/FTI re Wildfire claims,
                     Merchant: SSP Tap & Pour, LaGuardia Airport, Guest(s): Vora,
                     Samir

37988905 3/26/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                50.95   Bray, Gregory A.
                     03/26/2019, Business Purpose: Attend PG&E meeting, Guest(s):
                     Bray, Gregory A.

37995452 3/26/2019   MEALS - OUT OF TOWN Hotel - Dinner: Expense Date:                   75.00   Kreller, Thomas R.
                     03/26/2019, Business Purpose: Attend Court Hearing, Guest(s):
                     Kreller, Thomas R.

37995453 3/27/2019   MEALS - OUT OF TOWN Hotel - Breakfast: Expense Date:                73.52   Kreller, Thomas R.
                     03/27/2019, Business Purpose: Attend Court Hearing, Guest(s):
                     Kreller, Thomas R.




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                                            OTHER APPROVED EXPENSES

         Date        Description                                                     Amount Name
37977750 3/11/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/11/2019, Business Purpose: Attend Court Hearing.
                     Agency: Ultramar

37977845 3/12/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                15.00   Franzoia, Rachel
                     Date: 03/12/2019, Business Purpose: Court Hearing Agency:
                     Ultramar

37967069 3/18/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Denny, Daniel B.
                     Date: 03/18/2019, Business Purpose: Attend Deposition of
                     Dinyar Mistry. Agency: Ultramar

37977866 3/19/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Denny, Daniel B.
                     Date: 03/19/2019, Business Purpose: Attend Deposition of
                     Douglas Friske. Agency: Ultramar

37995450 3/22/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/22/2019, Business Purpose: Attend Court Hearing
                     Agency: Ultramar

38018224 3/26/2019   OTHER APPROVED EXPENSES Travel Agency Fee: Expense                30.00   Kreller, Thomas R.
                     Date: 03/26/2019, Business Purpose: Client/Committee Meeting.
                     Agency: Ultramar




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                                         OUTSIDE WORD PROCESSING

         Date        Description                                         Amount Name
38027420 3/13/2019   OUTSIDE WORD PROCESSING --VENDOR: Lone Star Legal    388.89   Aronzon, Paul S.
                     LLC Word Processing - printing and binding




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                                             PHOTOCOPIES

         Date        Description                                     Amount Name
37929956 3/2/2019    PHOTOCOPIES                                         0.20   Kim, Jae Yeon Cecelia

37933823 3/4/2019    PHOTOCOPIES                                        10.30   Duplicating, D. C.

37933824 3/4/2019    PHOTOCOPIES                                        10.80   Orengo, Luis E.

37933825 3/5/2019    PHOTOCOPIES                                         1.70   Orengo, Luis E.

37933822 3/6/2019    PHOTOCOPIES                                         4.40   Duke, Julia C.

37933826 3/6/2019    PHOTOCOPIES                                         6.80   Orengo, Luis E.

37944057 3/7/2019    PHOTOCOPIES                                         2.10   Ayandipo, Abayomi A.

37944058 3/8/2019    PHOTOCOPIES                                         1.20   Ayandipo, Abayomi A.

37944059 3/8/2019    PHOTOCOPIES                                         1.40   Orengo, Luis E.

37944060 3/12/2019   PHOTOCOPIES                                        13.50   Duplicating, D. C.

37950402 3/13/2019   PHOTOCOPIES                                         1.80   Chase, Annette

37959041 3/15/2019   PHOTOCOPIES                                        79.10   Duplicating, D. C.

37959042 3/15/2019   PHOTOCOPIES                                         1.60   Capolino, Margherita Angela

37973096 3/25/2019   PHOTOCOPIES                                        11.10   Duplicating, D. C.

37973097 3/25/2019   PHOTOCOPIES                                         3.00   Wolf, Julie M.

37973098 3/25/2019   PHOTOCOPIES                                         0.90   Orengo, Luis E.

37979510 3/27/2019   PHOTOCOPIES                                        52.10   Duplicating, D. C.

37990638 3/28/2019   PHOTOCOPIES                                         0.70   Wolf, Julie M.

37990639 3/28/2019   PHOTOCOPIES                                         2.50   Orengo, Luis E.




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                                                 PRINTING

         Date       Description                                       Amount Name
37926469 3/1/2019   PRINTING                                              1.20   Franzoia, Rachel

37926470 3/1/2019   PRINTING                                              6.40   Palmer, Jenni

37926471 3/1/2019   PRINTING                                              4.30   Behrens, James C.

37926472 3/1/2019   PRINTING                                             36.00   La Office Services

37926473 3/1/2019   PRINTING                                             11.40   Denny, Daniel B.

37929954 3/1/2019   PRINTING                                              0.10   Esposito, Debra

37929955 3/1/2019   PRINTING                                             11.00   Koch, Matthew

37929957 3/1/2019   PRINTING                                             64.30   Kim, Jae Yeon Cecelia

37929958 3/4/2019   PRINTING                                             84.20   Kim, Jae Yeon Cecelia

37929959 3/4/2019   PRINTING                                             97.50   Brewster, Jacqueline

37933827 3/4/2019   PRINTING                                              1.00   Duplicating, D. C.

37934132 3/4/2019   PRINTING                                              4.20   Kreller, Thomas R.

37933828 3/5/2019   PRINTING                                              1.20   Wolf, Julie M.

37934133 3/5/2019   PRINTING                                              1.20   Kreller, Thomas R.

37934134 3/5/2019   PRINTING                                             29.60   Palmer, Jenni

37934135 3/5/2019   PRINTING                                              5.00   Franzoia, Rachel

37934136 3/5/2019   PRINTING                                              7.60   Denny, Daniel B.

37935940 3/5/2019   PRINTING                                              6.00   Admin Xerox 1

37935943 3/5/2019   PRINTING                                             13.80   Kim, Jae Yeon Cecelia

37933829 3/6/2019   PRINTING                                              1.60   Wolf, Julie M.

37934137 3/6/2019   PRINTING                                              4.10   Denny, Daniel B.

37934138 3/6/2019   PRINTING                                              4.90   Franzoia, Rachel

37934139 3/6/2019   PRINTING                                              6.50   Connelly, Rachael

37935941 3/6/2019   PRINTING                                              5.00   Admin Xerox 1

37935942 3/6/2019   PRINTING                                              3.00   Koch, Matthew



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                                                  PRINTING

         Date        Description                                       Amount Name
37935944 3/6/2019    PRINTING                                              1.00   Kim, Jae Yeon Cecelia

37935945 3/6/2019    PRINTING                                             32.60   Brewster, Jacqueline

37944061 3/7/2019    PRINTING                                              1.70   Anderson, Angel R.

37944062 3/7/2019    PRINTING                                              8.40   Wolf, Julie M.

37944434 3/7/2019    PRINTING                                              0.60   Kreller, Thomas R.

37944435 3/7/2019    PRINTING                                             49.10   Palmer, Jenni

37944436 3/7/2019    PRINTING                                              4.70   Franzoia, Rachel

37944437 3/7/2019    PRINTING                                              3.30   Denny, Daniel B.

37944445 3/7/2019    PRINTING                                              5.80   Connelly, Rachael

37948331 3/7/2019    PRINTING                                             59.00   Koch, Matthew

37944438 3/8/2019    PRINTING                                              0.70   Denny, Daniel B.

37944439 3/8/2019    PRINTING                                              0.20   Palmer, Jenni

37944446 3/8/2019    PRINTING                                             22.00   Connelly, Rachael

37948332 3/8/2019    PRINTING                                              6.10   Koch, Matthew

37948337 3/8/2019    PRINTING                                            131.20   Thomas, Charmaine

37948338 3/8/2019    PRINTING                                              1.80   Kim, Jae Yeon Cecelia

37948344 3/8/2019    PRINTING                                             74.10   Adeyosoye, Adeola O.

37944440 3/11/2019   PRINTING                                             19.10   Palmer, Jenni

37944441 3/11/2019   PRINTING                                              3.90   Denny, Daniel B.

37944444 3/11/2019   PRINTING                                            142.30   La Office Services

37948334 3/11/2019   PRINTING                                              3.40   Bice, William B.

37948335 3/11/2019   PRINTING                                              1.40   Fiscina, Brandon

37948339 3/11/2019   PRINTING                                             32.90   Kim, Jae Yeon Cecelia

37948340 3/11/2019   PRINTING                                            164.50   Thomas, Charmaine

37948341 3/11/2019   PRINTING                                              0.20   Brewster, Jacqueline



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                                                  PRINTING

         Date        Description                                       Amount Name
37944442 3/12/2019   PRINTING                                              1.90   Denny, Daniel B.

37944443 3/12/2019   PRINTING                                              1.20   Kreller, Thomas R.

37948333 3/12/2019   PRINTING                                              5.10   Fiscina, Brandon

37948336 3/12/2019   PRINTING                                              0.20   Fiscina, Brandon

37948342 3/12/2019   PRINTING                                              1.20   Kim, Jae Yeon Cecelia

37948343 3/12/2019   PRINTING                                             14.00   Cosentino, Richard

37950626 3/13/2019   PRINTING                                              0.50   Palmer, Jenni

37950627 3/13/2019   PRINTING                                              5.30   Denny, Daniel B.

37953237 3/13/2019   PRINTING                                              1.40   Fiscina, Brandon

37950628 3/14/2019   PRINTING                                              0.10   Denny, Daniel B.

37950629 3/14/2019   PRINTING                                              3.40   Palmer, Jenni

37953238 3/14/2019   PRINTING                                             49.20   Koch, Matthew

37953239 3/14/2019   PRINTING                                              0.20   Ottenstein, Matthew H.

37959329 3/15/2019   PRINTING                                              5.60   Kreller, Thomas R.

37959330 3/15/2019   PRINTING                                              0.40   Palmer, Jenni

37959331 3/15/2019   PRINTING                                              0.60   Denny, Daniel B.

37961947 3/15/2019   PRINTING                                              1.80   Bice, William B.

37959332 3/18/2019   PRINTING                                              1.90   Denny, Daniel B.

37959333 3/18/2019   PRINTING                                             24.80   La Office Services

37959334 3/18/2019   PRINTING                                             26.40   Palmer, Jenni

37959335 3/18/2019   PRINTING                                             20.90   Franzoia, Rachel

37959336 3/18/2019   PRINTING                                              5.90   Kreller, Thomas R.

37959338 3/18/2019   PRINTING                                              1.90   Wu, Julia S.

37959337 3/19/2019   PRINTING                                              9.80   Behrens, James C.

37961946 3/19/2019   PRINTING                                              1.00   Esposito, Debra



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                                                  PRINTING

         Date        Description                                       Amount Name
37968452 3/20/2019   PRINTING                                              1.60   Behrens, James C.

37968453 3/20/2019   PRINTING                                              0.30   Denny, Daniel B.

37968455 3/20/2019   PRINTING                                              2.90   Wu, Julia S.

37968454 3/21/2019   PRINTING                                              1.20   Franzoia, Rachel

37968456 3/21/2019   PRINTING                                              0.50   Wu, Julia S.

37969961 3/21/2019   PRINTING                                             21.60   Koch, Matthew

37969962 3/21/2019   PRINTING                                              3.00   Bice, William B.

37973253 3/22/2019   PRINTING                                              0.70   Kreller, Thomas R.

37973254 3/22/2019   PRINTING                                              4.70   Franzoia, Rachel

37973255 3/22/2019   PRINTING                                              2.50   Denny, Daniel B.

37975227 3/22/2019   PRINTING                                              5.60   Koch, Matthew

37973256 3/25/2019   PRINTING                                              4.80   Denny, Daniel B.

37975228 3/25/2019   PRINTING                                              3.20   Bice, William B.

37975229 3/25/2019   PRINTING                                              5.40   Miller, Denise

37979684 3/26/2019   PRINTING                                              0.60   Kreller, Thomas R.

37979685 3/26/2019   PRINTING                                             12.10   Denny, Daniel B.

37981762 3/26/2019   PRINTING                                             13.20   Koch, Matthew

37981763 3/26/2019   PRINTING                                              1.70   Fiscina, Brandon

37981766 3/26/2019   PRINTING                                              7.90   Bice, William B.

37981764 3/27/2019   PRINTING                                              1.40   Fiscina, Brandon

37981765 3/27/2019   PRINTING                                              5.70   Koch, Matthew

37991001 3/28/2019   PRINTING                                              0.50   Palmer, Jenni

37993363 3/28/2019   PRINTING                                              7.50   Fiscina, Brandon

37991002 3/29/2019   PRINTING                                              2.80   Denny, Daniel B.

37991003 3/29/2019   PRINTING                                              0.60   Kreller, Thomas R.



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                                                  PRINTING

         Date        Description                                       Amount Name
37993365 3/29/2019   PRINTING                                              0.60   Bice, William B.




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                                                TELEPHONE

         Date        Description                                              Amount Name
37932408 3/1/2019    TELEPHONE AUSTIN    TX KOCH,MATTHEW        5054             2.56   Koch, Matthew

37932409 3/1/2019    TELEPHONE SEATTLE    WA KOCH,MATTHEW            5054        0.22   Koch, Matthew

37932410 3/1/2019    TELEPHONE SANFRNCSCO CA ESPOSITO,DEBRA            8381      0.36   Esposito, Debra

38044110 3/1/2019    TELEPHONE LOOPUP                                            4.03   Koch, Matthew

38044111 3/4/2019    TELEPHONE LOOPUP                                           11.61   Koch, Matthew

38044112 3/4/2019    TELEPHONE LOOPUP                                            1.36   Duke, Julia C.

37942906 3/5/2019    TELEPHONE SANFRNCSCO CA DENNY,DANIEL B           4302       0.69   Denny, Daniel B.

37943625 3/5/2019    TELEPHONE GRASSVLY S CA PRICE,CRAIG         5612            3.29   Price, Craig Michael

38044113 3/5/2019    TELEPHONE LOOPUP                                            3.11   Koch, Matthew

38044114 3/5/2019    TELEPHONE LOOPUP                                            1.09   Koch, Matthew

37942802 3/6/2019    TELEPHONE SANFRNCSCO CA WOLF,JULIE M            7534        0.72   Wolf, Julie M.

37942907 3/6/2019    TELEPHONE NASZ 5    NY AYOUB,EMILE G.     4571              3.29   Ayoub, Emile G.

38044115 3/6/2019    TELEPHONE LOOPUP                                            3.05   Dexter, Erin E.

38044143 3/6/2019    TELEPHONE LOOPUP                                            1.80   Orengo, Luis E.

38044116 3/7/2019    TELEPHONE LOOPUP                                            0.05   Aronzon, Paul S.

38044117 3/7/2019    TELEPHONE LOOPUP                                            1.54   Aronzon, Paul S.

38044118 3/7/2019    TELEPHONE LOOPUP                                           94.58   Koch, Matthew

38044119 3/7/2019    TELEPHONE LOOPUP                                            0.51   Koch, Matthew

37938379 3/11/2019   TELEPHONE - - VENDOR: COURTCALL LLC 2/26/19 - US           42.50   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORP/19-30088

38044120 3/11/2019   TELEPHONE LOOPUP                                           11.95   Koch, Matthew

38044149 3/11/2019   TELEPHONE LOOPUP                                            0.05   Thomas, Charmaine

38044150 3/11/2019   TELEPHONE LOOPUP                                            0.31   Koch, Matthew

38044151 3/11/2019   TELEPHONE LOOPUP                                            2.14   Koch, Matthew

37948740 3/12/2019   TELEPHONE - - VENDOR: COURTCALL LLC TELEPHONIC             35.00   Kreller, Thomas R.
                     APPEARANCE AT HEARING 3/12/19 AT 9:30 AM PT


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                                                 TELEPHONE

         Date        Description                                                Amount Name
37957284 3/12/2019   TELEPHONE SAN JOSE    CA KOCH,MATTHEW            5054         2.52   Koch, Matthew

37957285 3/12/2019   TELEPHONE RAMEY      MN KOCH,MATTHEW         5054             4.58   Koch, Matthew

38044121 3/12/2019   TELEPHONE LOOPUP                                              3.98   Koch, Matthew

38044122 3/12/2019   TELEPHONE LOOPUP                                              5.81   Koch, Matthew

38044123 3/12/2019   TELEPHONE LOOPUP                                              0.47   Dexter, Erin E.

38044152 3/12/2019   TELEPHONE LOOPUP                                              0.22   Koch, Matthew

38044153 3/12/2019   TELEPHONE LOOPUP                                              0.63   Capolino, Margherita Angela

37957286 3/13/2019   TELEPHONE AUSTIN     TX KOCH,MATTHEW        5054              2.92   Koch, Matthew

38044124 3/13/2019   TELEPHONE LOOPUP                                             69.50   Koch, Matthew

37949707 3/14/2019   TELEPHONE - - VENDOR: COURTCALL LLC 2/27/19 - US            132.50   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORPORATION/19-30088

37957287 3/14/2019   TELEPHONE NEVADACITY CA KOCH,MATTHEW              5054        1.09   Koch, Matthew

37957288 3/14/2019   TELEPHONE SEATTLE    WA KOCH,MATTHEW             5054         0.45   Koch, Matthew

38044125 3/14/2019   TELEPHONE LOOPUP                                             77.05   Koch, Matthew

37957289 3/15/2019   TELEPHONE CHICAGO     IL PRICE,CRAIG      5612                6.29   Price, Craig Michael

37957290 3/15/2019   TELEPHONE CHICAGO     IL PRICE,CRAIG      5612               12.59   Price, Craig Michael

38044126 3/15/2019   TELEPHONE LOOPUP                                              2.99   Koch, Matthew

38044127 3/17/2019   TELEPHONE LOOPUP                                              1.49   Koch, Matthew

38044144 3/17/2019   TELEPHONE LOOPUP                                              5.17   Wolf, Julie M.

38044128 3/18/2019   TELEPHONE LOOPUP                                             16.83   Koch, Matthew

37976094 3/19/2019   TELEPHONE SANFRNSCSO CA BEHRENS,JAMES C.            4436      6.99   Behrens, James C.

38044129 3/19/2019   TELEPHONE LOOPUP                                              3.80   Koch, Matthew

38044130 3/19/2019   TELEPHONE LOOPUP                                              3.18   Koch, Matthew

38044145 3/19/2019   TELEPHONE LOOPUP                                             21.44   Wolf, Julie M.

38044146 3/19/2019   TELEPHONE LOOPUP                                              6.45   Vora, Samir



                                                       30
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                                                 Ending March 31, 2019

                                                     TELEPHONE

         Date        Description                                                  Amount Name
37967371 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/11/19 - US               35.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO)

37967372 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/12/19 - US               35.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO)

37967375 3/21/2019   TELEPHONE - - VENDOR: COURTCALL LLC 3/13/19 - US              170.00   Koch, Matthew
                     BANKRUPTCY COURT-ND CALIFORNIA (SAN FRANCISCO) -
                     PG&E CORPORATION/19-30088

38044131 3/21/2019   TELEPHONE LOOPUP                                                0.36   Koch, Matthew

38044132 3/21/2019   TELEPHONE LOOPUP                                               37.98   Koch, Matthew

38044147 3/21/2019   TELEPHONE LOOPUP                                               10.68   Wolf, Julie M.

38044133 3/22/2019   TELEPHONE LOOPUP                                                0.73   Koch, Matthew

38044134 3/22/2019   TELEPHONE LOOPUP                                                7.47   Koch, Matthew

38044135 3/22/2019   TELEPHONE LOOPUP                                                0.73   Koch, Matthew

38044136 3/25/2019   TELEPHONE LOOPUP                                               13.28   Koch, Matthew

38044137 3/26/2019   TELEPHONE LOOPUP                                                4.63   Koch, Matthew

38044138 3/26/2019   TELEPHONE LOOPUP                                                1.68   Koch, Matthew

37988489 3/27/2019   TELEPHONE REDFIELD      SD KOCH,MATTHEW             5054       12.82   Koch, Matthew

37988490 3/27/2019   TELEPHONE REDFIELD      SD PRICE,CRAIG         5612            10.99   Price, Craig Michael

38044139 3/27/2019   TELEPHONE LOOPUP                                               21.76   Koch, Matthew

38044140 3/27/2019   TELEPHONE LOOPUP                                                5.17   Koch, Matthew

38044141 3/28/2019   TELEPHONE LOOPUP                                              111.08   Koch, Matthew

38044148 3/28/2019   TELEPHONE LOOPUP                                                4.14   Wolf, Julie M.

37988491 3/29/2019   TELEPHONE SANFRNSCSO CA PRICE,CRAIG                 5612        5.13   Price, Craig Michael

37988492 3/29/2019   TELEPHONE SANFRNSCSO CA BICE,WILLIAM B.             5622        2.92   Bice, William B.

38044142 3/29/2019   TELEPHONE LOOPUP                                                4.89   Koch, Matthew

38027639 3/31/2019   TELEPHONE Data / Mobile Charges: Expense Date: 03/31/2019,     60.47   Aronzon, Paul S.
                     Business Purpose: Only Group 2 and line ending in 4006 are
                     reimbursable. Used for client communication. Merchant: ATT




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                                         TRANSCRIPT/DEPOSITION FEES

         Date        Description                                            Amount Name
37942627 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS          33.60   Thomas, Charmaine
                     LLC 2/13/19 - HEARING TRANSCRIPT

37942629 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS         132.00   Thomas, Charmaine
                     LLC 2/13/19 - HEARING TRANSCRIPT

37942630 3/13/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: ESCRIBERS          39.60   Thomas, Charmaine
                     LLC 2/26/19 - HEARING TRANSCRIPT

37967053 3/21/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: Jo McCall         233.20   Thomas, Charmaine
                     Court Reporting 1/29 & 1/31/19 - HEARING TRANSCRIPTS

38015422 3/25/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: VERITEXT         1176.57   Aronzon, Paul S.
                     DEPOSITION TRANSCRIPT FOR 3/19/19 DEPOSITION OF
                     DINYAR MISTRY

38045127 3/29/2019   TRANSCRIPT/DEPOSITION FEES - - VENDOR: VERITEXT         1410.18   Aronzon, Paul S.
                     DEPOSITION TRANSCRIPT FOR DEPO OF DOUGLAS FRISKE
                     3/21/19




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                                   TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                           Amount Name
37936406 3/5/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Dexter, Erin E.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/05/2019, Business Purpose: Worked until 8:45 PM City
                     Limits: Out of the City

37939014 3/6/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Dexter, Erin E.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/06/2019, Business Purpose: Worked until 8:45 PM. City
                     Limits: Out of the City

37944878 3/6/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/06/2019, Business Purpose: Participate in litigation team
                     meeting re filing logistics; review case management procedures
                     order ; research case docket and prepare litigation team work
                     materials re case law regarding arguments in opposition to
                     preliminary injunction, FERC and PPA counter-parties opposition
                     and adversary

37944880 3/7/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/07/2019, Business Purpose: Attention to correspondence
                     refiling logistics and review of case management procedures
                     order; prepare litigation team work materials re case law, statutes
                     and pleadings regarding motion to appoint PE Committee and
                     materials related to March 13, 2019 hearing. City Limits: Out of
                     the

37949549 3/7/2019    TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/07/2019, Business Purpose: Taxi home following work in
                     PG&E matter. City Limits: In the City

37955730 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: Attention to correspondence re
                     opposition to motion for appointment of Official Committee of
                     Public Entities; prepare litigation team work materials re related
                     case law, statutes and pleadings regarding motion to appoint PE
                     Committee. City Limits: Out of the City

37955868 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37955871 3/11/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/11/2019, Business Purpose: OT Transportation on March 11,
                     2019, left office at 11:39PM. Receipt not required. City Limits: In
                     the City

37955872 3/13/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                    20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/13/2019, Business Purpose: OT Transportation on 3/13/18.
                     Receipt not required City Limits: In the City

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                                                       MILBANK LLP
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                                   TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                         Amount Name
37962492 3/13/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/13/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37955741 3/14/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/14/2019, Business Purpose: Coordinate service on litigation
                     parties regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same. City Limits: Out of the
                     City

37955873 3/14/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/14/2019, Business Purpose: OT Transportation. NYC
                     Address. left at 9:45pm. Receipt not required City Limits: In the
                     City

37967249 3/17/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/17/2019, Business Purpose: OT Transportation Home on
                     Sunday 3/17/19. NYC Address. Receipt not required City Limits:
                     In the City

37967253 3/18/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/18/2019, Business Purpose: March 18, 2019 transportation
                     allowance. Receipt not required. City Limits: In the City

37967255 3/19/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/19/2019, Business Purpose: OT Transportation Voucher
                     Home. NYC Address. Receipt not Required City Limits: In the City

37971319 3/20/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/20/2019, Business Purpose: OT Transportation Home. NYC
                     Address. Receipt not required City Limits: In the City

37977905 3/20/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  35.00   Ayandipo, Abayomi A.
                     Transportation Reimbursement Allowance: Expense Date:
                     03/20/2019, Business Purpose: Follow up re service on litigation
                     parties regarding Motion to Intervene Out-of-Time of the Official
                     Committee of Unsecured Creditors filed under EL-19-35-001,
                     and attention to correspondence re same; prepare and organize
                     litigation team work materials re SEC documents and Committee
                     meeting

37977575 3/25/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                                  20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/25/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City




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                                                     MILBANK LLP
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                                  TRANSPORTATION REIMBURSEMENT VOUCHER

         Date        Description                                                    Amount Name
37977587 3/25/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/25/2019, Business Purpose: OT Transportation Home. NYC.
                     Receipt not required City Limits: In the City

37977577 3/26/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/26/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37977588 3/26/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Koch, Matthew
                     Transportation Reimbursement Allowance: Expense Date:
                     03/26/2019, Business Purpose: OT Transportation Voucher. NYC
                     Address. Receipt not Required City Limits: In the City

37988729 3/27/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/27/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City

37988730 3/28/2019   TRANSPORTATION REIMBURSEMENT VOUCHER                             20.00   Price, Craig Michael
                     Transportation Reimbursement Allowance: Expense Date:
                     03/28/2019, Business Purpose: Taxi home following work in
                     PG&E matter City Limits: In the City




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                                                WESTLAW

         Date        Description                                      Amount Name
37942330 3/4/2019    WESTLAW                                            606.31   Wolf, Julie M.

37942327 3/5/2019    WESTLAW                                           1061.05   Duke, Julia C.

37942331 3/5/2019    WESTLAW                                           2621.35   Wolf, Julie M.

37942332 3/5/2019    WESTLAW                                            303.16   Khani, Kavon M.

37942340 3/5/2019    WESTLAW                                            245.00   Franzoia, Rachel

37942333 3/6/2019    WESTLAW                                            454.74   Khani, Kavon M.

37942334 3/6/2019    WESTLAW                                            259.70   Wolf, Julie M.

37942341 3/6/2019    WESTLAW                                            757.89   Capolino, Margherita Angela

37942328 3/7/2019    WESTLAW                                            180.00   Denny, Daniel B.

37942335 3/7/2019    WESTLAW                                            411.28   Wolf, Julie M.

37942336 3/7/2019    WESTLAW                                            303.16   Khani, Kavon M.

37942337 3/7/2019    WESTLAW                                            303.16   Ayandipo, Abayomi A.

37942342 3/7/2019    WESTLAW                                            714.43   Capolino, Margherita Angela

37942338 3/8/2019    WESTLAW                                            151.58   Khani, Kavon M.

37942339 3/8/2019    WESTLAW                                            341.32   Wolf, Julie M.

37942329 3/9/2019    WESTLAW                                            622.75   Koch, Matthew

37954945 3/11/2019   WESTLAW                                            143.00   Weber, Jordan A.

37954949 3/11/2019   WESTLAW                                            155.69   Fiscina, Brandon

37954946 3/12/2019   WESTLAW                                           1500.98   Weber, Jordan A.

37954950 3/12/2019   WESTLAW                                            216.24   Khani, Kavon M.

37954951 3/13/2019   WESTLAW                                            822.55   Wolf, Julie M.

37954955 3/13/2019   WESTLAW                                            204.00   Wu, Julia S.

37954956 3/13/2019   WESTLAW                                            488.84   Ottenstein, Matthew H.

37954958 3/13/2019   WESTLAW                                           2077.58   Capolino, Margherita Angela

37954947 3/14/2019   WESTLAW                                           2867.27   Duke, Julia C.



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                                             MILBANK LLP
                                            Ending March 31, 2019

                                                WESTLAW

         Date        Description                                      Amount Name
37954952 3/14/2019   WESTLAW                                           1492.47   Wolf, Julie M.

37954953 3/14/2019   WESTLAW                                            151.58   Khani, Kavon M.

37954957 3/14/2019   WESTLAW                                            354.94   Prudenti, Paula M.

37954959 3/14/2019   WESTLAW                                           1904.80   Benz, Stephen

37954948 3/15/2019   WESTLAW                                           1130.12   Koch, Matthew

37954954 3/15/2019   WESTLAW                                            155.69   Prudenti, Paula M.

37970942 3/17/2019   WESTLAW                                           1245.99   Franzoia, Rachel

37970943 3/17/2019   WESTLAW                                            155.69   Koch, Matthew

37970944 3/18/2019   WESTLAW                                            877.99   Ayoub, Emile G.

37970945 3/18/2019   WESTLAW                                          16474.84   Franzoia, Rachel

37970953 3/18/2019   WESTLAW                                           1253.99   Wu, Julia S.

37970946 3/19/2019   WESTLAW                                            388.00   Behrens, James C.

37970947 3/19/2019   WESTLAW                                            948.69   Duke, Julia C.

37970950 3/19/2019   WESTLAW                                           7607.54   Wolf, Julie M.

37970954 3/19/2019   WESTLAW                                            143.00   Wu, Julia S.

37970958 3/19/2019   WESTLAW                                            151.58   Capolino, Margherita Angela

37970948 3/20/2019   WESTLAW                                           3709.96   Franzoia, Rachel

37970955 3/20/2019   WESTLAW                                            143.00   Wu, Julia S.

37970949 3/21/2019   WESTLAW                                            665.99   Franzoia, Rachel

37970951 3/21/2019   WESTLAW                                            151.58   Wolf, Julie M.

37970956 3/21/2019   WESTLAW                                            286.00   Wu, Julia S.

37970952 3/22/2019   WESTLAW                                            151.58   Wolf, Julie M.

37970957 3/23/2019   WESTLAW                                            897.99   Wu, Julia S.

37987713 3/25/2019   WESTLAW                                            259.70   Duke, Julia C.

37987714 3/25/2019   WESTLAW                                           2309.72   Wolf, Julie M.



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                                             MILBANK LLP
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                                                WESTLAW

         Date        Description                                      Amount Name
37987715 3/26/2019   WESTLAW                                            151.58   Wolf, Julie M.




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 1
                                 UNITED STATES BANKRUPTCY COURT
 2
                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                    SAN FRANCISCO DIVISION
 4
      In re:                                         Bankruptcy Case No. 19-30088 (DM)
 5
      PG&E CORPORATION,                              Chapter 11
 6
                - and –                              (Lead Case)
 7
      PACIFIC GAS AND ELECTRIC                       (Jointly Administered
 8    COMPANY,
                                                     SECOND MONTHLY FEE STATEMENT OF
 9                                  Debtors.         MILBANK LLP FOR ALLOWANCE AND
                                                     PAYMENT OF COMPENSATION AND
10     Affects PG&E Corporation                     REIMBURSEMENT OF EXPENSES FOR THE
       Affects Pacific Gas and Electric             PERIOD MARCH 1, 2019 THROUGH MARCH
11    Company                                        31, 2019
       Affects both Debtors
12    * All papers shall be filed in the Lead Case   [No hearing requested]
      No. 19-30088 (DM).
13

14
      To: The Notice Parties
15
      Name of Applicant:                             Milbank LLP
16
      Authorized to Provide Professional             Attorneys for the Official Committee of Unsecured
17    Services to:                                   Creditors

18    Date of Retention:                             April 29,2019 nunc pro tunc to February 12, 2019
                                                     subject to approval by the Court
19
                                                     March 1, 2019 through March 31, 2019
20    Period for which compensation and
      reimbursement are sought:
21
      Amount of compensation sought as actual,       $1,723,364.20 (80% of $2,154,205.25)
22    reasonable, and necessary:

23    Amount of expense reimbursement sought         $88,823.53
      as actual, reasonable, and necessary:
24

25             Milbank LLP (“Milbank” or the “Applicant”), the attorneys for the Official Committee of
26
     Unsecured Creditors (the “Committee”), hereby submits its Second Monthly Fee Statement (this
27
     “Monthly Fee Statement”) for allowance and payment of compensation for professional services
28
     rendered and for reimbursement of actual and necessary expenses incurred for the period commencing
    [COURT
 Case:    19-30088
    44553.00001
                          Doc#US2707
                HAS INSTRUCTED          Filed:
                                 TO DELETE             ]
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 1   March 1, 2019 through March 31, 2019 (the “Fee Period”) pursuant to the Order Pursuant to 11 U.S.C

 2   §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
 3
     Compensation and Reimbursement of Expenses of Professional dated February 27, 2019 [Docket No.
 4
     701] (the “Interim Compensation Procedures Order”).
 5
            By this Fee Statement, Milbank requests allowance and payment of $1,723,364.20 (80% of
 6
     $2,154,205.25) as compensation for professional services rendered to the Committee during the Fee
 7

 8   Period and allowance and payment of $88,823.53 (representing 100% of the expenses allowed) as

 9   reimbursement for actual and necessary expenses incurred by Milbank during the Fee Period.
10          Annexed hereto as Exhibit A hereto is the name of each professional who performed services
11
     for the Committee in connection with these Chapter 11 Cases during the Fee Period covered by this Fee
12
     Statement and the hourly rate and total fees for each professional. Attached hereto as Exhibit B is a
13
     summary of hours during the Fee Period by task. Attached hereto as Exhibit C is a summary of expenses
14

15   incurred during the Fee Period. Attached hereto as Exhibit D are the detailed time entries for the Fee

16   Period. Attached hereto as Exhibit E are the detailed expenses entries for the Fee Period.

17          PLEASE TAKE FURTHER NOTICE that, in accordance with the Interim Compensation
18   Procedures Order, responses or objections to this Monthly Fee Statement, if any, must be filed and served
19
     on or before the 21st day (or the next business day if such day is not a business day) following the date
20
     the Monthly Fee Statement is served (the “Objection Deadline”) with this Court.
21
            PLEASE TAKE FURTHER NOTICE that upon the expiration of the Objection Deadline, the
22

23   Applicant shall file a certificate of no objection with the Court, after which the Debtors are authorized

24   and directed to pay the Applicant an amount equal to 80% of the fees and 100% of the expenses requested

25   in this Monthly Fee Statement. If an objection is properly filed, the Debtors shall be authorized and
26
     directed to pay the Applicant 80% of the fees and 100% of the expenses not subject to an objection.
27

28

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 1   Dated: June 21, 2019

 2                                         Respectfully submitted,
 3
                                           MILBANK LLP
 4
                                           By: /s/ Dennis F. Dunne
 5
                                           Dennis F. Dunne (admitted pro hac vice)
 6                                         Samuel A. Khalil (admitted pro hac vice)
                                           Gregory A. Bray
 7                                         Thomas R. Kreller
 8                                         Counsel for the Official Committee of Unsecured
                                           Creditors
 9
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                                COMPENSATION BY PROFESSIONAL
                               MARCH 1, 2019 THROUGH MARCH 31, 2019
The attorneys who rendered professional services in these chapter 11 cases from March 1, 2019
through March 31, 2019 (the “Fee Period”) are:
 NAME OF PROFESSIONAL                                                      TOTAL
    PARTNERS AND                                      YEAR     HOURLY      HOURS       TOTAL
       COUNSEL:                  DEPARTMENT         ADMITTED    RATE       BILLED   COMPENSATION
                                   Financial
 Paul Aronzon                     Restructuring       1979      $1,540      57.80      $89,012.00
                                  Global Project,
                                   Energy and
                                  Infrastructure
 William Bice                        Finance          1996      $1,540      42.90      $66,066.00
                                   Financial
 Gregory Bray                     Restructuring       1984      $1,540      93.50      $143,990.00
                                   Financial
 Dennis Dunne                     Restructuring       1991      $1,540      55.50      $85,470.00
 Russell Kestenbaum                    Tax            1999      $1,540      13.90      $21,406.00

                                   Financial                    $1,540      92.60      $142,604.00
 Thomas Kreller                   Restructuring       1992      $770*        5.50       $4,235.00
                                                                $1,540      28.20      $43,428.00
 Andrew Leblanc                     Litigation        2000       $770        4.50      $3,465.00
                                    Alternative
 Eric Moser                        Investments        1991      $1,540      1.40        $2,156.00
 Adam Moses                      Global Corporate     2002      $1,540      9.80       $15,092.00
 Michael Nolan                      Litigation        1992      $1,540      13.80      $21,252.00
 Alan Stone                         Litigation        1988      $1,540      13.50      $20,790.00
                                   Financial
 Samuel Khalil                    Restructuring       2004      $1,425      16.40      $23,370.00
 Manan Shah                            Tax            2002      $1,425      24.80      $35,340.00
                                   Financial
 Craig Price                      Restructuring       2000      $1,120     157.20      $176,064.00


 Total Partners and Counsel:                                   $1,415.71   631.30      $893,740.00




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                                                                  TOTAL
NAME OF PROFESSIONAL                          YEAR      HOURLY    HOURS        TOTAL
    ASSOCIATES:          DEPARTMENT         ADMITTED*    RATE     BILLED    COMPENSATION
                           Financial
Lena Mandel               Restructuring       1991       $1,080    18.70        $20,196.00
Jason Anderson                                           $995       9.30         $9,253.50
                                                         $995      91.30        $90,843.50
Samir Vora                  Litigation        2007      $497.5*     5.50        $2,736.25
Kamel Aitelaj               Litigation        2008       $995      26.70        $26,566.50
James Beebe                    Tax            2011       $995      13.50        $13,432.50
Nicholas Deluca                Tax            2009       $995       1.00         $995.00

                           Financial                     $995      123.30       $122,683.50
Daniel Denny              Restructuring       2005      $497.5*    13.00         $6,467.50
                           Financial
James Behrens             Restructuring       2015       $995      13.10        $12,510.50
Erin Dexter                 Litigation        2014       $920      58.90        $54,188.00

                           Financial                     $920      144.90       $133,308.00
Rachael Franzoia          Restructuring       2013       $460*      7.50         $3,450.00
                           Financial
Matthew Koch              Restructuring       2014       $920      182.10       $167,532.00
                           Financial
Parker Milender           Restructuring       2014       $920      20.10        $18,492.00
Katherine Pierucci          Litigation        2014       $920      19.90        $18,308.00
                           Financial
Jordan Weber              Restructuring       2015       $920      60.00        $55,200.00
Christina Skaliks              Tax            2015       $875      16.30        $14,262.50
Julie Wolf                  Litigation        2016       $875      156.00       $136,500.00
Emile Ayoub                 Litigation        2017       $830      26.70        $22,161.00
Archan Hazra                   Tax            2017       $830       7.80         $6,474.00
Kavon Khani                 Litigation        2017       $830      56.80        $47,144.00
                           Financial
Adeola Adeyosoye          Restructuring       2018       $735       1.00         $735.00
Julia Duke                  Litigation        2018       $735      89.70        $65,929.50
Luis Orengo                 Litigation        2018       $735      52.90        $38,881.50
                          Global Project,
                           Energy and
                          Infrastructure
Henry Seeley                 Finance          2018       $735      20.00        $14,700.00


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Stephen Benz                 Litigation       2019       $595       8.30         $4,938.50
Margherita Capolino          Litigation       2019       $595      22.90         $13,625.50
Rachael Connelly          Global Corporate    2018       $595      19.10         $11,364.50
Benjamin Heller                 Tax           2018       $595      6.90          $4,105.50
Danielle Lee                 Litigation       2019       $595      84.10         $50,039.50
Julia Wu                     Litigation       2018       $595      57.20         $34,034.00
Joshua Zimberg               Litigation       2019       $595      20.80         $12,376.00


Total Associates:                                       $847.55   1,455.30      $1,233,433.75




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                                                                            TOTAL
     NAME OF                                                  HOURLY        HOURS        TOTAL
PARAPROFESSIONALS:                DEPARTMENT                   RATE         BILLED    COMPENSATION
Angel Anderson                        Litigation               $350            8.50         $2,975.00
Abayomi Ayandipo                      Litigation               $350           19.90         $6,965.00
Jenifer Gibbs                         Litigation               $350            3.30         $1,155.00
David McCracken                       Litigation               $350            8.00         $2,800.00
                                     Financial
Charmaine Thomas                    Restructuring              $300           11.20         $3,360.00
                                     Financial
Jacqueline Brewster                 Restructuring              $290            2.60          $754.00
Brandon Fiscina                   Practice Support             $250           14.50         $3,625.00
                               Global Project, Energy
James Liles                        and Finance                 $635            8.50         $5,397.50


Total Paraprofessionals
and other non-legal staff:                                    $353.35         76.50        $27,031.50



                PROFESSIONALS                        BLENDED RATE       TOTAL HOURS      TOTAL
                                                                          BILLED      COMPENSATION
TOTALS:

Partners and Counsel                                    $1,415.71          631.30       $893,740.00

Associates                                              $847.55           1,455.30     $1,233,433.75

Paraprofessionals and other non-legal staff             $353.35            76.50           $27,031.50

Blended Attorney Rate                                   $1,019.44         2,086.60     $2,127,173.75

Total Fees Incurred                                     $995.89           2,163.10     $2,154,205.25




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                       COMPENSATION BY WORK TASK CODE FOR
                         SERVICES RENDERED BY MILBANK LLP
                 FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

TASK
                                  DESCRIPTION                                 HOURS       AMOUNT
CODE
00003   Automatic Stay                                                         25.50      $27,422.00
00004   Bankruptcy Litigation                                                 411.70     $351,169.50
00007   Case Administration (Dockets updates, WIP and calendar)                58.60      $51,288.00
00010   Communications with Client                                            135.80     $147,634.50
00011   Communications with Unsecured Creditors                                9.10       $11,250.50
00012   Committee Meetings                                                    126.60     $148,424.00
00013   Committee Governance                                                   41.60      $50,525.00
00014   Corporate Governance and Board Issues                                  70.60      $69,971.50
00015   Customer, Supplier and Vendor Issues                                   17.50      $19,474.50
00016   DIP Financing/Cash Management                                          62.70      $81,395.50
        General Case Strategy(includes calls with client and team calls and
00018                                                                         264.40     $284,234.00
        meetings)
00020   Court Hearings                                                         68.60      $91,302.00
00022   Non-Bankruptcy Litigation                                              43.60      $37,657.50
00023   Non-Working Travel                                                     36.00      $20,353.75
00027   CPUC                                                                   28.40      $28,506.50
00028   FERC                                                                   9.90       $11,362.50
00029   Retention/Fee Applications                                            315.20     $297,308.00
00032   Subrogation Issues                                                     33.40      $27,868.00
00034   Tax Issues                                                             40.10      $45,019.00
00036   U.S. Trustee                                                            8.70       $9,926.50
00038   Wildfire Claims and Treatment                                         118.90     $116,100.00
00039   Employee Benefits/Severance Issues                                    236.20     $226,012.50
TOTAL                                                                         2,163.10   $2,154,205.25




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                                  EXPENSE SUMMARY
                  FOR THE PERIOD MARCH 1, 2019 THROUGH MARCH 31, 2019

EXPENSES                                                               AMOUNTS

Computerized Research                                                   $69,209.77

Lodging                                                                 $3,534.15

Mail                                                                    $1,461.40

Meals                                                                   $1,965.32

Travel                                                                  $4,400.01

Transportation                                                          $1,941.58

Duplicating                                                             $2,072.49

Telephone                                                               $1,213.66

Transcript Fees                                                         $3,025.15

Total Expenses Requested:                                               $88,823.53




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                                              Notice Parties
   PG&E Corporation
   c/o Pacific Gas & Electric Company
   Attn: Janet Loduca, Esq.
   77 Beale Street
   San Francisco, CA 94105

   Weil, Gotshal & Manges LLP
   Attn: Stephen Karotkin, Esq.
          Jessica Liou, Esq.
          Matthew Goren, Esq.
   767 Fifth Avenue
   New York, NY 10153-0119

   Keller & Benvenutti LLP
   Attn: Tobias S. Keller, Esq.
          Jane Kim, Esq
   650 California Street, Suite 1900
   San Francisco, CA 94108

   The Office of the United States Trustee for Region 17
   Attn: James L. Snyder, Esq.
          Timothy Laffredi, Esq.);
   450 Golden Gate Avenue, 5th Floor, Suite #05-0153
   San Francisco, CA 94102

   Baker & Hostetler LLP
          Attn: Eric Sagerman, Esq. and
   Cecily Dumas, Esq.
   11601 Wilshire Boulevard, Suite 1400
   Los Angeles, CA 90025-0509




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